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   Notice of 202 Annual Meeting of Shareholders
                   202 Proxy Statement
                                and
           202 Annual Report on Form 10-K




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Lower prices. More Choices.
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Build healthier communities free of hunger
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RXWOLQHGLQWKHLU5HFLSHIRU&KDQJHSODQ:HNQRZWKDWZKHQIDPLOLHVHDWWRJHWKHULWVXSSRUWVWKHLU
FKLOGUHQ¶VVXFFHVVDFURVVDOODVSHFWVRIWKHLUOLYHV,FDQQRWZDLWWRVHHKRZRXUFRPELQHGHIIRUWVZLOO
FRQQHFWSHRSOHZLWKWKHPHDOVWKH\QHHGWRWKULYH
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:HORRNIRUZDUGWRFRQWLQXHZRUNLQJFRRSHUDWLYHO\ZLWKUHJXODWRUVDQGUHPDLQRQWUDFNIRUDSURMHFWHG
FORVXUHRIWKHPHUJHULQHDUO\
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2022 in Review 
$VWKHSDQGHPLFFRQWLQXHGWRIDGHDQGLQIODWLRQFDXVHGRQJRLQJHFRQRPLFXQFHUWDLQW\RXUDVVRFLDWHV
VKRZHGXSIRURXUFXVWRPHUV/DVW\HDU.URJHUDVVRFLDWHVGLGHYHU\WKLQJZHFRXOGWRPLQLPL]HWKH
LPSDFWRILQIODWLRQDQGKHOSVWUHWFKWLJKWIRRGEXGJHWVVRIDPLOLHVFRXOGDFFHVVIUHVKDIIRUGDEOHIRRG
ZLWK]HURFRPSURPLVHRQFRQYHQLHQFHRUVHOHFWLRQ2XULeading with Fresh and Accelerating with
DigitalVWUDWHJ\DQGNH\IRFXVDUHDVRI)UHVKOur BrandsVHDPOHVVDQGSHUVRQDOL]DWLRQJLYHXVWKH
IOH[LELOLW\WRQDYLJDWHDFKDQJLQJRSHUDWLQJHQYLURQPHQW±DOOZKLOHSURYLGLQJYDOXHWRRXUFXVWRPHUVDQG
RXUDVVRFLDWHV:HZLOOFRQWLQXHWRFRQVLGHUDILYHWRWHQ\HDUWLPHKRUL]RQDVZHPDNHNH\GHFLVLRQV
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'XULQJWKH\HDUZH
     x $FKLHYHGSRVLWLYHLGHQWLFDOVDOHVZLWKRXWIXHORI
     x ,QFUHDVHGDVVRFLDWHZDJHVUHVXOWLQJLQDQDYHUDJHKRXUO\ZDJHRIDQGUDWHRIPRUHWKDQ
          ZLWKFRPSUHKHQVLYHEHQHILWV
     x ([FHHGHGELOOLRQLQFRVWVDYLQJVIRUWKHILIWKFRQVHFXWLYH\HDU
     x $QQRXQFHGDGGLWLRQDO.URJHU'HOLYHU\ORFDWLRQVDFURVVWKH86
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7KHVXEVHTXHQWVHFWLRQVZLOOKLJKOLJKWSURJUHVVZHPDGHDFURVVRXUEXVLQHVVLQDQGZD\VZHLQWHQG
WRFRQWLQXHEXLOGLQJRQRXUPRPHQWXPPRYLQJIRUZDUG
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Leading with Fresh
)RUXVFresh for EveryoneTM LVPRUHWKDQDEUDQGSURPLVH,W¶VDFRPPLWPHQWWREULQJLQJIUHVK
DIIRUGDEOHIRRGVWRPRUHSHRSOHLQPRUHQHLJKERUKRRGV)UHVKIRRGVDUHFHQWUDOWRIDPLOLHVOLYLQJKHDOWK\
WKULYLQJOLYHV$QGRXUFXVWRPHUVSULRULWL]HIUHVKZKHQWKH\VKRSZLWK.URJHU±ZLWKPRUHWKDQPRUH
WKDQRIFXVWRPHUVSXUFKDVLQJIUHVKIRRGV0DQ\FRPSDQLHVFODLPWKH\DUHIRFXVHGRQIUHVK±ZH
KDYHGHPRQVWUDWHGVXFFHVVLQFUHDWLQJIUHVKHUVKRSSLQJH[SHULHQFHVDQGRXUFXVWRPHUVDUHUHZDUGLQJXV
IRULW
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,QWKHODVW\HDUZHFRQWLQXHGWRSXWRXUIRFXVRQIUHVKERWKZLWKRXULQVWRUHDQGHFRPPHUFH
H[SHULHQFHV7KH(QGWR(QG)UHVKLQLWLDWLYHLVDWWKHFHQWHURIKRZZHDUHFKDQJLQJWKHZD\ZHEULQJ
IUHVKWROLIHLQRXUVWRUHV7RGD\ZHKDYHPRUHWKDQVWRUHVLPSOHPHQWLQJWKLVLQLWLDWLYHLQWKHLU
SURGXFHGHSDUWPHQWVGULYLQJKLJKHUSURGXFHDQGRYHUDOOVWRUHVDOHV:HORRNIRUZDUGWRH[SORULQJKRZ
ZHFDQH[SDQGWKLVZRUNLQRWKHUIUHVKGHSDUWPHQWVLQDQGEH\RQG
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:HDUHDOVRZRUNLQJFORVHO\ZLWKRXUWHFKQRORJ\DQGVXSSO\FKDLQWHDPVWRXQGHUVWDQGZD\VZHFDQDGG
GD\VRIIUHVKQHVVWRRXUSURGXFWV)URPRSWLPL]LQJGHOLYHU\URXWHVWRVLPSOLI\LQJDVVRFLDWHWDVNVZHZDQW
WRHQVXUHRXUFXVWRPHUVFDQEX\IRRGDWLWVSHDNRIIUHVKQHVVDQGWUXVWWKRVHLWHPVZLOOUHPDLQIUHVKLQ
WKHLUKRPHV
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)UHVKQHVVLVDOVRLPSRUWDQWZKHQZHWKLQNDERXWLQQRYDWLRQLQ2XU%UDQGV,QZHODXQFKHGD
VLPSOLILHGRSHQLQJSULFHSRLQWEUDQGNQRZQDV6PDUW:D\7KLVQHZFRQFHSWLVHDVLO\LGHQWLILDEOHIRU
FXVWRPHUVZKRZDQWWRVWUHWFKWKHLUEXGJHWV,WMRLQV.URJHU¶VFDUHIXOO\FXUDWHGH[WHQVLYH2XU%UDQGV
SRUWIROLRZKLFKLQFOXGHVWKHFRPSDQ\¶VQDPHVDNH.URJHUEUDQG6LPSOH7UXWK3ULYDWH6HOHFWLRQ
+RPH&KHIDQG+HULWDJH)DUPDPRQJRWKHUV
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,QDGGLWLRQWRWKH6PDUW:D\EUDQGLQWURGXFWLRQZHODXQFKHGPRUHWKDQQHZXQLTXHOur Brands
SURGXFWVODVW\HDU:HHQJDJHZLWKIRRGWUHQGVWKURXJKRXWWKH\HDUWRXQGHUVWDQGZKDWRXUFXVWRPHUVDUH
FUDYLQJDQGHQVXUHZHKDYHWKRVHLWHPVRQRXUVKHOYHV:HDLPWREULQJHYHU\FXVWRPHUWKHKLJKTXDOLW\
DIIRUGDEOHSURGXFWVWKH\ORYH±IURPSDQWU\VWDSOHVDQGIUHVKIRRGVWRUHDG\WRKHDWUHVWDXUDQWTXDOLW\
PHDOV
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Accelerating with Digital
:HFRQWLQXHWRLQYHVWLQRXUVHDPOHVVHFRV\VWHP±EULQJLQJRXUFXVWRPHUVWKHSURGXFWVWKH\ORYHZKHQ
DQGZKHUHWKH\ZDQWWKHP:HVHHFXVWRPHUVVKLIWWKHZD\VWKH\LQWHUDFWZLWKXVEDVHGRQWKHLU
LQGLYLGXDOQHHGVZKLFKDOLJQVZLWKRXUYLVLRQRIDWUXO\VHDPOHVVVKRSSLQJH[SHULHQFH
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2XUJRDOUHPDLQVWREHWKHUHIRURXUFXVWRPHUV±KRZHYHUWKH\QHHGXVLQDSDUWLFXODUPRPHQW
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:KHQLWILWVWKHLUGD\¶VSODQVFXVWRPHUVPD\FKRRVHWRVKRSLQRXUVWRUHV6RPHWLPHVWKH\ILQGD.URJHU
'HOLYHU\RUGHUHDVLHUGXULQJDEXV\ZHHNHQG2UZKHQQRWKLQJORRNVJRRGLQWKHUHIULJHUDWRURUWKHODVW
SDSHUWRZHOFRPHVRIIWKHUROOZH¶UHKHUHZLWK.URJHU'HOLYHU\1RZGHOLYHULQJLQDVOLWWOHDV
PLQXWHV:HUHPDLQZHOOSRVLWLRQHGWRDFKLHYHGRXEOHGLJLWGLJLWDOJURZWKLQWKHQH[WWKUHH\HDUV
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2XUEULFNDQGPRUWDUVWRUHVDQGDXWRPDWHGIXOILOOPHQWFHQWHUVZRUNWRJHWKHUWRHQVXUHRXUFXVWRPHUV
KDYHDFFHVVWRWKHIUHVKIRRGVDQGSDQWU\VWDSOHVWKH\ZDQWZKHQWKH\QHHGWKHPPRVW
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2XUHIIRUWVWREULQJDWUXO\SHUVRQDOL]HGVKRSSLQJH[SHULHQFHWROLIHDUHFUHDWLQJYDOXHIRURXUFXVWRPHUV
:HVHUYHWKHULJKWSURPRWLRQVDWWKHULJKWWLPHGLUHFWO\WRWKHFXVWRPHUVZKRZRXOGEHPRVWLQWHUHVWHGLQ
WKHRIIHU)URPSURYLGLQJVXJJHVWLRQVWRVWDUWDEDVNHWWRRIIHULQJDQHZLWHPZHDUHSURYLGLQJFXVWRPHUV
UHDOYDOXH,QDORQHFXVWRPHUVVDYHGELOOLRQWKURXJKDFRPELQDWLRQRISDSHUDQGGLJLWDO
FRXSRQV
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/DVW\HDUZHDOVRODXQFKHG%RRVWE\.URJHUWKHUHWDLOLQGXVWU\¶VPRVWDIIRUGDEOHPHPEHUVKLSSURJUDP
:HDUHDOUHDG\H[FHHGLQJLQWHUQDOH[SHFWDWLRQVLQERWKLQFUHPHQWDOHQJDJHPHQWDQGKRXVHKROGVSHQG:H
ORRNIRUZDUGWRHYROYLQJRXUPHPEHUVKLSSURJUDPWRDSSHDOWRPRUHFXVWRPHUVDQGFUHDWHDGGLWLRQDO
YDOXH
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7KHAccelerating with DigitalSLHFHRIRXUVWUDWHJ\FRQWLQXHVWRGULYHRXUSURILWIO\ZKHHO:HDUH
LPSURYLQJPDUJLQVE\UHGXFLQJGLJLWDOFRVWWRVHUYHDOOZKLOHJURZLQJRXUDOWHUQDWLYHSURILWVWUHDPV
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Investing in Our Associates
2XUDVVRFLDWHVDUHDWWKHKHDUWRIHYHU\WKLQJZHGR,DPDOZD\VLPSUHVVHGDWWKHZD\VWKH\FUHDWH
PHPRUDEOHIRRGPRPHQWVIRURXUFXVWRPHUVHYHU\GD\,UHJXODUO\WKLQNEDFNWRP\WLPHZRUNLQJLQD
.URJHUVWRUHZKHQ,EHJDQP\FDUHHUPRUHWKDQ\HDUVDJR,OHDUQHGKRZWRUXQDVXFFHVVIXOVWRUHKRZ
WRFUHDWHUHDOFRPPXQLW\ZLWKP\FXVWRPHUVDQGFRZRUNHUVDQGKRZLPSRUWDQWRXUVWRUHVDUHWRWKH
QHLJKERUKRRGVWKH\VHUYH
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.URJHUSURYLGHVRSSRUWXQLWLHVIRUSHRSOHVHHNLQJWKHLUILUVWMREDQHZEHJLQQLQJRUDQHZFKDOOHQJHWR
GLVFRYHUDIXOILOOLQJFDUHHUSDWK$QGZHFRQWLQXHWRLQYHVWLQRXUDVVRFLDWHV(DUOLHUWKLV\HDUZH
FRPPLWWHGQHDUO\PLOOLRQWRUDLVHZDJHVDQGEHQHILWVFUHDWHQHZWUDLQLQJRSSRUWXQLWLHVDQG
LPSURYHKHDOWKFDUHRSWLRQVLQ
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7KLVLQYHVWPHQWEXLOGVRQRXUELOOLRQLQLQFUHPHQWDOLQYHVWPHQWVLQZDJHVDQGFRPSUHKHQVLYH
EHQHILWV.URJHUKDVPDGHVLQFH$VDUHVXOWZHUDLVHGRXUDYHUDJHKRXUO\UDWHWRRUDQ
KRXUZLWKFRPSUHKHQVLYHEHQHILWV
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:HXQGHUVWDQGZHPXVWVXSSRUWRXUDVVRFLDWHV¶KROLVWLFZHOOEHLQJ7RDFFRPSOLVKWKLVJRDO.URJHU
FUHDWHVSURJUDPVWKDWSRZHURXUDVVRFLDWHV¶JURZWKLQFOXGLQJDZRUOGFODVVHGXFDWLRQDOEHQHILWSURJUDP
RIIHULQJDVVRFLDWHVXSWRWRZDUGFRQWLQXLQJHGXFDWLRQRSSRUWXQLWLHV±ZKDWHYHUWKDWPD\PHDQWR
RXUDVVRFLDWHV,QDORQHPRUHWKDQSHRSOHHQJDJHGZLWKWKLVSURJUDP:HSURYLGHDIIRUGDEOH
DFFHVVLEOHKHDOWKFDUHRSWLRQVZKLFKLQFOXGHVIUHHFRXQVHOLQJ$OVRLQZHLQWURGXFHGDILUVWRILWV
NLQGIUHHILQDQFLDOFRDFKLQJVHUYLFHVWRDOORXUKRXUO\DVVRFLDWHV:HUHPDLQFRPPLWWHGWRKHOSLQJRXU
DVVRFLDWHVWKULYHLQWKHLUFDUHHUVDQGDWKRPHHQVXULQJ.URJHUUHPDLQVDQHPSOR\HURIFKRLFH
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Environmental Sustainability and Social Impact
.URJHULVFRPPLWWHGWRUHVSRQVLEOHVRXUFLQJSUDFWLFHVUHVSHFWLQJKXPDQULJKWVDQGDGYDQFLQJDQLPDO
ZHOIDUH2XUFRPSUHKHQVLYHSURJUDPVKROGRXUVXSSOLHUVDFFRXQWDEOHWRPHHWRXUKLJKVWDQGDUGVDQG
VXSSRUWRXUFRQWLQXDOLPSURYHPHQW:HUHO\RQGHHSNQRZOHGJHIURPRXUFDWHJRU\VRXUFLQJOHDGHUVGDWD
LQVLJKWVDQGLQSXWIURPRXULQYHVWRUVLQGXVWU\JURXSV1*2VDQGVXEMHFWPDWWHUH[SHUWV
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,QZHSXEOLVKHGRXUJUHHQKRXVHJDV *+* UHGXFWLRQJRDOURDGPDS:HDUHGLOLJHQWO\ZRUNLQJWR
UHGXFHDEVROXWH6FRSHDQG*+*HPLVVLRQVIURPRXURSHUDWLRQVE\E\DJDLQVWD
EDVHOLQH7KLVJRDOZDVGHYHORSHGXVLQJFOLPDWHVFLHQFHVXSSRUWLQJDZHOOEHORZ&FOLPDWHVFHQDULR
DFFRUGLQJWRWKHDEVROXWHFRQWUDFWLRQPHWKRG
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.URJHUPDGHFRQVLGHUDEOHSURJUHVVDJDLQVWRXUFramework for Action: Diversity, Equity & Inclusion
SODQ/DXQFKHGLQWKLVDFWLRQSODQLVDFFHOHUDWLQJFKDQJHDFURVVWKHHQWLUHFRPSDQ\6LQFHLWV
LQWURGXFWLRQZHVXFFHVVIXOO\SURYLGHGXQFRQVFLRXVELDVWUDLQLQJWRDOOOHDGHUVDQGQHDUO\KDOIDPLOOLRQ
DVVRFLDWHV:HDUHZRUNLQJZLWK+LVWRULFDOO\%ODFN&ROOHJHVDQG8QLYHUVLWLHVDQGLQVWLWXWLRQVVHUYLQJ
+LVSDQLF$VLDQ$PHULFDQDQG3DFLILF,VODQGHUDQG1DWLYH$PHULFDQVWXGHQWV$QGZHDUHWDNLQJVWURQJ
VWHSVWRDFKLHYHRXUJRDORILQFUHDVLQJRXUVSHQGZLWKGLYHUVHVXSSOLHUVWRELOOLRQDQQXDOO\E\
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:HDUHJURZLQJWKHPDQ\ZD\VZHSDUWLFLSDWHLQRXUFRPPXQLWLHV±ERWKELJDQGVPDOO,QZH
FHOHEUDWHGWKHILIWKDQQLYHUVDU\RIRXU=HUR+XQJHU_=HUR:DVWHLPSDFWSODQ6LQFHLWVLQFHSWLRQZH

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GLUHFWHGPRUHWKDQELOOLRQLQIRRGDQGIXQGVWRKHOSHQGKXQJHUZKLFKLQFOXGHVPRUHWKDQ
ELOOLRQPHDOV:HUHPDLQRQWUDFNWRGRQDWHELOOLRQPHDOVWRRXUQHLJKERUVE\
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2QHDFFRPSOLVKPHQW,DPVRSURXGRILVRXUVWRUHV¶ZRUNWRDFKLHYHH[HFXWLRQRIRXUIRRGUHVFXH
SURJUDPLQSDUWLFLSDWLQJ.URJHUVWRUHV)ODZOHVVH[HFXWLRQLVDQLGHDOIRUZKLFKZHDOZD\VVWULYH,WLV
LQVSLUDWLRQDOWRVHHWKHZD\RXUVWRUHWHDPVHPEUDFHRXUPLVVLRQRISURYLGLQJKHDOWK\IRRGWRWKHLU
FRPPXQLWLHV
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Looking to the Future
,DPRSWLPLVWLFIRUZKDWDQGEH\RQGZLOOPHDQIRU.URJHURXUFXVWRPHUVRXUDVVRFLDWHVDQGRXU
FRPPXQLWLHV:HDUHFRPPLWWHGWRSURYLGLQJWKHIUHVKHVWIRRGWRRXUFXVWRPHUVZLWK]HURFRPSURPLVH
RQYDOXHFRQYHQLHQFHRUVHOHFWLRQ:HDUHLQYHVWLQJLQWKHEXVLQHVVWRFRQWLQXRXVO\RSWLPL]HRXU
DSSURDFKWRIUHVKQHVV±DQGRXUFXVWRPHUVDUHWDNLQJQRWLFH2XUWHDPVDUHDOZD\VORRNLQJIRUQHZ
RSSRUWXQLWLHVWREULQJIUHVKOur BrandsLWHPVWRRXUFXVWRPHUVERWKFDSLWDOL]LQJRQIRRGWUHQGVDQG
FUHDWLQJH[SHULHQFHVWKDWFDQRQO\FRPHIURP.URJHU
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&XVWRPHUVFRQWLQXHWRH[SHFWWKHFRQYHQLHQFHRXUGLJLWDOH[SHULHQFHRIIHUV:HDUHZRUNLQJWRZDUG
LQQRYDWLYHZD\VWRHQVXUHJURFHU\VKRSSLQJILWVHDVLO\LQWRRXUFXVWRPHUV¶GD\V±ZKHWKHUWKH\DUH
ORRNLQJIRUDQHHGLWQRZLWHPDZHHNO\VWRFNXSVKRSRUWKHSHUIHFWLQJUHGLHQWWRPDNHDVSHFLDOPHDO
PRUHPHPRUDEOH$QGZHGRPRUHWKDQPDNHLWFRQYHQLHQW±ZHPDNHWKHVKRSSLQJH[SHULHQFHSHUVRQDO
:HNQRZRXUFXVWRPHUVDQGZHHDUQWKHLUWUXVWGDLO\E\SURYLGLQJHQJDJLQJRIIHUVRQWKHIRRGVWKH\
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$QGRXUDPD]LQJDVVRFLDWHVEULQJLWDOOWROLIH,QDGGLWLRQWRFUHDWLQJDIXOOIUHVKDQGIULHQGO\VKRSSLQJ
H[SHULHQFHIRUHYHU\FXVWRPHUHYHU\WLPHRXUDVVRFLDWHVDUHFRPPLWWHGWRPDNLQJWKHLUFRPPXQLWLHVD
EHWWHUSODFHWROLYH7KLV\HDUZHDUHUHFRJQL]LQJRXWVWDQGLQJDVVRFLDWHVZKRUDLVHGVLJQLILFDQWIXQGV
IRURXU=HUR+XQJHU_=HUR:DVWH)RXQGDWLRQ7KHVHGROODUVVXSSRUWRXUQRQSURILWSDUWQHUVDFURVV
$PHULFDZKRDUHZRUNLQJWRFUHDWHFRPPXQLWLHVIUHHIURPKXQJHUDQGZDVWH&RQJUDWXODWLRQVWRHDFKRI
WKHVH³=HUR+HURHV´IRUPDNLQJPHDVXUDEOHFKDQJHIRU\RXUQHLJKERUV
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,ZRXOGOLNHWRWKDQNRXUFXVWRPHUVDVVRFLDWHVDQGVKDUHKROGHUVIRU\RXURQJRLQJVXSSRUWIRU.URJHU,
ORRNIRUZDUGWRHYHU\WKLQJZHZLOOGRWRJHWKHULQWKH\HDUDKHDG
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:LWKJUDWLWXGH
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5RGQH\0F0XOOHQ
&KDLUPDQDQG&(27KH.URJHU&R
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Safe Harbor Statement
     7KLVOHWWHUFRQWDLQV³IRUZDUGORRNLQJVWDWHPHQWV´ZLWKLQWKHPHDQLQJRIWKHVDIHKDUERUSURYLVLRQVRIWKH
8QLWHG6WDWHV3ULYDWH6HFXULWLHV/LWLJDWLRQ5HIRUP$FWRIDERXWIXWXUHSHUIRUPDQFHRI.URJHULQFOXGLQJZLWK
UHVSHFWWR.URJHU¶VDELOLW\WRDFKLHYHVXVWDLQDEOHQHWHDUQLQJVJURZWKVWUDWHJLFFDSLWDOGHSOR\PHQWVWURQJDQG
DWWUDFWLYHWRWDOVKDUHKROGHUUHWXUQVWURQJIUHHFDVKIORZDQGDELOLW\WRLQFUHDVHWKHGLYLGHQGDELOLW\WRDFKLHYH
FHUWDLQRSHUDWLRQDOJRDOVDVZHOODV(6*WDUJHWVJRDOVDQGFRPPLWPHQWVRXWOLQHGLQWKLVSUR[\VWDWHPHQWRU
HOVHZKHUHDPRQJRWKHUVWDWHPHQWV7KHVHVWDWHPHQWVDUHEDVHGRQPDQDJHPHQW¶VDVVXPSWLRQVDQGEHOLHIVLQOLJKWRI
WKHLQIRUPDWLRQFXUUHQWO\DYDLODEOHWRLW7KHVHVWDWHPHQWVDUHLQGLFDWHGE\ZRUGVVXFKDV³ZLOO´³DLP´³PRGHO´
³GULYLQJ´³JRDO´³SODQ´³FRQWLQXH´³RQWUDFN´³FRPPLWWHG´DQG³EHOLHYH´DVZHOODVVLPLODUZRUGVRUSKUDVHV
7KHVHVWDWHPHQWVDUHVXEMHFWWRNQRZQDQGXQNQRZQULVNVXQFHUWDLQWLHVDQGRWKHULPSRUWDQWIDFWRUVWKDWFRXOGFDXVH
DFWXDOUHVXOWVDQGRXWFRPHVWRGLIIHUPDWHULDOO\IURPWKRVHFRQWDLQHGLQWKHIRUZDUGORRNLQJVWDWHPHQWVLQFOXGLQJ
WKHVSHFLILFULVNIDFWRUVLGHQWLILHGLQ³5LVN)DFWRUV´LQ.URJHU¶VPRVWUHFHQW$QQXDO5HSRUWRQ)RUP.DQGDQ\
VXEVHTXHQWILOLQJVZLWKWKH6HFXULWLHVDQG([FKDQJH&RPPLVVLRQ.URJHUDVVXPHVQRREOLJDWLRQWRXSGDWHWKH
LQIRUPDWLRQFRQWDLQHGKHUHLQXQOHVVUHTXLUHGWRGRVRE\DSSOLFDEOHODZ




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                             Zero Hunger | Zero Waste: Associate Fundraising Heroes
     7KH.URJHU&R=HUR+XQJHU_=HUR:DVWH)RXQGDWLRQLVDQRQSURILWSXEOLFFKDULW\GHVLJQHGWRKHOSDOLJQ
SKLODQWKURS\ZLWKWKHFRPSDQ\¶V=HUR+XQJHU_=HUR:DVWHVRFLDODQGHQYLURQPHQWDOLPSDFWSODQ:HLQYLWH
FXVWRPHUVRIWKH.URJHU)DPLO\RI&RPSDQLHVWRMRLQRXUMRXUQH\E\URXQGLQJXSWKHLUSXUFKDVHWRWKHQHDUHVWGROODU
DWFKHFNRXWWREHQHILWWKH=HUR+XQJHU_=HUR:DVWH)RXQGDWLRQ
     &DVKLHUVDFURVVWKHFRXQWU\DUHOHDGLQJWKHZD\LQDFWLYDWLQJGRQDWLRQVWKURXJK5RXQG8S'ROODUVUDLVHGDUH
GLUHFWHGWRQRQSURILWSDUWQHUVWKDWKHOSHQGKXQJHUDQGZDVWHLQRXUFRPPXQLWLHV7KHVHDUHRXU=HUR+HURHV

          Atlanta Division                    Fred Meyer Division                  Mid-Atlantic Division
          -HVVLFD:HOOERUQ                        3DW6HDUV                          'HH'HH+DPE\
           'LDQQH3HUNLQV
           5DFKHO'LFNHQV
           %HWDOKHP7ROOD

          Central Division                       Fry’s Division
                                                                                      Nashville Division
             &DURO'LHW]                         -D\QH&RWD
           -HVV:DUEXUWRQ                      0HOLVVD+RURZLW]                      /LQGD:KLWILHOG
          5HEHNDK/HKPDQ                       %DUEDUD6WRFNWRQ
            6KHUL)RUQWHU

    Cincinnati-Dayton Division                  Houston Division                      Ralphs Division
            -HQ7XGRU                          'HEUD9DQ0DWUH                        -RKQ'DLOH\
                                                0DVKXQ\6TXLHUGR                      0DUTXHWW9DOHQFLD
                                                                                       'HEUD6XWWRQ
                                                                                       3HGUR'DQLHO

         Columbus Division                    King Soopers Division                   Roundy’s Division
          &ROOHHQ%XUURZV                        &KULV9HOORV                        1DQF\-RKQVRQ
                                                   'DQ&DKLOO


           Dallas Division                     Louisville Division                      QFC Division
             -RQ0XOOLQ                        6WDFH\+DUULVRQ                         .XUW0LQFLQ
            -XOLH2OLQLFN                      /DXU\6KXOKDIHU                        $PEHU%UDVN
           7RQMD%XFNOH\                         5RELQ$GDPV

           Delta Division                      Mariano’s Division                      Smith’s Division
           6KHUEHUW:DUH                       /RUDQ+HQGHUVRQ                         7RQ\D7DOO
            /DXUD6SDUNV                       9LNNL+RUQEDNHU
            0DH:DWVRQ

          Dillons Division                      Michigan Division                       Food 4 Less
          7ULVWD6RHQGNHU                       7DPP\'HSX\                            -LPP\+X
            3DP0H\HU                            7UDFH\5HJLWV                        0DULFUX]&KLFR
            -RDQ5RJHUV                                                                0D\UD6DQJXLQR
                                                                                       5XILQD.QLHIHO
         Food 4 Less - MW                                                                       
           7DPDUD3ULPP
           5RKHO7HUUD]DV




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                   >7KLVSDJHLQWHQWLRQDOO\OHIWEODQN@




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Environmental, Social, & Governance (ESG) Practices
   9 /RQJVWDQGLQJ%RDUG&RPPLWWHHGHGLFDWHGWR(6*RYHUVLJKWௗ²ௗ3XEOLF5HVSRQVLELOLWLHV&RPPLWWHHௗ²
       ௗIRUPHGLQ
            o $PHQGHGWKH&RPPLWWHH&KDUWHULQWRPRUHVSHFLILFDOO\UHIOHFWWKH&RPPLWWHH¶VIRFXVHGDQG
                SULRULWL]HGDSSURDFKWRPDWHULDO(6*WRSLFVUHODWHGWRHQYLURQPHQWDOLVVXHVVXVWDLQDELOLW\DQG
                VRFLDOLPSDFW
    9    $QQXDO(6*UHSRUWVKDULQJSURJUHVVRQRXUJRDOVIRU=HUR+XQJHU_=HUR:DVWH-XVW ,QFOXVLYH
         (FRQRP\)RRG:DVWH2SHUDWLRQDO:DVWH:DWHU3DFNDJLQJ&OLPDWH,PSDFWDQG5HVSRQVLEOH6RXUFLQJ
            o 7KH(6*UHSRUWUHSUHVHQWHGWKHWK\HDURIGHVFULELQJRXUSURJUHVVDQGLQLWLDWLYHVUHJDUGLQJ
                 VXVWDLQDELOLW\DQGRWKHU(6*PDWWHUV
    9    &RPPLWWHGWRWUDQVSDUHQF\LQRXUGLVFORVXUHLQIRUPHGE\IUDPHZRUNVFRQVLVWHQWZLWKVKDUHKROGHU
         H[SHFWDWLRQV
             o 6$6%¶V)RRG5HWDLOHUVDQG'LVWULEXWRUV6WDQGDUG
             o *5,*OREDO6XVWDLQDELOLW\5HSRUWLQJ6WDQGDUGV
             o 7DVN)RUFHRQ&OLPDWHUHODWHG)LQDQFLDO'LVFORVXUHV 7&)' IUDPHZRUN
    9    (VWDEOLVKHGIRUPDO'LYHUVLW\(TXLW\ ,QFOXVLRQ '( , )UDPHZRUNIRU$FWLRQWR
             o &UHDWHDPRUHLQFOXVLYHFXOWXUH
             o 'HYHORSGLYHUVHWDOHQW
             o $GYDQFHGLYHUVHSDUWQHUVKLSV
             o $GYDQFHHTXLWDEOHFRPPXQLWLHV
             o /LVWHQGHHSO\DQGUHSRUWSURJUHVV
    9    6SHFLILFDOO\LQFOXGHGLYHUVHFDQGLGDWHVLQHYHU\H[WHUQDOH[HFXWLYHRIILFHUDQG%RDUGGLUHFWRUVHDUFK
    9    'LVFORVH((2GDWDDQQXDOO\

Shareholder Rights
    9    $QQXDOGLUHFWRUHOHFWLRQ
    9    6LPSOHPDMRULW\VWDQGDUGIRUXQFRQWHVWHGGLUHFWRUHOHFWLRQVDQGSOXUDOLW\LQFRQWHVWHGHOHFWLRQV
    9    1RSRLVRQSLOO
    9    6KDUHKROGHUVKDYHWKHULJKWWRFDOODVSHFLDOPHHWLQJ
    9    5REXVWORQJVWDQGLQJVKDUHKROGHUHQJDJHPHQWSURJUDPZLWKUHJXODUHQJDJHPHQWVLQFOXGLQJZLWK
         LQGHSHQGHQWGLUHFWRUVWREHWWHUXQGHUVWDQGVKDUHKROGHUV¶SHUVSHFWLYHVDQGFRQFHUQVRQDEURDGDUUD\RI
         WRSLFVVXFKDVFRUSRUDWHJRYHUQDQFHDQG(6*PDWWHUV
    9    $GRSWHGSUR[\DFFHVVIRUGLUHFWRUQRPLQHHVHQDEOLQJDVKDUHKROGHURUJURXSRIXSWRVKDUHKROGHUV
         KROGLQJRIWKH&RPSDQ\¶VFRPPRQVKDUHVIRUDWOHDVWWKUHH\HDUVWRQRPLQDWHFDQGLGDWHVIRUWKHJUHDWHU
         RIWZRVHDWVRURI%RDUGQRPLQHHV

Compensation Governance
    9    5REXVWFODZEDFNDQGUHFRXSPHQWSROLF\
    9    3D\SURJUDPWLHGWRSHUIRUPDQFHDQGEXVLQHVVVWUDWHJ\
    9    0DMRULW\RISD\LVORQJWHUPDQGDWULVNZLWKQRJXDUDQWHHGERQXVHVRUVDODU\LQFUHDVHV
    9    6WRFNRZQHUVKLSJXLGHOLQHVDOLJQH[HFXWLYHDQGGLUHFWRULQWHUHVWVZLWKWKRVHRIVKDUHKROGHUV
    9    3URKLELWLRQRQDOOKHGJLQJSOHGJLQJDQGVKRUWVDOHVRI.URJHUVHFXULWLHVE\GLUHFWRUVDQGH[HFXWLYH
         RIILFHUV
    9    1RWD[JURVVXSSD\PHQWVWRH[HFXWLYHV
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Environmental, Social, & Governance Strategy
     .URJHU¶V(QYLURQPHQWDO6RFLDO *RYHUQDQFH6WUDWHJ\LVFDOOHGThriving Together7KLVVWUDWHJ\UHIOHFWVWKH
HYROXWLRQRIWKH&RPSDQ\¶VORQJKLVWRU\RIRSHUDWLQJUHVSRQVLEO\DGYDQFLQJHFRQRPLFRSSRUWXQLW\DQG
VXVWDLQDELOLW\LQRXURZQRSHUDWLRQVDQGVXSSO\FKDLQDQGJLYLQJEDFNPHDQLQJIXOO\WRRXUFRPPXQLWLHV
     2XU(6*REMHFWLYHLVWRDFKLHYHSRVLWLYHDQGODVWLQJFKDQJHWKURXJKDVKDUHGYDOXHIUDPHZRUNWKDWEHQHILWV
SHRSOHDQGRXUSODQHWDQGFUHDWHVPRUHUHVLOLHQWV\VWHPVIRUWKHIXWXUH7KHFHQWHUSLHFHRI.URJHU¶V(6*VWUDWHJ\LV
RXU=HUR+XQJHU_=HUR:DVWHVRFLDODQGHQYLURQPHQWDOLPSDFWSODQ,QWURGXFHGILYH\HDUVDJR=HUR+XQJHU_=HUR
:DVWHLVDQLQGXVWU\OHDGLQJSODWIRUPIRUFROOHFWLYHDFWLRQDQGV\VWHPVFKDQJHDWJOREDOQDWLRQDODQGORFDOOHYHOV
     2XU(6*VWUDWHJ\DLPVWRDGGUHVVPDWHULDOWRSLFVRILPSRUWDQFHWRRXUEXVLQHVVDQGNH\VWDNHKROGHUVLQFOXGLQJ
RXUDVVRFLDWHVFXVWRPHUVVKDUHKROGHUVDQGRWKHUV.H\(6*WRSLFVௗ²ௗLQIRUPHGE\DVWUXFWXUHGPDWHULDOLW\
DVVHVVPHQWDQGHQJDJHPHQWZLWKRXUVKDUHKROGHUVDQGRWKHUVWDNHKROGHUVௗ²ௗDOLJQWRWKUHHVWUDWHJLFSLOODUV3HRSOH
3ODQHWDQG6\VWHPV3OHDVHVHHPRUHGHWDLOVKHUHLQ.URJHU¶VDQQXDO(6*5HSRUWhttps://www.thekrogerco.com/wp-
content/uploads/2022/08/Kroger-Co-2022-ESG-Report.pdf. 7KHLQIRUPDWLRQRQRUDFFHVVLEOHWKURXJKWKLVZHEVLWH
LVQRWSDUWRIRULQFRUSRUDWHGE\UHIHUHQFHLQWRWKLVSUR[\VWDWHPHQW
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Director Nominee Highlights




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2023 Director Nominee Snapshot
Diversity and Tenure




Skills and Experience

                           Key Attributes and Skills of All Kroger Director Nominees

    x   ,QWHOOHFWXDODQGDQDO\WLFDOVNLOOV                      x   %XVLQHVVDQGSURIHVVLRQDODFKLHYHPHQWV
    x   +LJKLQWHJULW\DQGEXVLQHVVHWKLFV                      x   $ELOLW\WRUHSUHVHQWWKHLQWHUHVWVRIDOOVKDUHKROGHUV
    x   6WUHQJWKRIFKDUDFWHUDQGMXGJHPHQW                     x   .QRZOHGJHRIFRUSRUDWHJRYHUQDQFHPDWWHUV
    x   $ELOLW\WRGHYRWHVLJQLILFDQWWLPHWR%RDUG             x   8QGHUVWDQGLQJRIWKHDGYLVRU\DQGSURDFWLYH
        GXWLHV                                                      RYHUVLJKWUHVSRQVLELOLW\RIRXU%RDUG
    x   'HVLUHDQGDELOLW\WRFRQWLQXDOO\EXLOGH[SHUWLVH       x   &RPSUHKHQVLRQRIWKHLUKLVRUKHUDVDSXEOLF
        LQHPHUJLQJDUHDVRIVWUDWHJLFIRFXVIRURXU                FRPSDQ\GLUHFWRUDQGWKHILGXFLDU\GXWLHVRZHGWR
        &RPSDQ\                                                     VKDUHKROGHUV
    x   'HPRQVWUDWHGIRFXVRQSURPRWLQJHTXDOLW\                x   $ELOLW\WRZRUNFRRSHUDWLYHO\ZLWKRWKHUPHPEHUV
                                                                     RIWKHERDUG
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                                   Notice of 2023 Annual Meeting of Shareholders
Fellow Kroger Shareholders:
We are pleased to invite you to join us for Kroger’s 2023 Annual Meeting of Shareholders on June 22, 2023 at
11:00 a.m. eastern time. The 2023 Annual Meeting of Shareholders will once again be a completely virtual
meeting conducted via webcast. We believe this is the most effective approach for enabling the highest
possible attendance.
<RXZLOOEHDEOHWRSDUWLFLSDWHLQWKHYLUWXDOPHHWLQJRQOLQHYRWH\RXUVKDUHVHOHFWURQLFDOO\DQGVXEPLWTXHVWLRQV
GXULQJWKHPHHWLQJE\YLVLWLQJZZZYLUWXDOVKDUHKROGHUPHHWLQJFRP.5

When:              -XQHDWDPHDVWHUQWLPH
Where:             :HEFDVWDWZZZYLUWXDOVKDUHKROGHUPHHWLQJFRP.5
Items of Business:       7RHOHFWGLUHFWRUQRPLQHHV
                          7RDSSURYHRXUH[HFXWLYHFRPSHQVDWLRQRQDQDGYLVRU\EDVLV
                          7RVHOHFWWKHIUHTXHQF\RIIXWXUHDGYLVRU\YRWHVRQH[HFXWLYHFRPSHQVDWLRQRQDQ
                              DGYLVRU\EDVLV
                          7RUDWLI\WKHVHOHFWLRQRIRXULQGHSHQGHQWDXGLWRUIRUILVFDO\HDU
                          7RYRWHRQILYHVKDUHKROGHUSURSRVDOVLISURSHUO\SUHVHQWHGDWWKHPHHWLQJ
                          7RWUDQVDFWRWKHUEXVLQHVVDVPD\SURSHUO\FRPHEHIRUHWKHPHHWLQJ
Who can Vote:      +ROGHUVRI.URJHUFRPPRQVKDUHVDWWKHFORVHRIEXVLQHVVRQWKHUHFRUGGDWH$SULODUH
                    HQWLWOHGWRQRWLFHRIDQGWRYRWHDWWKHPHHWLQJ
How to Vote:          YOUR VOTE IS EXTREMELY IMPORTANT NO MATTER HOW MANY SHARES
                       YOU OWN!3OHDVHYRWH\RXUSUR[\LQRQHRIWKHIROORZLQJZD\V
                              By the internet,\RXFDQYRWHE\WKH,QWHUQHWE\YLVLWLQJZZZSUR[\YRWHFRP
                              By telephone,\RXFDQYRWHE\WHOHSKRQHE\IROORZLQJWKHLQVWUXFWLRQVRQ\RXUSUR[\
                                FDUGYRWLQJLQVWUXFWLRQIRUPRUQRWLFH
                              By mail,\RXFDQYRWHE\PDLOE\VLJQLQJDQGGDWLQJ\RXUSUR[\FDUGLI\RXUHTXHVWHG
                                SULQWHGPDWHULDOVRU\RXUYRWLQJLQVWUXFWLRQIRUPDQGUHWXUQLQJLWLQWKHSRVWDJHSDLG
                                HQYHORSHSURYLGHGZLWKWKLVSUR[\VWDWHPHQW
                              By mobile deviceE\VFDQQLQJWKH45FRGHRQ\RXUSUR[\FDUGQRWLFHRILQWHUQHW
                                DYDLODELOLW\RISUR[\PDWHULDOVRUYRWLQJLQVWUXFWLRQIRUP
                              By attending and voting electronicallyGXULQJWKHYLUWXDO$QQXDO0HHWLQJDW
                                ZZZYLUWXDOVKDUHKROGHUPHHWLQJFRP.5
Attending the          6KDUHKROGHUVKROGLQJVKDUHVDWWKHFORVHRIEXVLQHVVRQWKHUHFRUGGDWHPD\DWWHQGWKHYLUWXDO
Meeting:               PHHWLQJ<RXZLOOEHDEOHWRDWWHQGWKH$QQXDO0HHWLQJYRWHDQGVXEPLW\RXUTXHVWLRQVLQ
                       DGYDQFHRIDQGUHDOWLPHGXULQJWKHPHHWLQJYLDDOLYHDXGLRZHEFDVWE\YLVLWLQJ
                       ZZZYLUWXDOVKDUHKROGHUPHHWLQJFRP.57RSDUWLFLSDWHLQWKHPHHWLQJ\RXPXVWKDYH
                       \RXUVL[WHHQGLJLWFRQWUROQXPEHUWKDWLVVKRZQRQ\RXU1RWLFHRI,QWHUQHW$YDLODELOLW\RI3UR[\
                       0DWHULDOVRURQ\RXUSUR[\FDUGLI\RXUHFHLYHWKHSUR[\PDWHULDOVE\PDLO7KHUHLVQRSK\VLFDO
                       ORFDWLRQIRUWKH$QQXDO0HHWLQJ<RXPD\RQO\DWWHQGWKH$QQXDO0HHWLQJYLUWXDOO\
    Our Board of Directors unanimously recommends that you vote “FOR ALL” of Kroger’s director
nominees on the proxy card, “FOR” the management proposals 2 and 4, “FOR” one year for management
proposal 3, and “AGAINST” the shareholder proposals 5 through .
    :HDSSUHFLDWH\RXUFRQWLQXHGFRQILGHQFHLQ.URJHUDQGZHORRNIRUZDUGWR\RXUSDUWLFLSDWLRQLQRXUYLUWXDO
PHHWLQJ

  0D\                                                 %\2UGHURIWKH%RDUGRI'LUHFWRUV
  &LQFLQQDWL2KLR                                            &KULVWLQH6:KHDWOH\6HFUHWDU\




                                                            
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                                                   Proxy Statement
                                                                                                          0D\
     :HDUHSURYLGLQJWKLVQRWLFHSUR[\VWDWHPHQWDQGDQQXDOUHSRUWWRWKHVKDUHKROGHUVRI7KH.URJHU&R
 ³.URJHU´³ZH´³XV´³RXU´ LQFRQQHFWLRQZLWKWKHVROLFLWDWLRQRISUR[LHVE\WKH%RDUGRI'LUHFWRUVRI.URJHU WKH
³%RDUG´ IRUXVHDWWKH$QQXDO0HHWLQJRI6KDUHKROGHUVWREHKHOGRQ-XQHDWDPHDVWHUQWLPHDQG
DWDQ\DGMRXUQPHQWVWKHUHRI7KH$QQXDO0HHWLQJZLOOEHKHOGYLUWXDOO\DQGFDQEHDFFHVVHGRQOLQHDW
ZZZYLUWXDOVKDUHKROGHUPHHWLQJFRP.57KHUHLVQRSK\VLFDOORFDWLRQIRUWKH$QQXDO0HHWLQJRI
6KDUHKROGHUV
     2XUSULQFLSDOH[HFXWLYHRIILFHVDUHORFDWHGDW9LQH6WUHHW&LQFLQQDWL2KLR2XUWHOHSKRQH
QXPEHULV7KLVQRWLFHSUR[\VWDWHPHQWDQGDQQXDOUHSRUWDQGWKHDFFRPSDQ\LQJSUR[\FDUGDUHILUVW
EHLQJVHQWRUJLYHQWRVKDUHKROGHUVRQRUDERXW0D\

                                Questions and Answers about the Annual Meeting

Why are you holding a virtual meeting?
     :HEHOLHYHDYLUWXDOPHHWLQJLVWKHPRVWHIIHFWLYHDSSURDFKIRUHQDEOLQJWKHKLJKHVWSRVVLEOHDWWHQGDQFH%DVHG
RQRXUH[SHULHQFHZLWKYLUWXDOPHHWLQJVGXULQJWKH&29,'SDQGHPLFZHEHOLHYHWKLVIDFLOLWDWHVVKDUHKROGHU
DWWHQGDQFHDQGSDUWLFLSDWLRQDQGKDVDOORZHGDJUHDWHUQXPEHURITXHVWLRQVIURPDEURDGHUJURXSRIVKDUHKROGHUVWR
EHDVNHGDQGDQVZHUHGDWWKH0HHWLQJWKDQLQDQLQSHUVRQIRUPDW,WDOVRUHGXFHVRXUFRVWVDQGLQDVPDOOZD\WKH
FDUERQIRRWSULQWRIRXUDFWLYLWLHV7KHUHIRUHRXU$QQXDO0HHWLQJLVEHLQJKHOGRQDYLUWXDORQO\EDVLVZLWKQR
SK\VLFDOORFDWLRQ2XUJRDOIRUWKH$QQXDO0HHWLQJLVWRHQDEOHWKHEURDGHVWQXPEHURIVKDUHKROGHUVWRSDUWLFLSDWHLQ
WKHPHHWLQJZKLOHSURYLGLQJVXEVWDQWLDOO\WKHVDPHDFFHVVDQGH[FKDQJHZLWK0DQDJHPHQWDQGWKH%RDUGDVDQLQ
SHUVRQPHHWLQJ:HEHOLHYHWKDWZHDUHREVHUYLQJEHVWSUDFWLFHVIRUYLUWXDOVKDUHKROGHUPHHWLQJVLQFOXGLQJE\
SURYLGLQJDVXSSRUWOLQHIRUWHFKQLFDODVVLVWDQFHDQGDGGUHVVLQJDVPDQ\VKDUHKROGHUTXHVWLRQVDVWLPHDOORZV

Who can vote?
     <RXFDQYRWHLIDVRIWKHFORVHRIEXVLQHVVRQ$SULOWKHUHFRUGGDWH\RXZHUHDVKDUHKROGHURIUHFRUG
RI.URJHUFRPPRQVKDUHV

Who is asking for my vote, and who pays for this proxy solicitation?
     <RXUSUR[\LVEHLQJVROLFLWHGE\.URJHU¶V%RDUGRI'LUHFWRUV.URJHULVSD\LQJWKHFRVWRIVROLFLWDWLRQ:H
KDYHKLUHG').LQJ &R,QFDSUR[\VROLFLWDWLRQILUPWRDVVLVWXVLQVROLFLWLQJSUR[LHVDQGZHZLOOSD\WKHPD
IHHHVWLPDWHGQRWWRH[FHHGSOXVUHDVRQDEOHH[SHQVHVIRUWKHVROLFLWDWLRQ
     :HDOVRZLOOUHLPEXUVHEDQNVEURNHUVQRPLQHHVDQGRWKHUILGXFLDULHVIRUSRVWDJHDQGUHDVRQDEOHH[SHQVHV
LQFXUUHGE\WKHPLQIRUZDUGLQJWKHSUR[\PDWHULDOWREHQHILFLDORZQHUVRIRXUFRPPRQVKDUHV
     3UR[LHVPD\EHVROLFLWHGSHUVRQDOO\E\WHOHSKRQHHOHFWURQLFDOO\YLDWKH,QWHUQHWRUE\PDLO

Who are the members of the Proxy Committee?
   $QQH*DWHV:5RGQH\0F0XOOHQDQG5RQDOG/6DUJHQWDOO.URJHU'LUHFWRUVDUHWKHPHPEHUVRIWKH3UR[\
&RPPLWWHHIRURXU$QQXDO0HHWLQJ

What is the difference between a “shareholder of record” and a “beneficial shareholder” of shares held in
street name?
    <RXDUHWKH³VKDUHKROGHURIUHFRUG´IRUDQ\.URJHUFRPPRQVKDUHVWKDW\RXRZQGLUHFWO\LQ\RXUQDPHLQDQ
DFFRXQWZLWK.URJHU¶VVWRFNWUDQVIHUDJHQW(46KDUHRZQHU6HUYLFHV
     <RXDUHD³EHQHILFLDOVKDUHKROGHU´RIVKDUHVKHOGLQVWUHHWQDPHLI\RXU.URJHUFRPPRQVKDUHVDUHKHOGLQDQ
DFFRXQWZLWKDEURNHUEDQNRURWKHUQRPLQHHDVFXVWRGLDQRQ\RXUEHKDOI7KHEURNHUEDQNRURWKHUQRPLQHHLV
FRQVLGHUHGWKHVKDUHKROGHURIUHFRUGRIWKHVHVKDUHV$VWKHEHQHILFLDORZQHU\RXKDYHWKHULJKWWRLQVWUXFWWKH
EURNHUEDQNRURWKHUQRPLQHHRQKRZWRYRWH\RXU.URJHUFRPPRQVKDUHV





                                                           
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How do I vote my shares held in street name?
     ,I\RXUVKDUHVDUHKHOGE\DEDQNEURNHURURWKHUKROGHURIUHFRUG\RXZLOOUHFHLYHYRWLQJLQVWUXFWLRQVIURP
WKHKROGHURIUHFRUG<RXUEURNHULVUHTXLUHGWRYRWH\RXUVKDUHVLQDFFRUGDQFHZLWK\RXULQVWUXFWLRQV,QPRVWFDVHV
\RXPD\YRWHE\WHOHSKRQHRURYHUWKHLQWHUQHWDVLQVWUXFWHG

How do I vote my proxy?
     <RXFDQYRWH\RXUSUR[\LQRQHRIWKHIROORZLQJZD\V
        %\WKHLQWHUQHW\RXFDQYRWHE\WKH,QWHUQHWE\YLVLWLQJZZZSUR[\YRWHFRP
        %\WHOHSKRQH\RXFDQYRWHE\WHOHSKRQHE\IROORZLQJWKHLQVWUXFWLRQVRQ\RXUSUR[\FDUGYRWLQJ
            LQVWUXFWLRQIRUPRUQRWLFH
        %\PDLO\RXFDQYRWHE\PDLOE\VLJQLQJDQGGDWLQJ\RXUSUR[\FDUGLI\RXUHTXHVWHGSULQWHGPDWHULDOV
            RU\RXUYRWLQJLQVWUXFWLRQIRUPDQGUHWXUQLQJLWLQWKHSRVWDJHSDLGHQYHORSHSURYLGHGZLWKWKLVSUR[\
            VWDWHPHQW
        %\PRELOHGHYLFHE\VFDQQLQJWKH45FRGHRQ\RXUSUR[\FDUGQRWLFHRILQWHUQHWDYDLODELOLW\RISUR[\
            PDWHULDOVRUYRWLQJLQVWUXFWLRQIRUP
        %\DWWHQGLQJDQGYRWLQJHOHFWURQLFDOO\GXULQJWKHYLUWXDO$QQXDO0HHWLQJDW
            ZZZYLUWXDOVKDUHKROGHUPHHWLQJFRP.5

How can I participate and ask questions at the Annual Meeting?
      :HDUHFRPPLWWHGWRHQVXULQJWKDWRXUVKDUHKROGHUVKDYHVXEVWDQWLDOO\WKHVDPHRSSRUWXQLWLHVWRSDUWLFLSDWHLQ
WKHYLUWXDO$QQXDO0HHWLQJDVWKH\ZRXOGDWDQLQSHUVRQPHHWLQJ,QRUGHUWRVXEPLWDTXHVWLRQDWWKH$QQXDO
0HHWLQJ\RXZLOOQHHG\RXUGLJLWFRQWUROQXPEHUWKDWLVSULQWHGRQWKH1RWLFHRUSUR[\FDUGWKDW\RXUHFHLYHGLQ
WKHPDLORUYLDHPDLOLI\RXKDYHHOHFWHGWRUHFHLYHPDWHULDOHOHFWURQLFDOO\<RXPD\ORJLQPLQXWHVEHIRUHWKH
VWDUWRIWKH$QQXDO0HHWLQJDQGVXEPLWTXHVWLRQVRQOLQH<RXZLOOEHDEOHWRVXEPLWTXHVWLRQVGXULQJWKH$QQXDO
0HHWLQJDVZHOO:HHQFRXUDJH\RXWRVXEPLWDQ\TXHVWLRQWKDWLVUHOHYDQWWRWKHEXVLQHVVRIWKHPHHWLQJ4XHVWLRQV
DVNHGGXULQJWKH$QQXDO0HHWLQJZLOOEHUHDGDQGDGGUHVVHGGXULQJWKHPHHWLQJ6KDUHKROGHUVDUHHQFRXUDJHGWRORJ
LQWRWKHZHEFDVWDWOHDVWPLQXWHVSULRUWRWKHVWDUWRIWKHPHHWLQJWRWHVWWKHLU,QWHUQHWFRQQHFWLYLW\<RXPD\DOVR
VXEPLWTXHVWLRQVLQDGYDQFHRIWKHPHHWLQJYLDWKHLQWHUQHWDWZZZSUR[\YRWHFRPZKHQ\RXYRWH\RXUVKDUHV

What documentation must I provide to be admitted to the virtual Annual Meeting and how do I attend?
     ,I\RXUVKDUHVDUHUHJLVWHUHGLQ\RXUQDPH\RXZLOOQHHGWRSURYLGH\RXUVL[WHHQGLJLWFRQWUROQXPEHULQFOXGHG
RQ\RXU1RWLFHRU\RXUSUR[\FDUG LI\RXUHFHLYHDSULQWHGFRS\RIWKHSUR[\PDWHULDOV LQRUGHUWREHDEOHWR
SDUWLFLSDWHLQWKHPHHWLQJ,I\RXUVKDUHVDUHQRWUHJLVWHUHGLQ\RXUQDPH LIIRULQVWDQFH\RXUVKDUHVDUHKHOGLQ
³VWUHHWQDPH´IRU\RXE\\RXUEURNHUEDQNRURWKHULQVWLWXWLRQ \RXPXVWIROORZWKHLQVWUXFWLRQVSULQWHGRQ\RXU
9RWLQJ,QVWUXFWLRQ)RUP,QRUGHUWRSDUWLFLSDWHLQWKH$QQXDO0HHWLQJSOHDVHORJRQWR
ZZZYLUWXDOVKDUHKROGHUPHHWLQJFRP.5DWOHDVWPLQXWHVSULRUWRWKHVWDUWRIWKH$QQXDO0HHWLQJWRSURYLGH
WLPHWRUHJLVWHUDQGGRZQORDGWKHUHTXLUHGVRIWZDUHLIQHHGHG7KHZHEFDVWUHSOD\ZLOOEHDYDLODEOHDW
ZZZYLUWXDOVKDUHKROGHUPHHWLQJFRP.5XQWLOWKH$QQXDO0HHWLQJRI6KDUHKROGHUV,I\RXDFFHVVWKH
PHHWLQJEXWGRQRWHQWHU\RXUFRQWUROQXPEHU\RXZLOOEHDEOHWROLVWHQWRWKHSURFHHGLQJVEXW\RXZLOOQRWEHDEOH
WRYRWHRURWKHUZLVHSDUWLFLSDWH

What if I have technical or other “IT” problems logging into or participating in the Annual Meeting webcast?
     :HKDYHSURYLGHGDWROOIUHHWHFKQLFDOVXSSRUW³KHOSOLQH´WKDWFDQEHDFFHVVHGE\DQ\VKDUHKROGHUZKRLV
KDYLQJFKDOOHQJHVORJJLQJLQWRRUSDUWLFLSDWLQJLQWKHYLUWXDO$QQXDO0HHWLQJ,I\RXHQFRXQWHUDQ\GLIILFXOWLHV
DFFHVVLQJWKHYLUWXDOPHHWLQJGXULQJWKHFKHFNLQRUPHHWLQJWLPHSOHDVHFDOOWKHWHFKQLFDOVXSSRUWOLQHQXPEHUWKDW
ZLOOEHSRVWHGRQWKHYLUWXDO$QQXDO0HHWLQJORJLQSDJH

What documentation must I provide to vote online at the Annual Meeting?
     ,I\RXDUHDVKDUHKROGHURIUHFRUGDQGSURYLGH\RXUVL[WHHQGLJLWFRQWUROQXPEHUZKHQ\RXDFFHVVWKHPHHWLQJ
\RXPD\YRWHDOOVKDUHVUHJLVWHUHGLQ\RXUQDPHGXULQJWKH$QQXDO0HHWLQJZHEFDVW,I\RXDUHQRWDVKDUHKROGHURI
UHFRUGDVWRDQ\RI\RXUVKDUHV LHLQVWHDGRIEHLQJUHJLVWHUHGLQ\RXUQDPHDOORUDSRUWLRQRI\RXUVKDUHVDUH
UHJLVWHUHGLQ³VWUHHWQDPH´DQGKHOGE\\RXUEURNHUEDQNRURWKHULQVWLWXWLRQIRU\RXUEHQHILW \RXPXVWIROORZWKH
LQVWUXFWLRQVSULQWHGRQ\RXU9RWLQJ,QVWUXFWLRQ)RUP





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How do I submit a question at the Annual Meeting?
    ,I\RXZRXOGOLNHWRVXEPLWDTXHVWLRQGXULQJWKH$QQXDO0HHWLQJRQFH\RXKDYHORJJHGLQWRWKHZHEFDVWDW
ZZZYLUWXDOVKDUHKROGHUPHHWLQJFRP.5VLPSO\W\SH\RXUTXHVWLRQLQWKH³DVNDTXHVWLRQ´ER[DQGFOLFN
³VXEPLW´<RXPD\DOVRVXEPLWTXHVWLRQVLQDGYDQFHRIWKHPHHWLQJYLDWKHLQWHUQHWDWZZZSUR[\YRWHFRPZKHQ
\RXYRWH\RXUVKDUHV

When should I submit my question at the Annual Meeting?
     (DFK\HDUDWWKH$QQXDO0HHWLQJZHKROGDTXHVWLRQDQGDQVZHUVHVVLRQIROORZLQJWKHIRUPDOEXVLQHVVSRUWLRQ
RIWKHPHHWLQJGXULQJZKLFKVKDUHKROGHUVPD\VXEPLWTXHVWLRQVWRXV:HDQWLFLSDWHKDYLQJVXFKDTXHVWLRQDQG
DQVZHUVHVVLRQDWWKH$QQXDO0HHWLQJ<RXFDQVXEPLWDTXHVWLRQXSWRPLQXWHVSULRUWRWKHVWDUWRIWKH
$QQXDO0HHWLQJDQGXSXQWLOWKHWLPHZHLQGLFDWHWKDWWKHTXHVWLRQDQGDQVZHUVHVVLRQLVFRQFOXGHG+RZHYHUZH
HQFRXUDJH\RXWRVXEPLW\RXUTXHVWLRQVEHIRUHRUGXULQJWKHIRUPDOEXVLQHVVSRUWLRQRIWKHPHHWLQJDQGRXU
SUHSDUHGVWDWHPHQWVLQDGYDQFHRIWKHTXHVWLRQDQGDQVZHUVHVVLRQLQRUGHUWRHQVXUHWKDWWKHUHLVDGHTXDWHWLPHWR
DGGUHVVTXHVWLRQVLQDQRUGHUO\PDQQHU<RXPD\DOVRVXEPLWTXHVWLRQVLQDGYDQFHRIWKHPHHWLQJYLDWKHLQWHUQHWDW
ZZZSUR[\YRWHFRPZKHQ\RXYRWH\RXUVKDUHV

Can I change or revoke my proxy?
     7KHFRPPRQVKDUHVUHSUHVHQWHGE\HDFKSUR[\ZLOOEHYRWHGLQWKHPDQQHU\RXVSHFLILHGXQOHVV\RXUSUR[\LV
UHYRNHGEHIRUHLWLVH[HUFLVHG<RXPD\FKDQJHRUUHYRNH\RXUSUR[\E\SURYLGLQJZULWWHQQRWLFHWR.URJHU¶V
6HFUHWDU\DW9LQH6WUHHW&LQFLQQDWL2KLRE\H[HFXWLQJDQGVHQGLQJXVDVXEVHTXHQWSUR[\RUE\
YRWLQJ\RXUVKDUHVZKLOHORJJHGLQDQGSDUWLFLSDWLQJLQWKH$QQXDO0HHWLQJRI6KDUHKROGHUV

How many shares are outstanding?
    $VRIWKHFORVHRIEXVLQHVVRQ$SULOWKHUHFRUGGDWHRXURXWVWDQGLQJYRWLQJVHFXULWLHVFRQVLVWHGRI
FRPPRQVKDUHV

How many votes per share?
    (DFKFRPPRQVKDUHRXWVWDQGLQJRQWKHUHFRUGGDWHZLOOEHHQWLWOHGWRRQHYRWHRQHDFKRIWKHGLUHFWRU
QRPLQHHVDQGRQHYRWHRQHDFKRWKHUSURSRVDO6KDUHKROGHUVPD\QRWFXPXODWHYRWHVLQWKHHOHFWLRQRIGLUHFWRUV

What voting instructions can I provide?

          <RXPD\LQVWUXFWWKHSUR[LHVWRYRWH³)RU´RU³$JDLQVW´HDFKSURSRVDO H[FHSWIRU3URSRVDO RU\RXPD\
LQVWUXFWWKHSUR[LHVWR³$EVWDLQ´IURPYRWLQJ)RU3URSRVDO\RXPD\LQVWUXFWWKHSUR[LHVWRYRWHIRU³2QH´
³7ZR´RU³7KUHH´\HDUV

What happens if proxy cards or voting instruction forms are returned without instructions?
     ,I\RXDUHDUHJLVWHUHGVKDUHKROGHUDQG\RXUHWXUQ\RXUSUR[\FDUGZLWKRXWLQVWUXFWLRQVWKH3UR[\&RPPLWWHH
ZLOOYRWHLQDFFRUGDQFHZLWKWKHUHFRPPHQGDWLRQVRIWKH%RDUG
      ,I\RXKROGVKDUHVLQVWUHHWQDPHDQGGRQRWSURYLGH\RXUEURNHUZLWKVSHFLILFYRWLQJLQVWUXFWLRQVRQSURSRVDOV
DQG±ZKLFKDUHFRQVLGHUHGQRQURXWLQHPDWWHUV\RXUEURNHUGRHVQRWKDYHWKHDXWKRULW\WRYRWHRQWKRVH
SURSRVDOV7KLVLVJHQHUDOO\UHIHUUHGWRDVD³EURNHUQRQYRWH´3URSRVDOUDWLILFDWLRQRIDXGLWRUVLVXVXDOO\
FRQVLGHUHGDURXWLQHPDWWHUDQGWKHUHIRUH\RXUEURNHUPD\YRWH\RXUVKDUHVDFFRUGLQJWR\RXUEURNHU¶VGLVFUHWLRQ
     7KHYRWHUHTXLUHGLQFOXGLQJWKHHIIHFWRIEURNHUQRQYRWHVDQGDEVWHQWLRQVIRUHDFKRIWKHPDWWHUVSUHVHQWHGIRU
VKDUHKROGHUYRWHLVVHWIRUWKEHORZ




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                                      Kroger’s Corporate Governance Practices
     .URJHULVFRPPLWWHGWRVWURQJFRUSRUDWHJRYHUQDQFH:HEHOLHYHWKDWVWURQJJRYHUQDQFHEXLOGVWUXVWDQG
SURPRWHVWKHORQJWHUPLQWHUHVWVRIRXUVKDUHKROGHUV+LJKOLJKWVRIRXUFRUSRUDWHJRYHUQDQFHSUDFWLFHVLQFOXGHWKH
IROORZLQJ

Board Governance Practices
     9     6WURQJ%RDUGRYHUVLJKWRIHQWHUSULVHULVN
     9     6WURQJH[SHULHQFHGLQGHSHQGHQW/HDG'LUHFWRUZLWKFOHDUO\GHILQHGUROHDQGUHVSRQVLELOLWLHV
     9     &RPPLWPHQWWR%RDUGUHIUHVKPHQWDQGGLYHUVLW\
     9     RIGLUHFWRUQRPLQHHVDUHZRPHQ
     9     7KHFKDLUVRIWKH$XGLW)LQDQFHDQG3XEOLF5HVSRQVLELOLWLHV&RPPLWWHHVDUHZRPHQ
     9     $QQXDOHYDOXDWLRQRIWKH&KDLUPDQDQG&(2E\WKHLQGHSHQGHQWGLUHFWRUVOHGE\WKHLQGHSHQGHQW/HDG
           'LUHFWRU
     9     $OOGLUHFWRUQRPLQHHVDUHLQGHSHQGHQWH[FHSWIRUWKH&(2
     9     $OOILYH%RDUG&RPPLWWHHVDUHIXOO\LQGHSHQGHQW
     9     $QQXDO%RDUGDQG&RPPLWWHHVHOIDVVHVVPHQWVFRQGXFWHGE\LQGHSHQGHQW/HDG'LUHFWRURUDQ
           LQGHSHQGHQWWKLUGSDUW\
     9     5HJXODUH[HFXWLYHVHVVLRQVRIWKHLQGHSHQGHQWGLUHFWRUVDWWKH%RDUGDQG&RPPLWWHHOHYHO
     9     +LJKGHJUHHRI%RDUGLQWHUDFWLRQZLWKPDQDJHPHQWWRHQVXUHVXFFHVVIXORYHUVLJKWDQGVXFFHVVLRQ
           SODQQLQJ
     9     %DODQFHGWHQXUH
     9     5REXVWVKDUHKROGHUHQJDJHPHQWSURJUDP
     9     5REXVWFRGHRIHWKLFV
Environmental, Social, & Governance (ESG) Practices
   9 /RQJVWDQGLQJ%RDUG&RPPLWWHHGHGLFDWHGWR(6*RYHUVLJKWௗ²ௗ3XEOLF5HVSRQVLELOLWLHV&RPPLWWHHௗ²
       ௗIRUPHGLQ
            o $PHQGHGWKH&RPPLWWHH&KDUWHULQWRPRUHVSHFLILFDOO\UHIOHFWWKH&RPPLWWHH¶VIRFXVHGDQG
                SULRULWL]HGDSSURDFKWRPDWHULDO(6*WRSLFVUHODWHGWRHQYLURQPHQWDOLVVXHVVXVWDLQDELOLW\DQG
                VRFLDOLPSDFW
    9     $QQXDO(6*UHSRUWVKDULQJSURJUHVVRQRXUJRDOVIRU=HUR+XQJHU_=HUR:DVWH-XVW ,QFOXVLYH
          (FRQRP\)RRG:DVWH2SHUDWLRQDO:DVWH:DWHU3DFNDJLQJ&OLPDWH,PSDFWDQG5HVSRQVLEOH6RXUFLQJ
             o 7KH(6*UHSRUWUHSUHVHQWHGWKHWK\HDURIGHVFULELQJRXUSURJUHVVDQGLQLWLDWLYHVUHJDUGLQJ
                  VXVWDLQDELOLW\DQGRWKHU(6*PDWWHUV
    9     &RPPLWWHGWRWUDQVSDUHQF\LQRXUGLVFORVXUHLQIRUPHGE\IUDPHZRUNVFRQVLVWHQWZLWKVKDUHKROGHU
          H[SHFWDWLRQV
              o 6$6%¶V)RRG5HWDLOHUVDQG'LVWULEXWRUV6WDQGDUG
              o *5,*OREDO6XVWDLQDELOLW\5HSRUWLQJ6WDQGDUGV
              o 7DVN)RUFHRQ&OLPDWHUHODWHG)LQDQFLDO'LVFORVXUHV 7&)' IUDPHZRUN
    9     (VWDEOLVKHGIRUPDO'LYHUVLW\(TXLW\ ,QFOXVLRQ '( , )UDPHZRUNIRU$FWLRQWR
              o &UHDWHDPRUHLQFOXVLYHFXOWXUH
              o 'HYHORSGLYHUVHWDOHQW
              o $GYDQFHGLYHUVHSDUWQHUVKLSV
              o $GYDQFHHTXLWDEOHFRPPXQLWLHV
              o /LVWHQGHHSO\DQGUHSRUWSURJUHVV
    9     6SHFLILFDOO\LQFOXGHGLYHUVHFDQGLGDWHVLQHYHU\H[WHUQDOH[HFXWLYHRIILFHUDQG%RDUGGLUHFWRUVHDUFK
    9     'LVFORVH((2GDWDDQQXDOO\


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Shareholder Rights
    9    $QQXDOGLUHFWRUHOHFWLRQ
    9    6LPSOHPDMRULW\VWDQGDUGIRUXQFRQWHVWHGGLUHFWRUHOHFWLRQVDQGSOXUDOLW\LQFRQWHVWHGHOHFWLRQV
    9    1RSRLVRQSLOO
    9    6KDUHKROGHUVKDYHWKHULJKWWRFDOODVSHFLDOPHHWLQJ
    9    5REXVWORQJVWDQGLQJVKDUHKROGHUHQJDJHPHQWSURJUDPZLWKUHJXODUHQJDJHPHQWVLQFOXGLQJZLWK
         LQGHSHQGHQWGLUHFWRUVWREHWWHUXQGHUVWDQGVKDUHKROGHUV¶SHUVSHFWLYHVDQGFRQFHUQVRQDEURDGDUUD\RI
         WRSLFVVXFKDVFRUSRUDWHJRYHUQDQFHDQG(6*PDWWHUV
    9    $GRSWHGSUR[\DFFHVVIRUGLUHFWRUQRPLQHHVHQDEOLQJDVKDUHKROGHURUJURXSRIXSWRVKDUHKROGHUV
         KROGLQJRIWKH&RPSDQ\¶VFRPPRQVKDUHVIRUDWOHDVWWKUHH\HDUVWRQRPLQDWHFDQGLGDWHVIRUWKHJUHDWHU
         RIWZRVHDWVRURI%RDUGQRPLQHHV

Compensation Governance
    9    5REXVWFODZEDFNDQGUHFRXSPHQWSROLF\
    9    3D\SURJUDPWLHGWRSHUIRUPDQFHDQGEXVLQHVVVWUDWHJ\
    9    0DMRULW\RISD\LVORQJWHUPDQGDWULVNZLWKQRJXDUDQWHHGERQXVHVRUVDODU\LQFUHDVHV
    9    6WRFNRZQHUVKLSJXLGHOLQHVDOLJQH[HFXWLYHDQGGLUHFWRULQWHUHVWVZLWKWKRVHRIVKDUHKROGHUV
    9    3URKLELWLRQRQDOOKHGJLQJSOHGJLQJDQGVKRUWVDOHVRI.URJHUVHFXULWLHVE\GLUHFWRUVDQGH[HFXWLYH
         RIILFHUV
    9    1RWD[JURVVXSSD\PHQWVWRH[HFXWLYHV

Environmental, Social, & Governance Strategy
     .URJHU¶V(QYLURQPHQWDO6RFLDO *RYHUQDQFH6WUDWHJ\LVFDOOHGThriving Together7KLVVWUDWHJ\UHIOHFWVWKH
HYROXWLRQRIWKH&RPSDQ\¶VORQJKLVWRU\RIRSHUDWLQJUHVSRQVLEO\DGYDQFLQJHFRQRPLFRSSRUWXQLW\DQG
VXVWDLQDELOLW\LQRXURZQRSHUDWLRQVDQGVXSSO\FKDLQDQGJLYLQJEDFNPHDQLQJIXOO\WRRXUFRPPXQLWLHV
     2XU(6*REMHFWLYHLVWRDFKLHYHSRVLWLYHDQGODVWLQJFKDQJHWKURXJKDVKDUHGYDOXHIUDPHZRUNWKDWEHQHILWV
SHRSOHDQGRXUSODQHWDQGFUHDWHVPRUHUHVLOLHQWV\VWHPVIRUWKHIXWXUH7KHFHQWHUSLHFHRI.URJHU¶V(6*VWUDWHJ\LV
RXU=HUR+XQJHU_=HUR:DVWHVRFLDODQGHQYLURQPHQWDOLPSDFWSODQ,QWURGXFHGILYH\HDUVDJR=HUR+XQJHU_=HUR
:DVWHLVDQLQGXVWU\OHDGLQJSODWIRUPIRUFROOHFWLYHDFWLRQDQGV\VWHPVFKDQJHDWJOREDOQDWLRQDODQGORFDOOHYHOV
     2XU(6*VWUDWHJ\DLPVWRDGGUHVVPDWHULDOWRSLFVRILPSRUWDQFHWRRXUEXVLQHVVDQGNH\VWDNHKROGHUVLQFOXGLQJ
RXUDVVRFLDWHVFXVWRPHUVVKDUHKROGHUVDQGRWKHUV.H\(6*WRSLFVௗ²ௗLQIRUPHGE\DVWUXFWXUHGPDWHULDOLW\
DVVHVVPHQWDQGHQJDJHPHQWZLWKRXUVKDUHKROGHUVDQGRWKHUVWDNHKROGHUVௗ²ௗDOLJQWRWKUHHVWUDWHJLFSLOODUV3HRSOH
3ODQHWDQG6\VWHPV3OHDVHVHHPRUHGHWDLOVKHUHLQ.URJHU¶VDQQXDO(6*5HSRUWhttps://www.thekrogerco.com/wp-
content/uploads/2022/08/Kroger-Co-2022-ESG-Report.pdf. 7KHLQIRUPDWLRQRQRUDFFHVVLEOHWKURXJKWKLVZHEVLWH
LVQRWSDUWRIRULQFRUSRUDWHGE\UHIHUHQFHLQWRWKLVSUR[\VWDWHPHQW




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People²2XU$VSLUDWLRQ+HOSELOOLRQVOLYHKHDOWKLHUPRUHVXVWDLQDEOHOLIHVW\OHV

Food Access, Health, & Nutrition
     .URJHU¶VEUDQGSURPLVH)UHVKIRU(YHU\RQHUHIOHFWVRXUEHOLHIWKDWHYHU\RQHVKRXOGKDYHDFFHVVWRDIIRUGDEOH
IUHVKIRRG:HDUHFRPPLWWHGWRIRRGDQGSURGXFWVDIHW\DQGWRLPSURYLQJIRRGDFFHVVIRRGVHFXULW\DQGKHDOWK
DQGQXWULWLRQIRUDOO3URWHFWLQJRXUDVVRFLDWHV¶DQGFXVWRPHUV¶KHDOWKDQGVDIHW\DQGHQKDQFLQJRXUVKRSSLQJ
H[SHULHQFHDUHDOVRNH\IRFXVDUHDV
    x    .URJHUDVVRFLDWHVKDYHUHVFXHGPRUHWKDQPLOOLRQSRXQGVRIZKROHVRPHVXUSOXVIRRGWRKHOSHQG
         KXQJHUVLQFHLQWURGXFLQJ=HUR+XQJHU_=HUR:DVWH
    x    ,QWKHVDPHSHULRG.URJHUGLUHFWHGDWRWDORIELOOLRQLQFKDULWDEOHJLYLQJIRUKXQJHUUHOLHILQRXU
         FRPPXQLWLHV
    x    :LWKIRRGDQGIXQGVFRPELQHG.URJHUGLUHFWHGELOOLRQPHDOVWRRXUFRPPXQLWLHVVLQFHZHOO
         DKHDGRIRXUJRDORIELOOLRQPHDOVE\

Just & Inclusive Economy
    :HRIIHUDFFHVVWRHPSOR\PHQWEHQHILWVDQGPRUHSURYLGLQJJRRGMREVIRULQGLYLGXDOVDJHVWRZLWKD
ZLGHUDQJHRIH[SHULHQFHVNLOOVDQGFDUHHUDVSLUDWLRQV,Q.URJHULQWURGXFHGRXUFramework for Action:
Diversity, Equity, & InclusionDSRLQWSODQZLWKVKRUWDQGORQJWHUPVWHSVWRDFFHOHUDWHDQGSURPRWHJUHDWHU
FKDQJHLQWKHZRUNSODFHDQGFRPPXQLWLHVZHVHUYH
    x    6LQFH.URJHUKDVWUDLQHGOHDGHUVDQGDVVRFLDWHVLQGLYHUVLW\HTXLW\ LQFOXVLRQLQFOXGLQJ
         8QFRQVFLRXV%LDVWUDLQLQJ
    x    :HDFKLHYHGQHDUO\ELOOLRQLQGLYHUVHVXSSOLHUVSHQGDQQXDOO\RQWUDFNWRRXUJRDORIELOOLRQ
         DQQXDOO\E\
    x    .URJHUDFKLHYHGDSHUIHFWVFRUHRIRQWKH+XPDQ5LJKWV&DPSDLJQ&RUSRUDWH(TXDOLW\,QGH[IRUWKH
         IRXUWKFRQVHFXWLYH\HDUDQGZDVOLVWHGDPRQJWKH%HVW3ODFHVWR:RUNIRU'LVDELOLW\,QFOXVLRQE\WKH
         'LVDELOLW\(TXDOLW\,QGH[
    x    7KH.URJHU&R)RXQGDWLRQHVWDEOLVKHGDPLOOLRQ5DFLDO(TXLW\)XQGDQGVXEVHTXHQWO\LQFUHDVHG
         IXQGLQJWR0WRVXSSRUWRUJDQL]DWLRQVGULYLQJFKDQJHDWQDWLRQDODQGORFDOOHYHOV7RGDWHWKHIXQGKDV
         GLUHFWHGDWRWDORIPLOOLRQLQJUDQWVWRQRQSURILWRUJDQL]DWLRQVDGYDQFLQJPHDQLQJIXOFKDQJHLQRXU
         FRPPXQLWLHV
Planet²2XU$VSLUDWLRQ3URWHFWDQGUHVWRUHQDWXUDOUHVRXUFHVIRUDEULJKWHUIXWXUH

Climate Impact
     .URJHULVFRPPLWWHGWRUHGXFLQJWKHLPSDFWRIRXUEXVLQHVVRQWKHFOLPDWHDQGDVVHVVLQJWKHSRWHQWLDOIXWXUH
ULVNRIDFKDQJLQJFOLPDWHWRRXUEXVLQHVVRSHUDWLRQV:HVXSSRUWWKHWUDQVLWLRQWRDORZHUFDUERQHFRQRP\E\
LQYHVWLQJLQHQHUJ\HIILFLHQF\DQGUHQHZDEOHHQHUJ\DQGE\UHGXFLQJJUHHQKRXVHJDV *+* HPLVVLRQVDQGIRRG
ZDVWH
    x    .URJHU¶VFXUUHQWFRPPLWPHQWLVWRUHGXFH6FRSHDQG*+*HPLVVLRQVE\E\XVLQJD
         EDVHOLQH5HIOHFWLQJXSGDWHGJXLGDQFHIURPWKH,QWHUJRYHUQPHQWDO3DQHORQ&OLPDWH&KDQJHDQGWKH
         6FLHQFH%DVHG7DUJHWVLQLWLDWLYH 6%7L .URJHULVLQWKHSURFHVVRIUHVHWWLQJWKLVWDUJHWWREHPRUH
         DPELWLRXVDQGDOLJQWRDၨ&VFHQDULR
    x    ,QDGGLWLRQ.URJHULVFRQGXFWLQJDQDO\VLVWRLQIRUPDQHZ6FRSHWDUJHWWRUHGXFH*+*HPLVVLRQVLQRXU
         YDOXHFKDLQ:HH[SHFWWRFRPSOHWHWKHJRDOVHWWLQJSURFHVVLQHDUO\7RDOLJQZLWK6%7LJXLGDQFH
         .URJHULVDOVRVHWWLQJDQHZ)RUHVW/DQGDQG$JULFXOWXUH )/$* WDUJHWWRIXUWKHUUHGXFHHPLVVLRQVLQ
         ODQGLQWHQVLYHVHFWRUVOLNHIRRGDQGDJULFXOWXUDOSURGXFWLRQ
    x    5HGXFLQJIRRGZDVWHLVDQRWKHUZD\.URJHULVKHOSLQJUHGXFHFOLPDWHLPSDFWV,QZHUHGXFHGUHWDLO
         IRRGZDVWHJHQHUDWHGDQGLPSURYHGUHWDLOIRRGZDVWHGLYHUVLRQIURPODQGILOOWRWKURXJKRXU=HUR
         +XQJHU_=HUR:DVWHSODQRQWKHSDWKWRDFKLHYLQJGLYHUVLRQE\




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Resource Conservation
     $VDUHVSRQVLEOHEXVLQHVVZHFRQVHUYHQDWXUDOUHVRXUFHVWRKHOSVDIHJXDUGSHRSOHDQGRXUSODQHW2XUFXUUHQW
JRDOLVWRGLYHUWRUPRUHRIZDVWHIURPODQGILOOVFRPSDQ\ZLGHE\DQGWRLGHQWLI\DOWHUQDWLYHPHWKRGVRI
ZDVWHPDQDJHPHQW
    x    :HKDYHDFRPSUHKHQVLYHVHWRIVXVWDLQDEOHSDFNDJLQJJRDOVWKDWLQFOXGHVHHNLQJWRDFKLHYH
         UHF\FODEOHUHXVDEOHRUFRPSRVWDEOHSDFNDJLQJIRUOur BrandsSURGXFWVE\,QZHFRPSOHWHG
         DQOur BrandsSDFNDJLQJIRRWSULQWDQGEDVHOLQHWRLQIRUPRXUURDGPDSWR
    x    .URJHUSDUWQHUHGZLWK7HUUD&\FOHWRODXQFKDILUVWRILWVNLQGUHF\FOLQJSURJUDPIRUIOH[LEOHSODVWLF
         SDFNDJLQJDFURVVWKHOur BrandsSRUWIROLR1RZ.URJHUFXVWRPHUVFDQFROOHFWIOH[LEOHVQDFNDQGFKLS
         EDJVSRXFKHVSHWIRRGSDFNDJLQJDQGPRUHௗ²ௗLWHPVW\SLFDOO\QRWHOLJLEOHIRUFXUEVLGHUHF\FOLQJௗ²ௗIRU
         HDV\DQGIUHHPDLOLQUHF\FOLQJ
    x    ,Q.URJHUDOVRFRQGXFWHGDVL[PRQWKSLORWZLWKWKHLQQRYDWLYH/RRSUHXVDEOHFRQVXPHUSURGXFW
         SDFNDJLQJSODWIRUPDW)UHG0H\HUVWRUHVLQWKH3RUWODQG2UHJRQDUHD:HSODQWRSXEOLVKDUHSRUW
         RXWOLQLQJZKDWPD\EHQHHGHGWRDFKLHYHFRPPHUFLDOVFDOHZLWKUHXVDEOHSDFNDJLQJLQWKHIXWXUH
    x    7RVXSSRUWPRUHVXVWDLQDEOHDJULFXOWXUH.URJHURIIHUVDQH[SDQGLQJVHOHFWLRQRIQDWXUDORUJDQLFIUHH
         IURPDQGSODQWEDVHGSURGXFWVLQFOXGLQJRXUSRSXODU6LPSOH7UXWKSURGXFWOLQH7KHFRPSDQ\DOVRLVLQ
         WKHSURFHVVRIGHYHORSLQJDVXVWDLQDEOHDJULFXOWXUHFRPPLWPHQWIRULWVIUHVKSURGXFHVXSSO\FKDLQ
Systems —2XU$VSLUDWLRQ%XLOGPRUHUHVSRQVLEOHDQGLQFOXVLYHJOREDOV\VWHPV

Business Integration
     .URJHULVFRPPLWWHGWRVWURQJFRUSRUDWHDQG(6*JRYHUQDQFH%XVLQHVVDQGIXQFWLRQDOOHDGHUVDUHHQJDJHGLQ
RXU(6*VWUDWHJ\DQGDFFRXQWDEOHIRUUHVXOWV2SHUDWLRQDOL]LQJ(6*LVDMRXUQH\KRZHYHUZHEHOLHYHRXU
FHQWUDOL]HGVWUXFWXUHYHUWLFDOLQWHJUDWLRQDQGFRPPLWPHQWWRUHVSRQVLEOHVRXUFLQJHQDEOHVRXUSURJUHVV
    x    :HDUHFRPPLWWHGWR%RDUGUHIUHVKPHQWDQGGLYHUVLW\ZLWKILYHRIGLUHFWRUVEHLQJZRPHQLQFOXGLQJWKH
         FKDLUVRIWKH$XGLW)LQDQFHDQG3XEOLF5HVSRQVLELOLWLHV&RPPLWWHHV
    x    7KH3XEOLF5HVSRQVLELOLWLHV&RPPLWWHHPHHWVWKUHHWLPHVD\HDUWRGLVFXVVSURJUHVVUHODWHGWRWKH
         FRPSDQ\¶V(6*VWUDWHJ\DQGNH\WRSLFV,QDUHDVRIIRFXVHGHQJDJHPHQWLQFOXGHG.URJHU¶V*+*
         HPLVVLRQVUHGXFWLRQURDGPDSDQGDSSURDFKWRUHVSRQVLEOHVRXUFLQJ
    x    $FRUH(6*WHDPOHDGVLQWHUQDOFURVVIXQFWLRQDOZRUNLQJJURXSVIRFXVHGRQSROLF\LVVXHVPDQDJHPHQWDQG
         VWUDWHJ\LPSOHPHQWDWLRQIRUNH\(6*WRSLFVLQFOXGLQJIRRGDQGSURGXFWDFFHVVDQGDIIRUGDELOLW\FOLPDWH
         LPSDFWVVXVWDLQDEOHSDFNDJLQJDQGVXSSO\FKDLQDFFRXQWDELOLW\

Responsible & Resilient Systems
    .URJHULVSDUWRI±DQGGHSHQGHQWRQ±DQLQWHUFRQQHFWHGJOREDOIRRGV\VWHPDQGFRQVXPHUJRRGVVXSSO\FKDLQ
$UHQHZHGIRFXVRQWKHVHQDWXUDOV\VWHPVDQGWKHSROLFLHVDQGSUDFWLFHVJRYHUQLQJWKHPZLOOKHOSSURWHFWRXUSODQHW
DQGZRUNHUVZKRVHOLYHOLKRRGVGHSHQGRQDUHVLOLHQWDQGUHVSRQVLEOHVXSSO\FKDLQ
    x    .URJHUFRQWLQXHVWRDGYDQFHLWVFRPPLWPHQWWRDOLJQRXUKXPDQULJKWVSUDFWLFHZLWKWKH81*XLGLQJ
         3ULQFLSOHVRQ%XVLQHVVDQG+XPDQ5LJKWVDQGGHYHORSDFRPSUHKHQVLYHKXPDQULJKWVGXHGLOLJHQFH
         IUDPHZRUN,QWKHSDVW\HDU.URJHUFRQGXFWHGWZRKXPDQULJKWVLPSDFWDVVHVVPHQWVLQGLIIHUHQWVHFWRUVRI
         RXUJOREDOVXSSO\FKDLQ
    x    :HFRQWLQXHWRRIIHUDZLGHDVVRUWPHQWRI)DLU7UDGH&HUWLILHGSURGXFWVLQWKHOur BrandsDVVRUWPHQWWR
         VXSSRUWFRPPXQLWLHVDURXQGWKHZRUOG
    x    .URJHUFRQWLQXHVWRWUDQVLWLRQWKHIRXQGDWLRQRIRXUDQLPDOZHOIDUHSROLF\WRWKH)LYH'RPDLQVRI$QLPDO
         :HOIDUHDQLQWHUQDWLRQDOO\UHVSHFWHGDSSURDFKWKDWHPSKDVL]HVFXUUHQWDQLPDOVFLHQFHDQGRXWFRPHEDVHG
         VWDQGDUGV:HDUHZRUNLQJZLWKRXUVXSSOLHUVWRPHDVXUHDQGUHSRUWSURJUHVVWRZDUGRXUJRDOV
    x    2XUORQJVWDQGLQJFRPPLWPHQWWRVHDIRRGVXVWDLQDELOLW\LQFOXGHVSDUWQHUVKLSVDQGSURJUDPVDLPHGDW
         LPSURYLQJPDULQHHFRV\VWHPVWKURXJKFRQVHUYDWLRQDQGILVKHU\LPSURYHPHQWSUDFWLFHV
    x    .URJHU¶V1R'HIRUHVWDWLRQ&RPPLWPHQWIRUOur BrandsDLPVWRDGGUHVVGHIRUHVWDWLRQLPSDFWVLQKLJKHU
         ULVNVXSSO\FKDLQVVXFKDVSDOPRLOSXOSDQGSDSHUVR\DQGEHHI




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                                          Proposals to Shareholders

Item No. 1. Election of Directors
You are being asked to elect 11 director nominees for a one-year term.
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                7KH%RDUGRI'LUHFWRUVXQDQLPRXVO\UHFRPPHQGVWKDW\RXYRWH³)25$//´RI.URJHU¶VGLUHFWRU
    FOR
                QRPLQHHV




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     $VRIWKHGDWHRIWKLVSUR[\VWDWHPHQW.URJHU¶V%RDUGRI'LUHFWRUVFRQVLVWVRIPHPEHUV$OOQRPLQHHVLI
HOHFWHGDWWKH$QQXDO0HHWLQJZLOOVHUYHXQWLOWKHDQQXDOPHHWLQJLQRUXQWLOKLVRUKHUVXFFHVVRUVKDYH
EHHQHOHFWHGE\WKHVKDUHKROGHUVRUE\WKH%RDUGSXUVXDQWWR.URJHU¶V5HJXODWLRQVDQGTXDOLILHG(DFKRIRXU
GLUHFWRUQRPLQHHVLGHQWLILHGLQWKLVSUR[\VWDWHPHQWKDVFRQVHQWHGWREHLQJQDPHGDVDQRPLQHHLQRXUSUR[\
PDWHULDOVDQGKDVDFFHSWHGWKHQRPLQDWLRQDQGDJUHHGWRVHUYHDVDGLUHFWRULIHOHFWHGE\.URJHU¶VVKDUHKROGHUV
     .URJHU¶V$UWLFOHVRI,QFRUSRUDWLRQSURYLGHWKDWWKHYRWHUHTXLUHGIRUHOHFWLRQRIDGLUHFWRUQRPLQHHE\WKH
VKDUHKROGHUVH[FHSWLQDFRQWHVWHGHOHFWLRQRUZKHQFXPXODWLYHYRWLQJLVLQHIIHFWLVWKHDIILUPDWLYHYRWHRID
PDMRULW\RIWKHYRWHVFDVWIRURUDJDLQVWWKHHOHFWLRQRIDQRPLQHH
     7KH&RPPLWWHHPHPEHUVKLSVVWDWHGEHORZDUHWKRVHLQHIIHFWDVRIWKHGDWHRIWKLVSUR[\VWDWHPHQW7KH
H[SHULHQFHTXDOLILFDWLRQVDWWULEXWHVDQGVNLOOVWKDWOHGWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHDQGWKH%RDUGWR
FRQFOXGHWKDWWKHIROORZLQJLQGLYLGXDOVVKRXOGVHUYHDVGLUHFWRUVDUHVHWIRUWKRSSRVLWHHDFKLQGLYLGXDO¶VQDPH,Q
DGGLWLRQDOORIRXU'LUHFWRU1RPLQHHVGHPRQVWUDWHWKHIROORZLQJTXDOLWLHV

                           Key Attributes and Skills of All Kroger Director Nominees

    x   ,QWHOOHFWXDODQGDQDO\WLFDOVNLOOV                       x   %XVLQHVVDQGSURIHVVLRQDODFKLHYHPHQWV
    x   +LJKLQWHJULW\DQGEXVLQHVVHWKLFV                       x   $ELOLW\WRUHSUHVHQWWKHLQWHUHVWVRIDOOVKDUHKROGHUV
    x   6WUHQJWKRIFKDUDFWHUDQGMXGJHPHQW                      x   .QRZOHGJHRIFRUSRUDWHJRYHUQDQFHPDWWHUV
    x   $ELOLW\WRGHYRWHVLJQLILFDQWWLPHWR%RDUG              x   8QGHUVWDQGLQJRIWKHDGYLVRU\DQGSURDFWLYH
        GXWLHV                                                       RYHUVLJKWUHVSRQVLELOLW\RIRXU%RDUG
    x   'HVLUHDQGDELOLW\WRFRQWLQXDOO\EXLOGH[SHUWLVH        x   &RPSUHKHQVLRQRIWKHLUKLVRUKHUDVDSXEOLF
        LQHPHUJLQJDUHDVRIVWUDWHJLFIRFXVIRURXU                 FRPSDQ\GLUHFWRUDQGWKHILGXFLDU\GXWLHVRZHGWR
        &RPSDQ\                                                      VKDUHKROGHUV
    x   'HPRQVWUDWHGIRFXVRQSURPRWLQJHTXDOLW\                 x   $ELOLW\WRZRUNFRRSHUDWLYHO\ZLWKRWKHUPHPEHUV
                                                                      RIWKHERDUG




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YOUR VOTE IS EXTREMELY IMPORTANT. The Board of Directors unanimously recommends a vote
“FOR ALL” of Kroger’s director nominees.

Board Succession Planning and Refreshment Mechanisms
      %RDUGVXFFHVVLRQSODQQLQJLVDQRQJRLQJ\HDUURXQGSURFHVV7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHH
UHFRJQL]HVWKHLPSRUWDQFHRIWKRXJKWIXO%RDUGUHIUHVKPHQWDQGHQJDJHVLQDFRQWLQXLQJSURFHVVRILGHQWLI\LQJ
DWWULEXWHVVRXJKWIRUIXWXUH%RDUGPHPEHUV7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHHWDNHVLQWRDFFRXQWWKH%RDUGDQG
&RPPLWWHHHYDOXDWLRQVUHJDUGLQJWKHVSHFLILFTXDOLWLHVVNLOOVDQGH[SHULHQFHVWKDWZRXOGFRQWULEXWHWRRYHUDOO
%RDUGDQG&RPPLWWHHHIIHFWLYHQHVVDVZHOODVWKHIXWXUHQHHGVRIWKH%RDUGDQGLWV&RPPLWWHHVLQOLJKWRI.URJHU¶V
FXUUHQWDQGORQJWHUPEXVLQHVVVWUDWHJLHVDQGWKHVNLOOVDQGTXDOLILFDWLRQVRIGLUHFWRUVZKRDUHH[SHFWHGWRUHWLUHLQ
WKHIXWXUHLQFOXGLQJDVDUHVXOWRIRXU%RDUGUHWLUHPHQWSROLF\ZKLFKUHTXLUHVGLUHFWRUVWRUHWLUHDWWKHDQQXDO
PHHWLQJIROORZLQJWKHLUQGELUWKGD\

Outside Board Service
     1RGLUHFWRUZKRLVDQRIILFHURIWKH&RPSDQ\PD\VHUYHDVDGLUHFWRURIDQRWKHUFRPSDQ\ZLWKRXWWKHDSSURYDO
RIWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHH'LUHFWRUVZKRDUHQRWRIILFHUVRIWKH&RPSDQ\PD\QRWVHUYHDVDGLUHFWRU
RIDQRWKHUFRPSDQ\LILQVRGRLQJVXFKVHUYLFHZRXOGLQWHUIHUHZLWKWKHGLUHFWRU¶VDELOLW\WRSURSHUO\SHUIRUPKLVRU
KHUUHVSRQVLELOLWLHVRQEHKDOIRIWKH&RPSDQ\DQGLWVVKDUHKROGHUVDVGHWHUPLQHGE\WKH&RUSRUDWH*RYHUQDQFH
&RPPLWWHH1RQHRIRXUFXUUHQWGLUHFWRUVVHUYHRQPRUHWKDQWKUHHSXEOLFFRPSDQ\%RDUGVLQFOXGLQJ.URJHU¶V
%RDUG

Board Diversity
     2XUGLUHFWRUQRPLQHHVUHIOHFWDZLGHDUUD\RIH[SHULHQFHVNLOOVDQGEDFNJURXQGV(DFKGLUHFWRULVLQGLYLGXDOO\
TXDOLILHGWRPDNHXQLTXHDQGVXEVWDQWLDOFRQWULEXWLRQVWR.URJHU&ROOHFWLYHO\RXUGLUHFWRUV¶GLYHUVHYLHZSRLQWVDQG
LQGHSHQGHQWPLQGHGQHVVHQKDQFHWKHTXDOLW\DQGHIIHFWLYHQHVVRI%RDUGGHOLEHUDWLRQVDQGGHFLVLRQPDNLQJ2XU
%RDUGLVDG\QDPLFJURXSRIQHZDQGH[SHULHQFHGPHPEHUVZKLFKUHIOHFWVDQDSSURSULDWHEDODQFHRILQVWLWXWLRQDO
NQRZOHGJHDQGIUHVKSHUVSHFWLYHVDERXW.URJHUGXHWRWKHYDULHGOHQJWKRIWHQXUHRQWKH%RDUG:HEHOLHYHWKLV
EOHQGRITXDOLILFDWLRQVDWWULEXWHVDQGWHQXUHHQDEOHVKLJKO\HIIHFWLYH%RDUGOHDGHUVKLS
     7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHHFRQVLGHUVUDFLDOHWKQLFDQGJHQGHUGLYHUVLW\WREHLPSRUWDQWHOHPHQWV
LQSURPRWLQJIXOORSHQDQGEDODQFHGGHOLEHUDWLRQVRILVVXHVSUHVHQWHGWRWKH%RDUG:KHQHYDOXDWLQJSRWHQWLDO
QRPLQHHVWRRXU%RDUGWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHFRQVLGHUVGLUHFWRUFDQGLGDWHVZKRZRXOGKHOSWKH
%RDUGUHIOHFWWKHGLYHUVLW\RIRXUVKDUHKROGHUVDVVRFLDWHVFXVWRPHUVDQGWKHFRPPXQLWLHVLQZKLFKZHRSHUDWH
LQFOXGLQJE\FRQVLGHULQJWKHLUJHRJUDSKLFORFDWLRQVWRDOLJQGLUHFWRUV¶SK\VLFDOORFDWLRQVZLWK.URJHU¶VRSHUDWLQJ
DUHDVZKHUHSRVVLEOH,QFRQQHFWLRQZLWKWKHXVHRIDWKLUGSDUW\VHDUFKILUPWRLGHQWLI\FDQGLGDWHVIRU%RDUG
SRVLWLRQVWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHLQVWUXFWVWKHWKLUGSDUW\VHDUFKILUPWRLQFOXGHLQLWVLQLWLDOOLVW
TXDOLILHGIHPDOHDQGUDFLDOO\HWKQLFDOO\GLYHUVHFDQGLGDWHV)RXURIRXUGLUHFWRUQRPLQHHVVHOILGHQWLI\DV
UDFLDOO\HWKQLFDOO\GLYHUVH0U%URZQDQG0V*DWHVVHOILGHQWLI\DV%ODFN$IULFDQ$PHULFDQDQG0V&KDRDQG
0U9HPXULVHOILGHQWLI\DV$VLDQ)LYHRIRXUGLUHFWRUVDUHZRPHQ
     7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHHEHOLHYHVWKDWLWKDVEHHQVXFFHVVIXOLQLWVHIIRUWVWRSURPRWHJHQGHUDQG
HWKQLFGLYHUVLW\RQRXU%RDUG)XUWKHUWKH%RDUGDLPVWRIRVWHUDGLYHUVHDQGLQFOXVLYHFXOWXUHWKURXJKRXWWKH
&RPSDQ\DQGEHOLHYHVWKDWWKH%RDUGQRPLQHHVDUHZHOOVXLWHGWRGRVR7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHHDQG
%RDUGEHOLHYHWKDWRXUGLUHFWRUQRPLQHHVIRUHOHFWLRQDWRXU$QQXDO0HHWLQJEULQJWRRXU%RDUGDYDULHW\RI
GLIIHUHQWH[SHULHQFHVVNLOOVDQGTXDOLILFDWLRQVWKDWFRQWULEXWHWRDZHOOIXQFWLRQLQJGLYHUVH%RDUGWKDWHIIHFWLYHO\
RYHUVHHVWKH&RPSDQ\¶VVWUDWHJ\DQGPDQDJHPHQW7KHFKDUWVEHORZVKRZWKHGLYHUVLW\RIRXUGLUHFWRUQRPLQHHV
DQGWKHVNLOOVDQGH[SHULHQFHWKDWZHFRQVLGHULPSRUWDQWIRURXUGLUHFWRUVLQOLJKWRIRXUFXUUHQWEXVLQHVVVWUDWHJ\
DQGVWUXFWXUH

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                                 Information Concerning the Board of Directors

Board Leadership Structure and Independent Lead Director
     .URJHUKDVDJRYHUQDQFHVWUXFWXUHLQZKLFKLQGHSHQGHQWGLUHFWRUVH[HUFLVHPHDQLQJIXODQGULJRURXVRYHUVLJKW
7KH%RDUG¶VOHDGHUVKLSVWUXFWXUHLQSDUWLFXODULVGHVLJQHGZLWKWKRVHSULQFLSOHVLQPLQGDQGWRDOORZWKH%RDUGWR
HYDOXDWHLWVQHHGVDQGGHWHUPLQHIURPWLPHWRWLPHZKRVKRXOGOHDGWKH%RDUG2XU&RUSRUDWH*RYHUQDQFH
*XLGHOLQHV WKH³Guidelines”)SURYLGHWKHIOH[LELOLW\IRUWKH%RDUGWRPRGLI\RXUOHDGHUVKLSVWUXFWXUHLQWKHIXWXUHDV
DSSURSULDWH:HEHOLHYHWKDW.URJHULVZHOOVHUYHGE\WKLVIOH[LEOHOHDGHUVKLSVWUXFWXUH
      ,QRUGHUWRSURPRWHWKRXJKWIXORYHUVLJKWLQGHSHQGHQFHDQGRYHUDOOHIIHFWLYHQHVVWKH%RDUG¶VOHDGHUVKLS
LQFOXGHV0U0F0XOOHQRXU&KDLUPDQDQG&(2DQGDQLQGHSHQGHQW/HDG'LUHFWRUGHVLJQDWHGE\WKH%RDUGDPRQJ
WKHLQGHSHQGHQWGLUHFWRUV7KH/HDG'LUHFWRUZRUNVZLWKWKH&KDLUPDQWRVKDUHJRYHUQDQFHUHVSRQVLELOLWLHV
IDFLOLWDWHWKHGHYHORSPHQWRI.URJHU¶VVWUDWHJ\DQGJURZVKDUHKROGHUYDOXH7KH/HDG'LUHFWRUVHUYHVDYDULHW\RI
UROHVFRQVLVWHQWZLWKFXUUHQWEHVWSUDFWLFHVLQFOXGLQJ
     x UHYLHZLQJDQGDSSURYLQJ%RDUGPHHWLQJDJHQGDVPDWHULDOVDQGVFKHGXOHVWRFRQILUPWKDWWKHDSSURSULDWH
          WRSLFVDUHUHYLHZHGZLWKVXIILFLHQWLQIRUPDWLRQSURYLGHGWRGLUHFWRUVRQHDFKWRSLFDQGDSSURSULDWHWLPHLV
          DOORFDWHGWRHDFK
     x VHUYLQJDVWKHSULQFLSDOOLDLVRQEHWZHHQWKH&KDLUPDQPDQDJHPHQWDQGWKHLQGHSHQGHQWGLUHFWRUV
     x SUHVLGLQJDWWKHH[HFXWLYHVHVVLRQVRILQGHSHQGHQWGLUHFWRUVDQGDWDOORWKHUPHHWLQJVRIWKH%RDUGDWZKLFK
          WKH&KDLUPDQLVQRWSUHVHQW
     x FDOOLQJPHHWLQJVRILQGHSHQGHQWGLUHFWRUVDWDQ\WLPHDQG
     x VHUYLQJDVWKH%RDUG¶VUHSUHVHQWDWLYHIRUDQ\FRQVXOWDWLRQDQGGLUHFWFRPPXQLFDWLRQIROORZLQJDUHTXHVW
          ZLWKPDMRUVKDUHKROGHUV
    7KHLQGHSHQGHQW/HDG'LUHFWRUFDUULHVRXWWKHVHUHVSRQVLELOLWLHVLQQXPHURXVZD\VLQFOXGLQJE\
    x IDFLOLWDWLQJFRPPXQLFDWLRQDQGFROOHJLDOLW\DPRQJWKH%RDUGPHPEHUV
    x VROLFLWLQJGLUHFWIHHGEDFNIURPLQGHSHQGHQWGLUHFWRUV
    x RYHUVHHLQJWKHVXFFHVVLRQSODQQLQJSURFHVVLQFOXGLQJPHHWLQJZLWKDZLGHUDQJHRIDVVRFLDWHVLQFOXGLQJ
       FRUSRUDWHDQGGLYLVLRQPDQDJHPHQWDVVRFLDWHV
    x PHHWLQJZLWKWKH&(2IUHTXHQWO\WRGLVFXVVVWUDWHJ\
    x VHUYLQJDVDVRXQGLQJ%RDUGDQGDGYLVRUWRWKH&(2
    x OHDGLQJDQQXDO&(2HYDOXDWLRQSURFHVVDQG
    x GLVFXVVLQJ&RPSDQ\PDWWHUVZLWKRWKHUGLUHFWRUVEHWZHHQPHHWLQJV
    8QOHVVRWKHUZLVHGHWHUPLQHGE\WKHLQGHSHQGHQWPHPEHUVRIWKH%RDUGWKH&KDLURIWKH&RUSRUDWH*RYHUQDQFH
&RPPLWWHHLVGHVLJQDWHGDVWKH/HDG'LUHFWRU5RQDOG/6DUJHQWDQLQGHSHQGHQWGLUHFWRUDQGWKH&KDLURIWKH
&RUSRUDWH*RYHUQDQFH&RPPLWWHHZDVDSSRLQWHGDVRXU%RDUG¶VLQGHSHQGHQW/HDG'LUHFWRULQ-XQH
0U6DUJHQWLVDQHIIHFWLYH/HDG'LUHFWRUIRU.URJHUGXHWRDPRQJRWKHUWKLQJVKLV
    x LQGHSHQGHQFH
    x GHHSVWUDWHJLFDQGRSHUDWLRQDOXQGHUVWDQGLQJRI.URJHUREWDLQHGZKLOHVHUYLQJDVD.URJHUGLUHFWRU
    x LQVLJKWLQWRFRUSRUDWHJRYHUQDQFH
    x H[SHULHQFHDVWKH&(2RIDQLQWHUQDWLRQDOHFRPPHUFHDQGEULFNDQGPRUWDUUHWDLOHU
    x H[SHULHQFHRQWKH%RDUGVRIRWKHUODUJHSXEOLFO\WUDGHGFRPSDQLHVDQG
    x HQJDJHPHQWDQGFRPPLWPHQWWRFDUU\LQJRXWWKHUROHDQGUHVSRQVLELOLWLHVRIWKH/HDG'LUHFWRU
       :LWKUHVSHFWWRWKHUROHVRI&KDLUPDQDQG&(2WKHGuidelinesSURYLGHWKDWWKH%RDUGZLOOGHWHUPLQHZKHWKHU
LWLVLQWKHEHVWLQWHUHVWVRI.URJHUDQGLWVVKDUHKROGHUVIRUWKHUROHVWREHFRPELQHG7KH%RDUGH[HUFLVHVWKLV
MXGJPHQWDVLWGHHPVDSSURSULDWHLQOLJKWRISUHYDLOLQJFLUFXPVWDQFHV7KH%RDUGEHOLHYHVWKDWWKLVOHDGHUVKLS
VWUXFWXUHLPSURYHVWKH%RDUG¶VDELOLW\WRIRFXVRQNH\SROLF\DQGRSHUDWLRQDOLVVXHVDQGKHOSVWKH&RPSDQ\RSHUDWH
LQWKHORQJWHUPLQWHUHVWRIVKDUHKROGHUV$GGLWLRQDOO\WKLVVWUXFWXUHSURYLGHVDQHIIHFWLYHEDODQFHEHWZHHQVWURQJ
&RPSDQ\OHDGHUVKLSDQGDSSURSULDWHVDIHJXDUGVDQGRYHUVLJKWE\LQGHSHQGHQWGLUHFWRUV2XU&(2¶VVWURQJ
EDFNJURXQGLQILQDQFHRSHUDWLRQVDQGVWUDWHJLFSDUWQHUVKLSVLVSDUWLFXODUO\LPSRUWDQWWRWKH%RDUGJLYHQ.URJHU¶V
FXUUHQWJURZWKVWUDWHJ\2XU&(2¶VFRQVLVWHQWOHDGHUVKLSGHHSLQGXVWU\H[SHUWLVHDQGH[WHQVLYHNQRZOHGJHRIWKH
&RPSDQ\DUHDOVRHVSHFLDOO\FULWLFDOLQWKHPLGVWRIWKHUDSLGO\HYROYLQJUHWDLODQGGLJLWDOODQGVFDSH7KH%RDUG
EHOLHYHVWKDWWKHVWUXFWXUHRIWKH&KDLUPDQDQGLQGHSHQGHQW/HDG'LUHFWRUSRVLWLRQVKRXOGFRQWLQXHWREHFRQVLGHUHG
DVSDUWRIWKHVXFFHVVLRQSODQQLQJSURFHVV
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Annual Board Evaluation Process
     7KH%RDUGDQGHDFKRILWV&RPPLWWHHVFRQGXFWDQDQQXDOHYDOXDWLRQWRGHWHUPLQHZKHWKHUWKH%RDUGLV
IXQFWLRQLQJHIIHFWLYHO\ERWKDWWKH%RDUGDQGDWWKH&RPPLWWHHOHYHOV$VSDUWRIWKLVDQQXDOHYDOXDWLRQWKH%RDUG
DVVHVVHVZKHWKHUWKHFXUUHQWOHDGHUVKLSVWUXFWXUHDQGIXQFWLRQFRQWLQXHVWREHDSSURSULDWHIRU.URJHUDQGLWV
VKDUHKROGHUVLQFOXGLQJLQFRQVLGHUDWLRQRIGLUHFWRUVXFFHVVLRQSODQQLQJ
     (YHU\\HDUWKH%RDUG¶VJRDOLVWRLQFUHDVHWKHHIIHFWLYHQHVVRIWKH%RDUGDQGWKHUHVXOWVRIWKHVHHYDOXDWLRQV
DUHXVHGIRUWKLVSXUSRVH7KH%RDUGUHFRJQL]HVWKDWDUREXVWHYDOXDWLRQSURFHVVLVDQHVVHQWLDOFRPSRQHQWRIVWURQJ
FRUSRUDWHJRYHUQDQFHSUDFWLFHVDQGHQVXULQJ%RDUGHIIHFWLYHQHVV7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHHRYHUVHHV
DQDQQXDOHYDOXDWLRQSURFHVVOHGE\HLWKHUWKH/HDG,QGHSHQGHQW'LUHFWRURUDQLQGHSHQGHQWWKLUGSDUW\
     (DFKGLUHFWRUFRPSOHWHVDGHWDLOHGDQQXDOHYDOXDWLRQRIWKH%RDUGDQGWKH&RPPLWWHHVRQZKLFKKHRUVKH
VHUYHVDQGWKH/HDG'LUHFWRURUDQLQGHSHQGHQWWKLUGSDUW\FRQGXFWVLQWHUYLHZVZLWKHDFKRIWKHGLUHFWRUV7KLV\HDU
WKHDQQXDOHYDOXDWLRQZDVFRQGXFWHGE\WKH/HDG'LUHFWRU
     7RSLFVFRYHUHGLQFOXGHDPRQJRWKHUV
    x    7KHHIIHFWLYHQHVVRIWKH%RDUGDQG%RDUG&RPPLWWHHVDQGWKHDFWLYHSDUWLFLSDWLRQRIDOOGLUHFWRUV
    x    7KH%RDUGDQG&RPPLWWHHV¶VNLOOVDQGH[SHULHQFHDQGZKHWKHUDGGLWLRQDOVNLOOVRUH[SHULHQFHDUHQHHGHG
    x    7KHHIIHFWLYHQHVVRI%RDUGDQG&RPPLWWHHPHHWLQJVLQFOXGLQJWKHIUHTXHQF\RIWKHPHHWLQJV
    x    %RDUGLQWHUDFWLRQZLWKPDQDJHPHQWLQFOXGLQJWKHOHYHORIDFFHVVWRPDQDJHPHQWDQGWKHUHVSRQVLYHQHVV
         RIPDQDJHPHQW
    x    7KHHIIHFWLYHQHVVRIWKH%RDUG¶VHYDOXDWLRQRIPDQDJHPHQWSHUIRUPDQFH
    x    $GGLWLRQDOVXEMHFWPDWWHUVWKH%RDUGZRXOGOLNHWRVHHSUHVHQWHGDWWKHLUPHHWLQJVRU&RPPLWWHHPHHWLQJV
    x    %RDUG¶VJRYHUQDQFHSURFHGXUHV
    x    7KHFXOWXUHRIWKH%RDUGWRSURPRWHSDUWLFLSDWLRQLQDPHDQLQJIXODQGFRQVWUXFWLYHZD\
    7KHUHVXOWVRIWKLV%RDUGHYDOXDWLRQDUHGLVFXVVHGE\WKHIXOO%RDUGDQGHDFK&RPPLWWHHDVDSSOLFDEOHDQG
FKDQJHVWRWKH%RDUG¶VDQGLWV&RPPLWWHHV¶SUDFWLFHVDUHLPSOHPHQWHGDVDSSURSULDWH
     2YHUWKHSDVWVHYHUDO\HDUVWKLVHYDOXDWLRQSURFHVVKDVFRQWULEXWHGWRYDULRXVHQKDQFHPHQWVLQWKHZD\WKH
%RDUGDQGWKH&RPPLWWHHVRSHUDWHLQFOXGLQJLQFUHDVHGIRFXVRQFRQWLQXRXV%RDUGUHIUHVKPHQWDQGGLYHUVLW\RILWV
PHPEHUVDVZHOODVHQVXULQJWKDW%RDUGDQG&RPPLWWHHDJHQGDVDUHDSSURSULDWHO\IRFXVHGRQVWUDWHJLFSULRULWLHVDQG
SURYLGHDGHTXDWHWLPHIRUGLUHFWRUGLVFXVVLRQDQGLQSXW




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Shareholder Engagement
     0DLQWDLQLQJRQJRLQJUHODWLRQVKLSVZLWKRXUVKDUHKROGHUVDQGXQGHUVWDQGLQJRXUVKDUHKROGHUV¶YLHZVLVD
SULRULW\IRUERWKRXU%RDUGDQGPDQDJHPHQWWHDP:HKDYHDORQJVWDQGLQJKLVWRU\RIHQJDJLQJZLWKRXU
VKDUHKROGHUVDQGWKURXJKRXULQYHVWRUUHODWLRQVSURJUDPDQGRXU\HDUURXQGJRYHUQDQFHRXWUHDFKSURJUDP
LQFOXGLQJSDUWLFLSDWLRQIRURXULQGHSHQGHQWGLUHFWRUV,QXQGHUWKHGLUHFWLRQRIWKH%RDUGZHUHTXHVWHG
HQJDJHPHQWPHHWLQJVZLWKVKDUHKROGHUVUHSUHVHQWLQJRIRXURXWVWDQGLQJVKDUHVDQGVXEVHTXHQWO\PHWZLWK
VKDUHKROGHUVUHSUHVHQWLQJRIRXURXWVWDQGLQJVKDUHV PDQ\RIWKRVHVKDUHKROGHUVZHPHWZLWKPRUHWKDQ
RQFH 6RPHLQYHVWRUVZHFRQWDFWHGHLWKHUGLGQRWUHVSRQGRUFRQILUPHGWKDWDGLVFXVVLRQZDVQRWQHHGHGDWWKDW
WLPH




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     :HFRQGXFWVKDUHKROGHURXWUHDFKWKURXJKRXWWKH\HDUWRHQJDJHZLWKVKDUHKROGHUVRQLVVXHVWKDWDUHLPSRUWDQW
WRWKHPDQGXV'XULQJWKHVHHQJDJHPHQWVZHGLVFXVVHGDQGVROLFLWHGIHHGEDFNRQDUDQJHRIWRSLFVZKLFKLQIRUPHG
%RDUGGLVFXVVLRQVDQGGHFLVLRQVLQFOXGLQJEXWQRWOLPLWHGWR

    Business Strategy
    x    .URJHU¶VJURZWKVWUDWHJ\SULRULWLHVDQGYDOXHGULYHUV
    x    2XUVWURQJYDOXHFUHDWLRQPRGHODQGUHFHQWSHUIRUPDQFH

    ESG Practices & Disclosures
    x    'LVFXVVLRQVZLWKVRFLDOO\FRQVFLRXVLQYHVWRUVDQG1*2VKHOSHGLQIRUPRXUQHZ(6*VWUDWHJ\DQGORQJ
         WHUPFRPPLWPHQWV
    x    7KULYLQJ7RJHWKHU.URJHU¶V(6*VWUDWHJ\LQFOXGLQJORQJWHUPHQYLURQPHQWDOVXVWDLQDELOLW\VRFLDOLPSDFW
         DQGUHVSRQVLEOHVRXUFLQJFRPPLWPHQWVSURJUHVVXSGDWHVDQGVWHSVEHLQJWDNHQWRDFKLHYHRXUDPELWLRXV
         JRDOV
    x    %RDUGRYHUVLJKWRI(6*VWUDWHJ\DQGXSGDWHG&RPPLWWHHUHVSRQVLELOLWLHV
    x    .URJHU¶V(6*UHSRUWLQJDQGGLVFORVXUHVLQFOXGLQJRXUDOLJQPHQWZLWKWKH7&)'6$6%DQG*5,
         UHSRUWLQJIUDPHZRUNV
    x    7KHFHQWHUSLHFHRIRXU(6*VWUDWHJ\LV=HUR+XQJHU_=HUR:DVWHDQLQGXVWU\OHDGLQJSODWIRUPIRU
         FROOHFWLYHDFWLRQDQGV\VWHPVFKDQJHWRHQGKXQJHULQRXUFRPPXQLWLHVDQGHOLPLQDWHZDVWHDFURVVRXU
         FRPSDQ\

    Human Capital Management
    x    2XU'( ,)UDPHZRUNIRU$FWLRQDQGVWHSVZHDUHWDNLQJWRHQVXUHRXUZRUNIRUFHUHIOHFWVWKHFRPPXQLWLHV
         ZHVHUYH
    x    2XUIRFXVRQRXUDVVRFLDWHV¶ZHOOEHLQJLQFOXGLQJLQFUHDVLQJRXUDYHUDJHKRXUO\DVVRFLDWHZDJH
         FRPSUHKHQVLYHEHQHILWVDQGRSSRUWXQLWLHVIRULQWHUQDOSURJUHVVLRQDQGOHDGHUVKLSGHYHORSPHQWWUDLQLQJ
    x    :RUNIRUFHGLYHUVLW\UHSRUWLQJLQFOXGLQJ((2GHPRJUDSKLFGLVFORVXUH
    x    5REXVW%RDUGRYHUVLJKWRIKXPDQULJKWVLQRXUVXSSO\FKDLQ
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    Compensation Structure
    x    2YHUYLHZRIFRPSHQVDWLRQSURJUDPGHVLJQDQGDOLJQPHQWRISD\DQGSHUIRUPDQFH
    x    &RQVLGHUDWLRQRIVKRUWDQGORQJWHUPPHWULFVLQFOXGLQJILQDQFLDODQGQRQILQDQFLDOPHWULFVVXFKDV(6*
         PHWULFV
    x    7KHEDODQFHRIHTXLW\DQGFDVKFRPSHQVDWLRQDVZHOODVIL[HGYHUVXVDWULVNFRPSHQVDWLRQ

    Board and Board Oversight
    x    2XU%RDUG¶VDSSURDFKWRERDUGUHIUHVKPHQWFRQVLGHULQJGLYHUVLW\EDODQFHRIWHQXUHDQGDOLJQPHQWRI
         ERDUGVNLOOVDQGH[SHULHQFHZLWK.URJHU¶VFXUUHQWDQGORQJWHUPEXVLQHVVVWUDWHJLHV
    x    %RDUGDQG&RPPLWWHHUHVSRQVLELOLWLHVIRURYHUVLJKWRI(6*SULRULWLHVDQGDSSURDFKWRULVNPDQDJHPHQW
     'LVFXVVLRQVZLWKVRFLDOO\FRQVFLRXVLQYHVWRUVDQG1*2VKHOSHGLQIRUPRXU(6*VWUDWHJ\DQGORQJWHUP
FRPPLWPHQWV2YHUDOOVKDUHKROGHUVH[SUHVVHGDSSUHFLDWLRQIRUWKHRSSRUWXQLW\WRKDYHDQRQJRLQJGLVFXVVLRQDQG
ZHUHFRPSOHPHQWDU\RI.URJHU¶V(6*SUDFWLFHV6SHFLILFDOO\VKDUHKROGHUVUHFRJQL]HGWKHDFWLRQVZHWRRNWR
IRUPDOL]HRXU(6*VWUDWHJ\7KULYLQJ7RJHWKHUDQGKRZRXU%RDUGRYHUVHHVWKLVVWUDWHJ\LQFOXGLQJRXU(6*WDUJHWV
DQGLQLWLDWLYHV7KHVHFRQYHUVDWLRQVSURYLGHGYDOXDEOHLQVLJKWVLQWRRXUVKDUHKROGHUV¶HYROYLQJSHUVSHFWLYHVZKLFK
ZHUHVKDUHGZLWKRXUIXOO%RDUG

Board’s Response to Shareholder Proposals
     $FFRXQWDELOLW\WRRXUVKDUHKROGHUVFRQWLQXHVWREHDQLPSRUWDQWFRPSRQHQWRIRXUVXFFHVV:HDFWLYHO\HQJDJH
ZLWKRXUVKDUHKROGHUSURSRQHQWV(YHU\\HDUIROORZLQJRXU$QQXDO6KDUHKROGHUV¶0HHWLQJRXU&RUSRUDWH
*RYHUQDQFH&RPPLWWHHFRQVLGHUVWKHYRWLQJRXWFRPHVIRUVKDUHKROGHUSURSRVDOV,QDGGLWLRQRXU&RUSRUDWH
*RYHUQDQFH&RPPLWWHHDQGRWKHU&RPPLWWHHVDVDSSURSULDWHFRQVLGHUSURSRVHGFRXUVHVRIDFWLRQLQOLJKWRIWKH
YRWLQJRXWFRPHVIRUVKDUHKROGHUSURSRVDOVXQGHUWKHLURYHUVLJKWDVZHOODVIHHGEDFNSURYLGHGGLUHFWO\IURPRXU
VKDUHKROGHUV

Director Nominee Selection Process
     7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHHLVUHVSRQVLEOHIRUUHFRPPHQGLQJWRWKH%RDUGDVODWHRIQRPLQHHVIRU
HOHFWLRQDWHDFKDQQXDOPHHWLQJRIVKDUHKROGHUV7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHHUHFUXLWVFDQGLGDWHVIRU
%RDUGPHPEHUVKLSWKURXJKLWVRZQHIIRUWVDQGWKURXJKUHFRPPHQGDWLRQVIURPRWKHUGLUHFWRUVDQGVKDUHKROGHUV,Q
DGGLWLRQWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHUHWDLQVDQLQGHSHQGHQWWKLUGSDUW\VHDUFKILUPWRDVVLVWLQ
LGHQWLI\LQJDQGUHFUXLWLQJGLUHFWRUFDQGLGDWHVZKRPHHWWKHFULWHULDHVWDEOLVKHGE\WKH&RUSRUDWH*RYHUQDQFH
&RPPLWWHH
    7KHVHFULWHULDDUH
    x    GHPRQVWUDWHGDELOLW\LQILHOGVFRQVLGHUHGWREHRIYDOXHWRWKH%RDUGLQFOXGLQJEXVLQHVVPDQDJHPHQW
         UHWDLOFRQVXPHURSHUDWLRQVWHFKQRORJ\ILQDQFLDOVXVWDLQDELOLW\PDQXIDFWXULQJSXEOLFVHUYLFHHGXFDWLRQ
         VFLHQFHODZDQGJRYHUQPHQW
    x    H[SHULHQFHLQKLJKJURZWKFRPSDQLHVDQGQRPLQHHVZKRVHEXVLQHVVH[SHULHQFHFDQKHOSWKH&RPSDQ\
         LQQRYDWHDQGGHULYHQHZYDOXHIURPH[LVWLQJDVVHWV
    x    KLJKHVWVWDQGDUGVRISHUVRQDOFKDUDFWHUDQGFRQGXFW
    x    ZLOOLQJQHVVWRIXOILOWKHREOLJDWLRQVRIGLUHFWRUVDQGWRPDNHWKHFRQWULEXWLRQRIZKLFKKHRUVKHLVFDSDEOH
         LQFOXGLQJUHJXODUDWWHQGDQFHDQGSDUWLFLSDWLRQDW%RDUGDQG&RPPLWWHHPHHWLQJVDQGSUHSDUDWLRQIRUDOO
         PHHWLQJVLQFOXGLQJUHYLHZRIDOOPHHWLQJPDWHULDOVSURYLGHGLQDGYDQFHRIWKHPHHWLQJDQG
    x    DELOLW\WRXQGHUVWDQGWKHSHUVSHFWLYHVRI.URJHU¶VFXVWRPHUVWDNLQJLQWRFRQVLGHUDWLRQWKHGLYHUVLW\RIRXU
         FXVWRPHUVLQFOXGLQJUHJLRQDODQGJHRJUDSKLFGLIIHUHQFHV




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     $GGLWLRQDOO\LQFRQQHFWLRQZLWKWKHXVHRIDQLQGHSHQGHQWWKLUGSDUW\VHDUFKILUPWRLGHQWLI\GLUHFWRU
FDQGLGDWHVWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHZLOOLQVWUXFWWKHILUPWRLQFOXGHLQLWVLQLWLDOOLVWTXDOLILHGIHPDOH
DQGUDFLDOO\HWKQLFDOO\GLYHUVHFDQGLGDWHV
     7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHHDOVRFRQVLGHUVGLYHUVLW\DVGLVFXVVHGLQGHWDLOXQGHU³%RDUG'LYHUVLW\´
DERYHDQGWKHVSHFLILFH[SHULHQFHDQGDELOLWLHVRIGLUHFWRUFDQGLGDWHVLQOLJKWRIRXUFXUUHQWEXVLQHVVVWUDWHJ\DQG
VWUXFWXUHDQGWKHFXUUHQWRUH[SHFWHGQHHGVRIWKH%RDUGLQLWVLGHQWLILFDWLRQDQGUHFUXLWPHQWRIGLUHFWRUFDQGLGDWHV
     7KHFULWHULDIRU%RDUGPHPEHUVKLSDSSOLHGE\WKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHLQLWVHYDOXDWLRQRI
SRWHQWLDO%RDUGPHPEHUVGRHVQRWYDU\EDVHGRQZKHWKHUDFDQGLGDWHLVUHFRPPHQGHGE\RXUGLUHFWRUVDWKLUGSDUW\
VHDUFKILUPRUVKDUHKROGHUV




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Candidates Nominated by Shareholders
     7KH&RUSRUDWH*RYHUQDQFH&RPPLWWHHZLOOFRQVLGHUVKDUHKROGHUUHFRPPHQGDWLRQVIRUGLUHFWRUQRPLQHHVIRU
HOHFWLRQWRWKH%RDUG,IVKDUHKROGHUVZLVKWRQRPLQDWHDSHUVRQRUSHUVRQVIRUHOHFWLRQWRWKH%RDUGDWRXU
DQQXDOPHHWLQJZULWWHQQRWLFHPXVWEHVXEPLWWHGWR.URJHU¶V6HFUHWDU\DQGUHFHLYHGDWRXUH[HFXWLYHRIILFHVLQ
DFFRUGDQFHZLWK.URJHU¶V5HJXODWLRQVQRWODWHUWKDQ0DUFK6XFKQRWLFHVKRXOGLQFOXGHWKHQDPHDJH
EXVLQHVVDGGUHVVDQGUHVLGHQFHDGGUHVVRIVXFKSHUVRQWKHSULQFLSDORFFXSDWLRQRUHPSOR\PHQWRIVXFKSHUVRQWKH
QXPEHURI.URJHUFRPPRQVKDUHVRZQHGRIUHFRUGRUEHQHILFLDOO\E\VXFKSHUVRQDQGDQ\RWKHULQIRUPDWLRQUHODWLQJ
WRWKHSHUVRQWKDWZRXOGEHUHTXLUHGWREHLQFOXGHGLQDSUR[\VWDWHPHQWUHODWLQJWRWKHHOHFWLRQRIGLUHFWRUV7KH
6HFUHWDU\ZLOOIRUZDUGWKHLQIRUPDWLRQWRWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHIRULWVFRQVLGHUDWLRQ7KH&RUSRUDWH
*RYHUQDQFH&RPPLWWHHZLOOXVHWKHVDPHFULWHULDLQHYDOXDWLQJFDQGLGDWHVVXEPLWWHGE\VKDUHKROGHUVDVLWXVHVLQ
HYDOXDWLQJFDQGLGDWHVLGHQWLILHGE\WKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHDVGHVFULEHGDERYH6HH³'LUHFWRU
1RPLQHH6HOHFWLRQ3URFHVV´
     $GGLWLRQDOO\WRFRPSO\ZLWKWKHXQLYHUVDOSUR[\UXOHVVKDUHKROGHUVZKRLQWHQGWRVROLFLWSUR[LHVLQVXSSRUWRI
GLUHFWRUQRPLQHHVRWKHUWKDQRXUQRPLQHHVPXVWSURYLGHQRWLFHWR.URJHU¶V6HFUHWDU\WKDWVHWVIRUWKWKHLQIRUPDWLRQ
UHTXLUHGE\5XOHDRIWKH([FKDQJH$FWQRODWHUWKDQ$SULODQGPXVWFRPSO\ZLWKWKHDGGLWLRQDO
UHTXLUHPHQWVRI5XOHD E 
      (OLJLEOHVKDUHKROGHUVKDYHWKHDELOLW\WRVXEPLWGLUHFWRUQRPLQHHVIRULQFOXVLRQLQRXUSUR[\VWDWHPHQWIRUWKH
DQQXDOPHHWLQJRIVKDUHKROGHUV7REHHOLJLEOHVKDUHKROGHUVPXVWKDYHRZQHGDWOHDVWRIRXUFRPPRQ
VKDUHVIRUDWOHDVWWKUHH\HDUV8SWRVKDUHKROGHUVDUHDEOHWRDJJUHJDWHIRUWKLVSXUSRVH1RPLQDWLRQVPXVWEH
VXEPLWWHGWRRXU&RUSRUDWH6HFUHWDU\DWRXUSULQFLSDOH[HFXWLYHRIILFHVQRHDUOLHUWKDQ'HFHPEHUDQGQR
ODWHUWKDQ-DQXDU\

Corporate Governance Guidelines
     7KH%RDUGKDVDGRSWHGWKHGuidelines,ZKLFKSURYLGHDIUDPHZRUNIRUWKH%RDUG¶VJRYHUQDQFHDQGRYHUVLJKWRI
WKH&RPSDQ\7KHGuidelinesDUHDYDLODEOHRQRXUZHEVLWHDWLUNURJHUFRPXQGHU,QYHVWRUVௗ²ௗ*RYHUQDQFHௗ²
&RUSRUDWH*RYHUQDQFH*XLGHOLQHV6KDUHKROGHUVPD\DOVRREWDLQDFRS\RIWKHGuidelines,DWQRFRVWE\PDNLQJD
ZULWWHQUHTXHVWWR.URJHU¶V6HFUHWDU\DWRXUH[HFXWLYHRIILFHV&HUWDLQNH\SULQFLSOHVDGGUHVVHGLQWKHGuidelinesDUH
VXPPDUL]HGEHORZ
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Independence
      7KH%RDUGKDVGHWHUPLQHGWKDWDOORIWKHFXUUHQWLQGHSHQGHQWGLUHFWRUVDQGQRPLQHHVKDYHQRPDWHULDO
UHODWLRQVKLSVZLWK.URJHUDQGVDWLVI\WKHFULWHULDIRULQGHSHQGHQFHVHWIRUWKLQ5XOH$RIWKH1<6(/LVWHG
&RPSDQ\0DQXDO7KHUHIRUHDOOLQGHSHQGHQWGLUHFWRUVDQGQRPLQHHVDUHLQGHSHQGHQWIRUSXUSRVHVRIWKH1<6(
OLVWLQJVWDQGDUGV7KH%RDUGPDGHLWVGHWHUPLQDWLRQEDVHGRQLQIRUPDWLRQIXUQLVKHGWRWKH&RPSDQ\E\HDFKRIWKH
GLUHFWRUVUHJDUGLQJWKHLUUHODWLRQVKLSVZLWK.URJHUDQGLWVPDQDJHPHQWDQGRWKHUUHOHYDQWLQIRUPDWLRQ7KH%RDUG
FRQVLGHUHGDPRQJRWKHUWKLQJVWKDW
    x    WKHYDOXHRIDQ\EXVLQHVVWUDQVDFWLRQVEHWZHHQ.URJHUDQGHQWLWLHVZLWKZKLFKWKHGLUHFWRUVDUHDIILOLDWHG
         IDOOVEHORZWKHWKUHVKROGVLGHQWLILHGE\WKH1<6(OLVWLQJVWDQGDUGVDQG
    x    QRGLUHFWRUVKDGDQ\PDWHULDOUHODWLRQVKLSVZLWK.URJHURWKHUWKDQVHUYLQJRQRXU%RDUG

Audit Committee Independence and Expertise
     7KH%RDUGKDVGHWHUPLQHGWKDW$QQH*DWHV.DUHQ0+RJXHW5RQDOG/6DUJHQWDQG$VKRN9HPXUL
LQGHSHQGHQWGLUHFWRUVHDFKRIZKRPLVDPHPEHURIWKH$XGLW&RPPLWWHHDUH³$XGLW&RPPLWWHHILQDQFLDOH[SHUWV´
DVGHILQHGE\DSSOLFDEOH6HFXULWLHVDQG([FKDQJH&RPPLVVLRQ ³6(&´ UHJXODWLRQVDQGWKDWDOOPHPEHUVRIWKH
$XGLW&RPPLWWHHDUH³ILQDQFLDOO\OLWHUDWH´DVWKDWWHUPLVXVHGLQWKH1<6(OLVWLQJVWDQGDUGVDQGDUHLQGHSHQGHQWLQ
DFFRUGDQFHZLWK5XOH$RIWKH6HFXULWLHV([FKDQJH$FWRI

Code of Ethics
     7KH%RDUGKDVDGRSWHGThe Kroger Co. Policy on Business EthicsDSSOLFDEOHWRDOORIILFHUVDVVRFLDWHVDQG
GLUHFWRUVLQFOXGLQJ.URJHU¶VSULQFLSDOH[HFXWLYHILQDQFLDODQGDFFRXQWLQJRIILFHUV7KHPolicy on Business Ethics
LVDYDLODEOHRQRXUZHEVLWHDWLUNURJHUFRPXQGHU,QYHVWRUV²*RYHUQDQFH²3ROLF\RQ%XVLQHVV(WKLFV
6KDUHKROGHUVPD\DOVRREWDLQDFRS\RIWKHPolicy on Business EthicsE\PDNLQJDZULWWHQUHTXHVWWR.URJHU¶V
6HFUHWDU\DWRXUH[HFXWLYHRIILFHV

Communications with the Board
     7KH%RDUGKDVHVWDEOLVKHGWZRVHSDUDWHPHFKDQLVPVIRUVKDUHKROGHUVDQGLQWHUHVWHGSDUWLHVWRFRPPXQLFDWH
ZLWKWKH%RDUG$Q\VKDUHKROGHURULQWHUHVWHGSDUW\ZKRKDVFRQFHUQVUHJDUGLQJDFFRXQWLQJLPSURSHUXVHRI.URJHU
DVVHWVRUHWKLFDOLPSURSULHWLHVPD\UHSRUWWKHVHFRQFHUQVYLDWKHWROOIUHHKRWOLQH  RUZHEVLWH
 HWKLFVSRLQWFRP HVWDEOLVKHGE\WKH%RDUG¶V$XGLW&RPPLWWHH7KHFRQFHUQVDUHLQYHVWLJDWHGE\.URJHU¶V9LFH
3UHVLGHQW&KLHI(WKLFVDQG&RPSOLDQFH2IILFHUDQGWKH9LFH3UHVLGHQWRI,QWHUQDO$XGLWDQGUHSRUWHGWRWKH$XGLW
&RPPLWWHHDVGHHPHGDSSURSULDWH
     6KDUHKROGHUVRULQWHUHVWHGSDUWLHVDOVRPD\FRPPXQLFDWHZLWKWKH%RDUGLQZULWLQJGLUHFWHGWR.URJHU¶V
6HFUHWDU\DWRXUH[HFXWLYHRIILFHV&RPPXQLFDWLRQVUHODWLQJWRSHUVRQQHOLVVXHVRUGLQDU\EXVLQHVVRSHUDWLRQVRU
FRPSDQLHVVHHNLQJWRGREXVLQHVVZLWKXVZLOOEHIRUZDUGHGWRWKHEXVLQHVVXQLWRI.URJHUWKDWWKH6HFUHWDU\GHHPV
DSSURSULDWH2WKHUFRPPXQLFDWLRQVZLOOEHIRUZDUGHGWRWKH&KDLURIWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHIRU
IXUWKHUFRQVLGHUDWLRQ7KH&KDLURIWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHHZLOOWDNHVXFKDFWLRQDVKHRUVKHGHHPV
DSSURSULDWHZKLFKPD\LQFOXGHUHIHUUDOWRWKHIXOO&RUSRUDWH*RYHUQDQFH&RPPLWWHHRUWKHHQWLUH%RDUG

Executive Officer Succession Planning
     7KHGuidelinesSURYLGHWKDWWKH&RPSHQVDWLRQ&RPPLWWHHZLOOUHYLHZ&RPSDQ\SROLFLHVDQGSURJUDPVIRU
WDOHQWGHYHORSPHQWDQGHYDOXDWLRQRIH[HFXWLYHRIILFHUVDQGZLOOUHYLHZPDQDJHPHQWVXFFHVVLRQSODQQLQJ,Q
FRQQHFWLRQZLWKWKHXVHRIDWKLUGSDUW\VHDUFKILUPWRLGHQWLI\H[WHUQDOFDQGLGDWHVIRUH[HFXWLYHRIILFHUSRVLWLRQV
LQFOXGLQJWKHFKLHIH[HFXWLYHRIILFHUWKH%RDUGDQGRUWKH&RPSDQ\DVWKHFDVHPD\EHZLOOLQVWUXFWWKHWKLUGSDUW\
VHDUFKILUPWRLQFOXGHLQLWVLQLWLDOOLVWTXDOLILHGIHPDOHDQGUDFLDOO\HWKQLFDOO\GLYHUVHFDQGLGDWHV

Attendance
     7KH%RDUGKHOGPHHWLQJVLQILVFDO\HDU'XULQJILVFDODOOLQFXPEHQWGLUHFWRUVDWWHQGHGDWOHDVW
RIWKHDJJUHJDWHQXPEHURIPHHWLQJVRIWKH%RDUGDQG&RPPLWWHHVRQZKLFKWKDWGLUHFWRUVHUYHG0HPEHUVRI
WKH%RDUGDUHH[SHFWHGWRXVHWKHLUEHVWHIIRUWVWRDWWHQGDOODQQXDOPHHWLQJVRIVKDUHKROGHUV$OO%RDUGPHPEHUV
DWWHQGHGODVW\HDU¶VYLUWXDODQQXDOPHHWLQJ




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Independent Compensation Consultants
     7KH&RPSHQVDWLRQ&RPPLWWHHGLUHFWO\HQJDJHVDFRPSHQVDWLRQFRQVXOWDQWWRDGYLVHWKH&RPSHQVDWLRQ
&RPPLWWHHLQWKHGHVLJQRI.URJHU¶VH[HFXWLYHFRPSHQVDWLRQ7KH&RPPLWWHHUHWDLQHG.RUQ)HUU\+D\ 86  ³.RUQ
)HUU\´ EHJLQQLQJLQ'HFHPEHU5HWDLQHGE\±DQGUHSRUWLQJGLUHFWO\WR±WKH&RPSHQVDWLRQ&RPPLWWHH.RUQ
)HUU\SURYLGHGWKH&RPPLWWHHZLWKDVVLVWDQFHLQHYDOXDWLQJ.URJHU¶VH[HFXWLYHFRPSHQVDWLRQSURJUDPVDQG
SROLFLHV
     ,QILVFDO.URJHUSDLG.RUQ)HUU\IRUZRUNSHUIRUPHGIRUWKH&RPSHQVDWLRQ&RPPLWWHH
.URJHURQPDQDJHPHQW¶VUHFRPPHQGDWLRQUHWDLQHG.RUQ)HUU\WRSURYLGHRWKHUVHUYLFHVIRU.URJHULQILVFDO
IRUZKLFK.URJHUSDLG7KHVHRWKHUVHUYLFHVSULPDULO\UHODWHGWRVDODU\VXUYH\VEHQFKPDUNLQJLQWHJUDWHG
UHSRUWLQJDQGRSHUDWLRQDOILQDQFHUHYLHZ7KH&RPSHQVDWLRQ&RPPLWWHHH[SUHVVO\DSSURYHG.RUQ)HUU\SHUIRUPLQJ
WKHVHDGGLWLRQDOVHUYLFHV$IWHUWDNLQJLQWRFRQVLGHUDWLRQWKH1<6(¶VLQGHSHQGHQFHVWDQGDUGVDQGWKH6(&UXOHVWKH
&RPSHQVDWLRQ&RPPLWWHHGHWHUPLQHGWKDW.RUQ)HUU\ZDVLQGHSHQGHQWDQGWKHLUZRUNKDVQRWUDLVHGDQ\FRQIOLFWRI
LQWHUHVW
    7KH&RPSHQVDWLRQ&RPPLWWHHPD\HQJDJHDQDGGLWLRQDOFRPSHQVDWLRQFRQVXOWDQWIURPWLPHWRWLPHDVLW
GHHPVDGYLVDEOH

Compensation Committee Interlocks and Insider Participation
     1RPHPEHURIWKH&RPSHQVDWLRQ&RPPLWWHHZDVDQRIILFHURUDVVRFLDWHRI.URJHUGXULQJILVFDODQGQR
PHPEHURIWKH&RPSHQVDWLRQ&RPPLWWHHLVDIRUPHURIILFHURI.URJHURUZDVDSDUW\WRDQ\UHODWHGSHUVRQ
WUDQVDFWLRQLQYROYLQJ.URJHUUHTXLUHGWREHGLVFORVHGXQGHU,WHPRI5HJXODWLRQ6.'XULQJILVFDOQRQHRI
RXUH[HFXWLYHRIILFHUVVHUYHGRQWKH%RDUGRIGLUHFWRUVRURQWKHFRPSHQVDWLRQ&RPPLWWHHRIDQ\RWKHUHQWLW\WKDW
KDVRUKDGH[HFXWLYHRIILFHUVVHUYLQJDVDPHPEHURI.URJHU¶V%RDUGRI'LUHFWRUVRU&RPSHQVDWLRQ&RPPLWWHHRI
WKH%RDUG

The Board’s Role in Risk Oversight
      :KLOHULVNPDQDJHPHQWLVSULPDULO\WKHUHVSRQVLELOLW\RI.URJHU¶VPDQDJHPHQWWHDPWKH%RDUGLVUHVSRQVLEOH
IRUVWUDWHJLFSODQQLQJDQGRYHUDOOVXSHUYLVLRQRIRXUULVNPDQDJHPHQWDFWLYLWLHV7KH%RDUG¶VRYHUVLJKWRIWKH
PDWHULDOULVNVIDFHGE\.URJHURFFXUVDWERWKWKHIXOO%RDUGOHYHODQGDWWKH&RPPLWWHHOHYHOHDFKRIZKLFKPD\
HQJDJHDGYLVRUVDQGH[SHUWVIURPWLPHWRWLPHWRSURYLGHDGYLFHDQGFRXQVHORQULVNUHODWHGPDWWHUV
     :HEHOLHYHWKDWRXUDSSURDFKWRULVNRYHUVLJKWRSWLPL]HVRXUDELOLW\WRDVVHVVLQWHUUHODWLRQVKLSVDPRQJWKH
YDULRXVULVNVPDNHLQIRUPHGFRVWEHQHILWGHFLVLRQVDQGDSSURDFKHPHUJLQJULVNVLQDSURDFWLYHPDQQHUIRU.URJHU
:HDOVREHOLHYHWKDWRXUULVNRYHUVLJKWVWUXFWXUHFRPSOHPHQWVRXUFXUUHQW%RDUGOHDGHUVKLSVWUXFWXUHDVLWDOORZV
RXULQGHSHQGHQWGLUHFWRUVWKURXJKWKHILYHIXOO\LQGHSHQGHQW%RDUG&RPPLWWHHVDQGLQH[HFXWLYHVHVVLRQVRI
LQGHSHQGHQWGLUHFWRUVOHGE\WKH/HDG'LUHFWRUWRH[HUFLVHHIIHFWLYHRYHUVLJKWRIWKHDFWLRQVRIPDQDJHPHQW¶V
LGHQWLILFDWLRQRIULVNDQGLPSOHPHQWDWLRQRIHIIHFWLYHULVNPDQDJHPHQWSROLFLHVDQGFRQWUROV
     7KH%RDUGUHFHLYHVSUHVHQWDWLRQVWKURXJKRXWWKH\HDUIURPYDULRXVGHSDUWPHQWDQGEXVLQHVVXQLWOHDGHUVWKDW
LQFOXGHGLVFXVVLRQRIVLJQLILFDQWULVNVLQFOXGLQJQHZO\LGHQWLILHGDQGHYROYLQJKLJKSULRULW\ULVNV:KHQQHZULVNV
DUHLGHQWLILHGPDQDJHPHQWFRQGXFWVDQGHLWKHUWKHIXOO%RDUGRUWKHDSSURSULDWH%RDUGFRPPLWWHHUHYLHZVDQG
GLVFXVVHVDQHQWHUSULVHULVNDVVHVVPHQWUHODWHGWRVXFKQHZULVNVZKLFKPD\LQFOXGHKXPDQFDSLWDOVXSSO\FKDLQ
DVVRFLDWHDQGFXVWRPHUKHDOWKDQGVDIHW\OHJDOUHJXODWRU\DQGRWKHUULVNV0DQDJHPHQWDQGWKH%RDUGWKHQGLVFXVV
WKHUHODWLYHVHYHULW\RIHDFKFDWHJRU\RIULVNDVZHOODVPLWLJDWLQJDFWLRQVDQGFRQVLGHUDWLRQVUHODWLQJWRGLVFORVXUHV
RIPDWHULDOULVNV
      $WHDFK%RDUGPHHWLQJWKH&(2DGGUHVVHVPDWWHUVRISDUWLFXODULPSRUWDQFHRUFRQFHUQLQFOXGLQJDQ\
VLJQLILFDQWDUHDVRIULVNVXFKDVQHZO\LGHQWLILHGULVNVWKDWUHTXLUH%RDUGDWWHQWLRQ$GGLWLRQDOO\WKURXJKGHGLFDWHG
VHVVLRQVIRFXVLQJHQWLUHO\RQFRUSRUDWHVWUDWHJ\WKHIXOO%RDUGUHYLHZVLQGHWDLO.URJHU¶VVKRUWDQGORQJWHUP
VWUDWHJLHVLQFOXGLQJFRQVLGHUDWLRQRIVLJQLILFDQWULVNVIDFLQJ.URJHU±HLWKHULPPHGLDWHO\RUORQJHUWHUP±DQGWKHLU
SRWHQWLDOLPSDFW7KHLQGHSHQGHQWGLUHFWRUVLQH[HFXWLYHVHVVLRQVOHGE\WKH/HDG'LUHFWRUDGGUHVVPDWWHUVRI
SDUWLFXODUFRQFHUQLQFOXGLQJVLJQLILFDQWDUHDVRIULVNWKDWZDUUDQWIXUWKHUGLVFXVVLRQRUFRQVLGHUDWLRQRXWVLGHWKH
SUHVHQFHRI.URJHUHPSOR\HHV$WWKHFRPPLWWHHOHYHOUHSRUWVDUHJLYHQE\PDQDJHPHQWVXEMHFWPDWWHUH[SHUWVWR
HDFK&RPPLWWHHRQULVNVZLWKLQWKHVFRSHRIWKHLUFKDUWHUV(DFK&RPPLWWHHUHSRUWVWRWKHIXOO%RDUGDWHDFK
PHHWLQJLQFOXGLQJDQ\DUHDVRIULVNGLVFXVVHGE\WKH&RPPLWWHH

      7KH$XGLW&RPPLWWHHKDVRYHUVLJKWUHVSRQVLELOLW\QRWRQO\IRUILQDQFLDOUHSRUWLQJRI.URJHU¶VPDMRUILQDQFLDO
H[SRVXUHVDQGWKHVWHSVPDQDJHPHQWKDVWDNHQWRPRQLWRUDQGFRQWUROWKRVHH[SRVXUHVEXWDOVRIRUWKHHIIHFWLYHQHVV
RIPDQDJHPHQW¶VSURFHVVHVWKDWPRQLWRUDQGPDQDJHNH\EXVLQHVVULVNVIDFLQJ.URJHUDVZHOODVWKHPDMRUDUHDVRI
ULVNH[SRVXUHDQGPDQDJHPHQW¶VHIIRUWVWRPRQLWRUDQGFRQWUROWKHPDMRUDUHDVRIULVNH[SRVXUH7KH$XGLW

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&RPPLWWHHLQFRUSRUDWHVLWVULVNRYHUVLJKWIXQFWLRQLQWRLWVUHJXODUUHSRUWVWRWKH%RDUGDQGDOVRGLVFXVVHVZLWK
PDQDJHPHQWLWVSROLFLHVZLWKUHVSHFWWRULVNDVVHVVPHQWDQGULVNPDQDJHPHQW
     2XU9LFH3UHVLGHQW&KLHI(WKLFVDQG&RPSOLDQFH2IILFHUSURYLGHVUHJXODUXSGDWHVWRWKH$XGLW&RPPLWWHHRQ
RXUFRPSOLDQFHULVNVDQGDFWLRQVWDNHQWRPLWLJDWHWKDWULVN,QDGGLWLRQWKH$XGLW&RPPLWWHHLVFKDUJHGZLWK
RYHUVLJKWRIGDWDSULYDF\DQGF\EHUVHFXULW\ULVNV3URWHFWLRQRIRXUFXVWRPHUV¶GDWDLVDIXQGDPHQWDOSULRULW\IRURXU
%RDUGDQGPDQDJHPHQWWHDP2XU&KLHI,QIRUPDWLRQ2IILFHUDQGRXU&KLHI,QIRUPDWLRQ6HFXULW\2IILFHUSURYLGH
XSGDWHVDWHDFKTXDUWHUO\&RPPLWWHHPHHWLQJRQRXUF\EHUVHFXULW\ULVNVDQGDFWLRQVWDNHQWRPLWLJDWHWKDWULVNWRWKH
$XGLW&RPPLWWHHDQGPHHWZLWKWKHIXOO%RDUGDWOHDVWDQQXDOO\7KH&KLHI,QIRUPDWLRQ6HFXULW\2IILFHUUHSRUWVRQ
FRPSOLDQFHDQGUHJXODWRU\LVVXHVFRQWLQXRXVO\HYROYLQJWKUHDWVDQGPLWLJDWLQJDFWLRQVDQGSUHVHQWVD1,67
&\EHUVHFXULW\)UDPHZRUN6FRUHFDUGWRWKH$XGLW&RPPLWWHH,QRYHUVHHLQJF\EHUVHFXULW\ULVNVWKH$XGLW
&RPPLWWHHIRFXVHVRQWKHPDWLFLVVXHVZLWKLQDQDJJUHJDWHGVWUDWHJLFOHQVDQGXVHVDULVNEDVHGDSSURDFK2YHUVLJKW
RIF\EHUVHFXULW\ULVNLQFRUSRUDWHVVWUDWHJ\PHWULFVWKLUGSDUW\DVVHVVPHQWVDQGLQWHUQDODXGLWDQGFRQWUROV)LQDOO\
DQLQGHSHQGHQWWKLUGSDUW\DOVRUHJXODUO\UHSRUWVWRWKH$XGLW&RPPLWWHH%RDUGRQF\EHUVHFXULW\DQGRXWVLGHFRXQVHO
DGYLVHVWKH%RDUGDERXWEHVWSUDFWLFHVIRUF\EHUVHFXULW\RYHUVLJKWE\WKH%RDUGDQGWKHHYROXWLRQRIWKDWRYHUVLJKW
RYHUWLPH0DQDJHPHQWDOVRUHSRUWVRQVWUDWHJLFNH\ULVNLQGLFDWRUVRQJRLQJLQLWLDWLYHVDQGVLJQLILFDQWLQFLGHQWV
DQGWKHLULPSDFW

Board Oversight of Environmental, Sustainability, and Governance
     :HDUHDOLJQHGZLWKWKHGHVLUHRIRXUFXVWRPHUVDVVRFLDWHVDQGVKDUHKROGHUVWRHQJDJHLQRXUFRPPXQLWLHVDQG
UHGXFHRXULPSDFWVRQWKHHQYLURQPHQWZKLOHFRQWLQXLQJWRFUHDWHSRVLWLYHHFRQRPLFYDOXHRYHUWKHORQJWHUP
*LYHQWKHEUHDGWKRIWRSLFVDQGWKHLULPSRUWDQFHWRXVDOORIRXU%RDUG&RPPLWWHHVKDYHGLUHFWRYHUVLJKWRI
HQYLURQPHQWDOVRFLDODQGJRYHUQDQFHWRSLFV(6*WRSLFVRXU%RDUG&RPPLWWHHVRYHUVHHDUHDVIROORZV

Audit                           x /HJDO 5HJXODWRU\
                                 x (WKLFV
                                 x 2SHUDWLRQDODQG7KLUG3DUW\&RPSOLDQFH
                                 x 'DWD3ULYDF\ &\EHU6HFXULW\
                                 x )LQDQFLDO,QWHJULW\

Compensation & Talent            x +XPDQ&DSLWDO0DQDJHPHQW
Development                     x 7DOHQW'HYHORSPHQW
                                 x ([HFXWLYH&RPSHQVDWLRQ
                                 x 'LYHUVLW\(TXLW\ ,QFOXVLRQ
Corporate Governance            x %RDUGUHFUXLWPHQWGLYHUVLW\
                                 x %RDUGVXFFHVVLRQ
                                 x 6KDUHKROGHUHQJDJHPHQWSURJUDP
                                 x 6KDUHKROGHUDGYLVRU\YRWHV VKDUHKROGHUSURSRVDOV
                                 x ,QGHSHQGHQWGLUHFWRUFRPSHQVDWLRQ
Finance                          x &DSLWDOVSHQGLQJWRHQVXUHFRQVLVWHQF\ZLWK(6*VWUDWHJ\DQGJRDOV

Public Responsibilities         x (QYLURQPHQWDO6XVWDLQDELOLW\
                                    9 &OLPDWH,PSDFWV
                                    9 3DFNDJLQJ
                                    9 )RRG:DVWH Zero Waste 
                                 x 6RFLDO,PSDFW
                                    9 )RRG$FFHVVDQG$IIRUGDELOLW\ Zero Hunger 
                                    9 /RFDO&RPPXQLWLHV
                                    9 3KLODQWKURS\
                                    9 5HVSRQVLEOH6RXUFLQJ
                                            ¾ +XPDQ5LJKWV
                                            ¾ $QLPDO:HOIDUH
                                 x 6DIHW\
                                    9 )RRG
                                    9 3HRSOH
                                    9 3KDUPDF\
                                 x $GYRFDF\ 3XEOLF3ROLF\
                                    9 *RYHUQPHQW5HODWLRQV
                                    9 3ROLWLFDODFWLRQ .UR3$& 
                                 x &RPPXQLFDWLRQV %UDQG6WHZDUGVKLS
                                    9 $VVRFLDWH ([WHUQDO&RPPXQLFDWLRQV
                                 x 6WDNHKROGHU5HODWLRQV




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      2XUFRPPLWPHQWWR(6*PDWWHUVLVQRWQHZ2XU3XEOLF5HVSRQVLELOLWLHV&RPPLWWHHZDVHVWDEOLVKHGLQ
)RUWKHSDVW\HDUVRXU&RPSDQ\KDVSUHSDUHGDQGSURGXFHGDQDQQXDOUHSRUWGHVFULELQJRXUSURJUHVVDQG
LQLWLDWLYHVUHJDUGLQJVXVWDLQDELOLW\DQGRWKHU(6*PDWWHUV)RUWKHPRVWUHFHQWLQIRUPDWLRQUHJDUGLQJRXU(6*
LQLWLDWLYHVDQGUHODWHGPDWWHUVSOHDVHYLVLWKWWSVZZZWKHNURJHUFRFRPHVJUHSRUW7KHLQIRUPDWLRQRQRU
DFFHVVLEOHWKURXJKWKLVZHEVLWHLVQRWSDUWRIRULQFRUSRUDWHGE\UHIHUHQFHLQWRWKLVSUR[\VWDWHPHQW
     ,QDGGLWLRQRXUIXOO%RDUGRYHUVHHVLVVXHVUHODWHGWRGLYHUVLW\DQGLQFOXVLRQZLWKLQWKH.URJHUZRUNSODFH
'LYHUVLW\DQGLQFOXVLRQKDYHEHHQGHHSO\URRWHGLQ.URJHU¶VYDOXHVIRUGHFDGHV:HDUHFRPPLWWHGWRIRVWHULQJDQ
HQYLURQPHQWRILQFOXVLRQLQWKHZRUNSODFHPDUNHWSODFHDQGZRUNIRUFHZKHUHWKHGLYHUVLW\RIFXOWXUHV
EDFNJURXQGVH[SHULHQFHVSHUVSHFWLYHVDQGLGHDVDUHYDOXHGDQGDSSUHFLDWHG.URJHU¶VFRUSRUDWHWHDPDQGUHWDLO
GLYLVLRQVKDYHVWUDWHJLFFROODERUDWLRQVZLWKXQLYHUVLWLHVHGXFDWLRQDOLQVWLWXWLRQVDQGFRPPXQLW\RUJDQL]DWLRQVWR
LPSURYHKRZZHDWWUDFWFDQGLGDWHVIURPDOOEDFNJURXQGVDQGHWKQLFLWLHVIRUMREVDWDOOOHYHOV'LYHUVLW\DQGLQFOXVLRQ
ZLOOFRQWLQXHWREHDNH\LQJUHGLHQWLQIHHGLQJ.URJHU¶VLQQRYDWLRQORQJWHUPVXVWDLQDELOLW\DQGWKHKXPDQVSLULW
    7KH.URJHUIDPLO\RIFRPSDQLHVSURYLGHVLQFOXVLRQWUDLQLQJWRDOOPDQDJHPHQWDQGDOOKRXUO\DVVRFLDWHV0RVW
ZRUNORFDWLRQV VWRUHVSODQWVGLVWULEXWLRQFHQWHUVDQGRIILFHV KDYHDQLQFOXVLRQIRFXVHGWHDPFDOOHG2XU3URPLVH
WHDP7KHWHDPVZRUNRQSURMHFWVWKDWUHIOHFW.URJHU¶VYDOXHVRIIHUOHDGHUVYDOXDEOHIHHGEDFNDQGVXJJHVWLRQVRQ
LPSURYLQJGLYHUVLW\DQGLQFOXVLRQDQGIDFLOLWDWHFRPPXQLFDWLRQWRFKDPSLRQEXVLQHVVSULRULWLHV

Our Commitment to Diversity, Equity, & Inclusion
     .URJHU¶V&KLHI3HRSOH2IILFHUOHDGV+XPDQ5HVRXUFHV /DERU5HODWLRQVZKLFKLQFOXGHVRXU'LYHUVLW\
(TXLW\ ,QFOXVLRQWHDP7KLVIXQFWLRQௗ²ௗZLWKKXPDQUHVRXUFHVSURIHVVLRQDOVLQSODFHDFURVVRXUOLQHVRIEXVLQHVV
DQGUHWDLOGLYLVLRQVௗ²ௗDGYRFDWHVIRUDQGIRVWHUVDQDVVRFLDWHH[SHULHQFHWKDWUHIOHFWVRXU9DOXHV,WDOVRPRQLWRUVDQG
PHDVXUHVSURJUHVVWRZDUGJRDOVDQGLGHQWLILHVSRWHQWLDORSSRUWXQLWLHVIRULPSURYHPHQW
     .URJHUSXEOLFO\DIILUPHGRXUFRPPLWPHQWZLWKRXU)UDPHZRUNIRU$FWLRQ'LYHUVLW\(TXLW\ ,QFOXVLRQD
SRLQWSODQRXWOLQLQJVKRUWDQGORQJHUWHUPVWHSVGHYHORSHGZLWKDVVRFLDWHVDQGOHDGHUVWRSURPRWHJUHDWHU
FKDQJHLQWKHZRUNSODFHDQGWKHFRPPXQLWLHVZHVHUYH7KLVIUDPHZRUNRXWOLQHVILYHIRFXVDUHDV&UHDWH0RUH
,QFOXVLYH&XOWXUH'HYHORS'LYHUVH7DOHQW$GYDQFH'LYHUVH3DUWQHUVKLSV$GYDQFH(TXLWDEOH&RPPXQLWLHVDQG
'HHSO\/LVWHQDQG5HSRUW3URJUHVV0RUHGHWDLOVDERXWWKHSODQDUHDYDLODEOHKHUH
KWWSVZZZWKHNURJHUFRFRPFRPPXQLW\VWDQGLQJWRJHWKHU7KHLQIRUPDWLRQRQRUDFFHVVLEOHWKURXJKWKLV
ZHEVLWHLVQRWSDUWRIRULQFRUSRUDWHGE\UHIHUHQFHLQWRWKLVSUR[\VWDWHPHQW

Enabling Connections
     $VSDUWRIWKHIUDPHZRUNZHFRPPLWWHGWRSURYLGHLQFOXVLRQWUDLQLQJIRURXUDVVRFLDWHV0RUHWKDQ
OHDGHUVDQGDVVRFLDWHVKDYHFRPSOHWHGGLYHUVLW\DQGLQFOXVLRQWUDLQLQJVLQFH,Q.URJHUIRUPHGDQ
LQWHUQDO'LYHUVLW\(TXLW\ ,QFOXVLRQ$GYLVRU\&RXQFLOFRPSULVHGRIOHDGHUVIURPDFURVVWKHRUJDQL]DWLRQ7KH
&RXQFLOZRUNVFORVHO\ZLWKRXUH[HFXWLYHOHDGHUVKLSWHDPDQGRWKHUEXVLQHVVOHDGHUVWRLGHQWLI\RSSRUWXQLWLHVDQG
DFWLRQVWHSVIRULPSURYHPHQW:HDOVRFUHDWHGDQ$VVRFLDWH,QIOXHQFHU*URXSWRIDFLOLWDWHUHSUHVHQWDWLRQDQGLQSXW
IURPDOOOHYHOVRIWKHFRPSDQ\
     .URJHUDOVRRSHUDWHVLQWHUQDO$VVRFLDWH5HVRXUFH*URXSV $5*V RUDIILQLW\JURXSVVRPHRIZKLFKDOVR
KDYHORFDOFKDSWHUV7KHVHJURXSVHQDEOHVWURQJHUFRQQHFWLRQVDFURVVRXUIDPLO\RIFRPSDQLHVOLIWXSVKDUHG
H[SHULHQFHVSURPRWHSHUVRQDODQGSURIHVVLRQDOJURZWKDQGLQIOXHQFHEXVLQHVVGHFLVLRQV.URJHUOHDGHUVVSRQVRU
DQGSHUVRQDOO\HQJDJHZLWKWKH$5*V

Workplace Equity
     .URJHUVWULYHVWRDWWUDFWUHWDLQDQGGHYHORSGLYHUVHOHDGHUVDQGDVVRFLDWHVZKRUHIOHFWWKHFRPPXQLWLHVZH
VHUYH:HRIIHUDFFHVVLEOHHPSOR\PHQWIRUDZLGHUDQJHRISHRSOHDFURVVWKHFRXQWU\%HFDXVHRIRXUXQLTXH
EXVLQHVVPRGHOZHKHOSXQORFNHFRQRPLFRSSRUWXQLW\IRUPRUHWKDQSHRSOHRIDOODJHVDQGDVSLUDWLRQV
IURPWKRVHZDQWLQJDQHQWU\OHYHOSDUWWLPHMREWRJUDGXDWHGHJUHHVSHFLDOLVWVDFURVVFRUSRUDWHIXQFWLRQV
     .URJHUVWUDWHJLFDOO\LQYHVWVLQRXUDVVRFLDWHV¶JURZWKDQGPRYHPHQWDFURVVOHYHOVOLQHVRIEXVLQHVVDQG
JHRJUDSKLHV2XUJRDOLVWRVKLIWWKHGHPRJUDSKLFUHSUHVHQWDWLRQRIZRPHQDQGSHRSOHRIFRORUDWFRPSDQ\ZLGH
DQGORFDOOHYHOVWRUHIOHFWRXUFKDQJLQJFRXQWU\FRPPXQLWLHVDQGQHLJKERUKRRGV7KH'LYHUVLW\(TXLW\ 
,QFOXVLRQ$GYLVRU\&RXQFLOKHOSVGHILQHDVSLUDWLRQVIRURXUZRUNIRUFHRIWKHIXWXUH
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Community Engagement
     $VSDUWRIRXU)UDPHZRUNIRU$FWLRQWKH&RPSDQ\DOVRSOHGJHGWRLQYHVWLQDGYDQFLQJHTXLWDEOHFRPPXQLWLHV
.URJHUGLUHFWHGDWRWDORIPLOOLRQWRHVWDEOLVKDQGDGYDQFH7KH.URJHU&R)RXQGDWLRQ¶V5DFLDO(TXLW\)XQGLQ
7RGDWHWKH)RXQGDWLRQKDVGLUHFWHGPLOOLRQLQJUDQWVWRRUJDQL]DWLRQVGULYLQJSRVLWLYHFKDQJHDWQDWLRQDO
DQGORFDOOHYHOV
     ,QWKH)RXQGDWLRQGLUHFWHGPLOOLRQWR7KH$VLDQ$PHULFDQ)RXQGDWLRQWRVXSSRUWWKH$VLDQ$PHULFDQ
FRPPXQLW\$VSDUWRILWVFRQWLQXLQJUHODWLRQVKLSZLWKWKH7KXUJRRG0DUVKDOO&ROOHJH)XQGWKH)RXQGDWLRQDOVR
KRVWHGLWVVHFRQGDQQXDO=HUR+XQJHU_=HUR:DVWH,QQRYDWLRQ&KDOOHQJH'XULQJWKHWKUHHGD\EXVLQHVVSLWFK
FRPSHWLWLRQZLWKVWXGHQWVIURP+LVWRULFDOO\%ODFN&ROOHJHVDQG8QLYHUVLWLHVDFURVVWKH86WKH)RXQGDWLRQ
DZDUGHGDWRWDORILQVFKRODUVKLSV,QFROODERUDWLRQZLWK3URFWRU *DPEOHWKH)RXQGDWLRQDOVRLQWURGXFHG
WKH*DPH&KDQJHUV6FKRODUVKLSSURJUDPDQGDZDUGHGLQVFKRODUVKLSVWRILYHGLYHUVHIHPDOHVWXGHQWVLQWKH
*UHDWHU&LQFLQQDWLDUHD




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      7KH%RDUGKDVGHWHUPLQHGWKDWFRPSHQVDWLRQRILQGHSHQGHQWGLUHFWRUVPXVWEHFRPSHWLWLYHRQDQRQJRLQJEDVLV
WRDWWUDFWDQGUHWDLQGLUHFWRUVZKRPHHWWKHTXDOLILFDWLRQVIRUVHUYLFHRQWKH%RDUG,QGHSHQGHQWGLUHFWRU
FRPSHQVDWLRQZDVDGMXVWHGLQDQGZLOOEHUHYLHZHGIURPWLPHWRWLPHDVWKH&RUSRUDWH*RYHUQDQFH&RPPLWWHH
GHHPVDSSURSULDWH

Pension Plan
     ,QGHSHQGHQWGLUHFWRUVILUVWHOHFWHGSULRUWR-XO\UHFHLYHDQXQIXQGHGUHWLUHPHQWEHQHILWHTXDOWRWKH
DYHUDJHFDVKFRPSHQVDWLRQIRUWKHILYHFDOHQGDU\HDUVSUHFHGLQJUHWLUHPHQW2QO\0U0RRUHLVHOLJLEOHIRUWKLV
EHQHILW%HQHILWVEHJLQDWWKHODWHURIDFWXDOUHWLUHPHQWRUDJH

Nonqualified Deferred Compensation
      :HDOVRPDLQWDLQDGHIHUUHGFRPSHQVDWLRQSODQIRULQGHSHQGHQWGLUHFWRUV3DUWLFLSDQWVPD\GHIHUXSWRRI
WKHLUFDVKFRPSHQVDWLRQDQGRUWKHUHFHLSWRIDOO DQGQRWOHVVWKDQDOO RIWKHDQQXDODZDUGRILQFHQWLYHVKDUHV

Cash Deferrals
     &DVKGHIHUUDOVDUHFUHGLWHGWRDSDUWLFLSDQW¶VGHIHUUHGFRPSHQVDWLRQDFFRXQW3DUWLFLSDQWVPD\HOHFWIURPHLWKHU
RUERWKRIWKHIROORZLQJWZRDOWHUQDWLYHPHWKRGVRIGHWHUPLQLQJEHQHILWV
      LQWHUHVWDFFUXHVXQWLOSDLGRXWDWWKHUDWHRILQWHUHVWGHWHUPLQHGSULRUWRWKHEHJLQQLQJRIWKHGHIHUUDO\HDUWR
        UHSUHVHQW.URJHU¶VFRVWRIWHQ\HDUGHEWDQGRU
      DPRXQWVDUHFUHGLWHGLQ³SKDQWRP´VWRFNDFFRXQWVDQGWKHDPRXQWVLQWKRVHDFFRXQWVIOXFWXDWHZLWKWKHSULFH
        RI.URJHUFRPPRQVKDUHV
      ,QERWKFDVHVGHIHUUHGDPRXQWVDUHSDLGRXWRQO\LQFDVKEDVHGRQGHIHUUDORSWLRQVVHOHFWHGE\WKHSDUWLFLSDQW
DWWKHWLPHWKHGHIHUUDOHOHFWLRQVDUHPDGH3DUWLFLSDQWVFDQHOHFWWRKDYHGLVWULEXWLRQVPDGHLQDOXPSVXPRULQ
TXDUWHUO\LQVWDOOPHQWVDQGPD\PDNHFRPSDUDEOHHOHFWLRQVIRUGHVLJQDWHGEHQHILFLDULHVZKRUHFHLYHEHQHILWVLQWKH
HYHQWWKDWGHIHUUHGFRPSHQVDWLRQLVQRWFRPSOHWHO\SDLGRXWXSRQWKHGHDWKRIWKHSDUWLFLSDQW

Incentive Share Deferrals
      3DUWLFLSDQWVPD\DOVRGHIHUWKHUHFHLSWRIDOO DQGQRWOHVVWKDQDOO RIWKHDQQXDODZDUGRILQFHQWLYHVKDUHV
'LVWULEXWLRQVZLOOEHPDGHE\GHOLYHU\RI.URJHUFRPPRQVKDUHVZLWKLQGD\VDIWHUWKHGDWHZKLFKLVVL[PRQWKV
DIWHUWKHSDUWLFLSDQW¶VVHSDUDWLRQRIVHUYLFH

Director Stock Ownership Guidelines
    ,QGHSHQGHQWGLUHFWRUVDUHUHTXLUHGWRRZQVKDUHVHTXLYDOHQWWRILYHWLPHVWKHLUDQQXDOEDVHFDVKUHWDLQHU)RU
PRUHGHWDLOVRQWKH6WRFN2ZQHUVKLS*XLGHOLQHVVHHSDJH
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                                                Compensation Discussion and Analysis
    7KLV&RPSHQVDWLRQ'LVFXVVLRQDQG$QDO\VLVSURYLGHVDQRYHUYLHZRIWKHHOHPHQWVDQGSKLORVRSK\RIRXU
H[HFXWLYHFRPSHQVDWLRQSURJUDPDVZHOODVKRZDQGZK\WKH&RPSHQVDWLRQ&RPPLWWHHDQGRXU%RDUGRI'LUHFWRUV
PDNHVSHFLILFFRPSHQVDWLRQGHFLVLRQVDQGSROLFLHVZLWKUHVSHFWWRRXU1DPHG([HFXWLYH2IILFHUV ³1(2V´ 

Executive Summary

              We delivered exceptional performance in 2022..URJHUDFKLHYHGH[FHSWLRQDOUHVXOWVLQDVZH
             H[HFXWHGRQRXULeading with Fresh and Accelerating with DigitalVWUDWHJ\EXLOGLQJRQUHFRUG\HDUV
              LQDQG:HDUHGHOLYHULQJDIUHVKDIIRUGDEOHDQGVHDPOHVVVKRSSLQJH[SHULHQFHIRURXU
              FXVWRPHUVZLWK]HURFRPSURPLVHRQTXDOLW\VHOHFWLRQRUFRQYHQLHQFH:HDUHGHOLYHULQJRQRXU
             ILQDQFLDOFRPPLWPHQWVWKURXJKRXUVWURQJUHVLOLHQW9DOXH&UHDWLRQ0RGHO,QZHDFKLHYHG
              ILQDQFLDOSHUIRUPDQFHUHVXOWVRI,'VDOHVZLWKRXWIXHORIDQGDGMXVWHG),)2RSHUDWLQJSURILW
              LQFOXGLQJIXHORIELOOLRQ
                  Our executive compensation program aligns with long-term shareholder value creation.RI
                 RXU&(2¶VWDUJHWWRWDOGLUHFWFRPSHQVDWLRQDQGRQDYHUDJHRIWKHRWKHU1(2V¶FRPSHQVDWLRQLV
               DWULVNDQGSHUIRUPDQFHEDVHGWLHGWRDFKLHYHPHQWRISHUIRUPDQFHWDUJHWVWKDWDUHLPSRUWDQWWRRXU
                  VKDUHKROGHUVRURXUORQJWHUPVKDUHSULFHSHUIRUPDQFH
                  The annual performance incentive was earned above target reflecting our 2022 performance.
                 7KHDQQXDOLQFHQWLYHSURJUDPEDVHGRQDJULGRILGHQWLFDOVDOHVH[FOXGLQJIXHODQGDGMXVWHG),)2
                  RSHUDWLQJSURILWLQFOXGLQJIXHOSDLGRXWDWRIWDUJHW,QOLJKWRIPDFURHFRQRPLFFRQGLWLRQV
                  LQFOXGLQJLQIODWLRQDVZHOODVWKH&RPSHQVDWLRQ&RPPLWWHH¶VGHVLUHWRFUHDWHRQJRLQJDOLJQPHQWZLWK
                 VKDUHKROGHUVDQGUHZDUGVXVWDLQHGSHUIRUPDQFHEH\RQGWKH&RPSHQVDWLRQ&RPPLWWHH
                  GHWHUPLQHGWRVWUXFWXUHWKHSD\RXWWRWKH1(2VDVIROORZVLQFDVKDQGWKHUHPDLQLQJLQ
                  UHVWULFWHGVWRFNYHVWLQJLQRQH\HDU
               The long-term performance incentive payout reflects alignment with performance over fiscal
              years 2020, 2021, and 2022./RQJWHUPSHUIRUPDQFHXQLWHTXLW\DZDUGVJUDQWHGLQDQGWLHGWR
               FRPPLWPHQWVPDGHWRRXULQYHVWRUVDQGRWKHUVWDNHKROGHUVUHJDUGLQJORQJWHUPVDOHVJURZWK
            DGMXVWHG),)2RSHUDWLQJSURILWJURZWKIUHHFDVKIORZJHQHUDWLRQRXUFRPPLWPHQWWR)UHVKDQG
               5HODWLYH7RWDO6KDUHKROGHU5HWXUQZHUHHDUQHGDWRIWDUJHW

                  We prioritized investment in our people.:HVWULYHWRFUHDWHDFXOWXUHRIRSSRUWXQLW\IRUQHDUO\
                 DVVRFLDWHVDQGWDNHVHULRXVO\RXUUROHDVDOHDGLQJHPSOR\HULQWKH8QLWHG6WDWHV,QZH
               LQYHVWHGPRUHWKDQHYHULQRXUDVVRFLDWHVE\FRQWLQXLQJWRUDLVHRXUDYHUDJHKRXUO\ZDJHWRRU
                  RYHULQFOXGLQJLQGXVWU\OHDGLQJEHQHILWV
              In response to our shareholder feedback, we incorporated an ESG metric focused on diversity
             and inclusion into our 2022 individual performance management program.2XUFRUHYDOXHVRI
              'LYHUVLW\(TXLW\ ,QFOXVLRQDUHLQFRUSRUDWHGLQWRFRPSHQVDWLRQGHFLVLRQVPDGHIRURXUDVVRFLDWHV
             ZKRVXSHUYLVHDWHDPRIRWKHUVZKLFKUDQJHIURPVWRUHGHSDUWPHQWOHDGHUVWKURXJKRXU1(2V 7KHVH
              SHUIRUPDQFHJRDOVDUHIDFWRUHGLQWRFRPSHQVDWLRQGHFLVLRQVIRUWKHVHOHDGHUVLQFOXGLQJVDODU\
              LQFUHDVHVDQGWKHDPRXQWRIWKHDQQXDOJUDQWRIHTXLW\DZDUGV




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 6HHSDJHV±RIRXU$QQXDO5HSRUWRQ)RUP.IRUWKHILVFDO\HDUHQGHG-DQXDU\ILOHGZLWKWKH6(&RQ0DUFKIRUD
UHFRQFLOLDWLRQRI*$$3RSHUDWLQJSURILWWRDGMXVWHG),)2RSHUDWLQJSURILW

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EDFNJURXQG7KHVHSHUIRUPDQFHJRDOVDUHIDFWRUHGLQWRFRPSHQVDWLRQGHFLVLRQVIRUWKHVHDVVRFLDWHVDQGVHQLRU
RIILFHUVLQFOXGLQJVDODU\LQFUHDVHVDQGWKHDPRXQWRIWKHDQQXDOJUDQWRIHTXLW\DZDUGVFRQVLVWHQWZLWKRXUSURJUDP
GHVLJQDVGHVFULEHGKHUHLQ

2022 Compensation Program Overview
     7KHIL[HGDQGDWULVNSD\HOHPHQWVRIWKH1(2FRPSHQVDWLRQSURJUDPDUHUHIOHFWHGLQWKHIROORZLQJWDEOHDQG
FKDUWV




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Fiscal Year 2022 CEO Compensation
     7KH&RPSHQVDWLRQ&RPPLWWHHHVWDEOLVKHV0U0F0XOOHQ¶VWDUJHWGLUHFWFRPSHQVDWLRQVXFKWKDWRQO\RIKLV
FRPSHQVDWLRQLVIL[HG7KHUHPDLQLQJRIWDUJHWFRPSHQVDWLRQLVDWULVNPHDQLQJWKDWWKHDFWXDOFRPSHQVDWLRQ
0U0F0XOOHQUHFHLYHVZLOOGHSHQGRQWKHH[WHQWWRZKLFKWKH&RPSDQ\DFKLHYHVWKHSHUIRUPDQFHPHWULFVVHWE\
WKH&RPSHQVDWLRQ&RPPLWWHHDQGZLWKUHVSHFWWRDOORIWKHHTXLW\YHKLFOHVWKHIXWXUHYDOXHRI.URJHUFRPPRQ
VKDUHV
     7KHWDEOHEHORZFRPSDUHVILVFDOWRWDUJHWGLUHFWFRPSHQVDWLRQ7DUJHWWRWDOGLUHFWFRPSHQVDWLRQLVD
PRUHDFFXUDWHUHIOHFWLRQRIKRZWKH&RPSHQVDWLRQ&RPPLWWHHEHQFKPDUNVDQGHVWDEOLVKHV&(2FRPSHQVDWLRQWKDQ
WKHGLVFORVXUHSURYLGHGLQWKH6XPPDU\&RPSHQVDWLRQ7DEOHZKLFKLQFOXGHVDFRPELQDWLRQRIDFWXDOEDVHVDODULHV
DQGDQQXDOLQFHQWLYHFRPSHQVDWLRQHDUQHGLQWKHILVFDO\HDUWKHJUDQWGDWHIDLUPDUNHWYDOXHRIDWULVNHTXLW\
FRPSHQVDWLRQWREHHDUQHGLQIXWXUHILVFDO\HDUVDQGWKHDFWXDULDOYDOXHRIIXWXUHSHQVLRQEHQHILWV
    ,QFUHDVHVWR0U0F0XOOHQ¶VSD\HOHPHQWVVKRZQEHORZZHUHEDVHGRQRXULQGHSHQGHQWFRPSHQVDWLRQ
FRQVXOWDQW¶VH[DPLQDWLRQRISD\OHYHOVDQGWKH&RPPLWWHH¶VLQWHQWLRQWRDFKLHYHPHGLDQSD\OHYHOVDPRQJRXUSHHU
JURXS7DUJHWWRWDOFRPSHQVDWLRQZKLFKLVWKHVXPRIWDUJHWDQQXDOFRPSHQVDWLRQDQGWDUJHWORQJWHUP
FRPSHQVDWLRQLVSRVLWLRQHGDURXQGPDUNHWPHGLDQ
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Retirement and Other Benefits
      .URJHUPDLQWDLQVVHYHUDOGHILQHGEHQHILWDQGGHILQHGFRQWULEXWLRQUHWLUHPHQWSODQVIRULWVDVVRFLDWHV7KH1(2V
SDUWLFLSDWHLQRQHRUPRUHRIWKHVHSODQVDVZHOODVRQHRUPRUHH[FHVVSODQVGHVLJQHGWRPDNHXSWKHVKRUWIDOOLQ
UHWLUHPHQWEHQHILWVFUHDWHGE\OLPLWDWLRQVXQGHUWKH,QWHUQDO5HYHQXH&RGH WKH³&RGH´ RQEHQHILWVWRKLJKO\
FRPSHQVDWHGLQGLYLGXDOVXQGHUTXDOLILHGSODQV$GGLWLRQDOGHWDLOVUHJDUGLQJFHUWDLQUHWLUHPHQWEHQHILWVDYDLODEOHWR
WKH1(2VFDQEHIRXQGEHORZLQIRRWQRWHWRWKH6XPPDU\&RPSHQVDWLRQ7DEOHDQGWKH3HQVLRQ%HQHILWV
7DEOHDQGWKHDFFRPSDQ\LQJQDUUDWLYH

     .URJHUDOVRPDLQWDLQVDQH[HFXWLYHGHIHUUHGFRPSHQVDWLRQSODQLQZKLFKWKH&(2KDVHOHFWHGWRSDUWLFLSDWH
7KLVSODQLVDQRQTXDOLILHGSODQXQGHUZKLFKSDUWLFLSDQWVFDQHOHFWWRGHIHUXSWRRIWKHLUFDVKFRPSHQVDWLRQ
HDFK\HDU$GGLWLRQDOGHWDLOVUHJDUGLQJRXUQRQTXDOLILHGGHIHUUHGFRPSHQVDWLRQSODQVDYDLODEOHWRWKH1(2VFDQEH
IRXQGEHORZLQWKH1RQTXDOLILHG'HIHUUHG&RPSHQVDWLRQ7DEOHDQGWKHDFFRPSDQ\LQJQDUUDWLYH
     .URJHUDOVRPDLQWDLQV7KH.URJHU&R(PSOR\HH3URWHFWLRQ3ODQ ³.(33´ ZKLFKFRYHUVDOORIRXU
PDQDJHPHQWDVVRFLDWHVZKRDUHFODVVLILHGDVH[HPSWXQGHUWKHIHGHUDO)DLU/DERU6WDQGDUGV$FWDQGFHUWDLQ
DGPLQLVWUDWLYHRUWHFKQLFDOVXSSRUWSHUVRQQHOZKRDUHQRWFRYHUHGE\DFROOHFWLYHEDUJDLQLQJDJUHHPHQWZLWKDWOHDVW
RQH\HDURIVHUYLFH.(33KDVDGRXEOHWULJJHUFKDQJHLQFRQWUROSURYLVLRQDQGLWSURYLGHVIRUVHYHUDQFHEHQHILWV
DQGH[WHQGHG.URJHUSDLGKHDOWKFDUHDVZHOODVWKHFRQWLQXDWLRQRIRWKHUEHQHILWVDVGHVFULEHGLQWKHSODQZKHQDQ
DVVRFLDWHLVDFWXDOO\RUFRQVWUXFWLYHO\WHUPLQDWHGZLWKRXWFDXVHZLWKLQWZR\HDUVIROORZLQJDFKDQJHLQFRQWURORI
.URJHU DVGHILQHGLQ.(33 3DUWLFLSDQWVDUHHQWLWOHGWRVHYHUDQFHSD\RIXSWRPRQWKV¶VDODU\DQGDQQXDO
LQFHQWLYHWDUJHW7KHDFWXDODPRXQWLVGHSHQGHQWXSRQSD\OHYHODQG\HDUVRIVHUYLFH.(33FDQEHDPHQGHGRU
WHUPLQDWHGE\WKH%RDUGDWDQ\WLPHSULRUWRDFKDQJHLQFRQWURO
     6WRFNRSWLRQDQGUHVWULFWHGVWRFNJUDQWDJUHHPHQWVZLWKDZDUGUHFLSLHQWVSURYLGHWKDWWKRVHDZDUGV³YHVW´ZLWK
RSWLRQVEHFRPLQJLPPHGLDWHO\H[HUFLVDEOHDQGUHVWULFWLRQVRQUHVWULFWHGVWRFNODSVLQJXSRQDFKDQJHLQFRQWURODV
GHVFULEHGLQWKHJUDQWDJUHHPHQWVEXWRQO\LIDQDVVRFLDWHLVDFWXDOO\RUFRQVWUXFWLYHO\WHUPLQDWHGZLWKRXWFDXVH
ZLWKLQWZR\HDUVIROORZLQJDFKDQJHLQFRQWURORI.URJHU DVGHILQHGLQWKHJUDQWDJUHHPHQWDQGFRQVLVWHQWZLWK
.(33 
     1RQHRIWKH1(2VDUHSDUW\WRDQHPSOR\PHQWDJUHHPHQW

Perquisites
     2XU1(2VUHFHLYHOLPLWHGSHUTXLVLWHVDVWKH&RPSHQVDWLRQ&RPPLWWHHGRHVQRWEHOLHYHWKDWLWLVQHFHVVDU\IRU
WKHDWWUDFWLRQRUUHWHQWLRQRIPDQDJHPHQWWDOHQWWRSURYLGHH[HFXWLYHVDVXEVWDQWLDODPRXQWRIFRPSHQVDWLRQLQWKH
IRUPRISHUTXLVLWHV

Process for Establishing Executive Compensation
     7KH&RPSHQVDWLRQ&RPPLWWHHRIWKH%RDUGKDVWKHSULPDU\UHVSRQVLELOLW\IRUHVWDEOLVKLQJWKHFRPSHQVDWLRQRI
RXUH[HFXWLYHRIILFHUVLQFOXGLQJWKH1(2VZLWKWKHH[FHSWLRQRIWKH&(27KH&RPSHQVDWLRQ&RPPLWWHH¶VUROH
UHJDUGLQJWKH&(2¶VFRPSHQVDWLRQLVWRPDNHUHFRPPHQGDWLRQVWRWKHLQGHSHQGHQWPHPEHUVRIWKH%RDUGWKRVH
PHPEHUVRIWKH%RDUGHVWDEOLVKWKH&(2¶VFRPSHQVDWLRQ
    7KH&RPSHQVDWLRQ&RPPLWWHHGLUHFWO\HQJDJHG.RUQ)HUU\DVDFRPSHQVDWLRQFRQVXOWDQWWRDGYLVHWKH
&RPSHQVDWLRQ&RPPLWWHHLQWKHGHVLJQRIFRPSHQVDWLRQIRUH[HFXWLYHRIILFHUVDQGWRDGYLVHZLWKUHVSHFWWRWKH
XQLTXHFLUFXPVWDQFHVRIWKHFRPSHQVDWLRQF\FOH
     .RUQ)HUU\FRQGXFWHGDQDQQXDOFRPSHWLWLYHDVVHVVPHQWRIH[HFXWLYHSRVLWLRQVDW.URJHUIRUWKH&RPSHQVDWLRQ
&RPPLWWHH7KHDVVHVVPHQWLVRQHRIVHYHUDOIDFWRUVDVGHVFULEHGDERYHRQZKLFKWKH&RPSHQVDWLRQ&RPPLWWHH
GHWHUPLQHVFRPSHQVDWLRQ7KHFRQVXOWDQWDVVHVVHG
      EDVHVDODU\
      WDUJHWSHUIRUPDQFHEDVHGDQQXDOFDVKLQFHQWLYH
      WDUJHWDQQXDOFDVKFRPSHQVDWLRQ WKHVXPRIVDODU\DQGDQQXDOFDVKLQFHQWLYHSRWHQWLDO 
      ORQJWHUPLQFHQWLYHFRPSHQVDWLRQFRPSULVHGRISHUIRUPDQFHXQLWVVWRFNRSWLRQVDQGUHVWULFWHGVWRFNDQG
      WRWDOGLUHFWFRPSHQVDWLRQ WKHVXPRIWDUJHWDQQXDOFDVKFRPSHQVDWLRQDQGORQJWHUPFRPSHQVDWLRQ 
     ,QDGGLWLRQWRWKHIDFWRUVLGHQWLILHGDERYHWKHFRQVXOWDQWDOVRUHYLHZHGDFWXDOSD\RXWDPRXQWVDJDLQVWWKH
WDUJHWHGDPRXQWV


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    7KHFRQVXOWDQWFRPSDUHGWKHVHHOHPHQWVDJDLQVWWKRVHRIRWKHUFRPSDQLHVLQDJURXSRISXEOLFO\WUDGHG
FRPSDQLHVVHOHFWHGE\WKH&RPSHQVDWLRQ&RPPLWWHH)RURXUSHHUJURXSFRQVLVWHGRI

      $OEHUWVRQV                        &96+HDOWK                       6\VFR
      $PHULVRXUFH%HUJHQ                  +RPH'HSRW                         7DUJHW
      %HVW%X\                           -RKQVRQ -RKQVRQ                  7-;&RPSDQLHV
      &DUGLQDO+HDOWK                    /RZH¶V                             :DOJUHHQV%RRWV$OOLDQFH
      &RVWFR:KROHVDOH                   3URFWHU *DPEOH                   :DOPDUW
                                         

      7KHPDNHXSRIWKHFRPSHQVDWLRQSHHUJURXSLVUHYLHZHGDQQXDOO\DQGPRGLILHGDVFLUFXPVWDQFHVZDUUDQW,Q
DGGLWLRQWKH&RPSHQVDWLRQ&RPPLWWHHFRQVLGHUHGVXSSOHPHQWDOGDWDSURYLGHGE\LWVLQGHSHQGHQWFRPSHQVDWLRQ
FRQVXOWDQWIURP³JHQHUDOLQGXVWU\´FRPSDQLHVDUHSUHVHQWDWLRQWKH)RUWXQHH[FOXGLQJILQDQFLDOVHUYLFHV
FRPSDQLHV7KLVGDWDSURYLGHGUHIHUHQFHSRLQWVSDUWLFXODUO\IRUVHQLRUH[HFXWLYHSRVLWLRQVZKHUHFRPSHWLWLRQIRU
WDOHQWH[WHQGVEH\RQGWKHUHWDLOVHFWRU7KHSHHUJURXSLQFOXGHVDFRPELQDWLRQRIIRRGDQGGUXJUHWDLOHUVRWKHUODUJH
UHWDLOHUVEDVHGRQUHYHQXHVL]HDQGODUJHFRQVXPHUIDFLQJFRPSDQLHV0HGLDQUHYHQXHIRUWKHSHHUJURXSZDV
ELOOLRQFRPSDUHGWRRXUUHYHQXHRIELOOLRQ
     &RQVLGHULQJWKHVL]HRI.URJHULQUHODWLRQWRRWKHUSHHUJURXSFRPSDQLHVWKH&RPSHQVDWLRQ&RPPLWWHH
EHOLHYHVWKDWVDODULHVSDLGWRRXU1(2VVKRXOGEHFRPSHWLWLYHO\SRVLWLRQHGUHODWLYHWRDPRXQWVSDLGE\SHHUJURXS
FRPSDQLHVIRUFRPSDUDEOHSRVLWLRQV7KH&RPSHQVDWLRQ&RPPLWWHHDOVRDLPVWRSURYLGHDQDQQXDOFDVKLQFHQWLYH
SRWHQWLDOWRRXU1(2VDURXQGWKHPDUNHWPHGLDQ$FWXDOSD\RXWVPD\EHDVORZDV]HURLISHUIRUPDQFHGRHVQRW
PHHWWKHEDVHOLQHVHVWDEOLVKHGE\WKH&RPSHQVDWLRQ&RPPLWWHHZKLOHVXSHULRUILQDQFLDOSHUIRUPDQFHLVUHZDUGHG
ZLWKFRPSHQVDWLRQIDOOLQJDERYHWKHPHGLDQ
      7KHLQGHSHQGHQWPHPEHUVRIWKH%RDUGKDYHWKHH[FOXVLYHDXWKRULW\WRGHWHUPLQHWKHDPRXQWRIWKH&(2¶V
FRPSHQVDWLRQ,QVHWWLQJWRWDOFRPSHQVDWLRQWKHLQGHSHQGHQWGLUHFWRUVFRQVLGHUWKHPHGLDQFRPSHQVDWLRQRIWKH
SHHUJURXS¶V&(2V:LWKUHVSHFWWRWKHDQQXDOLQFHQWLYHSODQWKHLQGHSHQGHQWGLUHFWRUVPDNHWZRGHWHUPLQDWLRQV
  WKHDQQXDOFDVKLQFHQWLYHSRWHQWLDOWKDWZLOOEHPXOWLSOLHGE\WKHFRUSRUDWHDQQXDOFDVKLQFHQWLYH
SD\RXWSHUFHQWDJHHDUQHGWKDWLVDSSOLFDEOHWRWKH1(2VDQG  WKHDQQXDOFDVKLQFHQWLYHDPRXQWSDLGWRWKH&(2
E\UHWDLQLQJGLVFUHWLRQWRUHGXFHWKHDQQXDOFDVKLQFHQWLYHSHUFHQWDJHSD\RXWWKH&(2ZRXOGRWKHUZLVHUHFHLYH
XQGHUWKHIRUPXODLFSODQ7KHLQGHSHQGHQWGLUHFWRUVDOVRUHWDLQGLVFUHWLRQWRGHWHUPLQHWKHIRUPRISD\RXWWR
LQFOXGHDSRUWLRQLQHTXLW\LQSODFHRIFDVK
   7KH&RPSHQVDWLRQ&RPPLWWHHSHUIRUPVWKHVDPHIXQFWLRQDQGH[HUFLVHVWKHVDPHDXWKRULW\DVWRWKHRWKHU
1(2V,QLWVDQQXDOUHYLHZRIFRPSHQVDWLRQIRUWKH1(2VWKH&RPSHQVDWLRQ&RPPLWWHH
      &RQGXFWVDQDQQXDOUHYLHZRIDOOFRPSRQHQWVRIFRPSHQVDWLRQTXDQWLI\LQJWRWDOFRPSHQVDWLRQIRUWKH1(2V
        LQFOXGLQJDVXPPDU\IRUHDFK1(2RIVDODU\SHUIRUPDQFHEDVHGDQQXDOFDVKLQFHQWLYHDQGORQJWHUP
        SHUIRUPDQFHEDVHGHTXLW\FRPSULVHGRISHUIRUPDQFHXQLWVVWRFNRSWLRQVDQGUHVWULFWHGVWRFN
      &RQVLGHUVLQWHUQDOSD\HTXLW\DW.URJHUWRHQVXUHWKDWWKH&(2LVQRWFRPSHQVDWHGGLVSURSRUWLRQDWHO\7KH
        &RPSHQVDWLRQ&RPPLWWHHKDVGHWHUPLQHGWKDWWKHFRPSHQVDWLRQRIWKH&(2DQGWKDWRIWKHRWKHU1(2V
        EHDUVDUHDVRQDEOHUHODWLRQVKLSWRWKHFRPSHQVDWLRQOHYHOVRIRWKHUH[HFXWLYHSRVLWLRQVDW.URJHUWDNLQJLQWR
        FRQVLGHUDWLRQSHUIRUPDQFHDQGGLIIHUHQFHVLQUHVSRQVLELOLWLHV
      5HYLHZVDUHSRUWIURPWKH&RPSHQVDWLRQ&RPPLWWHH¶VFRPSHQVDWLRQFRQVXOWDQWUHIOHFWLQJDFRPSUHKHQVLYH
        UHYLHZRIHDFKHOHPHQWRISD\ERWKDQQXDODQGORQJWHUPDQGFRPSDULQJ1(2FRPSHQVDWLRQZLWKWKDWRI
        RWKHUFRPSDQLHVLQFOXGLQJERWKRXUSHHUJURXSRIFRPSHWLWRUVDQGDODUJHUJHQHUDOLQGXVWU\JURXSWRHQVXUH
        WKDWWKH&RPSHQVDWLRQ&RPPLWWHH¶VREMHFWLYHVRIFRPSHWLWLYHQHVVDUHPHW
      7DNHVLQWRDFFRXQWDUHFRPPHQGDWLRQIURPWKH&(2IRUVDODU\DQQXDOFDVKLQFHQWLYHSRWHQWLDODQGORQJ
        WHUPFRPSHQVDWLRQDZDUGVIRUHDFKRIWKHVHQLRURIILFHUVLQFOXGLQJWKHRWKHU1(2V7KH&(2¶V
        UHFRPPHQGDWLRQWDNHVLQWRFRQVLGHUDWLRQWKHREMHFWLYHVHVWDEOLVKHGE\DQGWKHUHSRUWVUHFHLYHGE\WKH
        &RPSHQVDWLRQ&RPPLWWHHDVZHOODVKLVDVVHVVPHQWRILQGLYLGXDOMRESHUIRUPDQFHDQGFRQWULEXWLRQWRRXU
        PDQDJHPHQWWHDP
     7KH&RPSHQVDWLRQ&RPPLWWHHGRHVQRWPDNHXVHRIDIRUPXODEXWERWKTXDOLWDWLYHO\DQGTXDQWLWDWLYHO\
FRQVLGHUVHDFKRIWKHIDFWRUVLGHQWLILHGDERYHLQVHWWLQJFRPSHQVDWLRQ
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Prohibition on Hedging and Pledging
     7KH%RDUGDGRSWHGDSROLF\SURKLELWLQJ.URJHUGLUHFWRUVDQGH[HFXWLYHRIILFHUVIURPHQJDJLQJGLUHFWO\RU
LQGLUHFWO\LQWKHSOHGJLQJRIKHGJLQJWUDQVDFWLRQVLQRUVKRUWVDOHVRI.URJHUVHFXULWLHV

Section 162(m) of the Internal Revenue Code
     3ULRUWRWKHHIIHFWLYHGDWHRIWKH7D[&XWVDQG-REV$FWRI6HFWLRQ P RIWKH&RGHJHQHUDOO\
GLVDOORZHGDIHGHUDOWD[GHGXFWLRQWRSXEOLFFRPSDQLHVIRUFRPSHQVDWLRQJUHDWHUWKDQPLOOLRQSDLGLQDQ\WD[\HDU
WRVSHFLILHGH[HFXWLYHRIILFHUVXQOHVVWKHFRPSHQVDWLRQZDV³TXDOLILHGSHUIRUPDQFHEDVHGFRPSHQVDWLRQ´XQGHUWKDW
VHFWLRQ3XUVXDQWWRWKH7D[&XWVDQG-REV$FWRIWKHH[FHSWLRQIRU³TXDOLILHGSHUIRUPDQFHEDVHG
FRPSHQVDWLRQ´XQGHU6HFWLRQ P RIWKH&RGHZDVHOLPLQDWHGZLWKUHVSHFWWRDOOUHPXQHUDWLRQLQH[FHVVRI
PLOOLRQRWKHUWKDQTXDOLILHGSHUIRUPDQFHEDVHGFRPSHQVDWLRQSXUVXDQWWRDZULWWHQELQGLQJFRQWUDFWLQHIIHFWRQ
1RYHPEHURUHDUOLHUZKLFKZDVQRWPRGLILHGLQDQ\PDWHULDOUHVSHFWRQRUDIWHUVXFKGDWH WKHOHJLVODWLRQ
SURYLGLQJIRUVXFKWUDQVLWLRQUXOHWKH³7UDQVLWLRQ5XOH´ 
     $VDUHVXOWSHUIRUPDQFHEDVHGFRPSHQVDWLRQWKDWWKH&RPSHQVDWLRQ&RPPLWWHHVWUXFWXUHGZLWKWKHLQWHQWRI
TXDOLI\LQJDVSHUIRUPDQFHEDVHGFRPSHQVDWLRQXQGHU6HFWLRQ P SULRUWRWKHFKDQJHLQWKHODZPD\RUPD\QRW
EHIXOO\GHGXFWLEOHGHSHQGLQJRQWKHDSSOLFDWLRQRIWKH7UDQVLWLRQ5XOH,QDGGLWLRQFRPSHQVDWLRQDUUDQJHPHQWV
VWUXFWXUHGIROORZLQJWKHFKDQJHLQODZZLOOEHVXEMHFWWRWKH6HFWLRQ P OLPLWDWLRQ ZLWKRXWDQ\H[FHSWLRQIRU
SHUIRUPDQFHEDVHGFRPSHQVDWLRQ &RQVLVWHQWZLWKLWVSDVWSUDFWLFHWKH&RPPLWWHHZLOOFRQWLQXHWRUHWDLQIOH[LELOLW\
WRGHVLJQFRPSHQVDWLRQSURJUDPVWKDWDUHLQWKHEHVWORQJWHUPLQWHUHVWVRIWKH&RPSDQ\DQGRXUVKDUHKROGHUVZLWK
GHGXFWLELOLW\RIFRPSHQVDWLRQEHLQJRQHRIDYDULHW\RIFRQVLGHUDWLRQVWDNHQLQWRDFFRXQW
Compensation Committee Report
     7KH&RPSHQVDWLRQ&RPPLWWHHKDVUHYLHZHGDQGGLVFXVVHGZLWK.URJHU¶VPDQDJHPHQWWKH&RPSHQVDWLRQ
'LVFXVVLRQDQG$QDO\VLVFRQWDLQHGLQWKLVSUR[\VWDWHPHQW%DVHGRQLWVUHYLHZDQGGLVFXVVLRQVZLWKPDQDJHPHQW
WKH&RPSHQVDWLRQ&RPPLWWHHKDVUHFRPPHQGHGWRWKH%RDUGWKDWWKH&RPSHQVDWLRQ'LVFXVVLRQDQG$QDO\VLVEH
LQFOXGHGLQ.URJHU¶VSUR[\VWDWHPHQWDQGLQFRUSRUDWHGE\UHIHUHQFHLQWRLWV$QQXDO5HSRUWRQ)RUP.
&RPSHQVDWLRQ&RPPLWWHH
   &O\GH50RRUH&KDLU
   $PDQGD6RXUU\
   0DUN6XWWRQ




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      7KHVHDPRXQWVUHODWHWRWKHSHUIRUPDQFHEDVHGDQQXDOLQFHQWLYHSODQ7KHDPRXQWOLVWHGXQGHU³7DUJHW´
        UHSUHVHQWVWKHDQQXDOLQFHQWLYHSRWHQWLDORIWKH1(2%\WKHWHUPVRIWKHSODQSD\RXWVDUHOLPLWHGWRQRPRUH
        WKDQRIDSDUWLFLSDQW¶VDQQXDOLQFHQWLYHSRWHQWLDODFFRUGLQJO\WKHDPRXQWOLVWHGXQGHU³0D[LPXP´LV
        RIWKDWRIILFHU¶VDQQXDOLQFHQWLYHSRWHQWLDODPRXQW7KHDPRXQWVDFWXDOO\HDUQHGXQGHUWKLVSODQZHUH
        SDLGRXWLQ0DUFKDUHGHVFULEHGLQWKH&RPSHQVDWLRQ'LVFXVVLRQDQG$QDO\VLVDQGDUHLQFOXGHGLQWKH
        6XPPDU\&RPSHQVDWLRQ7DEOHIRULQWKH³1RQ(TXLW\,QFHQWLYH3ODQ&RPSHQVDWLRQ´FROXPQDQGWKH
        ³6WRFN$ZDUGV´FROXPQDQGGHVFULEHGLQIRRWQRWHVDQGWRWKDWWDEOH6HH³$QQXDO&DVK,QFHQWLYH
        3ODQ´LQ&' $IRUPRUHLQIRUPDWLRQDERXWWKHSURJUDPIRU
      7KHVHDPRXQWVUHSUHVHQWSHUIRUPDQFHXQLWVDZDUGHGXQGHUWKH/RQJ7HUP,QFHQWLYH3ODQZKLFKFRYHUV
        SHUIRUPDQFHGXULQJILVFDO\HDUVDQG7KHDPRXQWOLVWHGXQGHU³0D[LPXP´UHSUHVHQWVWKH
        PD[LPXPQXPEHURIFRPPRQVKDUHVWKDWFDQEHHDUQHGE\WKH1(2XQGHUWKHDZDUGRURIWKHWDUJHW
        DPRXQW7KLVDPRXQWLVFRQVLVWHQWZLWKWKHHVWLPDWHRIDJJUHJDWHFRPSHQVDWLRQFRVWWREHUHFRJQL]HGE\WKH
        &RPSDQ\RYHUWKHWKUHH\HDUSHUIRUPDQFHSHULRGRIWKHDZDUGGHWHUPLQHGDVRIWKHJUDQWGDWHXQGHU)$6%
        $6&7RSLFH[FOXGLQJWKHHIIHFWRIHVWLPDWHGIRUIHLWXUHV7KHJUDQWGDWHIDLUYDOXHUHSRUWHGLQWKHODVW
        FROXPQLVEDVHGRQWKHSUREDEOHRXWFRPHRIWKHSHUIRUPDQFHFRQGLWLRQVDVRIWKHJUDQWGDWH7KHDJJUHJDWH
        JUDQWGDWHIDLUYDOXHRIWKHVHDZDUGVLVLQFOXGHGLQWKH6XPPDU\&RPSHQVDWLRQ7DEOHIRULQWKH³6WRFN
        $ZDUGV´FROXPQDQGGHVFULEHGLQIRRWQRWHWRWKDWWDEOH
      7KHVHDPRXQWVUHSUHVHQWWKHQXPEHURIVKDUHVRIUHVWULFWHGVWRFNJUDQWHGLQDVZHOODVWKHQXPEHURI
        VKDUHVRIUHVWULFWHGVWRFNJUDQWHGLQZLWKUHVSHFWWRDSRUWLRQRIWKH$QQXDO,QFHQWLYH3ODQ7KH
        DJJUHJDWHJUDQWGDWHIDLUYDOXHUHSRUWHGLQWKHODVWFROXPQLVFDOFXODWHGLQDFFRUGDQFHZLWK)$6%$6&
        7RSLF7KHDJJUHJDWHJUDQWGDWHIDLUYDOXHRIWKHVHDZDUGVLVLQFOXGHGLQWKH6XPPDU\&RPSHQVDWLRQ
        7DEOHIRULQWKH³6WRFN$ZDUGV´FROXPQDQGGHVFULEHGLQIRRWQRWHWRWKDWWDEOH
      7KHVHDPRXQWVUHSUHVHQWWKHQXPEHURIVWRFNRSWLRQVJUDQWHGLQ2SWLRQVDUHJUDQWHGZLWKDQH[HUFLVH
        SULFHHTXDOWRWKHFORVLQJSULFHRI.URJHUFRPPRQVKDUHVRQWKHJUDQWGDWH7KHDJJUHJDWHJUDQWGDWHIDLUYDOXH
        UHSRUWHGLQWKHODVWFROXPQLVFDOFXODWHGLQDFFRUGDQFHZLWK)$6%$6&7RSLF7KHDJJUHJDWHJUDQWGDWH
        IDLUYDOXHRIWKHVHDZDUGVLVLQFOXGHGLQWKH6XPPDU\&RPSHQVDWLRQ7DEOHIRULQWKH³2SWLRQ$ZDUGV´
        FROXPQDQGGHVFULEHGLQIRRWQRWHWRWKDWWDEOH
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     7KH&RPSHQVDWLRQ&RPPLWWHHDQGWKHLQGHSHQGHQWPHPEHUVRIWKH%RDUGLQWKHFDVHRIWKH&(2HVWDEOLVKHG
WKHLQFHQWLYHSRWHQWLDODPRXQWVIRUWKHSHUIRUPDQFHEDVHGDQQXDOLQFHQWLYHDZDUGV VKRZQLQWKLVWDEOHDV³7DUJHW´ 
DQGWKHQXPEHURISHUIRUPDQFHXQLWVDZDUGHGIRUWKHORQJWHUPLQFHQWLYHDZDUGV VKRZQLQWKLVWDEOHDV³7DUJHW´ 
$PRXQWVDUHSD\DEOHWRWKHH[WHQWWKDW.URJHU¶VDFWXDOSHUIRUPDQFHPHHWVVSHFLILFSHUIRUPDQFHPHWULFVHVWDEOLVKHG
E\WKH&RPSHQVDWLRQ&RPPLWWHHDWWKHEHJLQQLQJRIWKHSHUIRUPDQFHSHULRG7KHUHDUHQRJXDUDQWHHGRUPLQLPXP
SD\RXWVLIQRQHRIWKHSHUIRUPDQFHPHWULFVDUHDFKLHYHGWKHQQRQHRIWKHDZDUGLVHDUQHGDQGQRSD\RXWLVPDGH
$VGHVFULEHGLQWKH&' $DFWXDOHDUQLQJVXQGHUWKHSHUIRUPDQFHEDVHGDQQXDOLQFHQWLYHSODQPD\H[FHHGWKH
WDUJHWDPRXQWLIWKH&RPSDQ\¶VSHUIRUPDQFHH[FHHGVWKHSHUIRUPDQFHJRDOVEXWDUHOLPLWHGWRRIWKHWDUJHW
DPRXQW7KHSRWHQWLDOYDOXHVIRUSHUIRUPDQFHXQLWVDZDUGHGXQGHUWKH/RQJ7HUP,QFHQWLYH3ODQDUH
PRUHSDUWLFXODUO\GHVFULEHGLQWKH&' $
      7KHDQQXDOUHVWULFWHGVWRFNDQGQRQTXDOLILHGVWRFNRSWLRQVDZDUGVJUDQWHGWRWKH1(2VYHVWLQHTXDODPRXQWV
RQHDFKRIWKHILUVWIRXUDQQLYHUVDULHVRIWKHJUDQWGDWHVRORQJDVWKHRIILFHUUHPDLQVD.URJHUDVVRFLDWHH[FHSWIRU
WKHUHVWULFWHGVWRFNJUDQWHGLQ0DUFKZLWKUHVSHFWWRDSRUWLRQRIWKH$QQXDO,QFHQWLYH3ODQZKLFKYHVWV
RQWKHILUVWDQQLYHUVDU\RIWKHJUDQWGDWH$Q\GLYLGHQGVGHFODUHGRQ.URJHUFRPPRQVKDUHVDUHSD\DEOHRQXQYHVWHG
UHVWULFWHGVWRFN
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DPRXQWVIRUDOOVXEVHTXHQW\HDUVXQWLOWKHGHIHUUHGFRPSHQVDWLRQLVSDLGRXW3DUWLFLSDQWVFDQHOHFWWRUHFHLYHOXPS
VXPGLVWULEXWLRQVRUTXDUWHUO\LQVWDOOPHQWVIRUSHULRGVXSWRWHQ\HDUV3DUWLFLSDQWVDOVRFDQHOHFWEHWZHHQOXPSVXP
GLVWULEXWLRQVDQGTXDUWHUO\LQVWDOOPHQWVWREHUHFHLYHGE\GHVLJQDWHGEHQHILFLDULHVLIWKHSDUWLFLSDQWGLHVEHIRUH
GLVWULEXWLRQRIGHIHUUHGFRPSHQVDWLRQLVFRPSOHWHG
     3DUWLFLSDQWVPD\QRWZLWKGUDZDPRXQWVIURPWKHLUDFFRXQWVXQWLOWKH\OHDYH.URJHUH[FHSWWKDW.URJHUKDV
GLVFUHWLRQWRDSSURYHDQHDUO\GLVWULEXWLRQWRDSDUWLFLSDQWXSRQWKHRFFXUUHQFHRIDQXQIRUHVHHQHPHUJHQF\
3DUWLFLSDQWVZKRDUH³VSHFLILHGDVVRFLDWHV´XQGHU6HFWLRQ$RIWKH&RGHZKLFKLQFOXGHVWKH1(2VPD\QRW
UHFHLYHDSRVWWHUPLQDWLRQGLVWULEXWLRQIRUDWOHDVWVL[PRQWKVIROORZLQJVHSDUDWLRQ,IWKHDVVRFLDWHGLHVSULRUWRRU
GXULQJWKHGLVWULEXWLRQSHULRGWKHUHPDLQGHURIWKHDFFRXQWZLOOEHGLVWULEXWHGWRKLVRUKHUGHVLJQDWHGEHQHILFLDU\LQ
OXPSVXPRUTXDUWHUO\LQVWDOOPHQWVDFFRUGLQJWRWKHSDUWLFLSDQW¶VSULRUHOHFWLRQ

Potential Payments upon Termination or Change in Control

     .URJHUGRHVQRWKDYHHPSOR\PHQWDJUHHPHQWVWKDWSURYLGHIRUSD\PHQWVWRWKH1(2VLQFRQQHFWLRQZLWKD
WHUPLQDWLRQRIHPSOR\PHQWRUDFKDQJHLQFRQWURORI.URJHU+RZHYHU.(33DQGDZDUGDJUHHPHQWVIRUVWRFN
RSWLRQVUHVWULFWHGVWRFNDQGSHUIRUPDQFHXQLWVSURYLGHIRUFHUWDLQSD\PHQWVDQGEHQHILWVWRSDUWLFLSDQWVLQFOXGLQJ
WKH1(2VLQWKHHYHQWRIDWHUPLQDWLRQRIHPSOR\PHQWRUDFKDQJHLQFRQWURORI.URJHUDVGHILQHGLQWKHDSSOLFDEOH
SODQRUDJUHHPHQW2XUSHQVLRQSODQVDQGQRQTXDOLILHGGHIHUUHGFRPSHQVDWLRQSODQDOVRSURYLGHIRUFHUWDLQ
SD\PHQWVDQGEHQHILWVWRSDUWLFLSDQWVLQWKHHYHQWRIDWHUPLQDWLRQRIHPSOR\PHQWDVGHVFULEHGDERYHLQWKH
3HQVLRQ%HQHILWVVHFWLRQDQGWKH1RQTXDOLILHG'HIHUUHG&RPSHQVDWLRQVHFWLRQUHVSHFWLYHO\

The Kroger Co. Employee Protection Plan
     .(33DSSOLHVWRDOOPDQDJHPHQWDVVRFLDWHVZKRDUHFODVVLILHGDVH[HPSWXQGHUWKHIHGHUDO)DLU/DERU
6WDQGDUGV$FWDQGWRFHUWDLQDGPLQLVWUDWLYHRUWHFKQLFDOVXSSRUWSHUVRQQHOZKRDUHQRWFRYHUHGE\DFROOHFWLYH
EDUJDLQLQJDJUHHPHQWZLWKDWOHDVWRQH\HDURIVHUYLFHLQFOXGLQJWKH1(2V.(33SURYLGHVVHYHUDQFHEHQHILWV
ZKHQDSDUWLFLSDQW¶VHPSOR\PHQWLVWHUPLQDWHGDFWXDOO\RUFRQVWUXFWLYHO\ZLWKLQWZR\HDUVIROORZLQJDFKDQJHLQ
FRQWURORI.URJHUDVGHILQHGLQ.(337KHDFWXDODPRXQWRIWKHVHYHUDQFHEHQHILWLVGHSHQGHQWRQSD\OHYHO
DQG\HDUVRIVHUYLFH([HPSWDVVRFLDWHVLQFOXGLQJWKH1(2VDUHHOLJLEOHIRUWKHIROORZLQJEHQHILWV
      DOXPSVXPVHYHUDQFHSD\PHQWHTXDOWRXSWRPRQWKVRIWKHSDUWLFLSDQW¶VDQQXDOEDVHVDODU\DQGWDUJHW
        DQQXDOLQFHQWLYHSRWHQWLDO
      DOXPSVXPSD\PHQWHTXDOWRWKHSDUWLFLSDQW¶VDFFUXHGDQGXQSDLGYDFDWLRQLQFOXGLQJEDQNHGYDFDWLRQ
      FRQWLQXHGPHGLFDODQGGHQWDOEHQHILWVIRUXSWRPRQWKVDQGFRQWLQXHGJURXSWHUPOLIHLQVXUDQFHFRYHUDJH
        IRUXSWRVL[PRQWKVDQG
      XSWRDVUHLPEXUVHPHQWIRUHOLJLEOHRXWSODFHPHQWH[SHQVHV
     ,QWKHHYHQWWKDWDQ\SD\PHQWVRUEHQHILWVUHFHLYHGRUWREHUHFHLYHGE\DQHOLJLEOHDVVRFLDWHLQFRQQHFWLRQZLWK
DFKDQJHLQFRQWURORUWHUPLQDWLRQRIHPSOR\PHQW ZKHWKHUSXUVXDQWWR.(33RUDQ\RWKHUSODQDUUDQJHPHQWRU
DJUHHPHQWZLWK.URJHURUDQ\SHUVRQZKRVHDFWLRQVUHVXOWLQDFKDQJHLQFRQWURO ZRXOGFRQVWLWXWHSDUDFKXWH
SD\PHQWVZLWKLQWKHPHDQLQJRI6HFWLRQ*RIWKH&RGHDQGZRXOGEHVXEMHFWWRWKHH[FLVHWD[XQGHU
6HFWLRQRIWKH&RGHWKHQVXFKSD\PHQWVDQGEHQHILWVZLOOHLWKHUEH L SDLGLQIXOORU LL UHGXFHGWRWKH
PLQLPXPH[WHQWQHFHVVDU\WRHQVXUHWKDWQRSRUWLRQRIVXFKSD\PHQWVRUEHQHILWVZLOOEHVXEMHFWWRWKHH[FLVHWD[
ZKLFKHYHUUHVXOWVLQWKHHOLJLEOHDVVRFLDWHUHFHLYLQJWKHJUHDWHVWDJJUHJDWHDPRXQWRQDQDIWHUWD[EDVLV




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        $GMXVWHG),)22SHUDWLQJ3URILWHTXDOVJURVVSURILWH[FOXGLQJWKH/,)2FKDUJHPLQXV2* $PLQXVUHQW
          DQGPLQXVGHSUHFLDWLRQDQGDPRUWL]DWLRQ)RUDUHFRQFLOLDWLRQRIQRQ*$$3LQIRUPDWLRQVHHSDJHV±
          RIRXU$QQXDO5HSRUWRQ)RUP.IRUWKHILVFDO\HDUHQGHG-DQXDU\ILOHGZLWKWKH6(&RQ
          0DUFK

Most Important Performance Measures

7KHWKUHHPHDVXUHVOLVWHGEHORZUHSUHVHQWWKHPRVWLPSRUWDQWILQDQFLDOSHUIRUPDQFHPHDVXUHVXVHGE\WKH&RPSDQ\
WROLQN&$3WR&RPSDQ\SHUIRUPDQFHIRUWKHILVFDO\HDU

    x    $GMXVWHG),)22SHUDWLQJ3URILW
    x    ,'VDOHVZLWKRXWIXHO
    x    $GMXVWHGQHWHDUQLQJVSHUGLOXWHGVKDUHDWWULEXWDEOHWR7KH.URJHU&R
         
)RUDUHFRQFLOLDWLRQRIQRQ*$$3LQIRUPDWLRQVHHSDJHV±RIRXU$QQXDO5HSRUWRQ)RUP.IRUWKHILVFDO
\HDUHQGHG-DQXDU\ILOHGZLWKWKH6(&RQ0DUFK




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COMPANY SELECTED METRIC – Adjusted FIFO Operating Profit

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NET INCOME GRAPHICAL REPRESENTATION




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                               KROGER TSR GRAPHICAL REPRESENTATION




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CEO Pay Ratio
     $VUHTXLUHGE\6HFWLRQ E RIWKH'RGG)UDQN:DOO6WUHHW5HIRUPDQG&RQVXPHU3URWHFWLRQ$FWDQG
,WHP X RI5HJXODWLRQ6.ZHDUHSURYLGLQJWKHIROORZLQJLQIRUPDWLRQUHJDUGLQJWKHUDWLRRIWKHDQQXDOWRWDO
FRPSHQVDWLRQRIRXU&KDLUPDQDQG&(20U0F0XOOHQWRWKHDQQXDOWRWDOFRPSHQVDWLRQRIRXUPHGLDQDVVRFLDWH
     $VUHSRUWHGLQWKH6XPPDU\&RPSHQVDWLRQ7DEOHRXU&(2KDGDQQXDOWRWDOFRPSHQVDWLRQIRURI
8VLQJWKLV6XPPDU\&RPSHQVDWLRQ7DEOHPHWKRGRORJ\WKHDQQXDOWRWDOFRPSHQVDWLRQRIRXUPHGLDQ
DVVRFLDWHIRUZDV$VDUHVXOWZHHVWLPDWHWKDWWKHUDWLRRIRXU&(2¶VDQQXDOWRWDOFRPSHQVDWLRQWR
WKDWRIRXUPHGLDQDVVRFLDWHIRUILVFDOZDVWR2XUPHGLDQHPSOR\HHLVDIXOOWLPHDVVRFLDWHLQWKH
6RXWKHDVWUHJLRQ2YHUKDOIRI.URJHU¶VDVVRFLDWHVDUHSDUWWLPHZRUNHUV
     7KLVSD\UDWLRLVDUHDVRQDEOHHVWLPDWHFDOFXODWHGLQDPDQQHUFRQVLVWHQWZLWK6(&UXOHVEDVHGRQRXUSD\UROO
UHFRUGVDQGWKHPHWKRGRORJ\GHVFULEHGEHORZ7KH6(&UXOHVIRULGHQWLI\LQJWKHPHGLDQFRPSHQVDWHGDVVRFLDWHDQG
FDOFXODWLQJWKHSD\UDWLREDVHGRQWKDWDVVRFLDWH¶VDQQXDOWRWDOFRPSHQVDWLRQDOORZFRPSDQLHVWRDGRSWDYDULHW\RI
PHWKRGRORJLHVWRDSSO\FHUWDLQH[FOXVLRQVDQGWRPDNHUHDVRQDEOHHVWLPDWHVDQGDVVXPSWLRQVWKDWUHIOHFWWKHLU
FRPSHQVDWLRQSUDFWLFHV$VVXFKRWKHUFRPSDQLHVPD\KDYHGLIIHUHQWHPSOR\PHQWDQGFRPSHQVDWLRQSUDFWLFHVDQG
PD\XWLOL]HGLIIHUHQWPHWKRGRORJLHVH[FOXVLRQVHVWLPDWHVDQGDVVXPSWLRQVLQFDOFXODWLQJWKHLURZQSD\UDWLRV
7KHUHIRUHWKHHVWLPDWHGSD\UDWLRUHSRUWHGDERYHPD\QRWEHFRPSDUDEOHWRWKHSD\UDWLRVUHSRUWHGE\RWKHU
FRPSDQLHVDQGVKRXOGQRWEHXVHGDVDEDVLVIRUFRPSDULVRQEHWZHHQFRPSDQLHV
      :HWKHQGHWHUPLQHGWKHPHGLDQDVVRFLDWH¶VDQQXDOWRWDOFRPSHQVDWLRQXVLQJWKH6XPPDU\&RPSHQVDWLRQ7DEOH
PHWKRGRORJ\DVGHWDLOHGLQ,WHP F  [ RI5HJXODWLRQ6.DQGFRPSDUHGLWWRWKHDQQXDOWRWDOFRPSHQVDWLRQRI
0U0F0XOOHQDVGHWDLOHGLQWKH³7RWDO´FROXPQRIWKH6XPPDU\&RPSHQVDWLRQ7DEOHIRUWRDUULYHDWWKHSD\
UDWLRGLVFORVHGDERYH'XHWRDPDWHULDOLQFUHDVHLQVDODU\RIRXUPHGLDQDVVRFLDWHLQILVFDOZHLGHQWLILHGD
VXEVWLWXWHPHGLDQDVVRFLDWHDVSHUPLWWHGXQGHU6(&UXOHVRQ$SULOEHFDXVHZHUHDVRQDEO\EHOLHYHGWKDW
FRQWLQXLQJWRXVHWKHSULRUPHGLDQDVVRFLDWHZRXOGKDYHVLJQLILFDQWO\DIIHFWHGRXU&(2SD\UDWLRGLVFORVXUHDQGWKH
&(2SD\UDWLRZRXOGQRWUHIOHFWWKHDFWXDOUDWLRWKDWZDVXVHGWRFDOFXODWHWKHSD\UDWLR

Compensation Policies as They Relate to Risk Management
     $VSDUWRIWKH&RPSHQVDWLRQ&RPPLWWHH¶VUHYLHZRIRXUFRPSHQVDWLRQSUDFWLFHVWKH&RPSHQVDWLRQ&RPPLWWHH
FRQVLGHUVDQGDQDO\]HVWKHH[WHQWWRZKLFKULVNVDULVHIURPVXFKSUDFWLFHVDQGWKHLULPSDFWRQ.URJHU¶VEXVLQHVV$V
GLVFXVVHGLQWKLV&RPSHQVDWLRQ'LVFXVVLRQDQG$QDO\VLVRXUSROLFLHVDQGSUDFWLFHVIRUFRPSHQVDWLQJDVVRFLDWHVDUH
GHVLJQHGWRDPRQJRWKHUWKLQJVDWWUDFWDQGUHWDLQKLJKTXDOLW\DQGHQJDJHGDVVRFLDWHV,QWKLVSURFHVVWKH
&RPSHQVDWLRQ&RPPLWWHHDOVRIRFXVHVRQPLQLPL]LQJULVNWKURXJKWKHLPSOHPHQWDWLRQRIFHUWDLQSUDFWLFHVDQG
SROLFLHVVXFKDVWKHH[HFXWLYHFRPSHQVDWLRQUHFRXSPHQWSROLF\ZKLFKLVGHVFULEHGDERYH$FFRUGLQJO\ZHGRQRW
EHOLHYHWKDWRXUFRPSHQVDWLRQSUDFWLFHVDQGSROLFLHVFUHDWHULVNVWKDWDUHUHDVRQDEO\OLNHO\WRKDYHDPDWHULDODGYHUVH
HIIHFWRQ.URJHU

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Item No. 2 Advisory Vote to Approve Executive Compensation

You are being asked to vote, on an advisory basis, to approve the compensation of our NEOs.

    FOR             7KH%RDUGUHFRPPHQGVDYRWH)25WKHDSSURYDORIFRPSHQVDWLRQRIRXU1(2V

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7KH'RGG)UDQN:DOO6WUHHW5HIRUPDQG&RQVXPHU3URWHFWLRQ$FWHQDFWHGLQ-XO\UHTXLUHVWKDWZHJLYHRXU
VKDUHKROGHUVWKHULJKWWRDSSURYHRQDQRQELQGLQJDGYLVRU\EDVLVWKHFRPSHQVDWLRQRIRXU1(2VDVGLVFORVHG
HDUOLHULQWKLVSUR[\VWDWHPHQWLQDFFRUGDQFHZLWKWKH6(&¶VUXOHV

     $VGLVFXVVHGHDUOLHULQWKH&' $RXUFRPSHQVDWLRQSKLORVRSK\LVWRDWWUDFWDQGUHWDLQWKHEHVWPDQDJHPHQW
WDOHQWDQGWRPRWLYDWHWKHVHDVVRFLDWHVWRDFKLHYHRXUEXVLQHVVDQGILQDQFLDOJRDOV2XULQFHQWLYHSODQVDUHGHVLJQHG
WRUHZDUGWKHDFWLRQVWKDWOHDGWRORQJWHUPYDOXHFUHDWLRQ7RDFKLHYHRXUREMHFWLYHVZHVHHNWRHQVXUHWKDW
FRPSHQVDWLRQLVFRPSHWLWLYHDQGWKDWWKHUHLVDGLUHFWOLQNEHWZHHQSD\DQGSHUIRUPDQFH7RGRVRZHDUHJXLGHGE\
WKHIROORZLQJSULQFLSOHV

      x    &RPSHQVDWLRQPXVWEHGHVLJQHGWRUHWUDFWDQGUHWDLQWKHLQGLYLGXDOVWREHDQH[HFXWLYHDW.URJHU
      x    $VLJQLILFDQWSRUWLRQRISD\VKRXOGEHSHUIRUPDQFHEDVHGZLWKWKHSHUFHQWDJHRIWRWDOSD\WLHGWR
           SHUIRUPDQFHLQFUHDVLQJSURSRUWLRQDOO\ZLWKDQH[HFXWLYH¶VOHYHORIUHVSRQVLELOLW\
      x    &RPSHQVDWLRQVKRXOGLQFOXGHLQFHQWLYHEDVHGSD\WRGULYHSHUIRUPDQFHSURYLGLQJVXSHULRUSD\IRU
           VXSHULRUSHUIRUPDQFHLQFOXGLQJERWKDVKRUWDQGORQJWHUPIRFXV
      x    &RPSHQVDWLRQSROLFLHVVKRXOGLQFOXGHDQRSSRUWXQLW\IRUDQGDUHTXLUHPHQWRIVLJQLILFDQWHTXLW\
           RZQHUVKLSWRDOLJQWKHLQWHUHVWVRIH[HFXWLYHVDQGVKDUHKROGHUV
      x    &RPSRQHQWVRIFRPSHQVDWLRQVKRXOGEHWLHGWRDQHYDOXDWLRQRIEXVLQHVVDQGLQGLYLGXDOSHUIRUPDQFH
           PHDVXUHGDJDLQVWPHWULFVWKDWGLUHFWO\GULYHRXUEXVLQHVVVWUDWHJ\
      x    &RPSHQVDWLRQSODQVVKRXOGSURYLGHDGLUHFWOLQHRIVLJKWWRFRPSDQ\SHUIRUPDQFH
      x    &RPSHQVDWLRQSURJUDPVVKRXOGEHDOLJQHGZLWKPDUNHWSUDFWLFHVDQG
      x    &RPSHQVDWLRQSURJUDPVVKRXOGVHUYHWRERWKPRWLYDWHDQGUHWDLQWDOHQW
     7KHYRWHRQWKLVUHVROXWLRQLVQRWLQWHQGHGWRDGGUHVVDQ\VSHFLILFHOHPHQWRIFRPSHQVDWLRQ5DWKHUWKHYRWH
UHODWHVWRWKHFRPSHQVDWLRQRIRXU1(2VDVGHVFULEHGLQWKLVSUR[\VWDWHPHQW7KHYRWHLVDGYLVRU\7KLVPHDQVWKDW
WKHYRWHLVQRWELQGLQJRQ.URJHU7KH&RPSHQVDWLRQ&RPPLWWHHRIWKH%RDUGLVUHVSRQVLEOHIRUHVWDEOLVKLQJ
H[HFXWLYHFRPSHQVDWLRQ,QVRGRLQJWKH&RPSHQVDWLRQ&RPPLWWHHZLOOFRQVLGHUDORQJZLWKDOORWKHUUHOHYDQW
IDFWRUVWKHUHVXOWVRIWKLVYRWH
      :HDVNRXUVKDUHKROGHUVWRYRWHRQWKHIROORZLQJUHVROXWLRQ
³5(62/9('WKDWWKHFRPSHQVDWLRQSDLGWRWKH&RPSDQ\¶V1(2VDVGLVFORVHGSXUVXDQWWR,WHPRI
5HJXODWLRQ6.LQFOXGLQJWKH&RPSHQVDWLRQ'LVFXVVLRQDQG$QDO\VLVFRPSHQVDWLRQWDEOHVDQGWKHUHODWHG
QDUUDWLYHGLVFXVVLRQLVKHUHE\$33529('´
      7KHQH[WDGYLVRU\YRWHZLOORFFXUDWRXU$QQXDO0HHWLQJVXEMHFWWRVKDUHKROGHUVDSSURYLQJRQH\HDUDV
WKHIUHTXHQF\RIWKHDGYLVRU\YRWHLQ,WHP1REHORZ

Item No. 3 Advisory Vote on the Frequency of Future Advisory Votes on Executive Compensation
You are being asked to vote, on an advisory basis, on the frequency of future advisory votes on executive
compensation. The Board of Directors recommends a vote of ONE YEAR for the frequency of future
advisory votes on executive compensation. 
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([FKDQJH$FWDOVRUHTXLUHWKDWVKDUHKROGHUVEHJLYHQWKHULJKWWRYRWHDJDLQRQDQRQELQGLQJDGYLVRU\EDVLVIRU
WKHLUSUHIHUHQFHDVWRKRZIUHTXHQWO\ZHVKRXOGVHHNIXWXUHDGYLVRU\YRWHVRQWKHFRPSHQVDWLRQRIRXUQDPHG
H[HFXWLYHRIILFHUV
         :KHQWKHDGYLVRU\YRWHZDVODVWKHOGLQVKDUHKROGHUVLQGLFDWHGDSUHIHUHQFHWRKROGWKHDGYLVRU\YRWH
RQH[HFXWLYHFRPSHQVDWLRQHDFK\HDUDQGWKH%RDUGLPSOHPHQWHGWKLVVWDQGDUG7KH%RDUGRI'LUHFWRUVEHOLHYHVWKDW
DQDGYLVRU\YRWHRQH[HFXWLYHFRPSHQVDWLRQWKDWRFFXUVHYHU\\HDULVWKHPRVWDSSURSULDWHDOWHUQDWLYHIRU.URJHU
DQGLWWKHUHIRUHUHFRPPHQGVWKDW\RXYRWHIRUWKHRQH\HDUDOWHUQDWLYH

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       7KHYRWHLVDGYLVRU\7KLVPHDQVWKDWWKHYRWHLVQRWELQGLQJRQ.URJHU2XU%RDUGRI'LUHFWRUVZLOO
GHWHUPLQHWKHDFWXDOYRWLQJIUHTXHQF\IRUDSSURYDORIH[HFXWLYHFRPSHQVDWLRQ,QVRGRLQJWKH%RDUGZLOOFRQVLGHU
DORQJZLWKDOORWKHUUHOHYDQWIDFWRUVWKHUHVXOWVRIWKLVYRWH7KH%RDUGPD\GHFLGHWRKROGDQDGYLVRU\YRWHRQ
H[HFXWLYHFRPSHQVDWLRQPRUHRUOHVVIUHTXHQWO\WKDQWKHIUHTXHQF\UHFHLYLQJWKHPRVWYRWHVFDVWE\VKDUHKROGHUV
         7KHSUR[\FDUGSURYLGHVVKDUHKROGHUVWKHRSSRUWXQLW\WRFKRRVHDPRQJIRXURSWLRQVIRUWKHIUHTXHQF\RI
WKHDGYLVRU\YRWHHYHU\RQHWZRRUWKUHH\HDUVRUDEVWDLQIURPFDVWLQJDYRWH6KDUHKROGHUVZLOOQRWEHYRWLQJWR
DSSURYHRUWRGLVDSSURYHWKHUHFRPPHQGDWLRQRIWKH%RDUGRI'LUHFWRUV7KHRSWLRQUHFHLYLQJWKHPRVWDIILUPDWLYH
YRWHVZLOOEHWKHRXWFRPHRIWKHDGYLVRU\YRWH%URNHUQRQYRWHVDQGDEVWHQWLRQVZLOOKDYHQRHIIHFWRQWKHRXWFRPH
RIWKLVYRWH
The Board of Directors Recommends a Vote of One Year for this Proposal.


Item No. 4 Ratification of the Appointment of Kroger’s Independent Auditor
You are being asked to ratify the appointment of Kroger’s independent auditor, PricewaterhouseCoopers
LLC.
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                     7KH%RDUGUHFRPPHQGVDYRWH)25WKHUDWLILFDWLRQRI3ULFHZDWHUKRXVH&RRSHUV//3DVRXU
    FOR
                     LQGHSHQGHQWUHJLVWHUHGSXEOLFDFFRXQWLQJILUP

      7KHSULPDU\IXQFWLRQRIWKH$XGLW&RPPLWWHHLVWRDVVLVWWKH%RDUGRI'LUHFWRUVLQIXOILOOLQJLWVRYHUVLJKW
UHVSRQVLELOLWLHVUHJDUGLQJWKH&RPSDQ\¶VILQDQFLDOUHSRUWLQJDQGDFFRXQWLQJSUDFWLFHVLQFOXGLQJWKHLQWHJULW\RIWKH
&RPSDQ\¶VILQDQFLDOVWDWHPHQWVWKH&RPSDQ\¶VFRPSOLDQFHZLWKOHJDODQGUHJXODWRU\UHTXLUHPHQWVWKH
LQGHSHQGHQWSXEOLFDFFRXQWDQWV¶TXDOLILFDWLRQVDQGLQGHSHQGHQFHWKHSHUIRUPDQFHRIWKH&RPSDQ\¶VLQWHUQDODXGLW
IXQFWLRQDQGLQGHSHQGHQWSXEOLFDFFRXQWDQWVDQGWKHSUHSDUDWLRQRIWKH$XGLW&RPPLWWHH5HSRUW7KH$XGLW
&RPPLWWHHSHUIRUPVWKLVZRUNSXUVXDQWWRDZULWWHQFKDUWHUDSSURYHGE\WKH%RDUGRI'LUHFWRUV7KH$XGLW
&RPPLWWHHFKDUWHUPRVWUHFHQWO\ZDVUHYLVHGGXULQJILVFDODQGLVDYDLODEOHRQWKH&RPSDQ\¶VZHEVLWHDW
LUNURJHUFRPXQGHU,QYHVWRUVௗ²ௗ*RYHUQDQFHௗ²ௗ&RPPLWWHH&RPSRVLWLRQ7KH$XGLW&RPPLWWHHKDVLPSOHPHQWHG
SURFHGXUHVWRDVVLVWLWGXULQJWKHFRXUVHRIHDFKILVFDO\HDULQGHYRWLQJWKHDWWHQWLRQWKDWLVQHFHVVDU\DQGDSSURSULDWH
WRHDFKRIWKHPDWWHUVDVVLJQHGWRLWXQGHUWKH$XGLW&RPPLWWHH¶VFKDUWHU7KH$XGLW&RPPLWWHHKHOGPHHWLQJV
GXULQJILVFDO\HDU

Selection of Independent Auditor
      7KH$XGLW&RPPLWWHHRIWKH%RDUGRI'LUHFWRUVLVGLUHFWO\UHVSRQVLEOHIRUWKHDSSRLQWPHQWFRPSHQVDWLRQ
UHWHQWLRQDQGRYHUVLJKWRI.URJHU¶VLQGHSHQGHQWDXGLWRUDVUHTXLUHGE\ODZDQGE\DSSOLFDEOH1<6(UXOHV2Q
0DUFKWKH$XGLW&RPPLWWHHDSSRLQWHG3ULFHZDWHUKRXVH&RRSHUV//3DV.URJHU¶VLQGHSHQGHQWDXGLWRUIRU
WKHILVFDO\HDUHQGLQJ-DQXDU\3ULFHZDWHUKRXVH&RRSHUV//3RULWVSUHGHFHVVRUILUPKDVEHHQWKH
&RPSDQ\¶VLQGHSHQGHQWDXGLWRUVLQFH

      ,QGHWHUPLQLQJZKHWKHUWRUHDSSRLQWWKHLQGHSHQGHQWDXGLWRURXU$XGLW&RPPLWWHH
      x    5HYLHZV3ULFHZDWHUKRXVH&RRSHUV//3¶VLQGHSHQGHQFHDQGSHUIRUPDQFH
      x    &RQVLGHUVWKHWHQXUHRIWKHLQGHSHQGHQWUHJLVWHUHGSXEOLFDFFRXQWLQJILUPDQGVDIHJXDUGVDURXQGDXGLWRU
           LQGHSHQGHQFH
      x    5HYLHZVLQDGYDQFHDOOQRQDXGLWVHUYLFHVSURYLGHGE\3ULFHZDWHUKRXVH&RRSHUV//3VSHFLILFDOO\ZLWK
           UHJDUGWRWKHHIIHFWRQWKHILUP¶VLQGHSHQGHQFH
      x    &RQGXFWVDQDQQXDODVVHVVPHQWRI3ULFHZDWHUKRXVH&RRSHUV//3¶VSHUIRUPDQFHLQFOXGLQJDQLQWHUQDO
           VXUYH\RIWKHLUVHUYLFHTXDOLW\E\PHPEHUVRIPDQDJHPHQWDQGWKH$XGLW&RPPLWWHH
      x    &RQGXFWVUHJXODUH[HFXWLYHVHVVLRQVZLWK3ULFHZDWHUKRXVH&RRSHUV//3
      x    &RQGXFWVUHJXODUH[HFXWLYHVHVVLRQVZLWKWKH9LFH3UHVLGHQWRI,QWHUQDO$XGLW
      x    &RQVLGHUV3ULFHZDWHUKRXVH&RRSHUV//3¶VIDPLOLDULW\ZLWKRXURSHUDWLRQVEXVLQHVVHVDFFRXQWLQJSROLFLHV
           DQGSUDFWLFHVDQGLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJ
      x    5HYLHZVFDQGLGDWHVIRUWKHOHDGHQJDJHPHQWSDUWQHULQFRQMXQFWLRQZLWKWKHPDQGDWHGURWDWLRQRIWKHSXEOLF
           DFFRXQWDQWV¶OHDGHQJDJHPHQWSDUWQHU

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                                             Audit Committee Report
     0DQDJHPHQWRIWKH&RPSDQ\LVUHVSRQVLEOHIRUWKHSUHSDUDWLRQDQGSUHVHQWDWLRQRIWKH&RPSDQ\¶VILQDQFLDO
VWDWHPHQWVWKH&RPSDQ\¶VDFFRXQWLQJDQGILQDQFLDOUHSRUWLQJSULQFLSOHVDQGLQWHUQDOFRQWUROVDQGSURFHGXUHVWKDW
DUHGHVLJQHGWRSURYLGHUHDVRQDEOHDVVXUDQFHUHJDUGLQJFRPSOLDQFHZLWKDFFRXQWLQJVWDQGDUGVDQGDSSOLFDEOHODZV
DQGUHJXODWLRQV7KHLQGHSHQGHQWSXEOLFDFFRXQWDQWVDUHUHVSRQVLEOHIRUDXGLWLQJWKH&RPSDQ\¶VILQDQFLDO
VWDWHPHQWVDQGH[SUHVVLQJRSLQLRQVDVWRWKHILQDQFLDOVWDWHPHQWV¶FRQIRUPLW\ZLWKJHQHUDOO\DFFHSWHGDFFRXQWLQJ
SULQFLSOHVDQGWKHHIIHFWLYHQHVVRIWKH&RPSDQ\¶VLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJ
    ,QSHUIRUPLQJLWVIXQFWLRQVWKH$XGLW&RPPLWWHH
             x   0HWVHSDUDWHO\ZLWKWKH&RPSDQ\¶VLQWHUQDODXGLWRUDQG3ULFHZDWHUKRXVH&RRSHUV//3ZLWKDQG
                 ZLWKRXWPDQDJHPHQWSUHVHQWWRGLVFXVVWKHUHVXOWVRIWKHDXGLWVWKHLUHYDOXDWLRQDQG
                 PDQDJHPHQW¶VDVVHVVPHQWRIWKHHIIHFWLYHQHVVRI.URJHU¶VLQWHUQDOFRQWUROVRYHUILQDQFLDO
                 UHSRUWLQJDQGWKHRYHUDOOTXDOLW\RIWKH&RPSDQ\¶VILQDQFLDOUHSRUWLQJ
             x   0HWVHSDUDWHO\ZLWKWKH&RPSDQ\¶V&KLHI)LQDQFLDO2IILFHURUWKH&RPSDQ\¶V*HQHUDO&RXQVHO
                 ZKHQQHHGHG
             x   0HWUHJXODUO\LQH[HFXWLYHVHVVLRQV
             x   5HYLHZHGDQGGLVFXVVHGZLWKPDQDJHPHQWWKHDXGLWHGILQDQFLDOVWDWHPHQWVLQFOXGHGLQRXU$QQXDO
                 5HSRUW
             x   'LVFXVVHGZLWK3ULFHZDWHUKRXVH&RRSHUV//3WKHPDWWHUVUHTXLUHGWREHGLVFXVVHGXQGHUWKH
                 DSSOLFDEOHUHTXLUHPHQWVRIWKH3XEOLF&RPSDQ\$FFRXQWLQJ2YHUVLJKW%RDUGDQGWKH6(&DQG
             x   5HFHLYHGWKHZULWWHQGLVFORVXUHVDQGWKHOHWWHUIURP3ULFHZDWHUKRXVH&RRSHUV//3UHTXLUHGE\WKH
                 DSSOLFDEOHUHTXLUHPHQWVRIWKH3XEOLF$FFRXQWLQJ2YHUVLJKW%RDUGUHJDUGLQJWKHLQGHSHQGHQW
                 SXEOLFDFFRXQWDQW¶VFRPPXQLFDWLRQZLWKWKH$XGLW&RPPLWWHHFRQFHUQLQJLQGHSHQGHQFHDQG
                 GLVFXVVHGWKHPDWWHUVUHODWHGWRWKHLULQGHSHQGHQFH
    %DVHGXSRQWKHUHYLHZDQGGLVFXVVLRQVGHVFULEHGLQWKLVUHSRUWWKH$XGLW&RPPLWWHHUHFRPPHQGHGWRWKH
%RDUGRI'LUHFWRUVWKDWWKHDXGLWHGFRQVROLGDWHGILQDQFLDOVWDWHPHQWVEHLQFOXGHGLQWKH&RPSDQ\¶V$QQXDO5HSRUW
RQ)RUP.IRUWKH\HDUHQGHG-DQXDU\DVILOHGZLWKWKH6(&
7KLVUHSRUWLVVXEPLWWHGE\WKH$XGLW&RPPLWWHH
$QQH*DWHV&KDLU
.HYLQ0%URZQ
.DUHQ0+RJXHW
5RQDOG/6DUJHQW
$VKRN9HPXUL
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Items 5 – 9
SHAREHOLDER PROPOSALS
     ,QFOXGHGLQWKLVSUR[\VWDWHPHQWDUHILYHVHSDUDWHVKDUHKROGHUSURSRVDOVWKDWKDYHEHHQVXEPLWWHGXQGHU6(&
UXOHVE\VKDUHKROGHUVZKRQRWLILHGWKHFRPSDQ\RIWKHLULQWHQWLRQWRSUHVHQWWKHSURSRVDOVIRUYRWLQJDWWKH
$QQXDO6KDUHKROGHUV¶0HHWLQJ6RPHVKDUHKROGHUSURSRVDOVDQGVXSSRUWLQJVWDWHPHQWVPD\FRQWDLQDVVHUWLRQV
DERXW.URJHUWKDWZHEHOLHYHDUHLQFRUUHFWDQGZHKDYHQRWWULHGWRUHIXWHDOOVXFKLQDFFXUDFLHVLQWKHFRPSDQ\¶V
UHVSRQVHV$OOVWDWHPHQWVDQGFLWDWLRQVFRQWDLQHGLQDVKDUHKROGHUSURSRVDODQGLWVVXSSRUWLQJVWDWHPHQWVDUHWKHVROH
UHVSRQVLELOLW\RIWKHSURSRQHQWRIWKDWVKDUHKROGHUSURSRVDO2XUFRPSDQ\ZLOOSURYLGHWKHQDPHVDGGUHVVHVDQG
VKDUHKROGLQJV WRRXUFRPSDQ\¶VNQRZOHGJH RIWKHSURSRQHQWVRIDQ\VKDUHKROGHUSURSRVDOXSRQRUDORUZULWWHQ
UHTXHVWPDGHWR&RUSRUDWH6HFUHWDU\7KH.URJHU&R9LQH6WUHHW&LQFLQQDWL2KLR7KH
LQIRUPDWLRQRQRUDFFHVVLEOHWKURXJK.URJHU¶VZHEVLWHVRUUHSRUWOLQNVLQFOXGHGLQWKLVSUR[\VWDWHPHQWLQFOXGLQJ
WKHVWDWHPHQWVWKDWIROORZLVQRWSDUWRIRULQFRUSRUDWHGE\UHIHUHQFHLQWRWKLVSUR[\VWDWHPHQW


    AGAINST        7KH%RDUGUHFRPPHQGVDYRWH$*$,167HDFKRIWKHIROORZLQJVKDUHKROGHUSURSRVDOVLQHDFK
                    FDVHLISURSHUO\SUHVHQWHGDWWKHPHHWLQJIRUWKHUHDVRQVVWDWHGLQ.URJHU¶VVWDWHPHQWVLQ
                    RSSRVLWLRQIROORZLQJHDFKVKDUHKROGHUSURSRVDO


Item No. 5            Shareholder Proposal – Report on Public Health Costs from Sale of Tobacco Products
:HKDYHEHHQDGYLVHGWKDW7KH6LVWHUVRI6W)UDQFLVRI3KLODGHOSKLDRUDQDSSRLQWHGUHSUHVHQWDWLYHDORQJZLWKQLQH
FRILOHUVZLOOSUHVHQWWKHIROORZLQJSURSRVDOIRUFRQVLGHUDWLRQGXULQJWKH$QQXDO6KDUHKROGHUV¶0HHWLQJ


“RESOLVED, VKDUHKROGHUVDVNWKDWWKHERDUGFRPPLVVLRQDQGGLVFORVHDUHSRUWRQWKHH[WHUQDOSXEOLFKHDOWKFRVWV
FUHDWHGE\WKHVDOHRIWREDFFRSURGXFWVE\RXUFRPSDQ\ WKH³&RPSDQ\´ DQGWKHPDQQHULQZKLFKVXFKFRVWVDIIHFW
WKHYDVWPDMRULW\RILWVVKDUHKROGHUVZKRUHO\RQRYHUDOOPDUNHWUHWXUQV

7KHQHJDWLYHKHDOWKDQGSURGXFWLYLW\LPSDFWVIURPWKHFRQVXPSWLRQRIWREDFFRSURGXFWVLPSRVHWULOOLRQLQ
VRFLDOGDPDJHWREDFFR¶VXQSULFHGVRFLDOEXUGHQDPRXQWVWRDOPRVWSHUFHQWRIJOREDO*'3DQQXDOO\

<HWLQVSLWHRIWKH&RPSDQ\GHGLFDWLQJDQHQWLUHGLYLVLRQ.URJHU+HDOWKWRDGGUHVVLQJLWVFXVWRPHUV¶KHDOWKFDUH
QHHGVDVZHOODVWKHRYHUZKHOPLQJHYLGHQFHWKDWWREDFFR±DNQRZQFDUFLQRJHQWKDWLPSDLUVUHVSLUDWRU\IXQFWLRQ±
VLJQLILFDQWO\SUHMXGLFHVWKHKHDOWKRXWFRPHVRIVPRNHUVDQGSDUWLFXODUO\VPRNHUVLQIHFWHGZLWK&29,'WKH
&RPSDQ\FRQWLQXHVWRVHOOWREDFFRSURGXFWVLQLWVVWRUHV

7KHVHSXEOLFKHDOWKFRVWV\HDUDIWHU\HDUDUHGHYDVWDWLQJWRHFRQRPLFJURZWKDQGIXUWKHUFRPSRXQGWKHILQDQFLDO
GHYDVWDWLRQZURXJKWE\WKH&29,'SDQGHPLF<HW.URJHUGRHVQRWGLVFORVHDQ\PHWKRGRORJ\WRDGGUHVVWKH
SXEOLFKHDOWKFRVWVRILWVWREDFFRVDOHV7KXVVKDUHKROGHUVKDYHQRJXLGDQFHDVWRFRVWVWKH&RPSDQ\LV
H[WHUQDOL]LQJDQGFRQVHTXHQWHFRQRPLFKDUP7KLVLQIRUPDWLRQLVHVVHQWLDOWRVKDUHKROGHUVWKHPDMRULW\RIZKRP
DUHEHQHILFLDORZQHUVZLWKEURDGO\GLYHUVLILHGLQWHUHVWV

%XW.URJHUXQGHUPLQHVLWVFRPPLWPHQWVWRSURPRWLQJJRRGKHDOWKDQGXOWLPDWHO\WKHLQWHUHVWVRILWVGLYHUVLILHG
VKDUHKROGHUVE\QRWGLVFORVLQJWKHVRFLDODQGHQYLURQPHQWDOFRVWVDQGULVNVLPSRVHGRQVWDNHKROGHUVHYHQZKHQ
WKHVHFRVWVDQGULVNVWKUHDWHQVRFLHW\WKHHFRQRP\DQGWKHSHUIRUPDQFHRIRWKHUFRPSDQLHV$OOVWDNHKROGHUVDUH
XQDOWHUDEO\KDUPHGZKHQFRPSDQLHVLPSRVHFRVWVRQWKHHFRQRP\WKDWORZHU*'3ZKLFKUHGXFHVHTXLW\YDOXH
:KLOHWKH&RPSDQ\PD\SURILWE\LJQRULQJFRVWVLWH[WHUQDOL]HVGLYHUVLILHGVKDUHKROGHUVZLOOXOWLPDWHO\SD\WKHVH
FRVWVDQGWKH\KDYHDULJKWWRDVNZKDWWKH\DUH

7KH&RPSDQ\¶VGLVFORVXUHVGRQRWDGGUHVVWKHLVVXHEHFDXVHWKH\GRQRWDGGUHVVWKHSXEOLFKHDOWKFRVWVWKDW
.URJHU¶VWREDFFRVDOHVLPSRVHRQVKDUHKROGHUVDVGLYHUVLILHGLQYHVWRUVZKRPXVWIXQGUHWLUHPHQWHGXFDWLRQSXEOLF
JRRGVDQGRWKHUFULWLFDOVRFLDOQHHGV7KLVLVDVHSDUDWHVRFLDOLVVXHRIJUHDWLPSRUWDQFH$UHSRUWZRXOGKHOS
VKDUHKROGHUVGHWHUPLQHZKHWKHUWKHVHH[WHUQDOL]HGFRVWVDQGWKHHFRQRPLFKDUPWKH\PD\FUHDWHXOWLPDWHO\VHUYH
WKHLULQWHUHVWV´

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 KWWSVZZZFGFJRYWREDFFRGDWD VWDWLVWLFVIDFW VKHHWVHFRQRPLFVHFRQ IDFWVLQGH[KWP

 .URJHU+HDOWK±%XVLQHVV &RPPXQLW\+HDOWK6ROXWLRQV
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 https://www.unepfi.org/fileadmin/documents/universal ownership full.pdf



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The Board of Directors Recommends a Vote Against This Proposal for the Following Reasons:
.URJHUWDNHVWKHUHVSRQVLELOLW\RIVHOOLQJWREDFFRSURGXFWVYHU\VHULRXVO\DQGKDVHVWDEOLVKHGSROLFLHVDQGSURFHVVHV
WROLPLWWKHVDOHRIWKHVHLWHPVRQO\WRFXVWRPHUVZKRDUHOHJDOO\SHUPLWWHGWRSXUFKDVHWKHP:HRIIHUFXVWRPHUVD
ZLGHUDQJHRIFKRLFHVDFURVVDOOSURGXFWFDWHJRULHVWRPHHWZLGHUDQJLQJWDVWHVDQGSUHIHUHQFHVLQFOXGLQJIRRGDQG
GLVFUHWLRQDU\LWHPV
The Company has the management systems and governance to limit the sale of tobacco products and to
support choices for better health.
7KH.URJHUIDPLO\RIFRPSDQLHVLVFRPPLWWHGWRHWKLFDODQGUHVSRQVLEOHEHKDYLRULQDOOSDUWVRIRXUEXVLQHVV2XU
EHKDYLRULVURRWHGLQ2XU3XUSRVH±WR)HHGWKH+XPDQ6SLULW±DQGRXUSURPLVHWRRXUFXVWRPHUV7KLVLQFOXGHV
XSKROGLQJ2XU9DOXHVZKLFKKDYHEHHQWKHIRXQGDWLRQRI.URJHU¶VFXOWXUHIRUGHFDGHV
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7KH$XGLW&RPPLWWHHDQG3XEOLF5HVSRQVLELOLWLHV&RPPLWWHHRIWKHERDUGRIGLUHFWRUVRYHUVHHSURJUHVVLQ
UHJXODWRU\FRPSOLDQFHDQGSKDUPDF\VDIHW\PHDVXUHV

:HUHFRJQL]HRXUUHVSRQVLELOLW\DVDEXVLQHVVWRVXSSRUWRXUFRPPXQLWLHVDQGKHOSIDPLOLHVE\PDNLQJLWHDVLHUIRU
WKHPWROLYHKHDOWKLHUOLYHV:HDOVREHOLHYHLQRXUFXVWRPHUV¶IUHHGRPRIFKRLFHDQGDGXOWFXVWRPHUVFDQFKRRVHWR
SXUFKDVHWREDFFRSURGXFWVXQGHUVWDQGLQJIXOO\WKHSRWHQWLDOKHDOWKLPSDFWV7KH&RPSDQ\FRQWLQXDOO\UHYLHZVLWV
SURGXFWDVVRUWPHQWLQFOXGLQJWREDFFRDQGWREDFFRFHVVDWLRQSURGXFWV
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1RWDEO\UHFHQWVWXGLHVWKDWVKRZWKHSHUFHQWDJHRI86DGXOWVZKRVPRNHFLJDUHWWHVKDVUHDFKHGDQHZORZGULYHQ
E\VKDUSO\ORZHUVPRNLQJUDWHVDPRQJ\RXQJDGXOWV6DOHVIRUERWKWREDFFRSURGXFWVDQGWREDFFRFHVVDWLRQ
SURGXFWVDW.URJHUKDYHVLPLODUO\GHFUHDVHGLQUHFHQW\HDUV

How We Limit Tobacco Sales
7REDFFRVDOHVOLNHWKHVDOHVRIPDQ\SURGXFWVDUHJRYHUQHGE\UHJXODWLRQVZKLFKZHVWULFWO\IROORZ7KH
&RPSDQ\¶V7REDFFR6DOHV3ROLF\LVGHVLJQHGWRFRPSO\ZLWKWKHVHUHJXODWLRQVDQGDIILUPRXUFRPPLWPHQWWRWKH
KHDOWKDQGZHOIDUHRIRXUQDWLRQ¶V\RXWKE\UHGXFLQJDGROHVFHQWDFFHVVWRWREDFFR7KH3ROLF\RXWOLQHVLQWHUQDO
EXVLQHVVSURFHGXUHVDQGEHVWSUDFWLFHVWRPDLQWDLQFRPSOLDQFHDWUHWDLOVWRUHV

How We Promote Health and Healthier Choices
:HDLPWRVHUYHDQGLPSURYHKHDOWKIRUPLOOLRQVRISHRSOHDFURVVWKHFRXQWU\WKURXJKRXUEXVLQHVVRSHUDWLRQV
(QYLURQPHQWDO6RFLDODQG*RYHUQDQFH6WUDWHJ\±Thriving Together±DQG.URJHU+HDOWK¶VVWUDWHJ\DQGVHUYLFHV

.URJHU+HDOWKOHDGVWKHFRPSDQ\¶VKHDOWKDQGQXWULWLRQVWUDWHJ\VHUYLFHVDQGSURJUDPV,WLQFOXGHVUHWDLOPDLO
RUGHUFHQWUDOILOODQGVSHFLDOW\SKDUPDF\RSHUDWLRQVUHWDLOKHDOWKFOLQLFVQXWULWLRQDQGGLHWLWLDQVHUYLFHVDQGKHDOWK
DGYRFDF\$WHDPRIKHDOWKFDUHSUDFWLWLRQHUVLQFOXGLQJSKDUPDFLVWVQXUVHSUDFWLWLRQHUVGLHWLWLDQVDQG
WHFKQLFLDQVVHUYHVPRUHWKDQPLOOLRQFXVWRPHUVDQQXDOO\

:HDLPWRVXSSRUWRXUFXVWRPHUVDQGFRPPXQLWLHVZLWKWRROVUHVRXUFHVDQGVHUYLFHVWKDWDGYDQFHSRSXODWLRQKHDOWK
IRUDOO:HLQIRUPRXU&XVWRPHUVDQG$VVRFLDWHVDERXWWKHLPSRUWDQFHRIKHDOWK\OLIHVW\OHVDQGZHHTXLSRXU
SKDUPDF\DQGKHDOWKFOLQLFWHDPVWRVXSSRUWSHRSOHWU\LQJWRTXLWWREDFFR6SHFLILFDOO\UHODWHGWRWKHXVHRIWREDFFR
SURGXFWVZH

        x    2IIHUVPRNLQJFHVVDWLRQFRDFKLQJSURJUDPVWKDWDUHDYDLODEOHWRDOOLQFOXGLQJFRDFKLQJWKURXJKWHOHKHDOWK
             VHUYLFHV

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    KWWSVQHZVJDOOXSFRPSROOFLJDUHWWHVPRNLQJUDWHVGRZQVKDUSO\DPRQJ\RXQJ
DGXOWVDVS[aWH[W 86&LJDUHWWH6PRNLQJ5DWHV&E\$JH*URXS WH[W 7KDWGURSSHGWRDQDYHUDJHW
KRVHDJHVDQGROGHU

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    x    2IIHUDIIRUGDEOHSUHVFULSWLRQDQGRYHUWKHFRXQWHUVPRNLQJFHVVDWLRQSURGXFWVWKDWDUHDYDLODEOHWRDOODQG
    x    (QFRXUDJH$VVRFLDWHVQRWWRXVHWREDFFRWKURXJK&RPSDQ\KHDOWKSODQLQFHQWLYHVFRYHUDJHIRU
         VPRNLQJFHVVDWLRQSURGXFWVDQGHPSOR\HHDVVLVWDQFHSURJUDPVIRUVPRNLQJFHVVDWLRQ

.URJHUFRQWLQXHVWRPDNHDZLGHUDQJHRIKHDOWKDQGZHOOQHVVVHUYLFHVPRUHDIIRUGDEOHDQGFRQYHQLHQWIRUPLOOLRQV
RIFXVWRPHUVDQGIRUORFDOFRPPXQLWLHVDFURVVWKH86$VDWUXVWHGORFDOSDUWQHUZHDOVRSURYLGHGHVVHQWLDOVXSSRUW
DQGVHUYLFHVGXULQJWKH&29,'SDQGHPLFUDSLGO\VFDOLQJWHVWLQJDQGYDFFLQHGLVWULEXWLRQVZKHQQHHGHGPRVW

$VVHVVLQJWKHH[WHUQDOSXEOLFKHDOWKFRVWVUHODWHGWRWKH&RPSDQ\¶VVDOHRIDVLQJOHFDWHJRU\RISURGXFWVLVQRW
UHDVRQDEOHRUSUDFWLFDEOHJLYHQWKHUHVRXUFHVDQGH[SHUWLVHUHTXLUHGWRFRQVLGHUDOOH[WHUQDOLWLHVDQGUHODWHGWRSLFV
RXWVLGHRIRXUFRQWURO,QOLJKWRIWKHDERYHZHGRQRWEHOLHYHDQDGGLWLRQDOUHSRUWZRXOGDGGPHDQLQJIXOO\WRWKH
H[WHQVLYHERG\RIUHVHDUFKFXUUHQWO\DYDLODEOHRQWKLVVXEMHFWDQGWKHUHIRUHGRQRWEHOLHYHVXFKDQDGGLWLRQDOUHSRUW
LVQHFHVVDU\

For the foregoing reasons, we urge you to vote AGAINST this proposal.
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Item No. 6 – Listing of Charitable Contributions of $10,000 or more
:HKDYHEHHQDGYLVHGWKDW7KH/RXLV% 'LDQD5(LFKROG7UXVWRUDQDSSRLQWHGUHSUHVHQWDWLYHZLOOSUHVHQWWKH
IROORZLQJSURSRVDOIRUFRQVLGHUDWLRQGXULQJWKH$QQXDO6KDUHKROGHUV¶0HHWLQJ
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³WhereasWKH&RPSDQ\ VFKDULWDEOHFRQWULEXWLRQVSURSHUO\PDQDJHGDUHOLNHO\WRHQKDQFHWKHUHSXWDWLRQRIWKH
&RPSDQ\

:KHUHDVLQFUHDVHGGLVFORVXUHUHJDUGLQJDSSURSULDWHFKDULWDEOHFRQWULEXWLRQVFDQFUHDWHJRRGZLOOIRURXU&RPSDQ\

:KHUHDVPDNLQJWKHEHQHILWVRIRXU&RPSDQ\ VSKLODQWKURSLFSURJUDPVEHWWHUNQRZQLVOLNHO\WRSURPRWHWKH
&RPSDQ\ VLQWHUHVWV

:KHUHDVIHHGEDFNIURPHPSOR\HHVVKDUHKROGHUVDQGFXVWRPHUVFRXOGKHOSJXLGHWKH&RPSDQ\ VIXWXUHFKDULWDEOH
JLYLQJSURFHVV

Resolved:7KH3URSRQHQWUHTXHVWVWKDWWKH%RDUGRI'LUHFWRUVFRQVLGHUOLVWLQJRQWKH&RPSDQ\ZHEVLWHDQ\
UHFLSLHQWRIRUPRUHRIGLUHFWFRQWULEXWLRQVH[FOXGLQJHPSOR\HHPDWFKLQJJLIWV

                                                 Supporting Statement
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$EVHQWDV\VWHPRIDFFRXQWDELOLW\DQGWUDQVSDUHQF\VRPHFKDULWDEOHFRQWULEXWLRQVPD\EHPDGHXQZLVHO\
SRWHQWLDOO\KDUPLQJWKH&RPSDQ\ VUHSXWDWLRQDQGVKDUHKROGHUYDOXH&RUSRUDWHSKLODQWKURSLFJLIWVVKRXOGEHJLYHQ
DVPXFKH[SRVXUHDVSRVVLEOHOHVWWKHLULQWHQGHGLPSDFWRQJRRGZLOOLVGLPLQLVKHG)RUH[DPSOHLIZHJDYHWRWKH
$PHULFDQ&DQFHU6RFLHW\WKRXVDQGVRIRXUVWDNHKROGHUVPLJKWSRWHQWLDOO\DSSURYHRIRXULQWHUHVWLQFKDOOHQJLQJWKLV
GLVHDVH/LNHZLVHRXUVXSSRUWRI3ODQQHG3DUHQWKRRGFRXOGZLQWKHSUDLVHRIPLOOLRQVRI$PHULFDQVZKRKDYHKDG
DQDERUWLRQDWRQHRIWKHLUIDFLOLWLHV(GXFDWLRQDORUJDQL]DWLRQVOLNHWKH6RXWKHUQ3RYHUW\/DZ&HQWHUKDYHVHHQDQ
LQFUHDVHLQIXQGLQJVLQFHWKH\LQFOXGHGVHYHUDOFRQVHUYDWLYH&KULVWLDQRUJDQL]DWLRQVRQWKHLUOLVWRIKDWHJURXSV2XU
VWDNHKROGHUVDQGFXVWRPHUVPLJKWEHVLPLODUO\HQWKXVHGLIZHVXSSRUWHGWKHP%HLWWKH*LUO6FRXWV$PHULFDQ+HDUW
$VVRFLDWLRQ%R\VDQG*LUOV&OXERI$PHULFD5HG&URVVRUFRXQWOHVVRWKHUSRVVLEOHUHFLSLHQWVRXUVXSSRUWVKRXOG
EHSXEOLFO\QRWHG7KRVHZKRPLJKWGLVDJUHHZLWKRXUGHFLVLRQVFDQSOD\DYDOXDEOHUROHDOVR

6RPHFKDULWLHVPD\EHFRQWURYHUVLDO&KDULWDEOHFRQWULEXWLRQVFRPHIURPWKHIUXLWRIRXUHPSOR\HH VODERUDQG
EHORQJWRRXUVKDUHKROGHUV%RWKJURXSVUHSUHVHQWDZLGHGLYHUVLW\RIRSLQLRQV0RUHLPSRUWDQWO\ZHPDUNHW
RXUVHOYHVWRWKHJHQHUDOSXEOLFDQGVKRXOGDYRLGRIIHQGLQJVHJPHQWVRIWKLVPRVWFULWLFDOJURXS,WZRXOGEH
XQIRUWXQDWHLIDFKDULWDEOHFRQWULEXWLRQUHVXOWHGLQORZHUHPSOR\HHPRUDOHDQGVKDUHKROGHULQWHUHVWPXFKOHVVDORVV
RISRWHQWLDOUHYHQXH

)XOOHUGLVFORVXUHZRXOGSURYLGHHQKDQFHGIHHGEDFNRSSRUWXQLWLHVIURPZKLFKRXU&RPSDQ\FRXOGPDNHPRUH
EHQHILFLDOFKRLFHV´


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The Board of Directors Recommends a Vote Against This Proposal for the Following Reasons:
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.URJHUKDVDORQJKLVWRU\RIJLYLQJEDFNPHDQLQJIXOO\LQWKHFRPPXQLWLHVZHVHUYH&KDULWDEOHJLYLQJLVFHQWUDOWR
2XU3XUSRVH±WR)HHGWKH+XPDQ6SLULW±DQGVWUDWHJLFDOO\DOLJQHGWRRXUPLVVLRQ±.URJHU¶V=HUR+XQJHU_=HUR
:DVWHVRFLDODQGHQYLURQPHQWDOLPSDFWSODQ7KLVSODQHPSRZHUV.URJHUWRSXUVXHRXUJRDOWRKHOSFUHDWH
FRPPXQLWLHVIUHHRIKXQJHUDQGZDVWHDFURVVWKHFRXQWU\$GGLWLRQDOO\ZHSURYLGHDQQXDOSXEOLFGLVFORVXUHVUHODWHG
WRFKDULWDEOHJLYLQJDUHDVRIIRFXVDQGDQQXDOJUDQWPDNLQJ
(YHU\\HDUZHGLUHFWFKDULWDEOHFRQWULEXWLRQVDWWKHQDWLRQDOUHJLRQDODQGORFDOOHYHOVWRDGYDQFHSRVLWLYHLPSDFWV
IRUSHRSOHDQGRXUSODQHW7KLVJLYLQJLQFOXGHVIXQGVLQNLQGSURGXFWGRQDWLRQVDQGUHWDLOVWRUHGRQDWLRQVRI
VXUSOXVIUHVKIRRGWKDWRXUDVVRFLDWHVUHFRYHUIRUORFDOIRRGEDQNSDUWQHUVWKURXJKRXUOHDGLQJ=HUR+XQJHU_=HUR
:DVWH)RRG5HVFXHSURJUDP)RUH[DPSOHLQRIRXUUHWDLOVWRUHVSDUWLFLSDWHGLQWKH)RRG5HVFXH
SURJUDPGRQDWLQJPRUHWKDQPLOOLRQSRXQGVRIIUHVKIRRGWRRXUFRPPXQLWLHV
7KURXJKFRUSRUDWHJLYLQJDQGWKHZRUNRIRXUWZRQRQSURILWIRXQGDWLRQV±7KH.URJHU&R)RXQGDWLRQDQG7KH
.URJHU&R=HUR+XQJHU_=HUR:DVWH)RXQGDWLRQ±ZHGLUHFWPRUHWKDQPLOOLRQDQQXDOO\WRSDUWQHUVDQG
FDXVHVWKDWDOLJQZLWKRXUPLVVLRQ2IWKLVPRUHWKDQVXSSRUWVKXQJHUUHOLHISURJUDPVWRIHHGLQGLYLGXDOVDQG
IDPLOLHVZKHUHZHOLYHDQGZRUN7KHVHWRWDOVLQFOXGHJHQHURXVVXSSRUWIURPRXUDVVRFLDWHVDQGFXVWRPHUVWKURXJK
LQVWRUHIXQGUDLVLQJSURJUDPVDWFKHFNRXW7KHODUJHVWVKDUHRIFRUSRUDWHIXQGVLQNLQGSURGXFWGRQDWLRQVDQG
FXVWRPHUGRQDWLRQVLVGLUHFWHGWRWKH)HHGLQJ$PHULFDDIILOLDWHGQHWZRUNRIORFDOIRRGEDQNVSDQWULHVDQGDJHQFLHV
LQRXUFRPPXQLWLHV
2WKHUQDWLRQDORUJDQL]DWLRQVUHFHLYLQJVLJQLILFDQWFKDULWDEOHIXQGVIURP.URJHULQFOXGH1R.LG+XQJU\$PHULFDQ
5HG&URVV8QLWHG6HUYLFH2UJDQL]DWLRQV 862 $PHULFDQ+HDUW$VVRFLDWLRQDQG:RUOG:LOGOLIH)XQG1RWDEO\
.URJHULVWKHODUJHVWFXPXODWLYHFRUSRUDWHGRQRUWRWKH862LQWKHRUJDQL]DWLRQ¶VKLVWRU\VKRZLQJRXUORQJ
VWDQGLQJVXSSRUWIRUWKHQDWLRQ¶VDFWLYHGXW\PLOLWDU\VHUYLFHPHQDQGZRPHQDQGWKHLUIDPLOLHV$WWKHUHJLRQDODQG
ORFDOOHYHOVZHVXSSRUWRWKHUQRQSURILWRUJDQL]DWLRQVDQGFDXVHVWKDWPDWWHUPRVWWRRXUDVVRFLDWHVDQGFXVWRPHUV
Foundation Grants
.URJHUSURYLGHVGHWDLOHGDQQXDOGLVFORVXUHVRQWKHZRUNRIRXUWZRIRXQGDWLRQVThe Kroger Co. FoundationWKH
FRPSDQ\¶VSULYDWHIRXQGDWLRQHVWDEOLVKHGLQZKLFKIRFXVHVJUDQWPDNLQJRQFDXVHVWKDWVXSSRUWKXQJHUUHOLHI
VXVWDLQDELOLW\GLVDVWHUUHOLHIGLYHUVLW\DQGLQFOXVLRQDQGHGXFDWLRQDQG\RXWKGHYHORSPHQW7KH)RXQGDWLRQ¶V
5HSRUWLQFOXGLQJJUDQWHHKLJKOLJKWVDQGVSHFLILFJUDQWIXQGLQJOHYHOVDFURVVWKHFRXQWU\LVDYDLODEOHKHUH
KWWSVZZZWKHNURJHUFRFRPZSFRQWHQWXSORDGV.URJHU&R)RXQGDWLRQ5HSRUWSGI
,QWKH)RXQGDWLRQGLUHFWHGPLOOLRQLQJUDQWVRIZKLFKDOLJQHGZLWKKXQJHUUHOLHIDQGVXVWDLQDELOLW\
FDXVHVDQGVXSSRUWHGHPHUJHQF\DVVLVWDQFHDQGGLVDVWHUUHOLHIHIIRUWV6SHFLILFJUDQWVDQGJUDQWUHFLSLHQWVDUH
KLJKOLJKWHGLQWKHDQQXDO7KH.URJHU&R)RXQGDWLRQUHSRUW
The Kroger Co. Zero Hunger | Zero Waste FoundationDQRQSURILWSXEOLFFKDULW\HVWDEOLVKHGLQLV
GHVLJQHGWRDGYDQFHFROOHFWLYHDFWLRQDQGLQQRYDWLRQWREXLOGDEHWWHUIRRGV\VWHPIRUWKHIXWXUH0RUHDERXWWKH
=HUR+XQJHU_=HUR:DVWH)RXQGDWLRQLVDYDLODEOHRQLWVZHEVLWH
KWWSVWKHNURJHUFR]HURKXQJHU]HURZDVWHIRXQGDWLRQFRP0RUHGHWDLOVDERXWWKH)RXQGDWLRQ¶VJHQHUDOJUDQWPDNLQJ
DQGVLJQDWXUHSURJUDPWKH=HUR+XQJHU_=HUR:DVWH,QQRYDWLRQ)XQGDUHGLVFORVHGLQLWVDQQXDOUHSRUW
KWWSVZZZWKHNURJHUFRFRPZSFRQWHQWXSORDGV.URJHU&R=HUR+XQJHU=HUR:DVWH)RXQGDWLRQ
5HSRUWSGI
,QWKH=HUR+XQJHU_=HUR:DVWH)RXQGDWLRQGLUHFWHGPLOOLRQLQJUDQWVRIWKHVHDOLJQHGWRKXQJHU
UHOLHIDQGVXVWDLQDELOLW\FDXVHV*UDQWVLQFOXGHGPLOOLRQLQIXQGVWRLPSURYHIRRGDFFHVVDQGIRRGVHFXULW\DQG
PLOOLRQWRDGYDQFHPRUHVXVWDLQDEOHIRRGV\VWHPV*UDQWKLJKOLJKWVDUHLQFOXGHGLQWKH=HUR+XQJHU_=HUR
:DVWH)RXQGDWLRQUHSRUW
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Guidelines & Policies:
:HIROORZEHVWSUDFWLFHVDQGVSHFLILFJXLGHOLQHVZKHQUHYLHZLQJJUDQWUHTXHVWV 2XU'RQDWLRQ*XLGHOLQHVSURYLGH
GLUHFWLRQRQWKHW\SHVRIRUJDQL]DWLRQVWKDW.URJHUVXSSRUWVDQGLPSRUWDQWO\PDNHFOHDUWKHW\SHVRIRUJDQL]DWLRQV
WRZKLFKGRQDWLRQVZLOOQRWEHJUDQWHG:HDFFHSWDQGFRQVLGHUGRQDWLRQUHTXHVWVIURP F  UHJLVWHUHG
QRQSURILWRUJDQL]DWLRQVWKURXJKDQRQOLQHJUDQWPDQDJHPHQWSODWIRUP:HXVHWKHGuidestar Charity CheckWR
FRQILUPWKH\PHHWDOO,QWHUQDO5HYHQXH6HUYLFHUHTXLUHPHQWVWRUHFHLYHJUDQWVDQGGRQDWLRQV7KH'RQDWLRQ
*XLGHOLQHVDUHSXEOLFO\DYDLODEOHRQRXUFRUSRUDWHZHEVLWHKWWSVWKHNURJHUFRYHUVDLFFRPORJLQ"6HOHFW$
6WRUH (QDEOHG 5HWXUQ7R GHIDXOWDVS[
:HGRQRWPDNHFKDULWDEOHGRQDWLRQVWRLQGLYLGXDOVSROLWLFDOFDPSDLJQVVHFWDULDQRUUHOLJLRXVRUJDQL]DWLRQVIRU
SURMHFWVWKDWVHUYHRQO\LWVRZQPHPEHUVRUVXSSRUWHUVRURUJDQL]DWLRQVWKDWGLVFULPLQDWHEDVHGRQUDFHFRORUVH[
SUHJQDQF\GLVDELOLW\DJHQDWLRQDORULJLQUHOLJLRQVH[XDORULHQWDWLRQJHQGHULGHQWLW\JHQHWLFLQIRUPDWLRQRUDQ\
RWKHUFKDUDFWHULVWLFSURWHFWHGE\DSSOLFDEOHODZ
The Company has adequate public disclosures related to its charitable giving areas of focus and annual
grant-making.
.URJHUUHFRJQL]HVWKDWGLVFORVXUHRILWVFRUSRUDWHSKLODQWKURSLFHIIRUWVLVLPSRUWDQWDQGSURYLGHVVWDNHKROGHUVZLWK
DQRSSRUWXQLW\WRUHYLHZ.URJHUFKDULWDEOHSURJUDPV:HEHOLHYHWKHH[WHQVLYHLQIRUPDWLRQDQGRWKHUGLVFORVXUHV
SURYLGHGLQ.URJHU¶VDQQXDO(6*5HSRUW7KH.URJHU&R)RXQGDWLRQDQQXDOUHSRUW7KH.URJHU&R=HUR+XQJHU_
=HUR:DVWH)RXQGDWLRQDQQXDOUHSRUWDQGRXUZHEVLWHSURYLGHDPSOHGLVFORVXUHVUHODWHGWRRXUDSSURDFKWR
FKDULWDEOHJLYLQJZKLFKVXSSRUWV2XU3XUSRVH(6*6WUDWHJ\DQG=HUR+XQJHU_=HUR:DVWHLPSDFWSODQ
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For the foregoing reasons, we urge you to vote AGAINST this proposal.
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Item No. 7     Shareholder Proposalௗ—ௗRecyclability of Packaging
:HKDYHEHHQDGYLVHGWKDW$V<RX6RZRQEHKDOIRIWKH0LFKDHO0RQWHLUR7UXVWRUDQDSSRLQWHG
UHSUHVHQWDWLYHDORQJZLWKRQHFRILOHUZLOOSUHVHQWWKHIROORZLQJSURSRVDOIRUFRQVLGHUDWLRQGXULQJWKH$QQXDO
6KDUHKROGHUV¶0HHWLQJ

“WHEREAS:7KHJURZLQJSODVWLFSROOXWLRQFULVLVSRVHVLQFUHDVLQJULVNVWR.URJHU&RUSRUDWLRQVFRXOGIDFHDQ
DQQXDOILQDQFLDOULVNRIDSSUR[LPDWHO\ELOOLRQVKRXOGJRYHUQPHQWVUHTXLUHWKHPWRFRYHUWKHZDVWH
PDQDJHPHQWFRVWVRIWKHSDFNDJLQJWKH\SURGXFH1HZODZVWRWKLVHIIHFWZHUHUHFHQWO\SDVVHGLQ0DLQH2UHJRQ
&RORUDGRDQG&DOLIRUQLDZKLOHWKH(XURSHDQ8QLRQKDVHQDFWHGDSHUNLORJUDPWD[RQDOOQRQUHF\FOHGSODVWLF
SDFNDJLQJZDVWH

3HZ&KDULWDEOH7UXVWVUHOHDVHGDJURXQGEUHDNLQJVWXG\Breaking the Plastic Wave 3HZ5HSRUW FRQFOXGLQJWKDW
LPSURYHGUHF\FOLQJLVLQVXIILFLHQWDQGDWOHDVWRQHWKLUGRIRYHUDOOSODVWLFXVHPXVWEHHOLPLQDWHGWRVWHPWKHJOREDO
SODVWLFSROOXWLRQFULVLV,WILQGVWKDWSODVWLFXVHUHGXFWLRQLVWKHPRVWYLDEOHVROXWLRQIURPHQYLURQPHQWDOHFRQRPLF
DQGVRFLDOSHUVSHFWLYHV:LWKRXWLPPHGLDWHDQGVXVWDLQHGQHZFRPPLWPHQWVDQQXDOIORZVRISODVWLFVLQWRRFHDQV
FRXOGQHDUO\WULSOHE\

.URJHUKDVIDOOHQEHKLQGLWVSHHUVLQSODVWLFSDFNDJLQJUHGXFWLRQV.URJHULVQRWDEO\DEVHQWIURPWKH(OOHQ
0DF$UWKXU)RXQGDWLRQ V*OREDO&RPPLWPHQWWRUHGXFHSODVWLFSROOXWLRQLQZKLFKEUDQGVLJQDWRULHVKDYHFRPPLWWHG
WRUHGXFHYLUJLQSODVWLFXVHE\DQDYHUDJHRIE\7KHPDMRULW\RIVLJQDWRULHVKDYHDOUHDG\UHGXFHGWKHLU
XVHRISODVWLFSDFNDJLQJRYHUDEDVHOLQH

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 https://www.pewtrusts.org/Ͳ/media/assets/2020/07/breakingtheplasticwave report.pdf
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 https://www.packworld.com/news/sustainability/article/22419036/fourͲstatesͲenactͲpackagingͲeprͲlaws
3
 https://commission.europa.eu/strategyͲandͲpolicy/euͲbudget/longͲtermͲeuͲbudget/2021Ͳ2027/revenue/ownͲresources/plasticsͲownͲ
resource en
4
 https://www.pewtrusts.org/Ͳ/media/assets/2020/07/breakingtheplasticwave report.pdf
5
 https://emf.thirdlight.com/link/f6oxost9xesoͲnsjoqe/@/#id=2
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8QLOHYHUKDVWDNHQWKHPRVWVLJQLILFDQWDFWLRQWRGDWHDJUHHLQJWRFXWYLUJLQSODVWLFXVHE\E\LQFOXGLQJ
DQDEVROXWHHOLPLQDWLRQRIWRQVRISODVWLFSDFNDJLQJ$WOHDVWVL[W\RWKHUFRQVXPHUJRRGVDQGUHWDLO
FRPSDQLHVFXUUHQWO\KDYHJRDOVWRUHGXFHXVHRIYLUJLQSODVWLFSDFNDJLQJLQFOXGLQJFRPSHWLWRUV:DOPDUWDQG
7DUJHW.URJHUKDVQRSODVWLFUHGXFWLRQJRDO

6WDUEXFNV&RFD&RODDQG3HSVLDUHOHDGLQJWKHLQGXVWU\LQUHGXFLQJGLVSRVDEOHSDFNDJLQJHDFKKDYLQJVHWQHZ
JRDOVWRH[SDQGXVHRI]HURZDVWHUHXVDEOHSDFNDJLQJ$VDUHWDLOSDUWQHURIWKHJOREDOUHXVHSODWIRUP/RRS.URJHU
LVSRLVHGWRLQFUHDVHXVHRIUHXVDEOHSDFNDJLQJ\HWKDVPDGHQRFRPPLWPHQWWRPDNHUHXVDEOHSDFNDJLQJ
SHUPDQHQW

2XUFRPSDQ\FRXOGDYRLGUHJXODWRU\HQYLURQPHQWDODQGFRPSHWLWLYHULVNVDQGNHHSXSZLWKLWVSHHUVE\IRU
H[DPSOHVHWWLQJQHZFRPPLWPHQWVWRUHGXFHXVHRIGLVSRVDEOHYLUJLQSODVWLFDQGLQYHVWLQUHXVDEOHSDFNDJLQJ

RESOLVED:6KDUHKROGHUVUHTXHVWWKDWWKH.URJHU%RDUGLVVXHDUHSRUWDWUHDVRQDEOHH[SHQVHDQGH[FOXGLQJ
SURSULHWDU\LQIRUPDWLRQGHVFULELQJKRZWKH&RPSDQ\FRXOGUHGXFHLWVSODVWLFVXVHLQDOLJQPHQWZLWKWKHRQHWKLUG
UHGXFWLRQILQGLQJVRIWKH3HZ5HSRUWRURWKHUDXWKRULWDWLYHVRXUFHVWRUHGXFHLWVFRQWULEXWLRQWRRFHDQSODVWLFV
SROOXWLRQ

SUPPORTING STATEMENT:7KHUHSRUWVKRXOGDW%RDUGGLVFUHWLRQ

        $VVHVVWKHUHSXWDWLRQDOILQDQFLDODQGRSHUDWLRQDOULVNVDVVRFLDWHGZLWKFRQWLQXLQJWRXVHVXEVWDQWLDO
         DPRXQWVRIVLQJOHXVHSODVWLFSDFNDJLQJZKLOHSODVWLFSROOXWLRQJURZV
        (YDOXDWHGUDPDWLFDOO\UHGXFLQJWKHDPRXQWRISODVWLFXVHGLQRXUSDFNDJLQJWKURXJKWUDQVLWLRQLQJWR
         UHXVDEOHVDQG
        'HVFULEHKRZWKH&RPSDQ\FDQIXUWKHUUHGXFHVLQJOHXVHSDFNDJLQJLQFOXGLQJDQ\SODQQHGUHGXFWLRQ
         VWUDWHJLHVRUJRDOVPDWHULDOVUHGHVLJQVXEVWLWXWLRQRUUHGXFWLRQVLQXVHRIYLUJLQSODVWLF´

The Board of Directors Recommends a Vote Against This Proposal for the Following Reasons:

7KH.URJHUIDPLO\RIFRPSDQLHVLVFRPPLWWHGWRSURWHFWLQJSHRSOHDQGRXUSODQHWE\DGYDQFLQJSRVLWLYHFKDQJHLQ
RXUFRPSDQ\DQGRXUFRPPXQLWLHV7KURXJKRXU=HUR+XQJHU_=HUR:DVWHVRFLDODQGHQYLURQPHQWDOLPSDFWSODQ
ZHDUHRQDMRXUQH\WRKHOSFUHDWHFRPPXQLWLHVIUHHRIKXQJHUDQGZDVWH

Our sustainable packaging commitments

.URJHUKDVIRFXVHGRQLPSURYLQJWKHHQYLURQPHQWDODWWULEXWHVRISURGXFWSDFNDJLQJIRUPDQ\\HDUVWKURXJKDVHULHV
RIDPELWLRXVVXVWDLQDEOHSDFNDJLQJJRDOV2XUJRDOVGHPRQVWUDWH.URJHU¶VFRQWLQXHGFRPPLWPHQWWRKHOSFUHDWHD
PRUHFLUFXODUHFRQRP\DQGUHGXFHSODVWLFVIRXQGLQQDWXUHE\XVLQJPRUHVXVWDLQDEOHSDFNDJLQJRSWLRQVZKHUH
IHDVLEOHVXSSRUWLQJUHXVDEOHSDFNDJLQJPRGHOVXVLQJUHF\FODEOHSDFNDJLQJDQGLQFRUSRUDWLQJUHF\FOHGFRQWHQWDQG
LQFUHDVLQJFRQVXPHUDZDUHQHVVDERXWUHXVHDQGUHF\FOLQJ

:HDUHDOVRFRPPLWWHGWRXSKROGLQJWKHKLJKHVWVWDQGDUGVRIIRRGVDIHW\DQGTXDOLW\IRURXUFXVWRPHUV'HFLVLRQV
DERXWOur BrandsIRRGSDFNDJLQJFRQVLGHUFULWLFDODWWULEXWHVQHHGHGWRSURWHFWDQGSUHVHUYHIRRGVDIHW\TXDOLW\
IUHVKQHVVDQGDIIRUGDELOLW\DVZHOODVWRUHGXFHJUHHQKRXVHJDVHPLVVLRQVUHODWHGWRWKHPDQXIDFWXUHDQG
WUDQVSRUWDWLRQRILWHPV

.URJHU¶VVXVWDLQDEOHSDFNDJLQJFRPPLWPHQWVLQFOXGHWKHIROORZLQJHOHPHQWV
   x &RPSOHWHDQOur BrandsEDVHOLQHSURGXFWSDFNDJLQJIRRWSULQWWRIXOO\XQGHUVWDQGFXUUHQWSDFNDJLQJ
        LPSDFWV
   x 6HHNWRDFKLHYHUHF\FODEOHFRPSRVWDEOHDQGRUUHXVDEOHSDFNDJLQJIRUOur BrandsSURGXFWV
   x ,QFUHDVHUHF\FOHGFRQWHQWLQSDFNDJLQJVRWKDWWKHOur BrandsSURGXFWSRUWIROLRFROOHFWLYHO\FRQWDLQVDW
        OHDVWUHF\FOHGFRQWHQWLQSDFNDJLQJ
   x 5HGXFHXQQHFHVVDU\SDFNDJLQJ

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22.emf.org/ppu/? gl=1*1p3bi1c* ga*nzEwMDEwNTU0LjE2Njl1NjQ4MTY.* ga V32N675KJX*MTY3MTlyMTM1OS4xMS4xLjE2NzEyMjE0OTMuN
jAuMC4w




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    x    ,QFUHDVHDZDUHQHVVDPRQJ.URJHUFXVWRPHUVDERXWKRZWRSURSHUO\PDQDJHOur BrandsSURGXFWSDFNDJLQJ
         DWHQGRIOLIH
Taking Action to Achieve our 2030 Goals
,QZHGHYHORSHGRXUEDVHOLQHSDFNDJLQJIRRWSULQWZLWKJXLGDQFHIURPDFRQVXOWDQWDQGLQSXWIURPRXU
VXSSOLHUVDQGLQWHUQDOVXEMHFWPDWWHUH[SHUWV:HIRXQGWKDWRIOur BrandsSURGXFWSDFNDJLQJPHHWVRXU
GHILQLWLRQRIUHF\FODEOHZKHQPHDVXUHGE\ZHLJKWRISDFNDJLQJPDWHULDO,QDGGLWLRQWKHSDFNDJLQJSRUWIROLR
FDSWXUHGLQRXUEDVHOLQHLQFOXGHVSRVWFRQVXPHUUHF\FOHGFRQWHQW 3&5 PDWHULDO:HSODQWRXSGDWHDQGUHILQH
RXUSDFNDJLQJEDVHOLQHRYHUWLPHWRWUDFNJRDOSURJUHVVDQGLQIRUPJRDODFKLHYHPHQW

,QZHDUHFRQWLQXLQJRXUZRUNWREXLOGDURDGPDSWRDFKLHYLQJRXUJRDOVE\DQGSULRULWL]HRSSRUWXQLWLHV
WRDGMXVWRXUSDFNDJLQJDQGRUVXSSRUWLQIUDVWUXFWXUHFKDQJHV2XUURDGPDSZLOODOVRDFFRPPRGDWHFKDQJHV
UHTXLUHGE\SDFNDJLQJOHJLVODWLRQLQWKHVWDWHVDQGPXQLFLSDOLWLHVLQZKLFK.URJHURSHUDWHV,QDGGLWLRQWKH
SDFNDJLQJEDVHOLQHZLOOLQIRUPDQ\DGMXVWPHQWVRUUHILQHPHQWVWRRXUFXUUHQWJRDOV

     More detailed information about our packaging baseline and key action steps to increase packaging
sustainability is available in our 2022 Environmental, Social & Governance (ESG) report
(https://www.thekrogerco.com/wp-content/uploads/2022/08/Kroger-Co-2022-ESG-Report.pdf). 

:HFRQWLQXHWRHYDOXDWHDQGLPSOHPHQWRSSRUWXQLWLHVWRUHGXFHSODVWLFXVHDQGLPSURYHHQGRIOLIHPDQDJHPHQW
RSSRUWXQLWLHVIRUSURGXFWSDFNDJLQJ([DPSOHVLQFOXGH

Plastic Reduction & Circularity:
    x ,Q.URJHUDGGHGSRVWFRQVXPHUUHF\FOHGFRQWHQW 3&5 3(7SODVWLFWRDQHZOLQHRIOur Brands
       VSLFHSURGXFWV:HFRQWLQXHWRSLORWGLIIHUHQWOHYHOVRI3&5PDWHULDOLQRXUSURGXFWSDFNDJLQJSDUWLFXODUO\LQ
       WKRVHSURGXFWVWKDWDUHVXEMHFWWRSDFNDJLQJOHJLVODWLRQHYDOXDWLQJIDFWRUVVXFKDVIXQFWLRQVKHOIOLIHDQG
       DHVWKHWLF

      .URJHURSHUDWHGPDQXIDFWXULQJSODQWVFRQWLQXHWRUHGXFHSODVWLFXVHDQGSDFNDJLQJZHLJKWVIRUOur Brands
        LWHPVZKHUHIHDVLEOH/DVW\HDUZHUHGXFHGWKHDPRXQWRISODVWLFXVHGLQRXUFDUERQDWHGVRIWGULQNVDQG
        FXOWXUHGGDLU\WXESURGXFWSDFNDJHVVDYLQJDSSUR[LPDWHO\SRXQGVRISODVWLFDQQXDOO\
      .URJHUZDVWKHILUVW86JURFHU\UHWDLOSDUWQHUIRUWKHLQQRYDWLYH/RRSUHXVDEOHSDFNDJLQJSODWIRUP,Q
        .URJHUFRQGXFWHGDSLORWDW)UHG0H\HUVWRUHVLQWKH3RUWODQG25DUHDVHOOLQJPRUHWKDQLWHPV
        UHSUHVHQWLQJSRSXODUEUDQGVWRJDXJHFRQVXPHUUHVSRQVHWRWKLVDOWHUQDWLYHWRVLQJOHXVHSDFNDJLQJ2XU
        SLORWFROOHFWHGYDOXDEOHLQVLJKWVRQZKDWPD\EHQHHGHGWRVFDOHUHXVDEOHSDFNDJLQJVROXWLRQVLQRXU
        LQGXVWU\

End-of-Life Solutions:
      :HFRQWLQXHWRRIIHUWKH.URJHUOur BrandsSDFNDJLQJUHF\FOLQJSURJUDPVRRXUFXVWRPHUVFDQFROOHFW
        IOH[LEOHSODVWLFSDFNDJLQJDQGPDLOLWIUHHRIFKDUJHWR7HUUD&\FOHIRUUHF\FOLQJ.URJHULVWKHILUVWUHWDLOHUWR
        RIIHUWKLVW\SHRIUHF\FOLQJSURJUDPDFURVVDQHQWLUHSULYDWHODEHOSRUWIROLR3URJUDPHQJDJHPHQWDQG
        UHF\FOLQJYROXPHFRQWLQXHVWRJURZZLWK.URJHUFXVWRPHUVUHWXUQLQJPRUHWKDQPLOOLRQSDFNDJHV²WKH
        HTXLYDOHQWRIPRUHWKDQSRXQGVRISODVWLF²WRGDWH
      .URJHUFRQWLQXHGDGGLQJWKH+RZ5HF\FOHORJRWROur BrandsLWHPVWRLQFUHDVHRXUFXVWRPHUV¶DZDUHQHVV
        RIKRZWRUHF\FOHSURGXFWSDFNDJLQJLQFOXGLQJWKRVHLWHPVHOLJLEOHIRUIURQWRIVWRUHSODVWLFILOPUHF\FOLQJ
        SURJUDPV²ZKLFKZHRIIHUDFURVVWKHHQWHUSULVH
      7KH.URJHU&R=HUR+XQJHU_=HUR:DVWH)RXQGDWLRQVXSSRUWVWKHPXOWLVWDNHKROGHU3RO\SURS\OHQH
        5HF\FOLQJ&RDOLWLRQIDFLOLWDWHGE\7KH5HF\FOLQJ3DUWQHUVKLSZKLFKDLPVWRLPSURYHFRPPXQLW\OHYHO
        LQIUDVWUXFWXUHWRHQDEOHFXUEVLGHSRO\SURS\OHQHFROOHFWLRQDQGUHF\FOLQJ,QWKH)RXQGDWLRQH[SDQGHG
        WKLVVXSSRUWWRKHOSIXQGWKH3(75HF\FOLQJ&RDOLWLRQZKLFKDLPVWRLQFUHDVHWKHUHF\FODELOLW\RI3(7
         SRO\HWK\OHQHWHUHSKWKDODWH SODVWLFSDFNDJLQJ



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      .URJHULVWKH*URFHU\6HFWRU/HDGSDUWQHUIRU&ORVHG/RRS3DUWQHUV¶%H\RQGWKH%DJ,QLWLDWLYHODXQFKHGE\
        WKH&RQVRUWLXPWR5HLQYHQWWKH5HWDLO%DJ7KLVPXOWL\HDUFROODERUDWLRQDFURVVUHWDLOVHFWRUVDLPVWR
        LGHQWLI\WHVWDQGLPSOHPHQWLQQRYDWLYHQHZGHVLJQVROXWLRQVWRUHSODFHWKHVLQJOHXVHSODVWLFUHWDLOVKRSSLQJ
        EDJ

*LYHQWKHDERYHSURJUHVVRQRXUVXVWDLQDEOHSDFNDJLQJURDGPDSLQFOXGLQJGHWDLOHGUHSRUWLQJDYDLODEOHLQ.URJHU¶V
(6*5HSRUWZHGRQ¶WEHOLHYHDGGLWLRQDOUHSRUWLQJRQSDFNDJLQJDQGSODVWLFVXVHLVDGGLWLYHDWWKLVWLPH

For the foregoing reasons, we urge you to vote AGAINST this proposal.


Item No. 8 Report on Racial and Gender Pay Gaps


:HKDYHEHHQDGYLVHGWKDW$UXMQD&DSLWDORQEHKDOIRI6XVDQ6LOYHURUDQDSSRLQWHGUHSUHVHQWDWLYHDORQJZLWKRQH
FRILOHUZLOOSUHVHQWWKHIROORZLQJSURSRVDOIRUFRQVLGHUDWLRQGXULQJWKH$QQXDO6KDUHKROGHUV¶0HHWLQJ

³Whereas:3D\LQHTXLWLHVSHUVLVWDFURVVUDFHDQGJHQGHUDQGSRVHVXEVWDQWLDOULVNVWRFRPSDQLHVDQGVRFLHW\%ODFN
ZRUNHUV KRXUO\PHGLDQHDUQLQJVUHSUHVHQWSHUFHQWRIZKLWHZDJHV7KHPHGLDQLQFRPHIRUZRPHQZRUNLQJIXOO
WLPHLVSHUFHQWWKDWRIPHQ,QWHUVHFWLQJUDFH%ODFNZRPHQHDUQSHUFHQW1DWLYHZRPHQSHUFHQWDQG
/DWLQDZRPHQSHUFHQW$WWKHFXUUHQWUDWHZRPHQZLOOQRWUHDFKSD\HTXLW\XQWLO%ODFNZRPHQLQ
DQG/DWLQDZRPHQLQ
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&LWLJURXSHVWLPDWHVFORVLQJPLQRULW\DQGJHQGHUZDJHJDSV\HDUVDJRFRXOGKDYHJHQHUDWHGWULOOLRQGROODUVLQ
DGGLWLRQDOQDWLRQDOLQFRPH3Z&HVWLPDWHVFORVLQJWKHJHQGHUSD\JDSFRXOGERRVW2UJDQL]DWLRQIRU(FRQRPLF
&RRSHUDWLRQDQG'HYHORSPHQW 2(&' FRXQWULHV HFRQRPLHVE\WULOOLRQGROODUVDQQXDOO\
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$FWLYHO\PDQDJLQJSD\HTXLW\LVDVVRFLDWHGZLWKLPSURYHGUHSUHVHQWDWLRQ'LYHUVLW\LQOHDGHUVKLSLVOLQNHGWR
VXSHULRUVWRFNSHUIRUPDQFHDQGUHWXUQRQHTXLW\0LQRULWLHVUHSUHVHQWSHUFHQWRI.URJHU VZRUNIRUFHDQG
SHUFHQWRI6WRUH/HDGHUV:RPHQUHSUHVHQWSHUFHQWRIWKHZRUNIRUFHDQGSHUFHQWRI6WRUH/HDGHUV
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%HVWSUDFWLFHSD\HTXLW\UHSRUWLQJFRQVLVWVRIWZRSDUWV
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      unadjustedPHGLDQSD\JDSVDVVHVVLQJHTXDORSSRUWXQLW\WRKLJKSD\LQJUROHV
      VWDWLVWLFDOO\adjustedJDSVDVVHVVLQJZKHWKHUPLQRULWLHVDQGQRQPLQRULWLHVPHQDQGZRPHQDUHSDLGWKH
         VDPHIRUVLPLODUUROHV
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.URJHUGRHVQRWUHSRUWTXDQWLWDWLYHXQDGMXVWHGRUDGMXVWHGSD\JDSV2YHUSHUFHQWRIWKHODUJHVW86
HPSOR\HUVFXUUHQWO\UHSRUWDGMXVWHGJDSVDQGDQLQFUHDVLQJQXPEHURIFRPSDQLHVGLVFORVHXQDGMXVWHGJDSVWR
DGGUHVVWKHVWUXFWXUDOELDVZRPHQDQGPLQRULWLHVIDFHUHJDUGLQJMRERSSRUWXQLW\DQGSD\
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5DFLDODQGJHQGHUunadjustedPHGLDQSD\JDSVDUHDFFHSWHGDVtheYDOLGZD\RIPHDVXULQJSD\LQHTXLW\E\WKH
8QLWHG6WDWHV&HQVXV%XUHDX'HSDUWPHQWRI/DERU2(&'DQG,QWHUQDWLRQDO/DERU2UJDQL]DWLRQ7KH8QLWHG
.LQJGRPDQG,UHODQGPDQGDWHGLVFORVXUHRIPHGLDQSD\JDSVDQGWKH8QLWHG.LQJGRPLVFRQVLGHULQJUDFLDOSD\
UHSRUWLQJ
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Resolved:6KDUHKROGHUVUHTXHVW7KH.URJHU&RUHSRUWRQERWKTXDQWLWDWLYHmedian and adjustedSD\JDSVDFURVV
UDFHDQGJHQGHULQFOXGLQJDVVRFLDWHGSROLF\UHSXWDWLRQDOFRPSHWLWLYHDQGRSHUDWLRQDOULVNVDQGULVNVUHODWHGWR
UHFUXLWLQJDQGUHWDLQLQJGLYHUVHWDOHQW7KHUHSRUWVKRXOGEHSUHSDUHGDWUHDVRQDEOHFRVWRPLWWLQJSURSULHWDU\
LQIRUPDWLRQOLWLJDWLRQVWUDWHJ\DQGOHJDOFRPSOLDQFHLQIRUPDWLRQ
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  KWWSVVWDWLFVTXDUHVSDFHFRPVWDWLFEFGEGFFFDEWIIDHHDDH5DFLDO*HQGHU3D\6FRUHFD
UG$UMXQD&DSLWDOSGI
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  KWWSVZZZWKHNURJHUFRFRPZSFRQWHQWXSORDGV.URJHU&R(6*5HSRUWSGI

  KWWSVGLYHUVLTFRPZKLFKVSFRPSDQLHVGLVFORVHJHQGHUSD\HTXLW\GDWD
 KWWSVVWDWLFVTXDUHVSDFHFRPVWDWLFEFGEGFFFDEWIIDHHDDH5DFLDO*HQGHU3D\6FRUHFDU
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   G$UMXQD&DSLWDOSGI
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5DFLDOJHQGHUSD\JDSVDUHGHILQHGDVWKHGLIIHUHQFHEHWZHHQQRQPLQRULW\DQGPLQRULW\PDOHDQGIHPDOHmedian
HDUQLQJVH[SUHVVHGDVDSHUFHQWDJHRIQRQPLQRULW\PDOHHDUQLQJV :LNLSHGLD2(&'UHVSHFWLYHO\ 

Supporting Statement:$QDQQXDOUHSRUWDGHTXDWHIRULQYHVWRUVWRDVVHVVSHUIRUPDQFHFRXOGZLWKERDUGGLVFUHWLRQ
LQWHJUDWHEDVHERQXVDQGHTXLW\FRPSHQVDWLRQWRFDOFXODWH

                  SHUFHQWDJHPHGLDQDQGDGMXVWHGJHQGHUSD\JDSJOREDOO\DQGRUE\FRXQWU\ZKHUHDSSURSULDWH
                  SHUFHQWDJHPHGLDQDQGDGMXVWHGUDFLDOPLQRULW\HWKQLFLW\SD\JDS86DQGRUE\FRXQWU\ZKHUH
                   DSSURSULDWH´


The Board of Directors Recommends a Vote Against This Proposal for the Following Reasons:

.URJHUZHOFRPHVDVVRFLDWHVIURPHYHU\UDFHFXOWXUHJHQGHUDQGDELOLW\DQGLVDFWLYHO\FUHDWLQJDQGPDLQWDLQLQJDQ
HTXLWDEOHZRUNSODFHZKHUHHYHU\DVVRFLDWHLVHPSRZHUHGVXSSRUWHGDQGIHHOVYDOXHGDQGDVHQVHRIEHORQJLQJ2XU
DVSLUDWLRQLVIRUWKHGHPRJUDSKLFUHSUHVHQWDWLRQRIZRPHQDQGSHRSOHRIFRORUWRUHIOHFWRXUFRPPXQLWLHVDWERWK
WKHRUJDQL]DWLRQZLGHDQGORFDOOHYHOV

Kroger already has an established approach to pay equity. .URJHU KDV EHHQ SHUIRUPLQJ DQ DQQXDO SD\ HTXLW\
DQDO\VLVVLQFHZKLFKWDNHVLQWRFRQVLGHUDWLRQJHQGHUDQGUDFHIRUDOOVDODULHGUROHV:HUHYLHZRXUSD\HTXLW\
DQDO\VLV DQQXDOO\ ZLWK WKH &RPSHQVDWLRQ DQG 7DOHQW 'HYHORSPHQW &RPPLWWHH RI WKH %RDUG RI 'LUHFWRUV. 7KH
RUJDQL]DWLRQ DOVR HTXLSV DQG HQDEOHV RXU OHDGHUV WR SURPRWH SD\ HTXLW\ DQG WUDQVSDUHQF\ :H KDYH UREXVW DQG
FRPSUHKHQVLYHSD\DGPLQLVWUDWLRQJXLGHOLQHVIRUQRQEDUJDLQLQJXQLWHPSOR\HHVHQDEOLQJRXUPDQDJHUVWRHIIHFWLYHO\
PDQDJH FRPSHQVDWLRQ WKURXJKRXW WKH \HDU WR UHZDUG SHUIRUPDQFH DQG DGGUHVV SURJUHVVLRQ ZLWKLQ SD\ UDQJHV ,Q
DGGLWLRQ WR WKHVH JXLGHOLQHV ZH SURYLGH DGGLWLRQDO WUDLQLQJ WR PDQDJHUV LQ SUHSDUDWLRQ IRU DQQXDO FRPSHQVDWLRQ
SODQQLQJ

Kroger provides robust disclosure of representation annually. .URJHUFRQVLVWHQWO\GLVFORVHVDQGGLVFXVVHVLWV
GLYHUVHDVVRFLDWHUHSUHVHQWDWLRQLQWKHRUJDQL]DWLRQ¶VDQQXDO(6*5HSRUW:HSXEOLVKRXUDQQXDO((2UHSRUWVDV
ILOHGZLWKWKH((2& KWWSVZZZWKHNURJHUFRFRPZSFRQWHQWXSORDGV((2SGI ,QDGGLWLRQ
.URJHUSURYLGHVDGHWDLOHGGLVFXVVLRQRIRXUZRUNIRUFHVWUDWHJ\DQGWRWDOUHZDUGVDQGEHQHILWVDSSURDFKLQRXU
$QQXDO5HSRUWDQG)RUP.7KHRUJDQL]DWLRQDOVRGLVFXVVHVLWVDSSURDFKWR+XPDQ&DSLWDO0DQDJHPHQWLQLWV
DQQXDO(6*UHSRUW7KHUHSRUWDYDLODEOHRQZZZWKHNURJHUFRFRPHVJUHSRUWLQFOXGHVGLVFORVXUHVUHODWHGWR
DVVRFLDWHKHDOWKDQGVDIHW\.URJHU¶VFramework for Action: Diversity, Equity & InclusionSODQWDOHQWDWWUDFWLRQDQG
UHWHQWLRQDQGODERUUHODWLRQV

The majority of Kroger’s workforce is covered under collective bargaining agreements, which facilitate pay
equity for frontline associates. .URJHU¶VFRPSHQVDWLRQVWUXFWXUHVXSSRUWVIDLUSD\:DJHVKHDOWKFDUHDQGSHQVLRQV
DUHLQFOXGHGLQPRUHWKDQFROOHFWLYHEDUJDLQLQJDJUHHPHQWVWKDWFRYHUDSSUR[LPDWHO\RIRXUDVVRFLDWHV7KH
QHJRWLDWHGSD\VWUXFWXUHVZLWKLQWKRVHDJUHHPHQWVIDFLOLWDWHVWDQGDUGDQGFRQVLVWHQWSD\SURJUHVVLRQEDVHGRQWHQXUH
DQG H[SHULHQFH 3D\ LV GHWHUPLQHG XVLQJ VWUXFWXUHG ZDJH SURJUHVVLRQV ZKHUH DQ DVVRFLDWH PRYHV WKURXJK WKH
SURJUHVVLRQEDVHGRQWLPHLQUROHRUKRXUVZRUNHG$VVRFLDWHVPRYHWKURXJKWKHZDJHSURJUHVVLRQEDVHGRQWKHVDPH
GHILQLWLRQVDQGFULWHULDDVRWKHUDVVRFLDWHVZRUNLQJLQWKHVDPHUROHV3D\SDULW\LVSURPRWHGZLWKLQWKHPRGHOEHFDXVH
RIWKHVWUXFWXUHGZDJHJULGVDQGLQKHUHQWSURJUHVVLRQIUDPHZRUN
1RQXQLRQKRXUO\UROHVIROORZVLPLODUZDJHSURJUHVVLRQV:KHUHZHXVHDSD\IRUSHUIRUPDQFHPRGHOIRUQRQXQLRQ
KRXUO\ UROHV WKRVH ZRUNSODFHV IROORZ FRPSHQVDWLRQ JXLGHOLQHV WKDW SURYLGH IRU D IUDPHZRUN RI W\LQJ SD\ WR
SHUIRUPDQFHDQGXVLQJSD\OHYHOV

Kroger provides comprehensive benefits for associates. 7KHRUJDQL]DWLRQKDVLQYHVWHGDQLQFUHPHQWDOELOOLRQ
LQDVVRFLDWHZDJHVDQGWUDLQLQJVLQFH7KLVKDVLQFUHDVHGRXUQDWLRQDODYHUDJHKRXUO\UDWHRISD\IURP
WRRUSHUKRXUZLWKFRPSUHKHQVLYHEHQHILWV
.URJHUKDVDQQRXQFHGSODQVWRFRQWLQXHLQYHVWLQJLQZDJHVZLWKSODQVIRUDPRUHWKDQPLOOLRQLQFUHPHQWDO
LQYHVWPHQWLQDVVRFLDWHVGXULQJ

,QDGGLWLRQWRPDUNHWFRPSHWLWLYHZDJHVRXUDVVRFLDWHVKDYHDFFHVVWRDZLGHYDULHW\RIEHQHILWVWKDWSURYLGHYDOXH
LQWKHLUOLYHVWRGD\DQGLQWKHIXWXUH:HLQYHVWLQWKHZKROHSHUVRQZLWKDEHQHILWVSDFNDJHWKDWJHQHUDOO\LQFOXGHV



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TXDOLW\DIIRUGDEOHKHDOWKFDUHUHWLUHPHQWVDYLQJVSODQVDQGSHQVLRQSODQVRQGHPDQGDFFHVVWRPHQWDOKHDOWK
DVVLVWDQFHDQGIUHHFRXQVHOLQJWRVXSSRUWHPRWLRQDOZHOOQHVVFDUHHUDGYDQFHPHQWRSSRUWXQLWLHVILQDQFLDOHGXFDWLRQ
SURJUDPVWRKHOSDVVRFLDWHVPDQDJHWKHLUGD\WRGD\ILQDQFHVDQGDQLQGXVWU\OHDGLQJFRQWLQXLQJHGXFDWLRQEHQHILW
WKDWSURYLGHVXSWRIRUDVVRFLDWHVSDUWWLPHDQGIXOOWLPHDOLNHZKLFKDORQJZLWKVFKRODUVKLSVIRUFKLOGUHQ
RIDVVRFLDWHVௗ²ௗPRVWRIZKRPDUHILUVWJHQHUDWLRQFROOHJHDWWHQGHHVௗ²ௗSURYLGHSDWKZD\VWRVRFLDOPRELOLW\WR
DVVRFLDWHVZKRFKRRVHWRSDUWLFLSDWH:HDOVRRIIHUDVVRFLDWHVDYDULHW\RIJURFHU\GLVFRXQWVYROXQWHHU
RSSRUWXQLWLHVDQGRWKHUSHUNVDQGUHZDUGV
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Diversity and inclusion are part of Kroger’s core organizational values, and the organization has strong
programs in place to create and maintain an equitable workplace and inclusive culture.
'LYHUVLW\DQGLQFOXVLRQKDYHEHHQORQJVWDQGLQJ.URJHUYDOXHV,QZHLQWURGXFHG.URJHU¶VFramework for
ActionWRIXUWKHUDGYDQFHGLYHUVLW\HTXLW\DQGLQFOXVLRQLQRXUFXOWXUHDQGFRPPXQLWLHV7KHSODQ¶VDFWLRQVWHSV
LQFOXGHFUHDWLQJD'( ,DGYLVRU\FRXQFLOUHSRUWLQJWRVHQLRUOHDGHUVKLSSURYLGLQJGLYHUVLW\WUDLQLQJWRRXUDVVRFLDWH
SRSXODWLRQLPSURYLQJGLYHUVHWDOHQWUHFUXLWLQJWKURXJKH[SDQGHGSDUWQHUVKLSVZLWK+%&8VDQG+LVSDQLFVHUYLQJ
LQVWLWXWLRQVHVWDEOLVKLQJWZRZD\PHQWRUVKLSDQGDGYRFDF\SURJUDPVLQFUHDVLQJVSHQGZLWKGLYHUVHVXSSOLHUVDQG
PRUH:HUHSRUWSURJUHVVDJDLQVWWKHVHJRDOVLQ.URJHU¶VDQQXDO(6*UHSRUW
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.URJHUVWULYHVWRDWWUDFWUHWDLQDQGGHYHORSOHDGHUVDQGDVVRFLDWHVZKREHVWUHIOHFWRXUFRPPXQLWLHV%HFDXVHRIRXU
XQLTXHEXVLQHVVPRGHOZHKHOSXQORFNHFRQRPLFRSSRUWXQLW\IRUQHDUO\KDOIDPLOOLRQSHRSOHRIYDULRXVDJHVDQG
DVSLUDWLRQVIURPWKRVHZDQWLQJDQHQWU\OHYHOSDUWWLPHMREWRJUDGXDWHGHJUHHVSHFLDOLVWVDFURVVFRUSRUDWH
IXQFWLRQV:HDOVRDLPWRGHYHORSDQGSURPRWHGLYHUVHOHDGHUVWRUROHVZLWKLQFUHDVLQJOHYHOVRIUHVSRQVLELOLW\)RU
RSHQOHDGHUVKLSSRVLWLRQVZHDVVHPEOHDGLYHUVHVODWHRIFDQGLGDWHVIRUFRQVLGHUDWLRQ
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,QHYHU\PDQDJHUDFURVVWKHRUJDQL]DWLRQZDVH[SHFWHGWRDFWLYHO\PHQWRUDQGGHYHORSDQDVVRFLDWHZKRKDVD
GLIIHUHQWEDFNJURXQGWKDQWKHP7KLVDORQJZLWKRWKHUREMHFWLYHVLVXVHGWRDVVHVVWKHPDQDJHU¶VSHUIRUPDQFHDQG
XOWLPDWHO\DIIHFWVWKHLUFRPSHQVDWLRQ&XUUHQWO\RYHURIUHWDLOGLYLVLRQH[HFXWLYHOHDGHUVKLSWHDPVKDYHDWOHDVW
RQHGLYHUVHOHDGHU
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:HEHOLHYHWKDW.URJHU¶VFXUUHQWFRPSHQVDWLRQSUDFWLFHVSURPRWHGLYHUVLW\LQFOXVLRQDQGIDLUSD\DFURVVRXU
ZRUNIRUFH:KLOH.URJHUZHOFRPHVFRQWLQXHGHQJDJHPHQWZLWKVKDUHKROGHUVRQWKHVHLVVXHVZHEHOLHYHWKDWWKH
DGRSWLRQRIWKLVSURSRVDOLVQRWQHFHVVDU\LQOLJKWRIRXUH[LVWLQJSUDFWLFHV
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For the foregoing reasons, we urge you to vote AGAINST this proposal.
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Item No. 9 – Report on EEO Policy Risks
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:HKDYHEHHQDGYLVHGWKDWWKH1DWLRQDO&HQWHUIRU3XEOLF3ROLF\5HVHDUFKRUDQDSSRLQWHGUHSUHVHQWDWLYHZLOO
SUHVHQWWKHIROORZLQJSURSRVDOIRUFRQVLGHUDWLRQGXULQJWKH$QQXDO6KDUHKROGHUV¶0HHWLQJ:HZLOOSURPSWO\
SURYLGHWKHVKDUHKROGLQJVXSRQZULWWHQRURUDOUHTXHVWWR.URJHU¶V6HFUHWDU\DWRXUH[HFXWLYHRIILFHV
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“RESOLVED
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6KDUHKROGHUVUHTXHVWWKH.URJHU&RPSDQ\ .URJHU LVVXHDSXEOLFUHSRUWGHWDLOLQJWKHSRWHQWLDOULVNVDVVRFLDWHG
ZLWKRPLWWLQJYLHZSRLQWDQGLGHRORJ\IURPLWVZULWWHQHTXDOHPSOR\PHQWRSSRUWXQLW\ ((2 SROLF\7KHUHSRUW
VKRXOGEHDYDLODEOHZLWKLQDUHDVRQDEOHWLPHIUDPHSUHSDUHGDWDUHDVRQDEOHH[SHQVHDQGRPLWSURSULHWDU\
LQIRUPDWLRQ
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SUPPORTING STATEMENT
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.URJHUGRHVQRWH[SOLFLWO\SURKLELWGLVFULPLQDWLRQEDVHGRQYLHZSRLQWRULGHRORJ\LQLWVZULWWHQ((2SROLF\
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.URJHU VODFNRIDFRPSDQ\ZLGHEHVWSUDFWLFH((2SROLF\VHQGVPL[HGVLJQDOVWRFRPSDQ\HPSOR\HHVDQG
SURVSHFWLYHHPSOR\HHVDQGFDOOVLQWRTXHVWLRQWKHH[WHQWWRZKLFKLQGLYLGXDOVDUHSURWHFWHGGXHWRLQFRQVLVWHQWVWDWH
SROLFLHVDQGWKHDEVHQFHRIDUHOHYDQWIHGHUDOSURWHFWLRQ$SSUR[LPDWHO\KDOIRI$PHULFDQVOLYHDQGZRUNLQD
MXULVGLFWLRQZLWKQROHJDOSURWHFWLRQVLIWKHLUHPSOR\HUWDNHVDFWLRQDJDLQVWWKHPIRUWKHLUSROLWLFDODFWLYLWLHVRU
GLVFULPLQDWHVRQWKHEDVLVRIYLHZSRLQWLQWKHZRUNSODFH
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&RPSDQLHVZLWKLQFOXVLYHSROLFLHVDUHEHWWHUDEOHWRUHFUXLWWKHPRVWWDOHQWHGHPSOR\HHVIURPDEURDGODERUSRRO
UHVROYHFRPSODLQWVLQWHUQDOO\WRDYRLGFRVWO\OLWLJDWLRQRUUHSXWDWLRQDOGDPDJHDQGPLQLPL]HHPSOR\HHWXUQRYHU
0RUHRYHULQFOXVLYHSROLFLHVFRQWULEXWHWRPRUHHIILFLHQWKXPDQFDSLWDOPDQDJHPHQWE\HOLPLQDWLQJWKHQHHGWR
PDLQWDLQGLIIHUHQWSROLFLHVLQGLIIHUHQWORFDWLRQV

7KHUHLVDPSOHHYLGHQFHWKDWLQGLYLGXDOVZLWKFRQVHUYDWLYHYLHZSRLQWVPD\IDFHGLVFULPLQDWLRQDW.URJHU

.URJHUUHFHQWO\NRZWRZHGWROHIWZLQJVRFLDOPHGLDFULWLFLVPE\UHPRYLQJSDWULRWLFDQG6HFRQG$PHQGPHQWUHODWHG
SDUDSKHUQDOLDIURPVWRUHVKHOYHV)RULQVWDQFHDIWHUVRPHRQHFRPSODLQHGRQ7ZLWWHUDERXWDGULQNVOHHYHWKDWVWDWHG
$UPV&KDQJH5LJKWV'RQ WWKH&RPSDQ\UHSRUWHGO\UHFDOOHGWKHLWHPV.URJHU VVXEVLGLDU\JURFHU\VWRUH+DUULV
7HHWHUOLNHZLVHFRPSOLHGZLWKOLEHUDOGHPDQGVWRSXOO)UHHGRP6HULHVLWHPVIURPLWVVKHOYHVUHPRYLQJLWHPVWKDW
UHDG*LYHPHOLEHUW\RUJLYHPHGHDWKDQG$PHULFDORYHLWRUOHDYHLW

:KLOHUHPRYLQJSDWULRWLFLWHPVIURPLWVVWRUHV.URJHUKDVVLPXOWDQHRXVO\SXVKHGDOHIWZLQJVRFLDODJHQGD
3XEOLVKHGLQWKH&RPSDQ\UHOHDVHGDQDOO\VKLSJXLGHWKDWWROGHPSOR\HHVWRXVHLQFOXVLYHODQJXDJHDQG
FHOHEUDWHWUDQVJHQGHUKROLGD\V'HILQLQJWHUPVVXFKDVQRQELQDU\WUDQVJHQGHUDQGSDQVH[XDOWKHJXLGH
DVVHUWVWKDW6RPHSHRSOH VPRUDOLW\FDQEHDEDUULHUWRDFFHSWLQJ/*%74SHRSOH

5HPRYLQJSUR$PHULFDLWHPVIURPVWRUHVKHOYHVZKLOHSXEOLVKLQJDOO\VKLSWUDLQLQJJXLGHVIRUVWDIIFHUWDLQO\UDLVH
FRQFHUQVRYHUKRZ.URJHUWUHDWVHPSOR\HHVZLWKGLYHUVHSRLQWVRIYLHZSDUWLFXODUO\WKRVHZKRGLVDJUHHZLWKWKH
&RPSDQ\ VEODWDQWOHIWZLQJDFWLRQV7KLVSODFHVWKH&RPSDQ\LQUHSXWDWLRQDOOHJDODQGILQDQFLDOULVNDVHYLGHQFHG
E\DUHFHQWVHWWOHPHQWZLWKILUHGHPSOR\HHVZKRUHIXVHGWRZHDUD&RPSDQ\LVVXHGDSURQDGRUQLQJDUDLQERZRQ
DFFRXQWRILWYLRODWLQJWKHLUUHOLJLRXVEHOLHIV

3UHVHQWO\VKDUHKROGHUVDUHXQDEOHWRHYDOXDWHKRZ.URJHUSUHYHQWVGLVFULPLQDWLRQWRZDUGVHPSOR\HHVEDVHGRQWKHLU
LGHRORJ\RUYLHZSRLQWPLWLJDWHVHPSOR\HHFRQFHUQVRISRWHQWLDOGLVFULPLQDWLRQDQGHQVXUHVDUHVSHFWIXODQG
VXSSRUWLYHZRUNDWPRVSKHUHWKDWEROVWHUVHPSOR\HHSHUIRUPDQFH

:HUHFRPPHQGWKDWWKHUHSRUWHYDOXDWHULVNVLQFOXGLQJEXWQRWOLPLWHGWRQHJDWLYHHIIHFWVRQHPSOR\HHKLULQJDQG
UHWHQWLRQDVZHOODVOLWLJDWLRQULVNVIURPFRQIOLFWLQJVWDWHDQGFRPSDQ\DQWLGLVFULPLQDWLRQSROLFLHV´

The Board of Directors Recommends a Vote Against This Proposal for the Following Reasons:

Kroger strives to reflect the communities we serve and foster a culture that empowers everyone to be their
true self, inspires collaboration, and feeds the human spirit.

:HDUHFRPPLWWHGWRDSROLF\RIHTXDORSSRUWXQLW\IRUDOODVVRFLDWHVZLWKRXWUHJDUGWRUDFHFRORUUHOLJLRQVH[
QDWLRQDORULJLQDJHGLVDELOLW\VH[XDORULHQWDWLRQRUJHQGHULGHQWLW\,QLPSOHPHQWLQJRXUSROLF\ZHVHHNDQG
HPEUDFHGLIIHUHQFHVLQWKHEDFNJURXQGVFXOWXUHVDQGSHUVSHFWLYHVRIDOODVVRFLDWHVDQGZHHQFRXUDJHDQGH[SHFW
DOORIRXUDVVRFLDWHVWRFROODERUDWHDQGDFWLYHO\ZRUNWRJHWKHUUHJDUGOHVVRIWKHVHGLIIHUHQFHV0RUHRYHUDVZH
LGHQWLI\LQRXU(6*5HSRUWRXUGLYHUVLW\HTXLW\DQGLQFOXVLRQ '( , SURJUDPVGHPRQVWUDWHRXUFRPPLWPHQWWR
EXLOGLQJDGLYHUVHDQGLQFOXVLYHZRUNIRUFHIRVWHULQJDQHQYLURQPHQWZKHUHGLYHUVLW\LVDFRPSHWLWLYHDGYDQWDJHDQG
SURYLGLQJHTXDORSSRUWXQLWLHVIRUDVVRFLDWHV

We are focused on creating a culture of fairness and respect.

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Diverse viewpoints are respected and encouraged.
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For the foregoing reasons, we urge you to vote AGAINST this proposal.
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                   Shareholder Proposals and Director Nominationsௗ—ௗ2024 Annual Meeting
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ILQDQFLDOUHSRUWLQJXQGHU6HFWLRQ E RIWKH6DUEDQHV2[OH\$FW 86& E E\WKHUHJLVWHUHGSXEOLFDFFRXQWLQJILUPWKDWSUHSDUHGRULVVXHGLWVDXGLW
UHSRUWց
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,IVHFXULWLHVDUHUHJLVWHUHGSXUVXDQWWR6HFWLRQ E RIWKH$FWLQGLFDWHE\FKHFNPDUNZKHWKHUWKHILQDQFLDOVWDWHPHQWVRIWKHUHJLVWUDQWLQFOXGHGLQWKHILOLQJUHIOHFWWKH
FRUUHFWLRQRIDQHUURUWRSUHYLRXVO\LVVXHGILQDQFLDOVWDWHPHQWV
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,QGLFDWHE\FKHFNPDUNZKHWKHUDQ\RIWKRVHHUURUFRUUHFWLRQVDUHUHVWDWHPHQWVWKDWUHTXLUHGDUHFRYHU\DQDO\VLVRILQFHQWLYHEDVHGFRPSHQVDWLRQUHFHLYHGE\DQ\RIWKH
UHJLVWUDQW¶VH[HFXWLYHRIILFHUVGXULQJWKHUHOHYDQWUHFRYHU\SHULRGSXUVXDQWWR' E 
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,QGLFDWHE\FKHFNPDUNZKHWKHUWKHUHJLVWUDQWLVDVKHOOFRPSDQ\ DVGHILQHGE\5XOHERIWKH([FKDQJH$FW 
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7KHDJJUHJDWHPDUNHWYDOXHRIWKHYRWLQJDQGQRQYRWLQJFRPPRQHTXLW\KHOGE\QRQDIILOLDWHVFRPSXWHGE\UHIHUHQFHWRWKHDYHUDJHELGDQGDVNHGSULFHRIVXFK
FRPPRQHTXLW\DVRIWKHODVWEXVLQHVVGD\RIWKHUHJLVWUDQW¶VPRVWUHFHQWO\FRPSOHWHGVHFRQGILVFDOTXDUWHU $XJXVW ELOOLRQ
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7KHQXPEHURIVKDUHVRXWVWDQGLQJRIWKHUHJLVWUDQW VFRPPRQVWRFNDVRIWKHODWHVWSUDFWLFDEOHGDWHVKDUHVRI&RPPRQ6WRFNRISDUYDOXHDVRI
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                                                              'RFXPHQWV,QFRUSRUDWHGE\5HIHUHQFH
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3RUWLRQVRI.URJHU¶VGHILQLWLYHSUR[\VWDWHPHQWIRULWVDQQXDOPHHWLQJRIVKDUHKROGHUVZKLFKVKDOOEHILOHGZLWKWKH6HFXULWLHVDQG([FKDQJH&RPPLVVLRQZLWKLQ
GD\VDIWHUWKHHQGRIWKHILVFDO\HDUWRZKLFKWKLV5HSRUWUHODWHVDUHLQFRUSRUDWHGE\UHIHUHQFHLQWR3DUW,,,RIWKLV5HSRUW
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    ,WHP$                              5LVN)DFWRUV                                                                                                            
    ,WHP%                              8QUHVROYHG6WDII&RPPHQWV                                                                                               
    ,WHP                               3URSHUWLHV                                                                                                              
    ,WHP                               /HJDO3URFHHGLQJV                                                                                                       
    ,WHP                               0LQH6DIHW\'LVFORVXUHV                                                                                                 
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    3DUW,,                                                                                                                                                      
    ,WHP                               0DUNHW IRU 5HJLVWUDQW¶V &RPPRQ (TXLW\ 5HODWHG 6WRFNKROGHU 0DWWHUV DQG ,VVXHU 3XUFKDVHV RI (TXLW\
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    ,WHP                               5HVHUYHG                                                                                                                
    ,WHP                               0DQDJHPHQW¶V'LVFXVVLRQDQG$QDO\VLVRI)LQDQFLDO&RQGLWLRQDQG5HVXOWVRI2SHUDWLRQV                                   
    ,WHP$                              4XDQWLWDWLYHDQG4XDOLWDWLYH'LVFORVXUHV$ERXW0DUNHW 5LVN                                                              
    ,WHP                               )LQDQFLDO6WDWHPHQWVDQG6XSSOHPHQWDU\'DWD                                                                             
    ,WHP                               &KDQJHVLQDQG'LVDJUHHPHQWVZLWK$FFRXQWDQWVRQ$FFRXQWLQJDQG)LQDQFLDO'LVFORVXUH                                    
    ,WHP$                              (YDOXDWLRQRI'LVFORVXUH&RQWUROVDQG3URFHGXUHV                                                                        
    ,WHP%                              2WKHU,QIRUPDWLRQ                                                                                                       
    ,WHP&                              'LVFORVXUH5HJDUGLQJ)RUHLJQ-XULVGLFWLRQVWKDW3UHYHQW,QVSHFWLRQV                                                     
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    3DUW,,,                                                                                                                                                     
    ,WHP                              'LUHFWRUV([HFXWLYH2IILFHUVDQG&RUSRUDWH*RYHUQDQFH                                                                  
    ,WHP                              ([HFXWLYH&RPSHQVDWLRQ                                                                                                  
    ,WHP                              6HFXULW\2ZQHUVKLSRI&HUWDLQ%HQHILFLDO2ZQHUVDQG0DQDJHPHQWDQG5HODWHG6WRFNKROGHU0DWWHUV                          
    ,WHP                              &HUWDLQ5HODWLRQVKLSVDQG5HODWHG7UDQVDFWLRQVDQG'LUHFWRU,QGHSHQGHQFH                                               
    ,WHP                              3ULQFLSDO$FFRXQWLQJ)HHVDQG6HUYLFHV                                                                                  
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    3DUW,9                                                                                                                                                     
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     7KLV$QQXDO5HSRUWRQ)RUP.FRQWDLQVIRUZDUGORRNLQJVWDWHPHQWVDERXWRXUIXWXUHSHUIRUPDQFH7KHVH
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VWDWHPHQWVDUHVXEMHFWWRDQXPEHURINQRZQDQGXQNQRZQULVNVXQFHUWDLQWLHVDQGRWKHULPSRUWDQWIDFWRUVLQFOXGLQJWKH
ULVNVDQGRWKHUIDFWRUVGLVFXVVHGLQ³5LVN)DFWRUV´EHORZWKDWFRXOGFDXVHDFWXDOUHVXOWVDQGRXWFRPHVWRGLIIHU
PDWHULDOO\IURPDQ\IXWXUHUHVXOWVRURXWFRPHVH[SUHVVHGRULPSOLHGE\VXFKIRUZDUGORRNLQJVWDWHPHQWV6XFK
VWDWHPHQWVDUHLQGLFDWHGE\ZRUGVVXFKDV³DFKLHYH´³DIIHFW´³DQWLFLSDWH´³EHOLHYH´³FRPPLWWHG´³FRQWLQXH´³FRXOG´
³GHOLYHU´³HIIHFW´³HQDEOH´³HVWLPDWH´³H[SHFWV´³IXWXUH´³JRDO´³JURZWK´³LQWHQGHG´³OLNHO\´³PD\´³PRGHO´
³REMHFWLYH´³SODQ´³SRVLWLRQ´³SURJUDP´³UDQJH´³UHVXOW´³VWUDWHJ\´³VWULYH´³VWURQJ´³WDUJHW´³WUHQG´³ZLOO´DQG
³ZRXOG´DQGVLPLODUZRUGVRUSKUDVHV0RUHRYHUVWDWHPHQWVLQWKHVHFWLRQVHQWLWOHG5LVN)DFWRUV0DQDJHPHQW¶V
'LVFXVVLRQDQG$QDO\VLVRI)LQDQFLDO&RQGLWLRQDQG5HVXOWVRI2SHUDWLRQV ³0' $´ DQGHOVHZKHUHLQWKLVUHSRUW
UHJDUGLQJRXUH[SHFWDWLRQVSURMHFWLRQVEHOLHIVLQWHQWLRQVRUVWUDWHJLHVDUHIRUZDUGORRNLQJVWDWHPHQWVZLWKLQWKH
PHDQLQJRI6HFWLRQ(RIWKH6HFXULWLHV([FKDQJH$FWRIDVDPHQGHG
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     9DULRXVXQFHUWDLQWLHVDQGRWKHUIDFWRUVFRXOGFDXVHDFWXDOUHVXOWVWRGLIIHUPDWHULDOO\IURPWKRVHFRQWDLQHGLQWKH
IRUZDUGORRNLQJVWDWHPHQWV7KHVHLQFOXGH
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     • 7KHH[WHQWWRZKLFKRXUVRXUFHVRIOLTXLGLW\DUHVXIILFLHQWWRPHHWRXUUHTXLUHPHQWVPD\EHDIIHFWHGE\WKHVWDWH
         RIWKHILQDQFLDOPDUNHWVDQGWKHHIIHFWWKDWVXFKFRQGLWLRQKDVRQRXUDELOLW\WRLVVXHFRPPHUFLDOSDSHUDW
         DFFHSWDEOHUDWHV2XUDELOLW\WRERUURZXQGHURXUFRPPLWWHGOLQHVRIFUHGLWLQFOXGLQJRXUEDQNFUHGLWIDFLOLWLHV
         FRXOGEHLPSDLUHGLIRQHRUPRUHRIRXUOHQGHUVXQGHUWKRVHOLQHVLVXQZLOOLQJRUXQDEOHWRKRQRULWVFRQWUDFWXDO
         REOLJDWLRQWROHQGWRXVRULQWKHHYHQWWKDWJOREDOSDQGHPLFVLQFOXGLQJWKHRQJRLQJ&29,'SDQGHPLF
          LQFOXGLQJDQ\YDULDQW QDWXUDOGLVDVWHUVRUZHDWKHUFRQGLWLRQVLQWHUIHUHZLWKWKHDELOLW\RIRXUOHQGHUVWROHQGWR
         XV2XUDELOLW\WRUHILQDQFHPDWXULQJGHEWPD\EHDIIHFWHGE\WKHVWDWHRIWKHILQDQFLDOPDUNHWV
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    •   2XUDELOLW\WRDFKLHYHVDOHVHDUQLQJVDQGLQFUHPHQWDO),)2RSHUDWLQJSURILWJRDOVPD\EHDIIHFWHGE\WKHULVNV
         UHODWLQJWRRUDULVLQJIURPRXUSURSRVHGWUDQVDFWLRQZLWK$OEHUWVRQV&RPSDQLHV,QF ³$OEHUWVRQV´ DQQRXQFHG
         LQ2FWREHULQFOXGLQJDPRQJRWKHUVRXUDELOLW\WRFRQVXPPDWHWKHSURSRVHGWUDQVDFWLRQLQFOXGLQJRQWKH
         WHUPVRIWKHPHUJHUDJUHHPHQWRQWKHDQWLFLSDWHGWLPHOLQHDQGRUZLWKWKHUHTXLUHGUHJXODWRU\DSSURYDOV
         &29,'SDQGHPLFUHODWHGIDFWRUVULVNVDQGFKDOOHQJHVODERUQHJRWLDWLRQVSRWHQWLDOZRUNVWRSSDJHV
         FKDQJHVLQWKHXQHPSOR\PHQWUDWHSUHVVXUHVLQWKHODERUPDUNHWFKDQJHVLQJRYHUQPHQWIXQGHGEHQHILW
         SURJUDPVFKDQJHVLQWKHW\SHVDQGQXPEHUVRIEXVLQHVVHVWKDWFRPSHWHZLWKXVSULFLQJDQGSURPRWLRQDO
         DFWLYLWLHVRIH[LVWLQJDQGQHZFRPSHWLWRUVLQFOXGLQJQRQWUDGLWLRQDOFRPSHWLWRUVDQGWKHDJJUHVVLYHQHVVRIWKDW
         FRPSHWLWLRQRXUUHVSRQVHWRWKHVHDFWLRQVWKHVWDWHRIWKHHFRQRP\LQFOXGLQJLQWHUHVWUDWHVWKHFXUUHQW
         LQIODWLRQDU\HQYLURQPHQWDQGIXWXUHSRWHQWLDOLQIODWLRQDU\DQGRUGHIODWLRQDU\WUHQGVDQGVXFKWUHQGVLQFHUWDLQ
         FRPPRGLWLHVSURGXFWVDQGRURSHUDWLQJFRVWVWKHJHRSROLWLFDOHQYLURQPHQWLQFOXGLQJWKHZDULQ8NUDLQH
         XQVWDEOHSROLWLFDOVLWXDWLRQVDQGVRFLDOXQUHVWFKDQJHVLQWDULIIVWKHHIIHFWWKDWIXHOFRVWVKDYHRQFRQVXPHU
         VSHQGLQJYRODWLOLW\RIIXHOPDUJLQVPDQXIDFWXULQJFRPPRGLW\FRVWVVXSSO\FRQVWUDLQWVGLHVHOIXHOFRVWV
         UHODWHGWRRXUORJLVWLFVRSHUDWLRQVWUHQGVLQFRQVXPHUVSHQGLQJWKHH[WHQWWRZKLFKRXUFXVWRPHUVH[HUFLVH
         FDXWLRQLQWKHLUSXUFKDVLQJLQUHVSRQVHWRHFRQRPLFFRQGLWLRQVWKHXQFHUWDLQW\RIHFRQRPLFJURZWKRU
         UHFHVVLRQVWRFNUHSXUFKDVHVFKDQJHVLQWKHUHJXODWRU\HQYLURQPHQWLQZKLFKZHRSHUDWHRXUDELOLW\WRUHWDLQ
         SKDUPDF\VDOHVIURPWKLUGSDUW\SD\RUVFRQVROLGDWLRQLQWKHKHDOWKFDUHLQGXVWU\LQFOXGLQJSKDUPDF\EHQHILW
         PDQDJHUVRXUDELOLW\WRQHJRWLDWHPRGLILFDWLRQVWRPXOWLHPSOR\HUSHQVLRQSODQVQDWXUDOGLVDVWHUVRUDGYHUVH
         ZHDWKHUFRQGLWLRQVWKHHIIHFWRISXEOLFKHDOWKFULVHVRURWKHUVLJQLILFDQWFDWDVWURSKLFHYHQWVWKHSRWHQWLDOFRVWV
         DQGULVNVDVVRFLDWHGZLWKSRWHQWLDOF\EHUDWWDFNVRUGDWDVHFXULW\EUHDFKHVWKHVXFFHVVRIRXUIXWXUHJURZWK
         SODQVWKHDELOLW\WRH[HFXWHRXUJRWRPDUNHWVWUDWHJ\DQGYDOXHFUHDWLRQPRGHOLQFOXGLQJFRQWLQXHGFRVW
         VDYLQJVJURZWKRIRXUDOWHUQDWLYHSURILWEXVLQHVVHVDQGRXUDELOLW\WREHWWHUVHUYHRXUFXVWRPHUVDQGWRJHQHUDWH
         FXVWRPHUOR\DOW\DQGVXVWDLQDEOHJURZWKWKURXJKRXUVWUDWHJLFSLOODUVRIIUHVKOur BrandsSHUVRQDOL]DWLRQDQG
         VHDPOHVVDQGWKHVXFFHVVIXOLQWHJUDWLRQRIPHUJHGFRPSDQLHVDQGQHZSDUWQHUVKLSV
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    •   2XUDELOLW\WRDFKLHYHWKHVHJRDOVPD\DOVREHDIIHFWHGE\RXUDELOLW\WRPDQDJHWKHIDFWRUVLGHQWLILHGDERYH
         2XUDELOLW\WRH[HFXWHRXUILQDQFLDOVWUDWHJ\PD\EHDIIHFWHGE\RXUDELOLW\WRJHQHUDWHFDVKIORZ
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    •   2XUHIIHFWLYHWD[UDWHPD\GLIIHUIURPWKHH[SHFWHGUDWHGXHWRFKDQJHVLQWD[ODZVWKHVWDWXVRISHQGLQJLWHPV
         ZLWKYDULRXVWD[LQJDXWKRULWLHVDQGWKHGHGXFWLELOLW\RIFHUWDLQH[SHQVHV
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5HSRUWFRXOGDOVRFDXVHDFWXDOUHVXOWVWRGLIIHUPDWHULDOO\IURPWKRVHVHWIRUWKLQWKHIRUZDUGORRNLQJLQIRUPDWLRQ
$FFRUGLQJO\DFWXDOHYHQWVDQGUHVXOWVPD\YDU\VLJQLILFDQWO\IURPWKRVHLQFOXGHGLQFRQWHPSODWHGRULPSOLHGE\
IRUZDUGORRNLQJVWDWHPHQWVPDGHE\XVRURXUUHSUHVHQWDWLYHV:HXQGHUWDNHQRREOLJDWLRQWRXSGDWHWKHIRUZDUG
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     2XUDELOLW\WRFRPSOHWHRXUSURSRVHGWUDQVDFWLRQZLWK$OEHUWVRQVPD\EHDIIHFWHGE\YDULRXVIDFWRUVLQFOXGLQJ
WKRVHVHWIRUWKLQ3DUW,,WHP$RIWKLV$QQXDO5HSRUW5LVN)DFWRUVLQFOXGHGLQWKLV$QQXDO5HSRUWRQ)RUP.DQG
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     7KH.URJHU&R WKH³&RPSDQ\´RU³.URJHU´ ZDVIRXQGHGLQDQGLQFRUSRUDWHGLQ2XU&RPSDQ\LV
EXLOWRQWKHIRXQGDWLRQRIRXUIRRGUHWDLOEXVLQHVVZKLFKLQFOXGHVWKHDGGHGFRQYHQLHQFHRIRXUUHWDLOSKDUPDFLHVDQG
IXHOFHQWHUV2XUVWUDWHJ\LVIRFXVHGRQJURZLQJFXVWRPHUOR\DOW\E\GHOLYHULQJJUHDWYDOXHDQGFRQYHQLHQFHDQG
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     :HDOVRXWLOL]HWKHGDWDDQGWUDIILFJHQHUDWHGE\RXUUHWDLOEXVLQHVVWRGHOLYHULQFUHPHQWDOYDOXHDQGVHUYLFHVIRURXU
FXVWRPHUVWKDWJHQHUDWHVDOWHUQDWLYHSURILWVWUHDPV7KHVHDOWHUQDWLYHSURILWVWUHDPVZRXOGQRWH[LVWZLWKRXWRXUFRUH
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VWRUHVIXHOFHQWHUVDQGYLDRXURQOLQHSODWIRUPV:HHDUQLQFRPHSUHGRPLQDWHO\E\VHOOLQJSURGXFWVDWSULFHOHYHOVWKDW
SURGXFHUHYHQXHVLQH[FHVVRIWKHFRVWVZHLQFXUWRPDNHWKHVHSURGXFWVDYDLODEOHWRRXUFXVWRPHUV6XFKFRVWVLQFOXGH
SURFXUHPHQWDQGGLVWULEXWLRQFRVWVIDFLOLW\RFFXSDQF\DQGRSHUDWLRQDOFRVWVDQGRYHUKHDGH[SHQVHV2XUILVFDO\HDU
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     :HPDLQWDLQDZHEVLWH ZZZWKHNURJHUFRFRP WKDWLQFOXGHVWKH.URJHU)DFW%RRNDQGRWKHUDGGLWLRQDO
LQIRUPDWLRQDERXWWKH&RPSDQ\.URJHU¶VZHEVLWHDQGDQ\UHSRUWVRURWKHULQIRUPDWLRQPDGHDYDLODEOHE\.URJHU
WKURXJKLWVZHEVLWHDUHQRWSDUWRIRULQFRUSRUDWHGE\UHIHUHQFHLQWRWKLV$QQXDO5HSRUWRQ)RUP.:HPDNH
DYDLODEOHWKURXJKRXUZHEVLWHIUHHRIFKDUJHRXUDQQXDOUHSRUWVRQ)RUP.RXUTXDUWHUO\UHSRUWVRQ)RUP4RXU
FXUUHQWUHSRUWVRQ)RUP.DQGRXULQWHUDFWLYHGDWDILOHVLQFOXGLQJDPHQGPHQWV7KHVHIRUPVDUHDYDLODEOHDVVRRQDV
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     .URJHULVGLYHUVLILHGDFURVVEUDQGVSURGXFWFDWHJRULHVFKDQQHOVRIGLVWULEXWLRQJHRJUDSKLHVDQGFRQVXPHU
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RSHUDWHGLQ&RPSDQ\RZQHGIDFLOLWLHVLQFOXGLQJVRPH&RPSDQ\RZQHGEXLOGLQJVRQOHDVHGODQG2XUVWRUHVRSHUDWH
XQGHUDYDULHW\RIEDQQHUVWKDWKDYHVWURQJORFDOWLHVDQGEUDQGUHFRJQLWLRQ:HFRQQHFWZLWKFXVWRPHUVWKURXJKRXU
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RUJDQLFVHFWLRQVSKDUPDFLHVJHQHUDOPHUFKDQGLVHSHWFHQWHUVDQGKLJKTXDOLW\SHULVKDEOHVVXFKDVIUHVKVHDIRRGDQG
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KHDOWKDQGEHDXW\FDUHGHSDUWPHQWVDVZHOODVDQH[SDQGHGSHULVKDEOHRIIHULQJDQGJHQHUDOPHUFKDQGLVHDUHDWKDW
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     3ULFHLPSDFWZDUHKRXVHVWRUHVRIIHUD³QRIULOOVORZFRVW´ZDUHKRXVHIRUPDWDQGIHDWXUHHYHU\GD\ORZSULFHVSOXV
SURPRWLRQVIRUDZLGHVHOHFWLRQRIJURFHU\DQGKHDOWKDQGEHDXW\FDUHLWHPV4XDOLW\PHDWGDLU\EDNHGJRRGVDQGIUHVK
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IRRGVDQGLQJUHGLHQWVWKDWGHOLYHUDPD]LQJHDWLQJH[SHULHQFHV7KH.URJHUEUDQGZKLFKUHSUHVHQWVWKHPDMRULW\RIRXU
SULYDWHODEHOLWHPVLVGHVLJQHGWRFRQVLVWHQWO\VDWLVI\DQGGHOLJKWFXVWRPHUVZLWKTXDOLW\SURGXFWVWKDWH[FHHGRUPHHW
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     7KHWUDIILFDQGGDWDJHQHUDWHGE\RXUUHWDLOVXSHUPDUNHWEXVLQHVVLQFOXGLQJSKDUPDFLHVDQGIXHOFHQWHUVLVHQDEOLQJ
WKLVWUDQVIRUPDWLRQ.URJHUVHUYHVDSSUR[LPDWHO\PLOOLRQKRXVHKROGVDQQXDOO\DQGEHFDXVHRIRXUUHZDUGVSURJUDP
RYHURIFXVWRPHUWUDQVDFWLRQVDUHWHWKHUHGWRD.URJHUOR\DOW\FDUG2XU\HDUVRILQYHVWPHQWLQGDWDVFLHQFH
FDSDELOLWLHVLVDOORZLQJXVWRXWLOL]HWKLVGDWDWRFUHDWHSHUVRQDOL]HGH[SHULHQFHVDQGYDOXHIRURXUFXVWRPHUVDQGLVDOVR
HQDEOLQJRXUIDVWJURZLQJKLJKRSHUDWLQJPDUJLQDOWHUQDWLYHSURILWEXVLQHVVHVLQFOXGLQJGDWDDQDO\WLFVHUYLFHVDQGWKLUG
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FRPPXQLWLHVZHVHUYH:HVWULYHWRFUHDWHDFXOWXUHRIRSSRUWXQLW\DQGWDNHVHULRXVO\RXUUROHDVDOHDGLQJHPSOR\HULQ
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     %H\RQGRXURZQSURJUDPVDVVRFLDWHVFDQWDNHDGYDQWDJHRIRXUWXLWLRQUHLPEXUVHPHQWEHQHILWZKLFKRIIHUVXSWR
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WRHGXFDWLRQSURJUDPVOLNHFHUWLILFDWLRQVDVVRFLDWHRUJUDGXDWHGHJUHHV$SSUR[LPDWHO\DVVRFLDWHVRIZKRP
DUHKRXUO\KDYHWDNHQDGYDQWDJHRIRXUWXLWLRQUHLPEXUVHPHQWSURJUDPLQ.URJHUKDVLQYHVWHGPRUHWKDQ
PLOOLRQLQWKLVSURJUDPVLQFHLWODXQFKHGLQ
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    Rewarding Our Associates
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     $VZHFRQWLQXHWRRSHUDWHLQDFKDOOHQJLQJODERUPDUNHWZHDUHGHGLFDWHGWRDWWUDFWLQJDQGUHWDLQLQJWKHULJKWWDOHQW
DFURVVWKHRUJDQL]DWLRQWREHDEOHWRFRQWLQXHGHOLYHULQJIRURXUFXVWRPHUV:HDUHLQYHVWLQJLQRXUDVVRFLDWHVE\
H[SDQGLQJRXULQGXVWU\OHDGLQJEHQHILWVLQFOXGLQJFRQWLQXLQJHGXFDWLRQWUDLQLQJDQGGHYHORSPHQWKHDOWKDQGZHOOQHVV
'XULQJZHUDLVHGRXUDYHUDJHKRXUO\UDWHVE\PRUHWKDQDQGKDYHQRZLQYHVWHGDQLQFUHPHQWDOELOOLRQLQ
DVVRFLDWHZDJHVVLQFH2XUDYHUDJHKRXUO\UDWHLVQRZPRUHWKDQDQGPRUHWKDQZKHQFRPSUHKHQVLYH
EHQHILWVDUHLQFOXGHG:HDUHFRPPLWWHGWRVXVWDLQDEO\LQFUHDVLQJDVVRFLDWHZDJHVDQGSODQWRLQYHVWPRUHWKDQ
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  Promoting Diversity, Equity & Inclusion
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     'LYHUVLW\DQGLQFOXVLRQKDYHEHHQDPRQJ.URJHU¶VYDOXHVIRUGHFDGHV:HVWULYHWRUHIOHFWWKHFRPPXQLWLHVZH
VHUYHDQGIRVWHUDFXOWXUHWKDWHPSRZHUVHYHU\RQHWREHWKHLUWUXHVHOILQVSLUHVFROODERUDWLRQDQGIHHGVWKHKXPDQVSLULW
:HKDYHWDNHQDYHU\WKRXJKWIXODQGSXUSRVHIXODSSURDFKWRHQDFWPHDQLQJIXOFKDQJHDQGGHYHORSZKDWZHEHOLHYHDUH
WKHULJKWDFWLRQVWRDFKLHYHWUXHDQGODVWLQJHTXDOLW\2XUFramework for Action: Diversity, Equity & InclusionSODQ
UHIOHFWVRXUGHVLUHWRUHGHILQHGHHSHQDQGDGYDQFHRXUFRPPLWPHQWPRELOL]LQJRXUSHRSOHSDVVLRQVFDOHDQG
UHVRXUFHV7KHIROORZLQJVXPPDUL]HVRXUIUDPHZRUN&UHDWHD0RUH,QFOXVLYH&XOWXUH'HYHORS'LYHUVH7DOHQW
$GYDQFH'LYHUVH3DUWQHUVKLSV$GYDQFH(TXLWDEOH&RPPXQLWLHVDQG'HHSO\/LVWHQDQG5HSRUW3URJUHVV
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  Creating a Safe Environment

     2XUDVVRFLDWHV¶VDIHW\LVDWRSSULRULW\DQGLWLVRQHRIRXUFRUHYDOXHV:HSULRULWL]HSURYLGLQJWKHULJKWVDIHW\
WUDLQLQJDQGHTXLSPHQWVDIHZRUNLQJFRQGLWLRQVDQGUHVRXUFHVWRPDLQWDLQDQGLPSURYHDVVRFLDWHV¶ZHOOEHLQJ7KURXJK
RXUVWUDWHJ\WRVHWFOHDUH[SHFWDWLRQVURXWLQHPRQLWRULQJDQGUHJXODUFRPPXQLFDWLRQDQGHQJDJHPHQWZHUHGXFHWKH
QXPEHURILQMXULHVDQGDFFLGHQWVWKDWKDSSHQLQRXUZRUNSODFH:HWUDFNKHDOWKDQGVDIHW\PHWULFVFHQWUDOO\IRUDQ
HQWHUSULVHZLGHYLHZRILVVXHVWUHQGVDQGRSSRUWXQLWLHVDQGPRQLWRUDVVRFLDWHLQMXU\SHUIRUPDQFHLQFOXGLQJWRWDO
LQMXULHV2FFXSDWLRQDO6DIHW\DQG+HDOWK$GPLQLVWUDWLRQ ³26+$´ LQMXU\UDWHVDQGORVWWLPHLQMXULHVDVZHOODV
FXVWRPHULQMXU\PHWULFVOLNHVOLSDQGIDOOLQMXULHV:HDOVRWUDFNWKHFRPSOHWLRQRIUHTXLUHGWUDLQLQJIRUDVVRFLDWHVDQG
ZHUHJXODUO\VKDUHWKHVHPHWULFVZLWKOHDGHUVDQGUHOHYDQWWHDPPHPEHUVWRLQIRUPPDQDJHPHQWGHFLVLRQV
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   Supporting Labor Relations
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     $PDMRULW\RIRXUHPSOR\HHVDUHFRYHUHGE\FROOHFWLYHEDUJDLQLQJDJUHHPHQWVQHJRWLDWHGZLWKORFDOXQLRQVDIILOLDWHG
ZLWKRQHRIVHYHUDOGLIIHUHQWLQWHUQDWLRQDOXQLRQV7KHUHDUHDSSUR[LPDWHO\VXFKDJUHHPHQWVXVXDOO\ZLWKWHUPVRI
WKUHHWRILYH\HDUV:DJHVKHDOWKFDUHDQGSHQVLRQVDUHLQFOXGHGLQDOORIWKHVHFROOHFWLYHEDUJDLQLQJDJUHHPHQWVWKDW
FRYHUDSSUR[LPDWHO\RIRXUDVVRFLDWHV2XUREMHFWLYHLVWRQHJRWLDWHFRQWUDFWVWKDWEDODQFHFRPSHWLWLYHZDJH
LQFUHDVHVDQGDIIRUGDEOHKHDOWKFDUHIRUDVVRFLDWHVZLWKNHHSLQJJURFHULHVDIIRUGDEOHIRUWKHFRPPXQLWLHVZHVHUYH2XU
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     0DQDJLQJFOLPDWHFKDQJHLPSDFWVLVDQLPSRUWDQWSDUWRIThriving Together.URJHU¶V(QYLURQPHQWDO6RFLDO 
*RYHUQDQFH ³(6*´ VWUDWHJ\DQGKDVEHHQDIRFXVIRURXUEXVLQHVVIRUPDQ\\HDUV:LWKDODUJHSRUWIROLRRI
VXSHUPDUNHWVGLVWULEXWLRQZDUHKRXVHVDQGIRRGSURGXFWLRQSODQWVDVZHOODVDFRPSOH[VXSSO\FKDLQZHUHFRJQL]H
.URJHU¶VLPSDFWRQRXUFOLPDWH:HFRQWLQXHWRH[SORUHRSSRUWXQLWLHVDQGWDNHVWHSVWRUHGXFHWKHHIIHFWVRIRXU
RSHUDWLRQVRQWKHHQYLURQPHQWDQGWRUHGXFHWKHSRWHQWLDOULVNRIDFKDQJLQJFOLPDWHRQRXURSHUDWLRQV7KLVLQFOXGHV
HQKDQFLQJRXURSHUDWLRQDOHIILFLHQF\LQFUHDVLQJRXUXVDJHRIUHQHZDEOHHQHUJ\DQGLQYHVWLQJLQQHZWHFKQRORJLHV7KH
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     &OLPDWHHIIHFWVDUHPDQDJHGE\OHDGHUVKLSZLWKLQSXWIURPVHYHUDOGHSDUWPHQWVDFURVVWKHEXVLQHVV7KH3XEOLF
5HVSRQVLELOLWLHV&RPPLWWHHRIWKH%RDUGRI'LUHFWRUVRYHUVHHVRXUUHVSRQVLELOLWLHVDVDFRUSRUDWHFLWL]HQDQGWKH
&RPSDQ\¶VSUDFWLFHVUHODWHGWRHQYLURQPHQWDOVXVWDLQDELOLW\LQFOXGLQJFOLPDWHHIIHFWVDORQJZLWKRWKHUHQYLURQPHQWDO
DQGVRFLDOWRSLFVRIPDWHULDOLPSRUWDQFH.URJHUGLVFORVHVGHWDLOHGHQHUJ\DQGHPLVVLRQVGDWDDVZHOODVRXUDSSURDFKWR
PDQDJLQJFOLPDWHUHODWHGWRSLFVLQRXUDQQXDO(6*5HSRUWZKLFKFDQEHIRXQGDWZZZWKHNURJHUFRFRPHVJUHSRUW
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  Risk assessment
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     7RKHOSLGHQWLI\DQGPDQDJHFOLPDWHUHODWHGULVNVWRRXUEXVLQHVVZHFRQGXFWERWKTXDOLWDWLYHDQGTXDQWLWDWLYHULVN
DVVHVVPHQWV:HFRQGXFWHGRXUILUVWTXDQWLWDWLYHFOLPDWHULVNDVVHVVPHQWWRGHWHUPLQHWKHOLNHOLKRRGWKDWGLIIHUHQW
SK\VLFDOFOLPDWHULVNVLQFOXGLQJGURXJKWH[WUHPHKHDWDQGH[WUHPHSUHFLSLWDWLRQZRXOGDIIHFW.URJHU¶VRSHUDWLRQVDW
UHSUHVHQWDWLYHIDFLOLWLHVLQGLIIHUHQWJHRJUDSKLHVDQGLQWXUQSRWHQWLDOO\LQFUHDVHRSHUDWLQJFRVWVIRUWKHVHIDFLOLWLHV$VD
UHVXOWRIRXUULVNDVVHVVPHQWVZHGRQRWFXUUHQWO\DQWLFLSDWHWKHPRGHOHGSK\VLFDOULVNVWRDGYHUVHO\DIIHFWRXUILQDQFLDO
FRQGLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZVIRUWKHIRUHVHHDEOHIXWXUH:HSODQWRFRQWLQXHWKHVHTXDOLWDWLYHDQG
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     .URJHUDOVRDFNQRZOHGJHVWKDWFXUUHQWDQGHPHUJLQJFOLPDWHUHODWHGOHJLVODWLRQFRXOGDIIHFWRXUEXVLQHVV$VD
UHVXOWRIIRUWKFRPLQJVWDWHDQGIHGHUDOUHTXLUHPHQWVUHJDUGLQJWKHSKDVHGRZQRIK\GURIOXRURFDUERQ ³+)&´ 
UHIULJHUDQWVZHDQWLFLSDWHVWHDGLO\UHSODFLQJRXUUHIULJHUDQWLQIUDVWUXFWXUHWRUHDFKUHTXLUHGOHYHOVZKLFKFRXOGLQFXU
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     7RKHOSSUHSDUHIRUDQGPDQDJHDYDULHW\RIULVNVFHQDULRVLQFOXGLQJQDWXUDOGLVDVWHUVDQGEXVLQHVVGLVUXSWLRQVWR
RXUVXSSO\FKDLQZHPDLQWDLQPRUHWKDQEXVLQHVVFRQWLQXLW\SODQV:HKDYHLQVWDOOHGWHFKQRORJLHVDQGSURFHVVHVWR
HQVXUHRXUVXSHUPDUNHWVIRRGSURGXFWLRQSODQWVIXOILOOPHQWFHQWHUVDQGVXSSO\FKDLQFDQUHVSRQGTXLFNO\DQGUHPDLQ
RSHUDWLRQDO:HDOVRPRQLWRUHQHUJ\DYDLODELOLW\DQGFRVWVWRKHOSDQWLFLSDWHKRZFKDQJLQJFOLPDWHSDWWHUQVOLNH
LQFUHDVLQJWHPSHUDWXUHVFRXOGDIIHFWRXUHQHUJ\VRXUFLQJFRVWVDQGDFWLYLWLHV2XUWHDPVDOVRPRQLWRUWUDQVLWLRQULVNV
GXHWRFOLPDWHFKDQJHLQFOXGLQJWKHHIIHFWSRVVLEOHQHZOHJLVODWLRQPD\KDYHRQRXUEXVLQHVV
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     )RUPDQ\\HDUV.URJHUKDVLPSOHPHQWHGHPLVVLRQUHGXFWLRQSURMHFWVLQFOXGLQJHQHUJ\HIILFLHQF\LPSURYHPHQWV
UHIULJHUDQWOHDNGHWHFWLRQDQGPLWLJDWLRQPHDVXUHVUHQHZDEOHHQHUJ\LQVWDOODWLRQVDQGSURFXUHPHQWDQGIOHHW
HIILFLHQFLHV,QZHVHWDJRDOWRUHGXFHDEVROXWHJUHHQKRXVHJDV ³*+*´ HPLVVLRQVIURPRXURSHUDWLRQV VFRSH
DQGHPLVVLRQV E\E\DJDLQVWDEDVHOLQH7KHJRDOZDVGHYHORSHGXVLQJFOLPDWHVFLHQFHDQGLVDOLJQHG
ZLWKWKH3DULV$JUHHPHQWVSHFLILFDOO\VXSSRUWLQJDZHOOEHORZ&FOLPDWHVFHQDULRDFFRUGLQJWRWKHDEVROXWH
FRQWUDFWLRQPHWKRG.URJHULVLQWKHSURFHVVRIUHVHWWLQJLWV*+*UHGXFWLRQWDUJHWWRDOLJQZLWKWKHUHTXLUHPHQWVRIWKH
6FLHQFH%DVHG7DUJHWVLQLWLDWLYH7KLVLQFOXGHVUHVHWWLQJRXUFXUUHQW6FRSHDQGHPLVVLRQVJRDOWRVXSSRUWWKH&
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     $GGLWLRQDOGLVFXVVLRQDERXWRXUDSSURDFKWRPDQDJLQJFOLPDWHHIIHFWVLVLQFOXGHGLQRXUDQQXDO(6*5HSRUW7KH
LQIRUPDWLRQLQRXU(6*5HSRUWLVQRWSDUWRIRULQFRUSRUDWHGE\UHIHUHQFHLQWRWKLV$QQXDO5HSRUWRQ)RUP.
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VHWVIRUWKWKHWHUPVRIRXUSURSRVHGWUDQVDFWLRQ7KHSURSRVHGWUDQVDFWLRQZLWK$OEHUWVRQVHQWDLOVLPSRUWDQWULVNV
LQFOXGLQJDPRQJRWKHUVWKHH[SHFWHGWLPLQJDQGOLNHOLKRRGRIFRPSOHWLRQRIWKHSURSRVHGWUDQVDFWLRQLQFOXGLQJWKH
WLPLQJUHFHLSWDQGWHUPVDQGFRQGLWLRQVRIDQ\UHTXLUHGJRYHUQPHQWDODQGUHJXODWRU\FOHDUDQFHRIWKHSURSRVHG
WUDQVDFWLRQWKHHIIHFWDQGWHUPVDQGFRQGLWLRQVRIDQ\SRWHQWLDOGLYHVWLWXUHVLQFOXGLQJWKRVHWKDWPD\EHLPSRVHGE\
UHJXODWRUVDVDFRQGLWLRQWRWKHDSSURYDORIWKHSURSRVHGWUDQVDFWLRQDQGRUWKHVHSDUDWLRQRI6SLQ&R DVGHVFULEHGLQWKH
PHUJHUDJUHHPHQW WKHRFFXUUHQFHRIDQ\HYHQWFKDQJHRURWKHUFLUFXPVWDQFHVWKDWFRXOGJLYHULVHWRWKHWHUPLQDWLRQRI
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DJDLQVWWKHSDUWLHVDQGRWKHUVIROORZLQJDQQRXQFHPHQWRIWKHPHUJHUDJUHHPHQWDQGSURSRVHGWUDQVDFWLRQWKHLQDELOLW\WR
FRQVXPPDWHWKHSURSRVHGWUDQVDFWLRQGXHWRWKHIDLOXUHWRVDWLVI\RWKHUFRQGLWLRQVWRFRPSOHWHWKHSURSRVHGWUDQVDFWLRQ
ULVNVWKDWWKHSURSRVHGWUDQVDFWLRQGLVUXSWVRXUFXUUHQWSODQVDQGRSHUDWLRQVWKHDELOLW\WRLGHQWLI\DQGUHFRJQL]H
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LQFOXGLQJZLWKDVVRFLDWHVVXSSOLHUVDQGFRPSHWLWRUVRXUDELOLW\WRPDLQWDLQDQLQYHVWPHQWJUDGHFUHGLWUDWLQJWKHULVN
WKDWPDQDJHPHQW¶VDWWHQWLRQLVGLYHUWHGIURPRWKHUPDWWHUVULVNVUHODWHGWRWKHSRWHQWLDOHIIHFWRIJHQHUDOHFRQRPLF
SROLWLFDODQGPDUNHWIDFWRUVLQFOXGLQJFKDQJHVLQWKHILQDQFLDOPDUNHWVDVDUHVXOWRILQIODWLRQRUPHDVXUHVLPSOHPHQWHG
WRDGGUHVVLQIODWLRQDQGDQ\HSLGHPLFSDQGHPLFRUGLVHDVHRXWEUHDNVRQ.URJHU$OEHUWVRQVRUWKHSURSRVHG
WUDQVDFWLRQWKHULVNRIDGYHUVHHIIHFWVRQWKHPDUNHWSULFHRIRXURU$OEHUWVRQV¶VVHFXULWLHVRURQ$OEHUWVRQV¶VRUWKH
&RPSDQ\¶VRSHUDWLQJUHVXOWVIRUDQ\UHDVRQWKHRFFXUUHQFHRIDQ\HYHQWFKDQJHRURWKHUFLUFXPVWDQFHVWKDWFRXOGJLYH
ULVHWRWKHWHUPLQDWLRQRIWKHPHUJHUDJUHHPHQWDQGRWKHUULVNVGHVFULEHGLQRXUILOLQJVZLWKWKH6(&
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DPRQJRWKHUWKLQJVRSHUDWLQJHIILFLHQFLHVSURFXUHPHQWVDYLQJVLQQRYDWLRQDQGVKDULQJRIEHVWSUDFWLFHVWKDWPD\DOORZ
IRUIXWXUHJURZWK$FKLHYLQJWKHDQWLFLSDWHGRUGHVLUHGEHQHILWVPD\EHVXEMHFWWRDQXPEHURIVLJQLILFDQWFKDOOHQJHV
DQGXQFHUWDLQWLHVLQFOXGLQJZLWKRXWOLPLWDWLRQZKHWKHUXQLTXHFRUSRUDWHFXOWXUHVZLOOZRUNFROODERUDWLYHO\LQDQ
HIILFLHQWDQGHIIHFWLYHPDQQHUWKHFRRUGLQDWLRQRIJHRJUDSKLFDOO\VHSDUDWHRUJDQL]DWLRQVWKHSRVVLELOLW\RILPSUHFLVH
DVVXPSWLRQVXQGHUO\LQJH[SHFWDWLRQVUHJDUGLQJSRWHQWLDOV\QHUJLHVFDSLWDOUHTXLUHPHQWVDQGWKHLQWHJUDWLRQSURFHVV
XQIRUHVHHQH[SHQVHVDQGGHOD\VDQGFRPSHWLWLYHIDFWRUVLQWKHPDUNHWSODFH:HFRXOGDOVRHQFRXQWHUXQIRUHVHHQ
WUDQVDFWLRQDQGLQWHJUDWLRQUHODWHGFRVWVRURWKHUFLUFXPVWDQFHVVXFKDVXQIRUHVHHQOLDELOLWLHVRURWKHULVVXHV0DQ\RI
WKHVHSRWHQWLDOFLUFXPVWDQFHVDUHRXWVLGHRIRXUFRQWURODQGDQ\RIWKHPFRXOGUHVXOWLQLQFUHDVHGFRVWVGHFUHDVHG
UHYHQXHGHFUHDVHGV\QHUJLHVDQGWKHGLYHUVLRQRIPDQDJHPHQWWLPHDQGDWWHQWLRQ,IZHDUHXQDEOHWRDFKLHYHRXU
REMHFWLYHVZLWKLQWKHDQWLFLSDWHGWLPHIUDPHRUDWDOOWKHH[SHFWHGEHQHILWVPD\QRWEHUHDOL]HGIXOO\RUDWDOORUPD\
WDNHORQJHUWRUHDOL]HWKDQH[SHFWHGZKLFKFRXOGKDYHDQDGYHUVHHIIHFWRQRXUEXVLQHVVILQDQFLDOFRQGLWLRQUHVXOWVRI
RSHUDWLRQVRUFDVKIORZV
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     7KHRSHUDWLQJHQYLURQPHQWIRUWKHIRRGUHWDLOLQJLQGXVWU\FRQWLQXHVWREHFKDUDFWHUL]HGE\WKHIUDJPHQWDWLRQRI
ORFDOUHJLRQDODQGQDWLRQDOUHWDLOHUVLQFOXGLQJERWKUHWDLODQGGLJLWDOIRUPDWVLQWHQVHFRPSHWLWLRQDQGHQWU\RIQRQ
WUDGLWLRQDOFRPSHWLWRUV&XVWRPHUEHKDYLRUVKLIWHGTXLFNO\DQGFRQVLGHUDEO\GXULQJWKHSDQGHPLFLQFOXGLQJDVKLIWIURP
IRRGDZD\IURPKRPHWRIRRGDWKRPH:HVHHWKUHHPDMRUWUHQGVVKDSLQJWKHLQGXVWU\HFRPPHUFHFRRNLQJDWKRPH
DQGSUHSDUHGIRRGVWRJR,IZHGRQRWDSSURSULDWHO\RUDFFXUDWHO\DQWLFLSDWHFXVWRPHUSUHIHUHQFHVRUIDLOWRTXLFNO\
DGDSWWRWKHVHFKDQJLQJSUHIHUHQFHVRULIWUHQGVVKLIWPRUHTXLFNO\WRIRRGDZD\IURPKRPHRXUVDOHVDQGSURILWDELOLW\
FRXOGEHDGYHUVHO\DIIHFWHG,IZHIDLOWRPHHWWKHHYROYLQJQHHGVRIRXUFXVWRPHUVRXUDELOLW\WRFRPSHWHDQGRXU
ILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZVFRXOGEHDGYHUVHO\DIIHFWHG
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3HUVRQDOL]DWLRQ)UHVKDQGOur Brands(DFKRIWKHVHDUHVWUDWHJLHVGHVLJQHGWREHWWHUVHUYHRXUFXVWRPHUVDQGWR
JHQHUDWHFXVWRPHUOR\DOW\DQGVXVWDLQDEOHJURZWKPRPHQWXP:HEHOLHYHRXUSODQVWRFRQWLQXHWRLPSURYHWKHVHIRXU
VWUDWHJLFSLOODUVZLOOHQDEOHXVWRPHHWWKHZLGHUDQJLQJQHHGVDQGH[SHFWDWLRQVRIRXUFXVWRPHUV,IZHDUHXQDEOHWR
FRQWLQXHWRHQKDQFHWKHIRUHJRLQJNH\HOHPHQWVRIRXUFRQQHFWLRQZLWKFXVWRPHUVRUWKH\IDLOWRVWUHQJWKHQFXVWRPHU
OR\DOW\RXUDELOLW\WRFRPSHWHDQGRXUILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZVFRXOGEHDGYHUVHO\
DIIHFWHG2XUHFRV\VWHPPRQHWL]HVWKHWUDIILFDQGGDWDLQVLJKWVJHQHUDWHGE\RXUUHWDLOVXSHUPDUNHWEXVLQHVVWRFUHDWH
IDVWJURZLQJDVVHWOLJKWDQGPDUJLQULFKUHYHQXHVWUHDPV:HPD\EHXQVXFFHVVIXOLQLPSOHPHQWLQJRXUDOWHUQDWLYH
SURILWVWUDWHJ\ZKLFKFRXOGDGYHUVHO\DIIHFWRXUEXVLQHVVJURZWKDQGRXUILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVRU
FDVKIORZV7KHQDWXUHDQGH[WHQWWRZKLFKRXUFRPSHWLWRUVUHVSRQGWRWKHHYROYLQJDQGFRPSHWLWLYHLQGXVWU\E\
GHYHORSLQJDQGLPSOHPHQWLQJWKHLUFRPSHWLWLYHVWUDWHJLHVFRXOGDGYHUVHO\DIIHFWRXUSURILWDELOLW\
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     ,QDGGLWLRQHYROYLQJFXVWRPHUSUHIHUHQFHVDQGWKHDGYDQFHPHQWRIRQOLQHGHOLYHU\VKLSWRKRPHDQGPRELOH
FKDQQHOVLQRXULQGXVWU\LQFUHDVHWKHFRPSHWLWLYHHQYLURQPHQW:HPXVWDQWLFLSDWHDQGPHHWWKHVHHYROYLQJFXVWRPHU
SUHIHUHQFHVDQGFRQWLQXHWRLPSOHPHQWWHFKQRORJ\VRIWZDUHDQGSURFHVVHVWREHDEOHWRFRQYHQLHQWO\DQGFRVW
HIIHFWLYHO\IXOILOOFXVWRPHURUGHUV3URYLGLQJIOH[LEOHIXOILOOPHQWRSWLRQVDQGLPSOHPHQWLQJQHZWHFKQRORJ\LVFRPSOH[
DQGPD\QRWPHHWFXVWRPHUSUHIHUHQFHV,IZHDUHQRWVXFFHVVIXOLQUHGXFLQJRURIIVHWWLQJWKHFRVWRIIXOILOOLQJRUGHUV
RXWVLGHRIRXUWUDGLWLRQDOLQVWRUHFKDQQHOZLWKHIILFLHQFLHVFRVWVDYLQJVH[SHQVHUHGXFWLRQVRUDOWHUQDWLYHUHYHQXHVRXU
ILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZVFRXOGEHDGYHUVHO\DIIHFWHG
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EXVLQHVVILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZVFRXOGEHDGYHUVHO\DIIHFWHG'LJLWDOUHWDLOLQJLVUDSLGO\
HYROYLQJDQGZHPXVWNHHSSDFHZLWKQHZGHYHORSPHQWVE\RXUFRPSHWLWRUVDVZHOODVWKHHYROYLQJQHHGVDQG
SUHIHUHQFHVRIRXUFXVWRPHUV2XUGLJLWDOEXVLQHVVDFFHOHUDWHGVLJQLILFDQWO\GXULQJWKH&29,'SDQGHPLF:HPXVW
FRPSHWHE\RIIHULQJDFRQYHQLHQWVKRSSLQJH[SHULHQFHIRURXUFXVWRPHUVUHJDUGOHVVRIKRZWKH\FKRRVHWRVKRSZLWKXV
DQGE\LQYHVWLQJLQSURYLGLQJDQGPDLQWDLQLQJUHOHYDQWFXVWRPHUIDFLQJDSSVDQGLQWHUIDFHVWKDWKDYHWKHIHDWXUHV
FXVWRPHUVZDQWWKDWDUHDOVRUHOLDEOHDQGHDV\WRXVH7KHIXWXUHVXFFHVVRIWKHGLJLWDOEXVLQHVVZLOODOVRGHSHQGRQWKH
HIILFLHQF\DQGFRVWHIIHFWLYHQHVVRIIXOILOOLQJRUGHUVDFURVVRXUPRGDOLWLHVZKHWKHULQVWRUHLQSLFNXSRQO\ORFDWLRQVRU
WKURXJKFXVWRPHUIXOILOOPHQWFHQWHUVSRZHUHGE\2FDGR
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     &XVWRPHUVFRXQWRQ.URJHUWRSURYLGHWKHPZLWKVDIHIRRGDQGGUXJVDQGRWKHUPHUFKDQGLVH&RQFHUQVUHJDUGLQJ
WKHVDIHW\RIWKHSURGXFWVWKDWZHVHOOFRXOGFDXVHVKRSSHUVWRDYRLGSXUFKDVLQJFHUWDLQSURGXFWVIURPXVRUWRVHHN
DOWHUQDWLYHVRXUFHVRIVXSSO\HYHQLIWKHEDVLVIRUWKHFRQFHUQLVRXWVLGHRIRXUFRQWURO$Q\ORVWFRQILGHQFHRQWKHSDUW
RIRXUFXVWRPHUVZRXOGEHGLIILFXOWDQGFRVWO\WRUHHVWDEOLVK:HFRXOGEHDGYHUVHO\DIIHFWHGE\SHUVRQDOLQMXU\RU
SURGXFWOLDELOLW\FODLPVSURGXFWUHFDOOVRURWKHUKHDOWKDQGVDIHW\LVVXHVZKLFKRFFXUIURPWLPHWRWLPH,IZHVHOO
SURGXFWVWKDWFDXVHLOOQHVVRULQMXU\WRFXVWRPHUVUHVXOWLQJIURPSURGXFWFRQWDPLQDWLRQRUVSRLODJHWKHSUHVHQFHRI
FHUWDLQVXEVWDQFHVRUGDPDJHFDXVHGLQKDQGOLQJVWRUDJHRUWUDQVSRUWDWLRQZHFRXOGEHH[SRVHGWRFODLPVRUOLWLJDWLRQ
$Q\LVVXHUHJDUGLQJWKHVDIHW\RILWHPVZKHWKHUOur BrandsLWHPVPDQXIDFWXUHGE\WKH&RPSDQ\RUIRUWKH&RPSDQ\
RU&3*SURGXFWVZHVHOOUHJDUGOHVVRIWKHFDXVHFRXOGKDYHDVXEVWDQWLDODQGDGYHUVHHIIHFWRQRXUUHSXWDWLRQILQDQFLDO
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     $PDMRULW\RIRXUDVVRFLDWHVDUHFRYHUHGE\FROOHFWLYHEDUJDLQLQJDJUHHPHQWVZLWKXQLRQVDQGRXUUHODWLRQVKLSZLWK
WKRVHXQLRQVLQFOXGLQJDSURORQJHGZRUNVWRSSDJHDIIHFWLQJDVXEVWDQWLDOQXPEHURIORFDWLRQVFRXOGKDYHDPDWHULDO
DGYHUVHHIIHFWRQRXUILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZV:HDUHDSDUW\WRDSSUR[LPDWHO\
FROOHFWLYHEDUJDLQLQJDJUHHPHQWV8SRQWKHH[SLUDWLRQRIRXUFROOHFWLYHEDUJDLQLQJDJUHHPHQWVZRUNVWRSSDJHVE\WKH
DIIHFWHGZRUNHUVFRXOGRFFXU DQGKDYHRFFXUUHGLQWKHSDVW LIZHDUHXQDEOHWRQHJRWLDWHQHZFRQWUDFWVZLWKODERU
XQLRQV,QDGGLWLRQFKDQJHVWRQDWLRQDOODERUSROLF\FRXOGDIIHFWODERUUHODWLRQVZLWKRXUDVVRFLDWHVDQGUHODWLRQVKLSV
ZLWKXQLRQV)XUWKHULIZHDUHXQDEOHWRFRQWUROKHDOWKFDUHSHQVLRQDQGZDJHFRVWVRULIZHKDYHLQVXIILFLHQW
RSHUDWLRQDOIOH[LELOLW\XQGHURXUFROOHFWLYHEDUJDLQLQJDJUHHPHQWVZHPD\H[SHULHQFHLQFUHDVHGRSHUDWLQJFRVWVDQGDQ
DGYHUVHHIIHFWRQRXUILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZV
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)RRGDQG&RPPHUFLDO:RUNHUV ³8)&:´ DQGRWKHUODERUXQLRQVUHSUHVHQWLQJDVVRFLDWHV2XUDELOLW\WRFRQWUROODERU
DQGEHQHILWFRVWVLVVXEMHFWWRQXPHURXVLQWHUQDODQGH[WHUQDOIDFWRUVLQFOXGLQJUHJXODWRU\FKDQJHVZDJHUDWHVDQG
KHDOWKFDUHDQGRWKHULQVXUDQFHFRVWV&KDQJHVWRZDJHUHJXODWLRQVLQFOXGLQJIXUWKHULQFUHDVHVLQWKHPLQLPXPZDJHDQG
H[WUDSD\RUGLQDQFHVHQDFWHGE\ORFDOJRYHUQPHQWVFRXOGKDYHDQLPSDFWRQRXUIXWXUHILQDQFLDOFRQGLWLRQUHVXOWVRI
RSHUDWLRQVRUFDVKIORZV2XUDELOLW\WRPHHWRXUODERUQHHGVZKLOHFRQWUROOLQJZDJHVDQGRWKHUFRVWVLVVXEMHFWWR
QXPHURXVH[WHUQDOIDFWRUVLQFOXGLQJWKHDYDLODEOHTXDOLILHGZRUNIRUFHLQHDFKDUHDZKHUHZHDUHORFDWHGXQHPSOR\PHQW
OHYHOVZLWKLQWKRVHDUHDVZDJHUDWHVDQGFKDQJHVLQHPSOR\PHQWDQGODERUODZV
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     2XUFRQWLQXHGVXFFHVVGHSHQGVRQWKHRQJRLQJFRQWULEXWLRQVRIRXUDVVRFLDWHVLQFOXGLQJPHPEHUVRIRXUVHQLRU
PDQDJHPHQWDQGRWKHUNH\SHUVRQQHO:HPXVWUHFUXLWKLUHGHYHORSDQGUHWDLQTXDOLILHGDVVRFLDWHVZLWKDQLQFUHDVLQJO\
ODUJHUDQJHRIVNLOOVWRPHHWWKHQHHGVRIRXUHYROYLQJDQGFRPSOH[EXVLQHVV:HFRPSHWHZLWKRWKHUUHWDLODQGQRQ
UHWDLOEXVLQHVVHVIRUWKHVHDVVRFLDWHVDQGLQYHVWVLJQLILFDQWUHVRXUFHVLQWUDLQLQJDQGPRWLYDWLQJWKHP&RPSHWLWLRQ
DPRQJSRWHQWLDOHPSOR\HUVKDVUHVXOWHGDQGPD\LQWKHIXWXUHUHVXOWLQLQFUHDVHGDVVRFLDWHFRVWVDQGKDVIURPWLPHWR
WLPHDIIHFWHGRXUDELOLW\WRUHFUXLWDQGUHWDLQDVVRFLDWHV7KHUHLVQRDVVXUDQFHWKDWZHZLOOEHDEOHWRDWWUDFWRUUHWDLQ
VXIILFLHQWKLJKO\TXDOLILHGDVVRFLDWHVLQWKHIXWXUHZKLFKFRXOGKDYHDPDWHULDODGYHUVHHIIHFWRQRXUEXVLQHVVILQDQFLDO
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     2XUEXVLQHVVLVLQFUHDVLQJO\GHSHQGHQWRQLQIRUPDWLRQWHFKQRORJ\V\VWHPVWKDWDUHFRPSOH[DQGYLWDOWRFRQWLQXLQJ
RSHUDWLRQVUHVXOWLQJLQDQH[SDQVLRQRIRXUWHFKQRORJLFDOSUHVHQFHDQGFRUUHVSRQGLQJULVNH[SRVXUH,IZHZHUHWR
H[SHULHQFHGLIILFXOWLHVPDLQWDLQLQJRURSHUDWLQJH[LVWLQJV\VWHPVRULPSOHPHQWLQJQHZV\VWHPVZHFRXOGLQFXU
VLJQLILFDQWORVVHVGXHWRGLVUXSWLRQVLQRXURSHUDWLRQV$VZHPRGHUQL]HOHJDF\V\VWHPVLIZHDUHXQDEOHWRVXFFHVVIXOO\
LPSOHPHQWWKRVHV\VWHPVLQDFRRUGLQDWHGPDQQHUDFURVVLQWHUQDODQGH[WHUQDOVWDNHKROGHUVZHFRXOGEHVXEMHFWWR
EXVLQHVVLQWHUUXSWLRQRUUHSXWDWLRQULVNZLWKRXUFXVWRPHUVVXSSOLHUVRUDVVRFLDWHV
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     7KURXJKRXUVDOHVDQGPDUNHWLQJDFWLYLWLHVZHFROOHFWDQGVWRUHVRPHSHUVRQDOLQIRUPDWLRQWKDWRXUFXVWRPHUV
SURYLGHWRXV:HDOVRJDWKHUDQGUHWDLQLQIRUPDWLRQDERXWRXUDVVRFLDWHVLQWKHQRUPDOFRXUVHRIEXVLQHVV8QGHUFHUWDLQ
FLUFXPVWDQFHVZHPD\VKDUHLQIRUPDWLRQZLWKYHQGRUVWKDWDVVLVWXVLQFRQGXFWLQJRXUEXVLQHVVDVUHTXLUHGE\ODZRU
RWKHUZLVHLQDFFRUGDQFHZLWKRXUSULYDF\SROLF\
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     2XUWHFKQRORJ\V\VWHPVKDYHEHHQDQGPD\EHLQWKHIXWXUHGLVUXSWHGIURPFLUFXPVWDQFHVEH\RQGRXUFRQWURODV
ZHUHJXODUO\GHIHQGDJDLQVWDQGUHVSRQGWRGDWDVHFXULW\LQFLGHQWV&\EHUDWWDFNHUVKDYHWDUJHWHGDQGDFFHVVHGDQGPD\
LQWKHIXWXUHDJDLQWDUJHWDQGLIVXFFHVVIXODFFHVVLQIRUPDWLRQVWRUHGLQRXURURXUYHQGRUV¶V\VWHPVLQRUGHUWR
PLVDSSURSULDWHFRQILGHQWLDOFXVWRPHURUEXVLQHVVLQIRUPDWLRQ'XHWRWKHRQJRLQJZDUEHWZHHQ5XVVLDDQG8NUDLQH
WKHUHLVDQLQFUHDVHGSRVVLELOLW\RIF\EHUDWWDFNVWKDWFRXOGHLWKHUGLUHFWO\RULQGLUHFWO\DIIHFWRXURSHUDWLRQV$OWKRXJK
ZHKDYHLPSOHPHQWHGSURFHGXUHVWRSURWHFWRXULQIRUPDWLRQDQGUHTXLUHRXUYHQGRUVWRGRWKHVDPHZHFDQQRWEH
FHUWDLQWKDWRXUVHFXULW\V\VWHPVZLOOVXFFHVVIXOO\GHIHQGDJDLQVWRUEHDEOHWRHIIHFWLYHO\UHVSRQGWRUDSLGO\HYROYLQJ
LQFUHDVLQJO\VRSKLVWLFDWHGF\EHUDWWDFNVDVWKH\EHFRPHPRUHGLIILFXOWWRGHWHFWDQGGHIHQGDJDLQVW)XUWKHUD.URJHU
DVVRFLDWHDFRQWUDFWRURURWKHUWKLUGSDUW\ZLWKZKRPZHGREXVLQHVVPD\LQWKHIXWXUHFLUFXPYHQWRXUVHFXULW\
PHDVXUHVLQRUGHUWRREWDLQLQIRUPDWLRQRUPD\LQDGYHUWHQWO\FDXVHDEUHDFKLQYROYLQJLQIRUPDWLRQ,QDGGLWLRQ
KDUGZDUHVRIWZDUHRUDSSOLFDWLRQVZHPD\XVHPD\KDYHLQKHUHQWGHIHFWVYXOQHUDELOLWLHVRUFRXOGEHLQDGYHUWHQWO\RU
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HYDOXDWHDQGVHOHFWYHQGRUVZLWKUHDVRQDEOHLQIRUPDWLRQVHFXULW\FRQWUROVPD\QRWHIIHFWLYHO\LQVXODWHXVIURPSRWHQWLDO
DWWDFNVGDWDEUHDFKHVRUGLVUXSWLRQVWRRXUEXVLQHVVRSHUDWLRQVZKLFKFRXOGUHVXOWLQDORVVRIFXVWRPHUVRUEXVLQHVV
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UHJXODWRU\DXWKRULWLHVSD\PHQWFDUGDVVRFLDWLRQVDVVRFLDWHVDQGRWKHUSHUVRQV$Q\VXFKHYHQWVFRXOGKDYHDQDGYHUVH
HIIHFWRQRXUEXVLQHVVILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZVDQGPD\QRWEHFRYHUHGE\RXULQVXUDQFH
,QDGGLWLRQFRPSOLDQFHZLWKSULYDF\DQGLQIRUPDWLRQVHFXULW\ODZVDQGVWDQGDUGVPD\UHVXOWLQVLJQLILFDQWH[SHQVHGXH
WRLQFUHDVHGLQYHVWPHQWLQWHFKQRORJ\DQGWKHGHYHORSPHQWRIQHZRSHUDWLRQDOSURFHVVHVDQGPD\UHTXLUHXVWRGHYRWH
VLJQLILFDQWPDQDJHPHQWUHVRXUFHVWRDGGUHVVWKHVHLVVXHV7KHFRVWVRIDWWHPSWLQJWRSURWHFWDJDLQVWWKHIRUHJRLQJULVNV
DQGWKHFRVWVRIUHVSRQGLQJWRF\EHUDWWDFNVDUHVLJQLILFDQW)ROORZLQJDF\EHUDWWDFNRXUDQGRURXUYHQGRUV¶
UHPHGLDWLRQHIIRUWVPD\QRWEHVXFFHVVIXODQGDF\EHUDWWDFNFRXOGUHVXOWLQLQWHUUXSWLRQVGHOD\VRUFHVVDWLRQRIVHUYLFH
DQGORVVRIH[LVWLQJRUSRWHQWLDOFXVWRPHUV,QDGGLWLRQEUHDFKHVRIRXUDQGRURXUYHQGRUV¶VHFXULW\PHDVXUHVDQGWKH
XQDXWKRUL]HGGLVVHPLQDWLRQRIVHQVLWLYHSHUVRQDOLQIRUPDWLRQRUFRQILGHQWLDOLQIRUPDWLRQDERXWXVRURXUFXVWRPHUV
FRXOGH[SRVHRXUFXVWRPHUV¶SULYDWHLQIRUPDWLRQDQGRXUFXVWRPHUVWRWKHULVNRIILQDQFLDORUPHGLFDOLGHQWLW\WKHIWRU
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HQIRUFHPHQWDFWLRQVPDWHULDOILQHVDQGSHQDOWLHVORVVRIFXVWRPHUVDQGEXVLQHVVUHODWLRQVKLSVOLWLJDWLRQRURWKHUDFWLRQV
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DWWDFNWKHIWGDPDJHORVVRUXQDXWKRUL]HGGLVFORVXUHRUDFFHVVZKHWKHUDVDUHVXOWRIRXUDFWLRQRULQDFWLRQ LQFOXGLQJ
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OLWLJDWLRQ LQFOXGLQJFODVVDFWLRQOLWLJDWLRQ JRYHUQPHQWDOLQYHVWLJDWLRQVDQGHQIRUFHPHQWSURFHHGLQJVPDWHULDOILQHV
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IORZV/DUJHVFDOHGDWDEUHDFKHVDWRWKHUHQWLWLHVLQFOXGLQJVXSSO\FKDLQVHFXULW\YXOQHUDELOLWLHVLQFUHDVHWKHFKDOOHQJH
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.URJHU3D\DPRELOHSD\PHQWVROXWLRQ$VZHRIIHUQHZSD\PHQWRSWLRQVWRRXUFXVWRPHUVZHPD\EHVXEMHFWWR
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FHUWLILFDWLRQUHTXLUHPHQWVDQGUXOHVJRYHUQLQJHOHFWURQLFIXQGVWUDQVIHUV)RUH[DPSOHZHDUHVXEMHFWWR3D\PHQW&DUG
,QGXVWU\'DWD6HFXULW\6WDQGDUGV ³3&,'66´ ZKLFKFRQWDLQFRPSOLDQFHJXLGHOLQHVDQGVWDQGDUGVZLWKUHJDUGWRRXU
VHFXULW\VXUURXQGLQJWKHSK\VLFDODQGHOHFWURQLFVWRUDJHSURFHVVLQJDQGWUDQVPLVVLRQRILQGLYLGXDOFDUGKROGHUGDWD,I
RXUSD\PHQWFDUGWHUPLQDOVRULQWHUQDOV\VWHPVDUHEUHDFKHGRUFRPSURPLVHGZHPD\EHOLDEOHIRUFDUGUHLVVXDQFH
FRVWVDQGRWKHUFRVWVVXEMHFWWRILQHVDQGKLJKHUWUDQVDFWLRQIHHVDQGORVHRXUDELOLW\WRDFFHSWFDUGSD\PHQWVIURPRXU
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DFTXLVLWLRQVRURWKHUSXUSRVHVDQGFRXOGPDNHXVYXOQHUDEOHWRIXWXUHHFRQRPLFGRZQWXUQVDVZHOODVFRPSHWLWLYH
SUHVVXUHV,IGHEWPDUNHWVGRQRWSHUPLWXVWRUHILQDQFHFHUWDLQPDWXULQJGHEWZHPD\EHUHTXLUHGWRGHGLFDWHD
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LVVXHVSHUVRQDOLQMXU\FRQWUDFWGLVSXWHVUHJXODWRU\FODLPVDQGRWKHUSURFHHGLQJV2WKHUOHJDOSURFHHGLQJVSXUSRUWWREH
EURXJKWDVFODVVDFWLRQVRQEHKDOIRIVLPLODUO\VLWXDWHGSDUWLHV6RPHRIWKHVHSURFHHGLQJVFRXOGUHVXOWLQDVXEVWDQWLDO
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DXWRPRELOHDQGJHQHUDOOLDELOLW\SURSHUW\GLUHFWRUDQGRIILFHUV¶OLDELOLW\F\EHUULVNH[SRVXUHDQGDVVRFLDWHKHDOWKFDUH
EHQHILWV$Q\DFWXDULDOSURMHFWLRQRIORVVHVLVVXEMHFWWRDKLJKGHJUHHRIYDULDELOLW\:LWKUHVSHFWWRLQVXUHGPDWWHUVZH
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&KDQJHVLQOHJDOFODLPVWUHQGVDQGLQWHUSUHWDWLRQVYDULDELOLW\LQLQIODWLRQUDWHVFKDQJHVLQWKHQDWXUHDQGPHWKRGRI
FODLPVVHWWOHPHQWEHQHILWOHYHOFKDQJHVGXHWRFKDQJHVLQDSSOLFDEOHODZVLQVROYHQF\RILQVXUDQFHFDUULHUVDQGFKDQJHV
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FRYHUHGE\WKRVHDJUHHPHQWV:HEHOLHYHWKHSUHVHQWYDOXHRIDFWXDULDOO\DFFUXHGOLDELOLWLHVLQPRVWRIWKHVHPXOWL
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HPLVVLRQVRQWKHHQYLURQPHQWDVZHOODVUHWDLOSULFHLQFUHDVHV:HDUHXQDEOHWRSUHGLFWIXWXUHUHJXODWLRQV
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IXHODQGKRZRXUFXVWRPHUVZLOOUHDFWWRVXFKIDFWRUVZKLFKFRXOGDGYHUVHO\DIIHFWRXUILQDQFLDOFRQGLWLRQUHVXOWVRI
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IDFWRUVWKDWLPSDFWFRQVXPHUFRQILGHQFHDQGVSHQGLQJLQFOXGLQJGLVFUHWLRQDU\VSHQGLQJ)XWXUHHFRQRPLFFRQGLWLRQV
DIIHFWLQJGLVSRVDEOHFRQVXPHULQFRPHVXFKDVHPSOR\PHQWOHYHOVEXVLQHVVFRQGLWLRQVRYHUDOOHFRQRPLFVORZGRZQRU
UHFHVVLRQFKDQJHVLQKRXVLQJPDUNHWFRQGLWLRQVFKDQJHVLQJRYHUQPHQWEHQHILWVVXFKDV61$3(%7RUFKLOGFDUH
FUHGLWVWKHDYDLODELOLW\RIFUHGLWLQWHUHVWUDWHVLQIODWLRQRUGHIODWLRQWD[UDWHVDQGRWKHUPDWWHUVFRXOGUHGXFHFRQVXPHU
VSHQGLQJ,QIODWLRQFRXOGPDWHULDOO\DIIHFWRXURSHUDWLQJUHVXOWVWKURXJKLQFUHDVHVWRRXUFRVWRIJRRGVVXSSO\FKDLQ
FRVWVDQGODERUFRVWV,QDGGLWLRQWKHHFRQRPLFIDFWRUVOLVWHGDERYHRUDQ\RWKHUHFRQRPLFIDFWRUVRUFLUFXPVWDQFHV
UHVXOWLQJLQKLJKHUWUDQVSRUWDWLRQODERULQVXUDQFHRUKHDOWKFDUHFRVWVRUFRPPRGLW\SULFHVDQGRWKHUHFRQRPLFIDFWRUV
FDQLQFUHDVHRXUPHUFKDQGLVHFRVWVDQGRSHUDWLQJJHQHUDODQGDGPLQLVWUDWLYHH[SHQVHVDQGRWKHUZLVHDGYHUVHO\DIIHFW
RXUILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZV,QFUHDVHGIXHOSULFHVDOVRKDYHDQHIIHFWRQFRQVXPHU
VSHQGLQJDQGRQRXUFRVWVRISURGXFLQJDQGSURFXULQJSURGXFWVWKDWZHVHOO$GHWHULRUDWLRQLQRYHUDOOHFRQRPLF
FRQGLWLRQVLQFOXGLQJWKHXQFHUWDLQW\FDXVHGE\LQIODWLRQUDWHYRODWLOLW\FRXOGDGYHUVHO\DIIHFWRXUEXVLQHVVLQPDQ\
ZD\VLQFOXGLQJVORZLQJVDOHVJURZWKUHGXFLQJRYHUDOOVDOHVDQGUHGXFLQJJURVVPDUJLQV:HUHJXODUO\PDLQWDLQFDVK
EDODQFHVDWWKLUGSDUW\ILQDQFLDOLQVWLWXWLRQVLQH[FHVVRIWKH)HGHUDO'HSRVLW,QVXUDQFH&RUSRUDWLRQ ³)',&´ LQVXUDQFH
OLPLWDQGDUHWKHUHIRUHUHOLDQWRQEDQNVDQGRWKHUILQDQFLDOLQVWLWXWLRQVWRVDIHJXDUGDQGDOORZUHDG\DFFHVVWRWKHVH
DVVHWV,IEDQNVRUILQDQFLDOLQVWLWXWLRQVHQWHUUHFHLYHUVKLSRUEHFRPHLQVROYHQWLQWKHIXWXUHLQUHVSRQVHWRILQDQFLDO
FRQGLWLRQVDIIHFWLQJWKHEDQNLQJV\VWHPDQGILQDQFLDOPDUNHWVRXUDELOLW\WRDFFHVVRXUH[LVWLQJFDVKFDVKHTXLYDOHQWV
DQGLQYHVWPHQWVPD\EHWKUHDWHQHG:HDUHXQDEOHWRSUHGLFWKRZWKHJOREDOHFRQRP\DQGILQDQFLDOPDUNHWVZLOO
SHUIRUP,IWKHJOREDOHFRQRP\DQGILQDQFLDOPDUNHWVGRQRWSHUIRUPDVZHH[SHFWLWFRXOGDGYHUVHO\DIIHFWRXU
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UHJXODWLRQVLQYROYLQJDQWLWUXVWDQGFRPSHWLWLRQSULYDF\GDWDSURWHFWLRQHQYLURQPHQWDOKHDOWKFDUHDQWLEULEHU\DQWL
FRUUXSWLRQWD[DFFRXQWLQJDQGILQDQFLDOUHSRUWLQJRURWKHUPDWWHUV7KHVHDQGRWKHUUDSLGO\FKDQJLQJODZVUHJXODWLRQV
SROLFLHVDQGUHODWHGLQWHUSUHWDWLRQVDVZHOODVLQFUHDVHGHQIRUFHPHQWDFWLRQVE\YDULRXVJRYHUQPHQWDODQGUHJXODWRU\
DJHQFLHVFUHDWHFKDOOHQJHVIRUWKH&RPSDQ\PD\DOWHUWKHHQYLURQPHQWLQZKLFKZHGREXVLQHVVDQGPD\LQFUHDVHWKH
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,IZHDUHXQDEOHWRFRQWLQXHWRPHHWWKHVHFKDOOHQJHVDQGFRPSO\ZLWKDOOODZVUHJXODWLRQVSROLFLHVDQGUHODWHG
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LQFOXGLQJH[SDQGLQJYROXQWDU\UHSRUWLQJGLOLJHQFHDQGGLVFORVXUHRQWRSLFVVXFKDVFOLPDWHFKDQJHZDVWHSURGXFWLRQ
ZDWHUXVDJHKXPDQFDSLWDOODERUDQGULVNRYHUVLJKWFRXOGH[SDQGWKHQDWXUHVFRSHDQGFRPSOH[LW\RIPDWWHUVWKDWZH
DUHUHTXLUHGWRFRQWURODVVHVVDQGUHSRUWDQGFRXOGQHJDWLYHO\DIIHFWWKH&RPSDQ\¶VUHSXWDWLRQ
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VWDQGDUGVIRRGODEHOLQJDQGVDIHW\HTXDOHPSOR\PHQWRSSRUWXQLW\PLQLPXPZDJHVDQGOLFHQVLQJIRUWKHVDOHRIIRRG
GUXJVDQGDOFRKROLFEHYHUDJHV:HFDQQRWSUHGLFWIXWXUHODZVUHJXODWLRQVLQWHUSUHWDWLRQVDGPLQLVWUDWLYHRUGHUVRU
DSSOLFDWLRQVRUWKHHIIHFWWKH\ZLOOKDYHRQRXURSHUDWLRQV7KH\FRXOGKRZHYHUVLJQLILFDQWO\LQFUHDVHWKHFRVWRIGRLQJ
EXVLQHVV7KH\DOVRFRXOGUHTXLUHWKHUHIRUPXODWLRQRIVRPHRIWKHSURGXFWVWKDWZHVHOO RUPDQXIDFWXUHIRUVDOHWRWKLUG
SDUWLHV WRPHHWQHZVWDQGDUGV:HDOVRFRXOGEHUHTXLUHGWRUHFDOORUGLVFRQWLQXHWKHVDOHRISURGXFWVWKDWFDQQRWEH
UHIRUPXODWHG7KHVHFKDQJHVFRXOGUHVXOWLQDGGLWLRQDOUHFRUGNHHSLQJH[SDQGHGGRFXPHQWDWLRQRIWKHSURSHUWLHVRI
FHUWDLQSURGXFWVH[SDQGHGRUGLIIHUHQWODEHOLQJRUVFLHQWLILFVXEVWDQWLDWLRQ$Q\RUDOORIWKHVHUHTXLUHPHQWVFRXOGKDYH
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DUHVXVFHSWLEOHWRKXUULFDQHVWRUQDGRHVIORRGVGURXJKWVLFHDQGVQRZVWRUPVDQGHDUWKTXDNHV:HDWKHUFRQGLWLRQVDQG
QDWXUDOGLVDVWHUVKDYHDQGPD\DJDLQLQWKHIXWXUHGLVUXSWRXURSHUDWLRQVDWRQHRUPRUHRIRXUIDFLOLWLHVLQWHUUXSWWKH
GHOLYHU\RISURGXFWVWRRXUVWRUHVVXEVWDQWLDOO\LQFUHDVHWKHFRVWRISURGXFWVLQFOXGLQJVXSSOLHVDQGPDWHULDOVDQG
VXEVWDQWLDOO\LQFUHDVHWKHFRVWRIHQHUJ\QHHGHGWRRSHUDWHRXUIDFLOLWLHVRUGHOLYHUSURGXFWVWRRXUIDFLOLWLHV0RUHRYHU
WKHHIIHFWVRIFOLPDWHFKDQJHLQFOXGLQJWKRVHDVVRFLDWHGZLWKH[WUHPHZHDWKHUHYHQWVPD\DIIHFWRXUDELOLW\WRSURFXUH
QHHGHGFRPPRGLWLHVDWFRVWVDQGLQTXDQWLWLHVWKDWDUHRSWLPDOIRUXVRUDWDOO$GYHUVHZHDWKHUQDWXUDOGLVDVWHUV
JHRSROLWLFDODQGFDWDVWURSKLFHYHQWVVXFKDVZDUFLYLOXQUHVWDFWVRIWHUURULVPRURWKHUDFWVRIYLROHQFHLQFOXGLQJDFWLYH
VKRRWHUVLWXDWLRQV ZKLFKKDYHRFFXUUHGLQWKHSDVWDWRXUORFDWLRQV RUSDQGHPLFVVXFKDVWKHVSUHDGRI&29,'RU
RWKHUIXWXUHSDQGHPLFVDQGRWKHUPDWWHUVWKDWFRXOGUHGXFHFRQVXPHUVSHQGLQJFRXOGPDWHULDOO\DIIHFWRXUILQDQFLDO
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     7KHORQJWHUPHIIHFWVRIJOREDOFOLPDWHFKDQJHSUHVHQWERWKSK\VLFDOULVNVVXFKDVH[WUHPHZHDWKHUFRQGLWLRQVRU
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XQSUHGLFWDEOH7KHVHFKDQJHVFRXOGRYHUWLPHDIIHFWIRUH[DPSOHWKHDYDLODELOLW\DQGFRVWRISURGXFWVFRPPRGLWLHVDQG
HQHUJ\LQFOXGLQJXWLOLWLHVZKLFKLQWXUQPD\LPSDFWRXUDELOLW\WRSURFXUHJRRGVRUVHUYLFHVUHTXLUHGIRUWKHRSHUDWLRQRI
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GDPDJHWRVWRUHVGLVWULEXWLRQRUIXOILOOPHQWFHQWHUVORVVRUVSRLODJHRILQYHQWRU\DQGEXVLQHVVLQWHUUXSWLRQFDXVHGE\
VXFKHYHQWV:HDOVRXVHQDWXUDOJDVGLHVHOIXHOJDVROLQHDQGHOHFWULFLW\LQRXURSHUDWLRQVDOORIZKLFKFRXOGIDFH
LQFUHDVHGUHJXODWLRQDQGFRVWLQFUHDVHVDVDUHVXOWRIFOLPDWHFKDQJHRURWKHUHQYLURQPHQWDOFRQFHUQV7UDQVLWLRQLQJWR
DOWHUQDWLYHHQHUJ\VRXUFHVVXFKDVUHQHZDEOHHOHFWULFLW\RUHOHFWULFYHKLFOHVDQGLQYHVWPHQWVLQQHZWHFKQRORJLHVFRXOG
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ORVVRULPSDLUPHQWRINH\PDQXIDFWXULQJVLWHVDFWVRIZDURUWHUURULVPGLVUXSWLYHJOREDOSROLWLFDOHYHQWVVXFKDVWKH
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6WDWHV:HJHQHUDOO\RZQVWRUHHTXLSPHQWIL[WXUHVDQGOHDVHKROGLPSURYHPHQWVDVZHOODVSURFHVVLQJDQGIRRG
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SURSHUW\/HDVHVZLWKDQLQLWLDOWHUPRIPRQWKVRUOHVVDUHQRWUHFRUGHGRQWKHEDODQFHVKHHW&HUWDLQOHDVHVLQFOXGH
HVFDODWLRQFODXVHVRUSD\PHQWRIH[HFXWRU\FRVWVVXFKDVSURSHUW\WD[HVXWLOLWLHVRULQVXUDQFHDQGPDLQWHQDQFH5HQW
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OHDVHWHUP2XUOHDVHDJUHHPHQWVGRQRWFRQWDLQDQ\PDWHULDOUHVLGXDOYDOXHJXDUDQWHHVRUPDWHULDOUHVWULFWLYHFRYHQDQWV
&HUWDLQSURSHUWLHVRUSRUWLRQVWKHUHRIDUHVXEOHDVHGWRRWKHUVIRUSHULRGVJHQHUDOO\UDQJLQJIURPRQHWR\HDUV)RU
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      • *URZLQJLGHQWLFDOVDOHVZLWKRXWIXHO2XUSODQLQYROYHVPD[LPL]LQJJURZWKRSSRUWXQLWLHVLQRXUVXSHUPDUNHW
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          HFRV\VWHPWRHQVXUHZHGHOLYHUDIXOOIULHQGO\DQGIUHVKH[SHULHQFHIRUHYHU\FXVWRPHUHYHU\WLPH$VPRUH
          DQGPRUHFXVWRPHUVLQFRUSRUDWHHFRPPHUFHLQWRWKHLUSHUPDQHQWURXWLQHVZHH[SHFWGLJLWDOVDOHVWRJURZDWD
          GRXEOHGLJLWUDWH±DIDVWHUSDFHWKDQRWKHUIRRGDWKRPHVDOHV±RYHUWLPHDQG
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      • ([SDQGLQJRSHUDWLQJPDUJLQWKURXJKDEDODQFHGPRGHOZKHUHVWUDWHJLFSULFHLQYHVWPHQWVIRURXUFXVWRPHUV
          LQYHVWPHQWVLQRXUDVVRFLDWHV¶ZDJHVDQGEHQHILWVDQGLQYHVWPHQWVLQWHFKQRORJ\WRGHOLYHUDEHWWHUDVVRFLDWH
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      :HH[SHFWRXUYDOXHFUHDWLRQPRGHOZLOOUHVXOWLQWRWDOVKDUHKROGHUUHWXUQZLWKLQRXUWDUJHWUDQJHRIWRRYHU
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    Shareholder Return

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    Other Financial Results
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      • ,GHQWLFDOVDOHVH[FOXGLQJIXHOLQFUHDVHGZKLFKLQFOXGHGLGHQWLFDOVDOHVJURZWKLQOur Brands FDWHJRULHV
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          VDOHVIURPRXUWHUPLQDWLRQRIRXUDJUHHPHQWZLWK([SUHVV6FULSWVHIIHFWLYH'HFHPEHU7KLV
          WHUPLQDWHGDJUHHPHQWKDGQRPDWHULDOHIIHFWRQSURILWDELOLW\
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      • 'LJLWDOVDOHVLQFUHDVHGZKLFKZDVOHGE\VWUHQJWKLQRXU'HOLYHU\VROXWLRQVZKLFKJUHZE\'HOLYHU\
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          'LJLWDOVDOHVLQFOXGHSURGXFWVRUGHUHGRQOLQHDQGSLFNHGXSDWRXUVWRUHVDQGRXU'HOLYHU\DQG6KLSVROXWLRQV
          2XU'HOLYHU\VROXWLRQVLQFOXGHRUGHUVGHOLYHUHGWRFXVWRPHUVIURPUHWDLOVWRUHORFDWLRQVFXVWRPHUIXOILOOPHQW
          FHQWHUVSRZHUHGE\2FDGRDQGRUGHUVSODFHGWKURXJKWKLUGSDUW\SODWIRUPV2XU6KLSVROXWLRQVSULPDULO\
          LQFOXGHRQOLQHRUGHUVSODFHGWKURXJKRXURZQHGSODWIRUPVWKDWDUHGLVSDWFKHGXVLQJPDLOVHUYLFHRUWKLUGSDUW\
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      • :HDUHFXUUHQWO\RSHUDWLQJLQDPRUHYRODWLOHLQIODWLRQDU\HQYLURQPHQWDQGZHH[SHULHQFHGKLJKHUSURGXFWFRVW
          LQIODWLRQGXULQJFRPSDUHGWR2XU/,)2FKDUJHIRUZDVPLOOLRQFRPSDUHGWR
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         FRQQHFWLRQZLWKWKHPHUJHUDJUHHPHQWZHHQWHUHGLQWRDFRPPLWPHQWOHWWHUIRUDEULGJHWHUPORDQIDFLOLW\DQG
         H[HFXWHGDWHUPORDQFUHGLWDJUHHPHQW'XULQJWKHWKLUGTXDUWHURIZHSDXVHGRXUVKDUHUHSXUFKDVH
         SURJUDPWRSULRULWL]HGHOHYHUDJLQJIROORZLQJWKHSURSRVHGPHUJHUZLWK$OEHUWVRQV)RUDGGLWLRQDOLQIRUPDWLRQ
         DERXWWKHSURSRVHGPHUJHUZLWK$OEHUWVRQVVHH1RWHWRWKH&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV
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         DXWRPDWHGVPDUWSODWIRUP²RQHLQ'DOODV7H[DVRQHLQ3OHDVDQW3UDLULH:LVFRQVLQRQHLQ5RPXOXV
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         VHWWOHPHQWRIDOORSLRLGOLWLJDWLRQFODLPVZLWKWKH6WDWHRI1HZ0H[LFR7KLVDPRXQWZDVH[FOXGHGIURPRXU
         DGMXVWHG),)2RSHUDWLQJSURILWDQGDGMXVWHGQHWHDUQLQJVUHVXOWVWRUHIOHFWWKHXQLTXHDQGQRQUHFXUULQJQDWXUH
         RIWKHFKDUJH7KLVVHWWOHPHQWLVQRWDQDGPLVVLRQRIZURQJGRLQJRUOLDELOLW\E\.URJHUDQGZHZLOOFRQWLQXHWR
         YLJRURXVO\GHIHQGDJDLQVWRWKHUFODLPVDQGODZVXLWVUHODWLQJWRRSLRLGV7KLVVHWWOHPHQWLVEDVHGRQDVHWRI
         XQLTXHDQGVSHFLILFIDFWVUHODWLQJWR1HZ0H[LFRDQGZHGRQRWEHOLHYHWKDWWKHVHWWOHPHQWDPRXQWRUDQ\RWKHU
         WHUPVRIRXUDJUHHPHQWZLWK1HZ0H[LFRFDQRUVKRXOGEHH[WUDSRODWHGWRDQ\RWKHURSLRLGUHODWHGFDVHV
         SHQGLQJDJDLQVWXV,WLVRXUYLHZWKDWWKLVVHWWOHPHQWLVQRWDUHOLDEOHSUR[\IRUWKHRXWFRPHRIDQ\RWKHUFDVHV
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         PLOOLRQ7KHWDOHQWDQGFDSDELOLWLHVJDLQHGWKURXJKWKHPHUJHUZLWK9LWDFRVWLQKDYHEHHQNH\WR
         DGYDQFLQJ.URJHU¶VGLJLWDOSODWIRUPDQGJURZLQJRXUGLJLWDOEXVLQHVVWRPRUHWKDQELOOLRQLQDQQXDOVDOHV
         $VRXUGLJLWDOVWUDWHJ\KDVHYROYHGRXUSULPDU\IRFXVORRNLQJIRUZDUGZLOOEHWRHIIHFWLYHO\XWLOL]HRXU3LFNXS
         DQG'HOLYHU\FDSDELOLWLHVDQGWKLVUHSULRULWL]DWLRQUHVXOWHGLQWKHLPSDLUPHQWFKDUJH9LWDFRVWFRPZLOOFRQWLQXH
         WRRSHUDWHDVDQRQOLQHSODWIRUPSURYLGLQJJUHDWYDOXHQDWXUDORUJDQLFDQGHFRIULHQGO\SURGXFWVIRUFXVWRPHUV
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EXLOWRQWKHIRXQGDWLRQRIRXUIRRGUHWDLOEXVLQHVVZKLFKLQFOXGHVWKHDGGHGFRQYHQLHQFHRIRXUUHWDLOSKDUPDFLHVDQG
IXHOFHQWHUV2XUVWUDWHJ\LVIRFXVHGRQJURZLQJFXVWRPHUOR\DOW\E\GHOLYHULQJJUHDWYDOXHDQGFRQYHQLHQFHDQG
LQYHVWLQJLQIRXUVWUDWHJLFSLOODUV)UHVKOur Brands'DWD 3HUVRQDOL]DWLRQDQG6HDPOHVV
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     :HDOVRXWLOL]HWKHGDWDDQGWUDIILFJHQHUDWHGE\RXUUHWDLOEXVLQHVVWRGHOLYHULQFUHPHQWDOYDOXHDQGVHUYLFHVIRURXU
FXVWRPHUVWKDWJHQHUDWHVDOWHUQDWLYHSURILWVWUHDPV7KHVHDOWHUQDWLYHSURILWVWUHDPVZRXOGQRWH[LVWZLWKRXWRXUFRUH
UHWDLOEXVLQHVV
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     2XUUHYHQXHVDUHSUHGRPLQDWHO\HDUQHGDQGFDVKLVJHQHUDWHGDVFRQVXPHUSURGXFWVDUHVROGWRFXVWRPHUVLQRXU
VWRUHVIXHOFHQWHUVDQGYLDRXURQOLQHSODWIRUPV:HHDUQLQFRPHSUHGRPLQDWHO\E\VHOOLQJSURGXFWVDWSULFHOHYHOVWKDW
SURGXFHUHYHQXHVLQH[FHVVRIWKHFRVWVZHLQFXUWRPDNHWKHVHSURGXFWVDYDLODEOHWRRXUFXVWRPHUV6XFKFRVWVLQFOXGH
SURFXUHPHQWDQGGLVWULEXWLRQFRVWVIDFLOLW\RFFXSDQF\DQGRSHUDWLRQDOFRVWVDQGRYHUKHDGH[SHQVHV2XUUHWDLO
RSHUDWLRQVZKLFKUHSUHVHQWRIRXUFRQVROLGDWHGVDOHVLVRXURQO\UHSRUWDEOHVHJPHQW
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     .URJHULVGLYHUVLILHGDFURVVEUDQGVSURGXFWFDWHJRULHVFKDQQHOVRIGLVWULEXWLRQJHRJUDSKLHVDQGFRQVXPHU
GHPRJUDSKLFV2XUFRPELQDWLRQRIDVVHWVLQFOXGHWKHIROORZLQJ
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     $VRI-DQXDU\.URJHURSHUDWHVVXSHUPDUNHWVXQGHUDYDULHW\RIORFDOEDQQHUQDPHVLQVWDWHVDQGWKH
'LVWULFWRI&ROXPELD$VRI-DQXDU\.URJHURSHUDWHGHLWKHUGLUHFWO\RUWKURXJKLWVVXEVLGLDULHV
VXSHUPDUNHWVRIZKLFKKDGSKDUPDFLHVDQGKDGIXHOFHQWHUV:HFRQQHFWZLWKFXVWRPHUVWKURXJKRXU
H[SDQGLQJVHDPOHVVHFRV\VWHPDQGWKHFRQVLVWHQWGHOLYHU\RIDIXOOIUHVKDQGIULHQGO\FXVWRPHUH[SHULHQFH)XHOVDOHV
DUHDQLPSRUWDQWSDUWRIRXUUHYHQXHQHWHDUQLQJVDQGOR\DOW\RIIHULQJ2XUIXHOVWUDWHJ\LVWRLQFOXGHDIXHOFHQWHUDW
HDFKRIRXUVXSHUPDUNHWORFDWLRQVZKHQLWLVIHDVLEOHDQGLWLVH[SHFWHGWREHSURILWDEOH
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    Seamless Digital Ecosystem
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     :HRIIHUDFRQYHQLHQWVKRSSLQJH[SHULHQFHIRURXUFXVWRPHUVUHJDUGOHVVRIKRZWKH\FKRRVHWRVKRSZLWKXV
LQFOXGLQJ3LFNXS'HOLYHU\DQG6KLS:HRIIHU3LFNXSDQG+DUULV7HHWHU([SUHVV/DQH²SHUVRQDOL]HGRUGHURQOLQH
SLFNXSDWWKHVWRUHVHUYLFHV²DWRIRXUVXSHUPDUNHWVDQGSURYLGH'HOLYHU\ZKLFKDOORZVXVWRRIIHUGLJLWDO
VROXWLRQVWRVXEVWDQWLDOO\DOORIRXUFXVWRPHUV2XU'HOLYHU\VROXWLRQVLQFOXGHRUGHUVGHOLYHUHGWRFXVWRPHUVIURPUHWDLO
VWRUHORFDWLRQVDQGFXVWRPHUIXOILOOPHQWFHQWHUVSRZHUHGE\2FDGR7KHVHFKDQQHOVDOORZXVWRVHUYHFXVWRPHUV
DQ\WKLQJDQ\WLPHDQGDQ\ZKHUHZLWK]HURFRPSURPLVHRQVHOHFWLRQFRQYHQLHQFHDQGSULFH:HDOVRSURYLGHUHOHYDQW
FXVWRPHUIDFLQJDSSVDQGLQWHUIDFHVWKDWKDYHWKHIHDWXUHVFXVWRPHUVZDQWWKDWDUHDOVRUHOLDEOHHDV\WRXVHDQGGHOLYHUD
VHDPOHVVFXVWRPHUH[SHULHQFHDFURVVRXUVWRUHDQGGLJLWDOFKDQQHOV
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  Merchandising and Manufacturing
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     Our BrandsSURGXFWVSOD\DQLPSRUWDQWUROHLQRXUPHUFKDQGLVLQJVWUDWHJ\DQGUHSUHVHQWHGRYHUELOOLRQRIRXU
VDOHVLQ:HRSHUDWHIRRGSURGXFWLRQSODQWVSULPDULO\EDNHULHVDQGGDLULHVZKLFKVXSSO\DSSUR[LPDWHO\
RIOur BrandsXQLWVDQGRIWKHJURFHU\FDWHJRU\Our BrandsXQLWVVROGLQRXUVXSHUPDUNHWVWKHUHPDLQLQJOur
BrandsLWHPVDUHSURGXFHGWRRXUVWULFWVSHFLILFDWLRQVE\RXWVLGHPDQXIDFWXUHUV
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    Our Data
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      :HDUHHYROYLQJIURPDWUDGLWLRQDOIRRGUHWDLOHULQWRDPRUHGLYHUVHIRRGILUVWEXVLQHVV7KHWUDIILFDQGGDWD
JHQHUDWHGE\RXUUHWDLOVXSHUPDUNHWEXVLQHVVLQFOXGLQJSKDUPDFLHVDQGIXHOFHQWHUVLVHQDEOLQJWKLVWUDQVIRUPDWLRQ
.URJHUVHUYHVDSSUR[LPDWHO\PLOOLRQKRXVHKROGVDQQXDOO\DQGEHFDXVHRIRXUUHZDUGVSURJUDPRYHURI
FXVWRPHUWUDQVDFWLRQVDUHWHWKHUHGWRD.URJHUOR\DOW\FDUG2XU\HDUVRILQYHVWPHQWLQGDWDVFLHQFHFDSDELOLWLHVLV
DOORZLQJXVWRXWLOL]HWKLVGDWDWRFUHDWHSHUVRQDOL]HGH[SHULHQFHVDQGYDOXHIRURXUFXVWRPHUVDQGLVDOVRHQDEOLQJRXU
IDVWJURZLQJKLJKRSHUDWLQJPDUJLQDOWHUQDWLYHSURILWEXVLQHVVHVLQFOXGLQJGDWDDQDO\WLFVHUYLFHVDQGWKLUGSDUW\PHGLD
UHYHQXH2XUUHWDLOPHGLDEXVLQHVV±.URJHU3UHFLVLRQ0DUNHWLQJ±SURYLGHVEHVWLQFODVVPHGLDFDSDELOLWLHVIRURXU
FRQVXPHUSDFNDJHGJRRGVSDUWQHUVDQGLVDNH\GULYHURIRXUGLJLWDOSURILWDELOLW\DQGDOWHUQDWLYHSURILW
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    Proposed Merger with Albertsons
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      $VSUHYLRXVO\GLVFORVHGRQ2FWREHUZHHQWHUHGLQWRDPHUJHUDJUHHPHQWZLWK$OEHUWVRQV7KHSURSRVHG
PHUJHULVH[SHFWHGWRDFFHOHUDWHRXUJRWRPDUNHWVWUDWHJ\WKDWLQFOXGHV)UHVKOur Brands3HUVRQDOL]DWLRQDQG
6HDPOHVVDQGFRQWLQXHRXUWUDFNUHFRUGRILQYHVWPHQWVDFURVVORZHULQJSULFHVHQKDQFLQJWKHFXVWRPHUH[SHULHQFHDQG
LQFUHDVLQJDVVRFLDWHZDJHVDQGEHQHILWV)RUDGGLWLRQDOLQIRUPDWLRQDERXWWKHSURSRVHGPHUJHUZLWK$OEHUWVRQVVHH
1RWHWRWKH&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV
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      7KHDFFRPSDQ\LQJ&RQVROLGDWHG)LQDQFLDO6WDWHPHQWVLQFOXGLQJWKHUHODWHGQRWHVDUHSUHVHQWHGLQDFFRUGDQFHZLWK
JHQHUDOO\DFFHSWHGDFFRXQWLQJSULQFLSOHV ³*$$3´ :HSURYLGHQRQ*$$3PHDVXUHVLQFOXGLQJ)LUVW,Q)LUVW2XW
  ³),)2´ JURVVPDUJLQ),)2RSHUDWLQJSURILWDGMXVWHG),)2RSHUDWLQJSURILWDGMXVWHGQHWHDUQLQJVDQGDGMXVWHGQHW
HDUQLQJVSHUGLOXWHGVKDUHEHFDXVHPDQDJHPHQWEHOLHYHVWKHVHPHWULFVDUHXVHIXOWRLQYHVWRUVDQGDQDO\VWV7KHVHQRQ
*$$3ILQDQFLDOPHDVXUHVVKRXOGQRWEHFRQVLGHUHGDVDQDOWHUQDWLYHWRJURVVPDUJLQRSHUDWLQJSURILWQHWHDUQLQJVDQG
QHWHDUQLQJVSHUGLOXWHGVKDUHRUDQ\RWKHU*$$3PHDVXUHRISHUIRUPDQFH7KHVHPHDVXUHVVKRXOGQRWEHUHYLHZHGLQ
LVRODWLRQRUFRQVLGHUHGDVDVXEVWLWXWHIRURXUILQDQFLDOUHVXOWVDVUHSRUWHGLQDFFRUGDQFHZLWK*$$3
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      :HFDOFXODWH),)2JURVVPDUJLQDV),)2JURVVSURILWGLYLGHGE\VDOHV),)2JURVVSURILWLVFDOFXODWHGDVVDOHVOHVV
PHUFKDQGLVHFRVWVLQFOXGLQJDGYHUWLVLQJZDUHKRXVLQJDQGWUDQVSRUWDWLRQH[SHQVHVEXWH[FOXGLQJWKH/DVW,Q)LUVW2XW
  ³/,)2´ FKDUJH0HUFKDQGLVHFRVWVH[FOXGHGHSUHFLDWLRQDQGUHQWH[SHQVHV),)2JURVVPDUJLQLVDQLPSRUWDQWPHDVXUH
XVHGE\PDQDJHPHQWDQGPDQDJHPHQWEHOLHYHV),)2JURVVPDUJLQLVDXVHIXOPHWULFWRLQYHVWRUVDQGDQDO\VWVEHFDXVHLW
PHDVXUHVWKHPHUFKDQGLVLQJDQGRSHUDWLRQDOHIIHFWLYHQHVVRIRXUJRWRPDUNHWVWUDWHJ\
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      :HFDOFXODWH),)2RSHUDWLQJSURILWDVRSHUDWLQJSURILWH[FOXGLQJWKH/,)2FKDUJH),)2RSHUDWLQJSURILWLVDQ
LPSRUWDQWPHDVXUHXVHGE\PDQDJHPHQWDQGPDQDJHPHQWEHOLHYHV),)2RSHUDWLQJSURILWLVDXVHIXOPHWULFWRLQYHVWRUV
DQGDQDO\VWVEHFDXVHLWPHDVXUHVWKHRSHUDWLRQDOHIIHFWLYHQHVVRIRXUILQDQFLDOPRGHO
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     7KHDGMXVWHGQHWHDUQLQJVDGMXVWHGQHWHDUQLQJVSHUGLOXWHGVKDUHDQGDGMXVWHG),)2RSHUDWLQJSURILWPHWULFVDUH
LPSRUWDQWPHDVXUHVXVHGE\PDQDJHPHQWWRFRPSDUHWKHSHUIRUPDQFHRIFRUHRSHUDWLQJUHVXOWVEHWZHHQSHULRGV:H
EHOLHYHDGMXVWHGQHWHDUQLQJVDGMXVWHGQHWHDUQLQJVSHUGLOXWHGVKDUHDQGDGMXVWHG),)2RSHUDWLQJSURILWDUHXVHIXO
PHWULFVWRLQYHVWRUVDQGDQDO\VWVEHFDXVHWKH\SUHVHQWPRUHDFFXUDWH\HDURYHU\HDUFRPSDULVRQVRIRXUQHWHDUQLQJVQHW
HDUQLQJVSHUGLOXWHGVKDUHDQG),)2RSHUDWLQJSURILWEHFDXVHDGMXVWHGLWHPVDUHQRWWKHUHVXOWRIRXUQRUPDORSHUDWLRQV
1HWHDUQLQJVIRULQFOXGHWKHIROORZLQJZKLFKZHGHILQHDVWKH³$GMXVWHG,WHPV´
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     • &KDUJHVWRRSHUDWLQJJHQHUDODQGDGPLQLVWUDWLYHH[SHQVHV ³2* $´ RIPLOOLRQPLOOLRQQHWRIWD[IRU
          REOLJDWLRQVUHODWHGWRZLWKGUDZDOOLDELOLWLHVIRUFHUWDLQPXOWLHPSOR\HUSHQVLRQIXQGVPLOOLRQPLOOLRQ
          QHWRIWD[IRUWKHUHYDOXDWLRQRI+RPH&KHIFRQWLQJHQWFRQVLGHUDWLRQPLOOLRQPLOOLRQQHWRIWD[IRU
          PHUJHUUHODWHGFRVWVPLOOLRQPLOOLRQQHWRIWD[IRUOHJDOVHWWOHPHQWFRVWVDQGPLOOLRQIRU
          JRRGZLOODQGIL[HGDVVHWLPSDLUPHQWFKDUJHVUHODWHGWR9LWDFRVWFRP WKH³2* $$GMXVWHG,WHPV´ 
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     • /RVVHVLQRWKHULQFRPH H[SHQVH RIPLOOLRQPLOOLRQQHWRIWD[IRUWKHXQUHDOL]HGORVVRQ
          LQYHVWPHQWV WKH³2WKHU,QFRPH ([SHQVH $GMXVWHG,WHPV´ 
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     1HWHDUQLQJVIRULQFOXGHWKHIROORZLQJZKLFKZHGHILQHDVWKH³$GMXVWHG,WHPV´
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     • &KDUJHVWR2* $RIPLOOLRQPLOOLRQQHWRIWD[IRUREOLJDWLRQVUHODWHGWRZLWKGUDZDOOLDELOLWLHVIRUD
          FHUWDLQPXOWLHPSOR\HUSHQVLRQIXQGPLOOLRQPLOOLRQQHWRIWD[IRUWKHUHYDOXDWLRQRI+RPH&KHI
          FRQWLQJHQWFRQVLGHUDWLRQDQGPLOOLRQPLOOLRQQHWRIWD[IRUWUDQVIRUPDWLRQFRVWV WKH³2* $
          $GMXVWHG,WHPV´ 
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     • /RVVHVLQRWKHULQFRPH H[SHQVH RIPLOOLRQPLOOLRQQHWRIWD[UHODWHGWRFRPSDQ\VSRQVRUHGSHQVLRQ
          SODQVHWWOHPHQWVDQGPLOOLRQPLOOLRQQHWRIWD[IRUWKHXQUHDOL]HGORVVRQLQYHVWPHQWV WKH³
          2WKHU,QFRPH ([SHQVH $GMXVWHG,WHPV´ 
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     • $UHGXFWLRQWRLQFRPHWD[H[SHQVHRIPLOOLRQSULPDULO\GXHWRWKHFRPSOHWLRQRILQFRPHWD[DXGLW
          H[DPLQDWLRQVFRYHULQJPXOWLSOH\HDUV
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     1HWHDUQLQJVIRULQFOXGHWKHIROORZLQJZKLFKZHGHILQHDVWKH³$GMXVWHG,WHPV´
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     • &KDUJHVWR2* $RIPLOOLRQPLOOLRQQHWRIWD[IRUFRPPLWPHQWVWRFHUWDLQPXOWLHPSOR\HUSHQVLRQ
          IXQGVPLOOLRQPLOOLRQQHWRIWD[IRUWKHUHYDOXDWLRQRI+RPH&KHIFRQWLQJHQWFRQVLGHUDWLRQDQG
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     • *DLQVLQRWKHULQFRPH H[SHQVH RIELOOLRQPLOOLRQQHWRIWD[IRUWKHXQUHDOL]HGJDLQRQLQYHVWPHQWV
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     7KHWDEOHEHORZSURYLGHVDUHFRQFLOLDWLRQRIQHWHDUQLQJVDWWULEXWDEOHWR7KH.URJHU&RWRDGMXVWHGQHWHDUQLQJV
DWWULEXWDEOHWR7KH.URJHU&RDQGDUHFRQFLOLDWLRQRIQHWHDUQLQJVDWWULEXWDEOHWR7KH.URJHU&RSHUGLOXWHGFRPPRQ
VKDUHWRDGMXVWHGQHWHDUQLQJVDWWULEXWDEOHWR7KH.URJHU&RSHUGLOXWHGFRPPRQVKDUHH[FOXGLQJWKHDQG
$GMXVWHG,WHPV
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    Operating, General and Administrative Expenses
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     2* $H[SHQVHVFRQVLVWSULPDULO\RIHPSOR\HHUHODWHGFRVWVVXFKDVZDJHVKHDOWKFDUHEHQHILWFRVWVUHWLUHPHQWSODQ
FRVWVXWLOLWLHVDQGFUHGLWFDUGIHHV5HQWH[SHQVHGHSUHFLDWLRQDQGDPRUWL]DWLRQH[SHQVHDQGLQWHUHVWH[SHQVHDUHQRW
LQFOXGHGLQ2* $
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     2* $H[SHQVHVDVDSHUFHQWDJHRIVDOHVZHUHLQDQGLQ7KHGHFUHDVHLQ
FRPSDUHGWRUHVXOWHGSULPDULO\IURPWKHHIIHFWRIVDOHVOHYHUDJHDFURVVIXHODQGVXSHUPDUNHWVZKLFKGHFUHDVHVRXU
2* $UDWHDVDSHUFHQWDJHRIVDOHVORZHUFRQWULEXWLRQVWRPXOWLHPSOR\HUSHQVLRQSODQVGHFUHDVHGKHDOWKFDUHFRVWV
WKH2* $$GMXVWHG,WHPVDQGEURDGEDVHGLPSURYHPHQWIURPFRVWVDYLQJVLQLWLDWLYHVWKDWGULYHDGPLQLVWUDWLYH
HIILFLHQFLHVVWRUHSURGXFWLYLW\DQGVRXUFLQJFRVWUHGXFWLRQVSDUWLDOO\RIIVHWE\LQYHVWPHQWVLQRXUDVVRFLDWHVFRVWV
UHODWHGWRVWUDWHJLFLQYHVWPHQWVLQYDULRXVPDUJLQH[SDQVLRQLQLWLDWLYHVWKDWZLOOGULYHIXWXUHJURZWKDQGWKH2* $
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     2XUIXHOVDOHVORZHURXU2* $UDWHDVDSHUFHQWDJHRIVDOHVGXHWRWKHYHU\ORZ2* $UDWHDVDSHUFHQWDJHRI
VDOHVRIIXHOVDOHVFRPSDUHGWRQRQIXHOVDOHV([FOXGLQJWKHHIIHFWRIIXHOWKH2* $$GMXVWHG,WHPVDQGWKH
2* $$GMXVWHG,WHPVRXU2* $UDWHGHFUHDVHGEDVLVSRLQWVLQFRPSDUHGWR7KLVGHFUHDVH
UHVXOWHGSULPDULO\IURPWKHHIIHFWRIVXSHUPDUNHWVDOHVOHYHUDJHZKLFKGHFUHDVHVRXU2* $UDWHDVDSHUFHQWDJHRI
VDOHVORZHUFRQWULEXWLRQVWRPXOWLHPSOR\HUSHQVLRQSODQVGHFUHDVHGKHDOWKFDUHFRVWVDQGEURDGEDVHGLPSURYHPHQW
IURPFRVWVDYLQJVLQLWLDWLYHVWKDWGULYHDGPLQLVWUDWLYHHIILFLHQFLHVVWRUHSURGXFWLYLW\DQGVRXUFLQJFRVWUHGXFWLRQV
SDUWLDOO\RIIVHWE\LQYHVWPHQWVLQRXUDVVRFLDWHVDQGFRVWVUHODWHGWRVWUDWHJLFLQYHVWPHQWVLQYDULRXVPDUJLQH[SDQVLRQ
LQLWLDWLYHVWKDWZLOOGULYHIXWXUHJURZWK
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  Rent Expense
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     5HQWH[SHQVHZDVPLOOLRQRURIVDOHVIRUFRPSDUHGWRPLOOLRQRURIVDOHVIRU
5HQWH[SHQVHDVDSHUFHQWDJHRIVDOHVGHFUHDVHGEDVLVSRLQWVLQFRPSDUHGWRSULPDULO\GXHWRVDOHV
OHYHUDJHDQGWKHFRPSOHWLRQRIDSURSHUW\WUDQVDFWLRQGXULQJWKHILUVWTXDUWHURIUHODWHGWRSUHYLRXVO\OHDVHG
SURSHUWLHVWKDWZHDUHQRZDFFRXQWLQJIRUDVRZQHGORFDWLRQVDQGWKHUHIRUHUHFRJQL]LQJGHSUHFLDWLRQDQGDPRUWL]DWLRQ
H[SHQVHRYHUWKHLUXVHIXOOLIH)RUDGGLWLRQDOLQIRUPDWLRQDERXWWKLVWUDQVDFWLRQVHH1RWHWRWKH&RQVROLGDWHG)LQDQFLDO
6WDWHPHQWV
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  Depreciation and Amortization Expense

    'HSUHFLDWLRQDQGDPRUWL]DWLRQH[SHQVHZDVELOOLRQRURIVDOHVIRUFRPSDUHGWRELOOLRQRU
RIVDOHVIRU'HSUHFLDWLRQDQGDPRUWL]DWLRQH[SHQVHDVDSHUFHQWDJHRIVDOHVGHFUHDVHGEDVLVSRLQWVLQ
FRPSDUHGWRSULPDULO\GXHWRVDOHVOHYHUDJH
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  Operating Profit and FIFO Operating Profit

    2SHUDWLQJSURILWZDVELOOLRQRURIVDOHVIRUFRPSDUHGWRELOOLRQRURIVDOHVIRU
2SHUDWLQJSURILWDVDSHUFHQWDJHRIVDOHVLQFUHDVHGEDVLVSRLQWVLQFRPSDUHGWRGXHWRGHFUHDVHG2* $
H[SHQVHDVDSHUFHQWDJHRIVDOHVSDUWLDOO\RIIVHWE\DQLQFUHDVHG/,)2FKDUJHDQGDORZHU),)2JURVVPDUJLQUDWH)XHO
HDUQLQJVDOVRFRQWULEXWHGWRRXURSHUDWLQJSURILWJURZWKIRUFRPSDUHGWR
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    ),)2RSHUDWLQJSURILWZDVELOOLRQRURIVDOHVIRUFRPSDUHGWRELOOLRQRURIVDOHVIRU
),)2RSHUDWLQJSURILWDVDSHUFHQWDJHRIVDOHVH[FOXGLQJWKHDQG$GMXVWHG,WHPVLQFUHDVHGEDVLV
SRLQWVLQFRPSDUHGWRGXHWRGHFUHDVHG2* $H[SHQVHDVDSHUFHQWDJHRIVDOHVSDUWLDOO\RIIVHWE\DORZHU
),)2JURVVPDUJLQUDWH)XHOHDUQLQJVDOVRFRQWULEXWHGWRRXU),)2RSHUDWLQJSURILWJURZWKIRUFRPSDUHGWR
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    6SHFLILFIDFWRUVFRQWULEXWLQJWRWKHWUHQGVGULYLQJRSHUDWLQJSURILWDQG),)2RSHUDWLQJSURILWLGHQWLILHGDERYHDUH
GLVFXVVHGHDUOLHULQWKLVVHFWLRQ
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     :HKDYHFKRVHQDFFRXQWLQJSROLFLHVWKDWZHEHOLHYHDUHDSSURSULDWHWRUHSRUWDFFXUDWHO\DQGIDLUO\RXURSHUDWLQJ
UHVXOWVDQGILQDQFLDOSRVLWLRQDQGZHDSSO\WKRVHDFFRXQWLQJSROLFLHVLQDFRQVLVWHQWPDQQHU2XUVLJQLILFDQWDFFRXQWLQJ
SROLFLHVDUHVXPPDUL]HGLQ1RWHWRWKH&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV
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     7KHSUHSDUDWLRQRIILQDQFLDOVWDWHPHQWVLQFRQIRUPLW\ZLWK*$$3UHTXLUHVXVWRPDNHHVWLPDWHVDQGDVVXPSWLRQV
WKDWDIIHFWWKHUHSRUWHGDPRXQWVRIDVVHWVOLDELOLWLHVUHYHQXHVDQGH[SHQVHVDQGUHODWHGGLVFORVXUHVRIFRQWLQJHQWDVVHWV
DQGOLDELOLWLHV:HEDVHRXUHVWLPDWHVRQKLVWRULFDOH[SHULHQFHDQGRWKHUIDFWRUVZHEHOLHYHWREHUHDVRQDEOHXQGHUWKH
FLUFXPVWDQFHVWKHUHVXOWVRIZKLFKIRUPWKHEDVLVIRUPDNLQJMXGJPHQWVDERXWWKHFDUU\LQJYDOXHVRIDVVHWVDQG
OLDELOLWLHVWKDWDUHQRWUHDGLO\DSSDUHQWIURPRWKHUVRXUFHV$FWXDOUHVXOWVFRXOGGLIIHUIURPWKRVHHVWLPDWHV
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     :HEHOLHYHWKHIROORZLQJDFFRXQWLQJHVWLPDWHVDUHWKHPRVWFULWLFDOLQWKHSUHSDUDWLRQRIRXUILQDQFLDOVWDWHPHQWV
EHFDXVHWKH\LQYROYHWKHPRVWGLIILFXOWVXEMHFWLYHRUFRPSOH[MXGJPHQWVDERXWWKHHIIHFWRIPDWWHUVWKDWDUHLQKHUHQWO\
XQFHUWDLQ
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   Impairments of Long-Lived Assets
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     :HPRQLWRUWKHFDUU\LQJYDOXHRIORQJOLYHGDVVHWVIRUSRWHQWLDOLPSDLUPHQWHDFKTXDUWHUEDVHGRQZKHWKHUFHUWDLQ
WULJJHULQJHYHQWVKDYHRFFXUUHG7KHVHHYHQWVLQFOXGHFXUUHQWSHULRGORVVHVFRPELQHGZLWKDKLVWRU\RIORVVHVRUD
SURMHFWLRQRIFRQWLQXLQJORVVHVRUDVLJQLILFDQWGHFUHDVHLQWKHPDUNHWYDOXHRIDQDVVHW:KHQDWULJJHULQJHYHQWRFFXUV
ZHSHUIRUPDQLPSDLUPHQWFDOFXODWLRQFRPSDULQJSURMHFWHGXQGLVFRXQWHGFDVKIORZVXWLOL]LQJFXUUHQWFDVKIORZ
LQIRUPDWLRQDQGH[SHFWHGJURZWKUDWHVUHODWHGWRVSHFLILFVWRUHVWRWKHFDUU\LQJYDOXHIRUWKRVHVWRUHV,IZHLGHQWLI\
LPSDLUPHQWIRUORQJOLYHGDVVHWVWREHKHOGDQGXVHGZHFRPSDUHWKHDVVHWV¶FXUUHQWFDUU\LQJYDOXHWRWKHDVVHWV¶IDLU
YDOXH)DLUYDOXHLVGHWHUPLQHGEDVHGRQPDUNHWYDOXHVRUGLVFRXQWHGIXWXUHFDVKIORZV:HUHFRUGLPSDLUPHQWZKHQ
WKHFDUU\LQJYDOXHH[FHHGVIDLUPDUNHWYDOXH:LWKUHVSHFWWRRZQHGSURSHUW\DQGHTXLSPHQWKHOGIRUGLVSRVDOZHDGMXVW
WKHYDOXHRIWKHSURSHUW\DQGHTXLSPHQWWRUHIOHFWUHFRYHUDEOHYDOXHVEDVHGRQRXUSUHYLRXVHIIRUWVWRGLVSRVHRIVLPLODU
DVVHWVDQGFXUUHQWHFRQRPLFFRQGLWLRQV:HUHFRJQL]HLPSDLUPHQWIRUWKHH[FHVVRIWKHFDUU\LQJYDOXHRYHUWKH
HVWLPDWHGIDLUPDUNHWYDOXHUHGXFHGE\HVWLPDWHGGLUHFWFRVWVRIGLVSRVDO:HUHFRUGHGDVVHWLPSDLUPHQWVLQWKHQRUPDO
FRXUVHRIEXVLQHVVWRWDOLQJPLOOLRQLQDQGPLOOLRQLQ:HUHFRUGFRVWVWRUHGXFHWKHFDUU\LQJYDOXHRI
ORQJOLYHGDVVHWVLQWKH&RQVROLGDWHG6WDWHPHQWVRI2SHUDWLRQVDV2* $H[SHQVH
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     7KHIDFWRUVWKDWPRVWVLJQLILFDQWO\DIIHFWWKHLPSDLUPHQWFDOFXODWLRQDUHRXUHVWLPDWHVRIIXWXUHFDVKIORZV2XU
FDVKIORZSURMHFWLRQVORRNVHYHUDO\HDUVLQWRWKHIXWXUHDQGLQFOXGHDVVXPSWLRQVRQYDULDEOHVVXFKDVLQIODWLRQWKH
HFRQRP\DQGPDUNHWFRPSHWLWLRQ$SSOLFDWLRQRIDOWHUQDWLYHDVVXPSWLRQVDQGGHILQLWLRQVVXFKDVUHYLHZLQJORQJOLYHG
DVVHWVIRULPSDLUPHQWDWDGLIIHUHQWOHYHOFRXOGSURGXFHVLJQLILFDQWO\GLIIHUHQWUHVXOWV
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   Business Combinations
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     :HDFFRXQWIRUEXVLQHVVFRPELQDWLRQVXVLQJWKHDFTXLVLWLRQPHWKRGRIDFFRXQWLQJ$OOWKHDVVHWVDFTXLUHG
OLDELOLWLHVDVVXPHGDQGDPRXQWVDWWULEXWDEOHWRQRQFRQWUROOLQJLQWHUHVWVDUHUHFRUGHGDWWKHLUUHVSHFWLYHIDLUYDOXHVDWWKH
GDWHRIDFTXLVLWLRQRQFHZHREWDLQFRQWURORIDQHQWLW\7KHGHWHUPLQDWLRQRIIDLUYDOXHVRILGHQWLILDEOHDVVHWVDQG
OLDELOLWLHVLQYROYHVHVWLPDWHVDQGWKHXVHRIYDOXDWLRQWHFKQLTXHVZKHQPDUNHWYDOXHLVQRWUHDGLO\DYDLODEOH:HXVH
YDULRXVWHFKQLTXHVWRGHWHUPLQHIDLUYDOXHLQVXFKLQVWDQFHVLQFOXGLQJWKHLQFRPHDSSURDFK6LJQLILFDQWHVWLPDWHVXVHG
LQGHWHUPLQLQJIDLUYDOXHLQFOXGHEXWDUHQRWOLPLWHGWRWKHDPRXQWDQGWLPLQJRIIXWXUHFDVKIORZVJURZWKUDWHV
GLVFRXQWUDWHVDQGXVHIXOOLYHV7KHH[FHVVRIWKHSXUFKDVHSULFHRYHUIDLUYDOXHVRILGHQWLILDEOHDVVHWVDQGOLDELOLWLHVLV
UHFRUGHGDVJRRGZLOO6HH1RWHIRUIXUWKHULQIRUPDWLRQDERXWJRRGZLOO
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    Goodwill
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     2XUJRRGZLOOWRWDOHGELOOLRQDVRI-DQXDU\:HUHYLHZJRRGZLOOIRULPSDLUPHQWLQWKHIRXUWKTXDUWHU
RIHDFK\HDUDQGDOVRXSRQWKHRFFXUUHQFHRIWULJJHULQJHYHQWV:HSHUIRUPUHYLHZVRIHDFKRIRXURSHUDWLQJGLYLVLRQV
DQGRWKHUFRQVROLGDWHGHQWLWLHV FROOHFWLYHO\³UHSRUWLQJXQLWV´ WKDWKDYHJRRGZLOOEDODQFHV*HQHUDOO\IDLUYDOXHLV
GHWHUPLQHGXVLQJDPXOWLSOHRIHDUQLQJVRUGLVFRXQWHGSURMHFWHGIXWXUHFDVKIORZVDQGZHFRPSDUHIDLUYDOXHWRWKH
FDUU\LQJYDOXHRIDUHSRUWLQJXQLWIRUSXUSRVHVRILGHQWLI\LQJSRWHQWLDOLPSDLUPHQW:HEDVHSURMHFWHGIXWXUHFDVKIORZV
RQPDQDJHPHQW¶VNQRZOHGJHRIWKHFXUUHQWRSHUDWLQJHQYLURQPHQWDQGH[SHFWDWLRQVIRUWKHIXWXUH:HUHFRJQL]H
JRRGZLOOLPSDLUPHQWIRUDQ\H[FHVVRIDUHSRUWLQJXQLW VFDUU\LQJYDOXHRYHULWVIDLUYDOXHQRWWRH[FHHGWKHWRWDODPRXQW
RIJRRGZLOODOORFDWHGWRWKHUHSRUWLQJXQLW
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     ,QZHUHFRUGHGDJRRGZLOOLPSDLUPHQWFKDUJHIRU9LWDFRVWFRPWRWDOLQJPLOOLRQ7KHWDOHQWDQG
FDSDELOLWLHVJDLQHGWKURXJKWKHPHUJHUZLWK9LWDFRVWLQKDYHEHHQNH\WRDGYDQFLQJ.URJHU¶VGLJLWDOSODWIRUPDQG
JURZLQJRXUGLJLWDOEXVLQHVVWRPRUHWKDQELOOLRQLQDQQXDOVDOHV$VRXUGLJLWDOVWUDWHJ\KDVHYROYHGRXUSULPDU\
IRFXVORRNLQJIRUZDUGZLOOEHWRHIIHFWLYHO\XWLOL]HRXU3LFNXSDQG'HOLYHU\FDSDELOLWLHV7KLVUHSULRULWL]DWLRQUHVXOWHGLQ
UHGXFHGORQJWHUPSURILWDELOLW\H[SHFWDWLRQVDQGDGHFOLQHLQWKHPDUNHWYDOXHIRURQHXQGHUO\LQJFKDQQHORIEXVLQHVV
DQGOHGWRWKHLPSDLUPHQWFKDUJH9LWDFRVWFRPZLOOFRQWLQXHWRRSHUDWHDVDQRQOLQHSODWIRUPSURYLGLQJJUHDWYDOXH
QDWXUDORUJDQLFDQGHFRIULHQGO\SURGXFWVIRUFXVWRPHUV
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     7KHDQQXDOHYDOXDWLRQRIJRRGZLOOSHUIRUPHGLQDQGGLGQRWUHVXOWLQLPSDLUPHQWIRUDQ\RIRXU
UHSRUWLQJXQLWVRWKHUWKDQ9LWDFRVWFRPGHVFULEHGDERYH%DVHGRQFXUUHQWDQGIXWXUHH[SHFWHGFDVKIORZVZHEHOLHYH
DGGLWLRQDOJRRGZLOOLPSDLUPHQWVDUHQRWUHDVRQDEO\OLNHO\$UHGXFWLRQLQIDLUYDOXHRIRXUUHSRUWLQJXQLWVZRXOG
QRWLQGLFDWHDSRWHQWLDOIRULPSDLUPHQWRIRXUJRRGZLOOEDODQFH
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     7KHIDLUYDOXHRIRXU.URJHU6SHFLDOW\3KDUPDF\ ³.63´ UHSRUWLQJXQLWZDVHVWLPDWHGXVLQJPXOWLSOH
YDOXDWLRQWHFKQLTXHVDGLVFRXQWHGFDVKIORZPRGHO LQFRPHDSSURDFK DPDUNHWPXOWLSOHPRGHODQGDFRPSDUDEOH
PHUJHUVDQGDFTXLVLWLRQPRGHO PDUNHWDSSURDFKHV ZLWKHDFKPHWKRGZHLJKWHGLQWKHFDOFXODWLRQ7KHLQFRPH
DSSURDFKUHOLHVRQPDQDJHPHQW¶VSURMHFWHGIXWXUHFDVKIORZVHVWLPDWHVRIUHYHQXHJURZWKUDWHVPDUJLQDVVXPSWLRQV
DQGDQDSSURSULDWHGLVFRXQWUDWH7KHPDUNHWDSSURDFKHVUHTXLUHWKHGHWHUPLQDWLRQRIDQDSSURSULDWHSHHUJURXSZKLFKLV
XWLOL]HGWRGHULYHHVWLPDWHGIDLUYDOXHVEDVHGRQVHOHFWHGPDUNHWPXOWLSOHV2XU.63UHSRUWLQJXQLWKDVDJRRGZLOO
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     )RUDGGLWLRQDOLQIRUPDWLRQUHODWLQJWRRXUUHVXOWVRIWKHJRRGZLOOLPSDLUPHQWUHYLHZVSHUIRUPHGGXULQJ
DQGVHH1RWHWRWKH&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV
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     7KHLPSDLUPHQWUHYLHZUHTXLUHVWKHH[WHQVLYHXVHRIPDQDJHPHQWMXGJPHQWDQGILQDQFLDOHVWLPDWHV$SSOLFDWLRQRI
DOWHUQDWLYHHVWLPDWHVDQGDVVXPSWLRQVFRXOGSURGXFHVLJQLILFDQWO\GLIIHUHQWUHVXOWV7KHFDVKIORZSURMHFWLRQVHPEHGGHG
LQRXUJRRGZLOOLPSDLUPHQWUHYLHZVFDQEHDIIHFWHGE\VHYHUDOIDFWRUVVXFKDVLQIODWLRQEXVLQHVVYDOXDWLRQVLQWKH
PDUNHWWKHHFRQRP\PDUNHWFRPSHWLWLRQDQGRXUDELOLW\WRVXFFHVVIXOO\LQWHJUDWHUHFHQWO\DFTXLUHGEXVLQHVVHV
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   Multi-Employer Pension Plans
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     :HFRQWULEXWHWRYDULRXVPXOWLHPSOR\HUSHQVLRQSODQVEDVHGRQREOLJDWLRQVDULVLQJIURPFROOHFWLYHEDUJDLQLQJ
DJUHHPHQWV7KHVHPXOWLHPSOR\HUSHQVLRQSODQVSURYLGHUHWLUHPHQWEHQHILWVWRSDUWLFLSDQWVEDVHGRQWKHLUVHUYLFHWR
FRQWULEXWLQJHPSOR\HUV7KHEHQHILWVDUHSDLGIURPDVVHWVKHOGLQWUXVWIRUWKDWSXUSRVH7UXVWHHVDUHDSSRLQWHGLQHTXDO
QXPEHUE\HPSOR\HUVDQGXQLRQV7KHWUXVWHHVW\SLFDOO\DUHUHVSRQVLEOHIRUGHWHUPLQLQJWKHOHYHORIEHQHILWVWREH
SURYLGHGWRSDUWLFLSDQWVDVZHOODVIRUVXFKPDWWHUVDVWKHLQYHVWPHQWRIWKHDVVHWVDQGWKHDGPLQLVWUDWLRQRIWKHSODQV
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     :HUHFRJQL]HH[SHQVHLQFRQQHFWLRQZLWKWKHVHSODQVDVFRQWULEXWLRQVDUHIXQGHGRUZKHQFRPPLWPHQWVDUH
SUREDEOHDQGUHDVRQDEO\HVWLPDEOHLQDFFRUGDQFHZLWK*$$3:HPDGHFDVKFRQWULEXWLRQVWRWKHVHSODQVRI
PLOOLRQLQELOOLRQLQDQGPLOOLRQLQ7KHGHFUHDVHLQFRPSDUHGWRDQGWKH
LQFUHDVHLQFRPSDUHGWRDUHGXHWRWKHFRQWUDFWXDOSD\PHQWVZHPDGHLQUHODWHGWRRXUFRPPLWPHQWV
HVWDEOLVKHGIRUWKHUHVWUXFWXULQJRIFHUWDLQPXOWLHPSOR\HUSHQVLRQSODQDJUHHPHQWV
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     :HFRQWLQXHWRHYDOXDWHDQGDGGUHVVRXUSRWHQWLDOH[SRVXUHWRXQGHUIXQGHGPXOWLHPSOR\HUSHQVLRQSODQVDVLW
UHODWHVWRRXUDVVRFLDWHVZKRDUHEHQHILFLDULHVRIWKHVHSODQV7KHVHXQGHUIXQGLQJVDUHQRWRXUOLDELOLW\:KHQDQ
RSSRUWXQLW\DULVHVWKDWLVHFRQRPLFDOO\IHDVLEOHDQGEHQHILFLDOWRXVDQGRXUDVVRFLDWHVZHPD\QHJRWLDWHWKH
UHVWUXFWXULQJRIXQGHUIXQGHGPXOWLHPSOR\HUSHQVLRQSODQREOLJDWLRQVWRKHOSVWDELOL]HDVVRFLDWHV¶IXWXUHEHQHILWVDQG
EHFRPHWKHILGXFLDU\RIWKHUHVWUXFWXUHGPXOWLHPSOR\HUSHQVLRQSODQ7KHFRPPLWPHQWVIURPWKHVHUHVWUXFWXULQJVGR
QRWFKDQJHRXUGHEWSURILOHDVLWUHODWHVWRRXUFUHGLWUDWLQJVLQFHWKHVHRIIEDODQFHVKHHWFRPPLWPHQWVDUHW\SLFDOO\
FRQVLGHUHGLQRXULQYHVWPHQWJUDGHGHEWUDWLQJ:HDUHFXUUHQWO\GHVLJQDWHGDVWKHQDPHGILGXFLDU\RIWKH8)&:
&RQVROLGDWHG3HQVLRQ3ODQDQGWKH,QWHUQDWLRQDO%URWKHUKRRGRI7HDPVWHUV ³,%7´ &RQVROLGDWHG3HQVLRQ)XQGDQGKDYH
VROHLQYHVWPHQWDXWKRULW\RYHUWKHVHDVVHWV6LJQLILFDQWHIIHFWVRIWKHVHUHVWUXFWXULQJDJUHHPHQWVUHFRUGHGLQRXU
&RQVROLGDWHG)LQDQFLDO6WDWHPHQWVDUH
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     • ,QZHLQFXUUHGDPLOOLRQFKDUJHPLOOLRQQHWRIWD[IRUREOLJDWLRQVUHODWHGWRZLWKGUDZDO
           OLDELOLWLHVIRUFHUWDLQPXOWLHPSOR\HUSHQVLRQIXQGV
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     • ,QZHLQFXUUHGDPLOOLRQFKDUJHPLOOLRQQHWRIWD[IRUREOLJDWLRQVUHODWHGWRZLWKGUDZDO
           OLDELOLWLHVIRUDFHUWDLQPXOWLHPSOR\HUSHQVLRQIXQG
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           SHQVLRQIXQGV
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     $VZHFRQWLQXHWRZRUNWRILQGVROXWLRQVWRXQGHUIXQGHGPXOWLHPSOR\HUSHQVLRQSODQVLWLVSRVVLEOHZHFRXOG
LQFXUZLWKGUDZDOOLDELOLWLHVIRUFHUWDLQIXQGV
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     %DVHGRQWKHPRVWUHFHQWLQIRUPDWLRQDYDLODEOHWRXVZHEHOLHYHWKHSUHVHQWYDOXHRIDFWXDULDOO\DFFUXHGOLDELOLWLHV
LQPRVWRIWKHVHPXOWLHPSOR\HUSODQVH[FHHGVWKHYDOXHRIWKHDVVHWVKHOGLQWUXVWWRSD\EHQHILWVDQGZHH[SHFWWKDWRXU
FRQWULEXWLRQVWRPRVWRIWKHVHIXQGVZLOOLQFUHDVHRYHUWKHQH[WIHZ\HDUV:HKDYHDWWHPSWHGWRHVWLPDWHWKHDPRXQWE\
ZKLFKWKHVHOLDELOLWLHVH[FHHGWKHDVVHWV LHWKHDPRXQWRIXQGHUIXQGLQJ DVRI'HFHPEHU%HFDXVHZHDUH
RQO\RQHRIDQXPEHURIHPSOR\HUVFRQWULEXWLQJWRWKHVHSODQVZHDOVRKDYHDWWHPSWHGWRHVWLPDWHWKHUDWLRRIRXU
FRQWULEXWLRQVWRWKHWRWDORIDOOFRQWULEXWLRQVWRWKHVHSODQVLQD\HDUDVDZD\RIDVVHVVLQJRXU³VKDUH´RIWKH
XQGHUIXQGLQJ1RQHWKHOHVVWKHXQGHUIXQGLQJLVQRWDGLUHFWREOLJDWLRQRUOLDELOLW\RIRXUVRURIDQ\HPSOR\HU
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     $VRI'HFHPEHUZHHVWLPDWHRXUVKDUHRIWKHXQGHUIXQGLQJRIPXOWLHPSOR\HUSHQVLRQSODQVWRZKLFKZH
FRQWULEXWHZDVDSSUR[LPDWHO\ELOOLRQELOOLRQQHWRIWD[7KLVUHSUHVHQWVDQLQFUHDVHLQWKHHVWLPDWHGDPRXQWRI
XQGHUIXQGLQJRIDSSUR[LPDWHO\ELOOLRQELOOLRQQHWRIWD[DVRI'HFHPEHUFRPSDUHGWR'HFHPEHU
7KHLQFUHDVHLQWKHDPRXQWRIXQGHUIXQGLQJLVSULPDULO\DWWULEXWDEOHWRORZHUWKDQH[SHFWHGUHWXUQVRQDVVHWVLQ
WKHIXQGVGXULQJ2XUHVWLPDWHLVEDVHGRQWKHPRVWFXUUHQWLQIRUPDWLRQDYDLODEOHWRXVLQFOXGLQJDFWXDULDO
HYDOXDWLRQVDQGRWKHUGDWD WKDWLQFOXGHWKHHVWLPDWHVRIRWKHUV DQGVXFKLQIRUPDWLRQPD\EHRXWGDWHGRURWKHUZLVH
XQUHOLDEOH
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     :HKDYHPDGHDQGGLVFORVHGWKLVHVWLPDWHQRWEHFDXVHH[FHSWDVQRWHGDERYHWKLVXQGHUIXQGLQJLVDGLUHFWOLDELOLW\
RIRXUV5DWKHUZHEHOLHYHWKHXQGHUIXQGLQJLVOLNHO\WRKDYHLPSRUWDQWFRQVHTXHQFHV,QWKHHYHQWZHZHUHWRH[LW
FHUWDLQPDUNHWVRURWKHUZLVHFHDVHPDNLQJFRQWULEXWLRQVWRWKHVHSODQVZHFRXOGWULJJHUDVXEVWDQWLDOZLWKGUDZDO
OLDELOLW\$Q\DGMXVWPHQWIRUZLWKGUDZDOOLDELOLW\ZLOOEHUHFRUGHGZKHQLWLVSUREDEOHWKDWDOLDELOLW\H[LVWVDQGFDQEH
UHDVRQDEO\HVWLPDWHGLQDFFRUGDQFHZLWK*$$3
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     7KHDPRXQWRIXQGHUIXQGLQJGHVFULEHGDERYHLVDQHVWLPDWHDQGFRXOGFKDQJHEDVHGRQFRQWUDFWQHJRWLDWLRQV
UHWXUQVRQWKHDVVHWVKHOGLQWKHPXOWLHPSOR\HUSHQVLRQSODQVEHQHILWSD\PHQWVRUIXWXUHUHVWUXFWXULQJDJUHHPHQWV7KH
DPRXQWFRXOGGHFOLQHDQGRXUIXWXUHH[SHQVHZRXOGEHIDYRUDEO\DIIHFWHGLIWKHYDOXHVRIWKHDVVHWVKHOGLQWKHWUXVW
VLJQLILFDQWO\LQFUHDVHRULIIXUWKHUFKDQJHVRFFXUWKURXJKFROOHFWLYHEDUJDLQLQJWUXVWHHDFWLRQRUIDYRUDEOH
OHJLVODWLRQ2QWKHRWKHUKDQGRXUVKDUHRIWKHXQGHUIXQGLQJFRXOGLQFUHDVHDQGRXUIXWXUHH[SHQVHFRXOGEHDGYHUVHO\
DIIHFWHGLIWKHDVVHWYDOXHVGHFOLQHLIHPSOR\HUVFXUUHQWO\FRQWULEXWLQJWRWKHVHIXQGVFHDVHSDUWLFLSDWLRQRULIFKDQJHV
RFFXUWKURXJKFROOHFWLYHEDUJDLQLQJWUXVWHHDFWLRQRUDGYHUVHOHJLVODWLRQ:HFRQWLQXHWRHYDOXDWHRXUSRWHQWLDO
H[SRVXUHWRXQGHUIXQGHGPXOWLHPSOR\HUSHQVLRQSODQV$OWKRXJKWKHVHOLDELOLWLHVDUHQRWDGLUHFWREOLJDWLRQRUOLDELOLW\
RIRXUVDQ\FRPPLWPHQWVWRIXQGFHUWDLQPXOWLHPSOR\HUSHQVLRQSODQVZLOOEHH[SHQVHGZKHQRXUFRPPLWPHQWLV
SUREDEOHDQGDQHVWLPDWHFDQEHPDGH
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    •   $QLQFUHDVHLQFDVKXVHGE\RSHUDWLQJDFWLYLWLHVIRUFKDQJHVLQDFFUXHGH[SHQVHVLQFRPSDUHGWR
         SULPDULO\GXHWRWKHIROORZLQJ
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             o $QLQFUHDVHLQDFFUXHGSD\UROODWWKHHQGRIFRPSDUHGWRWKHHQGRISULPDULO\GXHWR
                  WLPLQJRISD\PHQWV
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             o $GHFUHDVHLQDFFUXHGH[SHQVHVDWWKHHQGRIFRPSDUHGWRWKHHQGRISULPDULO\GXHWRWKH
                  SD\PHQWRIWKHHPSOR\HUSRUWLRQRIVRFLDOVHFXULW\WD[LQWKDWKDGSUHYLRXVO\EHHQGHIHUUHGXQGHU
                  WKH&RURQDYLUXV$LG5HOLHIDQG(FRQRPLF6HFXULW\$FW WKH³&$5(6$FW´ ZKLFKZDVHQDFWHGLQ
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    •   $QLQFUHDVHLQLQFRPHWD[HVUHFHLYDEOHDWWKHHQGRIFRPSDUHGWRWKHHQGRISULPDULO\GXHWRWKH
         LPSOHPHQWDWLRQRIDWD[SODQQLQJVWUDWHJ\WRZDUGWKHHQGRI
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     &DVKSDLGIRUWD[HVLQFUHDVHGLQFRPSDUHGWRSULPDULO\GXHWRKLJKHUWD[DEOHLQFRPHLQFRPSDUHG
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1HWFDVKXVHGE\LQYHVWLQJDFWLYLWLHV
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     ,QYHVWLQJDFWLYLWLHVXVHGFDVKRIELOOLRQLQFRPSDUHGWRELOOLRQLQ7KHDPRXQWRIFDVKXVHGE\
LQYHVWLQJDFWLYLWLHVLQFUHDVHGLQFRPSDUHGWRSULPDULO\GXHWRLQFUHDVHGSD\PHQWVIRUSURSHUW\DQG
HTXLSPHQWLQ
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1HWFDVKXVHGE\ILQDQFLQJDFWLYLWLHV
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     :HXVHGELOOLRQRIFDVKIRUILQDQFLQJDFWLYLWLHVLQFRPSDUHGWRELOOLRQLQ7KHDPRXQWRIFDVK
XVHGIRUILQDQFLQJDFWLYLWLHVGHFUHDVHGLQFRPSDUHGWRSULPDULO\GXHWRWKHIROORZLQJ
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     • 'HFUHDVHGSD\PHQWVRQORQJWHUPGHEWLQFOXGLQJREOLJDWLRQVXQGHUILQDQFHOHDVHVDQG
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     • 'HFUHDVHGWUHDVXU\VWRFNSXUFKDVHV
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     • 3DUWLDOO\RIIVHWE\GHFUHDVHGSURFHHGVIURPILQDQFLQJDUUDQJHPHQW
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  Capital Investments
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     &DSLWDOLQYHVWPHQWVLQFOXGLQJFKDQJHVLQFRQVWUXFWLRQLQSURJUHVVSD\DEOHVDQGH[FOXGLQJWKHSXUFKDVHRIOHDVHG
IDFLOLWLHVWRWDOHGELOOLRQLQDQGELOOLRQLQ&DSLWDOLQYHVWPHQWVIRUWKHSXUFKDVHRIOHDVHGIDFLOLWLHV
WRWDOHGPLOOLRQLQ:HGLGQRWSXUFKDVHDQ\OHDVHGIDFLOLWLHVLQ2XUFDSLWDOSULRULWLHVDOLJQGLUHFWO\ZLWK
RXUYDOXHFUHDWLRQPRGHODQGRXUWDUJHWWRFRQVLVWHQWO\JURZQHWHDUQLQJV2XUFDSLWDOSURJUDPLQFOXGHVLQLWLDWLYHVWR
HQKDQFHWKHFXVWRPHUH[SHULHQFHLQVWRUHVLPSURYHRXUSURFHVVHIILFLHQF\DQGHQKDQFHRXUGLJLWDOFDSDELOLWLHVWKURXJK
WHFKQRORJ\GHYHORSPHQWV$VVXFKZHLQFUHDVHGRXUDOORFDWLRQRIFDSLWDOLQYHVWPHQWVUHODWHGWRGLJLWDODQGWHFKQRORJ\
FRPSDUHGWRSULRU\HDUV7KHVHLQYHVWPHQWVDUHH[SHFWHGWRGULYHGLJLWDOVDOHVJURZWKDQGLPSURYHRSHUDWLQJHIILFLHQF\
E\UHPRYLQJFRVWDQGZDVWHIURPRXUEXVLQHVV
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     $VSUHYLRXVO\GLVFORVHGRQ2FWREHUZHHQWHUHGLQWRDPHUJHUDJUHHPHQWZLWK$OEHUWVRQV:HH[SHFWWR
PHHWRXUOLTXLGLW\QHHGVIRUWKHSURSRVHGPHUJHUZLWKFDVKDQGWHPSRUDU\FDVKLQYHVWPHQWVRQKDQGDVRIWKHPHUJHU
FORVLQJGDWHFDVKIORZVIURPRXURSHUDWLQJDFWLYLWLHVDQGRWKHUVRXUFHVRIOLTXLGLW\LQFOXGLQJERUURZLQJVXQGHURXU
FRPPHUFLDOSDSHUSURJUDPVHQLRUQRWHVLVVXDQFHVEDQNFUHGLWIDFLOLW\DQGRWKHUVRXUFHVRIILQDQFLQJ,QFRQQHFWLRQ
ZLWKWKHSURSRVHGPHUJHUZHHQWHUHGLQWRDFRPPLWPHQWOHWWHUIRUDEULGJHWHUPORDQIDFLOLW\DQGH[HFXWHGDWHUPORDQ
FUHGLWDJUHHPHQW'XULQJWKHWKLUGTXDUWHURIZHSDXVHGRXUVKDUHUHSXUFKDVHSURJUDPWRSULRULWL]HGHOHYHUDJLQJ
IROORZLQJWKHSURSRVHGPHUJHUZLWK$OEHUWVRQV)RUDGGLWLRQDOLQIRUPDWLRQDERXWWKHSURSRVHGPHUJHUZLWK$OEHUWVRQV
VHH1RWHWRWKH&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV
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     )RUDGGLWLRQDOLQIRUPDWLRQDERXWRXUGHEWDFWLYLW\LQVHH1RWHWRWKH&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV

    Factors Affecting Liquidity
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     :HFDQFXUUHQWO\ERUURZRQDGDLO\EDVLVDSSUR[LPDWHO\ELOOLRQXQGHURXUFRPPHUFLDOSDSHUSURJUDP$W
-DQXDU\ZHKDGQRRXWVWDQGLQJFRPPHUFLDOSDSHU&RPPHUFLDOSDSHUERUURZLQJVDUHEDFNHGE\RXUFUHGLW
IDFLOLW\DQGUHGXFHWKHDPRXQWZHFDQERUURZXQGHUWKHFUHGLWIDFLOLW\,IRXUVKRUWWHUPFUHGLWUDWLQJVIDOOWKHDELOLW\WR
ERUURZXQGHURXUFXUUHQWFRPPHUFLDOSDSHUSURJUDPFRXOGEHDGYHUVHO\DIIHFWHGIRUDSHULRGRIWLPHDQGLQFUHDVHRXU
LQWHUHVWFRVWRQGDLO\ERUURZLQJVXQGHURXUFRPPHUFLDOSDSHUSURJUDP7KLVFRXOGUHTXLUHXVWRERUURZDGGLWLRQDOIXQGV
XQGHUWKHFUHGLWIDFLOLW\XQGHUZKLFKZHEHOLHYHZHKDYHVXIILFLHQWFDSDFLW\+RZHYHULQWKHHYHQWRIDUDWLQJVGHFOLQH
ZHGRQRWDQWLFLSDWHWKDWRXUERUURZLQJFDSDFLW\XQGHURXUFRPPHUFLDOSDSHUSURJUDPZRXOGEHDQ\ORZHUWKDQ
PLOOLRQRQDGDLO\EDVLV)DFWRUVWKDWFRXOGDIIHFWRXUFUHGLWUDWLQJLQFOXGHFKDQJHVLQRXURSHUDWLQJSHUIRUPDQFHDQG
ILQDQFLDOSRVLWLRQWKHVWDWHRIWKHHFRQRP\WKHFXUUHQWLQIODWLRQDU\HQYLURQPHQWFRQGLWLRQVLQWKHIRRGUHWDLOLQGXVWU\
DQGFKDQJHVLQRXUEXVLQHVVPRGHO)XUWKHULQIRUPDWLRQRQWKHULVNVDQGXQFHUWDLQWLHVWKDWFDQDIIHFWRXUEXVLQHVVFDQEH
IRXQGLQWKH³5LVN)DFWRUV´VHFWLRQVHWIRUWKLQ,WHP$RI3DUW,RIWKLV$QQXDO5HSRUWRQ)RUP.$OWKRXJKRXU
DELOLW\WRERUURZXQGHUWKHFUHGLWIDFLOLW\LVQRWDIIHFWHGE\RXUFUHGLWUDWLQJWKHLQWHUHVWFRVWDQGDSSOLFDEOHPDUJLQRQ
ERUURZLQJVXQGHUWKHFUHGLWIDFLOLW\FRXOGEHDIIHFWHGE\DGRZQJUDGHLQRXU3XEOLF'HEW5DWLQJ³3XEOLF'HEW5DWLQJ´
PHDQVDVRIDQ\GDWHWKHUDWLQJWKDWKDVEHHQPRVWUHFHQWO\DQQRXQFHGE\HLWKHU6 3RU0RRG\¶VDVWKHFDVHPD\EH
IRUDQ\FODVVRIQRQFUHGLWHQKDQFHGORQJWHUPVHQLRUXQVHFXUHGGHEWLVVXHGE\WKH&RPSDQ\$VRI0DUFKZH
KDGQRFRPPHUFLDOSDSHUERUURZLQJVRXWVWDQGLQJ
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     2XUFUHGLWIDFLOLW\UHTXLUHVWKHPDLQWHQDQFHRID/HYHUDJH5DWLR RXU³ILQDQFLDOFRYHQDQW´ $IDLOXUHWRPDLQWDLQ
RXUILQDQFLDOFRYHQDQWZRXOGLPSDLURXUDELOLW\WRERUURZXQGHUWKHFUHGLWIDFLOLW\7KLVILQDQFLDOFRYHQDQWLVGHVFULEHG
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     • 2XU/HYHUDJH5DWLR WKHUDWLRRI1HW'HEWWR$GMXVWHG(%,7'$DVGHILQHGLQWKHFUHGLWIDFLOLW\ ZDVWR
           DVRI-DQXDU\,IWKLVUDWLRZHUHWRH[FHHGWRZHZRXOGEHLQGHIDXOWRIRXUUHYROYLQJFUHGLW
           IDFLOLW\DQGRXUDELOLW\WRERUURZXQGHUWKHIDFLOLW\ZRXOGEHLPSDLUHG
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     2XUFUHGLWIDFLOLW\LVPRUHIXOO\GHVFULEHGLQ1RWHWRWKH&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV:HZHUHLQ
FRPSOLDQFHZLWKRXUILQDQFLDOFRYHQDQWDW-DQXDU\
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     $VRI-DQXDU\ZHPDLQWDLQHGDELOOLRQ ZLWKWKHDELOLW\WRLQFUHDVHE\ELOOLRQ XQVHFXUHG
UHYROYLQJFUHGLWIDFLOLW\WKDWXQOHVVH[WHQGHGWHUPLQDWHVRQ-XO\2XWVWDQGLQJERUURZLQJVXQGHUWKHFUHGLW
IDFLOLW\FRPPHUFLDOSDSHUERUURZLQJVDQGVRPHRXWVWDQGLQJOHWWHUVRIFUHGLWUHGXFHIXQGVDYDLODEOHXQGHUWKHFUHGLW
IDFLOLW\$VRI-DQXDU\ZHKDGQRRXWVWDQGLQJFRPPHUFLDOSDSHUDQGQRERUURZLQJVXQGHURXUUHYROYLQJFUHGLW
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ZLWKFHUWDLQOHQGHUVSXUVXDQWWRZKLFKWKHOHQGHUVKDYHFRPPLWWHGWRSURYLGHDGD\ELOOLRQVHQLRUXQVHFXUHG
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FRPPLWWHGWRSURYLGHFRQWLQJHQWXSRQWKHFRPSOHWLRQRIWKHSURSRVHGPHUJHUZLWK$OEHUWVRQVDQGFHUWDLQRWKHU
FXVWRPDU\FRQGLWLRQVWRIXQGLQJ  VHQLRUXQVHFXUHGWHUPORDQVLQDQDJJUHJDWHSULQFLSDODPRXQWRIELOOLRQ
PDWXULQJRQWKHWKLUGDQQLYHUVDU\RIWKHSURSRVHGPHUJHUFORVLQJGDWHDQG  VHQLRUXQVHFXUHGWHUPORDQVLQDQ
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UHTXLUHGE\PRVWVWDWHVLQZKLFKZHDUHVHOILQVXUHGIRUZRUNHUV¶FRPSHQVDWLRQDQGDUHSODFHGZLWKSUHGRPLQDWHO\WKLUG
SDUW\LQVXUDQFHSURYLGHUVWRLQVXUHSD\PHQWRIRXUREOLJDWLRQVLQWKHHYHQWZHDUHXQDEOHWRPHHWRXUFODLPSD\PHQW
REOLJDWLRQVXSWRRXUVHOILQVXUHGUHWHQWLRQOHYHOV7KHVHERQGVGRQRWUHSUHVHQWOLDELOLWLHVRIRXUVDVZHDOUHDG\KDYH
UHVHUYHVRQRXUERRNVIRUWKHFODLPVFRVWV0DUNHWFKDQJHVPD\PDNHWKHVXUHW\ERQGVPRUHFRVWO\DQGLQVRPH
LQVWDQFHVDYDLODELOLW\RIWKHVHERQGVPD\EHFRPHPRUHOLPLWHGZKLFKFRXOGDIIHFWRXUFRVWVRIRUDFFHVVWRVXFK
ERQGV$OWKRXJKZHGRQRWEHOLHYHLQFUHDVHGFRVWVRUGHFUHDVHGDYDLODELOLW\ZRXOGVLJQLILFDQWO\DIIHFWRXUDELOLW\WR
DFFHVVWKHVHVXUHW\ERQGVLIWKLVGRHVEHFRPHDQLVVXHZHZRXOGLVVXHOHWWHUVRIFUHGLWLQVWDWHVZKHUHDOORZHGWRPHHW
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VHWWOHPHQWRISRWHQWLDOFODLPV:HKDYHDOVRSURYLGHGDOHWWHURIFUHGLWZKLFKVXSSRUWVRXUFRPPLWPHQWWREXLOGDFHUWDLQ
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     :HDOVRDUHFRQWLQJHQWO\OLDEOHIRUOHDVHVWKDWKDYHEHHQDVVLJQHGWRYDULRXVWKLUGSDUWLHVLQFRQQHFWLRQZLWKIDFLOLW\
FORVLQJVDQGGLVSRVLWLRQV:HFRXOGEHUHTXLUHGWRVDWLVI\REOLJDWLRQVXQGHUWKHOHDVHVLIDQ\RIWKHDVVLJQHHVDUHXQDEOH
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UHPHGLHVDYDLODEOHWRXVZHEHOLHYHWKHOLNHOLKRRGWKDWZHZLOOEHUHTXLUHGWRDVVXPHDPDWHULDODPRXQWRIWKHVH
REOLJDWLRQVLVUHPRWH:HKDYHDJUHHGWRLQGHPQLI\FHUWDLQWKLUGSDUW\ORJLVWLFVRSHUDWRUVIRUFHUWDLQH[SHQVHV
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     ,QDGGLWLRQWRWKHDERYHZHHQWHULQWRYDULRXVLQGHPQLILFDWLRQDJUHHPHQWVDQGWDNHRQLQGHPQLILFDWLRQREOLJDWLRQV
LQWKHRUGLQDU\FRXUVHRIEXVLQHVV6XFKDUUDQJHPHQWVLQFOXGHLQGHPQLWLHVDJDLQVWWKLUGSDUW\FODLPVDULVLQJRXWRI
DJUHHPHQWVWRSURYLGHVHUYLFHVWRXVLQGHPQLWLHVUHODWHGWRWKHVDOHRIRXUVHFXULWLHVLQGHPQLWLHVRIGLUHFWRUVRIILFHUV
DQGHPSOR\HHVLQFRQQHFWLRQZLWKWKHSHUIRUPDQFHRIWKHLUZRUNDQGLQGHPQLWLHVRILQGLYLGXDOVVHUYLQJDVILGXFLDULHV
RQEHQHILWSODQV:KLOHRXUDJJUHJDWHLQGHPQLILFDWLRQREOLJDWLRQFRXOGUHVXOWLQDPDWHULDOOLDELOLW\ZHDUHQRWDZDUHRI
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UHODWLYHWRLQWHUHVWUDWHSURWHFWLRQFRQWHPSODWHVKHGJLQJWKHH[SRVXUHWRFKDQJHVLQWKHIDLUYDOXHRIIL[HGUDWHGHEW
DWWULEXWDEOHWRFKDQJHVLQLQWHUHVWUDWHV7RGRWKLVZHXVHWKHIROORZLQJJXLGHOLQHV L XVHDYHUDJHGDLO\RXWVWDQGLQJ
ERUURZLQJVWRGHWHUPLQHDQQXDOGHEWDPRXQWVVXEMHFWWRLQWHUHVWUDWHH[SRVXUH LL OLPLWWKHDYHUDJHDQQXDODPRXQW
VXEMHFWWRLQWHUHVWUDWHUHVHWDQGWKHDPRXQWRIIORDWLQJUDWHGHEWWRDFRPELQHGWRWDODPRXQWWKDWUHSUHVHQWVRIWKH
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:HGRQRWHQWHULQWRGHULYDWLYHILQDQFLDOLQVWUXPHQWVIRUWUDGLQJSXUSRVHV$VDPDWWHURISROLF\DOORIRXUGHULYDWLYH
SRVLWLRQVDUHLQWHQGHGWRUHGXFHULVNE\KHGJLQJDQXQGHUO\LQJHFRQRPLFH[SRVXUH%HFDXVHRIWKHKLJKFRUUHODWLRQ
EHWZHHQWKHKHGJLQJLQVWUXPHQWDQGWKHXQGHUO\LQJH[SRVXUHIOXFWXDWLRQVLQWKHYDOXHRIWKHLQVWUXPHQWVJHQHUDOO\DUH
RIIVHWE\UHFLSURFDOFKDQJHVLQWKHYDOXHRIWKHXQGHUO\LQJH[SRVXUH7KHLQWHUHVWUDWHGHULYDWLYHVZHXVHDUH
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DJUHHPHQWWKDWHIIHFWLYHO\KHGJHVWKHYDULDELOLW\LQIXWXUHEHQFKPDUNLQWHUHVWSD\PHQWVDWWULEXWDEOHWRFKDQJHVLQLQWHUHVW
UDWHVRQWKHIRUHFDVWHGLVVXDQFHRIIL[HGUDWHGHEW:HHQWHUHGLQWRWKHVHIRUZDUGVWDUWLQJLQWHUHVWUDWHVZDSVLQRUGHUWR
ORFNLQIL[HGLQWHUHVWUDWHVRQRXUIRUHFDVWHGLVVXDQFHVRIGHEW7KHIL[HGLQWHUHVWUDWHVIRUWKHVHIRUZDUGVWDUWLQJLQWHUHVW
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6HFXUHG2YHUQLJKW)LQDQFLQJ5DWH 62)5 $QRWLRQDODPRXQWRIELOOLRQRIWKHVHIRUZDUGVWDUWLQJLQWHUHVWUDWH
VZDSVZDVGHVLJQDWHGDVDFDVKIORZKHGJHDVGHILQHGE\*$$3$FFRUGLQJO\WKHFKDQJHVLQIDLUYDOXHRIWKHVH
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IRUZDUGVWDUWLQJLQWHUHVWUDWHVZDSVQRWGHVLJQDWHGDVFDVKIORZKHGJHVDUHUHFRJQL]HGWKURXJKQHWHDUQLQJV$VRI
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&RQVROLGDWHG6WDWHPHQWVRI2SHUDWLRQV:HKDGQRIRUZDUGVWDUWLQJLQWHUHVWUDWHVZDSDJUHHPHQWVRXWVWDQGLQJDVRI
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    Equity Investment Risk
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     :HDUHH[SRVHGWRPDUNHWSULFHYRODWLOLW\IRURXULQYHVWPHQWLQ2FDGR*URXSSOF ³2FDGR´ ZKLFKLVPHDVXUHGDW
IDLUYDOXHWKURXJKQHWHDUQLQJV)DLUYDOXHDGMXVWPHQWVIORZWKURXJK³ /RVV JDLQRQLQYHVWPHQWV´LQRXU&RQVROLGDWHG
6WDWHPHQWVRI2SHUDWLRQV7KHFKDQJHLQIDLUYDOXHRIWKLVLQYHVWPHQWUHVXOWHGLQDQXQUHDOL]HG ORVV JDLQRQ
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                     Report of Independent Registered Public Accounting Firm

To the Board of Directors and Shareholders of The Kroger Co.

Opinions on the Financial Statements and Internal Control over Financial Reporting

We have audited the accompanying consolidated balance sheets of The Kroger Co. and its subsidiaries (the
“Company”) as of January 28, 2023 and January 29, 2022, and the related consolidated statements of
operations, of comprehensive income, of changes in shareholders' equity and of cash flows for each of the
three years in the period ended January 28, 2023, including the related notes (collectively referred to as the
“consolidated financial statements”). We also have audited the Company's internal control over financial
reporting as of January 28, 2023, based on criteria established in Internal Control - Integrated Framework
(2013) issued by the Committee of Sponsoring Organizations of the Treadway Commission (COSO).

In our opinion, the consolidated financial statements referred to above present fairly, in all material respects,
the financial position of the Company as of January 28, 2023 and January 29, 2022, and the results of its
operations and its cash flows for each of the three years in the period ended January 28, 2023 in conformity
with accounting principles generally accepted in the United States of America. Also in our opinion, the
Company maintained, in all material respects, effective internal control over financial reporting as of
January 28, 2023, based on criteria established in Internal Control - Integrated Framework (2013) issued by
the COSO.

Basis for Opinions

The Company's management is responsible for these consolidated financial statements, for maintaining
effective internal control over financial reporting, and for its assessment of the effectiveness of internal
control over financial reporting, included in Management’s Report on Internal Control over Financial
Reporting appearing under Item 9A. Our responsibility is to express opinions on the Company’s consolidated
financial statements and on the Company's internal control over financial reporting based on our audits. We
are a public accounting firm registered with the Public Company Accounting Oversight Board (United States)
(PCAOB) and are required to be independent with respect to the Company in accordance with the U.S. federal
securities laws and the applicable rules and regulations of the Securities and Exchange Commission and the
PCAOB.

We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we
plan and perform the audits to obtain reasonable assurance about whether the consolidated financial
statements are free of material misstatement, whether due to error or fraud, and whether effective internal
control over financial reporting was maintained in all material respects.

Our audits of the consolidated financial statements included performing procedures to assess the risks of
material misstatement of the consolidated financial statements, whether due to error or fraud, and
performing procedures that respond to those risks. Such procedures included examining, on a test basis,
evidence regarding the amounts and disclosures in the consolidated financial statements. Our audits also
included evaluating the accounting principles used and significant estimates made by management, as well as
evaluating the overall presentation of the consolidated financial statements. Our audit of internal control over
financial reporting included obtaining an understanding of internal control over financial reporting, assessing
the risk that a material weakness exists, and testing and evaluating the design and operating effectiveness of
internal control based on the assessed risk. Our audits also included performing such other procedures as we
considered necessary in the circumstances. We believe that our audits provide a reasonable basis for our
opinions.
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Definition and Limitations of Internal Control over Financial Reporting

A company’s internal control over financial reporting is a process designed to provide reasonable assurance
regarding the reliability of financial reporting and the preparation of financial statements for external
purposes in accordance with generally accepted accounting principles. A company’s internal control over
financial reporting includes those policies and procedures that (i) pertain to the maintenance of records that,
in reasonable detail, accurately and fairly reflect the transactions and dispositions of the assets of the
company; (ii) provide reasonable assurance that transactions are recorded as necessary to permit preparation
of financial statements in accordance with generally accepted accounting principles, and that receipts and
expenditures of the company are being made only in accordance with authorizations of management and
directors of the company; and (iii) provide reasonable assurance regarding prevention or timely detection of
unauthorized acquisition, use, or disposition of the company’s assets that could have a material effect on the
financial statements.

Because of its inherent limitations, internal control over financial reporting may not prevent or detect
misstatements. Also, projections of any evaluation of effectiveness to future periods are subject to the risk that
controls may become inadequate because of changes in conditions, or that the degree of compliance with the
policies or procedures may deteriorate.

Critical Audit Matters

The critical audit matter communicated below is a matter arising from the current period audit of the
consolidated financial statements that was communicated or required to be communicated to the audit
committee and that (i) relates to accounts or disclosures that are material to the consolidated financial
statements and (ii) involved our especially challenging, subjective, or complex judgments. The
communication of critical audit matters does not alter in any way our opinion on the consolidated financial
statements, taken as a whole, and we are not, by communicating the critical audit matter below, providing a
separate opinion on the critical audit matter or on the accounts or disclosures to which it relates.

Goodwill Impairment Assessment – Kroger Specialty Pharmacy (“KSP”) Reporting Unit

As described in Notes 1 and 2 to the consolidated financial statements, the Company’s consolidated goodwill
balance was $2.9 billion as of January 28, 2023 and the goodwill associated with the KSP reporting unit was
$243 million. Management reviews goodwill annually for impairment in the fourth quarter of each year, and
also upon the occurrence of triggering events. The fair value of a reporting unit is compared to its carrying
value for purposes of identifying potential impairment. Goodwill impairment is recognized for any excess of
the reporting unit’s carrying value over its fair value, not to exceed the total amount of goodwill allocated to
the reporting unit. The fair value of the Company's KSP reporting unit was estimated using multiple valuation
techniques, a discounted cash flow model (income approach), a market multiple model and comparable
mergers and acquisition model (market approaches), with each method weighted in the calculation. The
income approach relies on management’s estimates of revenue growth rates, margin assumptions, and
discount rate to estimate future cash flows. The market approaches require the determination of an
appropriate peer group, which is utilized to derive estimated fair values based on selected market multiples.

The principal considerations for our determination that performing procedures relating to the goodwill
impairment assessment of the KSP reporting unit is a critical audit matter are (i) the significant judgment by
management when developing the fair value measurement of the reporting unit; (ii) the high degree of auditor
judgment, subjectivity, and effort in performing procedures to evaluate management’s cash flow projections
and significant assumptions related to revenue growth rates, margin assumptions, discount rate, peer group
determination, and market multiple selection; and (iii) the audit effort involved the use of professionals with
specialized skill and knowledge.
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Addressing the matter involved performing procedures and evaluating audit evidence in connection with
forming our overall opinion on the consolidated financial statements. These procedures included testing the
effectiveness of controls relating to management’s goodwill impairment assessment, including controls over
the valuation of the Company’s KSP reporting unit. These procedures also included, among others, testing
management’s process for developing the fair value estimate, evaluating the appropriateness of the income
and market approach models, testing the completeness, accuracy, and relevance of the underlying data used
in the models and evaluating the significant assumptions used by management related to the revenue growth
rates, margin assumptions, discount rate, peer group determination, and market multiple selection.
Evaluating management’s assumptions relating to revenue growth rates and margin assumptions involved
evaluating whether the assumptions used by management were reasonable considering (i) the current and
past performance of the reporting unit, (ii) the consistency with external market and industry data, and
(iii) whether these assumptions were consistent with evidence obtained in other areas of the audit. Evaluating
the Company’s peer group determinations included evaluating the appropriateness of the identified peer
companies. Professionals with specialized skill and knowledge were used to assist in the evaluation of the
Company’s discounted cash flow and market models, and certain significant assumptions related to the
discount rate, peer group determination, and market multiples.

/s/ PricewaterhouseCoopers LLP
Cincinnati, Ohio
March 28, 2023

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     /HDVHWHUPVJHQHUDOO\UDQJHIURPWR\HDUVZLWKRSWLRQVWRUHQHZIRUYDU\LQJWHUPVDWWKH&RPSDQ\¶VVROH
GLVFUHWLRQ7KHOHDVHWHUPLQFOXGHVWKHLQLWLDOFRQWUDFWXDOWHUPDVZHOODVDQ\RSWLRQVWRH[WHQGWKHOHDVHZKHQLWLV
UHDVRQDEO\FHUWDLQWKDWWKH&RPSDQ\ZLOOH[HUFLVHWKDWRSWLRQ/HDVHVZLWKDQLQLWLDOWHUPRIPRQWKVRUOHVVDUHQRW
UHFRUGHGRQWKHEDODQFHVKHHW&HUWDLQOHDVHVLQFOXGHHVFDODWLRQFODXVHVRUSD\PHQWRIH[HFXWRU\FRVWVVXFKDVSURSHUW\
WD[HVXWLOLWLHVRULQVXUDQFHDQGPDLQWHQDQFH2SHUDWLQJOHDVHSD\PHQWVDUHFKDUJHGRQDVWUDLJKWOLQHEDVLVWRUHQW
H[SHQVHRYHUWKHOHDVHWHUPDQGILQDQFHOHDVHSD\PHQWVDUHFKDUJHGWRLQWHUHVWH[SHQVHDQGGHSUHFLDWLRQDQG
DPRUWL]DWLRQH[SHQVHRYHUWKHOHDVHWHUP$VVHWVXQGHUILQDQFHOHDVHVDUHDPRUWL]HGLQDFFRUGDQFHZLWKWKH&RPSDQ\¶V
QRUPDOGHSUHFLDWLRQSROLF\IRURZQHGDVVHWVRURYHUWKHOHDVHWHUPLIVKRUWHU7KH&RPSDQ\¶VOHDVHDJUHHPHQWVGRQRW
FRQWDLQDQ\UHVLGXDOYDOXHJXDUDQWHHVRUPDWHULDOUHVWULFWLYHFRYHQDQWV)RUDGGLWLRQDOLQIRUPDWLRQRQOHDVHVVHH1RWH
WRWKH&RQVROLGDWHG)LQDQFLDO6WDWHPHQWV
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    Goodwill
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     7KH&RPSDQ\UHYLHZVJRRGZLOOIRULPSDLUPHQWGXULQJWKHIRXUWKTXDUWHURIHDFK\HDURUHDUOLHUXSRQWKH
RFFXUUHQFHRIDWULJJHULQJHYHQW7KH&RPSDQ\SHUIRUPVUHYLHZVRIHDFKRILWVRSHUDWLQJGLYLVLRQVDQGRWKHU
FRQVROLGDWHGHQWLWLHV FROOHFWLYHO\³UHSRUWLQJXQLWV´ WKDWKDYHJRRGZLOOEDODQFHV*HQHUDOO\IDLUYDOXHLVGHWHUPLQHG
XVLQJDPDUNHWPXOWLSOHPRGHORUGLVFRXQWHGSURMHFWHGIXWXUHFDVKIORZVDQGLVFRPSDUHGWRWKHFDUU\LQJYDOXHRID
UHSRUWLQJXQLWIRUSXUSRVHVRILGHQWLI\LQJSRWHQWLDOLPSDLUPHQW3URMHFWHGIXWXUHFDVKIORZVDUHEDVHGRQPDQDJHPHQW¶V
NQRZOHGJHRIWKHFXUUHQWRSHUDWLQJHQYLURQPHQWDQGH[SHFWDWLRQVIRUWKHIXWXUH*RRGZLOOLPSDLUPHQWLVUHFRJQL]HGIRU
DQ\H[FHVVRIWKHUHSRUWLQJXQLW¶VFDUU\LQJYDOXHRYHULWVIDLUYDOXHQRWWRH[FHHGWKHWRWDODPRXQWRIJRRGZLOODOORFDWHG
WRWKHUHSRUWLQJXQLW5HVXOWVRIWKHJRRGZLOOLPSDLUPHQWUHYLHZVSHUIRUPHGGXULQJDQGDUH
VXPPDUL]HGLQ1RWH
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   Impairment of Long-Lived Assets
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     7KH&RPSDQ\PRQLWRUVWKHFDUU\LQJYDOXHRIORQJOLYHGDVVHWVIRUSRWHQWLDOLPSDLUPHQWHDFKTXDUWHUEDVHGRQ
ZKHWKHUFHUWDLQWULJJHULQJHYHQWVKDYHRFFXUUHG7KHVHHYHQWVLQFOXGHFXUUHQWSHULRGORVVHVFRPELQHGZLWKDKLVWRU\RI
ORVVHVRUDSURMHFWLRQRIFRQWLQXLQJORVVHVRUDVLJQLILFDQWGHFUHDVHLQWKHPDUNHWYDOXHRIDQDVVHW:KHQDWULJJHULQJ
HYHQWRFFXUVDQLPSDLUPHQWFDOFXODWLRQLVSHUIRUPHGFRPSDULQJSURMHFWHGXQGLVFRXQWHGIXWXUHFDVKIORZVXWLOL]LQJ
FXUUHQWFDVKIORZLQIRUPDWLRQDQGH[SHFWHGJURZWKUDWHVUHODWHGWRVSHFLILFVWRUHVWRWKHFDUU\LQJYDOXHIRUWKRVHVWRUHV
,IWKH&RPSDQ\LGHQWLILHVLPSDLUPHQWIRUORQJOLYHGDVVHWVWREHKHOGDQGXVHGWKH&RPSDQ\FRPSDUHVWKHDVVHWV¶
FXUUHQWFDUU\LQJYDOXHWRWKHDVVHWV¶IDLUYDOXH)DLUYDOXHLVEDVHGRQFXUUHQWPDUNHWYDOXHVRUGLVFRXQWHGIXWXUHFDVK
IORZV7KH&RPSDQ\UHFRUGVLPSDLUPHQWZKHQWKHFDUU\LQJYDOXHH[FHHGVIDLUPDUNHWYDOXH:LWKUHVSHFWWRRZQHG
SURSHUW\DQGHTXLSPHQWKHOGIRUGLVSRVDOWKHYDOXHRIWKHSURSHUW\DQGHTXLSPHQWLVDGMXVWHGWRUHIOHFWUHFRYHUDEOH
YDOXHVEDVHGRQSUHYLRXVHIIRUWVWRGLVSRVHRIVLPLODUDVVHWVDQGFXUUHQWHFRQRPLFFRQGLWLRQV,PSDLUPHQWLVUHFRJQL]HG
IRUWKHH[FHVVRIWKHFDUU\LQJYDOXHRYHUWKHHVWLPDWHGIDLUPDUNHWYDOXHUHGXFHGE\HVWLPDWHGGLUHFWFRVWVRIGLVSRVDO
7KH&RPSDQ\UHFRUGHGDVVHWLPSDLUPHQWVWRWDOLQJDQGLQDQGUHVSHFWLYHO\&RVWVWR
UHGXFHWKHFDUU\LQJYDOXHRIORQJOLYHGDVVHWVIRUHDFKRIWKH\HDUVSUHVHQWHGKDYHEHHQLQFOXGHGLQWKH&RQVROLGDWHG
6WDWHPHQWVRI2SHUDWLRQVDV2SHUDWLQJJHQHUDODQGDGPLQLVWUDWLYH ³2* $´ H[SHQVH

    Accounts Payable Financing Arrangement
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     7KH&RPSDQ\KDVDQDJUHHPHQWZLWKDWKLUGSDUW\WRSURYLGHDQDFFRXQWVSD\DEOHWUDFNLQJV\VWHPZKLFKIDFLOLWDWHV
SDUWLFLSDWLQJVXSSOLHUV¶DELOLW\WRILQDQFHSD\PHQWREOLJDWLRQVIURPWKH&RPSDQ\ZLWKGHVLJQDWHGWKLUGSDUW\ILQDQFLDO
LQVWLWXWLRQV3DUWLFLSDWLQJVXSSOLHUVPD\DWWKHLUVROHGLVFUHWLRQPDNHRIIHUVWRILQDQFHRQHRUPRUHSD\PHQWREOLJDWLRQV
RIWKH&RPSDQ\SULRUWRWKHLUVFKHGXOHGGXHGDWHVDWDGLVFRXQWHGSULFHWRSDUWLFLSDWLQJILQDQFLDOLQVWLWXWLRQV7KH
&RPSDQ\¶VREOLJDWLRQVWRLWVVXSSOLHUVLQFOXGLQJDPRXQWVGXHDQGVFKHGXOHGSD\PHQWGDWHVDUHQRWDIIHFWHGE\
VXSSOLHUV¶GHFLVLRQVWRILQDQFHDPRXQWVXQGHUWKLVDUUDQJHPHQW$VRI-DQXDU\WKH&RPSDQ\KDGDQG
LQ³2WKHUFXUUHQWOLDELOLWLHV´DQG³7UDGHDFFRXQWVSD\DEOH´UHVSHFWLYHO\DVVRFLDWHGZLWKILQDQFLQJDUUDQJHPHQWV
$VRI-DQXDU\WKH&RPSDQ\KDGDQGLQ³2WKHUFXUUHQWOLDELOLWLHV´DQG³7UDGHDFFRXQWVSD\DEOH´
UHVSHFWLYHO\DVVRFLDWHGZLWKILQDQFLQJDUUDQJHPHQWV
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  Contingent Consideration

     7KH&RPSDQ\¶V+RPH&KHIEXVLQHVVFRPELQDWLRQLQYROYHVSRWHQWLDOSD\PHQWRIIXWXUHFRQVLGHUDWLRQWKDWLV
FRQWLQJHQWXSRQWKHDFKLHYHPHQWRIFHUWDLQSHUIRUPDQFHPLOHVWRQHV7KH&RPSDQ\UHFRUGHGFRQWLQJHQWFRQVLGHUDWLRQDW
IDLUYDOXHDWWKHGDWHRIDFTXLVLWLRQEDVHGRQWKHFRQVLGHUDWLRQH[SHFWHGWREHWUDQVIHUUHGHVWLPDWHGDVWKHSUREDELOLW\
ZHLJKWHGIXWXUHFDVKIORZVGLVFRXQWHGEDFNWRSUHVHQWYDOXHXVLQJDGLVFRXQWUDWHGHWHUPLQHGLQDFFRUGDQFHZLWK
DFFHSWHGYDOXDWLRQPHWKRGV7KHOLDELOLW\IRUFRQWLQJHQWFRQVLGHUDWLRQLVUHPHDVXUHGWRIDLUYDOXHDWHDFKUHSRUWLQJ
SHULRGXVLQJ/HYHOLQSXWVDQGWKHFKDQJHLQIDLUYDOXHLQFOXGLQJDFFUHWLRQIRUWKHSDVVDJHRIWLPHLVUHFRJQL]HGLQ
HDUQLQJVXQWLOWKHFRQWLQJHQF\LVUHVROYHG,QDQGDGMXVWPHQWVWRLQFUHDVHWKHFRQWLQJHQWFRQVLGHUDWLRQ
OLDELOLW\DVRI\HDUHQGZHUHUHFRUGHGIRUDQGUHVSHFWLYHO\LQ2* $H[SHQVH'XULQJWKHILUVWTXDUWHURI
WKH&RPSDQ\ZLOOPDNHWKHILQDOFRQWLQJHQWFRQVLGHUDWLRQSD\PHQWZKLFKLVEDVHGRQWKHIDLUYDOXHRIWKH
RXWVWDQGLQJ\HDUHQGOLDELOLW\
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    Store Closing Costs
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     7KH&RPSDQ\UHJXODUO\HYDOXDWHVWKHSHUIRUPDQFHRILWVVWRUHVDQGSHULRGLFDOO\FORVHVWKRVHVWRUHVWKDWDUH
XQGHUSHUIRUPLQJ5HODWHGOLDELOLWLHVDULVHVXFKDVVHYHUDQFHFRQWUDFWXDOREOLJDWLRQVDQGRWKHUDFFUXDOVDVVRFLDWHGZLWK
VWRUHFORVLQJV7KH&RPSDQ\UHFRUGVDOLDELOLW\IRUFRVWVDVVRFLDWHGZLWKDQH[LWRUGLVSRVDODFWLYLW\ZKHQWKHOLDELOLW\LV
LQFXUUHGXVXDOO\LQWKHSHULRGWKHVWRUHFORVHV$GMXVWPHQWVWRFORVHGVWRUHOLDELOLWLHVSULPDULO\UHODWHWRDFWXDOH[LWFRVWV
GLIIHULQJIURPRULJLQDOHVWLPDWHV$GMXVWPHQWVDUHPDGHIRUFKDQJHVLQHVWLPDWHVLQWKHSHULRGLQZKLFKWKHFKDQJH
EHFRPHVNQRZQ
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     2ZQHGVWRUHVKHOGIRUGLVSRVDODUHUHGXFHGWRWKHLUHVWLPDWHGQHWUHDOL]DEOHYDOXH&RVWVWRUHGXFHWKHFDUU\LQJ
YDOXHVRISURSHUW\SODQWHTXLSPHQWDQGRSHUDWLQJOHDVHDVVHWVDUHDFFRXQWHGIRULQDFFRUGDQFHZLWKWKH&RPSDQ\¶V
SROLF\RQLPSDLUPHQWRIORQJOLYHGDVVHWV,QYHQWRU\ZULWHGRZQVLIDQ\LQFRQQHFWLRQZLWKVWRUHFORVLQJVDUH
FODVVLILHGLQWKH&RQVROLGDWHG6WDWHPHQWVRI2SHUDWLRQVDV³0HUFKDQGLVHFRVWV´&RVWVWRWUDQVIHULQYHQWRU\DQG
HTXLSPHQWIURPFORVHGVWRUHVDUHH[SHQVHGDVLQFXUUHG
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   Interest Rate Risk Management
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     7KH&RPSDQ\XVHVGHULYDWLYHLQVWUXPHQWVSULPDULO\WRPDQDJHLWVH[SRVXUHWRFKDQJHVLQLQWHUHVWUDWHV7KH
&RPSDQ\¶VFXUUHQWSURJUDPUHODWLYHWRLQWHUHVWUDWHSURWHFWLRQDQGWKHPHWKRGVE\ZKLFKWKH&RPSDQ\DFFRXQWVIRULWV
GHULYDWLYHLQVWUXPHQWVDUHGHVFULEHGLQ1RWH
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   Benefit Plans and Multi-Employer Pension Plans
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     7KH&RPSDQ\UHFRJQL]HVWKHIXQGHGVWDWXVRILWVUHWLUHPHQWSODQVRQWKH&RQVROLGDWHG%DODQFH6KHHWV$FWXDULDO
JDLQVRUORVVHVSULRUVHUYLFHFRVWVRUFUHGLWVDQGWUDQVLWLRQREOLJDWLRQVWKDWKDYHQRW\HWEHHQUHFRJQL]HGDVSDUWRIQHW
SHULRGLFEHQHILWFRVWDUHUHTXLUHGWREHUHFRUGHGDVDFRPSRQHQWRI$FFXPXODWHG2WKHU&RPSUHKHQVLYH,QFRPH
  ³$2&,´ 7KH&RPSDQ\KDVHOHFWHGWRPHDVXUHGHILQHGEHQHILWSODQDVVHWVDQGREOLJDWLRQVDVRI-DQXDU\ZKLFKLV
WKHPRQWKHQGWKDWLVFORVHVWWRLWVILVFDO\HDUHQGVZKLFKZHUH-DQXDU\IRUILVFDODQG-DQXDU\
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     7KHGHWHUPLQDWLRQRIWKHREOLJDWLRQDQGH[SHQVHIRUFRPSDQ\VSRQVRUHGSHQVLRQSODQVDQGRWKHUSRVWUHWLUHPHQW
EHQHILWVLVGHSHQGHQWRQWKHVHOHFWLRQRIDVVXPSWLRQVXVHGE\DFWXDULHVDQGWKH&RPSDQ\LQFDOFXODWLQJWKRVH
DPRXQWV7KRVHDVVXPSWLRQVDUHGHVFULEHGLQ1RWHDQGLQFOXGHDPRQJRWKHUVWKHGLVFRXQWUDWHWKHH[SHFWHGORQJ
WHUPUDWHRIUHWXUQRQSODQDVVHWVPRUWDOLW\DQGWKHUDWHVRILQFUHDVHLQFRPSHQVDWLRQDQGKHDOWKFDUHFRVWV$FWXDO
UHVXOWVWKDWGLIIHUIURPWKHDVVXPSWLRQVDUHDFFXPXODWHGDQGDPRUWL]HGRYHUIXWXUHSHULRGVDQGWKHUHIRUHJHQHUDOO\
DIIHFWWKHUHFRJQL]HGH[SHQVHDQGUHFRUGHGREOLJDWLRQLQIXWXUHSHULRGV:KLOHWKH&RPSDQ\EHOLHYHVWKDWWKH
DVVXPSWLRQVDUHDSSURSULDWHVLJQLILFDQWGLIIHUHQFHVLQDFWXDOH[SHULHQFHRUVLJQLILFDQWFKDQJHVLQDVVXPSWLRQVPD\
PDWHULDOO\DIIHFWWKHSHQVLRQDQGRWKHUSRVWUHWLUHPHQWREOLJDWLRQVDQGIXWXUHH[SHQVH
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     7KH&RPSDQ\DOVRSDUWLFLSDWHVLQYDULRXVPXOWLHPSOR\HUSODQVIRUVXEVWDQWLDOO\DOOXQLRQHPSOR\HHV3HQVLRQ
H[SHQVHIRUWKHVHSODQVLVUHFRJQL]HGDVFRQWULEXWLRQVDUHIXQGHGRUZKHQFRPPLWPHQWVDUHSUREDEOHDQGUHDVRQDEO\
HVWLPDEOHLQDFFRUGDQFHZLWK*$$35HIHUWR1RWHIRUDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJWKH&RPSDQ\¶V
SDUWLFLSDWLRQLQWKHVHYDULRXVPXOWLHPSOR\HUSHQVLRQSODQV
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     7KH&RPSDQ\DGPLQLVWHUVDQGPDNHVFRQWULEXWLRQVWRWKHHPSOR\HH N UHWLUHPHQWVDYLQJVDFFRXQWV
&RQWULEXWLRQVWRWKHHPSOR\HH N UHWLUHPHQWVDYLQJVDFFRXQWVDUHH[SHQVHGZKHQFRQWULEXWHGRURYHUWKHVHUYLFH
SHULRGLQWKHFDVHRIDXWRPDWLFFRQWULEXWLRQV5HIHUWR1RWHIRUDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJWKH&RPSDQ\¶V
EHQHILWSODQV
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      7KH&RPSDQ\PDLQWDLQVVXUHW\ERQGVUHODWHGWRVHOILQVXUHGZRUNHUV¶FRPSHQVDWLRQFODLPV7KHVHERQGVDUH
UHTXLUHGE\PRVWVWDWHVLQZKLFKWKH&RPSDQ\LVVHOILQVXUHGIRUZRUNHUV¶FRPSHQVDWLRQDQGDUHSODFHGZLWKWKLUGSDUW\
LQVXUDQFHSURYLGHUVWRLQVXUHSD\PHQWRIWKH&RPSDQ\¶VREOLJDWLRQVLQWKHHYHQWWKH&RPSDQ\LVXQDEOHWRPHHWLWV
FODLPSD\PHQWREOLJDWLRQVXSWRLWVVHOILQVXUHGUHWHQWLRQOHYHOV7KHVHERQGVGRQRWUHSUHVHQWOLDELOLWLHVRIWKH
&RPSDQ\DVWKH&RPSDQ\KDVUHFRUGHGUHVHUYHVIRUWKHFODLPFRVWV
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      7KH&RPSDQ\DOVRPDLQWDLQVLQVXUDQFHFRYHUDJHVIRUFHUWDLQULVNVLQFOXGLQJF\EHUH[SRVXUHDQGSURSHUW\UHODWHG
ORVVHV7KH&RPSDQ\¶VLQVXUDQFHFRYHUDJHEHJLQVIRUWKHVHH[SRVXUHVUDQJLQJIURPWR
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   Revenue Recognition
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      6DOHV
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      7KH&RPSDQ\UHFRJQL]HVUHYHQXHVIURPWKHUHWDLOVDOHRISURGXFWVQHWRIVDOHVWD[HVDWWKHSRLQWRIVDOH3KDUPDF\
VDOHVDUHUHFRUGHGZKHQWKHSURGXFWLVSURYLGHGWRWKHFXVWRPHU'LJLWDOFKDQQHORULJLQDWHGVDOHVDUHUHFRJQL]HGHLWKHU
XSRQSLFNXSLQVWRUHRUXSRQGHOLYHU\WRWKHFXVWRPHU$PRXQWVELOOHGWRDFXVWRPHUUHODWHGWRVKLSSLQJDQGGHOLYHU\
UHSUHVHQWUHYHQXHVHDUQHGIRUWKHJRRGVSURYLGHGDQGDUHFODVVLILHGDVVDOHV:KHQVKLSSLQJLVGLVFRXQWHGLWLVUHFRUGHG
DVDQDGMXVWPHQWWRVDOHV'LVFRXQWVSURYLGHGWRFXVWRPHUVE\WKH&RPSDQ\DWWKHWLPHRIVDOHLQFOXGLQJWKRVHSURYLGHG
LQFRQQHFWLRQZLWKOR\DOW\FDUGVDUHUHFRJQL]HGDVDUHGXFWLRQLQVDOHVDVWKHSURGXFWVDUHVROG 'LVFRXQWVSURYLGHGE\
YHQGRUVXVXDOO\LQWKHIRUPRIFRXSRQVDUHQRWUHFRJQL]HGDVDUHGXFWLRQLQVDOHVSURYLGHGWKHFRXSRQVDUHUHGHHPDEOHDW
DQ\UHWDLOHUWKDWDFFHSWVFRXSRQV 7KH&RPSDQ\UHFRUGVDUHFHLYDEOHIURPWKHYHQGRUIRUWKHGLIIHUHQFHLQVDOHVSULFHDQG
FDVKUHFHLYHG )RUPHUFKDQGLVHVROGLQRQHRIWKH&RPSDQ\¶VVWRUHVRURQOLQHWHQGHULVDFFHSWHGDWWKHSRLQWRIVDOH
7KH&RPSDQ\DFWVDVSULQFLSDOLQFHUWDLQYHQGRUDUUDQJHPHQWVZKHUHWKHSXUFKDVHDQGVDOHRILQYHQWRU\DUHYLUWXDOO\
VLPXOWDQHRXV7KH&RPSDQ\UHFRUGVUHYHQXHDQGUHODWHGFRVWVRQDJURVVEDVLVIRUWKHVHDUUDQJHPHQWV)RUSKDUPDF\
VDOHVFROOHFWLRQRIWKLUGSDUW\UHFHLYDEOHVLVW\SLFDOO\H[SHFWHGZLWKLQWKUHHPRQWKVRUOHVVIURPWKHWLPHRISXUFKDVH
7KHWKLUGSDUW\UHFHLYDEOHVIURPSKDUPDF\VDOHVDUHUHFRUGHGLQ³5HFHLYDEOHV´LQWKH&RPSDQ\¶V&RQVROLGDWHG%DODQFH
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JLIWFDUGVDUHUHGHHPHGWRSXUFKDVHWKH&RPSDQ\¶VSURGXFWV7KH&RPSDQ\¶VJLIWFDUGVGRQRWH[SLUH:KLOHJLIWFDUGV
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FHUWDLQFRQGLWLRQVDUHPHW7KH&RPSDQ\¶VGHULYDWLYHILQDQFLDOLQVWUXPHQWVDUHUHFRJQL]HGRQWKHEDODQFHVKHHWDWIDLU
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LQWHUHVWUDWHIOXFWXDWLRQVWKURXJKWKHXVHRIDFRPPHUFLDOSDSHUSURJUDPLQWHUHVWUDWHVZDSV IDLUYDOXHKHGJHV DQG
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UHFRJQL]HGDQXQUHDOL]HGORVVRIUHODWHGWRWKHVHVZDSVWKDWLVLQFOXGHGLQ³ /RVV JDLQRQLQYHVWPHQWV´LQWKH
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UHPDLQLQJUHODWHGWRQRQYHVWHGVKDUHEDVHGFRPSHQVDWLRQDUUDQJHPHQWVJUDQWHGXQGHUWKH3ODQV7KLVFRVWLVH[SHFWHG
WREHUHFRJQL]HGRYHUDZHLJKWHGDYHUDJHSHULRGRIDSSUR[LPDWHO\WZR\HDUV7KHWRWDOIDLUYDOXHRIRSWLRQVWKDWYHVWHG
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VKDUHVXQGHUDVWRFNUHSXUFKDVHSURJUDPDGRSWHGE\WKH&RPSDQ\¶V%RDUGRI'LUHFWRUV'XULQJWKH&RPSDQ\
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     7KH&RPSDQ\EHOLHYHVWKDWDOORZDQFHVIRUORVVKDYHEHHQSURYLGHGWRWKHH[WHQWQHFHVVDU\DQGWKDWLWVDVVHVVPHQWRI
FRQWLQJHQFLHVLVUHDVRQDEOH7RWKHH[WHQWWKDWUHVROXWLRQRIFRQWLQJHQFLHVUHVXOWVLQDPRXQWVWKDWYDU\IURPWKH
&RPSDQ\¶VHVWLPDWHVIXWXUHHDUQLQJVZLOOEHFKDUJHGRUFUHGLWHG
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ZRUNHUV¶FRPSHQVDWLRQULVNVDQGFHUWDLQOHYHOVRILQVXUHGJHQHUDOOLDELOLW\ULVNVDUHEDVHGRQUHWURVSHFWLYHSUHPLXP
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RQDSUHVHQWYDOXHEDVLV$FWXDOFODLPVHWWOHPHQWVDQGH[SHQVHVLQFLGHQWWKHUHWRPD\GLIIHUIURPWKHSURYLVLRQVIRU
ORVV3URSHUW\ULVNVKDYHEHHQXQGHUZULWWHQE\DVXEVLGLDU\DQGDUHDOOUHLQVXUHGZLWKXQUHODWHGLQVXUDQFH
FRPSDQLHV2SHUDWLQJGLYLVLRQVDQGVXEVLGLDULHVKDYHSDLGSUHPLXPVDQGWKHLQVXUDQFHVXEVLGLDU\KDVSURYLGHGORVV
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FRQWUDFWGLVSXWHVHPSOR\PHQWGLVFULPLQDWLRQZDJHDQGKRXUDQGRWKHUUHJXODWRU\FODLPVDUHSHQGLQJDJDLQVWWKH
&RPSDQ\6RPHRIWKHVHVXLWVSXUSRUWRUKDYHEHHQGHWHUPLQHGWREHFODVVDFWLRQVDQGRUVHHNVXEVWDQWLDOGDPDJHV
$OWKRXJKLWLVQRWSRVVLEOHDWWKLVWLPHWRHYDOXDWHWKHPHULWVRIDOORIWKHVHFODLPVDQGODZVXLWVQRUWKHLUOLNHOLKRRGRI
VXFFHVVWKH&RPSDQ\LVRIWKHEHOLHIWKDWDQ\UHVXOWLQJOLDELOLW\ZLOOQRWKDYHDPDWHULDOHIIHFWRQWKH&RPSDQ\¶V
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DQGEHOLHYHVLWKDVPDGHSURYLVLRQVZKHUHLWLVUHDVRQDEO\SRVVLEOHWRHVWLPDWHDQGZKHQDQDGYHUVHRXWFRPHLV
SUREDEOH1RQHWKHOHVVDVVHVVLQJDQGSUHGLFWLQJWKHRXWFRPHVRIWKHVHPDWWHUVLQYROYHVVXEVWDQWLDOXQFHUWDLQWLHV
0DQDJHPHQWFXUUHQWO\EHOLHYHVWKDWWKHDJJUHJDWHUDQJHRIORVVIRUWKH&RPSDQ\¶VH[SRVXUHLVQRWPDWHULDOWRWKH
&RPSDQ\,WUHPDLQVSRVVLEOHWKDWGHVSLWHPDQDJHPHQW¶VFXUUHQWEHOLHIPDWHULDOGLIIHUHQFHVLQDFWXDORXWFRPHVRU
FKDQJHVLQPDQDJHPHQW¶VHYDOXDWLRQRUSUHGLFWLRQVFRXOGDULVHWKDWFRXOGKDYHDPDWHULDODGYHUVHHIIHFWRQWKH
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GHYHORSPHQWVLQEHOOZHWKHU0'/FDVHVLQFOXGLQJVRPHLQZKLFKWKH&RPSDQ\LVQDPHGZKLFKDUHSURFHHGLQJRQD
VWDJJHUHGGLVFRYHU\VFKHGXOH2QFHGLVFRYHU\LVFRPSOHWHGWKRVHFDVHVZLOOEHUHPDQGHGWRWKHRULJLQDWLQJIHGHUDO
FRXUWIRUWULDO,QDGGLWLRQWKH&RPSDQ\KDVUHFHLYHGUHTXHVWVIRUGRFXPHQWVDQGLQIRUPDWLRQIURPJRYHUQPHQWDJHQFLHV
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     7KH&RPSDQ\LVYLJRURXVO\GHIHQGLQJWKHVHPDWWHUVDQGEHOLHYHVWKDWWKHVHFDVHVDUHZLWKRXWPHULW$WWKLVVWDJHLQ
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     ,QWKHWKLUGTXDUWHURIWKH&RPSDQ\UHFRUGHGDFKDUJHRIUHODWLQJWRDVHWWOHPHQWRIRSLRLGOLWLJDWLRQ
FODLPVZLWKWKH6WDWHRI1HZ0H[LFR7KHDJUHHGXSRQVHWWOHPHQWIUDPHZRUNDOORFDWHVDPRQJYDULRXVFRQVWLWXHQWV
UHODWHGWRWKHVWDWHRI1HZ0H[LFR7KLVVHWWOHPHQWDJUHHPHQWUHVROYHGDOORSLRLGODZVXLWVDQGFODLPVE\WKHVWDWHRI
1HZ0H[LFRDJDLQVWWKH&RPSDQ\.URJHUFRQWLQXHVWRYLJRURXVO\GHIHQGDJDLQVWDOOFODLPVDQGODZVXLWVUHODWLQJWR
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     Assignments —7KH&RPSDQ\LVFRQWLQJHQWO\OLDEOHIRUOHDVHVWKDWKDYHEHHQDVVLJQHGWRYDULRXVWKLUGSDUWLHVLQ
FRQQHFWLRQZLWKIDFLOLW\FORVLQJVDQGGLVSRVLWLRQV7KH&RPSDQ\FRXOGEHUHTXLUHGWRVDWLVI\WKHREOLJDWLRQVXQGHUWKH
OHDVHVLIDQ\RIWKHDVVLJQHHVLVXQDEOHWRIXOILOOLWVOHDVHREOLJDWLRQV'XHWRWKHZLGHGLVWULEXWLRQRIWKH&RPSDQ\¶V
DVVLJQPHQWVDPRQJWKLUGSDUWLHVDQGYDULRXVRWKHUUHPHGLHVDYDLODEOHWKH&RPSDQ\EHOLHYHVWKHOLNHOLKRRGWKDWLWZLOO
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     7KH&RPSDQ\KDVDXWKRUL]HGILYHPLOOLRQVKDUHVRIYRWLQJFXPXODWLYHSUHIHUUHGVKDUHVWZRPLOOLRQVKDUHVZHUH
DYDLODEOHIRULVVXDQFHDW-DQXDU\7KHVKDUHVKDYHDSDUYDOXHRISHUVKDUHDQGDUHLVVXDEOHLQVHULHV
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  Common Stock Repurchase Program
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     7KH&RPSDQ\PDLQWDLQVVWRFNUHSXUFKDVHSURJUDPVWKDWFRPSO\ZLWK5XOHERIWKH6HFXULWLHV([FKDQJH$FW
RIWRDOORZIRUWKHRUGHUO\UHSXUFKDVHRI7KH.URJHU&RFRPPRQVKDUHVIURPWLPHWRWLPH7KH&RPSDQ\PDGH
RSHQPDUNHWSXUFKDVHVWRWDOLQJDQGXQGHUWKHVHUHSXUFKDVHSURJUDPVLQDQG
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     ,QDGGLWLRQWRWKHVHUHSXUFKDVHSURJUDPVLQ'HFHPEHUWKH&RPSDQ\EHJDQDSURJUDPWRUHSXUFKDVHFRPPRQ
VKDUHVWRUHGXFHGLOXWLRQUHVXOWLQJIURPLWVHPSOR\HHVWRFNRSWLRQSODQV7KLVSURJUDPLVVROHO\IXQGHGE\SURFHHGV
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XQLRQUHSUHVHQWHGHPSOR\HHVDVGHWHUPLQHGE\WKHWHUPVDQGFRQGLWLRQVRIFROOHFWLYHEDUJDLQLQJDJUHHPHQWV7KHVH
LQFOXGHVHYHUDOTXDOLILHGSHQVLRQSODQV WKH³4XDOLILHG3ODQV´ DQGQRQTXDOLILHGSHQVLRQSODQV WKH³1RQ4XDOLILHG
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3ODQV)XQGLQJIRUWKHFRPSDQ\VSRQVRUHGSHQVLRQSODQVLVEDVHGRQDUHYLHZRIWKHVSHFLILFUHTXLUHPHQWVDQGRQ
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%DVHGRQHPSOR\HH¶VDJH\HDUVRIVHUYLFHDQGSRVLWLRQZLWKWKH&RPSDQ\WKHHPSOR\HHPD\EHHOLJLEOHIRUUHWLUHH
KHDOWKFDUHEHQHILWV)XQGLQJRIUHWLUHHKHDOWKFDUHEHQHILWVRFFXUVDVFODLPVRUSUHPLXPVDUHSDLG
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    •    3ULYDWH(TXLW\3ULYDWH(TXLW\LQYHVWPHQWVDUHYDOXHGEDVHGRQWKHIDLUYDOXHRIWKHXQGHUO\LQJVHFXULWLHVZLWKLQ
         WKHIXQGZKLFKLQFOXGHLQYHVWPHQWVERWKWUDGHGRQDQDFWLYHPDUNHWDQGQRWWUDGHGRQDQDFWLYHPDUNHW)RU
         WKRVHLQYHVWPHQWVWKDWDUHWUDGHGRQDQDFWLYHPDUNHWWKHYDOXHVDUHEDVHGRQWKHFORVLQJSULFHUHSRUWHGRQWKH
         DFWLYHPDUNHWRQZKLFKWKRVHLQGLYLGXDOVHFXULWLHVDUHWUDGHG)RULQYHVWPHQWVQRWWUDGHGRQDQDFWLYHPDUNHW
         RUIRUZKLFKDTXRWHGSULFHLVQRWSXEOLFO\DYDLODEOHDYDULHW\RIXQREVHUYDEOHYDOXDWLRQPHWKRGRORJLHV
         LQFOXGLQJGLVFRXQWHGFDVKIORZPDUNHWPXOWLSOHDQGFRVWYDOXDWLRQDSSURDFKHVDUHHPSOR\HGE\WKHIXQG
         PDQDJHUWRYDOXHLQYHVWPHQWV)DLUYDOXHVRIDOOLQYHVWPHQWVDUHDGMXVWHGDQQXDOO\LIQHFHVVDU\EDVHGRQ
         DXGLWVRIWKHSULYDWHHTXLW\IXQGILQDQFLDOVWDWHPHQWVVXFKDGMXVWPHQWVDUHUHIOHFWHGLQWKHIDLUYDOXHRIWKH
         SODQ¶VDVVHWV

    •    5HDO(VWDWH5HDOHVWDWHLQYHVWPHQWVLQFOXGHLQYHVWPHQWVLQUHDOHVWDWHIXQGVPDQDJHGE\DIXQGPDQDJHU
         7KHVHLQYHVWPHQWVDUHYDOXHGXVLQJDYDULHW\RIXQREVHUYDEOHYDOXDWLRQPHWKRGRORJLHVLQFOXGLQJGLVFRXQWHG
         FDVKIORZPDUNHWPXOWLSOHDQGFRVWYDOXDWLRQDSSURDFKHV7KHYDOXDWLRQVIRUWKHVHLQYHVWPHQWVDUHQRWEDVHG
         RQUHDGLO\REVHUYDEOHLQSXWVDQGDUHFODVVLILHGDV/HYHOLQYHVWPHQWV&HUWDLQRWKHUUHDOHVWDWHLQYHVWPHQWVDUH
         YDOXHGXVLQJD1$9SURYLGHGE\WKHPDQDJHURIHDFKIXQG7KHVHDVVHWVKDYHEHHQYDOXHGXVLQJ1$9DVD
         SUDFWLFDOH[SHGLHQW

     7KHPHWKRGVGHVFULEHGDERYHPD\SURGXFHDIDLUYDOXHFDOFXODWLRQWKDWPD\QRWEHLQGLFDWLYHRIQHWUHDOL]DEOHYDOXH
RUUHIOHFWLYHRIIXWXUHIDLUYDOXHV)XUWKHUPRUHZKLOHWKH&RPSDQ\EHOLHYHVLWVYDOXDWLRQPHWKRGVDUHDSSURSULDWHDQG
FRQVLVWHQWZLWKRWKHUPDUNHWSDUWLFLSDQWVWKHXVHRIGLIIHUHQWPHWKRGRORJLHVRUDVVXPSWLRQVWRGHWHUPLQHWKHIDLUYDOXH
RIFHUWDLQILQDQFLDOLQVWUXPHQWVFRXOGUHVXOWLQDGLIIHUHQWIDLUYDOXHPHDVXUHPHQW

    7KH&RPSDQ\FRQWULEXWHGDQGH[SHQVHGDQGWRHPSOR\HH N UHWLUHPHQWVDYLQJVDFFRXQWVLQ
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PDWFKLQJFRQWULEXWLRQVDQGDXWRPDWLFFRQWULEXWLRQVIURPWKH&RPSDQ\EDVHGRQSDUWLFLSDQWFRQWULEXWLRQVFRPSHQVDWLRQ
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     7KH&RPSDQ\FRQWULEXWHVWRYDULRXVPXOWLHPSOR\HUSHQVLRQSODQVEDVHGRQREOLJDWLRQVDULVLQJIURPFROOHFWLYH
EDUJDLQLQJDJUHHPHQWV7KHVHPXOWLHPSOR\HUSHQVLRQSODQVSURYLGHUHWLUHPHQWEHQHILWVWRSDUWLFLSDQWVEDVHGRQWKHLU
VHUYLFHWRFRQWULEXWLQJHPSOR\HUV7KHEHQHILWVDUHSDLGIURPDVVHWVKHOGLQWUXVWIRUWKDWSXUSRVH7UXVWHHVDUH
DSSRLQWHGLQHTXDOQXPEHUE\HPSOR\HUVDQGXQLRQV7KHWUXVWHHVW\SLFDOO\DUHUHVSRQVLEOHIRUGHWHUPLQLQJWKHOHYHORI
EHQHILWVWREHSURYLGHGWRSDUWLFLSDQWVDVZHOODVIRUVXFKPDWWHUVDVWKHLQYHVWPHQWRIWKHDVVHWVDQGWKHDGPLQLVWUDWLRQ
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     7KH&RPSDQ\UHFRJQL]HVH[SHQVHLQFRQQHFWLRQZLWKWKHVHSODQVDVFRQWULEXWLRQVDUHIXQGHGRUZKHQFRPPLWPHQWV
DUHSUREDEOHDQGUHDVRQDEO\HVWLPDEOHLQDFFRUGDQFHZLWK*$$37KH&RPSDQ\PDGHFDVKFRQWULEXWLRQVWRWKHVHSODQV
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HVWDEOLVKHGIRUWKHUHVWUXFWXULQJRIFHUWDLQPXOWLHPSOR\HUSHQVLRQSODQDJUHHPHQWV

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DVVRFLDWHVWKH&RPSDQ\PD\QHJRWLDWHWKHUHVWUXFWXULQJRIXQGHUIXQGHGPXOWLHPSOR\HUSHQVLRQSODQREOLJDWLRQVWR
KHOSVWDELOL]HDVVRFLDWHV¶IXWXUHEHQHILWVDQGEHFRPHWKHILGXFLDU\RIWKHUHVWUXFWXUHGPXOWLHPSOR\HUSHQVLRQSODQ7KH
FRPPLWPHQWVIURPWKHVHUHVWUXFWXULQJVGRQRWFKDQJHWKH&RPSDQ\¶VGHEWSURILOHDVLWUHODWHVWRLWVFUHGLWUDWLQJVLQFH
WKHVHRIIEDODQFHVKHHWFRPPLWPHQWVDUHW\SLFDOO\FRQVLGHUHGLQWKH&RPSDQ\¶VLQYHVWPHQWJUDGHGHEWUDWLQJ




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         IRUDVVRFLDWHVDQGUHWLUHHV7KHDJUHHPHQWZLOOEHVDWLVILHGE\FDVKLQVWDOOPHQWSD\PHQWVWRWKH8)&:
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         ZLWKGUDZIURPWKH8)&:,QWHUQDWLRQDO8QLRQ,QGXVWU\3HQVLRQ)XQG ³1DWLRQDO)XQG´ 'XHWRWKH
         UDWLILFDWLRQRIWKHDJUHHPHQWWKH&RPSDQ\LQFXUUHGDZLWKGUDZDOOLDELOLW\FKDUJHRIRQDSUHWD[EDVLVWR
         IXOILOOREOLJDWLRQVIRUSDVWVHUYLFHIRUDVVRFLDWHVDQGUHWLUHHVLQWKH1DWLRQDO)XQG7KH&RPSDQ\DOVRLQFXUUHG
         DQDGGLWLRQDOFRPPLWPHQWWRDWUDQVLWLRQUHVHUYHLQWKHQHZYDULDEOHDQQXLW\SHQVLRQSODQ2QDQDIWHUWD[
         EDVLVWKHZLWKGUDZDOOLDELOLW\DQGFRPPLWPHQWWRWKHWUDQVLWLRQUHVHUYHWRWDOHG$VRI-DQXDU\
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         SRUWLRQRIWKHFRPPLWPHQWRILVLQFOXGHGLQ³2WKHUORQJWHUPOLDELOLWLHV´LQWKH&RPSDQ\¶V&RQVROLGDWHG
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         FXUUHQWOLDELOLWLHV´LQWKH&RPSDQ\¶V&RQVROLGDWHG%DODQFH6KHHWV,QDQGWKH&RPSDQ\SDLG
         DQGRIWKHVHFRPPLWPHQWVUHVSHFWLYHO\7KHRULJLQDOFRPPLWPHQWRIRQDSUHWD[EDVLVZLOOEH
         VDWLVILHGE\SD\PHQWWRWKH1DWLRQDO)XQGRYHUWKUHH\HDUV,QLQ³2WKHU´ZLWKLQ³&KDQJHVLQRSHUDWLQJ
         DVVHWVDQGOLDELOLWLHV´WKH&RPSDQ\¶V&RQVROLGDWHG6WDWHPHQWVRI&DVK)ORZVLQFOXGHVWKHFKDQJHUHODWHGWR
         UHFRUGLQJWKHORQJWHUPSRUWLRQRIWKHZLWKGUDZDOOLDELOLW\FRPPLWPHQW

   7KHULVNVRISDUWLFLSDWLQJLQPXOWLHPSOR\HUSHQVLRQSODQVDUHGLIIHUHQWIURPWKHULVNVRISDUWLFLSDWLQJLQVLQJOH
HPSOR\HUSHQVLRQSODQVLQWKHIROORZLQJUHVSHFWV

    •    $VVHWVFRQWULEXWHGWRWKHPXOWLHPSOR\HUSODQE\RQHHPSOR\HUPD\EHXVHGWRSURYLGHEHQHILWVWRHPSOR\HHV
         RIRWKHUSDUWLFLSDWLQJHPSOR\HUV

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         ZLWKGUDZLQJHPSOR\HUPD\EHERUQHE\WKHUHPDLQLQJSDUWLFLSDWLQJHPSOR\HUV

    •    ,IWKH&RPSDQ\VWRSVSDUWLFLSDWLQJLQVRPHRILWVPXOWLHPSOR\HUSHQVLRQSODQVWKH&RPSDQ\PD\EHUHTXLUHG
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               7KHUHDUHQR)LQDQFLDO6WDWHPHQW6FKHGXOHVLQFOXGHGZLWKWKLVILOLQJIRUWKHUHDVRQWKDWWKH\DUHQRW
               DSSOLFDEOHRUDUHQRWUHTXLUHGRUWKHLQIRUPDWLRQLVLQFOXGHGLQWKHILQDQFLDOVWDWHPHQWVRUQRWHVWKHUHWR

    D  E     ([KLELWV

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               0HUJHU6XELVKHUHE\LQFRUSRUDWHGE\UHIHUHQFHWR([KLELWRIWKH&RPSDQ\¶V.ILOHGZLWKWKH6(&RQ
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               &RPSDQ\¶V4XDUWHUO\5HSRUWRQ)RUP 4IRUWKHTXDUWHUHQGHG0D\         




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               ILOHGDV([KLELWVEHFDXVHWKHDPRXQWRIGHEWXQGHUHDFKLQVWUXPHQWLVOHVVWKDQRIWKHFRQVROLGDWHG
               DVVHWVRIWKH&RPSDQ\7KH&RPSDQ\XQGHUWDNHVWRILOHWKHVHLQVWUXPHQWV ZLWKWKH6(&XSRQUHTXHVW

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          7KH.URJHU&R N 5HWLUHPHQW6DYLQJV$FFRXQW5HVWRUDWLRQ3ODQ,QFRUSRUDWHGE\UHIHUHQFHWR
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          7KH.URJHU&R(PSOR\HH3URWHFWLRQ3ODQGDWHG-DQXDU\ ,QFRUSRUDWHGE\UHIHUHQFHWR
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          7HUP/RDQDJUHHPHQWGDWHGDVRI1RYHPEHUE\DQGDPRQJ7KH.URJHU&RWKHOHQGHUVIURPWLPH
               WRWLPHSDUW\WKHUHWRDQG&LWLEDQN1$DVDGPLQLVWUDWLYHDJHQWIRUWKHOHQGHUVLQFRUSRUDWHGE\UHIHUHQFH
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       $PHQGPHQW1RWR&UHGLW$JUHHPHQWGDWHGDVRI1RYHPEHUE\DQGDPRQJ7KH.URJHU&RWKH
            OHQGHUVSDUW\WKHUHWRDQG%DQNRI$PHULFD1$DVSD\LQJDJHQWWRWKH$PHQGHGDQG5HVWDWHG&UHGLW
            $JUHHPHQWGDWHG-XO\LQFRUSRUDWHGE\UHIHUHQFHWR([KLELWRIWKH&RPSDQ\¶V&XUUHQW5HSRUW
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            UHIHUHQFHWR([KLELWRIWKH&RPSDQ\¶V$QQXDO5HSRUWRQ)RUP.IRUWKHILVFDO\HDUHQGHG
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            ,QFRUSRUDWHGE\UHIHUHQFHWR([KLELWRIWKH&RPSDQ\¶V$QQXDO5HSRUWRQ)RUP.IRUWKHILVFDO
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      )RUPRI1RQ4XDOLILHG6WRFN2SWLRQ*UDQW$JUHHPHQWXQGHU/RQJ7HUP,QFHQWLYHDQG&DVK%RQXV3ODQV
            ,QFRUSRUDWHGE\UHIHUHQFHWR([KLELWRIWKH&RPSDQ\¶V4XDUWHUO\5HSRUWRQ)RUP4IRUWKHTXDUWHU
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      )RUPRI3HUIRUPDQFH8QLW$ZDUG$JUHHPHQWXQGHU/RQJ7HUP,QFHQWLYHDQG&DVK%RQXV3ODQV
            ,QFRUSRUDWHGE\UHIHUHQFHWR([KLELWRIWKH&RPSDQ\¶V$QQXDO5HSRUWRQ)RUP.IRUWKHILVFDO
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            -DQXDU\

       6XEVLGLDULHVRIWKH5HJLVWUDQW

       &RQVHQWRI,QGHSHQGHQW5HJLVWHUHG3XEOLF$FFRXQWLQJ)LUP

       3RZHUVRI$WWRUQH\

       5XOHD D G D &HUWLILFDWLRQ

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,16  ;%5/,QVWDQFH'RFXPHQWWKHLQVWDQFHGRFXPHQWGRHVQRWDSSHDULQWKH,QWHUDFWLYH'DWD)LOHEHFDXVHLWV
           ;%5/WDJVDUHHPEHGGHGZLWKLQWKH,QOLQH;%5/GRFXPHQW

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          &RYHU3DJH,QWHUDFWLYH'DWD)LOH7KHFRYHUSDJHLQWHUDFWLYHGDWDILOHGRHVQRWDSSHDULQWKH,QWHUDFWLYH
              'DWD)LOHEHFDXVHLWV;%5/WDJVDUHHPEHGGHGZLWKLQWKH,QOLQH;%5/GRFXPHQW

   0DQDJHPHQWFRQWUDFWRUFRPSHQVDWRU\SODQRUDUUDQJHPHQW
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    3XUVXDQWWRWKHUHTXLUHPHQWVRI6HFWLRQRU G RIWKH6HFXULWLHV([FKDQJH$FWRIWKH&RPSDQ\KDVGXO\
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                                                                 SULQFLSDOH[HFXWLYHRIILFHU

     3XUVXDQWWRWKHUHTXLUHPHQWVRIWKH6HFXULWLHV([FKDQJH$FWRIWKLVUHSRUWKDVEHHQVLJQHGEHORZE\WKH
IROORZLQJSHUVRQVRQEHKDOIRIWKH&RPSDQ\DQGLQWKHFDSDFLWLHVLQGLFDWHGRQWKHWKRI0DUFK
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V*DU\0LOOHUFKLS                                        6HQLRU9LFH3UHVLGHQWDQG&KLHI)LQDQFLDO2IILFHU
*DU\0LOOHUFKLS                                             SULQFLSDO ILQDQFLDORIILFHU

V7RGG$)ROH\                                          *URXS9LFH3UHVLGHQW &RUSRUDWH&RQWUROOHU
7RGG$)ROH\                                               SULQFLSDODFFRXQWLQJRIILFHU

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: 5RGQH\0F0XOOHQ
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LQTXLULHVVKRXOGEH DGGUHVVHG WR 6KDUHKROGHU 5HODWLRQV 7KH .URJHU &R  9LQH 6WUHHW
&LQFLQQDWL 2KLR  ,QIRUPDWLRQDOVRLVDYDLODEOHRQ.URJHU¶VFRUSRUDWHZHEVLWHDW
LUNURJHUFRP




.URJHUKDVDYDULHW\RISODQVXQGHUZKLFKHPSOR\HHVPD\DFTXLUHFRPPRQVKDUHVRI.URJHU
(PSOR\HHV RI.URJHUDQGLWVVXEVLGLDULHVRZQVKDUHVWKURXJKDSURILWVKDULQJSODQDVZHOODV N 
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FRQFHUQLQJWKHLUVKDUHVLQ WKH .URJHU 6WRFN ([FKDQJH RU LI WKH\ ZLVK WR VHOO VKDUHV WKH\ KDYH
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                                  EXECUTIVE OFFICERS
       Mary Ellen Adcock                     Carin L. Fike                 Timothy A. Massa
 6HQLRU9LFH3UHVLGHQW2SHUDWLRQV   9LFH3UHVLGHQWDQG7UHDVXUHU     6HQLRU9LFH3UHVLGHQWDQG
                                                                          &KLHI3HRSOH2IILFHU

        Stuart W. Aitken                 Todd A. Foley                  W. Rodney McMullen
 6HQLRU9LFH3UHVLGHQWDQG&KLHI *URXS9LFH3UHVLGHQW&RQWUROOHU    &KDLUPDQRIWKH%RDUGDQG
0HUFKDQGLVLQJ 0DUNHWLQJ2IILFHU                                      &KLHI([HFXWLYH2IILFHU

        Gabriel Arreaga                   Valerie L. Jabbar                 Gary Millerchip
      6HQLRU9LFH3UHVLGHQW             6HQLRU9LFH3UHVLGHQW         6HQLRU9LFH3UHVLGHQWDQG
                                                                         &KLHI)LQDQFLDO2IILFHU
           Yael Cosset                   Kenneth C. Kimball              Christine S. Wheatley
    6HQLRU9LFH3UHVLGHQWDQG           6HQLRU9LFH3UHVLGHQW       6HQLRU9LFH3UHVLGHQW*HQHUDO
    &KLHI,QIRUPDWLRQ2IILFHU                                            &RXQVHODQG6HFUHWDU\



                                 OPERATING UNIT HEADS
          Jake Cannon                     Colleen Juergensen                 Ann M. Reed
        /RXLVYLOOH'LYLVLRQ               &HQWUDO'LYLVLRQ                &LQFLQQDWL'LYLVLRQ
        Micheal E. Cristal               Todd A. Kammeyer                  David W. Richard
         'HOWD'LYLVLRQ                   )UHG0H\HU6WRUHV                      4)&
         Tammy DeBoer                    Bryan H. Kaltenbach              Thomas L. Schwilke
          +DUULV7HHWHU                      )RRG/HVV                       5DOSKV
          Ken DeLuca                          Joe Kelley                    Keith Shoemaker
        0LFKLJDQ'LYLVLRQ              .LQJ6RRSHUV&LW\0DUNHW              'DOODV'LYLVLRQ
          Steve Dreher                   Kenneth C. Kimball                   Victor Smith
       'LOORQV)RRG6WRUHV                    6PLWK¶V                        $WODQWD'LYLVLRQ
         Monica Garnes                  Colleen R. Lindholz                Jeff B. Talbot
        )U\¶V)RRG 'UXJ                   .URJHU+HDOWK               .URJHU3HUVRQDO)LQDQFH
         Laura Gump                         Michael Marx                  Nicholas Tranchina
        +RXVWRQ'LYLVLRQ                      5RXQG\¶V                     0XUUD\¶V&KHHVH
        Sonya Hostetler                      Lori Raya                      Dana Zurcher
        1DVKYLOOH'LYLVLRQ              0LG$WODQWLF'LYLVLRQ             &ROXPEXV'LYLVLRQ
           Erik Jensen
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                               UNITED STATES OF AMERICA
                          BEFORE THE FEDERAL TRADE COMMISSION

     _______________________________________
     In the Matter of

     Cerberus Institutional Partners V, L.P.
     a limited partnership;

     AB Acquisition LLC,                                    Docket No. C-4504
     a limited liability company;                           PUBLIC VERSION

     and
     Safeway Inc.,
     a corporation
     _______________________________________

             APPLICATION FOR APPROVAL OF PROPOSED SALE OF
     SUPERVALU ASSETS TO SAAR’S AND REQUEST FOR EXPEDITED TREATMENT

            Pursuant to Section 2.41(f) of the Federal Trade Commission (“Commission”) Rules of

     Practice and Procedure, 16 C.F.R § 2.41(f) (2016), and Paragraph VII of the Commission’s

     Decision and Order in the above-captioned matter, SuperValu Inc. (“SuperValu”) hereby

     petitions the Commission to approve the proposed sale of a supermarket located in Lake Stevens,

     Washington to Saar’s Inc. (“Saar’s”) and affiliates.

I.      INTRODUCTION

            On March 6, 2014, AB Acquisition LLC (“Albertson’s”) and Safeway Inc. (“Safeway”)

     entered into an agreement whereby Albertson’s would acquire all outstanding shares of Safeway

     in a transaction valued at approximately $9.2 billion. On January 17, 2015, the Commission

     issued a complaint alleging that the transaction would substantially lessen competition for the

     retail sale of food and other grocery products in supermarkets located in 130 local markets. On

     the same day, the Commission accepted an Agreement Containing Consent Order, including a

     proposed Decision and Order and an Order to Maintain Assets, resolving the charges in the



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complaint. Following a public comment period, the Commission approved the final Decision and

Order (“Order”) on July 2, 2015.

       The Order required Albertson’s, its parent company Cerberus Institutional Partners V,

L.P., and Safeway to divest 168 supermarkets located in Arizona, California, Nevada, Oregon,

and Washington to various approved buyers. Paragraph II.A.4 of the Order required the

divestiture of two supermarkets to SuperValu within 100 days of closing: (1) Albertson’s Store

No. 459, located at 14019 Woodinville-Duvall Road, Woodinville, Washington (King County);

and (2) Albertson’s Store No. 477, located at 303 91st Avenue NE, Lake Stevens, Washington

(Snohomish County) (“Lake Stevens Store”) (collectively, the “SuperValu Divestiture Assets”).

The Order further provides that for three years following the Order’s date of issuance, SuperValu

must obtain the Commission’s prior approval for the sale of any SuperValu Divestiture Assets,

and may only sell such assets to a buyer approved by the Commission.

       SuperValu has entered into a definitive agreement to sell the Lake Stevens Store to Saar’s

(“Transaction”). SuperValu hereby requests the Commission to approve the proposed

Transaction. This petition outlines the principal terms of the Transaction, describes SuperValu’s

rationale for the proposed Transaction and its efforts to shop the assets to potential buyers, and

explains why the proposed Transaction merits Commission approval. The Commission should

approve the proposed Transaction because (1)

                                                                  Saar’s is a strong value-driven

supermarket operator with a proven track record of success in markets such as Lake Stevens; and

(2) Saar’s has the financial strength, operational capability, and strategic direction necessary to

operate the Lake Stevens Store competitively, as well as a commitment to grow using SuperValu




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       as its wholesaler. For these reasons, sale of the Lake Stevens Store to Saar’s will promote

       competition and advance the objectives of the Commission’s Order.

 II.      REQUEST FOR EXPEDITED TREATMENT

              SuperValu desires to complete the proposed Transaction as soon as possible following

       Commission approval. The Lake Stevens Store has been closed since September 2016. Expedited

       review and consummation of the transaction would allow Saar’s to reopen the store quickly,

       move forward with its business plans to operative the store competitively, and provide a valuable

       competitive alternative to consumers in the Lake Stevens area. It would also enable SuperValu to

       mitigate its continuing losses from holding this closed store. In light of these circumstances and

       the clear bases for approval set forth below, SuperValu requests that the Commission shorten the

       customary 30-day public comment period as permitted under Section 2.41(f)(2) of the

       Commission Rules of Practice and Procedure, 16 C.F.R. § 2.41(f)(2), and approve the proposed

       Transaction by February 25, 2017, which marks the end of SuperValu’s fiscal year.

III.      TRANSACTION DESCRIPTION

              On January 12, 2017, a Purchase and Sale Agreement (“PSA”), attached herewith as

       Exhibit A, was executed by and between SUPERVALU WA, L.L.C.; SUPERVALU Holdings,

       Inc. (collectively, “SUPERVALU”); Saar Properties VIII, LLC; and Saar’s Inc. (collectively,

       “SAAR”). Pursuant to the PSA, SUPERVALU will sell to SAAR the Lake Stevens Store,

       located at 303 91st Avenue NE, Lake Stevens, Washington (Snohomish County) (“Property”),

       certain improvements thereto (“Improvements”), and all furniture, equipment, trade fixtures, and

       personal property located therein (“FFE”).




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      2016) are attached herewith as Exhibits B, C, and D. A company profile of Saar’s is attached

      herewith as Exhibit E.

             C. Saar’s is a Financially Sound Buyer Capable of Operating the Lake Stevens
                Store Competitively

             SuperValu marketed the Lake Stevens Store to several SuperValu-supplied retailers, non-

      SuperValu-supplied retailers, and third-party real estate developers. SuperValu would prefer to

      sell the Lake Stevens Store to an independent grocery store operator, with SuperValu as the

      supplier. After shopping the store to a number of potential buyers, SuperValu concluded that

      Saar’s offered the best fit due to (1) its proven track record of success with its value-driven

      format in markets similar to Lake Stevens; (2) its ability to fill a competitive need in the Lake

      Stevens community; (3) its overall financial and operational strength, including robust sales

      expectations; and (4) its desire to grow using SuperValu as its wholesaler.

V.       CONCLUSION

             For the foregoing reasons, SuperValu respectfully requests that the Commission

      expeditiously approve the proposed Transaction as soon as practicable during the public

      comment period, and in any event before February 25, 2017.

VI.      REQUEST FOR CONFIDENTIAL TREATMENT

             This application contains confidential, competitively sensitive information regarding the

      transaction, the Lake Stevens Store, and the business activities of SuperValu and Saar’s.

      Disclosure of this information would prejudice SuperValu and Saar’s and harm the ability of

      each company to compete effectively. Accordingly, pursuant to Sections 2.41(f)(4), 4.9(c), and

      4.10(a)(2) of the Commission’s Rules of Practice and Procedure, 16 C.F.R. §§ 2.41(f)(4), 4.9(c),

      4.10(a)(2), and Sections 6(f) and 21(c) of the Federal Trade Commission Act, 15 U.S.C. §§ 46(f),

      57b-2(c), SuperValu requests that this information be treated as strictly confidential. In

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               Exhibit A
 Purchase and Sale Agreement
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                    Exhibit B
Saar’s, Inc. Financial Statement (2014)
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                    Exhibit C
Saar’s, Inc. Financial Statement (2015)
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                            Exhibit D
Saar’s, Inc. Financial Statement and Balance Sheet
                       (2016)
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                         Exhibit E
           Saar s Inc. Company Profile




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QBJ;=C?8ÿRLBÿQBJE:C=?8ÿL=9>ÿG>:F?OÿS:<T?8ÿ9BÿUC=9?ÿIFBTCOÿVFBW?FX8ÿYTFEB8?ÿ9BÿD??Oÿ9>?
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_JC=K>:CC?<ÿDBBOÿ̀?9:=<?FMÿa?<=H?F=CWÿbT:<=9PMÿS:<T?MÿQBCH?C=?CK?ÿ:COÿQ>B=K?ÿNBFÿQT89BJ?F8

  QBC9=CT=CWÿRF:K^ÿ̀?KBFOÿBNÿcCH?89J?C98ÿIKFB88ÿdBL?F=CWÿYF=K?8Mÿ7C>:CK=CWÿ9>?ÿQT89BJ?F
                 7eE?F=?CK?Mÿ:COÿcCKF?:8=CWÿI88BK=:9?ÿf:W?8ÿ:COÿg?C?h98

 G9F?CW9>?C8ÿVFBW?FX8ÿS:<T?ÿQF?:9=BCÿ]BO?<ÿ9BÿaF=H?ÿYFBh9:;=<=9Pÿ:COÿ7C>:CK?ÿG>:F?>B<O?F
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   I<;?F98BC8ÿQBJE:C=?8ÿG>:F?>B<O?F8ÿ7eE?K9?Oÿ9Bÿ̀?K?=H?ÿRB9:<ÿQBC8=O?F:9=BCÿS:<T?Oÿ:9
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%A>::J:&1ÿP&':>ÿ;.=0.ÿ1.:ÿ0/JK%&=:<ÿ;=HHÿJ:>A:ÿ1;/ÿ0/JKH:J:&1%>Oÿ/>A%&=S%1=/&<ÿ;=1.
=0/&=0ÿI>%&'<ÿ%&'ÿ'::Kÿ>//1<ÿ=&ÿ1.:=>ÿH/0%Hÿ0/JJP&=1=:<ÿ1/ÿ:<1%IH=<.ÿ%ÿ&%1=/&%HÿT//1K>=&1ÿ%&'
P&=1:ÿ%>/P&'ÿ@>/A:>U<ÿ8P>K/<:ÿ1/ÿV::'ÿ1.:ÿWPJ%&ÿ*K=>=12ÿ#.>/PA.ÿ%ÿT%J=HOÿ/Tÿ;:HH?X&/;&ÿ%&'
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,QGLFDWH E\ FKHFN PDUN ZKHWKHU WKH UHJLVWUDQW LV D ODUJH DFFHOHUDWHG ILOHU DQ DFFHOHUDWHG ILOHU D QRQDFFHOHUDWHG ILOHU D VPDOOHU UHSRUWLQJ FRPSDQ\ RU DQ HPHUJLQJ JURZWK
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FRUUHFWLRQRIDQHUURUWRSUHYLRXVO\LVVXHGILQDQFLDOVWDWHPHQWVտ

,QGLFDWH E\ FKHFN PDUN ZKHWKHU DQ\ RI WKRVH HUURU FRUUHFWLRQV DUH UHVWDWHPHQWV WKDW UHTXLUHG D UHFRYHU\ DQDO\VLV RI LQFHQWLYHEDVHG FRPSHQVDWLRQ UHFHLYHG E\ DQ\ RI WKH
UHJLVWUDQW¶VH[HFXWLYHRIILFHUVGXULQJWKHUHOHYDQWUHFRYHU\SHULRGSXUVXDQWWR' E տ

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EHILOHGZLWKWKH6HFXULWLHVDQG([FKDQJH&RPPLVVLRQZLWKLQGD\VDIWHUWKHHQGRIWKHILVFDO\HDUHQGHG)HEUXDU\ WKH3UR[\6WDWHPHQW 




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   ,WHP6HFXULW\2ZQHUVKLSRI&HUWDLQ%HQHILFLDO2ZQHUVDQG0DQDJHPHQWDQG5HODWHG6WRFNKROGHU0DWWHUV                             
   ,WHP&HUWDLQ5HODWLRQVKLSVDQG5HODWHG7UDQVDFWLRQVDQG'LUHFWRU,QGHSHQGHQFH                                                  
   ,WHP3ULQFLSDO$FFRXQWDQW)HHVDQG6HUYLFHV                                                                                     

3$57,9                                                                                                                                 
   ,WHP([KLELWV)LQDQFLDO6WDWHPHQW6FKHGXOHV                                                                                    
   ,WHP)RUP.6XPPDU\                                                                                                          

6,*1$785(6                                                                                                                              




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7DEOHRI&RQWHQWV




$VXVHGLQWKLV$QQXDO5HSRUWRQ)RUP.XQOHVVWKHFRQWH[WRWKHUZLVHUHTXLUHVUHIHUHQFHVWR$OEHUWVRQVWKH&RPSDQ\$&,ZH
XVDQGRXUUHIHUWR$OEHUWVRQV&RPSDQLHV,QFDQGZKHUHDSSURSULDWHLWVFRQVROLGDWHGVXEVLGLDULHV2XUODVWWKUHHILVFDO\HDUVFRQVLVWHGRI
WKHZHHNVHQGHG)HEUXDU\ ILVFDO WKHZHHNVHQGHG)HEUXDU\ ILVFDO DQGWKHZHHNVHQGHG)HEUXDU\
  ILVFDO   2XU QH[W WKUHH ILVFDO \HDUV FRQVLVW RI WKH  ZHHNV HQGLQJ )HEUXDU\   ILVFDO   WKH  ZHHNV HQGLQJ
)HEUXDU\ ILVFDO DQGWKHZHHNVHQGLQJ)HEUXDU\ ILVFDO 

                                                                              3$57,

                                      63(&,$/127(5(*$5',1*)25:$5'/22.,1*67$7(0(176

7KLV $QQXDO 5HSRUW RQ )RUP . LQFOXGHV IRUZDUGORRNLQJ VWDWHPHQWV ZLWKLQ WKH PHDQLQJ RI WKH IHGHUDO VHFXULWLHV ODZV 7KH IRUZDUG
ORRNLQJVWDWHPHQWVLQFOXGHRXUFXUUHQWH[SHFWDWLRQVDVVXPSWLRQVHVWLPDWHVDQGSURMHFWLRQVDERXWRXUEXVLQHVVRXULQGXVWU\DQGWKHRXWFRPHRI
WKH0HUJHU7KH\LQFOXGHVWDWHPHQWVUHODWLQJWRRXUIXWXUHRSHUDWLQJRUILQDQFLDOSHUIRUPDQFHZKLFKWKH&RPSDQ\EHOLHYHVWREHUHDVRQDEOHDW
WKLVWLPH<RXFDQLGHQWLI\IRUZDUGORRNLQJVWDWHPHQWVE\WKHXVHRIZRUGVVXFKDVRXWORRNPD\VKRXOGFRXOGHVWLPDWHVSUHGLFWV
SRWHQWLDOFRQWLQXHDQWLFLSDWHVEHOLHYHVSODQVH[SHFWVIXWXUHLQWHQGVDQGVLPLODUH[SUHVVLRQVZKLFKDUHLQWHQGHGWRLGHQWLI\
IRUZDUGORRNLQJVWDWHPHQWV

7KHVHVWDWHPHQWVDUHQRWJXDUDQWHHVRIIXWXUHSHUIRUPDQFHDQGDUHVXEMHFWWRQXPHURXVULVNVDQGXQFHUWDLQWLHVZKLFKDUHEH\RQGRXUFRQWURODQG
GLIILFXOW WR SUHGLFW DQG FRXOG FDXVH DFWXDO UHVXOWV WR GLIIHU PDWHULDOO\ IURP WKH UHVXOWV H[SUHVVHG RU LPSOLHG E\ WKH VWDWHPHQWV 5LVNV DQG
XQFHUWDLQWLHVWKDWFRXOGFDXVHDFWXDOUHVXOWVWRGLIIHUPDWHULDOO\IURPVXFKVWDWHPHQWVLQFOXGH
         XQFHUWDLQWLHVUHODWHGWRWKH0HUJHULQFOXGLQJRXUDELOLW\WRFORVHWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKH0HUJHU$JUHHPHQWDQGWKHLPSDFW
          RIWKHFRVWVUHODWHGWRWKH0HUJHU
     HURVLRQRIFRQVXPHUFRQILGHQFHDVDUHVXOWRIWKH0HUJHUDQGWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKH0HUJHU$JUHHPHQW
      FKDQJHVLQPDFURHFRQRPLFFRQGLWLRQVDQGXQFHUWDLQW\UHJDUGLQJWKHJHRSROLWLFDOHQYLURQPHQW
     UDWHVRIIRRGSULFHLQIODWLRQRUGHIODWLRQDVZHOODVIXHODQGFRPPRGLW\SULFHV
         FKDQJHV LQ FRQVXPHU EHKDYLRU DQG VSHQGLQJ GXH WR WKH LPSDFW RI PDFURHFRQRPLF IDFWRUV LQFOXGLQJ WKH H[SLUDWLRQ RI VWXGHQW ORDQ
            SD\PHQWGHIHUPHQWV
     FKDOOHQJHVLQDWWUDFWLQJUHWDLQLQJDQGPRWLYDWLQJRXUHPSOR\HHVXQWLOWKHFORVLQJRIWKH0HUJHU
     IDLOXUHWRDFKLHYHSURGXFWLYLW\LQLWLDWLYHVXQH[SHFWHGFKDQJHVLQRXUREMHFWLYHVDQGSODQVLQDELOLW\WRLPSOHPHQWRXUVWUDWHJLHVSODQV
           SURJUDPVDQGLQLWLDWLYHVRUHQWHULQWRVWUDWHJLFWUDQVDFWLRQVLQYHVWPHQWVRUSDUWQHUVKLSVLQWKHIXWXUHRQWHUPVDFFHSWDEOHWRXVRUDWDOO
     FKDQJHVLQZDJHUDWHVDELOLW\WRDWWUDFWDQGUHWDLQTXDOLILHGDVVRFLDWHVDQGQHJRWLDWHDFFHSWDEOHFRQWUDFWVZLWKODERUXQLRQV
     OLWLJDWLRQUHODWHGWRWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKH0HUJHU$JUHHPHQW
     UHVWULFWLRQVRQRXUDELOLW\WRRSHUDWHDVDUHVXOWRIWKH0HUJHU$JUHHPHQW
     DYDLODELOLW\DQGFRVWRIJRRGVXVHGLQRXUIRRGSURGXFWV
     FKDOOHQJHVZLWKRXUVXSSO\FKDLQ
         RSHUDWLRQDO DQG ILQDQFLDO HIIHFWV UHVXOWLQJ IURP F\EHU LQFLGHQWV DW WKH &RPSDQ\ RU DW D WKLUG SDUW\ LQFOXGLQJ RXWDJHV LQ WKH FORXG
            HQYLURQPHQWDQGWKHHIIHFWLYHQHVVRIEXVLQHVVFRQWLQXLW\SODQVGXULQJDUDQVRPZDUHRURWKHUF\EHULQFLGHQWDQG
     FRQWLQXHGUHGXFWLRQLQJRYHUQPHQWDODVVLVWDQFHSURJUDPVVXFKDV61$3



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7DEOHRI&RQWHQWV




$OO IRUZDUGORRNLQJ VWDWHPHQWV DWWULEXWDEOH WR XV RU SHUVRQV DFWLQJ RQ RXU EHKDOI DUH H[SUHVVO\ TXDOLILHG LQ WKHLU HQWLUHW\ E\ WKHVH FDXWLRQDU\
VWDWHPHQWVDQGULVNIDFWRUV)RUZDUGORRNLQJVWDWHPHQWVFRQWDLQHGLQWKLV$QQXDO5HSRUWRQ)RUP.UHIOHFWRXUYLHZRQO\DVRIWKHGDWHRI
WKLV$QQXDO5HSRUW:HXQGHUWDNHQRREOLJDWLRQRWKHUWKDQDVUHTXLUHGE\ODZWRXSGDWHRUUHYLVHDQ\IRUZDUGORRNLQJVWDWHPHQWVZKHWKHUDVD
UHVXOWRIQHZLQIRUPDWLRQIXWXUHHYHQWVRURWKHUZLVH

,QHYDOXDWLQJRXUILQDQFLDOUHVXOWVDQGIRUZDUGORRNLQJVWDWHPHQWV\RXVKRXOGFDUHIXOO\FRQVLGHUWKHULVNVDQGXQFHUWDLQWLHVPRUHIXOO\GHVFULEHG
LQWKHVHFWLRQRIWKLV$QQXDO5HSRUWRQ)RUP.HQWLWOHG5LVN)DFWRUV&RQVHTXHQWO\DOORIWKHIRUZDUGORRNLQJVWDWHPHQWVZHPDNHLQWKLV
$QQXDO5HSRUWRQ)RUP.DUHTXDOLILHGE\WKHLQIRUPDWLRQFRQWDLQHGLQWKLVVHFWLRQDQGWKHLQIRUPDWLRQGLVFXVVHGXQGHU3DUW,²,WHP$
5LVN)DFWRUV

                                                               6800$5<5,6.)$&7256

7KHIROORZLQJLVDVXPPDU\RIWKHSULQFLSDOIDFWRUVWKDWFUHDWHULVNLQLQYHVWLQJLQRXUVHFXULWLHV

                                                     5LVNV5HODWHGWR2XU%XVLQHVVDQG2SHUDWLRQV

5LVNVUHODWHGWR
         JHQHUDOHFRQRPLFFRQGLWLRQVDIIHFWLQJWKHIRRGDQGGUXJUHWDLOLQGXVWU\DQGYDULRXVRSHUDWLQJIDFWRUV
         DYDLODELOLW\RIDVLJQLILFDQWDPRXQWRIHQHUJ\WRPDQXIDFWXUHVWRUHWUDQVSRUWDQGVHOOSURGXFWV
         IDLOXUHWRUHDOL]HDQWLFLSDWHGEHQHILWVIURPRXUSURGXFWLYLW\LQLWLDWLYHVDQG
         LPSDFWRIHQYLURQPHQWDOVRFLDODQGJRYHUQDQFHPDWWHUVLQFOXGLQJLQDELOLW\WRPHHWJRDOVDQGFRPPLWPHQWVHVWDEOLVKHGLQUHODWLRQWR
          VXFKPDWWHUV

                                                                5LVNV5HODWHGWRWKH0HUJHU

5LVNVUHODWHGWR
         WKH0HUJHU$JUHHPHQWDQGWKHSHQGHQF\RIWKH0HUJHU
         UHVWULFWLRQVRQRXUEXVLQHVVDFWLYLWLHVZKLOHWKH0HUJHU$JUHHPHQWLVLQHIIHFW
         OLWLJDWLRQUHODWHGWRWKH0HUJHU
         WKHDELOLW\WRFRPSOHWHWKH0HUJHUDQGWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKH0HUJHUDQG
         VLJQLILFDQWGHOD\RUWKHIDLOXUHWRFRPSOHWHWKH0HUJHU

                                                               5LVNV5HODWHGWR2XU,QGXVWU\

5LVNVUHODWHGWR
         LQWHQVLW\RIWKHFRPSHWLWLRQLQRXULQGXVWU\
         RXUDELOLW\WRWLPHO\LGHQWLI\RUHIIHFWLYHO\UHVSRQGWRFRQVXPHUWUHQGV
         FRQVROLGDWLRQLQWKHKHDOWKFDUHLQGXVWU\DQG
         SURYLGLQJSKDUPDF\SURGXFWVDQGVHUYLFHVDQGWKHDGHTXDF\RIRXULQVXUDQFHWRFRYHUDQ\FODLPV



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7DEOHRI&RQWHQWV




                                                           5LVNV5HODWHGWR2XU6XSSO\&KDLQ

5LVNVUHODWHGWR
         SURGXFWDQGUDZPDWHULDOVXSSO\GLVUXSWLRQVHVSHFLDOO\RIIUHVKSURGXFWVLQFOXGLQJIURPVHYHUHZHDWKHUQDWXUDOGLVDVWHUVDQGFOLPDWH
          FKDQJH
         WKUHDWV RU SRWHQWLDO WKUHDWV WR VHFXULW\ RI IRRG DQG GUXJ VDIHW\ LQFOXGLQJ WKH RFFXUUHQFH RI D ZLGHVSUHDG KHDOWK HSLGHPLF DQGRU
          SDQGHPLFDQGORVVRIFRQVXPHUFRQILGHQFHLQWKHVXSSO\FKDLQDQG
         DYDLODELOLW\DQGLQFUHDVHGSULFHVRIIXHORUFRPPRGLWLHV

                                                             5LVNV5HODWHGWR2XU:RUNIRUFH

5LVNVUHODWHGWR
         RXUUHODWLRQVKLSZLWKXQLRQVLQFOXGLQJODERUGLVSXWHVRUZRUNVWRSSDJHVDQGLQFUHDVHGSHQVLRQH[SHQVHVFRQWULEXWLRQVDQGVXUFKDUJHV
         LQFUHDVHVWRWKHPLQLPXPZDJHDQGFKDQJHVWRZDJHUHJXODWLRQVDQG
         WKHIDLOXUHWRDWWUDFWDQGUHWDLQTXDOLILHGDVVRFLDWHV

                                                                /HJDODQG5HJXODWRU\5LVNV

5LVNVUHODWHGWR
         XQIDYRUDEOHFKDQJHVLQJRYHUQPHQWUHJXODWLRQDQGHQYLURQPHQWDOODZV
         XQIDYRUDEOHFKDQJHVLQWKHWD[FRGH
         OHJDORURWKHUSURFHHGLQJVDQG
         RXUXVHRILQVXUDQFHDQGVHOILQVXUDQFHWRDGGUHVVSRWHQWLDOOLDELOLWLHV

                         5LVNV5HODWHGWR,QIRUPDWLRQ6HFXULW\&\EHUVHFXULW\'DWD3ULYDF\DQG(YROYLQJ7HFKQRORJLHV

5LVNVUHODWHGWR
         RXUGHSHQGHQFHRQ,7V\VWHPV
         LPSURSHU DFWLYLWLHV E\ WKLUG SDUWLHV DQG WKH ORVV RI FRQILGHQFH IURP D GDWD VHFXULW\ LQFLGHQW LQYROYLQJ RXU FXVWRPHUV HPSOR\HHV RU
          YHQGRUVDQG
         WKHXVHRIDUWLILFLDOLQWHOOLJHQFHLQRXUEXVLQHVV

                                                            5LVNV5HODWHGWR2XU,QGHEWHGQHVV

5LVNVUHODWHGWR
         RXUOHYHORILQGHEWHGQHVVDQGRXUDELOLW\WRJHQHUDWHFDVK
         RXUGHEWLQVWUXPHQWVOLPLWLQJRXUIOH[LELOLW\LQRSHUDWLQJRXUEXVLQHVVDQG
         LQFUHDVHVLQLQWHUHVWUDWHVDGRZQJUDGHRIRXUFUHGLWUDWLQJVDQGRULQVWDELOLW\LQFUHGLWPDUNHWV

                                                     5LVNV5HODWHGWR2ZQLQJ2XU&RPPRQ6WRFN

5LVNVUHODWHGWR
         WKHYRODWLOLW\RIWKHSULFHRIRXUFRPPRQVWRFNDQGWKHSRVVLELOLW\RIDGHFOLQHUHJDUGOHVVRIRXURSHUDWLQJSHUIRUPDQFH
         RXUODUJHVWVWRFNKROGHUPD\KDYHFRQIOLFWVRILQWHUHVWZLWKRWKHUVWRFNKROGHUVLQWKHIXWXUH


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7DEOHRI&RQWHQWV




         SURYLVLRQVLQRXUFKDUWHUGRFXPHQWVDQG'HODZDUHODZDQGFHUWDLQRWKHUDJUHHPHQWVWKDWFRXOGGHOD\RUSUHYHQWDFKDQJHRIFRQWURODQG
         RXUDELOLW\WRSD\GLYLGHQGVWRRXUVWRFNKROGHUV

6HH3DUW,²,WHP$5LVN)DFWRUVIRUDPRUHFRPSOHWHGLVFXVVLRQRIWKHPDWHULDOULVNVIDFLQJRXUEXVLQHVV

                                                         121*$$3),1$1&,$/0($685(6

:H GHILQH (%,7'$ DV JHQHUDOO\ DFFHSWHG DFFRXQWLQJ SULQFLSOHV *$$3  HDUQLQJV QHW ORVV  EHIRUH LQWHUHVW LQFRPH WD[HV GHSUHFLDWLRQ DQG
DPRUWL]DWLRQ:HGHILQH$GMXVWHG(%,7'$DVHDUQLQJV QHWORVV EHIRUHLQWHUHVWLQFRPHWD[HVGHSUHFLDWLRQDQGDPRUWL]DWLRQIXUWKHUDGMXVWHGWR
HOLPLQDWH WKH HIIHFWV RI LWHPV PDQDJHPHQW GRHV QRW FRQVLGHU LQ DVVHVVLQJ RXU RQJRLQJ FRUH SHUIRUPDQFH :H GHILQH$GMXVWHG QHW LQFRPH DV
*$$3 QHW LQFRPH DGMXVWHG WR HOLPLQDWH WKH HIIHFWV RI LWHPV PDQDJHPHQW GRHV QRW FRQVLGHU LQ DVVHVVLQJ RXU RQJRLQJ FRUH SHUIRUPDQFH :H
GHILQH$GMXVWHGQHWLQFRPHSHU&ODVV$FRPPRQVKDUHDV$GMXVWHGQHWLQFRPHGLYLGHGE\WKHZHLJKWHGDYHUDJHGLOXWHG&ODVV$FRPPRQVKDUHV
RXWVWDQGLQJ DV DGMXVWHG WR UHIOHFW DOO UHVWULFWHG VWRFN XQLWV DQG DZDUGV RXWVWDQGLQJ DW WKH HQG RI WKH SHULRG DV ZHOO DV WKH FRQYHUVLRQ RI
&RQYHUWLEOH 3UHIHUUHG 6WRFN ZKHQ LW LV DQWLGLOXWLYH IRU *$$3 6HH 3DUW ,,²,WHP  0DQDJHPHQW V 'LVFXVVLRQ DQG $QDO\VLV RI )LQDQFLDO
&RQGLWLRQDQG5HVXOWVRI2SHUDWLRQVIRUIXUWKHUGLVFXVVLRQDQGDUHFRQFLOLDWLRQRI$GMXVWHG(%,7'$$GMXVWHGQHWLQFRPHDQG$GMXVWHGQHW
LQFRPHSHU&ODVV$FRPPRQVKDUH

(%,7'$ $GMXVWHG (%,7'$ $GMXVWHG QHW LQFRPH DQG $GMXVWHG QHW LQFRPH SHU &ODVV $ FRPPRQ VKDUH FROOHFWLYHO\ WKH 1RQ*$$3
0HDVXUHV  DUH SHUIRUPDQFH PHDVXUHV WKDW SURYLGH VXSSOHPHQWDO LQIRUPDWLRQ ZH EHOLHYH LV XVHIXO WR DQDO\VWV DQG LQYHVWRUV WR HYDOXDWH RXU
RQJRLQJUHVXOWVRIRSHUDWLRQVZKHQFRQVLGHUHGDORQJVLGHRWKHU*$$3PHDVXUHVVXFKDVQHWLQFRPHRSHUDWLQJLQFRPHJURVVPDUJLQDQGQHW
LQFRPH SHU &ODVV $ FRPPRQ VKDUH 7KHVH 1RQ*$$3 0HDVXUHV H[FOXGH WKH ILQDQFLDO LPSDFW RI LWHPV PDQDJHPHQW GRHV QRW FRQVLGHU LQ
DVVHVVLQJRXURQJRLQJFRUHRSHUDWLQJSHUIRUPDQFHDQGWKHUHE\SURYLGHXVHIXOPHDVXUHVWRDQDO\VWVDQGLQYHVWRUVRIRXURSHUDWLQJSHUIRUPDQFH
RQDSHULRGWRSHULRGEDVLV2WKHUFRPSDQLHVPD\KDYHGLIIHUHQWGHILQLWLRQVRI1RQ*$$30HDVXUHVDQGSURYLGHIRUGLIIHUHQWDGMXVWPHQWVDQG
FRPSDUDELOLW\WRRXUUHVXOWVRIRSHUDWLRQVPD\EHLPSDFWHGE\VXFKGLIIHUHQFHV:HDOVRXVH$GMXVWHG(%,7'$IRUERDUGRIGLUHFWRUDQGEDQN
FRPSOLDQFHUHSRUWLQJ2XUSUHVHQWDWLRQRI1RQ*$$30HDVXUHVVKRXOGQRWEHFRQVWUXHGDVDQLQIHUHQFHWKDWRXUIXWXUHUHVXOWVZLOOEHXQDIIHFWHG
E\XQXVXDORUQRQUHFXUULQJLWHPV

1RQ*$$30HDVXUHVVKRXOGQRWEHFRQVLGHUHGDVPHDVXUHVRIGLVFUHWLRQDU\FDVKDYDLODEOHWRXVWRLQYHVWLQWKHJURZWKRIRXUEXVLQHVV:H
FRPSHQVDWHIRUWKHVHOLPLWDWLRQVE\UHO\LQJSULPDULO\RQRXU*$$3UHVXOWVDQGXVLQJ1RQ*$$30HDVXUHVRQO\IRUVXSSOHPHQWDOSXUSRVHV


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7DEOHRI&RQWHQWV




,WHP%XVLQHVV

2YHUYLHZ

$OEHUWVRQV LV RQH RI WKH ODUJHVW IRRG DQG GUXJ UHWDLOHUV LQ WKH 8QLWHG 6WDWHV ZLWK ERWK VWURQJ ORFDO SUHVHQFH DQG QDWLRQDO VFDOH :H DOVR
PDQXIDFWXUH DQG SURFHVV VRPH RI WKH IRRG IRU VDOH LQ RXU VWRUHV :H PDLQWDLQ D ZHEVLWH ZZZ$OEHUWVRQVFRPSDQLHVFRP  WKDW LQFOXGHV
DGGLWLRQDO LQIRUPDWLRQ DERXW WKH &RPSDQ\ :H PDNH DYDLODEOH WKURXJK RXU ZHEVLWH IUHH RI FKDUJH RXU DQQXDO UHSRUWV RQ )RUP . RXU
TXDUWHUO\UHSRUWVRQ)RUP4RXUFXUUHQWUHSRUWVRQ)RUP.DQGRXULQWHUDFWLYHGDWDILOHVLQFOXGLQJDPHQGPHQWVWRWKRVHUHSRUWV7KHVH
IRUPV DUH DYDLODEOH DV VRRQ DV UHDVRQDEO\ SUDFWLFDEOH DIWHU ZH KDYH ILOHG WKHP ZLWK RU IXUQLVKHG WKHP HOHFWURQLFDOO\ WR WKH 6HFXULWLHV DQG
([FKDQJH&RPPLVVLRQ 6(& $GGLWLRQDOO\DOORIRXUILOLQJVZLWKWKH6(&FDQEHDFFHVVHGRQWKH6(& VZHEVLWHDWZZZVHFJRY

5HWDLO2SHUDWLRQV

$V RI )HEUXDU\   ZH RSHUDWHG  VWRUHV DFURVV  VWDWHV DQG WKH 'LVWULFW RI &ROXPELD XQGHU PRUH WKDQ  ZHOO NQRZQ EDQQHUV
LQFOXGLQJ $OEHUWVRQV 6DIHZD\ 9RQV 3DYLOLRQV 5DQGDOOV 7RP 7KXPE &DUUV -HZHO2VFR$FPH 6KDZ V 6WDU 0DUNHW 8QLWHG 6XSHUPDUNHWV
0DUNHW 6WUHHW +DJJHQ .LQJV )RRG 0DUNHWV DQG %DOGXFFL V )RRG /RYHUV 0DUNHW$GGLWLRQDOO\ DV RI )HEUXDU\   ZH RSHUDWHG 
SKDUPDFLHV  LQVWRUH EUDQGHG FRIIHH VKRSV  DGMDFHQW IXHO FHQWHUV  GHGLFDWHG GLVWULEXWLRQ FHQWHUV  PDQXIDFWXULQJ IDFLOLWLHV DQG
YDULRXV GLJLWDO SODWIRUPV 2XU VWRUHV RSHUDWH LQ )LUVWDQG0DLQ UHWDLO ORFDWLRQV DQG KDYH OHDGLQJ PDUNHW VKDUH ZLWKLQ DWWUDFWLYH DQG JURZLQJ
JHRJUDSKLHV:HKROGDRUSRVLWLRQE\PDUNHWVKDUHLQRIWKHPHWURSROLWDQVWDWLVWLFDODUHDV 06$V LQZKLFKZHRSHUDWH2XU
SRUWIROLR RI ZHOOORFDWHG IXOOVHUYLFH VWRUHV SURYLGHV WKH IRXQGDWLRQ RI RXU RPQLFKDQQHO SODWIRUP DQG ZH KDYH FRQWLQXHG WR HQKDQFH RXU
FDSDELOLWLHVLQFOXGLQJDXWRPDWHGVHOIFKHFNRXWRSWLRQVWRPHHWFXVWRPHUGHPDQGIRUFRQYHQLHQFHDQGIOH[LELOLW\2XU'ULYH8S *RFXUEVLGH
SLFNXS VHUYLFH LV RIIHUHG LQ PRUH WKDQ  ORFDWLRQV DQG ZH RIIHU GHOLYHU\ VHUYLFHV DFURVV PRUH WKDQ  RI RXU VWRUHV ,Q RXU GHOLYHU\
VHUYLFHZHKDYHH[SDQGHGWKHQXPEHURIVWRUHVZLWKLQKRXVHGHOLYHU\VHUYLFHVDQGLQRXUWKLUGSDUW\VHUYLFHVZHKDYHFRQWLQXHGWRSDUWQHU
ZLWK,QVWDFDUW'RRU'DVKDQG8EHUWRHQJDJHZLWKFXVWRPHUVRQWKHSODWIRUPRIWKHLUFKRLFH2XU&XVWRPHUVIRU/LIHWUDQVIRUPDWLRQVWUDWHJ\LV
DQFKRUHGRQSODFLQJWKHFXVWRPHUDWWKHFHQWHURIHYHU\WKLQJZHGRZLWKWKHXOWLPDWHJRDORIVXSSRUWLQJWKHPHYHU\GD\HYHU\ZHHNDQGIRUD
OLIHWLPH :H VHHN WR WDLORU RXU RIIHULQJV WR ORFDO GHPRJUDSKLFV DQG SUHIHUHQFHV RI WKH PDUNHWV LQ ZKLFK ZH RSHUDWH 2XU /RFDOO\ *UHDW
1DWLRQDOO\ 6WURQJ RSHUDWLQJ VWUXFWXUH HPSRZHUV GHFLVLRQ PDNLQJ DW WKH ORFDO OHYHO ZKLFK ZH EHOLHYH EHWWHU VHUYHV RXU FXVWRPHUV DQG
FRPPXQLWLHV ZKLOH DOVR SURYLGLQJ WKH WHFKQRORJ\ SODWIRUPV V\VWHPV DQDO\WLFV DQG EX\LQJ SRZHU DIIRUGHG E\ DQ RUJDQL]DWLRQ ZLWK QDWLRQDO
VFDOH

6HJPHQWV

:HDUHHQJDJHGLQWKHRSHUDWLRQRIIRRGDQGGUXJUHWDLOVWRUHVWKDWRIIHUJURFHU\SURGXFWVJHQHUDOPHUFKDQGLVHKHDOWKDQGEHDXW\FDUHSURGXFWV
SKDUPDF\IXHODQGRWKHULWHPVDQGVHUYLFHVLQRXUVWRUHVRUWKURXJKGLJLWDOFKDQQHOV2XUUHWDLORSHUDWLQJGLYLVLRQVDUHJHRJUDSKLFDOO\EDVHG
KDYH VLPLODU HFRQRPLF FKDUDFWHULVWLFV DQG VLPLODU H[SHFWHG ORQJWHUP ILQDQFLDO SHUIRUPDQFH 2XU RSHUDWLQJ VHJPHQWV DQG UHSRUWLQJ XQLWV DUH
PDGHXSRIGLYLVLRQVZKLFKDUHUHSRUWHGLQRQHUHSRUWDEOHVHJPHQW(DFKUHSRUWLQJXQLWFRQVWLWXWHVDEXVLQHVVIRUZKLFKGLVFUHWHILQDQFLDO
LQIRUPDWLRQLVDYDLODEOHDQGIRUZKLFKPDQDJHPHQWUHJXODUO\UHYLHZVWKHRSHUDWLQJUHVXOWV$FURVVDOORSHUDWLQJVHJPHQWVWKH&RPSDQ\RSHUDWHV
SULPDULO\RQHVWRUHIRUPDW(DFKGLYLVLRQRIIHUVWKURXJKLWVVWRUHVDQGGLJLWDOFKDQQHOVWKHVDPHJHQHUDOPL[RISURGXFWVZLWKVLPLODUSULFLQJWR
VLPLODUFDWHJRULHVRIFXVWRPHUVKDVVLPLODUGLVWULEXWLRQPHWKRGVRSHUDWHVLQVLPLODUUHJXODWRU\HQYLURQPHQWVDQGSXUFKDVHVPHUFKDQGLVHIURP
VLPLODURUWKHVDPHYHQGRUV



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7DEOHRI&RQWHQWV




3URGXFWV

2XUVWRUHVRIIHUJURFHU\SURGXFWVJHQHUDOPHUFKDQGLVHKHDOWKDQGEHDXW\FDUHSURGXFWVSKDUPDF\IXHODQGRWKHULWHPVDQGVHUYLFHV:HDUHQRW
GHSHQGHQWRQDQ\LQGLYLGXDOVXSSOLHURQO\RQHWKLUGSDUW\VXSSOLHUUHSUHVHQWHGPRUHWKDQRIRXUVDOHVIRUILVFDO

0HUFKDQGLVLQJDQG0DQXIDFWXULQJ

2XU2ZQ%UDQGVSRUWIROLRSURYLGHVKLJKTXDOLW\SURGXFWVWRRXUFXVWRPHUVDWDJUHDWYDOXHRIIHULQJPRUHWKDQXQLTXHLWHPV7KH2ZQ
%UDQGVSRUWIROLRLQFOXGHVEXWLVQRWOLPLWHGWRWKHUHJLVWHUHGWUDGHPDUNV6LJQDWXUH6(/(&722UJDQLFV2SHQ1DWXUH6LJQDWXUH&DIp
/XFHUQH :DWHUIURQW %,6752 3ULPR 7DJOLR 6LJQDWXUH &DUH 6LJQDWXUH 5HVHUYH DQG 9DOXH &RUQHU 2XU 2ZQ %UDQGV SURGXFWV
UHVRQDWHZHOOZLWKRXUFXVWRPHUVDVHYLGHQFHGE\2ZQ%UDQGVVDOHVRIELOOLRQLQILVFDO

$VPHDVXUHGE\XQLWVIRUILVFDORIRXU2ZQ%UDQGVSURGXFWVZHUHPDQXIDFWXUHGLQ&RPSDQ\RZQHGIDFLOLWLHVDQGWKHUHPDLQGHU
ZDV SXUFKDVHG IURP WKLUG SDUWLHV :H FORVHO\ PRQLWRU PDNHYHUVXVEX\ GHFLVLRQV WR RSWLPL]H WKHLU TXDOLW\ DQG SURILWDELOLW\ ,Q DGGLWLRQ ZH
EHOLHYHWKDWRXUVFDOHZLOOSURYLGHRSSRUWXQLWLHVWROHYHUDJHRXUIL[HGPDQXIDFWXULQJFRVWVLQRUGHUWRGULYHLQQRYDWLRQDFURVVRXU2ZQ%UDQGV
SRUWIROLR$VRI)HEUXDU\ZHRSHUDWHGIRRGSURGXFWLRQSODQWV7KHVHSODQWVFRQVLVWHGRIVHYHQPLONSODQWVWKUHHVRIWGULQNERWWOLQJ
SODQWVWKUHHEDNHU\SODQWVWZRLFHFUHDPSURGXFWSODQWVWZRJURFHU\SUHSDUHGIRRGSODQWVRQHLFHSODQWDQGRQHVRXSSODQW

,QWHOOHFWXDO3URSHUW\

2XU EDQQHUV EUDQG LPDJH DQG 2ZQ %UDQGV SRUWIROLR DUH VLJQLILFDQW WR RXU EXVLQHVV VWUDWHJ\ :H RZQ QXPHURXV UHJLVWHUHG WUDGHPDUNV DQG
VHUYLFHPDUNVDQGVHHNWRREWDLQDQGSUHVHUYHLQWHOOHFWXDOSURSHUW\SURWHFWLRQRIRXUPDUNVDQGWRHQVXUHWKDWDQ\WKLUGSDUW\XVHVDUHSURSHUO\
OLFHQVHG

'LVWULEXWLRQ

$VRI)HEUXDU\ZHRSHUDWHGVWUDWHJLFDOO\ORFDWHGGLVWULEXWLRQFHQWHUVDSSUR[LPDWHO\RIZKLFKDUHRZQHGRUJURXQGOHDVHG
2XUGLVWULEXWLRQFHQWHUVFROOHFWLYHO\SURYLGHDSSUR[LPDWHO\RIDOOSURGXFWVWRRXUUHWDLORSHUDWLQJDUHDV

0DUNHWLQJDQG$GYHUWLVLQJ

2XUPDUNHWLQJHIIRUWVLQYROYHFROODERUDWLRQEHWZHHQRXUQDWLRQDOPDUNHWLQJDQGPHUFKDQGLVLQJWHDPDQGORFDOGLYLVLRQVDQGVWRUHV:HDXJPHQW
WKH ORFDO GLYLVLRQ WHDPV ZLWK FRUSRUDWH UHVRXUFHV DQG DUH IRFXVHG RQ SURYLGLQJ H[SHUWLVH VKDULQJ EHVW SUDFWLFHV DQG OHYHUDJLQJ VFDOH LQ
SDUWQHUVKLSZLWKOHDGLQJFRQVXPHUSDFNDJHGJRRGVYHQGRUV2XUFRUSRUDWHWHDPVVXSSRUWGLYLVLRQVE\SURYLGLQJVWUDWHJLFJXLGDQFHLQRUGHUWR
GULYHNH\DUHDVRIRXUEXVLQHVVLQFOXGLQJSKDUPDF\JHQHUDOPHUFKDQGLVHDQGRXU2ZQ%UDQGV2XUORFDOPDUNHWLQJWHDPVVHWEUDQGVWUDWHJ\
DQGFRPPXQLFDWHEUDQGPHVVDJHVWKURXJKRXULQWHJUDWHGGLJLWDODQGSK\VLFDOPDUNHWLQJDQGDGYHUWLVLQJFKDQQHOV

:H GHYRWH VLJQLILFDQW UHVRXUFHV WR GLIIHUHQWLDWLQJ RXU EDQQHUV LQ WKH ORFDO PDUNHWV ZKHUH ZH RSHUDWH DQG LQYHVW LQ OR\DOW\ SURJUDPV WR GULYH
WUDIILFWKURXJKRXURPQLFKDQQHODSSURDFK2XUORFDOPHUFKDQGLVLQJWHDPVVSHQGFRQVLGHUDEOHWLPHZRUNLQJZLWKVWRUHGLUHFWRUVWRPDNHVXUHZH
DUHVDWLVI\LQJFRQVXPHUSUHIHUHQFHV:HDOVRVWULYHWRDFKLHYHDQGPDLQWDLQIDYRUDEOHUHFRJQLWLRQRIRXU2ZQ%UDQGVRIIHULQJVE\PDUNHWLQJ
WKHPWRFRQVXPHUVDQGHQKDQFLQJYDOXHIRUFRQVXPHUVSDUWLFXODUO\LQUHVSHFWRIEUDQGHGSURGXFWV

:HPHDVXUHSULFHFRPSHWLWLYHQHVVWKURXJKV\VWHPDWLFVHOHFWLYHDQGWKRXJKWIXOSULFHLQYHVWPHQWWRGULYHFXVWRPHUWUDIILFDQGEDVNHWVL]H:H
DOVRXVHRXUOR\DOW\SURJUDPWRWDUJHWSURPRWLRQDODFWLYLW\DQGLPSURYHRXUFXVWRPHUV


                                                                               




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7DEOHRI&RQWHQWV




H[SHULHQFH 7KLV LQFOXGHV OHYHUDJLQJ FXVWRPHU DQG WUDQVDFWLRQ LQIRUPDWLRQ ZLWK GDWD GULYHQ DQDO\WLFV WR SURYLGH ERWK SHUVRQDOL]HG GHDOV DQG
GLJLWDOFRXSRQVDVZHOODVJDVDQGJURFHU\UHZDUGV:HKDYHPLOOLRQPHPEHUVFXUUHQWO\HQUROOHGLQRXUOR\DOW\SURJUDP:HKDYHDFKLHYHG
VLJQLILFDQWVXFFHVVZLWKDFWLYHSDUWLFLSDQWVLQRXUOR\DOW\SURJUDPZKLFKGULYHVKLJKHUVDOHVDQGFXVWRPHUUHWHQWLRQ:HKDYHUHFHQWO\GHSOR\HG
DQGDUHFRQWLQXLQJWRUHILQHFORXGEDVHGHQWHUSULVHVROXWLRQVWRTXLFNO\SURFHVVSURSULHWDU\FXVWRPHUSURGXFWDQGWUDQVDFWLRQGDWDDQGHIILFLHQWO\
SURYLGHRXUORFDOPDQDJHUVZLWKWDUJHWHGPDUNHWLQJVWUDWHJLHVIRUFXVWRPHUVLQWKHLUFRPPXQLWLHV,QDGGLWLRQZHXVHGDWDDQDO\WLFVWRRSWLPL]H
VKHOIDVVRUWPHQWDQGVSDFHLQRXUVWRUHVE\FRQWLQXDOO\DQGV\VWHPDWLFDOO\UHYLHZLQJWKHSHUIRUPDQFHRIHDFKSURGXFW

,QRXUGLJLWDOVWUDWHJLHVZHFDSLWDOL]HRQRXUULFKDQGSURSULHWDU\GDWDXQGHURXU$OEHUWVRQV0HGLD&ROOHFWLYH $0& $0&RIIHUVQHZDQG
H[LVWLQJ EXVLQHVV SDUWQHUV D UREXVW GLJLWDO PDUNHWLQJ SODWIRUP WKDW UHDFKHV RXU H[WHQVLYH FXVWRPHU QHWZRUN DQG OHYHUDJHV RXU VWURQJ PDUNHW
VKDUHHVSHFLDOO\LQWKHRI06$VZKHUHZHKROGDRUVKDUHSRVLWLRQ:HEHOLHYH$0&ZLOOEHDFRQWULEXWRUWRRXUJURZWKDQGDSURILW
GULYHULQWKHIXWXUH

5DZ0DWHULDOV

9DULRXVDJULFXOWXUDOFRPPRGLWLHVFRQVWLWXWHWKHSULQFLSDOUDZPDWHULDOVXVHGE\XVLQWKHPDQXIDFWXUHRIRXUIRRGSURGXFWV$OWKRXJKKLVWRULFDOO\
UDZPDWHULDOVIRURXUSURGXFWVKDYHQRWEHHQLQVKRUWVXSSO\DQGKDYHEHHQUHDGLO\DYDLODEOHVHH3DUW,²,WHP$5LVN)DFWRUVUHJDUGLQJWKH
SRWHQWLDODGYHUVHLPSDFWRQRXUUHVXOWVRIRSHUDWLRQVGXHWRWKHODFNRIRUUHGXFHGDYDLODELOLW\RIUDZPDWHULDOV

(QYLURQPHQWDO

2XURSHUDWLRQVDUHVXEMHFWWRUHJXODWLRQXQGHUHQYLURQPHQWDOODZVLQFOXGLQJWKRVHUHODWLQJWRZDVWHPDQDJHPHQWDLUHPLVVLRQVDQGXQGHUJURXQG
VWRUDJHWDQNV,QDGGLWLRQDVDQRZQHUDQGRSHUDWRURIFRPPHUFLDOUHDOHVWDWHZHPD\EHVXEMHFWWROLDELOLW\XQGHUDSSOLFDEOHHQYLURQPHQWDO
ODZVIRUFOHDQXSRIFRQWDPLQDWLRQDWRXUIDFLOLWLHV&RPSOLDQFHZLWKDQGFOHDQXSOLDELOLW\XQGHUWKHVHODZVKDVQRWKDGDQGLVQRWH[SHFWHGWR
KDYHDPDWHULDODGYHUVHHIIHFWXSRQRXUEXVLQHVVILQDQFLDOFRQGLWLRQOLTXLGLW\RURSHUDWLQJUHVXOWV

:HZRUNKDUGWRPDLQWDLQWKHKLJKHVWVWDQGDUGVRIHQYLURQPHQWDOVWHZDUGVKLS LQFOXGLQJSURFXULQJDQGRIIHULQJVXVWDLQDEO\VRXUFHGSURGXFWV 
'XULQJILVFDOZHUHF\FOHGPRUHWKDQPLOOLRQSRXQGVRIFDUGERDUGDQGPRUHWKDQPLOOLRQSRXQGVRISODVWLFEDJVDQGILOPIURPRXU
RSHUDWLRQVDQGFRPSOHWHGRYHUHQHUJ\HIILFLHQF\SURMHFWV0RUHRYHURIRXU2ZQ%UDQGV:DWHUIURQW%,6752DQG2SHQ1DWXUH
VHDIRRGLVVRXUFHGWRPHHWRXU5HVSRQVLEOH6HDIRRG3ROLF\

+XPDQ&DSLWDO

$VRQHRIWKHODUJHVWIRRGDQGGUXJUHWDLOHUVLQWKH86VHUYLQJPLOOLRQFXVWRPHUVSHUZHHNZHUHFRJQL]HWKDWRXUVXFFHVVDQGDELOLW\WR
GHOLJKW RXU FXVWRPHUV OLHV LQ WKH HQJDJHPHQW RI RXU DVVRFLDWHV :H UHPDLQ FRPPLWWHG WR DWWUDFWLQJ GHYHORSLQJ DQG UHWDLQLQJ DVVRFLDWHV E\
IRVWHULQJ D GLYHUVH DQG LQFOXVLYH FXOWXUH WKURXJK RXU LQYHVWPHQW LQ WDOHQW GHYHORSPHQW DQG VXSSRUWLQJ WKH SHUVRQDO KHDOWK DQG ZHOOEHLQJ RI
DVVRFLDWHVDQGWKHLUIDPLOLHV

$V RI )HEUXDU\   ZH HPSOR\HG DSSUR[LPDWHO\  DVVRFLDWHV RI ZKLFK DSSUR[LPDWHO\  ZHUH SDUWWLPH DQG DSSUR[LPDWHO\
DVVRFLDWHVZHUHFRYHUHGE\FROOHFWLYHEDUJDLQLQJDJUHHPHQWV$VLJQLILFDQWQXPEHURIRXUDVVRFLDWHVKDYHORQJWHQXUHDQGGXULQJILVFDO
PRUHWKDQRIRXUDVVRFLDWHVFHOHEUDWHGDWOHDVW\HDUVRIVHUYLFHDQGPRUHWKDQDVVRFLDWHVFHOHEUDWHGRYHU\HDUVRI
VHUYLFH

:HFRPPLWWRFUHDWHDZRUNSODFHZKHUHLQFOXVLRQWKULYHVWKURXJKGLYHUVHUHSUHVHQWDWLRQDFURVVDOOOHYHOVRIRXUZRUNIRUFH,QILVFDOZH
LQWHJUDWHG%HORQJLQJLQWRRXUVWUDWHJLFIUDPHZRUNDQGWUDQVLWLRQHGWR'LYHUVLW\(TXLW\,QFOXVLRQ %HORQJLQJ '(, % 7RSURPRWH'(, %
DPRQJRXUDVVRFLDWHVZHVXSSRUWRXUDVVRFLDWHUHVRXUFHJURXSV $5*V 7KH$5*VFROOHFWLYHO\FRPSULVHRYHUPHPEHUVDQGDUHEDVHG
RQHPSOR\HH


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7DEOHRI&RQWHQWV




LQWHUHVWV'XULQJILVFDOZHDGGHGRXUQHZHVW$5*±WKH:RPHQRI&RORU :2& $OOLDQFHZKLFKSURYLGHVDSODWIRUPIRUZRPHQRI
FRORUDQGWKHLUDOOLHVWKURXJKHGXFDWLRQDZDUHQHVVDQGNQRZOHGJH7KH:2&$OOLDQFHMRLQHGRXUH[LVWLQJ$5*VZKLFKLQFOXGHWKH:RPHQ V
,QVSLUDWLRQDQG,QFOXVLRQ1HWZRUNWKH+LVSDQLF/HDGHUVKLS1HWZRUNWKH$VLDQ1HWZRUNWKH$IULFDQ$PHULFDQ/HDGHUVKLS&RXQFLOWKH3ULGH
$OOLDQFH5HFLSHIRU&KDQJH$OOLDQFH9HWHUDQV$VVRFLDWH5HVRXUFH*URXSDQGGLYHUVH$%,/,7<,QZHDOVRLQWURGXFHGDQDOO\FRPSRQHQW
WRRXU$5*VWRHQDEOHWKHSDUWLFLSDWLRQRIDQ\DVVRFLDWHZKRZDQWVWRVXSSRUWDQGWDNHDFWLRQWRKHOSWKDWJURXS

$VSDUWRIRXURQJRLQJFRPPLWPHQWZHKDYHLQWHJUDWHG'(, %JRDOVLQWRWKHSHUIRUPDQFHSODQVRIRXUWRSOHDGHUVDQGGXULQJILVFDOZH
VXFFHVVIXOO\LQWHJUDWHG/HDGLQJ:LWK,QFOXVLRQ /:, ZLWKLQRXULQKRXVHFXUULFXOXP:HFRQWLQXHWRH[SDQGRSSRUWXQLWLHVIRURXUDVVRFLDWHV
WR OHDUQ PRUH DERXW '(, % LQFOXGLQJ IDFLOLWDWHG GLVFXVVLRQV RI OHDGHUV RQ KRZ WR EH PRUH LQFOXVLYH DQG ELDQQXDO VWRUH DQG VXSSO\ FKDLQ
KXGGOHVWRIXUWKHUHPEHG'(, %LQWRRXUIURQWOLQH

:HDUHSURXGWRRIIHURXUDVVRFLDWHVDP\ULDGRIRSSRUWXQLWLHVWRJURZDQGDGYDQFHLQWKHLUFDUHHUV:HKDYHDWDOHQWPDQDJHPHQWSURFHVVWKDWLV
GHVLJQHG WR HQDEOH XV WR LGHQWLI\ DQG DVVHVV WDOHQW DFURVV WKH RUJDQL]DWLRQ DQG SURYLGH HTXDO DQG FRQVLVWHQW RSSRUWXQLWLHV IRU HPSOR\HHV WR
GHYHORSWKHLUVNLOOV6HYHUDOOHYHOVRIDVVRFLDWHVSDUWLFLSDWHLQRXUDQQXDOSHUIRUPDQFHPDQDJHPHQWSURFHVVWKDWLQFOXGHVJRDOVHWWLQJIHHGEDFN
DQGGHYHORSPHQWWRVXSSRUWWKHLUSHUVRQDOJURZWKDQGGHYHORSPHQW:HHQJDJHDVVRFLDWHVDFURVVWKHRUJDQL]DWLRQWRSURYLGHLQSXWWKURXJKRXU
DQQXDO$VVRFLDWH([SHULHQFH6XUYH\:HKROGUHJXODUWRZQKDOOPHHWLQJVZKHUHDQ\HPSOR\HHFDQDVNTXHVWLRQVRIH[HFXWLYHVDQGPDNHWKHLU
YRLFHKHDUG

:H DOVR RIIHU IRUPDO DQG LQIRUPDO OHDUQLQJ DQG GHYHORSPHQW RSSRUWXQLWLHV WR DOO DVVRFLDWHV WKURXJK V\QFKURQRXV DV\QFKURQRXV DQG K\EULG
H[SHULHQFHV 7KHVH RIIHULQJV LQFOXGH H/HDUQLQJ DQG RQGHPDQG FRQWHQW YLUWXDO DQG LQSHUVRQ FODVVHV RQWKHMRE WUDLQLQJ YLUWXDO UHDOLW\ DQG
PHQWRULQJSURJUDPV,QDGGLWLRQWRRXULQWHUQDOOHDUQLQJRIIHULQJVWKURXJKSDUWQHUVKLSVZLWKWKLUGSDUWLHVZHRIIHUGHYHORSPHQWSURJUDPVDQG
FRQIHUHQFHVWRRXUWRSWDOHQWEDVHGRQQRPLQDWLRQV

:H DUH FRQWLQXDOO\ HYDOXDWLQJ DQG GHYHORSLQJ RXU FRPSHQVDWLRQ DQG EHQHILWV SURJUDPV WR RIIHU FRPSHWLWLYH ZDJHV DQG MREDSSURSULDWH
FRPSHQVDWLRQ2XUEHQHILWVDUHGHVLJQHGWRDWWUDFWDQGUHWDLQRXUHPSOR\HHVDQGYDU\IURPORFDWLRQVHQLRULW\DQGHPSOR\PHQWVWDWXV,QDGGLWLRQ
WR FRPSUHKHQVLYH DFFHVVLEOH DQG DIIRUGDEOH KHDOWKFDUH FRYHUDJH ZH RIIHU SDLG WLPH RII IOH[LEOH ZRUN VFKHGXOHV IDPLO\ OHDYH DVVRFLDWH
DVVLVWDQFHSURJUDPVDQGD N UHWLUHPHQWVDYLQJVDQGLQYHVWPHQWSODQ

7KHKHDOWKDQGVDIHW\RIRXUDVVRFLDWHVUHPDLQVDWWKHIRUHIURQWRIRXUEXVLQHVVDQGZHUHPDLQFRPPLWWHGWRWKHSUHYHQWLRQRILQMXU\DQGLOOQHVV
WKURXJK VWURQJ KHDOWK DQG VDIHW\ PDQDJHPHQW HPSOR\HH HPSRZHUPHQW DQG DFFRXQWDELOLW\ DQG VWULFW FRPSOLDQFH ZLWK KHDOWK DQG VDIHW\
UHJXODWLRQV:HDUHDOVRIRFXVHGRQIRVWHULQJDVDIHRSHQDQGDFFRXQWDEOHZRUNHQYLURQPHQWDQGZHSURYLGHDKRWOLQHIRUDOODVVRFLDWHVWRUHSRUW
ZRUNSODFHFRQFHUQVDQGYLRODWLRQV

6HDVRQDOLW\

2XUEXVLQHVVLVJHQHUDOO\QRWVHDVRQDOLQQDWXUHEXWDODUJHUVKDUHRIDQQXDOUHYHQXHVPD\EHJHQHUDWHGLQ1RYHPEHUDQG'HFHPEHUGXHWRWKH
PDMRUKROLGD\V

&RPSHWLWLYH(QYLURQPHQW

7KH IRRG DQG GUXJ UHWDLO LQGXVWU\ LV KLJKO\ FRPSHWLWLYH7KH SULQFLSDO FRPSHWLWLYH IDFWRUV WKDW DIIHFW RXU EXVLQHVV DUH ORFDWLRQ SULFH TXDOLW\
IUHVK VHUYLFH VHOHFWLRQ FRQYHQLHQFH DQG FRQGLWLRQ RI DVVHWV VXFK DV RXU VWRUHV 7KH RSHUDWLQJ HQYLURQPHQW IRU WKH IRRG DQG GUXJ UHWDLOLQJ
LQGXVWU\FRQWLQXHVWREHFKDUDFWHUL]HGE\LQWHQVHFRPSHWLWLRQ


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7DEOHRI&RQWHQWV




DJJUHVVLYHH[SDQVLRQLQFUHDVLQJVSHFLDOL]DWLRQRIUHWDLODQGGLJLWDOIRUPDWVHQWU\RIQRQWUDGLWLRQDOFRPSHWLWRUVDQGFRQVROLGDWLRQ

:HIDFHLQWHQVHFRPSHWLWLRQIURPVXSHUFHQWHUVRWKHUIRRGDQGRUGUXJUHWDLOHUVFOXEVWRUHVRQOLQHUHWDLOHUVVSHFLDOW\DQGQLFKHVXSHUPDUNHWV
OLPLWHGDVVRUWPHQWVWRUHVGUXJVWRUHVJHQHUDOPHUFKDQGLVHUVZKROHVDOHVWRUHVGROODUDQGGLVFRXQWVWRUHVJURFHU\RXWOHWVFRQYHQLHQFHVWRUHV
QDWXUDO IRRG VWRUHV IDUPHUV  PDUNHWV ORFDO FKDLQV DQG VWDQGDORQH VWRUHV WKDW FDWHU WR WKH LQGLYLGXDO FXOWXUDO SUHIHUHQFHV RI VSHFLILF
QHLJKERUKRRGVUHVWDXUDQWVDQGDJURZLQJQXPEHURILQWHUQHWEDVHGKRPHGHOLYHU\DQGPHDOVROXWLRQFRPSDQLHV:HDQGRXUFRPSHWLWRUVHQJDJH
LQSULFHDQGQRQSULFHFRPSHWLWLRQZKLFKKDVDGYHUVHO\DIIHFWHGRXURSHUDWLQJPDUJLQV

([HFXWLYH2IILFHUVRIWKH5HJLVWUDQW

7KHIROORZLQJWDEOHVHWVIRUWKLQIRUPDWLRQUHJDUGLQJRXUH[HFXWLYHRIILFHUVDVRI$SULO
1DPH                                      $JH                                                      3RVLWLRQ
9LYHN6DQNDUDQ                                  &KLHI([HFXWLYH2IILFHU'LUHFWRU
6KDURQ0F&ROODP                                 3UHVLGHQW&KLHI)LQDQFLDO2IILFHU
$QXM'KDQGD                                     ([HFXWLYH9LFH3UHVLGHQW&KLHI7HFKQRORJ\ 7UDQVIRUPDWLRQ2IILFHU
2PHU*DMLDO                                     ([HFXWLYH9LFH3UHVLGHQW&KLHI0HUFKDQGLVLQJ 'LJLWDO2IILFHU
7KRPDV0RULDUW\                                 ([HFXWLYH9LFH3UHVLGHQW*HQHUDO&RXQVHODQG&KLHI3ROLF\2IILFHU
6XVDQ0RUULV                                    ([HFXWLYH9LFH3UHVLGHQW&KLHI2SHUDWLRQV2IILFHU
5REHUW%DFNXV                                   ([HFXWLYH9LFH3UHVLGHQW5HWDLO2SHUDWLRQV(DVW5HJLRQ
0LFKHOOH/DUVRQ                                 ([HFXWLYH9LFH3UHVLGHQW5HWDLO2SHUDWLRQV:HVW5HJLRQ
(YDQ5DLQZDWHU                                  ([HFXWLYH9LFH3UHVLGHQW6XSSO\&KDLQ0DQXIDFWXULQJDQG6WUDWHJLF6RXUFLQJ
-HQQLIHU6DHQ]                                  ([HFXWLYH9LFH3UHVLGHQW3KDUPDF\ H&RPPHUFH
0LFKDHO7KHLOPDQQ                               ([HFXWLYH9LFH3UHVLGHQW&KLHI+XPDQ5HVRXUFHV2IILFHU

9LYHN6DQNDUDQKDVVHUYHGDVRXU&KLHI([HFXWLYH2IILFHUDQG'LUHFWRUVLQFH6HSWHPEHUDQGRXU&KLHI([HFXWLYH2IILFHU3UHVLGHQWDQG
'LUHFWRU VLQFH $SULO  3ULRU WR MRLQLQJ WKH &RPSDQ\ VLQFH  0U 6DQNDUDQ VHUYHG LQ YDULRXV OHDGHUVKLS DQG H[HFXWLYH SRVLWLRQV DW
3HSVL&R,QF 3HSVL&R DPXOWLQDWLRQDOIRRGVQDFNDQGEHYHUDJHFRUSRUDWLRQ)URP-DQXDU\WR0DUFKKHVHUYHGDV&KLHI([HFXWLYH
2IILFHURI3HSVL&R)RRGV1RUWK$PHULFDDEXVLQHVVXQLWZLWKLQ3HSVL&RZKHUHKHOHG3HSVL&R VVQDFNDQGFRQYHQLHQWIRRGVEXVLQHVV3ULRUWR
WKDWSRVLWLRQ0U6DQNDUDQVHUYHGDV3UHVLGHQWDQG&KLHI2SHUDWLQJ2IILFHURI)ULWR/D\1RUWK$PHULFDDVXEVLGLDU\RI3HSVL&RIURP$SULO
WR'HFHPEHULWV&KLHI2SHUDWLQJ2IILFHUIURP)HEUXDU\WR$SULODQG&KLHI&RPPHUFLDO2IILFHU1RUWK$PHULFDRI3HSVL&R
IURPWR)HEUXDU\ZKHUHKHOHG3HSVL&R VFURVVGLYLVLRQDOSHUIRUPDQFHDFURVVLWV1RUWK$PHULFDQFXVWRPHUV3ULRUWRMRLQLQJ3HSVL&R
LQ0U6DQNDUDQZDVDSDUWQHUDW0F.LQVH\DQG&RPSDQ\ZKHUHKHVHUYHGYDULRXV)RUWXQHFRPSDQLHVEULQJLQJDVWURQJIRFXVRQ
VWUDWHJ\DQGRSHUDWLRQV

6KDURQ0F&ROODPKDVVHUYHGDVRXU3UHVLGHQWDQG&KLHI)LQDQFLDO2IILFHUVLQFH6HSWHPEHU0V0F&ROODPSUHYLRXVO\VHUYHGDV([HFXWLYH
9LFH 3UHVLGHQW &KLHI $GPLQLVWUDWLYH DQG &KLHI )LQDQFLDO 2IILFHU DW %HVW %X\ &R ,QF %HVW %X\  D PXOWLQDWLRQDO FRQVXPHU HOHFWURQLFV
UHWDLOHU IURP  WR  3ULRU WR %HVW %X\ 0V 0F&ROODP KHOG VHYHUDO WUDQVIRUPDWLRQDO OHDGHUVKLS SRVLWLRQV DW:LOOLDPV6RQRPD ,QF D
FRQVXPHUUHWDLOFRPSDQ\IURPWRLQFOXGLQJ&KLHI2SHUDWLQJDQG&KLHI)LQDQFLDO2IILFHUIURPWR

$QXM'KDQGDKDVVHUYHGDVRXU([HFXWLYH9LFH3UHVLGHQWDQG&KLHI7HFKQRORJ\ 7UDQVIRUPDWLRQ2IILFHUVLQFHDQGDVRXU([HFXWLYH9LFH
3UHVLGHQW DQG &KLHI ,QIRUPDWLRQ 2IILFHU VLQFH MRLQLQJ WKH &RPSDQ\ LQ 'HFHPEHU  3ULRU WR MRLQLQJ WKH &RPSDQ\ 0U 'KDQGD VHUYHG DV
6HQLRU9LFH3UHVLGHQWRI'LJLWDO&RPPHUFHRIWKH*LDQW(DJOHVXSHUPDUNHWFKDLQIURP0DUFKWR'HFHPEHUDQGDVLWV&KLHI,QIRUPDWLRQ
2IILFHUIURP6HSWHPEHU


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7DEOHRI&RQWHQWV




3ULRU WR *LDQW (DJOH IURP 0DUFK  WR$XJXVW  0U 'KDQGD VHUYHG DV &KLHI ,QIRUPDWLRQ 2IILFHU RI 31& )LQDQFLDO 6HUYLFHV D EDQN
KROGLQJFRPSDQ\DQGILQDQFLDOVHUYLFHVFRUSRUDWLRQ

2PHU*DMLDOKDVVHUYHGDVRXU([HFXWLYH9LFH3UHVLGHQWDQG&KLHI0HUFKDQGLVLQJ 'LJLWDO2IILFHUVLQFH$SULODVRXU([HFXWLYH9LFH
3UHVLGHQWRI+HDOWKDQG&KLHI'LJLWDO2IILFHUVLQFH$XJXVWDVRXU([HFXWLYH9LFH3UHVLGHQWRI3KDUPDF\DQG+HDOWKVLQFH)HEUXDU\
DQGDVRXU6HQLRU9LFH3UHVLGHQW5[+HDOWKDQG:HOOQHVVVLQFH6HSWHPEHU3ULRUWRMRLQLQJWKH&RPSDQ\IURP-DQXDU\XQWLO$XJXVW
0U*DMLDOZDVWKH*HQHUDO0DQDJHUIRU$PD]RQ0DUNHWSODFHEXVLQHVVDQHFRPPHUFHSODWIRUPRZQHGDQGRSHUDWHGE\$PD]RQDFURVV
+DUGOLQHV 6RIWOLQHV DQG &RQVXPDEOHV FDWHJRULHV IRU WKH 86 &DQDGD DQG 0H[LFR$W$PD]RQ 0U *DMLDO OHG VDOHV EXVLQHVV GHYHORSPHQW
SURGXFWSURJUDPDQGIXOILOOPHQWWHDPVWRODXQFKVWUDWHJLFVHOOHUVLQWR1RUWK$PHULFD3ULRUWR$PD]RQIURP-XO\XQWLO'HFHPEHU
0U *DMLDO KHOG VHYHUDO SRVLWLRQV RI LQFUHDVLQJ UHVSRQVLELOLW\ DW 3HSVL&R LQ 'XEDL DQG 1HZ <RUN EHIRUH EHLQJ QDPHG 93 *OREDO 6WUDWHJ\
&DWHJRU\0DQDJHPHQW ,QVLJKWVIRU3HSVL&R V:DOPDUW&XVWRPHUWHDP

7KRPDV0RULDUW\KDVVHUYHGDVRXU([HFXWLYH9LFH3UHVLGHQW*HQHUDO&RXQVHODQG&KLHI3ROLF\2IILFHUVLQFH-XQH3ULRUWRMRLQLQJWKH
&RPSDQ\ 0U 0RULDUW\ VHUYHG DV (93 &KLHI 3ROLF\ DQG ([WHUQDO$IIDLUV 2IILFHU DQG *HQHUDO &RXQVHO DW &96 +HDOWK 0U 0RULDUW\ VSHQW
WZHOYH\HDUVDW0HGFR+HDOWK6ROXWLRQVVHUYLQJLQYDULRXVOHDGHUVKLSUROHVLQFRUSRUDWHVWUDWHJ\OHJDODIIDLUVJOREDOVXSSO\FKDLQPDQDJHPHQW
DQGPHUJHUVDQGDFTXLVLWLRQV

6XVDQ0RUULVKDVVHUYHGDVRXU([HFXWLYH9LFH3UHVLGHQWDQG&KLHI2SHUDWLRQV2IILFHUVLQFH-DQXDU\0V0RUULVKDVVHUYHGLQYDULRXV
H[HFXWLYHSRVLWLRQVDWWKH&RPSDQ\VLQFHLQFOXGLQJVHUYLQJDVRXU([HFXWLYH9LFH3UHVLGHQW5HWDLO2SHUDWLRQV:HVW5HJLRQIURP$SULO
 WR -DQXDU\  DQG ([HFXWLYH 9LFH 3UHVLGHQW 5HWDLO 2SHUDWLRQV (DVW 5HJLRQ IURP $SULO  WR $SULO  3ULRU WR MRLQLQJ WKH
&RPSDQ\0V0RUULVVHUYHGDV6HQLRU9LFH3UHVLGHQWRI6DOHVDQG0HUFKDQGLVLQJDQG9LFH3UHVLGHQWRI&XVWRPHU6DWLVIDFWLRQDW6XSHU9DOX

5REHUW%DFNXVKDVVHUYHGDVRXU([HFXWLYH9LFH3UHVLGHQWRI5HWDLO2SHUDWLRQV(DVW5HJLRQVLQFH$SULO0U%DFNXVSUHYLRXVO\VHUYHGDV
6KDZ V 'LYLVLRQ 3UHVLGHQW IURP  DQG DV 6HQLRU 9LFH 3UHVLGHQW RI 2SHUDWLRQV IURP  0U %DFNXV DOVR VHUYHG LQ YDULRXV UROHV DQG
SRVLWLRQVRILQFUHDVLQJUHVSRQVLELOLW\DW6DIHZD\SULRUWRLWVPHUJHUZLWKWKH&RPSDQ\GDWLQJEDFNWR2FWREHU

0LFKHOOH/DUVRQKDVVHUYHGDVRXU([HFXWLYH9LFH3UHVLGHQWRI5HWDLO2SHUDWLRQV:HVW5HJLRQVLQFH$SULO0V/DUVRQSUHYLRXVO\VHUYHG
DVRXU([HFXWLYH9LFH3UHVLGHQWRI5HWDLO2SHUDWLRQV(DVW5HJLRQVLQFH0DUFKDQGDVRXU6RXWKZHVWDQG6KDZ¶V'LYLVLRQ3UHVLGHQWVLQFH
0V/DUVRQMRLQHGWKH&RPSDQ\LQDV6HQLRU9LFH3UHVLGHQWRI0HUFKDQGLVLQJ6RXWKZHVW

(YDQ5DLQZDWHUKDVVHUYHGDVRXU([HFXWLYH9LFH3UHVLGHQW6XSSO\&KDLQ0DQXIDFWXULQJDQG6WUDWHJLF6RXUFLQJVLQFH0DUFKDQGRXU
6HQLRU 9LFH 3UHVLGHQW 6XSSO\ 0DQXIDFWXULQJ VLQFH 0D\  0U 5DLQZDWHU MRLQHG WKH &RPSDQ\ LQ 0D\  DV 9LFH 3UHVLGHQW
0DQXIDFWXULQJ

-HQQLIHU6DHQ]KDVVHUYHGDVRXU([HFXWLYH9LFH3UHVLGHQW3KDUPDF\ H&RPPHUFHVLQFH$SULODQGRXU&KLHI0HUFKDQGLVLQJ2IILFHUVLQFH
-XO\3ULRUWRMRLQLQJWKH&RPSDQ\VLQFH0V6DHQ]VHUYHGLQVHYHUDOH[HFXWLYHSRVLWLRQVDW3HSVL&R)URP2FWREHUXQWLO-XO\
0V6DHQ]VHUYHGDV*OREDO&KLHI0DUNHWLQJ2IILFHUIRU3HSVL&RDQG3UHVLGHQW*OREDO)RRGVUHVSRQVLEOHIRURYHUVHHLQJWKHPDUNHWLQJ
IXQFWLRQDFURVVIRRGVDQGEHYHUDJHVDQGJURZLQJWKH3HSVL&R)RRGVSRUWIROLRDFURVVDOOJOREDOPDUNHWV)URP-DQXDU\WR2FWREHU
0V6DHQ]VHUYHGDV6HQLRU9LFH3UHVLGHQW &KLHI0DUNHWLQJ2IILFHURI3HSVL&R)RRGV1RUWK$PHULFDZKHUHVKHPDQDJHGWKHEXVLQHVVXQLW V
VQDFNLQJSRUWIROLR

0LFKDHO 7KHLOPDQQ KDV VHUYHG DV RXU ([HFXWLYH 9LFH 3UHVLGHQW DQG &KLHI +XPDQ 5HVRXUFHV 2IILFHU VLQFH$XJXVW  3ULRU WR MRLQLQJ WKH
&RPSDQ\0U7KHLOPDQQVHUYHGDV*OREDO3UDFWLFH0DQDJLQJ3DUWQHU+XPDQ5HVRXUFHV


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7DEOHRI&RQWHQWV




2IILFHUV3UDFWLFHIURP)HEUXDU\WR$XJXVWDQGDV3DUWQHU&RQVXPHU0DUNHWV3UDFWLFHIURP-XQHWR-DQXDU\RI+HLGULFN
 6WUXJJOHV,QWHUQDWLRQDO,QFRUSRUDWHGDZRUOGZLGHH[HFXWLYHVHDUFKILUP

,WHP$5LVN)DFWRUV

7KHUHDUHULVNVDQGXQFHUWDLQWLHVWKDWFDQDIIHFWRXUEXVLQHVV7KHPRVWVLJQLILFDQWULVNIDFWRUVDUHGLVFXVVHGEHORZ7KHIROORZLQJLQIRUPDWLRQ
VKRXOGEHUHDGWRJHWKHUZLWK3DUW,,²,WHP0DQDJHPHQW V'LVFXVVLRQDQG$QDO\VLVRI)LQDQFLDO&RQGLWLRQDQG5HVXOWVRI2SHUDWLRQVRIWKLV
)RUP.ZKLFKLQFOXGHVIRUZDUGORRNLQJVWDWHPHQWVDQGIDFWRUVWKDWFRXOGFDXVHXVQRWWRUHDOL]HRXUJRDOVRUPHHWRXUH[SHFWDWLRQV

                                                     5LVNV5HODWHGWR2XU%XVLQHVVDQG2SHUDWLRQV

*HQHUDO HFRQRPLF FRQGLWLRQV DIIHFWLQJ WKH IRRG DQG GUXJ UHWDLO LQGXVWU\ DQG YDULRXV RSHUDWLQJ IDFWRUV PD\ DIIHFW RXU EXVLQHVV DQG PD\
DGYHUVHO\DIIHFWRXUEXVLQHVVDQGRSHUDWLQJUHVXOWV

2XURSHUDWLRQVDQGILQDQFLDOSHUIRUPDQFHDUHDIIHFWHGE\HFRQRPLFFRQGLWLRQVVXFKDVPDFURHFRQRPLFIDFWRUVFUHGLWPDUNHWFRQGLWLRQVDQGWKH
OHYHO RI FRQVXPHU FRQILGHQFH %RWK LQIODWLRQ DQG GHIODWLRQ DIIHFW RXU EXVLQHVV )RRG GHIODWLRQ FRXOG UHGXFH VDOHV JURZWK DQG HDUQLQJV ZKLOH
IRRGLQIODWLRQFRXOGUHGXFHJURVVPDUJLQUDWHVDQGFRQVXPHUVSHQGLQJ:HKDYHREVHUYHGLQFUHDVHGLQIODWLRQGXULQJWKHSDVW\HDUZLWKYDU\LQJ
LPSDFWVRQRXUEXVLQHVV:HDUHXQDEOHWRSUHGLFWWKHGLUHFWLRQRIWKHHFRQRP\RULILQIODWLRQZLOOLQFUHDVHPDWHULDOO\RUUHYHUWWRGHIODWLRQ7KH
FRQWLQXHGLQFUHDVHLQHQHUJ\FRVWVLQFOXGLQJIXHOFRXOGDOVRKDYHDQHIIHFWRQFRQVXPHUVSHQGLQJDQGRQRXUFRVWVRISURGXFLQJDQGSURFXULQJ
SURGXFWV WKDW ZH VHOO ,I WKH HFRQRP\ ZHDNHQV HQHUJ\ FRVWV FRQWLQXH WR LQFUHDVH RU LQIODWLRQDU\ WUHQGV FRQWLQXH RXU EXVLQHVV DQG RSHUDWLQJ
UHVXOWVFRXOGEHDGYHUVHO\DIIHFWHG:HPD\DOVRH[SHULHQFHPDWHULDOO\DGYHUVHLPSDFWVWRRXUEXVLQHVVDVDUHVXOWRIFRQVXPHUV SHUFHSWLRQVRI
WKHHFRQRP\DQGDGHFUHDVHLQWKHLUSHUVRQDOILQDQFLDOFRQGLWLRQFRXOGKXUWRYHUDOOFRQVXPHUFRQILGHQFHDQGUHGXFHGHPDQGIRUPDQ\RIRXU
SURGXFW RIIHULQJV &RQVXPHUV PD\ UHGXFH VSHQGLQJ RQ QRQHVVHQWLDO LWHPV SXUFKDVH YDOXHRULHQWHG SURGXFWV RU LQFUHDVLQJO\ UHO\ RQ IRRG
GLVFRXQWHUVLQDQHIIRUWWRVHFXUHWKHIRRGDQGGUXJSURGXFWVWKDWWKH\QHHGDOORIZKLFKFRXOGLPSDFWRXUVDOHVDQGSURILW*RYHUQPHQWDODQG
UHJXODWRU\FKDQJHVDQGUHGXFWLRQVLQJRYHUQPHQWDOVXEVLGLHVVXFKDV61$3FRXOGDOVRPDWHULDOO\LPSDFWRXUEXVLQHVVDGYHUVHO\

:HFRPSHWHZLWKLQRXULQGXVWU\QRWRQO\IRUFXVWRPHUVEXWDOVRIRUDVVRFLDWHV6LQFHWKHEHJLQQLQJRIWKH&29,'SDQGHPLFZHKDYHIDFHG
D FRPSHWLWLYH ODERU PDUNHW GXH WR ODERU VKRUWDJHV DQG WXUQRYHU 2XU LQDELOLW\ WR LQYHVW LQ PDQDJH FRVWV DQG NHHS SDFH ZLWK WHFKQRORJLFDO
FKDQJHVLQFOXGLQJWKRVHDGRSWHGE\RXUFRPSHWLWRUVPD\DGYHUVHO\LPSDFWRXUEXVLQHVVLQLWLDWLYHVDQGDIIHFWRXUILQDQFLDOSHUIRUPDQFH:H
PD\EHOLPLWHGLQRXUDELOLW\WRLPSOHPHQWDXWRPDWLRQUHODWHGWHFKQRORJLFDOFKDQJHVLQFHUWDLQRIRXURSHUDWLRQVLIZHDUHXQDEOHWRQHJRWLDWH
DSSURSULDWHWHUPVLQRXUFRQWUDFWVZLWKRXUODERUXQLRQV2XUVXFFHVVLVDOVRGHSHQGHQWLQODUJHSDUWXSRQRXUDELOLW\WRPDLQWDLQDQGHQKDQFHWKH
JRRGZLOODQGUHSXWDWLRQRIRXUEDQQHUVRXUFXVWRPHUV¶FRQQHFWLRQWRRXUEDQQHUVDQGDSRVLWLYHUHODWLRQVKLSZLWKWKHFRPPXQLWLHVLQZKLFKZH
VHUYH$GGLWLRQDOO\DFWVRIYLROHQFHDWRUWKUHDWHQHGDJDLQVWRXUVWRUHVLQFOXGLQJDFWLYHVKRRWHUVLWXDWLRQVPD\LQDGGLWLRQWRRWKHURSHUDWLRQDO
LPSDFW UHVXOW LQ GDPDJH DQG UHVWULFWHG DFFHVV WR RXU VWRUHV DQGRU VWRUH FORVXUHV IRU VKRUW RU H[WHQGHG SHULRGV RI WLPH DOO RI ZKLFK FRXOG
PDWHULDOO\DGYHUVHO\DIIHFWRXUILQDQFLDOSHUIRUPDQFH

2XU RSHUDWLRQV DUH GHSHQGHQW XSRQ WKH DYDLODELOLW\ RI D VLJQLILFDQW DPRXQW RI HQHUJ\ DQG IXHO WR PDQXIDFWXUH VWRUH WUDQVSRUW DQG VHOO
SURGXFWV

2XURSHUDWLRQVDUHGHSHQGHQWXSRQWKHDYDLODELOLW\RIDVLJQLILFDQWDPRXQWRIHQHUJ\DQGIXHOWRPDQXIDFWXUHVWRUHWUDQVSRUWDQGVHOOSURGXFWV
(QHUJ\DQGIXHOFRVWVDUHLQIOXHQFHGE\GRPHVWLFDQGLQWHUQDWLRQDOSROLWLFDODQGHFRQRPLFFLUFXPVWDQFHVDQGKDYHH[SHULHQFHGYRODWLOLW\ERWK
UHFHQWO\DQGRYHUWLPH:KLOHZHKDYHHQWHUHGLQWRFRQWUDFWVWRUHGXFHWKHLPSDFWRIYRODWLOHHQHUJ\DQGIXHOFRVWVIRURXUIXWXUHHQHUJ\QHHGV
YRODWLOLW\WKDWH[FHHGVRIIVHWWLQJFRQWUDFWXDODUUDQJHPHQWVFRXOGDGYHUVHO\DIIHFWRXUUHVXOWVRIRSHUDWLRQV



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7DEOHRI&RQWHQWV




)DLOXUH WR UHDOL]H DQWLFLSDWHG EHQHILWV IURP RXU SURGXFWLYLW\ LQLWLDWLYHV FRXOG DGYHUVHO\ DIIHFW RXU ILQDQFLDO SHUIRUPDQFH DQG FRPSHWLWLYH
SRVLWLRQ

:KLOHZHKDYHLGHQWLILHGDQGDUHLPSOHPHQWLQJDEURDGUDQJHRIVSHFLILFSURGXFWLYLW\LQLWLDWLYHVWRKHOSRIIVHWFRVWLQIODWLRQLQFUHDVHJURZWKDQG
LPSURYHHDUQLQJVWKHVDYLQJVIURPWKHVHSURGXFWLYLW\LQLWLDWLYHVUHSUHVHQWPDQDJHPHQW VHVWLPDWHVDQGUHPDLQVXEMHFWWRULVNVDQGXQFHUWDLQWLHV
7KHUHFDQEHQRDVVXUDQFHWKDWDOORIRXULQLWLDWLYHVZLOOEHVXFFHVVIXORUWKDWZHZLOOUHDOL]HWKHHVWLPDWHGEHQHILWVLQWKHFXUUHQWO\DQWLFLSDWHG
DPRXQWVRUWLPHIUDPHLIDWDOO$OVRFHUWDLQRIRXULQLWLDWLYHVPD\LQYROYHVLJQLILFDQWFKDQJHVWRRXURSHUDWLQJSURFHVVHVDQGV\VWHPVWKDWFRXOG
UHVXOWLQGLVUXSWLRQVLQRXURSHUDWLRQVDQGLPSDFWRXUUHVXOWVRIRSHUDWLRQV

:HPD\EHDGYHUVHO\LPSDFWHGE\HQYLURQPHQWDOVRFLDODQGJRYHUQDQFHPDWWHUVLQFOXGLQJLQDELOLW\WRPHHWJRDOVDQGFRPPLWPHQWVWKDWZH
HVWDEOLVKLQUHODWLRQWRVXFKPDWWHUV

,QUHFHQW\HDUVWKHUHKDVEHHQDQLQFUHDVHGIRFXVIURPLQYHVWRUVJRYHUQPHQWDODQGQRQJRYHUQPHQWDOHQWLWLHVDQGWKHSXEOLFRQHQYLURQPHQWDO
VRFLDO DQG JRYHUQDQFH (6*  PDWWHUV LQFOXGLQJ JUHHQKRXVH JDV HPLVVLRQV UHQHZDEOH HQHUJ\ SDFNDJLQJ DQG ZDVWH SUDFWLFHV UHODWHG WR
VXVWDLQDEOHVXSSO\FKDLQHQHUJ\DQGZDWHUXVHGLYHUVLW\HTXLW\DQGLQFOXVLRQKXPDQULJKWVDQLPDOULJKWVDQGVRFLDOFRPPLWPHQW$YDULHW\RI
RUJDQL]DWLRQVHYDOXDWHDQGPHDVXUHWKHSHUIRUPDQFHRIFRPSDQLHVRQVXFK(6*PDWWHUVDQGWKHUHVXOWVRIWKHVHDVVHVVPHQWVFDQEHZLGHO\
SXEOLFL]HG*LYHQRXUFRPPLWPHQWWR(6*ZHKDYHHVWDEOLVKHGDQGSXEOLFO\DQQRXQFHGFHUWDLQJRDOVFRPPLWPHQWVDQGWDUJHWVZKLFKZHPD\
FKDQJHLQWKHIXWXUH([HFXWLRQRIRXU(6*VWUDWHJLHVWRDFKLHYHWKHVHJRDOVFRPPLWPHQWVDQGWDUJHWVDUHVXEMHFWWRULVNVDQGXQFHUWDLQWLHV
PDQ\RIZKLFKPD\EHRXWVLGHRIRXUFRQWURODQGSURYHWREHPRUHFRVWO\WKDQZHDQWLFLSDWHG7KHVHULVNVDQGXQFHUWDLQWLHVLQFOXGHEXWDUHQRW
OLPLWHG WR RXU DELOLW\ WR DFKLHYH RXU JRDOV FRPPLWPHQWV DQG WDUJHWV ZLWKLQ WKH FXUUHQWO\ SURMHFWHG FRVWV DQG WKH H[SHFWHG WLPHIUDPHV
XQIRUHVHHQRSHUDWLRQDODQGWHFKQRORJLFDOGLIILFXOWLHVFKDQJHVLQLQYHVWPHQWDVVHVVPHQWVRULQFUHDVHVLQSURMHFWHGLQYHVWPHQWVDQGRXUDELOLW\WR
LQYHVWDFFRUGLQJO\FKDQJHVLQIUDPHZRUNVZHKDYHDJUHHGWRDFWLRQVE\RXUFRPSHWLWRUVLQVHWWLQJRUDFKLHYLQJVLPLODUJRDOVWKHRXWFRPHRI
UHVHDUFKHIIRUWVDQGIXWXUHWHFKQRORJ\GHYHORSPHQWVDQGWKHVXFFHVVRIRXUFROODERUDWLRQVZLWKWKLUGSDUWLHV$Q\IDLOXUHRUSHUFHLYHGIDLOXUHWR
DFKLHYH RXU (6* JRDOV FRPPLWPHQWV DQG WDUJHWV RU SHUFHLYHG ODFN RI LQWHQVLW\ RI RXU FRPPLWPHQW WR (6* LQLWLDWLYHV RU WR RWKHUZLVH PHHW
HYROYLQJDQGYDULHGVWDNHKROGHUH[SHFWDWLRQVFRXOGGDPDJHRXUUHSXWDWLRQDQGFXVWRPHULQYHVWRUDQGRWKHUVWDNHKROGHUUHODWLRQVKLSVDQGPD\
HYHQUHVXOWLQUHJXODWRU\HQIRUFHPHQWDFWLRQ6XFKFRQGLWLRQVFRXOGKDYHDQDGYHUVHHIIHFWRQRXUEXVLQHVVUHVXOWVRIRSHUDWLRQVDQGILQDQFLDO
FRQGLWLRQ

                                                              5LVNV5HODWHGWRWKH0HUJHU

7KH0HUJHU$JUHHPHQWDQGWKHSHQGHQF\RIWKH0HUJHUFRXOGKDYHDPDWHULDODGYHUVHHIIHFWRQRXUEXVLQHVVUHVXOWVRIRSHUDWLRQVILQDQFLDO
FRQGLWLRQDQGVWRFNSULFH

2Q2FWREHUWKH&RPSDQ\7KH.URJHU&R .URJHURU3DUHQW DQG.HWWOH0HUJHU6XE,QFDZKROO\RZQHGVXEVLGLDU\RI3DUHQW
 0HUJHU6XE HQWHUHGLQWRDQ$JUHHPHQWDQG3ODQRI0HUJHU WKH0HUJHU$JUHHPHQW SXUVXDQWWRZKLFK0HUJHU6XEZLOOEHPHUJHGZLWK
DQG LQWR WKH &RPSDQ\ WKH 0HUJHU  ZLWK WKH &RPSDQ\ VXUYLYLQJ WKH 0HUJHU DV WKH VXUYLYLQJ FRUSRUDWLRQ DQG D GLUHFW ZKROO\ RZQHG
VXEVLGLDU\ RI 3DUHQW 7KH 0HUJHU$JUHHPHQW LV VXEMHFW WR WKH VDWLVIDFWLRQ RI YDULRXV FRYHQDQWV DQG DJUHHPHQWV LQFOXGLQJ DPRQJ RWKHUV WKH
H[SLUDWLRQRUWHUPLQDWLRQRIWKHDSSOLFDEOHZDLWLQJSHULRG DQGDQ\H[WHQVLRQWKHUHRI XQGHUWKH+DUW6FRWW5RGLQR$QWLWUXVW,PSURYHPHQWV$FW
RIDVDPHQGHG +65$FW DQGFHUWDLQRWKHUDSSURYDOVDQGFOHDUDQFHV

'XULQJWKHSHULRGEHWZHHQWKHGDWHRIVLJQLQJRIWKH0HUJHU$JUHHPHQWDQGWKHFORVLQJRIWKH0HUJHU WKH&ORVLQJ RXUEXVLQHVVLVH[SRVHGWR
FHUWDLQ LQKHUHQW ULVNV GXH WR WKH HIIHFW RI WKH DQQRXQFHPHQW RU SHQGHQF\ RI WKH 0HUJHU DQG WKH WUDQVDFWLRQV FRQWHPSODWHG E\ WKH 0HUJHU
LQFOXGLQJ WKH GLYHVWLWXUH SODQ ZLWK & 6 :KROHVDOH *URFHUV //& ZKLFK PD\ LPSDFW RXU EXVLQHVV UHODWLRQVKLSV ILQDQFLDO FRQGLWLRQ DQG
RSHUDWLQJUHVXOWV6RPHRIWKHVHULVNIDFWRUVLQFOXGH


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         GLIILFXOWLHVPDLQWDLQLQJUHODWLRQVKLSVZLWKFXVWRPHUVGLVWULEXWRUVYHQGRUVVXSSOLHUVVHUYLFHSURYLGHUVDQGRWKHUEXVLQHVVSDUWQHUVZKR
          PD\GHIHUGHFLVLRQVDERXWZRUNLQJZLWKXVPRYHWRRXUFRPSHWLWRUVVHHNWRGHOD\RUFKDQJHH[LVWLQJEXVLQHVVUHODWLRQVKLSVZLWKXV
         XQFHUWDLQWLHV FDXVHG E\ QHJDWLYH VHQWLPHQW LQ WKH PDUNHWSODFH ZLWK UHVSHFW WR WKH 0HUJHU ZKLFK FRXOG DGYHUVHO\ LPSDFW LQYHVWRU
          FRQILGHQFHLQWKH&RPSDQ\
         GLVWUDFWLRQRIRXUFXUUHQWHPSOR\HHVDVDUHVXOWRIWKH0HUJHUZKLFKFRXOGUHVXOWLQDGHFOLQHLQWKHLUSURGXFWLYLW\RUFDXVHGLVWUDFWLRQVLQ
          WKHZRUNSODFH
         RXULQDELOLW\WRDWWUDFWQHZHPSOR\HHVRUUHWDLQFXUUHQWHPSOR\HHVPD\EHH[DFHUEDWHGGXHWRXQFHUWDLQWLHVUHODWHGWRWKH0HUJHU
         GLYHUVLRQRIVLJQLILFDQWPDQDJHPHQWWLPHDQGUHVRXUFHVWRZDUGVWKHFRPSOHWLRQRIWKH0HUJHUDQGWUDQVDFWLRQVUHODWHGWRWKH0HUJHU
         LPSDFWRIFRVWVUHODWHGWRFRPSOHWLRQRIWKH0HUJHUDQGWUDQVDFWLRQVUHODWHGWRWKH0HUJHULQFOXGLQJDQ\FRVWVUHODWHGWRDQ\GLYHVWLWXUHV
          IRUZKLFKZHDUHUHTXLUHGWRREWDLQUHJXODWRU\DSSURYDOV
         RXULQDELOLW\WRVROLFLWRWKHUDFTXLVLWLRQSURSRVDOVSXUVXHDOWHUQDWLYHEXVLQHVVRSSRUWXQLWLHVPDNHVWUDWHJLFFKDQJHVWRRXUEXVLQHVVDQG
          RWKHUUHVWULFWLRQVRQRXUDELOLW\WRFRQGXFWRXUEXVLQHVVSXUVXDQWWRWKH0HUJHU$JUHHPHQWDQG
         RWKHUGHYHORSPHQWVEH\RQGRXUFRQWUROLQFOXGLQJEXWQRWOLPLWHGWRFKDQJHVLQGRPHVWLFRUJOREDOHFRQRPLFFRQGLWLRQVWKDWPD\DIIHFW
          WKHWLPLQJRUVXFFHVVRIWKH0HUJHU

:KLOHWKH0HUJHU$JUHHPHQWLVLQHIIHFWZHDUHVXEMHFWWRUHVWULFWLRQVRQRXUEXVLQHVVDFWLYLWLHV

:KLOHWKH0HUJHU$JUHHPHQWLVLQHIIHFWZHDUHJHQHUDOO\UHTXLUHGWRFRQGXFWRXUEXVLQHVVLQWKHRUGLQDU\FRXUVHFRQVLVWHQWZLWKSDVWSUDFWLFHV
+RZHYHUZHDUHUHVWULFWHGIURPWDNLQJFHUWDLQDFWLRQVZLWKRXW.URJHU VSULRUFRQVHQWZKLFKLVQRWWREHXQUHDVRQDEO\ZLWKKHOGFRQGLWLRQHGRU
GHOD\HG7KHVHOLPLWDWLRQVLQFOXGHDPRQJRWKHUWKLQJVFHUWDLQUHVWULFWLRQVRQRXUDELOLW\WRDPHQGRXURUJDQL]DWLRQDOGRFXPHQWVDFTXLUHRWKHU
EXVLQHVVHV DQG DVVHWV GLVSRVH RI RXU DVVHWV PDNH LQYHVWPHQWV UHSXUFKDVH UHFODVVLI\ RU LVVXH VHFXULWLHV PDNH ORDQV SD\ GLYLGHQGV LQFXU
LQGHEWHGQHVVPDNHFDSLWDOH[SHQGLWXUHVHQWHULQWRDPHQGRUWHUPLQDWHFHUWDLQFRQWUDFWVFKDQJHDFFRXQWLQJSROLFLHVRUSURFHGXUHVLQLWLDWHRU
VHWWOHFHUWDLQOLWLJDWLRQFKDQJHWD[FODVVLILFDWLRQVDQGHOHFWLRQVRUWDNHFHUWDLQDFWLRQVUHODWLQJWRLQWHOOHFWXDOSURSHUW\7KHVHUHVWULFWLRQVFRXOG
SUHYHQWXVIURPSXUVXLQJVWUDWHJLFEXVLQHVVRSSRUWXQLWLHVDQGWDNLQJH[WUDRUGLQDU\DFWLRQVZLWKUHVSHFWWRRXUEXVLQHVVGXULQJWKLVSHULRG

/LWLJDWLRQ UHODWHG WR WKH 0HUJHU FRXOG SUHYHQW RU GHOD\ FRPSOHWLRQ RI WKH 0HUJHU RU RWKHUZLVH QHJDWLYHO\ DIIHFW RXU EXVLQHVVHV DQG
RSHUDWLRQV

3XWDWLYHVWRFNKROGHUFRPSODLQWVLQFOXGLQJVWRFNKROGHUFODVVDFWLRQFRPSODLQWVGHPDQGVIRUERRNVDQGUHFRUGVDQGRWKHUFRPSODLQWVRUDFWLRQV
PD\EHILOHGDJDLQVWXVRXUERDUGRIGLUHFWRUV.URJHU.URJHU VERDUGRIGLUHFWRUVDQGRWKHUVLQFRQQHFWLRQZLWKWKHWUDQVDFWLRQVFRQWHPSODWHG
E\WKH0HUJHU$JUHHPHQW7KHRXWFRPHRIOLWLJDWLRQLVXQFHUWDLQDQGZHPD\QRWEHVXFFHVVIXOLQGHIHQGLQJDJDLQVWDQ\VXFKIXWXUHFODLPV
/DZVXLWV WKDW PD\ EH ILOHG DJDLQVW XV RXU ERDUG RI GLUHFWRUV .URJHU RU .URJHU V ERDUG RI GLUHFWRUV FRXOG GHOD\ RU SUHYHQW WKH 0HUJHU DQG
RWKHUZLVHDGYHUVHO\DIIHFWRXUEXVLQHVVUHVXOWVRIRSHUDWLRQVDQGILQDQFLDOFRQGLWLRQ

7KHDELOLW\WRFRPSOHWHWKH0HUJHULVVXEMHFWWRWKHUHFHLSWRIFRQVHQWVDQGDSSURYDOVIURPJRYHUQPHQWHQWLWLHVZKLFKPD\LPSRVHFRQGLWLRQV
WKDWFRXOGFDXVHXVRU.URJHUWRDEDQGRQWKH0HUJHU

2Q )HEUXDU\   WKH 8QLWHG 6WDWHV )HGHUDO7UDGH &RPPLVVLRQ )7&  LVVXHG DQ DGPLQLVWUDWLYH FRPSODLQW DQG DXWKRUL]HG D ODZVXLW LQ
IHGHUDOFRXUWWRHQMRLQWKH0HUJHU$JURXSRIQLQHVWDWHVMRLQHGWKH)7&FRPSODLQWDQGWZRVWDWHVKDYHILOHGVXLWVLQUHVSHFWLYHVWDWHFRXUWVWR
HQMRLQ WKH 0HUJHU &RPSOHWLRQ RI WKH 0HUJHU LV FRQGLWLRQHG XSRQ DPRQJ RWKHU WKLQJV WKH H[SLUDWLRQ RU WHUPLQDWLRQ RI WKH UHTXLUHG ZDLWLQJ
SHULRG DQGDQ\H[WHQVLRQWKHUHRI DSSOLFDEOHWRWKH0HUJHUDQGDQ\WUDQVDFWLRQVFRQWHPSODWHGE\WKH0HUJHUXQGHUWKH+65$FWDQGUHVROXWLRQ
ZLWK


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7DEOHRI&RQWHQWV




WKH)7&DQGWKHVWDWHVZKRKDYHILOHGRUPD\ILOHVXLW:HFDQQRWSURYLGHDQ\DVVXUDQFHWKDWZHRU.URJHUZLOOSUHYDLOLQFRXUWRUREWDLQWKH
QHFHVVDU\DSSURYDOVWRFRPSOHWHWKH0HUJHU)DLOXUHWRSUHYDLOLQDQ\OHJDOFKDOOHQJHWRWKH0HUJHUPD\UHVXOWLQWKHGHOD\RUDEDQGRQPHQWRI
WKH0HUJHU

7KH0HUJHUPD\QRWEHFRPSOHWHGZLWKLQWKHH[SHFWHGWLPHIUDPHRUDWDOODQGVLJQLILFDQWGHOD\RUWKHIDLOXUHWRFRPSOHWHWKH0HUJHUFRXOG
DGYHUVHO\DIIHFWRXUEXVLQHVV

:HFDQQRWDVVXUHWKDWRXUEXVLQHVVRXUUHODWLRQVKLSVRURXUILQDQFLDOFRQGLWLRQZLOOQRWEHDGYHUVHO\DIIHFWHGLIWKH0HUJHULVQRWFRQVXPPDWHG
ZLWKLQ WKH H[SHFWHG WLPHIUDPH RU DW DOO )DLOXUH WR FRPSOHWH WKH 0HUJHU ZLWKLQ WKH H[SHFWHG WLPHIUDPH RU DW DOO FRXOG DGYHUVHO\ DIIHFW RXU
EXVLQHVVDQGWKHPDUNHWSULFHRIRXUFRPPRQVWRFNLQVHYHUDOZD\VLQFOXGLQJWKHIROORZLQJ
         WR WKH H[WHQW WKDW WKH FXUUHQW PDUNHW SULFH RI RXU FRPPRQ VWRFN UHIOHFWV DQ DVVXPSWLRQ WKDW WKH 0HUJHU ZLOO EH FRPSOHWHG LWPD\ EH
          QHJDWLYHO\LPSDFWHGEHFDXVHRIDIDLOXUHWRFRPSOHWHWKH0HUJHUZLWKLQWKHH[SHFWHGWLPHIUDPHRUDWDOO
         LQYHVWRU DQG FRQVXPHU FRQILGHQFH LQ RXU EXVLQHVV FRXOG GHFOLQH OLWLJDWLRQ FRXOG EH EURXJKW DJDLQVW XV UHODWLRQVKLSV ZLWK YHQGRUV
          VHUYLFHSURYLGHUVLQYHVWRUVDQGRWKHUEXVLQHVVSDUWQHUVPD\EHDGYHUVHO\LPSDFWHGDQGZHPD\EHXQDEOHWRUHWDLQNH\SHUVRQQHO
         ZHKDYHLQFXUUHGDQGZLOOFRQWLQXHWRLQFXUVLJQLILFDQWFRVWVH[SHQVHVDQGIHHVIRUSURIHVVLRQDOVHUYLFHVDQGRWKHUFRVWVLQFRQQHFWLRQ
          ZLWKWKH0HUJHUDQGWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKH0HUJHUIRUZKLFKZHPD\UHFHLYHOLWWOHRUQREHQHILWLIWKH0HUJHUDQGWKH
          WUDQVDFWLRQVFRQWHPSODWHGE\WKH0HUJHUDUHQRWFRPSOHWHG0DQ\RIWKHVHIHHVDQGFRVWVZLOOEHSD\DEOHE\XVHYHQLIWKH0HUJHUDQG
          WKHWUDQVDFWLRQVFRQWHPSODWHGE\WKH0HUJHUDUHQRWFRPSOHWHGDQGPD\UHODWHWRDFWLYLWLHVWKDWZHZRXOGQRWKDYHXQGHUWDNHQRWKHUWKDQ
          WRFRPSOHWHWKH0HUJHUDQG
         IDLOXUHWRFRPSOHWHWKH0HUJHUPD\UHVXOWLQQHJDWLYHSXEOLFLW\DQGDQHJDWLYHLPSUHVVLRQRIXVLQWKHLQYHVWPHQWFRPPXQLW\

7KHRFFXUUHQFHRIDQ\RIWKHVHHYHQWVLQGLYLGXDOO\RULQFRPELQDWLRQFRXOGPDWHULDOO\DQGDGYHUVHO\DIIHFWRXUEXVLQHVVUHVXOWVRIRSHUDWLRQV
ILQDQFLDOFRQGLWLRQDQGRXUVWRFNSULFH

                                                                5LVNV5HODWHGWR2XU,QGXVWU\

&RPSHWLWLRQLQRXULQGXVWU\LVLQWHQVHDQGRXUIDLOXUHWRFRPSHWHVXFFHVVIXOO\PD\DGYHUVHO\DIIHFWRXUSURILWDELOLW\DQGRSHUDWLQJUHVXOWV

7KHIRRGDQGGUXJUHWDLOLQGXVWU\LVODUJHDQGG\QDPLFFKDUDFWHUL]HGE\LQWHQVHFRPSHWLWLRQDPRQJDFROOHFWLRQRIORFDOUHJLRQDODQGQDWLRQDO
SDUWLFLSDQWV,QDGGLWLRQWRQHZHQWUDQWVWRWKHPDUNHWZHIDFHVWURQJFRPSHWLWLRQIURPH[LVWLQJVXSHUFHQWHUVRWKHUEULFNDQGPRUWDUIRRGDQGRU
GUXJ UHWDLOHUV FOXE VWRUHV GROODU DQG GLVFRXQW VWRUHV JURFHU\ RXWOHWV RQOLQH UHWDLOHUV DQG GLVWULEXWRUV VSHFLDOW\ DQG QLFKH VXSHUPDUNHWV GUXJ
VWRUHV JHQHUDO PHUFKDQGLVHUV ZKROHVDOH VWRUHV FRQYHQLHQFH VWRUHV QDWXUDO IRRG VWRUHV IDUPHUV  PDUNHWV ORFDO FKDLQV DQG VWDQGDORQH VWRUHV
WKDWFDWHUWRWKHLQGLYLGXDOFXOWXUDOSUHIHUHQFHVRIVSHFLILFQHLJKERUKRRGVUHVWDXUDQWVFDWHULQJFRPSDQLHVDQGKRPHGHOLYHU\DQGPHDOVROXWLRQ
FRPSDQLHV6KLIWVLQWKHFRPSHWLWLYHODQGVFDSHFRQVXPHUSUHIHUHQFHRUPDUNHWVKDUHPD\KDYHDQDGYHUVHHIIHFWRQRXUSURILWDELOLW\DQGUHVXOWV
RIRSHUDWLRQV

$V D UHVXOW RI FRQVXPHUV  JURZLQJ GHVLUH WR VKRS RQOLQH ZH DOVR IDFH LQFUHDVLQJ FRPSHWLWLRQ IURP ERWK RXU H[LVWLQJ FRPSHWLWRUV WKDW KDYH
LQFRUSRUDWHG WKH LQWHUQHW DV D GLUHFWWRFRQVXPHU FKDQQHO DQG RQOLQH SURYLGHUV WKDW VHOO JURFHU\ SURGXFWV$OWKRXJK ZH KDYH DFFHOHUDWHG WKH
H[SDQVLRQRIRXUGLJLWDOEXVLQHVVWRRIIHURXUFXVWRPHUVWKHDELOLW\WRVKRSRQOLQHIRUERWKKRPHGHOLYHU\DQG'ULYH8S *RFXUEVLGHSLFNXS
WKHUHLVQRDVVXUDQFHWKDWWKHVHRQOLQHLQLWLDWLYHVZLOOFRQWLQXHWREHVXFFHVVIXO,QDGGLWLRQWKHVHLQLWLDWLYHVPD\KDYHDQDGYHUVHLPSDFWRQRXU
SURILWDELOLW\EHFDXVHRIORZHUJURVVPDUJLQVRUJUHDWHURSHUDWLQJFRVWVWRFRPSHWH



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2XUDELOLW\WRDWWUDFWFXVWRPHUVLVGHSHQGHQWLQODUJHSDUWXSRQDFRPELQDWLRQRIFKDQQHOSUHIHUHQFHORFDWLRQVWRUHFRQGLWLRQVTXDOLW\SULFH
VHUYLFHFRQYHQLHQFHDQGVHOHFWLRQDQGRXUDELOLW\WROHYHUDJHH[LVWLQJDQGHPHUJLQJGLJLWDOWHFKQRORJLHV,QHDFKRIWKHVHDUHDVRWKHUFRPSDQLHV
FRPSHWH ZLWK XV DQG PD\ VXFFHVVIXOO\ DWWUDFW RXU FXVWRPHUV E\ PDWFKLQJ RU H[FHHGLQJ ZKDW ZH RIIHU RU E\ SURYLGLQJ JUHDWHU VKRSSLQJ
FRQYHQLHQFH RU EHWWHU RIIHULQJV ,Q UHFHQW \HDUV PDQ\ RI RXU FRPSHWLWRUV KDYH DJJUHVVLYHO\ DGGHG ORFDWLRQV DQG DGRSWHG D PXOWLFKDQQHO
DSSURDFKWRPDUNHWLQJDQGDGYHUWLVLQJ2XUUHVSRQVHVWRFRPSHWLWLYHSUHVVXUHVVXFKDVDGGLWLRQDOSURPRWLRQVLQFUHDVHGDGYHUWLVLQJDGGLWLRQDO
FDSLWDOLQYHVWPHQWLQFOXGLQJIRUGHYHORSPHQWRIRXUGLJLWDORIIHULQJVDQGUHWDLOPHGLDQHWZRUNFRXOGDGYHUVHO\DIIHFWRXUSURILWDELOLW\DQGFDVK
IORZ:HFDQQRWJXDUDQWHHWKDWRXUFRPSHWLWLYHUHVSRQVHZLOOVXFFHHGLQLQFUHDVLQJRUPDLQWDLQLQJRXUVKDUHRIUHWDLOIRRGVDOHV

$QLQFUHDVLQJO\FRPSHWLWLYHLQGXVWU\DQGLQIODWLRQDQGGHIODWLRQLQWKHSULFHVRIFHUWDLQIRRGVKDYHPDGHLWGLIILFXOWIRUIRRGUHWDLOHUVWRDFKLHYH
SRVLWLYHLGHQWLFDOVDOHVJURZWKRQDFRQVLVWHQWEDVLV:HDQGRXUFRPSHWLWRUVKDYHDWWHPSWHGWRPDLQWDLQRUJURZRXUUHVSHFWLYHVKDUHRIUHWDLO
IRRG VDOHV WKURXJK FDSLWDO DQG SULFH LQYHVWPHQW LQFUHDVHG SURPRWLRQDO DFWLYLW\ DQG QHZ DQG UHPRGHOHG VWRUHV FUHDWLQJ D PRUH GLIILFXOW
HQYLURQPHQWWRFRQVLVWHQWO\LQFUHDVH\HDURYHU\HDUVDOHV6RPHRIRXUSULPDU\FRPSHWLWRUVDUHODUJHUWKDQXVKDYHJUHDWHUILQDQFLDOUHVRXUFHV
DYDLODEOHWRWKHPRUVHOODGLYHUVLILHGPL[RIQRQIRRGSURGXFWVDQGWKHUHIRUHPD\EHDEOHWRGHYRWHJUHDWHUUHVRXUFHVWRJURZWKHLUVKDUHRI
UHWDLO IRRG VDOHV RU RIIVHW ORZHU IRRG PDUJLQV ZLWK KLJKHUPDUJLQ QRQIRRG SURGXFWV 3ULFH LQYHVWPHQW E\ RXU FRPSHWLWRUV KDV DOVR DGYHUVHO\
DIIHFWHGRXURSHUDWLQJPDUJLQV

2XUFRQWLQXHGVXFFHVVWRHIIHFWLYHO\FRPSHWHLQWKHIRRGUHWDLOLQGXVWU\LVGHSHQGHQWXSRQRXUDELOLW\WRFRQWURORSHUDWLQJH[SHQVHVUHSOLFDWLQJ
FRPSHWLWRU FDSDELOLWLHV PDNLQJ DSSURSULDWH LQYHVWPHQWV PDQDJLQJ SURGXFW DQG ODERU FRVWV LQ DQ LQFUHDVLQJO\ FRPSHWLWLYH ODERU PDUNHW DQG
KHDOWKFDUHDQGSHQVLRQFRVWVVWLSXODWHGE\RXUFROOHFWLYHEDUJDLQLQJDJUHHPHQWV6HYHUDORIRXUSULPDU\FRPSHWLWRUVDUHODUJHUWKDQZHDUHRU
DUHQRWVXEMHFWWRFROOHFWLYHEDUJDLQLQJDJUHHPHQWVDOORZLQJWKHPWRPRUHHIIHFWLYHO\OHYHUDJHWKHLUIL[HGFRVWVRUPRUHHDVLO\UHGXFHRSHUDWLQJ
H[SHQVHV &KDQJHV LQ RXU SURGXFW PL[ DOVR PD\ QHJDWLYHO\ DIIHFW RXU SURILWDELOLW\ 2XU LQDELOLW\ WR DGHTXDWHO\ FRQWURO DQG SUHYHQW VKULQN KDV
LPSDFWHGRXUUHVXOWVRIRSHUDWLRQVDQGFRXOGLPSDFWRXUUHVXOWVRIRSHUDWLRQVLQWKHIXWXUH)DLOXUHWRDFFRPSOLVKRXUREMHFWLYHVFRXOGLPSDLURXU
DELOLW\WRFRPSHWHVXFFHVVIXOO\DQGDGYHUVHO\DIIHFWRXUSURILWDELOLW\3URILWPDUJLQVLQWKHIRRGUHWDLOLQGXVWU\DUHORZ,QRUGHUWRLQFUHDVHRU
PDLQWDLQ RXU SURILW PDUJLQV ZH GHYHORS RSHUDWLQJ VWUDWHJLHV WR LQFUHDVH UHYHQXHV LQFUHDVH JURVV PDUJLQV DQG UHGXFH FRVWV VXFK DV QHZ
PDUNHWLQJ SURJUDPV QHZ DGYHUWLVLQJ FDPSDLJQV SURGXFWLYLW\ LPSURYHPHQWV VKULQNUHGXFWLRQ LQLWLDWLYHV GLVWULEXWLRQ FHQWHU HIILFLHQFLHV
PDQXIDFWXULQJ HIILFLHQFLHV HQHUJ\ HIILFLHQF\ SURJUDPV DQG RWKHU VLPLODU VWUDWHJLHV 2XU IDLOXUH WR DFKLHYH IRUHFDVWHG UHYHQXH JURZWK JURVV
PDUJLQLPSURYHPHQWRUFRVWUHGXFWLRQVFRXOGKDYHDPDWHULDODGYHUVHHIIHFWRQRXUSURILWDELOLW\DQGRSHUDWLQJUHVXOWV

:HPD\QRWWLPHO\LGHQWLI\RUHIIHFWLYHO\UHVSRQGWRFRQVXPHUWUHQGVZKLFKFRXOGQHJDWLYHO\DIIHFWRXUUHODWLRQVKLSZLWKRXUFXVWRPHUVWKH
GHPDQGIRURXUSURGXFWVDQGVHUYLFHVDQGRXUPDUNHWVKDUH

%HFDXVHZHIDFHLQWHQVHFRPSHWLWLRQRXUVXFFHVVGHSHQGVLQSDUWRQHIIHFWLYHO\DQWLFLSDWLQJHYROYLQJWUHQGVLQGHPRJUDSKLFVDQGUHVSRQGLQJWR
FKDQJLQJFRQVXPHUSUHIHUHQFHVDQGGHPDQGV,WLVGLIILFXOWWRSUHGLFWFRQVLVWHQWO\DQGVXFFHVVIXOO\WKHSURGXFWVDQGVHUYLFHVRXUFXVWRPHUVZLOO
GHPDQGRYHUWLPH)DLOXUHWRWLPHO\LGHQWLI\RUHIIHFWLYHO\UHVSRQGWRFKDQJLQJFRQVXPHUWDVWHVSUHIHUHQFHVDQGVSHQGLQJSDWWHUQVFRXOGOHDGXV
WRRIIHURXUFXVWRPHUVDPL[RISURGXFWVRUDOHYHORISULFLQJWKDWWKH\GRQRWILQGDWWUDFWLYH7KLVFRXOGQHJDWLYHO\DIIHFWRXUUHODWLRQVKLSZLWK
RXUFXVWRPHUVOHDGLQJWKHPWRUHGXFHWKHLUYLVLWVWRRXUVWRUHVDQGWKHDPRXQWWKH\VSHQG)XUWKHUZKLOHZHKDYHVLJQLILFDQWO\H[SDQGHGRXU
GLJLWDOFDSDELOLWLHVDQGJURZQRXUOR\DOW\SURJUDPVRYHUWKHODVWVHYHUDO\HDUVDVWHFKQRORJ\DGYDQFHVDQGDVWKHZD\RXUFXVWRPHUVLQWHUDFW
ZLWK WHFKQRORJ\ FKDQJHV ZH ZLOO QHHG WR FRQWLQXH WR GHYHORS DQG RIIHU GLJLWDO OR\DOW\ DQG PHGLD VROXWLRQV WKDW DUH ERWK FRVW HIIHFWLYH DQG
FRPSHOOLQJWRRXUFXVWRPHUV2XUIDLOXUHWRDQWLFLSDWHRUUHVSRQGWRFXVWRPHUH[SHFWDWLRQVIRUSURGXFWVVHUYLFHVGLJLWDODQGOR\DOW\SURJUDPV
ZRXOG DGYHUVHO\ DIIHFW WKH GHPDQG IRU RXU SURGXFWV DQG VHUYLFHV DQG RXU PDUNHW VKDUH DQG FRXOG KDYH DQ DGYHUVH HIIHFW RQ RXU ILQDQFLDO
SHUIRUPDQFHPDUJLQVDQGRSHUDWLQJLQFRPH



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&RQVROLGDWLRQLQWKHKHDOWKFDUHLQGXVWU\FRXOGDGYHUVHO\DIIHFWRXUEXVLQHVVDQGILQDQFLDOFRQGLWLRQ

0DQ\ RUJDQL]DWLRQV LQ WKH KHDOWKFDUH LQGXVWU\ KDYH FRQVROLGDWHG WR FUHDWH ODUJHU KHDOWKFDUH HQWHUSULVHV ZLWK JUHDWHU PDUNHW SRZHU ZKLFK KDV
UHVXOWHGLQLQFUHDVHGSULFLQJSUHVVXUHV,IWKLVFRQVROLGDWLRQWUHQGFRQWLQXHVLWFRXOGJLYHWKHUHVXOWLQJHQWHUSULVHVHYHQJUHDWHUEDUJDLQLQJSRZHU
ZKLFKPD\OHDGWRIXUWKHUSUHVVXUHRQWKHSULFHVIRURXUSKDUPDF\SURGXFWVDQGVHUYLFHV,IWKHVHSUHVVXUHVUHVXOWLQUHGXFWLRQVLQRXUSULFHVZH
ZLOO EHFRPH OHVV SURILWDEOH XQOHVV ZH DUH DEOH WR DFKLHYH FRUUHVSRQGLQJ UHGXFWLRQV LQ FRVWV RU GHYHORS SURILWDEOH QHZ UHYHQXH VWUHDPV :H
H[SHFW WKDW PDUNHW GHPDQG JRYHUQPHQW UHJXODWLRQ WKLUGSDUW\ UHLPEXUVHPHQW SROLFLHV JRYHUQPHQW FRQWUDFWLQJ UHTXLUHPHQWV OLWLJDWLRQ DQG
VRFLHWDOSUHVVXUHVZLOOFRQWLQXHWRFDXVHWKHKHDOWKFDUHLQGXVWU\WRHYROYHSRWHQWLDOO\UHVXOWLQJLQIXUWKHUEXVLQHVVFRQVROLGDWLRQVDQGDOOLDQFHV
DPRQJWKHLQGXVWU\SDUWLFLSDQWVZHHQJDJHZLWKZKLFKPD\DGYHUVHO\LPSDFWRXUEXVLQHVVILQDQFLDOFRQGLWLRQDQGUHVXOWVRIRSHUDWLRQV

&HUWDLQULVNVDUHLQKHUHQWLQSURYLGLQJSKDUPDF\SURGXFWVDQGVHUYLFHVDQGRXULQVXUDQFHPD\QRWEHDGHTXDWHWRFRYHUDQ\FODLPVDJDLQVW
XV

:HFXUUHQWO\RSHUDWHSKDUPDFLHV$VDUHVXOWZHDUHH[SRVHGWRULVNVLQKHUHQWLQWKHSDFNDJLQJGLVSHQVLQJELOOLQJGLVSOD\GLVWULEXWLRQ
DQGGLVSRVDORISKDUPDFHXWLFDOVDQGRWKHUKHDOWKFDUHSURGXFWVLQFOXGLQJULVNVRIOLDELOLW\IRUSURGXFWVVXFKDVRSLRLGV$OWKRXJKZHPDLQWDLQ
LQVXUDQFH DJDLQVW VXFK OLDELOLWLHV ZH FDQQRW JXDUDQWHH WKDW WKH FRYHUDJH OLPLWV XQGHU RXU LQVXUDQFH SURJUDPV ZLOO EH DGHTXDWH WR SURWHFW XV
DJDLQVW IXWXUH FODLPV RU WKDW ZH ZLOO EH DEOH WR PDLQWDLQ WKLV LQVXUDQFH RQ DFFHSWDEOH WHUPV LQ WKH IXWXUH RU DW DOO IRU KHDOWKFDUH DQG
SKDUPDFHXWLFDOOLDELOLWLHV2XUUHVXOWVRIRSHUDWLRQVILQDQFLDOFRQGLWLRQRUFDVKIORZVPD\EHPDWHULDOO\DGYHUVHO\DIIHFWHGLILQWKHIXWXUHRXU
LQVXUDQFHFRYHUDJHSURYHVWREHLQDGHTXDWHRUXQDYDLODEOHRUWKHUHLVDQLQFUHDVHLQWKHOLDELOLW\IRUZKLFKZHVHOILQVXUHRUZHVXIIHUKDUPWR
RXUUHSXWDWLRQEHFDXVHRIDQHUURURURPLVVLRQ$OVRRXUEXVLQHVVRSHUDWLRQVDQGRSHUDWLQJUHVXOWVFRXOGEHPDWHULDOO\DGYHUVHO\LPSDFWHGE\
OHJLVODWLYHHQIRUFHPHQWUHJXODWRU\MXGLFLDODQGSXEOLFSROLF\FKDQJHV

:HDUHVXEMHFWWRQXPHURXVIHGHUDODQGVWDWHUHJXODWLRQV(DFKRIRXULQVWRUHSKDUPDFLHVDUHHQUROOHGLQJRYHUQPHQWKHDOWKFDUHSURJUDPVDQG
PXVW EH OLFHQVHG E\ WKH UHVSHFWLYH VWDWH JRYHUQPHQW 7KH OLFHQVLQJ DQG HQUROOPHQW UHTXLUHPHQWV YDU\ IURP VWDWH WR VWDWH $Q DGGLWLRQDO
UHJLVWUDWLRQFHUWLILFDWHPXVWEHJUDQWHGE\WKH86'UXJ(QIRUFHPHQW$GPLQLVWUDWLRQDQGLQVRPHVWDWHVDVHSDUDWHFRQWUROOHGVXEVWDQFHOLFHQVH
PXVW EH REWDLQHG WR GLVSHQVH FRQWUROOHG VXEVWDQFHV ,Q DGGLWLRQ SKDUPDFLHV VHOOLQJ FRQWUROOHG VXEVWDQFHV DUH UHTXLUHG WR PDLQWDLQ H[WHQVLYH
UHFRUGVDQGRIWHQUHSRUWLQIRUPDWLRQWRVWDWHDQGIHGHUDODJHQFLHV,IZHIDLOWRFRPSO\ZLWKH[LVWLQJRUIXWXUHODZVDQGUHJXODWLRQVZHFRXOG
VXIIHUVXEVWDQWLDOFLYLORUFULPLQDOSHQDOWLHVLQFOXGLQJWKHORVVRIRXUOLFHQVHVWRRSHUDWHSKDUPDFLHVDQGRXUDELOLW\WRSDUWLFLSDWHLQIHGHUDODQG
VWDWHKHDOWKFDUHSURJUDPV%HFDXVHRIWKHVHYHUHSHQDOWLHVZHFRXOGIDFHZHPXVWGHYRWHVLJQLILFDQWRSHUDWLRQDODQGPDQDJHULDOUHVRXUFHVWR
FRPSO\LQJZLWKWKHVHODZVDQGUHJXODWLRQV

$SSOLFDWLRQ RI IHGHUDO DQG VWDWH ODZV DQG UHJXODWLRQV FRXOG VXEMHFW RXU FXUUHQW SUDFWLFHV WR DOOHJDWLRQV RI LPSURSULHW\ RU LOOHJDOLW\ RU FRXOG
UHTXLUHXVWRPDNHVLJQLILFDQWFKDQJHVWRRXURSHUDWLRQV,QDGGLWLRQZHFDQQRWSUHGLFWWKHLPSDFWRIIXWXUHOHJLVODWLRQDQGUHJXODWRU\FKDQJHV
RQRXUSKDUPDF\RSHUDWLRQVRUDVVXUHWKDWZHZLOOEHDEOHWRREWDLQRUPDLQWDLQWKHUHJXODWRU\DSSURYDOVUHTXLUHGWRRSHUDWHRXUEXVLQHVV

                                                            5LVNV5HODWHGWR2XU6XSSO\&KDLQ

3URGXFWDQGUDZPDWHULDOVXSSO\GLVUXSWLRQVHVSHFLDOO\WKRVHUHODWHGWRIUHVKSURGXFWVPD\KDYHDQDGYHUVHHIIHFWRQRXUSURILWDELOLW\DQG
RSHUDWLQJUHVXOWV

5HIOHFWLQJFRQVXPHUSUHIHUHQFHVZHKDYHDVLJQLILFDQWIRFXVRQIUHVKSURGXFWV:HUHO\RQYDULRXVVXSSOLHUVDQGYHQGRUVWRSURYLGHDQGGHOLYHU
RXUIUHVKDQGRWKHUSURGXFWLQYHQWRU\RQDFRQWLQXRXVEDVLVDQGWRVXSSO\WKHUDZPDWHULDOVWRPDQXIDFWXUHFHUWDLQRIRXU2ZQ%UDQGVSURGXFWV
:HFRXOGVXIIHUVLJQLILFDQWIUHVKDQGRWKHUSURGXFWLQYHQWRU\ORVVHVDQGVLJQLILFDQWORVWUHYHQXHLQWKHHYHQWRIWKHORVVRUDVKXWGRZQRIDPDMRU
VXSSOLHURUYHQGRU


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7DEOHRI&RQWHQWV




GLVUXSWLRQ RI RXU GLVWULEXWLRQ QHWZRUN H[WHQGHG SRZHU RXWDJHV QDWXUDO GLVDVWHUV IRUHLJQ FRQIOLFWV RU RWKHU FDWDVWURSKLF RU XQH[SHFWHG
RFFXUUHQFHV VXFK DV D SDQGHPLF OLNH &29,' :H H[SHFW RXU VXSSOLHUV WR FRPSO\ ZLWK DSSOLFDEOH ODZV LQFOXGLQJ ODERU VDIHW\ DQG
HQYLURQPHQWDO ODZV 2XU DELOLW\ WR ILQG TXDOLILHG VXSSOLHUV ZKR XSKROG RXU VWDQGDUGV DQG UHTXLUHPHQWV IRU SURGXFWV LQFOXGLQJ IUHVK DQG WR
DFFHVVVXFKSURGXFWVLQDWLPHO\DQGRSHUDWLRQDOO\HIILFLHQWPDQQHULQYROXPHVZHPD\GHPDQGPD\EHFRPHDVLJQLILFDQWFKDOOHQJH

6HYHUHZHDWKHUQDWXUDOGLVDVWHUVDQGRWKHUFOLPDWHFKDQJHVPD\DGYHUVHO\DIIHFWRXUEXVLQHVV

6HYHUH ZHDWKHU FRQGLWLRQV VXFK DV KXUULFDQHV HDUWKTXDNHV IORRGV ZLOGILUHV PXGVOLGHV ZLQWHU VWRUPV WRUQDGRHV DV ZHOO DV RWKHU QDWXUDO
GLVDVWHUVLQDUHDVLQZKLFKZHKDYHVWRUHVRUGLVWULEXWLRQFHQWHUVKDYHFDXVHGDQGPD\FDXVHSK\VLFDOGDPDJHWRRXUSURSHUWLHVFORVXUHRIRQHRU
PRUHRIRXUVWRUHVPDQXIDFWXULQJIDFLOLWLHVRUGLVWULEXWLRQFHQWHUVODFNRIDQDGHTXDWHZRUNIRUFHGLVUXSWLRQLQWKHPDQXIDFWXUHDQGVXSSO\RI
SURGXFWVGLVUXSWLRQDQGGHOD\VLQWUDQVSRUWDWLRQDQGGHOLYHU\RIJRRGVUHGXFWLRQLQFXVWRPHUWUDIILFDQGJHQHUDOO\DUHGXFWLRQLQWKHDYDLODELOLW\
RISURGXFWVLQRXUVWRUHV

,Q DGGLWLRQ DGYHUVH FOLPDWH FRQGLWLRQV ZHDWKHU SDWWHUQV DQG WKHLU UHVSHFWLYH LPSDFWV VXFK DV GURXJKW IORRG ZLOGILUHV PXGVOLGHV DQG ULVLQJ
DPELHQWWHPSHUDWXUHVDGYHUVHO\LPSDFWSURGXFWFXOWLYDWLRQFRQGLWLRQVIRUIDUPHUVUDQFKHUVDQGILVKHUPHQLQFOXGLQJE\GLVUXSWLQJHFRV\VWHPV
DQG VHYHUHO\ DOWHULQJ WKH JURZLQJ FRQGLWLRQV QXWULHQW OHYHOVVRLO PRLVWXUH DQG ZDWHU DYDLODELOLW\ QHFHVVDU\ IRU WKH JURZWKDQG FXOWLYDWLRQ RI
FURSVDQGUDLVLQJRIDQLPDOV$VH[WUHPHVKLIWVLQFOLPDWHFRQGLWLRQVPDNHLWPRUHGLIILFXOWWRUDLVHDQGSURGXFHFURSVOLYHVWRFNDQGVHDIRRG
WKHUH PD\ EH D GHFUHDVH LQ WKH SURGXFW TXDOLW\ DQG WKH \LHOG TXDQWLW\ RI IRRG SURGXFWV &RQVHTXHQWO\ VXFK D GHFUHDVHG IRRG VXSSO\ PD\
DGYHUVHO\DIIHFWWKHDYDLODELOLW\RUFRVWRIFHUWDLQSURGXFWVZLWKLQWKHJURFHU\VXSSO\FKDLQZKLFKFRXOGOHDGWRVKRUWDJHVRUUHGXFHGJURVVSURILW
PDUJLQVDVVXFKSURGXFWVEHFRPHPRUHH[SHQVLYH$WWKHJOREDOOHYHOWKHLPSDFWRIFOLPDWHFKDQJHRQIRRGVXSSO\LVPRUHOLNHO\WROHDGWRIRRG
LQVHFXULW\ LQ FRXQWULHV ZKLFK XQOLNH WKH 8QLWHG 6WDWHV KDYH FOLPDWHV LQVXIILFLHQW WR VXVWDLQ GLYHUVH IRRG SURGXFWLRQ 7KXV WKHUH PD\ EH
LQFUHDVHG GHPDQG IRU DJULFXOWXUDO H[SRUWV IURP UHJLRQV WKDW H[SHULHQFH SURGXFWLRQ GLIILFXOWLHV \HW KDYH VXIILFLHQW ZHDOWK WR SXUFKDVH LPSRUWV
7KLVPD\LPSDFWWKHDYDLODELOLW\RISURGXFWVIRUXVWRSXUFKDVH

,QDGGLWLRQOHJLVODWLYHDQGUHJXODWRU\HIIRUWVWRFRPEDWFOLPDWHFKDQJHRURWKHUHQYLURQPHQWDOLVVXHVFRXOGUHVXOWLQQHZRUPRUHVWULQJHQWIRUPV
RI RYHUVLJKW DQG PDQGDWRU\ RU YROXQWDU\ UHSRUWLQJ GLOLJHQFH DQG GLVFORVXUH ZKLFK FRXOG LQFUHDVH FRVWV UHVXOW LQ DGGLWLRQDO WD[HV DQG RWKHU
H[SHQVHVDQGIXUWKHULPSDFWRXUEXVLQHVVUHVXOWVRIRSHUDWLRQVDQGILQDQFLDOFRQGLWLRQ

7KUHDWVRUSRWHQWLDOWKUHDWVWRIRRGDQGGUXJVDIHW\WKHRFFXUUHQFHRIDZLGHVSUHDGKHDOWKHSLGHPLFDQGRUSDQGHPLFRUUHJXODWRU\FRQFHUQV
LQRXUVXSSO\FKDLQPD\DGYHUVHO\DIIHFWRXUEXVLQHVV

$FWVRUWKUHDWVZKHWKHUSHUFHLYHGRUUHDORIZDURUWHUURURURWKHUFULPLQDODFWLYLW\GLUHFWHGDWWKHIRRGDQGGUXJLQGXVWU\RUWKHWUDQVSRUWDWLRQ
LQGXVWU\ ZKHWKHU RU QRW GLUHFWO\ LQYROYLQJ RXU VWRUHV FRXOG LQFUHDVH RXU RSHUDWLQJ FRVWV RU LPSDFW JHQHUDO FRQVXPHU EHKDYLRU DQG FRQVXPHU
VSHQGLQJ 2WKHU HYHQWV WKDW JLYH ULVH WR DFWXDO RU SRWHQWLDO IRRG FRQWDPLQDWLRQ GUXJ FRQWDPLQDWLRQ RU IRRGERUQH LOOQHVVHV RU D ZLGHVSUHDG
UHJLRQDO QDWLRQDO RU JOREDO KHDOWK HSLGHPLF DQGRU SDQGHPLF FRXOG KDYH DQ DGYHUVH HIIHFW RQ RXU RSHUDWLQJ UHVXOWV RU GLVUXSWSURGXFWLRQ DQG
GHOLYHU\RIWKHSURGXFWVZHVHOORXUDELOLW\WRDSSURSULDWHO\DQGVDIHO\VWDIIRXUVWRUHVDQGFDXVHFXVWRPHUVWRDYRLGSXEOLFJDWKHULQJSODFHVRU
RWKHUZLVHFKDQJHWKHLUVKRSSLQJEHKDYLRUV

:H VRXUFH RXU SURGXFWV IURP YHQGRUV DQG VXSSOLHUV DQG UHODWHG QHWZRUNV DFURVV WKH JOREH ZKR PD\ EH VXEMHFW WR UHJXODWRU\ DFWLRQV RU IDFH
FULWLFLVPGXHWRDFWXDORUSHUFHLYHGVRFLDOLQMXVWLFHVLQFOXGLQJKXPDQWUDIILFNLQJQRQVXVWDLQDEOHSUDFWLFHVFKLOGODERURUHQYLURQPHQWDOKHDOWK
DQG VDIHW\ YLRODWLRQV$ GLVUXSWLRQ LQ RXU VXSSO\ FKDLQ GXH WR DQ\ UHJXODWRU\ DFWLRQ RU VRFLDO LQMXVWLFH FRXOG KDYH DQ DGYHUVH LPSDFW RQ RXU
VXSSO\FKDLQDQGXOWLPDWHO\RXUEXVLQHVVLQFOXGLQJSRWHQWLDOKDUPWRRXUUHSXWDWLRQ


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7DEOHRI&RQWHQWV




:HFRXOGEHDIIHFWHGLIFRQVXPHUVORVHFRQILGHQFHLQWKHIRRGVXSSO\FKDLQRUWKHTXDOLW\DQGVDIHW\RIRXUSURGXFWV

:HFRXOGEHDGYHUVHO\DIIHFWHGLIFRQVXPHUVORVHFRQILGHQFHLQWKHVDIHW\DQGTXDOLW\RIFHUWDLQIRRGSURGXFWV$GYHUVHSXEOLFLW\DERXWWKHVH
W\SHVRIFRQFHUQVZKHWKHUYDOLGRUQRWPD\GLVFRXUDJHFRQVXPHUVIURPEX\LQJRXUSURGXFWVRUFDXVHSURGXFWLRQDQGGHOLYHU\GLVUXSWLRQV7R
WKHH[WHQWWKDWDSDWKRJHQLVIRRGERUQHRUSHUFHLYHGWREHIRRGERUQHIXWXUHRXWEUHDNVPD\DGYHUVHO\DIIHFWWKHSULFHDQGDYDLODELOLW\RIFHUWDLQ
IRRGSURGXFWVDQGFDXVHRXUFXVWRPHUVWRHDWOHVVRIVXFKSURGXFWV,QDGGLWLRQUHFDOOVRUZLWKGUDZDOVRIIRRGSURGXFWVDQGLQSDUWLFXODUWKH
IRRGSURGXFWVZHPDQXIDFWXUHRUDUHVROGXQGHUDQ\RIRXU2ZQ%UDQGVSURGXFWQDPHVPD\LQYROYHFRVWVWRXVRUUHSXWDWLRQDOKDUPWRXV7KH
UHDORUSHUFHLYHGVDOHRIFRQWDPLQDWHGIRRGSURGXFWVE\XVFRXOGUHVXOWLQSURGXFWOLDELOLW\FODLPVDORVVRIFRQVXPHUFRQILGHQFHDQGSURGXFW
UHFDOOVZKLFKFRXOGKDYHDPDWHULDODGYHUVHHIIHFWRQRXUEXVLQHVV

)XHOSULFHVDQGDYDLODELOLW\PD\DGYHUVHO\DIIHFWRXUUHVXOWVRIRSHUDWLRQV

:HFXUUHQWO\RSHUDWHIXHOFHQWHUVWKDWDUHDGMDFHQWWRPDQ\RIRXUVWRUHORFDWLRQV$VDUHVXOWZHVHOODVLJQLILFDQWDPRXQWRIJDVROLQHDQG
GLHVHOIXHO,QFUHDVHGUHJXODWLRQRUVLJQLILFDQWLQFUHDVHVLQZKROHVDOHIXHOFRVWVFRXOGUHVXOWLQORZHUJURVVPDUJLQVRQIXHOVDOHVDQGGHPDQG
FRXOGEHQHJDWLYHO\LPSDFWHGE\UHWDLOSULFHLQFUHDVHVDVZHOODVE\FRQFHUQVDERXWWKHHIIHFWRIHPLVVLRQVRQWKHHQYLURQPHQW:HDUHXQDEOHWR
SUHGLFWIXWXUHUHJXODWLRQVHQYLURQPHQWDOHIIHFWVSROLWLFDOXQUHVWJHRSROLWLFDOWHQVLRQVKRVWLOLWLHVRUER\FRWWVDFWVRIWHUURULVPWKHDFWLRQVRI
PDMRURLOSURGXFLQJFRXQWULHVWRUHJXODWHRLOSURGXFWLRQDQGRWKHUPDWWHUVWKDWPD\DIIHFWWKHFRVWDQGDYDLODELOLW\RIIXHODQGKRZRXUFXVWRPHUV
ZLOOUHDFWWRDQ\RIWKHSUHFHGLQJPDWWHUVZKLFKFRXOGDGYHUVHO\DIIHFWRXUUHVXOWVRIRSHUDWLRQV

,QFUHDVHGFRPPRGLW\SULFHVPD\DGYHUVHO\LPSDFWRXUSURILWDELOLW\

0DQ\ RI RXU RZQ DQG VRXUFHG SURGXFWV LQFOXGH LQJUHGLHQWV VXFK DV ZKHDW FRUQ RLOV PLON VXJDU SURWHLQV FRFRD DQG RWKHU FRPPRGLWLHV
&RPPRGLW\SULFHVFDQEHYRODWLOHDQGFDQEHLPSDFWHGE\JOREDOFRQIOLFWVVXFKDVWKHLPSDFWRQZKHDWDQGFRUQSULFHVE\WKHDUPHGFRQIOLFW
EHWZHHQ5XVVLDDQG8NUDLQH$Q\LQFUHDVHLQFRPPRGLW\SULFHVPD\FDXVHDQLQFUHDVHLQRXULQSXWFRVWVRUWKHSULFHVRXUYHQGRUVVHHNIURPXV
$OWKRXJKZHW\SLFDOO\DUHDEOHWRSDVVRQPRGHVWFRPPRGLW\SULFHLQFUHDVHVRUPLWLJDWHYHQGRUHIIRUWVWRLQFUHDVHRXUFRVWVZHPD\EHXQDEOH
WRFRQWLQXHWRGRVRHLWKHULQZKROHRULQSDUWLIFRPPRGLW\SULFHVLQFUHDVHPDWHULDOO\RUWKHUHDUHVLJQLILFDQWLQIODWLRQDU\SUHVVXUHV,IZHDUH
IRUFHGWRLQFUHDVHSULFHVRXUFXVWRPHUVPD\UHGXFHWKHLUSXUFKDVHVDWRXUVWRUHVRUWUDGHGRZQWROHVVSURILWDEOHSURGXFWV%RWKPD\DGYHUVHO\
LPSDFWRXUSURILWDELOLW\DVDUHVXOWRIUHGXFHGUHYHQXHRUUHGXFHGPDUJLQV

                                                           5LVNV5HODWHGWR2XU:RUNIRUFH

$VLJQLILFDQWPDMRULW\RIRXUHPSOR\HHVDUHXQLRQL]HGDQGRXUUHODWLRQVKLSZLWKXQLRQVLQFOXGLQJODERUGLVSXWHVRUZRUNVWRSSDJHVFRXOG
KDYHDQDGYHUVHLPSDFWRQRXURSHUDWLRQVDQGILQDQFLDOUHVXOWV

$V RI )HEUXDU\   DSSUR[LPDWHO\  RI RXU HPSOR\HHV ZHUH FRYHUHG E\ FROOHFWLYH EDUJDLQLQJ DJUHHPHQWV 'XULQJ ILVFDO 
FROOHFWLYHEDUJDLQLQJDJUHHPHQWVFRYHULQJDSSUR[LPDWHO\HPSOR\HHVH[SLUHGDQGZHUHVXFFHVVIXOO\UHQHJRWLDWHG,QILVFDOFROOHFWLYH
EDUJDLQLQJDJUHHPHQWVFRYHULQJDSSUR[LPDWHO\HPSOR\HHVDUHVFKHGXOHGWRH[SLUH,QIXWXUHQHJRWLDWLRQVZLWKODERUXQLRQVZHH[SHFW
WKDWKHDOWKFDUHSHQVLRQFRVWVDQGRUFRQWULEXWLRQVDQGZDJHFRVWVDPRQJRWKHULVVXHVZLOOEHLPSRUWDQWWRSLFVIRUQHJRWLDWLRQ,IXSRQWKH
H[SLUDWLRQRIVXFKFROOHFWLYHEDUJDLQLQJDJUHHPHQWVZHDUHXQDEOHWRQHJRWLDWHDFFHSWDEOHFRQWUDFWVZLWKODERUXQLRQVLWFRXOGUHVXOWLQVWULNHV
E\WKHDIIHFWHGZRUNHUVDQGWKHUHE\VLJQLILFDQWO\GLVUXSWRXURSHUDWLRQV$V


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SDUW RI RXU FROOHFWLYH EDUJDLQLQJ DJUHHPHQWV ZH PD\ QHHG WR IXQG DGGLWLRQDO SHQVLRQ FRQWULEXWLRQV ZKLFK ZRXOG QHJDWLYHO\ LPSDFW RXU
RSHUDWLQJFRVWV

,QFUHDVHGSHQVLRQH[SHQVHVFRQWULEXWLRQVDQGVXUFKDUJHVPD\KDYHDQDGYHUVHLPSDFWRQRXUILQDQFLDOUHVXOWV

:HFXUUHQWO\FRQWULEXWHWRPXOWLHPSOR\HUSHQVLRQSODQVIRUDVXEVWDQWLDOPDMRULW\RIHPSOR\HHVUHSUHVHQWHGE\XQLRQVSXUVXDQWWRFROOHFWLYH
EDUJDLQLQJDJUHHPHQWVWKDWUHTXLUHXVWRFRQWULEXWHWRWKHVHSODQV8QGHUWKH(PSOR\HH5HWLUHPHQW,QFRPH6HFXULW\$FWRIDVDPHQGHG
 (5,6$ WKH3HQVLRQ%HQHILW*XDUDQW\&RUSRUDWLRQ WKH3%*& KDVWKHDXWKRULW\WRSHWLWLRQDFRXUWWRWHUPLQDWHDQXQGHUIXQGHGSHQVLRQ
SODQLQOLPLWHGFLUFXPVWDQFHV,QWKHHYHQWWKDWRXUGHILQHGEHQHILWSHQVLRQSODQVDUHWHUPLQDWHGIRUDQ\UHDVRQZHFRXOGEHOLDEOHIRUWKHHQWLUH
DPRXQWRIWKHXQGHUIXQGLQJDVFDOFXODWHGE\WKH3%*&EDVHGRQLWVRZQDVVXPSWLRQV ZKLFKZRXOGUHVXOWLQDODUJHUREOLJDWLRQWKDQWKDWEDVHG
RQWKHDFWXDULDODVVXPSWLRQVXVHGWRIXQGVXFKSODQV 8QGHU(5,6$DQGWKH,QWHUQDO5HYHQXH&RGHDVDPHQGHG WKH&RGH WKHOLDELOLW\XQGHU
WKHVHGHILQHGEHQHILWSODQVLVMRLQWDQGVHYHUDOZLWKDOOPHPEHUVRIRXUFRQWUROJURXSVXFKWKDWHDFKPHPEHURIRXUFRQWUROJURXSLVSRWHQWLDOO\
OLDEOHIRUWKHGHILQHGEHQHILWSODQVRIHDFKRWKHUPHPEHURIWKHFRQWUROJURXS

%DVHGRQDQDVVHVVPHQWRIWKHPRVWUHFHQWLQIRUPDWLRQDYDLODEOHZHEHOLHYHWKDWPRVWRIWKHPXOWLHPSOR\HUSODQVWRZKLFKZHFRQWULEXWHDUH
XQGHUIXQGHGZKLFKLVWKHDPRXQWE\ZKLFKWKHDFWXDULDOGHWHUPLQHGSODQOLDELOLWLHVH[FHHGWKHYDOXHRIWKHSODQDVVHWV:HDUHRQO\RQHRID
QXPEHURIHPSOR\HUVFRQWULEXWLQJWRWKHVHSODQVDQGWKHXQGHUIXQGLQJRIDQ\RIWKHVHSODQVWRZKLFKZHFRQWULEXWHDUHQRWRXUOLDELOLW\7KRXJK
ZHDUHQRWREOLJDWHGQRUWKHJXDUDQWRUIRUDQ\RIWKHXQGHUIXQGLQJRIPXOWLHPSOR\HUSODQVWRZKLFKZHFRQWULEXWHDVRI'HFHPEHUZH
DWWHPSWHG WR HVWLPDWH RXU DOORFDEOH VKDUH RI WKH XQGHUIXQGLQJ RI PXOWLHPSOR\HU SODQV WR ZKLFK ZH FRQWULEXWH EDVHG RQ WKH UDWLR RI RXU
FRQWULEXWLRQV WR WKH WRWDO RI DOO FRQWULEXWLRQV WR WKHVH SODQV LQ D \HDU 2XU HVWLPDWH RI WKH &RPSDQ\ V DOORFDEOH VKDUH RI WKH XQGHUIXQGLQJ RI
PXOWLHPSOR\HUSODQVWRZKLFKZHFRQWULEXWHZDVELOOLRQ2XUHVWLPDWHLVEDVHGRQWKHPRVWFXUUHQWLQIRUPDWLRQDYDLODEOHWRXVLQFOXGLQJ
DFWXDULDOHYDOXDWLRQVDQGRWKHUGDWD WKDWLQFOXGHVWKHHVWLPDWHVRIRWKHUV DQGVXFKLQIRUPDWLRQPD\EHRXWGDWHGRURWKHUZLVHXQUHOLDEOH2XU
HVWLPDWHFRXOGDOVRFKDQJHEDVHGRQWKHDPRXQWFRQWULEXWHGWRWKHSODQVLQYHVWPHQWUHWXUQVRQWKHDVVHWVKHOGLQWKHSODQVDFWLRQVWDNHQE\
WUXVWHHVZKRPDQDJHWKHSODQV EHQHILWSD\PHQWVLQWHUHVWUDWHVWKHDPRXQWRIZLWKGUDZDOOLDELOLW\SD\PHQWVPDGHWRWKHSODQVLIWKHHPSOR\HUV
FXUUHQWO\FRQWULEXWLQJWRWKHVHSODQVFHDVHSDUWLFLSDWLRQDQGUHTXLUHPHQWVXQGHUWKH3HQVLRQ3URWHFWLRQ$FWRIWKH0XOWLHPSOR\HU3HQVLRQ
5HIRUP$FWRIDQGDSSOLFDEOHSURYLVLRQVRIWKH&RGH

7KH$PHULFDQ5HVFXH3ODQ$FW $53$FW HVWDEOLVKHVDVSHFLDOILQDQFLDODVVLVWDQFHSURJUDPIRUILQDQFLDOO\WURXEOHGPXOWLHPSOR\HUSHQVLRQ
SODQV 8QGHU WKH$53$FW HOLJLEOH PXOWLHPSOR\HU SODQV FDQ DSSO\ WR UHFHLYH D RQHWLPH FDVK SD\PHQW LQ WKH DPRXQW QHHGHG WR SD\ SHQVLRQ
EHQHILWVWKURXJKWKHSODQ\HDUHQGLQJ:HSDUWLFLSDWHLQPXOWLHPSOR\HUSODQVWKDWPD\EHHOLJLEOHIRUWKHVSHFLDOILQDQFLDODVVLVWDQFH

,QWKHHYHQWZHZHUHWRH[LWFHUWDLQPDUNHWVRURWKHUZLVHFHDVHFRQWULEXWLQJWRPXOWLHPSOR\HUSODQVZHFRXOGWULJJHUDVXEVWDQWLDOZLWKGUDZDO
OLDELOLW\6XFKZLWKGUDZDOOLDELOLW\PD\KDYHDPDWHULDODGYHUVHLPSDFWRQRXUILQDQFLDOUHVXOWV

:H DUH DOVR WKH VSRQVRUV RI GHILQHG EHQHILW UHWLUHPHQW SODQV IRU FHUWDLQ HPSOR\HHV7KH IXQGHG VWDWXV RI WKHVH SODQV LV D VLJQLILFDQW IDFWRU LQ
GHWHUPLQLQJDQQXDOSHQVLRQH[SHQVHDQGFDVKFRQWULEXWLRQVWRIXQGWKHSODQV8QIDYRUDEOHLQYHVWPHQWSHUIRUPDQFHLQFUHDVHGSHQVLRQH[SHQVH
DQGFDVKFRQWULEXWLRQVPD\KDYHDQDGYHUVHLPSDFWRQRXUILQDQFLDOUHVXOWV

7KHPLQLPXPZDJHFRQWLQXHVWRLQFUHDVHDQGLVVXEMHFWWRIDFWRUVRXWVLGHRIRXUFRQWURO&KDQJHVWRZDJHUHJXODWLRQVFRXOGKDYHDQLPSDFW
RQRXUIXWXUHUHVXOWVRIRSHUDWLRQV

$FRQVLGHUDEOHQXPEHURIRXUHPSOR\HHVDUHSDLGDWUDWHVUHODWHGWRWKHIHGHUDOPLQLPXPZDJH$GGLWLRQDOO\PDQ\RIRXUVWRUHVDUHORFDWHGLQ
VWDWHVLQFOXGLQJ&DOLIRUQLDZKHUHWKHPLQLPXPZDJHLVJUHDWHUWKDQWKHIHGHUDO


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PLQLPXPZDJHDQGZKHUHDFRQVLGHUDEOHQXPEHURIHPSOR\HHVUHFHLYHFRPSHQVDWLRQHTXDOWRWKHVWDWH VPLQLPXPZDJHZKLFKDUHDOVRVODWHG
WRLQFUHDVHRYHUWKHQH[WIHZ\HDUV$VH[DPSOHVLQ&DOLIRUQLDDQG1HZ-HUVH\ZKHUHZHHPSOR\HGDQGDVVRFLDWHVUHVSHFWLYHO\DV
RI)HEUXDU\WKHFXUUHQWPLQLPXPZDJHZDVLQFUHDVHGWRSHUKRXUDQGSHUKRXUUHVSHFWLYHO\HIIHFWLYH-DQXDU\
0RUHRYHUPXQLFLSDOLWLHVPD\VHWPLQLPXPZDJHVDERYHWKHDSSOLFDEOHVWDWHVWDQGDUGV,QFUHDVHVLQWKHIHGHUDOPLQLPXPZDJHRUWKHHQDFWPHQW
RIDGGLWLRQDOVWDWHRUORFDOPLQLPXPZDJHLQFUHDVHVFRXOGLQFUHDVHRXUODERUFRVWVZKLFKPD\DGYHUVHO\DIIHFWRXUUHVXOWVRIRSHUDWLRQVDQG
ILQDQFLDOFRQGLWLRQ

7KH IRRG UHWDLO LQGXVWU\ LV ODERU LQWHQVLYH 2XU DELOLW\ WR PHHW RXU ODERU QHHGV ZKLOH FRQWUROOLQJ ZDJH DQG ODERUUHODWHG FRVWV LV VXEMHFW WR
QXPHURXV H[WHUQDO IDFWRUV LQFOXGLQJ WKH DYDLODELOLW\ RI TXDOLILHG SHUVRQV LQ WKH ZRUNIRUFH LQ WKH ORFDO PDUNHWV LQ ZKLFK ZH DUH ORFDWHG
XQHPSOR\PHQWOHYHOVZLWKLQWKRVHPDUNHWVSUHYDLOLQJZDJHUDWHVFKDQJLQJGHPRJUDSKLFVDWWLWXGHVWRZDUGHPSOR\PHQWLQWKHIRRGDQGGUXJ
UHWDLO LQGXVWU\ WKH SHUFHSWLRQ RI RXU FRUSRUDWH YDOXHV DQG EXVLQHVV VWUDWHJ\ KHDOWK DQG RWKHU LQVXUDQFH FRVWV WKH LPSDFW RI WKH 0HUJHU DQG
FKDQJHVLQHPSOR\PHQWDQGODERUODZV6XFKODZVUHODWHGWRHPSOR\HHKRXUVZDJHVMREFODVVLILFDWLRQDQGEHQHILWVFRXOGVLJQLILFDQWO\LQFUHDVH
RXU RSHUDWLQJ FRVWV ,Q WKH HYHQW RI LQFUHDVLQJ ZDJH UDWHV LI ZH IDLO WR LQFUHDVH RXU ZDJHV FRPSHWLWLYHO\ WKH TXDOLW\ RI RXU ZRUNIRUFH FRXOG
GHFOLQHFDXVLQJRXUFXVWRPHUVHUYLFHWRVXIIHUZKLOHLQFUHDVLQJZDJHVIRURXUHPSOR\HHVFRXOGFDXVHRXUJURVVPDUJLQVWRGHFUHDVH,IZHDUH
XQDEOHWRKLUHDQGUHWDLQHPSOR\HHVFDSDEOHRIPHHWLQJRXUEXVLQHVVQHHGVDQGH[SHFWDWLRQVRXUEXVLQHVVDQGEUDQGLPDJHPD\EHLPSDLUHG
$Q\IDLOXUHWRPHHWRXUVWDIILQJQHHGVRUDQ\PDWHULDOLQFUHDVHLQWXUQRYHUUDWHVRIRXUHPSOR\HHVPD\DGYHUVHO\DIIHFWRXUEXVLQHVVUHVXOWVRI
RSHUDWLRQVDQGILQDQFLDOFRQGLWLRQ

)DLOXUHWRDWWUDFWDQGUHWDLQTXDOLILHGDVVRFLDWHVFRXOGPDWHULDOO\DGYHUVHO\DIIHFWRXUILQDQFLDOSHUIRUPDQFHDQGRXUDELOLW\WRVXFFHVVIXOO\
H[HFXWHRXUEXVLQHVVVWUDWHJ\

2XUDELOLW\WRFRQWLQXHWRFRQGXFWDQGH[SDQGRXURSHUDWLRQVGHSHQGVRQRXUDELOLW\WRDWWUDFWDQGUHWDLQDODUJHDQGJURZLQJQXPEHURITXDOLILHG
DVVRFLDWHV 2XU DELOLW\ WR PHHW RXU ODERU QHHGV LQFOXGLQJ RXU DELOLW\ WR ILQG TXDOLILHG SHUVRQQHO WR ILOO SRVLWLRQV WKDW EHFRPH YDFDQW DW RXU
H[LVWLQJVWRUHVDQGGLVWULEXWLRQFHQWHUVZKLOHFRQWUROOLQJRXUDVVRFLDWHZDJHDQGUHODWHGODERUFRVWVLVJHQHUDOO\VXEMHFWWRQXPHURXVH[WHUQDO
IDFWRUV LQFOXGLQJ WKH DYDLODELOLW\ RI D VXIILFLHQW QXPEHU RI TXDOLILHG SHUVRQV LQ WKH ZRUN IRUFH RI WKH PDUNHWV LQ ZKLFK ZH RSHUDWH
XQHPSOR\PHQWOHYHOVZLWKLQWKRVHPDUNHWVSUHYDLOLQJZDJHUDWHVFKDQJLQJGHPRJUDSKLFVDWWLWXGHVWRZDUGHPSOR\PHQWLQWKHIRRGDQGGUXJ
UHWDLO LQGXVWU\ WKH SHUFHSWLRQ RI RXU FRUSRUDWH YDOXHV DQG EXVLQHVV VWUDWHJ\ KHDOWK DQG RWKHU LQVXUDQFH FRVWV WKH LPSDFW RI WKH 0HUJHU DQG
DGRSWLRQRIQHZRUUHYLVHGHPSOR\PHQWDQGODERUODZVDQGUHJXODWLRQV,IZHDUHXQDEOHWRORFDWHWRDWWUDFWRUWRUHWDLQTXDOLILHGSHUVRQQHOWKH
TXDOLW\RIVHUYLFHZHSURYLGHWRRXUFXVWRPHUVPD\GHFUHDVHDQGRXUILQDQFLDOSHUIRUPDQFHPD\EHDGYHUVHO\DIIHFWHG

7KHFRQWLQXHGVXFFHVVIXOLPSOHPHQWDWLRQRIRXUEXVLQHVVVWUDWHJ\GHSHQGVLQODUJHSDUWXSRQWKHDELOLW\DQGH[SHULHQFHRIPHPEHUVRIRXUVHQLRU
PDQDJHPHQW,QDGGLWLRQRXUILQDQFLDOSHUIRUPDQFHLVGHSHQGHQWRQRXUDELOLW\WRLGHQWLI\KLUHWUDLQPRWLYDWHDQGUHWDLQTXDOLILHGPDQDJHPHQW
WHFKQLFDOVDOHVDQGPDUNHWLQJDQGUHWDLOSHUVRQQHO,IZHORVHWKHVHUYLFHVRIPHPEHUVRIRXUVHQLRUPDQDJHPHQWRUDUHXQDEOHWRFRQWLQXHWR
DWWUDFWDQGUHWDLQWKHQHFHVVDU\SHUVRQQHOZHPD\QRWEHDEOHWRVXFFHVVIXOO\H[HFXWHRXUEXVLQHVVVWUDWHJ\ZKLFKFRXOGKDYHDQDGYHUVHHIIHFW
RQRXUEXVLQHVV

                                                                 /HJDODQG5HJXODWRU\5LVNV

8QIDYRUDEOHFKDQJHVLQJRYHUQPHQWUHJXODWLRQPD\KDYHDPDWHULDODGYHUVHHIIHFWRQRXUEXVLQHVV

:HRSHUDWHRXUEXVLQHVVZLWKLQVWULFWDQGFRPSOH[UHJXODWRU\HQYLURQPHQWVDQGFRXOGEHPDWHULDOO\DGYHUVHO\DIIHFWHGE\FKDQJHVWRDQGRUDQ\
IDLOXUHWRFRPSO\ZLWKH[LVWLQJDQGQHZOHJDOUHTXLUHPHQWV,QDGGLWLRQRXULQGXVWU\IDFHVVLJQLILFDQWSROLWLFDOVRFLHWDODQGPHGLDVFUXWLQ\DQG
ZH PD\ EH VXEMHFW WR IUHTXHQW RU LQFUHDVLQJ FKDOOHQJHV ZKLFK PD\ LPSDFW RXU UHSXWDWLRQ DQG EXVLQHVV $GGLWLRQDOO\ VKLIWV LQ HQIRUFHPHQW
SUDFWLFHVRUUHJXODWRU\VFUXWLQ\JHQHUDOO\FDQQRWEHDQWLFLSDWHGRUSUHGLFWHGRURXUSUHGLFWLRQVPD\QRWEHDFFXUDWH,IZHIDLOWR


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SUHGLFWRUUHVSRQGDGHTXDWHO\WRUHJXODWRU\FKDQJHVRUH[SDQGLQJGLVFORVXUHUHTXLUHPHQWVRUGRQRWUHVSRQGDVHIIHFWLYHO\DVRXUFRPSHWLWRUV
RXUUHSXWDWLRQEXVLQHVVRSHUDWLRQVDQGILQDQFLDOSHUIRUPDQFHPD\EHDGYHUVHO\DIIHFWHG3ROLWLFDOJRYHUQPHQWDODQGUHJXODWRU\UHJLPHVDQG
SUDFWLFHVFDQTXLFNO\FKDQJHDVDUHVXOWRIHOHFWLRQVRURWKHUHYHQWVRYHUZKLFKZHKDYHOLWWOHWRQRFRQWURO6XFKFKDQJHVLQFOXGLQJWKRVHZKLFK
PD\RFFXUGXHWRHOHFWLRQVKHOGLQDUHXQSUHGLFWDEOHDQGPD\KDYHQHJDWLYHLPSDFWVRQRXUEXVLQHVVDQGRSHUDWLRQV&RPSOLDQFHZLWK
ODZV UHJXODWLRQV SROLFLHV DQG HQIRUFHPHQW SUDFWLFHV PD\ EHFRPH FKDOOHQJLQJ UHTXLULQJ RSHUDWLRQDO FKDQJHV ZKLFK PD\ EH GLIILFXOW WR
LPSOHPHQWLQFUHDVHRXURSHUDWLQJFRVWVUHTXLUHVLJQLILFDQWFDSLWDOH[SHQGLWXUHVRUUHVXOWLQDGYHUVHSXEOLFLW\DQGKDUPRXUUHSXWDWLRQ

7D[PDWWHUVFRXOGDGYHUVHO\DIIHFWRXUUHVXOWVRIRSHUDWLRQVDQGILQDQFLDOFRQGLWLRQV

:HPD\EHDIIHFWHGE\KLJKHUUDWHVRIIHGHUDOVWDWHRUORFDOWD[LPSRVHGDVDUHVXOWRISROLWLFDOGHYHORSPHQWVRUHFRQRPLFFRQGLWLRQVZKLFK
FRXOGDIIHFWRXUHIIHFWLYHWD[UDWH2XUHIIHFWLYHWD[UDWHDQGIXWXUHWD[OLDELOLW\FRXOGEHDGYHUVHO\DIIHFWHGE\UHJXODWRU\DQGOHJDOFKDQJHVWKH
UHVXOWV RI WD[ DXGLWV DQG H[DPLQDWLRQV DQG FKDQJHV LQ DFFRXQWLQJ SULQFLSOHV DQG LQWHUSUHWDWLRQV UHODWLQJ WR WD[ PDWWHUV DOO RI ZKLFK FRXOG
QHJDWLYHO\LPSDFWRXUEXVLQHVV,QDGGLWLRQFKDQJHVLQWD[UDWHVWD[ODZVDQGUHJXODWLRQVWKDWLPSDFWRXUFXVWRPHUVRUWKHHFRQRP\JHQHUDOO\
PD\DOVRLPSDFWRXUILQDQFLDOFRQGLWLRQDQGUHVXOWVRIRSHUDWLRQV

8QIDYRUDEOHFKDQJHVLQIDLOXUHWRFRPSO\ZLWKRULQFUHDVHGFRVWVWRFRPSO\ZLWKHQYLURQPHQWDOODZVDQGUHJXODWLRQVFRXOGDGYHUVHO\DIIHFW
XV7KHVWRUDJHDQGVDOHRISHWUROHXPSURGXFWVFRXOGH[SRVHXVWRSRWHQWLDOO\VLJQLILFDQWOLDELOLWLHV

2XU RSHUDWLRQV LQFOXGLQJ RXU  IXHO FHQWHUV DUH VXEMHFW WR YDULRXV ODZV DQG UHJXODWLRQV UHODWLQJ WR WKH SURWHFWLRQ RI WKH HQYLURQPHQW
LQFOXGLQJ WKRVH JRYHUQLQJ WKH VWRUDJH PDQDJHPHQW GLVSRVDO DQG FOHDQXS RI KD]DUGRXV PDWHULDOV 6RPH HQYLURQPHQWDO ODZV VXFK DV WKH
&RPSUHKHQVLYH (QYLURQPHQWDO 5HVSRQVH &RPSHQVDWLRQ DQG /LDELOLW\ $FW DQG VLPLODU VWDWH VWDWXWHV LPSRVH VWULFW DQG XQGHU FHUWDLQ
FLUFXPVWDQFHVMRLQWDQGVHYHUDOOLDELOLW\IRUFRVWVWRUHPHGLDWHDFRQWDPLQDWHGVLWHDQGDOVRLPSRVHOLDELOLW\IRUGDPDJHVWRQDWXUDOUHVRXUFHV

7KLUGSDUW\FODLPVLQFRQQHFWLRQZLWKUHOHDVHVRIRUH[SRVXUHWRKD]DUGRXVPDWHULDOVUHODWLQJWRRXUFXUUHQWRUIRUPHUSURSHUWLHVRUWKLUGSDUW\
ZDVWHGLVSRVDOVLWHVFDQDOVRDULVH,QDGGLWLRQWKHSUHVHQFHRIFRQWDPLQDWLRQDWDQ\RIRXUSURSHUWLHVFRXOGLPSDLURXUDELOLW\WRVHOORUOHDVHWKH
FRQWDPLQDWHG SURSHUWLHV RU WR ERUURZ PRQH\ XVLQJ DQ\ RI WKHVH SURSHUWLHV DV FROODWHUDO 7KH FRVWV DQG OLDELOLWLHV DVVRFLDWHG ZLWK DQ\ VXFK
FRQWDPLQDWLRQFRXOGEHVXEVWDQWLDODQGFRXOGKDYHDPDWHULDODGYHUVHHIIHFWRQRXUEXVLQHVV8QGHUFXUUHQWHQYLURQPHQWDOODZVZHPD\EHKHOG
UHVSRQVLEOHIRUWKHUHPHGLDWLRQRIHQYLURQPHQWDOFRQGLWLRQVUHJDUGOHVVRIZKHWKHUZHOHDVHVXEOHDVHRURZQWKHVWRUHVRURWKHUIDFLOLWLHVDQG
UHJDUGOHVVRIZKHWKHUVXFKHQYLURQPHQWDOFRQGLWLRQVZHUHFUHDWHGE\XVRUDSULRURZQHURUWHQDQW,QDGGLWLRQWKHLQFUHDVHGIRFXVRQFOLPDWH
FKDQJHZDVWHPDQDJHPHQWDQGRWKHUHQYLURQPHQWDOLVVXHVPD\UHVXOWLQQHZHQYLURQPHQWDOODZVRUUHJXODWLRQVWKDWQHJDWLYHO\DIIHFWXVGLUHFWO\
RULQGLUHFWO\WKURXJKLQFUHDVHGFRVWVRQRXUVXSSOLHUV7KHUHFDQEHQRDVVXUDQFHWKDWHQYLURQPHQWDOFRQWDPLQDWLRQUHODWLQJWRSULRUH[LVWLQJRU
IXWXUH VLWHV RU RWKHU HQYLURQPHQWDO FKDQJHV ZLOO QRW DGYHUVHO\ DIIHFW XV WKURXJK IRU H[DPSOH EXVLQHVV LQWHUUXSWLRQ FRVW RI UHPHGLDWLRQ RU
DGYHUVHSXEOLFLW\

:HDUHVXEMHFWWRDQGPD\LQWKHIXWXUHEHVXEMHFWWROHJDORURWKHUSURFHHGLQJVWKDWFRXOGKDYHDPDWHULDODGYHUVHHIIHFWRQXV

,Q WKH FRXUVH RI FRQGXFWLQJ RXU EXVLQHVV DULVLQJ LQ RU RXWVLGH RI WKH RUGLQDU\ FRXUVH ZH DUH DQG PD\ EHFRPH D SDUW\ WR YDULRXV OHJDO
SURFHHGLQJV LQFOXGLQJ FODVV DFWLRQV LQ PDWWHUV LQYROYLQJ SHUVRQQHO DQG HPSOR\PHQW LVVXHV IHGHUDO DQG VWDWH ZDJH DQG KRXU ODZV SHUVRQDO
LQMXU\DQWLWUXVWFODLPVEDVHGRQERWKIHGHUDODQGVWDWHODZSDFNDJLQJRUSURGXFWFODLPVFODLPVUHODWHGWRWKHVDOHRIGUXJRUSKDUPDF\SURGXFWV
VXFK DV RSLRLGV FODLPV LQYRNLQJ FRQVXPHUSURWHFWLRQ VWDWXWHV LQWHOOHFWXDO SURSHUW\ FODLPV DQG ILGXFLDU\ DQG VHFXULWLHV FODLPV :H PD\ DOVR
EHFRPHVXEMHFWWRJRYHUQPHQWDODQGUHJXODWRU\LQTXLULHVUHODWHGWRRXURSHUDWLRQV:HHVWLPDWHRXUH[SRVXUHWROHJDOSURFHHGLQJVDQGHVWDEOLVK
UHVHUYHVIRUWKHHVWLPDWHGOLDELOLWLHV:HDUHXQDEOHWRSUHGLFWWKHRXWFRPHRIDQ\


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7DEOHRI&RQWHQWV




OLWLJDWLRQLQYHVWLJDWLRQRUDQ\DFWLRQE\JRYHUQPHQWDOHQWLWLHVDQGFDQSURYLGHQRDVVXUDQFHDVWRWKHVFRSHDQGRXWFRPHRIWKHVHPDWWHUVDQG
ZKHWKHURXUEXVLQHVVILQDQFLDOSRVLWLRQUHVXOWVRIRSHUDWLRQVRUFDVKIORZVZLOOQRWEHPDWHULDOO\DGYHUVHO\DIIHFWHG

:H XVH D FRPELQDWLRQ RI LQVXUDQFH DQG VHOILQVXUDQFH WR DGGUHVV SRWHQWLDO OLDELOLWLHV IRU ZRUNHUV  FRPSHQVDWLRQ DXWRPRELOH DQG JHQHUDO
OLDELOLW\ SURSHUW\ ULVN LQFOXGLQJ HDUWKTXDNH DQG IORRG FRYHUDJH  GLUHFWRU DQG RIILFHUV  OLDELOLW\ HPSOR\PHQW SUDFWLFHV OLDELOLW\ SKDUPDF\
OLDELOLW\HPSOR\HHKHDOWKFDUHEHQHILWVDQGF\EHUDQGWHUURULVPULVNV

:HHVWLPDWHWKHOLDELOLWLHVDVVRFLDWHGZLWKWKHULVNVUHWDLQHGE\XVLQSDUWE\FRQVLGHULQJKLVWRULFDOFODLPVH[SHULHQFHGHPRJUDSKLFDQGVHYHULW\
IDFWRUVDQGRWKHUDFWXDULDODVVXPSWLRQVZKLFKE\WKHLUQDWXUHDUHVXEMHFWWRDKLJKGHJUHHRIYDULDELOLW\$PRQJWKHFDXVHVRIWKLVYDULDELOLW\DUH
XQSUHGLFWDEOH H[WHUQDO IDFWRUV DIIHFWLQJ IXWXUH LQIODWLRQ UDWHV GLVFRXQW UDWHV OLWLJDWLRQ WUHQGV OHJDO LQWHUSUHWDWLRQV EHQHILW OHYHO FKDQJHV DQG
FODLP VHWWOHPHQW SDWWHUQV 7KH PDMRULW\ RI RXU ZRUNHUV  FRPSHQVDWLRQ OLDELOLW\ LV IURP FODLPV RFFXUULQJ LQ &DOLIRUQLD ZKHUH ZRUNHUV
FRPSHQVDWLRQ KDV UHFHLYHG LQWHQVH VFUXWLQ\ IURP WKH VWDWH V SROLWLFLDQV LQVXUHUV HPSOR\HUV DQG SURYLGHUV DV ZHOO DV WKH SXEOLF LQ JHQHUDO ,I
RWKHUVWDWHVDGRSWZRUNHUV FRPSHQVDWLRQSURJUDPVVLPLODUWR&DOLIRUQLD¶VWKHQRXUZRUNHUV¶FRPSHQVDWLRQOLDELOLW\PD\LQFUHDVHZKLFKFRXOG
KDYHDPDWHULDODGYHUVHLPSDFWRQRXUUHVXOWVRIRSHUDWLRQV

                         5LVNV5HODWHGWR,QIRUPDWLRQ6HFXULW\&\EHUVHFXULW\'DWD3ULYDF\DQG(YROYLQJ7HFKQRORJLHV

:HPD\EHDGYHUVHO\DIIHFWHGE\ULVNVUHODWHGWRRXUGHSHQGHQFHRQ,7V\VWHPV$Q\IXWXUHFKDQJHVWRRULQWUXVLRQLQWRWKHVH,7V\VWHPV
HYHQLIZHDUHFRPSOLDQWZLWKLQGXVWU\VHFXULW\VWDQGDUGVFRXOGPDWHULDOO\DGYHUVHO\DIIHFWRXUILQDQFLDOFRQGLWLRQDQGRSHUDWLQJUHVXOWV

:HKDYHFRPSOH[LQIRUPDWLRQWHFKQRORJ\V\VWHPVWKDWDUHLPSRUWDQWWRWKHVXFFHVVRIRXUEXVLQHVVRSHUDWLRQVILQDQFLDOUHSRUWLQJDQGPDUNHWLQJ
LQLWLDWLYHV2XULQIRUPDWLRQV\VWHPVDUHVXEMHFWWRRXWDJHVXQSODQQHGGRZQWLPHSURJUDPWUDQVLWLRQVEUHDNGRZQVUDQVRPZDUHDWWDFNVYLUXVHV
PDOLFLRXV SURJUDPV DQG RWKHU F\EHU LQFLGHQWV ,I ZH IDLO WR WLPHO\ RU VXFFHVVIXOO\ PLWLJDWH VXFK DGYHUVH HYHQWV DIIHFWLQJ WKHVH V\VWHPV RU
H[SHULHQFH GLIILFXOWLHV DFFHVVLQJ WKH SURSULHWDU\ EXVLQHVV GDWD VWRUHG LQ WKHVH V\VWHPV RU LQ PDLQWDLQLQJ H[SDQGLQJ RU XSJUDGLQJ H[LVWLQJ
V\VWHPVRULPSOHPHQWLQJQHZV\VWHPVZHFRXOGLQFXUVLJQLILFDQWORVVHVWRRXUEXVLQHVVDQGRSHUDWLRQV7KHVHULVNVPD\EHIXUWKHUH[DFHUEDWHG
E\WKHGHSOR\PHQWDQGXVHRIFORXGEDVHGHQWHUSULVHVROXWLRQV,QDFORXGFRPSXWLQJHQYLURQPHQWZHFRXOGEHVXEMHFWWRRXWDJHVE\WKLUGSDUW\
VHUYLFHSURYLGHUVDQGVHFXULW\EUHDFKHVWRWKHLUV\VWHPVZKLFKZHPD\KDYHOLWWOHFRQWURORYHU,QWKHFDVHRIDFORXGFRPSXWLQJRXWDJHWKH
UHFRQVWLWXWLRQ RI RXU EXVLQHVV VHUYLFHV UXQQLQJ RQ WKRVH FRPSXWLQJ UHVRXUFHV ZLOO EH GHSHQGHQW RQ WKH WKLUGSDUW\ KRVWLQJ SURYLGHU UHVWRULQJ
DYDLODELOLW\

,PSURSHU DFWLYLWLHV E\ WKLUG SDUWLHV H[SORLWDWLRQ RI HQFU\SWLRQ WHFKQRORJ\ QHZ GDWDKDFNLQJ WRROV DQG GLVFRYHULHV DQG RWKHU HYHQWV RU
GHYHORSPHQWVPD\UHVXOWLQIXWXUHLQWUXVLRQVLQWRRUFRPSURPLVHRIRXUQHWZRUNVSD\PHQWFDUGWHUPLQDOVRURWKHUSD\PHQWV\VWHPV

:H UHJXODUO\ GHIHQG DJDLQVW DQG UHVSRQG WR GDWD VHFXULW\ LQFLGHQWV :KLOH ZH DUH YLJLODQW LQ PRQLWRULQJ WKH VHFXULW\ RI RXU LQIRUPDWLRQ
WHFKQRORJ\V\VWHPVZHPD\QRWEHDEOHWRSUHYHQWDOOXQDXWKRUL]HGDFFHVVRUUHPHGLDWHWKHLPSDFWRIVXFKXQDXWKRUL]HGDFFHVV7KHWHFKQLTXHV
XVHGE\F\EHUFULPLQDOVFKDQJHIUHTXHQWO\DQGRIWHQFDQQRWEHUHFRJQL]HGXQWLOODXQFKHGDJDLQVWDWDUJHWDFFRUGLQJO\ZHPD\QRWEHDEOHWR
DQWLFLSDWHWKHVHIUHTXHQWO\FKDQJLQJWHFKQLTXHVLPSOHPHQWDGHTXDWHSUHYHQWLYHPHDVXUHVIRUDOORIWKHPRUUHPHGLDWHDQ\XQDXWKRUL]HGDFFHVV
RQ D WLPHO\ EDVLV ,Q DGGLWLRQ RQJRLQJ JHRSROLWLFDO FRQIOLFWV PD\ LQFUHDVH WKH ULVN RI F\EHUDWWDFNV ZKLFK FRXOG LPSDFW RXU RSHUDWLRQV$Q\
XQDXWKRUL]HGDFFHVVLQWRRXUFXVWRPHUV VHQVLWLYHLQIRUPDWLRQGDWDEHORQJLQJWRXVRURXUYHQGRUVRUHPSOR\HHGDWDHYHQLIZHDUHFRPSOLDQW
ZLWKLQGXVWU\VHFXULW\VWDQGDUGVFRXOGSXWXVDWDFRPSHWLWLYHGLVDGYDQWDJHUHVXOWLQGHWHULRUDWLRQRIRXUFXVWRPHUV YHQGRUV DQGHPSOR\HHV
FRQILGHQFHLQXVDQGVXEMHFWXVWR


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7DEOHRI&RQWHQWV




LQYHVWLJDWLRQV UHTXLUHG QRWLILFDWLRQV SRWHQWLDO OLWLJDWLRQ OLDELOLW\ ILQHV DQG SHQDOWLHV DQG FRQVHQW GHFUHHV UHVXOWLQJ LQ D SRVVLEOH PDWHULDO
DGYHUVHLPSDFWRQRXUILQDQFLDOFRQGLWLRQDQGUHVXOWVRIRSHUDWLRQV

$V D PHUFKDQW WKDW DFFHSWV GHELW DQG FUHGLW FDUGV IRU SD\PHQW ZH DUH VXEMHFW WR WKH 3D\PHQW &DUG ,QGXVWU\ 3&,  'DWD 6HFXULW\ 6WDQGDUG
 3&,'66 LVVXHGE\WKH3&,&RXQFLO3&,'66FRQWDLQVFRPSOLDQFHJXLGHOLQHVDQGVWDQGDUGVZLWKUHJDUGWRVHFXULW\VXUURXQGLQJWKHSK\VLFDO
DGPLQLVWUDWLYHDQGWHFKQLFDOVWRUDJHSURFHVVLQJDQGWUDQVPLVVLRQRILQGLYLGXDOFDUGKROGHUGDWD%\DFFHSWLQJGHELWFDUGVIRUSD\PHQWZHDUH
DOVR VXEMHFW WR FRPSOLDQFH ZLWK $PHULFDQ 1DWLRQDO 6WDQGDUGV ,QVWLWXWH $16,  GDWD HQFU\SWLRQ VWDQGDUGV DQG SD\PHQW QHWZRUN VHFXULW\
RSHUDWLQJJXLGHOLQHV)DLOXUHWREH3&,FRPSOLDQWRUWRPHHWRWKHUSD\PHQWFDUGVWDQGDUGVPD\UHVXOWLQWKHLPSRVLWLRQRIILQDQFLDOSHQDOWLHVRU
WKH DOORFDWLRQ E\ WKH FDUG EUDQGV RI WKH FRVWV RI IUDXGXOHQW FKDUJHV WR XV$V ZHOO WKH )DLU DQG$FFXUDWH &UHGLW7UDQVDFWLRQV$FW )$&7$
UHTXLUHVV\VWHPVWKDWSULQWSD\PHQWFDUGUHFHLSWVWRHPSOR\SHUVRQDODFFRXQWQXPEHUWUXQFDWLRQVRWKDWWKHFRQVXPHU VIXOODFFRXQWQXPEHULV
QRWYLHZDEOHRQWKHVOLS'HVSLWHRXUHIIRUWVWRFRPSO\ZLWKWKHVHRURWKHUSD\PHQWFDUGVWDQGDUGVDQGRWKHULQIRUPDWLRQVHFXULW\PHDVXUHVZH
FDQQRW EH FHUWDLQ WKDW DOO RI RXU ,7 V\VWHPV ZLOO EH DEOH WR SUHYHQW FRQWDLQ RU GHWHFW DOO F\EHUDWWDFNV RU LQWUXVLRQV 7R WKH H[WHQW WKDW DQ\
GLVUXSWLRQ UHVXOWV LQ WKH ORVV GDPDJH RU PLVDSSURSULDWLRQ RI LQIRUPDWLRQ ZH PD\ EH DGYHUVHO\ DIIHFWHG E\ FODLPV IURP FXVWRPHUV ILQDQFLDO
LQVWLWXWLRQV UHJXODWRU\ DXWKRULWLHV SD\PHQW FDUG DVVRFLDWLRQV DQG RWKHUV ,Q DGGLWLRQ SULYDF\ DQG LQIRUPDWLRQ VHFXULW\ ODZV DQG VWDQGDUGV
FRQWLQXH WR HYROYH DQG FRXOG H[SRVH XV WR IXUWKHU UHJXODWRU\ EXUGHQV7KH FRVW RI FRPSO\LQJ ZLWK VWULFWHU ODZV DQG VWDQGDUGV LQFOXGLQJ 3&,
'66$16,DQG)$&7$GDWDHQFU\SWLRQVWDQGDUGVDQGWKH&DOLIRUQLD3ULYDF\5LJKWV$FWDQGRWKHUVWDWHODZVFRXOGEHVLJQLILFDQW

7KH ORVV RI FRQILGHQFH IURP D GDWD VHFXULW\ LQFLGHQW LQYROYLQJ RXU FXVWRPHUV HPSOR\HHV RU YHQGRUV FRXOG PDWHULDOO\ DGYHUVHO\ DIIHFW RXU
ILQDQFLDOFRQGLWLRQDQGRSHUDWLQJUHVXOWV

:HUHFHLYHDQGVWRUHSHUVRQDOLQIRUPDWLRQLQFRQQHFWLRQZLWKRXUEXVLQHVVLQFOXGLQJIURPSURFHVVLQJFUHGLWFDUGGDWDGLJLWDOPDUNHWLQJDQG
KXPDQUHVRXUFHVUHFRUGV7KHSURWHFWLRQRIRXUFXVWRPHUHPSOR\HHDQGYHQGRUGDWDLVFULWLFDOO\LPSRUWDQWWRXV'HVSLWHRXUFRQVLGHUDEOHHIIRUWV
WRVHFXUHXSJUDGHDQGPDLQWDLQRXUFRPSXWHUQHWZRUNVRXULQIRUPDWLRQVHFXULW\FRXOGEHFRPSURPLVHGDQGFXVWRPHUHPSOR\HHDQGYHQGRU
FRQILGHQWLDO LQIRUPDWLRQ FRXOG EH PLVDSSURSULDWHG ZKHWKHU DV D UHVXOW RI F\EHUDWWDFNV RQ RXU LQIRUPDWLRQ V\VWHPV WKH LQIRUPDWLRQ V\VWHPV
KRVWHGE\WKLUGSDUW\SURYLGHUVRURWKHUZLVH,IZHH[SHULHQFHDGDWDVHFXULW\LQFLGHQWZHFRXOGEHH[SRVHGWRJRYHUQPHQWHQIRUFHPHQWDFWLRQV
UDQVRPZDUHFODLPVORVVRIEXVLQHVVLQIRUPDWLRQQHJDWLYHSXEOLFLW\DQGSRVVLEOHFODLPVIURPFXVWRPHUVDVVRFLDWHVILQDQFLDOLQVWLWXWLRQVDQG
SD\PHQW FDUG DVVRFLDWLRQV ,Q DGGLWLRQ RXU FXVWRPHUV FRXOG ORVH FRQILGHQFH LQ RXU DELOLW\ WR SURWHFW WKHLU SHUVRQDO LQIRUPDWLRQ ZKLFK FRXOG
FDXVHWKHPWRVWRSVKRSSLQJDWRXUVWRUHVDOWRJHWKHUDQGPDWHULDOO\DGYHUVHO\DIIHFWRXUILQDQFLDOFRQGLWLRQDQGRSHUDWLQJUHVXOWV

:HDQGRXUWKLUGSDUWLHVPD\XVHDUWLILFLDOLQWHOOLJHQFHLQRXUEXVLQHVVZKLFKFRXOGUHVXOWLQFRPSHWLWLYHDQGUHSXWDWLRQDOKDUPDQGOHJDO
OLDELOLW\DQGDGYHUVHO\DIIHFWRXUUHVXOWVRIRSHUDWLRQV

:H DQG RXU WKLUG SDUWLHV DUH LQFUHDVLQJO\ LQFRUSRUDWLQJ DUWLILFLDO LQWHOOLJHQFH $,  VROXWLRQV LQWR RXU RSHUDWLRQV V\VWHPV DQG VHUYLFHV 2XU
FRPSHWLWRUV PD\ LQFRUSRUDWH $, LQWR WKHLU SURGXFWV PRUH TXLFNO\ RU PRUH VXFFHVVIXOO\ WKDQ XV ZKLFK FRXOG LPSDLU RXU DELOLW\ WR FRPSHWH
HIIHFWLYHO\LQWKHPDUNHW$GGLWLRQDOO\LIWKHFRQWHQWDQDO\VHVRUUHFRPPHQGDWLRQVWKDW$,DSSOLFDWLRQVDVVLVWLQSURGXFLQJDUHRUDUHDOOHJHGWR
EHGHILFLHQWLQDFFXUDWHRUELDVHGRXUEXVLQHVVILQDQFLDOFRQGLWLRQDQGUHVXOWVRIRSHUDWLRQVPD\EHDGYHUVHO\DIIHFWHG

$,SUHVHQWVHPHUJLQJHWKLFDOLVVXHVDQGSRWHQWLDOKDUPVWRRXUFXVWRPHUVSDWLHQWVDQGDVVRFLDWHVDQGLIRXUXVHRI$,EHFRPHVFRQWURYHUVLDOZH
PD\ H[SHULHQFH FRPSHWLWLYH KDUP EUDQG RU UHSXWDWLRQDO KDUP RU OHJDO OLDELOLW\ 7KH UDSLG HYROXWLRQ RI$, LQFOXGLQJ H[SHFWHG JRYHUQPHQW
UHJXODWLRQRI$,DQGDXWRPDWHGGHFLVLRQPDNLQJUHTXLUHVUHVRXUFHVIRUPDOL]HG$,JRYHUQDQFHDFRPPLWPHQWWRWKHHWKLFDODQGUHVSRQVLEOHXVH
RI GDWD DQG SURFHVVHV WR EHVW PHHW WKHVH FKDOOHQJHV ,I ZH IDLO WR DGRSW $, LQ D WKRXJKWIXO DQG VWUDWHJLF PDQQHU WKH ULVNV DERYH PD\ EH
H[DFHUEDWHG


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7DEOHRI&RQWHQWV




                                                            5LVNV5HODWHGWR2XU,QGHEWHGQHVV

2XULQGHEWHGQHVVFRXOGDGYHUVHO\DIIHFWRXUILQDQFLDOFRQGLWLRQDQGSUHYHQWXVIURPIXOILOOLQJRXUREOLJDWLRQVXQGHURXULQGHEWHGQHVV

$V RI )HEUXDU\   ZH KDG DSSUR[LPDWHO\  ELOOLRQ RI GHEW RXWVWDQGLQJ RWKHU WKDQ ILQDQFH OHDVH REOLJDWLRQV  DQG VXEMHFW WR RXU
ERUURZLQJEDVHZHZRXOGKDYHEHHQDEOHWRERUURZDQDGGLWLRQDOELOOLRQXQGHURXUDVVHWEDVHGORDQ $%/ IDFLOLW\ WKH$%/)DFLOLW\ 
$VRI)HEUXDU\ZHDQGRXUVXEVLGLDULHVKDGDSSUR[LPDWHO\ELOOLRQRIILQDQFHOHDVHREOLJDWLRQV

2XULQGHEWHGQHVVFRXOGKDYHLPSRUWDQWFRQVHTXHQFHV)RUH[DPSOHLWFRXOG
         LQFUHDVHRXUYXOQHUDELOLW\WRJHQHUDODGYHUVHHFRQRPLFDQGLQGXVWU\FRQGLWLRQV
         UHTXLUH XV WR GHGLFDWH D VXEVWDQWLDO SRUWLRQ RI RXU FDVK IORZ IURP RSHUDWLRQV WR SD\PHQWV RQ RXU LQGHEWHGQHVV WKHUHE\ UHGXFLQJ WKH
          DYDLODELOLW\RIRXUFDVKIORZWRIXQGZRUNLQJFDSLWDOFDSLWDOH[SHQGLWXUHVDQGRWKHUJHQHUDOFRUSRUDWHSXUSRVHVLQFOXGLQJDFTXLVLWLRQV
         OLPLWRXUIOH[LELOLW\LQSODQQLQJIRURUUHDFWLQJWRFKDQJHVLQRXUEXVLQHVVDQGWKHLQGXVWU\LQZKLFKZHRSHUDWH
         SODFHXVDWDFRPSHWLWLYHGLVDGYDQWDJHFRPSDUHGWRRXUFRPSHWLWRUVWKDWKDYHOHVVGHEWDQG
         OLPLWRXUDELOLW\WRERUURZDGGLWLRQDOIXQGV

,QDGGLWLRQWKHUHFDQEHQRDVVXUDQFHWKDWZHZLOOEHDEOHWRUHILQDQFHDQ\RIRXUGHEWRUWKDWZHZLOOEHDEOHWRUHILQDQFHRQFRPPHUFLDOO\
UHDVRQDEOHWHUPV,IZHZHUHXQDEOHWRPDNHSD\PHQWVRUUHILQDQFHRXUGHEWRUREWDLQQHZILQDQFLQJXQGHUWKHVHFLUFXPVWDQFHVZHZRXOGKDYH
WRFRQVLGHURWKHURSWLRQVVXFKDV
         VDOHVRIDVVHWV
         VDOHVRIHTXLW\RU
         UHVWUXFWXUHRIWKHDSSOLFDEOHGHEW

:HPD\LQFXUVXEVWDQWLDOO\PRUHGHEWLQWKHIXWXUH

:H DQG RXU VXEVLGLDULHV PD\ LQFXU VXEVWDQWLDO DGGLWLRQDO LQGHEWHGQHVV LQ WKH IXWXUH7KH WHUPV RI WKH FUHGLW DJUHHPHQW WKDW JRYHUQV WKH$%/
)DFLOLW\DQGWKHLQGHQWXUHVWKDWJRYHUQRXULQGHEWHGQHVVDVGLVFORVHGLQ3DUW,,²,WHP)LQDQFLDO6WDWHPHQWVDQG6XSSOHPHQWDU\'DWD²1RWH
SHUPLWXVWRLQFXUVLJQLILFDQWDGGLWLRQDOGHEWVXEMHFWWRFHUWDLQOLPLWDWLRQV,IQHZLQGHEWHGQHVVLVDGGHGWRRXUDQGRXUVXEVLGLDULHV FXUUHQW
GHEWOHYHOVWKHUHODWHGULVNVWKDWZHDQGWKH\QRZIDFHZRXOGLQFUHDVH

7RVHUYLFHRXULQGHEWHGQHVVZHUHTXLUHDVLJQLILFDQWDPRXQWRIFDVKDQGRXUDELOLW\WRJHQHUDWHFDVKGHSHQGVRQPDQ\IDFWRUVEH\RQGRXU
FRQWURO

2XUDELOLW\WRPDNHFDVKSD\PHQWVRQDQGWRUHILQDQFHWKHLQGHEWHGQHVVDQGWRIXQGSODQQHGFDSLWDOH[SHQGLWXUHVZLOOGHSHQGRQRXUDELOLW\WR
JHQHUDWH VLJQLILFDQW RSHUDWLQJ FDVK IORZ LQ WKH IXWXUH DV GHVFULEHG LQ WKH VHFWLRQ HQWLWOHG 3DUW ,,²,WHP  0DQDJHPHQW V 'LVFXVVLRQ DQG
$QDO\VLVRI)LQDQFLDO&RQGLWLRQDQG5HVXOWVRI2SHUDWLRQVRIWKLV$QQXDO5HSRUWRQ)RUP.7KLVDELOLW\LVWRDVLJQLILFDQWH[WHQWVXEMHFWWR
JHQHUDOHFRQRPLFILQDQFLDOFRPSHWLWLYHOHJLVODWLYHUHJXODWRU\DQGRWKHUIDFWRUVWKDWDUHEH\RQGRXUFRQWURO

2XUEXVLQHVVPD\QRWJHQHUDWHVXIILFLHQWFDVKIORZIURPRSHUDWLRQVWRHQDEOHXVWRSD\RXULQGHEWHGQHVVRUWRIXQGRXURWKHUOLTXLGLW\QHHGV,Q
DQ\VXFKFLUFXPVWDQFHZHPD\QHHGWRUHILQDQFHDOORUDSRUWLRQRIRXULQGHEWHGQHVVRQRUEHIRUHPDWXULW\:HPD\QRWEHDEOHWRUHILQDQFHDQ\
LQGHEWHGQHVVRQFRPPHUFLDOO\UHDVRQDEOHWHUPVRUDWDOO,IZHFDQQRWVHUYLFHRXULQGHEWHGQHVVZHPD\KDYHWRWDNHDFWLRQVVXFKDVVHOOLQJ
DVVHWVVHHNLQJDGGLWLRQDO


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7DEOHRI&RQWHQWV




HTXLW\RUUHGXFLQJRUGHOD\LQJFDSLWDOH[SHQGLWXUHVVWUDWHJLFDFTXLVLWLRQVDQGLQYHVWPHQWV$Q\VXFKDFWLRQLIQHFHVVDU\PD\QRWEHHIIHFWHGRQ
FRPPHUFLDOO\UHDVRQDEOHWHUPVRUDWDOO7KHLQVWUXPHQWVJRYHUQLQJRXULQGHEWHGQHVVPD\UHVWULFWRXUDELOLW\WRVHOODVVHWVDQGRXUXVHRIWKH
SURFHHGVIURPVXFKVDOHV

,I ZH DUH XQDEOH WR JHQHUDWH VXIILFLHQW FDVK IORZ RU DUH RWKHUZLVH XQDEOH WR REWDLQ IXQGV QHFHVVDU\ WR PHHW UHTXLUHG SD\PHQWV RI SULQFLSDO
SUHPLXPLIDQ\DQGLQWHUHVWRQRXULQGHEWHGQHVVRULIZHRWKHUZLVHIDLOWRFRPSO\ZLWKWKHYDULRXVFRYHQDQWVLQWKHLQVWUXPHQWVJRYHUQLQJRXU
LQGHEWHGQHVVZHFRXOGEHLQGHIDXOWXQGHUWKHWHUPVRIWKHDJUHHPHQWVJRYHUQLQJVXFKLQGHEWHGQHVV,QWKHHYHQWRIVXFKGHIDXOWWKHKROGHUVRI
VXFKLQGHEWHGQHVVFRXOGHOHFWWRGHFODUHDOOWKHIXQGVERUURZHGWKHUHXQGHUWREHGXHDQGSD\DEOHWRJHWKHUZLWKDFFUXHGDQGXQSDLGLQWHUHVWWKH
OHQGHUV XQGHU RXU FUHGLW DJUHHPHQW RU DQ\ UHSODFHPHQW UHYROYLQJ FUHGLW IDFLOLW\ LQ UHVSHFW WKHUHRI FRXOG HOHFW WR WHUPLQDWH WKHLU UHYROYLQJ
FRPPLWPHQWV WKHUHXQGHU FHDVH PDNLQJ IXUWKHU ORDQV DQG LQVWLWXWH IRUHFORVXUH SURFHHGLQJV DJDLQVW RXU DVVHWV DQG ZH FRXOG EH IRUFHG LQWR
EDQNUXSWF\RUOLTXLGDWLRQ

2Q)HEUXDU\ZHHQWHUHGLQWRD/,%257UDQVLWLRQ$PHQGPHQWZLWKWKHOHQGHUVXQGHUWKH$%/)DFLOLW\ZKLFKDPRQJRWKHUWKLQJV
UHSODFHG/,%25ZLWKDWHUP62)5 RIWHUPVRIRQHWKUHHRUVL[PRQWKVRULIDYDLODEOHRWKHUSHULRGVRIWZHOYHPRQWKVRUOHVV 6LQFHWKHLQLWLDO
SXEOLFDWLRQRI62)5GDLO\FKDQJHVLQWKHUDWHKDYHRQRFFDVLRQEHHQPRUHYRODWLOHWKDQGDLO\FKDQJHVLQFRPSDUDEOHEHQFKPDUNRUPDUNHW
UDWHVDQG62)5RYHUWLPHPD\EHDUOLWWOHRUQRUHODWLRQWRWKHKLVWRULFDODFWXDORUKLVWRULFDOLQGLFDWLYHGDWD,WLVSRVVLEOHWKDWWKHYRODWLOLW\RIDQG
XQFHUWDLQW\DURXQG62)5DVD/,%25UHSODFHPHQWUDWHFRXOGLQFUHDVHORDQUDWHVDQGERUURZLQJFRVWVXQGHUWKH$%/)DFLOLW\

2XUGHEWLQVWUXPHQWVOLPLWRXUIOH[LELOLW\LQRSHUDWLQJRXUEXVLQHVV

2XUGHEWLQVWUXPHQWVFRQWDLQYDULRXVFRYHQDQWVWKDWOLPLWRXUDQGRXUUHVWULFWHGVXEVLGLDULHV DELOLW\WRHQJDJHLQVSHFLILHGW\SHVRIWUDQVDFWLRQV
$EUHDFKRIDQ\RIWKHVHFRYHQDQWVFRXOGUHVXOWLQDGHIDXOWXQGHURXUGHEWLQVWUXPHQWV$Q\GHEWDJUHHPHQWVZHHQWHULQWRLQWKHIXWXUHPD\
IXUWKHU OLPLW RXU DELOLW\ WR HQWHU LQWR FHUWDLQ W\SHV RI WUDQVDFWLRQV ,Q DGGLWLRQ FHUWDLQ RI WKH FRYHQDQWV JRYHUQLQJ WKH$%/ )DFLOLW\ DQG RXU
H[LVWLQJQRWHVUHVWULFWDPRQJRWKHUWKLQJVRXUDQGRXUUHVWULFWHGVXEVLGLDULHV DELOLW\WR
         LQFXUDGGLWLRQDOLQGHEWHGQHVVRUSURYLGHJXDUDQWHHVLQUHVSHFWRIREOLJDWLRQVRIRWKHUSHUVRQV
         SD\GLYLGHQGVRQUHSXUFKDVHVWRFNIURPRUPDNHGLVWULEXWLRQVWRRXUVWRFNKROGHUVRUPDNHRWKHUUHVWULFWHGSD\PHQWVRUPDNHFHUWDLQ
          LQYHVWPHQWV
         SUHSD\UHGHHPRUUHSXUFKDVHGHEW
         PDNHORDQVLQYHVWPHQWVDQGFDSLWDOH[SHQGLWXUHV
         VHOORURWKHUZLVHGLVSRVHRIFHUWDLQDVVHWV
         LQFXUOLHQV
         HQJDJHLQVDOHOHDVHEDFNWUDQVDFWLRQV
         UHVWULFWGLYLGHQGVORDQVRUDVVHWWUDQVIHUVIURPRXUVXEVLGLDULHV
         FRQVROLGDWHPHUJHVHOORURWKHUZLVHGLVSRVHRIDOORUVXEVWDQWLDOO\DOORIRXUDVVHWV
         HQWHULQWRDQHZRUGLIIHUHQWOLQHRIEXVLQHVVDQG
         HQWHULQWRFHUWDLQWUDQVDFWLRQVZLWKRXUDIILOLDWHV

,QDGGLWLRQWKHUHVWULFWLYHFRYHQDQWVLQRXU$%/)DFLOLW\UHTXLUHXVLQFHUWDLQFLUFXPVWDQFHVWRPDLQWDLQDVSHFLILFIL[HGFKDUJHFRYHUDJHUDWLR
2XUDELOLW\WRPHHWWKDWILQDQFLDOUDWLRFDQEHDIIHFWHGE\HYHQWVEH\RQGRXUFRQWURODQGWKHUHFDQEHQRDVVXUDQFHWKDWZHZLOOPHHWLW$EUHDFK
RIWKLVFRYHQDQWFRXOGUHVXOWLQDGHIDXOWXQGHUVXFKIDFLOLWLHV0RUHRYHUWKHRFFXUUHQFHRIDGHIDXOWXQGHURXU$%/)DFLOLW\FRXOGUHVXOWLQDQ
HYHQW RI GHIDXOW XQGHU RXU RWKHU LQGHEWHGQHVV 8SRQ WKH RFFXUUHQFH RI DQ HYHQW RI GHIDXOW XQGHU RXU$%/ )DFLOLW\ WKH OHQGHUV FRXOG HOHFW WR
GHFODUHDOODPRXQWVRXWVWDQGLQJXQGHUWKH$%/)DFLOLW\WREHLPPHGLDWHO\GXHDQGSD\DEOHDQGWHUPLQDWHDOO


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7DEOHRI&RQWHQWV




FRPPLWPHQWVWRH[WHQGIXUWKHUFUHGLW(YHQLIZHFDQREWDLQQHZILQDQFLQJLWPD\QRWEHRQFRPPHUFLDOO\UHDVRQDEOHWHUPVRUWHUPVWKDWDUH
DFFHSWDEOHWRXV

,QFUHDVHV LQ LQWHUHVW UDWHV D GRZQJUDGH RI RXU FUHGLW UDWLQJV DQGRU LQVWDELOLW\ LQ WKH FUHGLW PDUNHW FRXOG QHJDWLYHO\ DIIHFW RXU ILQDQFLQJ
FRVWVDQGRXUDELOLW\WRDFFHVVFDSLWDO

:HKDYHH[SRVXUHWRIXWXUHLQWHUHVWUDWHVEDVHGRQWKHYDULDEOHUDWHGHEWXQGHURXU$%/)DFLOLW\DQGWRWKHH[WHQWZHUDLVHDGGLWLRQDOGHEWLQWKH
FDSLWDO PDUNHWV WR PHHW PDWXULQJ GHEW REOLJDWLRQV WR IXQG RXU FDSLWDO H[SHQGLWXUHV ZRUNLQJ FDSLWDO QHHGV DQG WR ILQDQFH IXWXUH DFTXLVLWLRQV
'DLO\ ZRUNLQJ FDSLWDO UHTXLUHPHQWV DUH W\SLFDOO\ ILQDQFHG ZLWK RSHUDWLRQDO FDVK IORZ DQG XVH RI RXU$%/ )DFLOLW\7KH LQWHUHVW UDWH RQ WKHVH
ERUURZLQJDUUDQJHPHQWVLVJHQHUDOO\GHWHUPLQHGIURPWKHLQWHUEDQNRIIHULQJUDWHDWWKHERUURZLQJGDWHSOXVDSUHVHWPDUJLQ6LJQLILFDQWDQG
VXVWDLQHGLQFUHDVHVLQPDUNHWLQWHUHVWUDWHVFRXOGPDWHULDOO\LQFUHDVHRXUILQDQFLQJFRVWVDQGQHJDWLYHO\LPSDFWRXUUHSRUWHGUHVXOWV

:H UHO\ RQ DFFHVV WR EDQN DQG FDSLWDO PDUNHWV DV VRXUFHV RI OLTXLGLW\ IRU FDVK UHTXLUHPHQWV QRW VDWLVILHG E\ FDVK IORZV IURP RSHUDWLRQV$
GRZQJUDGHLQRXUFUHGLWUDWLQJVIURPWKHLQWHUQDWLRQDOO\UHFRJQL]HGFUHGLWUDWLQJDJHQFLHVFRXOGQHJDWLYHO\DIIHFWRXUDELOLW\WRDFFHVVWKHEDQN
DQGFDSLWDOPDUNHWVHVSHFLDOO\LQDWLPHRIXQFHUWDLQW\LQHLWKHURIWKRVHPDUNHWV$UDWLQJGRZQJUDGHFRXOGDOVRLPSDFWRXUDELOLW\WRJURZRXU
EXVLQHVVE\VXEVWDQWLDOO\LQFUHDVLQJWKHFRVWRIRUOLPLWLQJDFFHVVWRFDSLWDO

                                                     5LVNV5HODWHGWR2ZQLQJ2XU&RPPRQ6WRFN

7KHSULFHRIRXUFRPPRQVWRFNPD\EHYRODWLOHRUPD\GHFOLQHUHJDUGOHVVRIRXURSHUDWLQJSHUIRUPDQFHDQG\RXPD\VXIIHUDGHFOLQHLQ
YDOXH

7KHPDUNHWSULFHRIRXUFRPPRQVWRFNLVYRODWLOHDQGPD\EHLQIOXHQFHGE\PDQ\IDFWRUVVRPHRIZKLFKDUHEH\RQGRXUFRQWUROLQFOXGLQJ
         XQFHUWDLQWLHVUHODWHGWRWKHSHQGHQF\RIWKH0HUJHU
         LIDVXEVWDQWLDOQXPEHURIVKDUHVRIRXUFRPPRQVWRFNEHFRPHVDYDLODEOHIRUVDOHDQGDUHVROGLQDVKRUWSHULRGRIWLPHWKHPDUNHWSULFH
          RIRXUFRPPRQVWRFNFRXOGGHFOLQH
         WKHIDLOXUHRIVHFXULWLHVDQDO\VWVWRFRYHURXUFRPPRQVWRFNRUFKDQJHVLQILQDQFLDOHVWLPDWHVE\DQDO\VWV
         LI RQH RU PRUH VHFXULWLHV DQDO\VWV GRZQJUDGH RXU VKDUHV RU LI WKRVH DQDO\VWV LVVXH D VHOO UHFRPPHQGDWLRQ RU RWKHU XQIDYRUDEOH
          FRPPHQWDU\RUFHDVHSXEOLVKLQJUHSRUWVDERXWXVRURXUEXVLQHVV
         FKDQJHVLQRULQYHVWRUV SHUFHSWLRQRIWKHIRRGDQGGUXJUHWDLOLQGXVWU\
         WKHDFWLYLWLHVRIFRPSHWLWRUV
         IXWXUHLVVXDQFHVDQGVDOHVRIRXUFRPPRQVWRFNLQFOXGLQJLQFRQQHFWLRQZLWKDFTXLVLWLRQV
         IXWXUHVDOHVRIRXUFRPPRQVWRFNE\RXUODUJHVWVWRFNKROGHU
         RXUTXDUWHUO\RUDQQXDOHDUQLQJVRUWKRVHRIRWKHUFRPSDQLHVLQRXULQGXVWU\
         WKHSXEOLF VUHDFWLRQWRRXUSUHVVUHOHDVHVRXURWKHUSXEOLFDQQRXQFHPHQWVDQGRXUILOLQJVZLWKWKH6(&DQG
         OLWLJDWLRQLQYROYLQJXVRXULQGXVWU\RUERWK

2XUODUJHVWVWRFNKROGHULV&HUEHUXVZKLFKPD\KDYHFRQIOLFWVRILQWHUHVWZLWKRWKHUVWRFNKROGHUVLQWKHIXWXUH

&HUEHUXV FRQWUROV LQ WKH DJJUHJDWH DSSUR[LPDWHO\  RI RXU FRPPRQ VWRFN DQG &HUEHUXV KDV FHUWDLQ JRYHUQDQFH ULJKWV SXUVXDQW WR D
6WRFNKROGHUV $JUHHPHQW$V D UHVXOW &HUEHUXV PD\ EH DEOH WR LQIOXHQFH L  WKH HOHFWLRQ RI RXU GLUHFWRUV LL  RXU FRUSRUDWH DQG PDQDJHPHQW
SROLFLHVDQG LLL RWKHUPDWWHUVVXEPLWWHGWRRXUVWRFNKROGHUVIRUDSSURYDO7KHLQWHUHVWVRI&HUEHUXVPD\QRWFRLQFLGHZLWKWKHLQWHUHVWVRIRWKHU
KROGHUVRIRXUFRPPRQVWRFN$GGLWLRQDOO\&HUEHUXVLVLQWKHEXVLQHVVRIPDNLQJLQYHVWPHQWVLQFRPSDQLHVDQGPD\IURPWLPHWRWLPHDFTXLUH


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7DEOHRI&RQWHQWV




DQG KROG LQWHUHVWV LQ EXVLQHVVHV WKDW FRPSHWH GLUHFWO\ RU LQGLUHFWO\ ZLWK XV &HUEHUXV PD\ DOVR SXUVXH IRU LWV RZQ DFFRXQW DFTXLVLWLRQ
RSSRUWXQLWLHVWKDWPD\EHFRPSOHPHQWDU\WRRXUEXVLQHVVDQGDVDUHVXOWWKRVHDFTXLVLWLRQRSSRUWXQLWLHVPD\QRWEHDYDLODEOHWRXV6RORQJDV
&HUEHUXVFRQWLQXHVWRRZQDVLJQLILFDQWDPRXQWRIWKHRXWVWDQGLQJVKDUHVRIRXUFRPPRQVWRFN&HUEHUXVZLOOFRQWLQXHWREHDEOHWRVWURQJO\
LQIOXHQFHRXUGHFLVLRQV

3URYLVLRQV LQ RXU FKDUWHU GRFXPHQWV DQG 'HODZDUH ODZ PD\ SUHYHQW DWWHPSWV E\ RXU VWRFNKROGHUV WR UHSODFH RU UHPRYH RXU FXUUHQW
PDQDJHPHQWHYHQLIEHQHILFLDOWRRXUVWRFNKROGHUV

3URYLVLRQVLQRXUDPHQGHGDQGUHVWDWHGFHUWLILFDWHRILQFRUSRUDWLRQDVDPHQGHG FHUWLILFDWHRILQFRUSRUDWLRQ DQGRXUDPHQGHGDQGUHVWDWHG
E\ODZV E\ODZV PD\UHVWULFWWKHDELOLW\RIVWRFNKROGHUVWRPDNHFKDQJHVLQRXUJRYHUQDQFHWKDWWKH\PD\FRQVLGHUDGYDQWDJHRXVRUGHVLUDEOH
,QDGGLWLRQWKHVHSURYLVLRQVPD\IUXVWUDWHRUSUHYHQWDQ\DWWHPSWVE\RXUVWRFNKROGHUVWRUHSODFHPHPEHUVRIRXUERDUGRIGLUHFWRUV%HFDXVH
RXUERDUGRIGLUHFWRUVLVUHVSRQVLEOHIRUDSSRLQWLQJWKHPHPEHUVRIRXUPDQDJHPHQWWHDPWKHVHSURYLVLRQVFRXOGLQWXUQDIIHFWDQ\DWWHPSWE\
RXUVWRFNKROGHUVWRUHSODFHPHPEHUVRIRXUPDQDJHPHQWWHDP

2XUFHUWLILFDWHRILQFRUSRUDWLRQDXWKRUL]HVRXUERDUGRIGLUHFWRUVWRLVVXHXSWRVKDUHVRISUHIHUUHGVWRFN7KHSUHIHUUHGVWRFNPD\
EHLVVXHGLQRQHRUPRUHVHULHVWKHWHUPVRIZKLFKPD\EHGHWHUPLQHGE\RXUERDUGRIGLUHFWRUVDWWKHWLPHRILVVXDQFHRUIL[HGE\UHVROXWLRQ
ZLWKRXWIXUWKHUDFWLRQE\WKHVWRFNKROGHUV7KHVHWHUPVPD\LQFOXGHYRWLQJULJKWVSUHIHUHQFHVDVWRGLYLGHQGVDQGOLTXLGDWLRQFRQYHUVLRQULJKWV
UHGHPSWLRQULJKWVDQGVLQNLQJIXQGSURYLVLRQV7KHLVVXDQFHRISUHIHUUHGVWRFNFRXOGGLPLQLVKWKHULJKWVRIKROGHUVRIRXUFRPPRQVWRFNDQG
WKHUHIRUHFRXOGUHGXFHWKHYDOXHRIRXUFRPPRQVWRFN,QDGGLWLRQVSHFLILFULJKWVJUDQWHGWRKROGHUVRISUHIHUUHGVWRFNFRXOGEHXVHGWRUHVWULFW
RXUDELOLW\WRPHUJHZLWKRUVHOODVVHWVWRDWKLUGSDUW\7KHDELOLW\RIRXUERDUGRIGLUHFWRUVWRLVVXHSUHIHUUHGVWRFNFRXOGGHOD\GLVFRXUDJH
SUHYHQWRUPDNHLWPRUHGLIILFXOWRUFRVWO\WRDFTXLUHRUHIIHFWDFKDQJHLQFRQWUROWKHUHE\SUHVHUYLQJWKHFXUUHQWVWRFNKROGHUV FRQWURO

2XU DELOLW\ WR SD\ GLYLGHQGV WR RXU VWRFNKROGHUV LV UHVWULFWHG E\ DSSOLFDEOH ODZV DQG UHJXODWLRQV DQG UHTXLUHPHQWV XQGHU FHUWDLQ RI RXU
VHFXULWLHVDQGGHEWDJUHHPHQWVLQFOXGLQJWKH$%/)DFLOLW\DQGRXUH[LVWLQJQRWHV

+ROGHUVRIRXUFRPPRQVWRFNDUHRQO\HQWLWOHGWRUHFHLYHVXFKFDVKGLYLGHQGVDVRXUERDUGRIGLUHFWRUVLQLWVVROHGLVFUHWLRQPD\GHFODUHRXWRI
IXQGVOHJDOO\DYDLODEOHIRUVXFKSD\PHQWVLQFOXGLQJPLQLPXPFDSLWDOUHTXLUHPHQWVDQGOLPLWHGE\FRQWUDFWXDOREOLJDWLRQVRUFRYHQDQWVLQDQ\
ILQDQFLQJDUUDQJHPHQWVWKDWZHDUHFXUUHQWO\DSDUW\WRLQFOXGLQJWKH$%/)DFLOLW\DQGRXUH[LVWLQJQRWHVRUDQ\WKDWZHPD\HQWHULQWRLQWKH
IXWXUH$VDFRQVHTXHQFHRIWKHVHYDULRXVOLPLWDWLRQVDQGUHVWULFWLRQVZHPD\QRWEHDEOHWRPDNHRUPD\KDYHWRUHGXFHRUHOLPLQDWHDWDQ\
WLPHWKHSD\PHQWRIGLYLGHQGVRQRXUFRPPRQVWRFN

,WHP%8QUHVROYHG6WDII&RPPHQWV

1RQH



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7DEOHRI&RQWHQWV




,WHP&&\EHUVHFXULW\

5LVN0DQDJHPHQWDQG6WUDWHJ\

2XUF\EHUVHFXULW\ULVNPDQDJHPHQWSURFHVVHVIRUDVVHVVLQJDQGPDQDJLQJULVNVIURPF\EHUVHFXULW\WKUHDWVLQFOXGHSURDFWLYHO\LGHQWLI\LQJDQG
GHWHFWLQJLQWHUQDODQGH[WHUQDOWKUHDWVDQGYXOQHUDELOLWLHVDQGPLWLJDWLQJFRQWDLQLQJRUHUDGLFDWLQJDWWDFNVDVQHFHVVDU\7RHQVXUHWKHKLJKHVW
OHYHOV RI DYDLODELOLW\ DQG LQWHJULW\ RI FULWLFDO EXVLQHVV V\VWHPV DQG VHUYLFHV ZH KDYH GHVLJQHG D FRPSUHKHQVLYH ULVN UHGXFWLRQ VWUDWHJ\ 2XU
F\EHUVHFXULW\UHODWHGULVNPDQDJHPHQWSURFHVVHVLQFOXGHDVVHVVLQJULVNEDVHGRQEXVLQHVVFULWLFDOLW\GDWDFODVVLILFDWLRQGLVDVWHUUHFRYHU\UDWLQJ
DQGVHFXULW\PRQLWRULQJRXURSHUDWLRQV HJQHWZRUNV\VWHPVUHWDLOVWRUHVPDQXIDFWXULQJSODQWVDQGGLVWULEXWLRQFHQWHUV WRGHWHUPLQHZKHUH
DQG KRZ FULWLFDO EXVLQHVV RSHUDWLRQV FRXOG EH LPSDFWHG E\ D F\EHU LQFLGHQW :H PDLQWDLQ D ULVN UHSRVLWRU\ DQG SDUWQHU ZLWK WHFKQRORJ\ DQG
EXVLQHVV WHDPV WR UHPHGLDWH ULVN 2XU F\EHUVHFXULW\ WHDP FRQGXFWV UHJXODU ULVN DVVHVVPHQWV WR DQDO\]H WKH OLNHOLKRRG RI FRPSURPLVH DQG
PDJQLWXGHRIKDUPFDXVHGE\XQDXWKRUL]HGDFFHVVXVHGLVFORVXUHGLVUXSWLRQPRGLILFDWLRQRUGHVWUXFWLRQRIWKH&RPSDQ\ VV\VWHPVDQGGDWD
:HDOVRSHUIRUPULVNDVVHVVPHQWVRQRXUWKLUGSDUW\VXSSOLHUV:HPDNHUHDVRQDEOHHIIRUWVWRUHTXLUHWKLUGSDUW\VHUYLFHSURYLGHUVWRPDQDJH
YXOQHUDELOLWLHVLQWKHLUHQYLURQPHQWVWRSUHYHQWWKHULVNRILPSDFWWRRXUEXVLQHVVRSHUDWLRQVDQGHQWHUSULVHQHWZRUN:HDOVRXQGHUWDNHDQDQQXDO
1DWLRQDO ,QVWLWXWH RI 6WDQGDUGV DQG 7HFKQRORJ\ 1,67  &\EHUVHFXULW\ )UDPHZRUN DVVHVVPHQW FRQGXFWHG E\ D WKLUG SDUW\ WR HQVXUH RXU
F\EHUVHFXULW\SURJUDPLVPDWXULQJLQOLQHZLWKLQGXVWU\DQGLQFOXGHVWKHNH\IXQFWLRQVDQGFDSDELOLWLHVWRDGGUHVVNH\ULVNDUHDV

&ROOHFWLYHO\ZLWKRXUWHFKQRORJ\SDUWQHUVZHFRQWLQXRXVO\  PRQLWRURXUV\VWHPVDQGDVVHWVWRTXLFNO\UHVSRQGWRF\EHUVHFXULW\WKUHDWV
DJDLQVW RXU EXVLQHVV :H FRQGXFW YXOQHUDELOLW\ VFDQQLQJ RI RXU LQIUDVWUXFWXUH DQG DSSOLFDWLRQV WR LGHQWLI\ ULVN DQG ZRUN ZLWK UHOHYDQW
VWDNHKROGHUVWRSURDFWLYHO\UHPHGLDWHULVNZKHUHQHFHVVDU\$GGLWLRQDOO\ZHSDUWQHUZLWKPXOWLSOHWKLUGSDUW\PDQDJHGVHFXULW\VHUYLFHSURYLGHUV
 0663  IRU HQKDQFHG PRQLWRULQJ RI RXU LQIRUPDWLRQ WHFKQRORJ\ DQG GDWD VHFXULW\ HQYLURQPHQW DQG WR SHUIRUP SURDFWLYH GHWHFWLRQ DQG
LQYHVWLJDWLRQ RI PDOLFLRXV DFWLYLW\ ZLWKLQ RXU QHWZRUN :H KDYH GHILQHG SURFHVVHV ZLWK RXU WKLUGSDUW\ 0663V IRU KDQGOLQJ DQG HVFDODWLQJ
LGHQWLILHG SRWHQWLDO PDOLFLRXV DFWLYLW\ ZLWKLQ WKH &RPSDQ\¶V LQIRUPDWLRQ WHFKQRORJ\ HQYLURQPHQW 0663V DQG LQWHUQDO VWDNHKROGHUV SHUIRUP
UHVSRQVHDFWLRQVZKHQDVHFXULW\HYHQWLVLGHQWLILHG$GGLWLRQDOO\ZHPHHWUHJXODUO\ZLWKRXU0663VWRHQKDQFHSURFHVVHVDQGWRHQVXUHVHUYLFH
OHYHOUHTXLUHPHQWVDUHEHLQJPHW

,QIRUPDWLRQ VHFXULW\ ULVN HYHQWV DUH PDQDJHG E\ IROORZLQJ RXU F\EHU LQFLGHQW UHVSRQVH SODQ DQG H[HFXWHG E\ RXU F\EHUVHFXULW\ WHDP LQ
FRRUGLQDWLRQZLWKVWDNHKROGHUV LQFOXGLQJOHJDOFRXQVHO ZKRUHYLHZDQGDVVHVVPDWHULDOLW\EDVHGRQTXDOLWDWLYHDQGTXDQWLWDWLYHIDFWRUV,QWKH
FDVHRIDULVNHYHQWWKDWKDVDEURDGRUJDQL]DWLRQDOLPSDFWWKHHYHQWZLOOEHHVFDODWHGWRWKH&RPSDQ\¶V&RUSRUDWH&ULVLV0DQDJHPHQW7HDP
FRPSULVHGRIVHQLRUOHDGHUVKLSZKRZLOOH[HFXWHDWDLORUHGUHVSRQVHSODQDFWLYDWHQRWLILFDWLRQSURFHGXUHVZKHUHDSSOLFDEOHDQGJXLGHGE\OHJDO
FRXQVHOFRRUGLQDWHFRPPXQLFDWLRQVZLWKDSSURSULDWHEXVLQHVVSDUWQHUVDQGPDQDJHWKHLQFLGHQWVWKURXJKFORVXUH:HFRQGXFWDQQXDOWDEOHWRS
H[HUFLVHVWRWHVWRXUUHVSRQVHSURFHVVHVDQGLQFLGHQWPDQDJHPHQWSURFHGXUHV7KHRXWFRPHVIURPWKHVHH[HUFLVHVDUHXVHGWRGULYHFRQWLQXRXV
LPSURYHPHQWLQKRZZHKDQGOHF\EHUVHFXULW\LQFLGHQWV

*RYHUQDQFH

2XU%RDUGRI'LUHFWRUV %RDUG LVHQJDJHGLQULVNPDQDJHPHQWDQGWKHRYHUVLJKWRI&RPSDQ\ZLGHULVNV7RVXSSOHPHQWLWVULVNRYHUVLJKW
IXQFWLRQRXU%RDUGKDVGHOHJDWHGFHUWDLQULVNPDQDJHPHQWUHVSRQVLELOLWLHVWRWKH$XGLWDQG5LVN&RPPLWWHH WKH$XGLW&RPPLWWHH DQGWKH
7HFKQRORJ\&RPPLWWHHRIWKH%RDUG

$V SDUW RI LWV UHVSRQVLELOLW\ UHODWHG WR HQWHUSULVHZLGH ULVN PDQDJHPHQW WKH $XGLW &RPPLWWHH UHYLHZV DQG GLVFXVVHV ZLWK PDQDJHPHQW
F\EHUVHFXULW\ ULVNV KRZ WKH\ DUH EHLQJ DGGUHVVHG DQG WKH HIIHFWLYHQHVV RI ULVN PDQDJHPHQW SROLFLHV DQG SUDFWLFHV WR KHOS VDIHJXDUG WKH
&RPSDQ\ VRSHUDWLRQVILQDQFLDOV\VWHPVDQGGDWDLQDQHYHUHYROYLQJWKUHDWODQGVFDSH7KHLQWHUQDODXGLWWHDPLQLWVTXDUWHUO\FRPSOLDQFHDQG
ULVNDVVHVVPHQWXSGDWHWRWKH$XGLW&RPPLWWHHUHSRUWVRQLWVUHYLHZVRIWKH&RPSDQ\ VF\EHUVHFXULW\ULVNH[SRVXUHVFRQWUROVDQGPDQDJHPHQW
DFWLRQV


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7DEOHRI&RQWHQWV




,QDGGLWLRQWRWKLVUHJXODUUHSRUWLQJVLJQLILFDQWF\EHUVHFXULW\LQFLGHQWVULVNVRUWKUHDWVPD\DOVREHHVFDODWHGRQDQDVQHHGHGEDVLVWRWKH$XGLW
&RPPLWWHH

7KH 7HFKQRORJ\ &RPPLWWHH LV UHVSRQVLEOH IRU RYHUVLJKW RI WKH &RPSDQ\ V WHFKQRORJ\ ULVN PDQDJHPHQW LQFOXGLQJ EXW QRW OLPLWHG WR WKH
&RPSDQ\ VWHFKQRORJ\UHODWHGSROLFLHVWHFKQRORJ\DUFKLWHFWXUHVLJQLILFDQWHPHUJLQJWHFKQRORJ\LVVXHVDQGWUHQGVWKDWPD\DIIHFWWKH&RPSDQ\
DQG SUDFWLFHV DQG VDIHJXDUGV IRU LQIRUPDWLRQ WHFKQRORJ\ F\EHUVHFXULW\ DQG GDWD VHFXULW\ 2XU &KLHI ,QIRUPDWLRQ 6HFXULW\ 2IILFHU &,62
SUHVHQWV F\EHUVHFXULW\ UHODWHG WRSLFV TXDUWHUO\ WR WKH 7HFKQRORJ\ &RPPLWWHH LQFOXGLQJ UHYLHZV RI NH\ LQIRUPDWLRQ VHFXULW\ ULVN PHWULFV DQG
SURJUDPPDWXULW\SURJUHVVDQGDQQXDOO\XSGDWHVWKH%RDUGRQH[WHUQDODVVHVVPHQWV

$WWKHPDQDJHPHQWOHYHORXUF\EHUVHFXULW\RUJDQL]DWLRQLVOHGE\WKH&RPSDQ\ V&,62ZKRUHSRUWVWRWKH&RPSDQ\ V&KLHI7HFKQRORJ\DQG
7UDQVIRUPDWLRQ2IILFHU7KH&,62LVUHVSRQVLEOHIRUDOODVSHFWVRIRXUF\EHUVHFXULW\SURJUDPDFURVVWKH&RPSDQ\ZKLFKLQFOXGHVF\EHUVHFXULW\
HQJLQHHULQJDQGDUFKLWHFWXUHF\EHUVHFXULW\RSHUDWLRQVLQFLGHQWUHVSRQVHWKUHDWLQWHOOLJHQFHLGHQWLW\DQGDFFHVVPDQDJHPHQWF\EHUVHFXULW\ULVN
DQG FRPSOLDQFH DQG YXOQHUDELOLW\ PDQDJHPHQW 2XU &,62 KDV VHUYHG LQ OHDGHUVKLS UROHV DFURVV WKH UHWDLO ILQDQFLDO VHUYLFHV DQG QDWLRQDO
VHFXULW\VHFWRUV%HIRUHMRLQLQJWKH&RPSDQ\KHZDV'HSXW\&,62DW&DSLWDO2QH)LQDQFLDO&RUSDQG'HSXW\$VVLVWDQW6HFUHWDU\RI'HIHQVH
IRU&\EHU3ROLF\+HHDUQHGD%6LQ0HFKDQLFDO(QJLQHHULQJIURPWKH8QLYHUVLW\RI9LUJLQLD06LQ7HOHFRPPXQLFDWLRQVDQG&RPSXWHUVIURP
*HRUJH:DVKLQJWRQ 8QLYHUVLW\ DQG 0%$ IURP WKH 6WDQIRUG *UDGXDWH 6FKRRO RI %XVLQHVV +H FRQWLQXHV WR VHUYH DV D &RORQHO LQ WKH 8QLWHG
6WDWHV$LU)RUFH5HVHUYHDVD6HQLRU$GYLVRUWRWKH&RPPDQGHURI86&<%(5&20

5LVNVIURP0DWHULDO&\EHUVHFXULW\7KUHDWV

$VRIWKHGDWHRIWKLVUHSRUWZHKDYHQRWLGHQWLILHGDQ\F\EHUVHFXULW\WKUHDWVWKDWKDYHPDWHULDOO\DIIHFWHGRUDUHUHDVRQDEO\DQWLFLSDWHGWRKDYHD
PDWHULDOHIIHFWRQWKH&RPSDQ\$OWKRXJKZHKDYHQRWH[SHULHQFHGF\EHUVHFXULW\LQFLGHQWVWKDWDUHLQGLYLGXDOO\RULQWKHDJJUHJDWHPDWHULDOZH
KDYH H[SHULHQFHG F\EHUDWWDFNV LQ WKH SDVW ZKLFK KDYH EHHQ PLWLJDWHG E\ SUHYHQWLYH GHWHFWLYH DQG UHVSRQVLYH PHDVXUHV SXW LQ SODFH E\ WKH
&RPSDQ\

)RU D GHWDLOHG GLVFXVVLRQ RI WKH &RPSDQ\¶V F\EHUVHFXULW\ UHODWHG ULVNV VHH ,WHP $ 5LVN )DFWRUV² 5LVNV 5HODWHG WR ,QIRUPDWLRQ 6HFXULW\
&\EHUVHFXULW\'DWD3ULYDF\DQG(YROYLQJ7HFKQRORJLHV


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7DEOHRI&RQWHQWV




,WHP3URSHUWLHV

$VRI)HEUXDU\ZHRSHUDWHGVWRUHVORFDWHGLQVWDWHVDQGWKH'LVWULFWRI&ROXPELDDVVKRZQLQWKHIROORZLQJWDEOH
                                     1XPEHURI                                                1XPEHURI                                               1XPEHURI
/RFDWLRQ                               VWRUHV           /RFDWLRQ                                VWRUHV           /RFDWLRQ                               VWRUHV
$ODVND                                               ,RZD                                                   1RUWK'DNRWD                                     
$UL]RQD                                             /RXLVLDQD                                             2UHJRQ                                         
$UNDQVDV                                              0DLQH                                                 3HQQV\OYDQLD                                    
&DOLIRUQLD                                          0DU\ODQG                                              5KRGH,VODQG                                     
&RORUDGR                                            0DVVDFKXVHWWV                                         6RXWK'DNRWD                                     
&RQQHFWLFXW                                           0RQWDQD                                               7H[DV                                          
'HODZDUH                                             1HEUDVND                                               8WDK                                             
'LVWULFWRI&ROXPELD                                 1HYDGD                                                9HUPRQW                                         
+DZDLL                                               1HZ+DPSVKLUH                                         9LUJLQLD                                        
,GDKR                                                1HZ-HUVH\                                            :DVKLQJWRQ                                     
,OOLQRLV                                            1HZ0H[LFR                                            :\RPLQJ                                         
,QGLDQD                                               1HZ<RUN                                         

7KHIROORZLQJWDEOHVXPPDUL]HVRXUVWRUHVE\VL]HDVRI)HEUXDU\
6TXDUH)RRWDJH                                                                                                             1XPEHURIVWRUHV   3HUFHQWRIWRWDO
/HVVWKDQ                                                                                                                                    
WR                                                                                                                                   
0RUHWKDQ                                                                                                                                 
7RWDOVWRUHV                                                                                                                                   


:HRZQRUJURXQGOHDVHDSSUR[LPDWHO\RIRXURSHUDWLQJVWRUHVDQGRIRXULQGXVWULDOSURSHUWLHV GLVWULEXWLRQFHQWHUVZDUHKRXVHVDQG
PDQXIDFWXULQJSODQWV 

2XUFRUSRUDWHKHDGTXDUWHUVDUHORFDWHGLQ%RLVH,GDKR:HRZQRXUKHDGTXDUWHUV7KHSUHPLVHVLVDSSUR[LPDWHO\VTXDUHIHHWLQVL]H,Q
DGGLWLRQWRRXUFRUSRUDWHKHDGTXDUWHUVZHKDYHFRUSRUDWHRIILFHVLQ3OHDVDQWRQ&DOLIRUQLD3KRHQL[$UL]RQDDQG3ODQR7H[DV:HEHOLHYHRXU
SURSHUWLHVDUHZHOOPDLQWDLQHGLQJRRGRSHUDWLQJFRQGLWLRQDQGVXLWDEOHIRURSHUDWLQJRXUEXVLQHVV

,WHP/HJDO3URFHHGLQJV

7KH&RPSDQ\LVVXEMHFWIURPWLPHWRWLPHWRYDULRXVFODLPVDQGODZVXLWVDULVLQJLQWKHRUGLQDU\FRXUVHRIEXVLQHVVLQFOXGLQJODZVXLWVLQYROYLQJ
WUDGHSUDFWLFHVODZVXLWVDOOHJLQJYLRODWLRQVRIVWDWHDQGRUIHGHUDOZDJHDQGKRXUODZV LQFOXGLQJDOOHJHGYLRODWLRQVRIPHDODQGUHVWSHULRGODZV
DQGDOOHJHGPLVFODVVLILFDWLRQLVVXHV UHDOHVWDWHGLVSXWHVDQGRWKHUPDWWHUV6RPHRIWKHVHFODLPVRUVXLWVSXUSRUWRUPD\EHGHWHUPLQHGWREH
FODVVDFWLRQVDQGRUVHHNVXEVWDQWLDOGDPDJHV,WLVWKHRSLQLRQRIWKH&RPSDQ\ VPDQDJHPHQWWKDWDOWKRXJKWKHDPRXQWRIOLDELOLW\ZLWKUHVSHFW
WR FHUWDLQ RI WKH PDWWHUV GHVFULEHG KHUHLQ FDQQRW EH DVFHUWDLQHG DW WKLV WLPH DQ\ UHVXOWLQJ OLDELOLW\ RI WKHVH DQG RWKHU PDWWHUV LQFOXGLQJ DQ\
SXQLWLYHGDPDJHVZLOOQRWKDYHDPDWHULDODGYHUVHHIIHFWRQWKH&RPSDQ\ VEXVLQHVVRURYHUDOOILQDQFLDOFRQGLWLRQ6HHDOVRWKHPDWWHUVXQGHU
WKHFDSWLRQ/HJDO3URFHHGLQJVLQ3DUW,,²,WHP)LQDQFLDO6WDWHPHQWVDQG6XSSOHPHQWDU\'DWD²1RWH



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7DEOHRI&RQWHQWV




7KH &RPSDQ\ FRQWLQXDOO\ HYDOXDWHV LWV H[SRVXUH WR ORVV FRQWLQJHQFLHV DULVLQJ IURP SHQGLQJ RU WKUHDWHQHG OLWLJDWLRQ DQG EHOLHYHV LW KDV PDGH
SURYLVLRQVZKHUHWKHORVVFRQWLQJHQF\LVSUREDEOHDQGFDQEHUHDVRQDEO\HVWLPDWHG1RQHWKHOHVVDVVHVVLQJDQGSUHGLFWLQJWKHRXWFRPHVRIWKHVH
PDWWHUV LQYROYHV VXEVWDQWLDO XQFHUWDLQWLHV:KLOH PDQDJHPHQW FXUUHQWO\ EHOLHYHV WKDW WKH DJJUHJDWH HVWLPDWHG OLDELOLWLHV FXUUHQWO\ UHFRUGHG DUH
UHDVRQDEOHLWUHPDLQVSRVVLEOHWKDWGLIIHUHQFHVLQDFWXDORXWFRPHVRUFKDQJHVLQPDQDJHPHQW VHYDOXDWLRQRUSUHGLFWLRQVFRXOGDULVHWKDWFRXOGEH
PDWHULDOWRWKH&RPSDQ\ VUHVXOWVRIRSHUDWLRQVRUFDVKIORZV

(QYLURQPHQWDO0DWWHUV

2XURSHUDWLRQVDUHVXEMHFWWRUHJXODWLRQXQGHUHQYLURQPHQWDOODZVLQFOXGLQJWKRVHUHODWLQJWRZDVWHPDQDJHPHQWDLUHPLVVLRQVDQGXQGHUJURXQG
VWRUDJHWDQNV,QDGGLWLRQDVDQRZQHUDQGRSHUDWRURIFRPPHUFLDOUHDOHVWDWHZHPD\EHVXEMHFWWROLDELOLW\XQGHUDSSOLFDEOHHQYLURQPHQWDO
ODZVIRUFOHDQXSRIFRQWDPLQDWLRQDWRXUIDFLOLWLHV6(&UHJXODWLRQVUHTXLUHXVWRGLVFORVHFHUWDLQHQYLURQPHQWDOPDWWHUVDULVLQJXQGHUIHGHUDO
VWDWH RU ORFDO HQYLURQPHQWDO SURYLVLRQV LI ZH UHDVRQDEO\ EHOLHYH WKDW VXFK SURFHHGLQJV PD\ UHVXOW LQ PRQHWDU\ VDQFWLRQV DERYH D VWDWHG
WKUHVKROG3XUVXDQWWR6(&UHJXODWLRQVZHXVHDWKUHVKROGRIPLOOLRQIRUSXUSRVHVRIGHWHUPLQLQJZKHWKHUGLVFORVXUHRIDQ\VXFKSURFHHGLQJV
LVUHTXLUHG

,WHP0LQH6DIHW\'LVFORVXUHV

1RWDSSOLFDEOH



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7DEOHRI&RQWHQWV




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,WHP0DUNHWIRU5HJLVWUDQW V&RPPRQ(TXLW\5HODWHG6WRFNKROGHU0DWWHUVDQG,VVXHU3XUFKDVHVRI(TXLW\6HFXULWLHV

0DUNHW,QIRUPDWLRQIRU&RPPRQ6WRFN

7KH&RPSDQ\ V&ODVV$FRPPRQVWRFNEHJDQWUDGLQJRQWKH1<6(RQ-XQHXQGHUWKHV\PERO$&,3ULRUWRWKDWGDWHWKHUHZDVQR
SXEOLFPDUNHWIRUWKH&RPSDQ\ V&ODVV$FRPPRQVWRFN$VRI$SULOWKHUHZHUHKROGHUVRIUHFRUGRIRXU&ODVV$FRPPRQVWRFN

3HUIRUPDQFH*UDSK

7KHIROORZLQJJUDSKVKRZVDFRPSDULVRQRIWKHWRWDOFXPXODWLYHVWRFNKROGHUUHWXUQRQRXU&ODVV$FRPPRQVWRFNZLWKWKHWRWDOUHWXUQIRU L WKH
6 3,QGH[DQG LL WKH6 35HWDLO&RPSRVLWH,QGH[IRUWKHSHULRGIURP-XQH WKHGDWHRXU&ODVV$FRPPRQVWRFNFRPPHQFHG
WUDGLQJRQWKH1<6( WKURXJK)HEUXDU\7KHJUDSKDVVXPHVDQLQYHVWPHQWRILQRXU&ODVV$FRPPRQVWRFNDWPDUNHWFORVHRQ
-XQHDQGWKHUHLQYHVWPHQWRIGLYLGHQGV7KHFRPSDULVRQVLQWKHWDEOHDUHQRWLQWHQGHGWRIRUHFDVWRUEHLQGLFDWLYHRISRVVLEOHIXWXUH
SHUIRUPDQFHRIRXU&ODVV$FRPPRQVWRFN




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 &RPSRVLWH                                                                     



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,VVXHU3XUFKDVHVRI(TXLW\6HFXULWLHV

2Q 2FWREHU   WKH &RPSDQ\ V ERDUG RI GLUHFWRUV DXWKRUL]HG D VKDUH UHSXUFKDVH SURJUDP WKDW DOORZV WKH &RPSDQ\ WR UHSXUFKDVH XS WR
PLOOLRQRIWKH&RPSDQ\ V&RPPRQ6WRFN$VRI)HEUXDU\DXWKRUL]DWLRQIRUPLOOLRQRIVKDUHUHSXUFKDVHVUHPDLQHGXQGHU
WKHVKDUHUHSXUFKDVHSURJUDP:HGLGQRWUHSXUFKDVHDQ\VKDUHVRIRXU&ODVV$FRPPRQVWRFNGXULQJILVFDODQGILVFDO

8QUHJLVWHUHG6DOHVRI(TXLW\6HFXULWLHV

'XULQJ ILVFDO  D KROGHU RI WKH &RPSDQ\ V &RQYHUWLEOH 3UHIHUUHG 6WRFN FRQYHUWHG WKH UHPDLQLQJ  VKDUHV RI &RQYHUWLEOH 3UHIHUUHG
6WRFN LQWR  VKDUHV RI WKH &RPSDQ\ V &ODVV $ FRPPRQ VWRFN 'XULQJ ILVFDO  DQG ILVFDO  FHUWDLQ KROGHUV RI &RQYHUWLEOH
3UHIHUUHG 6WRFN FRQYHUWHG DSSUR[LPDWHO\  DQG  VKDUHV RI &RQYHUWLEOH 3UHIHUUHG 6WRFN UHVSHFWLYHO\ LQWR DSSUR[LPDWHO\
DQGVKDUHVRI&ODVV$FRPPRQVWRFNUHVSHFWLYHO\(DFKVKDUHRI&RQYHUWLEOH3UHIHUUHG6WRFNZDVFRQYHUWLEOHDWDUDWHRI
VKDUHVRI&ODVV$FRPPRQVWRFN ZLWKFDVKGHOLYHUHGLQOLHXRIDQ\IUDFWLRQDOVKDUHVRI&ODVV$FRPPRQVWRFN DQGZHUHLVVXHGIURPWKH
&RPSDQ\ VWUHDVXU\VWRFNDFFRXQW7KHVKDUHVRI&ODVV$FRPPRQVWRFNZHUHLVVXHGLQH[FKDQJHIRU&RQYHUWLEOH3UHIHUUHG6WRFNLQUHOLDQFHRQ
DQH[HPSWLRQIURPWKHUHJLVWUDWLRQUHTXLUHPHQWVRIWKH6HFXULWLHV$FWRIDVDPHQGHG WKH$FW XQGHU6HFWLRQ D  RIWKH$FW




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7DEOHRI&RQWHQWV




,WHP>5HVHUYHG@



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7DEOHRI&RQWHQWV




,WHP0DQDJHPHQW V'LVFXVVLRQDQG$QDO\VLVRI)LQDQFLDO&RQGLWLRQDQG5HVXOWVRI2SHUDWLRQV

7KHIROORZLQJGLVFXVVLRQDQGDQDO\VLVRIRXUILQDQFLDOFRQGLWLRQDQGUHVXOWVRIRSHUDWLRQVVKRXOGEHUHDGLQFRQMXQFWLRQZLWKRXU&RQVROLGDWHG
)LQDQFLDO6WDWHPHQWVDQGUHODWHGQRWHVIRXQGLQ3DUW,,²,WHP)LQDQFLDO6WDWHPHQWVDQG6XSSOHPHQWDU\'DWDLQWKLV)RUP.DVZHOODV
3DUW,,²,WHP0DQDJHPHQW V'LVFXVVLRQDQG$QDO\VLVRI)LQDQFLDO&RQGLWLRQDQG5HVXOWVRI2SHUDWLRQVLQFOXGHGLQRXU$QQXDO5HSRUWRQ
)RUP.IRUWKHILVFDO\HDUHQGHG)HEUXDU\ILOHGZLWKWKH6(&RQ$SULOZKLFKSURYLGHVFRPSDULVRQVRIILVFDODQG
ILVFDO7KLVGLVFXVVLRQFRQWDLQVIRUZDUGORRNLQJVWDWHPHQWVEDVHGXSRQFXUUHQWH[SHFWDWLRQVWKDWLQYROYHQXPHURXVULVNVDQGXQFHUWDLQWLHV
2XUDFWXDOUHVXOWVPD\GLIIHUPDWHULDOO\IURPWKRVHFRQWDLQHGLQDQ\IRUZDUGORRNLQJVWDWHPHQWVDVDUHVXOWRIYDULRXVIDFWRUVLQFOXGLQJWKRVH
GLVFXVVHG EHORZ DQG HOVHZKHUH LQ WKLV $QQXDO 5HSRUW RQ )RUP . SDUWLFXODUO\ LQ WKH VHFWLRQ HQWLWOHG 6SHFLDO 1RWH 5HJDUGLQJ )RUZDUG
/RRNLQJ6WDWHPHQWVVHWIRUWKLQ3DUW,DQGLQ,WHP$5LVN)DFWRUV

2XUODVWWKUHHILVFDO\HDUVFRQVLVWHGRIWKHZHHNVHQGHG)HEUXDU\ ILVFDO WKHZHHNVHQGHG)HEUXDU\ ILVFDO
 DQGWKHZHHNVHQGHG)HEUXDU\ ILVFDO ,QWKLV0DQDJHPHQW V'LVFXVVLRQDQG$QDO\VLVRI)LQDQFLDO&RQGLWLRQDQG
5HVXOWVRI2SHUDWLRQVRI$OEHUWVRQV&RPSDQLHV,QFWKHZRUGV$OEHUWVRQVWKH&RPSDQ\ZHXVRXUDQGRXUVUHIHUWR$OEHUWVRQV
&RPSDQLHV,QFWRJHWKHUZLWKLWVVXEVLGLDULHV

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:HDUHRQHRIWKHODUJHVWIRRGUHWDLOHUVLQWKH8QLWHG6WDWHVZLWKVWRUHVDFURVVVWDWHVDQGWKH'LVWULFWRI&ROXPELDDVRI)HEUXDU\
:HRSHUDWHPRUHWKDQZHOONQRZQEDQQHUVLQFOXGLQJ$OEHUWVRQV6DIHZD\9RQV3DYLOLRQV5DQGDOOV7RP7KXPE&DUUV-HZHO2VFR
$FPH 6KDZ V 6WDU 0DUNHW 8QLWHG 6XSHUPDUNHWV 0DUNHW 6WUHHW +DJJHQ .LQJV )RRG 0DUNHWV DQG %DOGXFFL V )RRG /RYHUV 0DUNHW ZLWK
DSSUR[LPDWHO\WDOHQWHGDQGGHGLFDWHGHPSOR\HHVDVRI)HEUXDU\ZKRVHUYHRQDYHUDJHPLOOLRQFXVWRPHUVHDFKZHHN
$GGLWLRQDOO\ DV RI )HEUXDU\   ZH RSHUDWHG  SKDUPDFLHV  LQVWRUH EUDQGHG FRIIHH VKRSV  DGMDFHQW IXHO FHQWHUV 
GHGLFDWHGGLVWULEXWLRQFHQWHUVPDQXIDFWXULQJIDFLOLWLHVDQGYDULRXVGLJLWDOSODWIRUPV

0HUJHU$JUHHPHQW

2Q 2FWREHU   WKH &RPSDQ\7KH .URJHU &R 3DUHQW  DQG .HWWOH 0HUJHU 6XE ,QF D ZKROO\ RZQHG VXEVLGLDU\ RI 3DUHQW 0HUJHU
6XE HQWHUHGLQWRDQ$JUHHPHQWDQG3ODQRI0HUJHU WKH0HUJHU$JUHHPHQW SXUVXDQWWRZKLFK0HUJHU6XEZLOOEHPHUJHGZLWKDQGLQWRWKH
&RPSDQ\ WKH0HUJHU ZLWKWKH&RPSDQ\VXUYLYLQJWKH0HUJHUDVWKHVXUYLYLQJFRUSRUDWLRQDQGDGLUHFWZKROO\RZQHGVXEVLGLDU\RI3DUHQW
)RUDGGLWLRQDOLQIRUPDWLRQDERXWWKH0HUJHUVHH3DUW,,²,WHP)LQDQFLDO6WDWHPHQWVDQG6XSSOHPHQWDU\'DWD²1RWH

7KH&RPSDQ\KDVILOHGZLWKWKH6(&DGHILQLWLYHLQIRUPDWLRQVWDWHPHQWRQ6FKHGXOH&ZLWKUHVSHFWWRWKHDSSURYDORIWKH0HUJHUDQGKDV
PDLOHGWKHGHILQLWLYHLQIRUPDWLRQVWDWHPHQWWRWKH&RPSDQ\ VVWRFNKROGHUV<RXPD\REWDLQFRSLHVRIDOOGRFXPHQWVILOHGE\WKH&RPSDQ\ZLWK
WKH 6(& UHJDUGLQJ WKLV WUDQVDFWLRQ IUHH RI FKDUJH DW WKH 6(& V ZHEVLWH ZZZVHFJRY RU IURP WKH &RPSDQ\ V ZHEVLWH DW
KWWSVZZZDOEHUWVRQVFRPSDQLHVFRPLQYHVWRUVRYHUYLHZ

)LVFDOKLJKOLJKWV

,QVXPPDU\RXUILQDQFLDODQGRSHUDWLQJKLJKOLJKWVIRUILVFDOLQFOXGH
         ,GHQWLFDOVDOHVLQFUHDVHG
         'LJLWDOVDOHVLQFUHDVHG
         /R\DOW\PHPEHUVLQFUHDVHGWRPLOOLRQ


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                 PD\EHSURUDWHGIRUWKH,QLWLDO$ZDUG E\WKHFORVLQJSULFHRIWKH&RPSDQ\¶VFRPPRQVWRFNRQWKHJUDQWGDWHURXQGHGGRZQWR
                 WKHQHDUHVWZKROHVKDUH7KHJUDQWGDWHRIWKH$QQXDO$ZDUGVKDOOEHWKHILUVWEXVLQHVVGD\RIWKH&RPSDQ\¶VILVFDO\HDU7KH
                 ,QLWLDO$ZDUGDQGHDFK$QQXDO$ZDUGVKDOOYHVWRQWKHODVWGD\RIWKHILVFDO\HDULQZKLFKWKHJUDQWZDVPDGHVXEMHFWWRWKH
                 1RQ(PSOR\HH 'LUHFWRU¶V FRQWLQXHG VHUYLFH WR WKH &RPSDQ\ WKURXJK WKH YHVWLQJ GDWHV$OO JUDQWV RI7%568V VKDOO EH PDGH
                 SXUVXDQW WR WKH &RPSDQ\¶V FXUUHQW HTXLW\ LQFHQWLYH SODQ 7KH GHVFULSWLRQV RI WKHVH JUDQWV VHW IRUWK DERYH DUH VXEMHFW DQG
                 TXDOLILHGLQWKHLUHQWLUHW\E\UHIHUHQFHWRWKHWHUPVDQGFRQGLWLRQVRIWKHHTXLW\LQFHQWLYHSODQDQGWKHDSSOLFDEOH7LPH%DVHG
                 5HVWULFWHG6KDUH$ZDUG$JUHHPHQWLVVXHGWKHUHXQGHU
$QQXDO5HYLHZ7KLV3ROLF\VKDOOEHUHYLHZHGDQQXDOO\E\WKH&RPSHQVDWLRQ&RPPLWWHHDQGPRGLILHGDVQHFHVVDU\WRHQVXUHLWVWHUPVUHPDLQ
             FRQVLVWHQWZLWKWKHVWDWHGLQWHUHVWVRIWKH&RPSDQ\DQGLWVVWRFNKROGHUV7KH&RPSHQVDWLRQ&RPPLWWHHVKDOOKDYHWKHSRZHUWR
             FRQVWUXH WKLV 3ROLF\ WR GHWHUPLQH DOO TXHVWLRQV DULVLQJ WKHUHXQGHU DQG WR DGRSW DQG DPHQG VXFK UXOHV DQG UHJXODWLRQV IRU WKH
             DGPLQLVWUDWLRQRIWKLV3ROLF\DVLWPD\GHHPGHVLUDEOH7KH&RPSHQVDWLRQ&RPPLWWHHVKDOOGHWHUPLQHWKHPHPEHUVRIWKH%RDUG
             ZKRTXDOLI\DV1RQ(PSOR\HH'LUHFWRUVDQGDUHHOLJLEOHWRUHFHLYHFRPSHQVDWLRQXQGHUWKHWHUPVRIWKLV3ROLF\$Q\GHFLVLRQV
             RIWKH&RPSHQVDWLRQ&RPPLWWHHLQWKHDGPLQLVWUDWLRQRIWKLV3ROLF\VKDOOEHILQDODQGFRQFOXVLYH7KH&RPSHQVDWLRQ&RPPLWWHH
             PD\DXWKRUL]HRQHRUPRUHRILWVPHPEHUVRUDQ\RIILFHURIWKH&RPSDQ\WRH[HFXWHDQGGHOLYHUGRFXPHQWVRQLWVEHKDOI1R
             PHPEHU RI WKH &RPSHQVDWLRQ &RPPLWWHH VKDOO EH OLDEOH IRU DQ\WKLQJ GRQH RU RPLWWHG WR EH GRQH E\ VXFK PHPEHU RU E\ DQ\
             RWKHU PHPEHU RI WKH %RDUG RU WKH &RPSHQVDWLRQ &RPPLWWHH LQ FRQQHFWLRQ ZLWK WKLV 3ROLF\ H[FHSW IRU VXFK PHPEHU¶V RZQ
             ZLOOIXO PLVFRQGXFW RU JURVV QHJOLJHQFH XQOHVV WKH &RPSDQ\¶V &HUWLILFDWH RI ,QFRUSRUDWLRQ RU %\ODZV RU DQ\ LQGHPQLILFDWLRQ
             DJUHHPHQW EHWZHHQ WKH &RPSDQ\ DQG VXFK SHUVRQ LQ HDFK FDVH LQ DFFRUGDQFH ZLWK DSSOLFDEOH ODZ SURYLGHV RWKHUZLVH 7KH
             &RPSHQVDWLRQ&RPPLWWHHVKDOOKDYHWKHSRZHUWRHQJDJHRXWVLGHFRQVXOWDQWVDXGLWRUVRURWKHUSURIHVVLRQDOKHOSWRDVVLVWLQWKH
             IXOILOOPHQWRIWKHGXWLHVRIWKH&RPSHQVDWLRQ&RPPLWWHHXQGHUWKLV3ROLF\DWWKH&RPSDQ\¶VH[SHQVH




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VHWWOHPHQWGDWHRFFXUV )RUSXUSRVHVRIWKLV6HFWLRQ I WKHDSSOLFDEOHVHWWOHPHQWGDWHVKDOOEHWKH)LQDO'DWHSURYLGHGKRZHYHU
LIWKH3DUWLFLSDQWLQFXUVD7HUPLQDWLRQRI6HUYLFHGXULQJD&KDQJHLQ&RQWURO3HULRGWKHDSSOLFDEOH6HWWOHPHQW'DWHVKDOOEHGDWHRI
WKH3DUWLFLSDQW¶V7HUPLQDWLRQRI6HUYLFH

               7HUPLQDWLRQRI6HUYLFHIRU&DXVH1RWZLWKVWDQGLQJDQ\WKLQJLQWKLV$JUHHPHQWRUWKH3ODQWRWKHFRQWUDU\XSRQWKH
3DUWLFLSDQW¶V7HUPLQDWLRQRI6HUYLFHE\WKH&RPSDQ\IRU&DXVHWKHHQWLUH$ZDUGLQFOXGLQJDQ\$FFUXHG568VLQWKH3DUWLFLSDQW¶V
568$FFRXQWVKDOOEHLPPHGLDWHO\IRUIHLWHGE\WKH3DUWLFLSDQWDQGFDQFHOOHGZLWKRXWWKHSD\PHQWRIFRQVLGHUDWLRQ




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         6DIHOHDVH,QF '(
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         6DIHZD\6RXWKHUQ&DOLIRUQLD,QFDQGLWVVXEVLGLDULHV '(
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         6DIHZD\6WRUHV,QF '(
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         6DIHZD\6XSSO\,QFDQGLWVVXEVLGLDULHV '(
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         66,±$.+ROGLQJV,QFDQGLWVVXEVLGLDU\ '(
         &DUU*RWWVWHLQ)RRGV&RDQGLWVVXEVLGLDULHV '(
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         $35)RUZDUGHUV,QF $.
         6WRQHULGJH+ROGLQJV//&DQGLWVVXEVLGLDU\ '(
         6DIHZD\+HDOWK,QF '(
         7D\ORU3URSHUWLHV,QF '(




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:HFRQVHQWWRWKHLQFRUSRUDWLRQE\UHIHUHQFHLQ5HJLVWUDWLRQ6WDWHPHQW1RRQ)RUP6RIRXUUHSRUWVGDWHG$SULOUHODWLQJWRWKH
FRQVROLGDWHGILQDQFLDOVWDWHPHQWVRI$OEHUWVRQV&RPSDQLHV,QFDQGVXEVLGLDULHV WKH³&RPSDQ\´ DQGWKHHIIHFWLYHQHVVRIWKH&RPSDQ\¶VLQWHUQDOFRQWURORYHU
ILQDQFLDOUHSRUWLQJDSSHDULQJLQWKLV$QQXDO5HSRUWRQ)RUP.IRUWKHZHHNVHQGHG)HEUXDU\

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%RLVH,GDKR
$SULO




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                                      &HUWLILFDWLRQRIWKH3ULQFLSDO([HFXWLYH2IILFHUSXUVXDQW
                                            WR6HFWLRQRIWKH6DUEDQHV2[OH\$FWRI



   ,9LYHN6DQNDUDQFHUWLI\WKDW

  ,KDYHUHYLHZHGWKLV$QQXDO5HSRUWRQ)RUP.RI$OEHUWVRQV&RPSDQLHV,QF

  %DVHGRQP\NQRZOHGJHWKLVUHSRUWGRHVQRWFRQWDLQDQ\XQWUXHVWDWHPHQWRIDPDWHULDOIDFWRURPLWWRVWDWHDPDWHULDOIDFWQHFHVVDU\WR
    PDNH WKH VWDWHPHQWV PDGH LQ OLJKW RI WKH FLUFXPVWDQFHV XQGHU ZKLFK VXFK VWDWHPHQWV ZHUH PDGH QRW PLVOHDGLQJ ZLWK UHVSHFW WR WKH
    SHULRGFRYHUHGE\WKLVUHSRUW
  %DVHGRQP\NQRZOHGJHWKHILQDQFLDOVWDWHPHQWVDQGRWKHUILQDQFLDOLQIRUPDWLRQLQFOXGHGLQWKLVUHSRUWIDLUO\SUHVHQWLQDOOPDWHULDO
    UHVSHFWVWKHILQDQFLDOFRQGLWLRQUHVXOWVRIRSHUDWLRQVDQGFDVKIORZVRIWKHUHJLVWUDQWDVRIDQGIRUWKHSHULRGVSUHVHQWHGLQWKLVUHSRUW

  7KH UHJLVWUDQW¶V RWKHU FHUWLI\LQJ RIILFHU DQG , DUH UHVSRQVLEOH IRU HVWDEOLVKLQJ DQG PDLQWDLQLQJ GLVFORVXUH FRQWUROV DQG SURFHGXUHV DV
    GHILQHGLQ([FKDQJH$FW5XOHVD H DQGG H DQGLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJ DVGHILQHGLQ([FKDQJH$FW5XOHV
    D I DQGG I IRUWKHUHJLVWUDQWDQGKDYH
    D      'HVLJQHGVXFKGLVFORVXUHFRQWUROVDQGSURFHGXUHVRUFDXVHGVXFKGLVFORVXUHFRQWUROVDQGSURFHGXUHVWREHGHVLJQHGXQGHURXU
           VXSHUYLVLRQWRHQVXUHWKDWPDWHULDOLQIRUPDWLRQUHODWLQJWRWKHUHJLVWUDQWLQFOXGLQJLWVFRQVROLGDWHGVXEVLGLDULHVLVPDGHNQRZQ
           WRXVE\RWKHUVZLWKLQWKRVHHQWLWLHVSDUWLFXODUO\GXULQJWKHSHULRGLQZKLFKWKLVUHSRUWLVEHLQJSUHSDUHG

    E      'HVLJQHGVXFKLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJRUFDXVHGVXFKLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJWREHGHVLJQHG
           XQGHU RXU VXSHUYLVLRQ WR SURYLGH UHDVRQDEOH DVVXUDQFH UHJDUGLQJ WKH UHOLDELOLW\ RI ILQDQFLDO UHSRUWLQJ DQG WKH SUHSDUDWLRQ RI
           ILQDQFLDOVWDWHPHQWVIRUH[WHUQDOSXUSRVHVLQDFFRUGDQFHZLWKJHQHUDOO\DFFHSWHGDFFRXQWLQJSULQFLSOHV
    F      (YDOXDWHG WKH HIIHFWLYHQHVV RI WKH UHJLVWUDQW¶V GLVFORVXUH FRQWUROV DQG SURFHGXUHV DQG SUHVHQWHG LQ WKLV UHSRUW RXU FRQFOXVLRQV
           DERXWWKHHIIHFWLYHQHVVRIWKHGLVFORVXUHFRQWUROVDQGSURFHGXUHVDVRIWKHHQGRIWKHSHULRGFRYHUHGE\WKLVUHSRUWEDVHGRQVXFK
           HYDOXDWLRQDQG

    G      'LVFORVHGLQWKLVUHSRUWDQ\FKDQJHLQWKHUHJLVWUDQW¶VLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJWKDWRFFXUUHGGXULQJWKHUHJLVWUDQW¶V
           PRVWUHFHQWILVFDOTXDUWHU WKHUHJLVWUDQW¶VIRXUWKILVFDOTXDUWHULQWKHFDVHRIDQDQQXDOUHSRUW WKDWKDVPDWHULDOO\DIIHFWHGRULV
           UHDVRQDEO\OLNHO\WRPDWHULDOO\DIIHFWWKHUHJLVWUDQW¶VLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJDQG
  7KH UHJLVWUDQW¶V RWKHU FHUWLI\LQJ RIILFHU DQG , KDYH GLVFORVHG EDVHG RQ RXU PRVW UHFHQW HYDOXDWLRQ RI LQWHUQDO FRQWURO RYHU ILQDQFLDO
    UHSRUWLQJWRWKHUHJLVWUDQW¶VDXGLWRUVDQGWKHDXGLWFRPPLWWHHRIWKHUHJLVWUDQW¶VERDUGRIGLUHFWRUV RUSHUVRQVSHUIRUPLQJWKHHTXLYDOHQW
    IXQFWLRQV 
    D      $OOVLJQLILFDQWGHILFLHQFLHVDQGPDWHULDOZHDNQHVVHVLQWKHGHVLJQRURSHUDWLRQRILQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJZKLFK
           DUH UHDVRQDEO\ OLNHO\ WR DGYHUVHO\ DIIHFW WKH UHJLVWUDQW¶V DELOLW\ WR UHFRUG SURFHVV VXPPDUL]H DQG UHSRUW ILQDQFLDO LQIRUPDWLRQ
           DQG
    E      $Q\IUDXGZKHWKHURUQRWPDWHULDOWKDWLQYROYHVPDQDJHPHQWRURWKHUHPSOR\HHVZKRKDYHDVLJQLILFDQWUROHLQWKHUHJLVWUDQW¶V
           LQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJ




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                                      &HUWLILFDWLRQRIWKH3ULQFLSDO)LQDQFLDO2IILFHUSXUVXDQW
                                            WR6HFWLRQRIWKH6DUEDQHV2[OH\$FWRI


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Retail Trade Channel and Sub-Channel Overview
Trade Channel Description                                                             Sub-Channel
                    Grocery store with +$2MM/year ACV (FMI)                          x Conventional Supermarket
Supermarket         x Includes all Supercenters                                      x Limited Assortment
                    x Includes all chain and independent stores                      x Natural/Gourmet Foods
                                                                                     x Supercenter
                                                                                     x Cash & Carry Warehouse
                                                                                     x Military Commissary
Superette           Grocery store with $1MM-$2MM/year ACV                            x Superette
                    Small format store selling high convenience items such as        x Conventional
Convenience         beverages, snacks and tobacco plus limited grocery items         x Military
Store               including milk and bread (NACS)
                                                                                     x Gas Station/Kiosk
                    x May also sell gasoline and offer fast food services
                    x 500-1500 SKUs and 800-3000 Square Feet
                    Health and beauty care (HBC) retailer or                         x Conventional
Drug                independent pharmacy.                                            x Rx Only & Small
                                                                               Independent Drug
                  High-volume store with large selection of household goods, x Mass Merchandiser
Mass, General     general merchandise and/or HBC, food and paper             x General Merchandiser
Merchandiser, and products.                                                  x Dollar Store
Dollar Stores
                                                                             x Military Exchange
                  Membership store offering a large variety of               x Conventional
Wholesale Club    consumer products.
                    Retailer catering to consumers whose primary destination         x Super Store
Liquor Store        is alcoholic beverages.                                          x Conventional
                                                                                     x Military
                                                                                     x Wine Specialty
                                                                                     x Beer Specialty
                    Retailer catering to consumers whose primary destination         x Conventional
Cigarette Outlets   is the purchase of cigarette & e-cigarette products.             x Vape Store

                    Large format store dominating a specific category within         x Auto Aftermarket
Category Killer     the market.                                                      x Beauty Care
                                                                                     x Books
                                                                                     x Computer Stores
                                                                                     x Consumer Electronics
                                                                                     x Craft/Hobby
                                                                                     x Department Store
                                                                                     x Discount Department Store
                                                                                     x Family Apparel
                                                                                     x Home Improvement
                                                                                     x Home/Bed/Bath
                                                                                     x Office Supplies
                                                                                     x Sporting Goods
                                                                                     x Farm and Feed
                                                                                     x Nutraceuticals


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                                                                             TD Retail Channel + Sub-Channel Overview
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Kroger and Albertsons Companies
Announce Comprehensive Divestiture
Plan with C&S Wholesale Grocers, LLC
in Connection with Proposed Merger




NEWS PROVIDED BY
The Kroger Co. 
Sep 08, 2023, 08:14 ET




                                Plan Marks Key Step in Merger Process



Both the Kroger and Albertsons Cos. Combination and the Divestiture Sale to C&S will Create Meaningful
                 and Measurable Benefits for Associates, Customers and Communities


                Agreement with C&S Includes Sale of 413 Stores, 8 Distribution Centers,
           2 Offices and 5 Private Label Brands Across 17 States and the District of Columbia
                    Extending a Well-Capitalized Competitor into New Geographies



  Agreement Includes Sale of the QFC, Mariano's and Carrs Brand Names and the Exclusive Licensing
          Rights to the Albertsons Brand Name in Arizona, California, Colorado and Wyoming



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               C&S, an Industry Leader in Wholesale Grocery Supply and One of the Largest
       Privately Held Companies in the United States, Brings 104 Years of Food Industry Experience
                            and a Track Record as a Successful Grocery Retailer


      C&S Agrees to Maintain Collective Bargaining Agreements, Securing the Future of Union Jobs


                              Merger Remains on Track to Close in Early 2024,
                       Subject to Regulatory Clearance and Other Closing Conditions


CINCINNATI and BOISE, Idaho, Sept. 8, 2023 /PRNewswire/ -- The Kroger Co. (NYSE: KR) and Albertsons
Companies Inc. (NYSE: ACI) announced today that they have entered a deﬁnitive agreement with C&S
Wholesale Grocers, LLC for the sale of select stores, banners, distribution centers, offices and private label
brands in connection with their proposed merger previously announced on October 14, 2022.


The proposed merger will create meaningful and measurable beneﬁts for America's consumers, Kroger
and Albertsons associates, and communities that both Kroger and Albertsons serve by expanding access
to fresh, affordable food and establishing a more compelling alternative to large, non-union retailers. This
comprehensive divestiture plan marks a key next step toward the completion of the merger by extending a
well-capitalized competitor into new geographies. The divestiture plan ensures no stores will close as a
result of the merger and that all frontline associates will remain employed, all existing collective bargaining
agreements will continue, and associates will continue to receive industry-leading health care and pension
beneﬁts alongside bargained-for wages.


C&S is an industry leader in wholesale grocery supply and supply chain solutions, with a strong track
record as a successful grocery retailer. Founded in 1918 as a supplier to independent grocery stores, C&S
services customers of all sizes, supplying more than 7,500 independent supermarkets, retail chain stores
and military bases. Grounded in its commitment to feeding families across America, C&S currently operates
Grand Union grocery stores and Piggly Wiggly® franchise and corporate-owned stores in the Midwest and
Carolinas. C&S is deeply invested in the communities where it operates, and this retail expansion will
continue its long-standing mission to keep communities fed. Through its wholesale and retail operations,
C&S purchases more than 100,000 products, giving it the ability to provide customers with the best product
selection and pricing available. In addition to its franchise and corporate owned supermarkets, C&S
provides end-to-end wholesale, supply and marketing services to its retailer customers. C&S also brings
                                                                                                           
experience with the merger process, having been an FTC-approved divestiture buyer in prior grocery
                                                                                                  PX6287-002
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transactions with a strong track record of successfully transitioning union employees and their associated
collective bargaining agreements. In anticipation of the agreement, C&S's 1918 Winter Street Partners retail
holding company has been established to ensure a seamless closing process. C&S's depth of industry
knowledge, ﬁnancial strength and commitment to growing its associates' careers makes it the right ﬁt to
ensure the divested stores, distribution centers and offices grow and thrive for years to come.


"Following the announcement of our proposed merger with Albertsons Cos., we embarked on a robust and
thoughtful process to identify a well-capitalized buyer who will operate as a ﬁerce competitor and ensure
divested stores and their associates will continue serving their communities in the ways they do today. C&S
achieves all these objectives," said Rodney McMullen, chairman and CEO of The Kroger Co. "C&S is led by
an experienced management team with an extensive background in food retail and distribution and has the
ﬁnancial strength to continue investing in associates and the business for the long run. Importantly in our
agreement, C&S commits to honoring all collective bargaining agreements which include industry-leading
beneﬁts, retaining frontline associates and further investing for growth."


McMullen continued, "We appreciate our incredible associates who support and serve our customers and
communities, and who help both of our companies succeed. C&S will offer exciting opportunities for
associates to advance their careers – from frontline associates and store leaders to merchants and other
professionals. We are conﬁdent the associates joining the C&S family will have an amazing opportunity to
continue to build a thriving career in the food industry in one of the largest private companies in our
country. C&S's strong operational focus and ﬁnancial resources, along with a comprehensive operational
infrastructure included as part of the divestiture agreement, will position it to successfully operate and
continue to grow these iconic brands for years to come. C&S is a values-driven organization that is
committed to ending hunger while creating healthier communities – now and for future generations."


The divestiture plan fulﬁlls the commitments Kroger and Albertsons Cos. set out in their original merger
agreement in October 2022 with regard to divesting stores, including:


     Extending a competitor to new geographies through the sale of stores to a well-capitalized buyer that
     is led by seasoned operators with a strong balance sheet and a sound business plan;
     Ensuring that no stores will close as a result of the merger;
     Maintaining all current collective bargaining agreements, which include industry-leading healthcare
     and pension beneﬁts, bargained-for wages, and ensuring frontline associates remain employed; and
     Committing to invest in associates and stores for the long term.                                        

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Kroger took several steps to ensure a thoughtful and comprehensive divestiture plan. The terms of the plan
support C&S's ability to operate divested stores effectively and efficiently by providing:



     Strong teams, with deep industry expertise and the ability to operate at scale, and to drive growth
     and operational advancements in the divested business;
     A cohesive set of stores in each geography supported by two regional headquarters as well as
     banners, and private label brands with strong consumer recognition that will provide C&S with an
     established base on which to grow its store network; and
     A robust operational infrastructure, including distribution centers and offices to support both the
     immediate and long-term success of the divested business.



"I have long respected C&S and its leadership team," said Vivek Sankaran, CEO of Albertsons Companies.
"I am thrilled that C&S's outstanding capabilities and ﬁnancial strength will ensure these divestiture stores
can continue to grow and serve their communities as they do today. Most importantly, they have made a
clear commitment to continuing to invest in and care for associates, including by honoring all collective
bargaining agreements currently in place. I echo Rodney's conﬁdence in the bright future ahead for the
associates joining the C&S team."


"We look forward to welcoming thousands of new associates to the C&S family and providing them the
opportunity to build long and successful careers," said Eric Winn, Chief Operating Officer and designated
Chief Executive Officer (effective October 2) of C&S Wholesale Grocers. "As a leader in the grocery
industry, we have a strong heritage of value and customer service that is enabled by a deep commitment
to our consumers, employees and communities. Today's announcement is another exciting opportunity for
C&S to further expand into the retail market, which is an important component of our growth and future
success. We look forward to providing a superior shopping experience that delivers both quality and value
to our customers."


Transaction Details


The divestiture transaction includes 413 stores, along with QFC, Mariano's and Carrs brand names. Stores
currently under these banners that are retained by Kroger will be re-bannered into one of the retained
Kroger or Albertsons Cos. banners following the close of the transaction. In the four states where C&S will
have the license to the Albertsons banner, Kroger will re-banner the retained stores following the close of
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the merger with Albertsons Cos. Kroger will maintain the Albertsons banner in the remaining states. In
addition, Kroger will divest the Debi Lilly Design, Primo Taglio, Open Nature, ReadyMeals and Waterfront
Bistro private label brands.


The number of stores contained in the divestiture plan by geography is as follows:



      WA: 104 Albertsons Cos. and Kroger stores
      CA: 66 Albertsons Cos. and Kroger stores
      CO: 52 Albertsons Cos. stores
      OR: 49 Albertsons Cos. and Kroger stores
      TX/LA: 28 Albertsons Cos. stores
      AZ: 24 Albertsons Cos. stores
      NV: 15 Albertsons Cos. stores
      IL: 14 Kroger stores
      AK: 14 Albertsons Cos. stores
      ID: 13 Albertsons Cos. stores
      NM: 12 Albertsons Cos. stores
      MT/UT/WY: 12 Albertsons Cos. stores
      DC/MD/VA: 10 Harris Teeter stores


The above stores (regardless of banner) will be divested by Kroger following the closing of the merger with
Albertsons Cos.


Additional Terms of the Transaction


The deﬁnitive purchase agreement has customary representations and warranties and covenants of a
transaction of its type. The transaction also provides a comprehensive operational infrastructure including
eight distribution centers, two offices, ﬁve private label brands, and expert district, division and functional
associates, to ensure C&S can continue to operate the divested stores competitively and cohesively with
no disruption to the associate or customer experience. All fuel centers and pharmacies associated with the
divested stores will remain with the stores and continue to operate.



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Subject to fulﬁllment of customary closing conditions, including FTC and other governmental clearance,
and the completion of the Kroger-Albertsons merger, C&S will pay Kroger an all-cash consideration of
approximately $1.9 billion, including customary adjustments.


Prior to the closing, Kroger may, in connection with securing FTC and other governmental clearance,
require C&S to purchase up to an additional 237 stores in certain geographies. If additional stores are
added to the transaction, C&S will pay to Kroger additional cash consideration based upon an agreed upon
formula.


As a result of the comprehensive divestiture plan announced with C&S, Kroger has exercised its right under
the merger agreement to sell what would have been the SpinCo business to C&S. Consequently, the spin-
off previously contemplated by Kroger and Albertsons Cos. is no longer a requirement under the merger
agreement and will no longer be pursued by Kroger and Albertsons Cos.


Merger creates meaningful beneﬁts for customers, associates and communities


The divestiture plan is another key step toward the completion of the proposed merger between Kroger
and Albertsons Companies. The combination will bring together two complementary companies and create
meaningful and measurable beneﬁts for customers, associates and communities. The combination will
advance Kroger's Leading with Fresh, Accelerating with Digital strategy, which is grounded in Fresh, Our
Brands, personalization and seamless. By doing so, the combined company will continue to invest in
improving the customer experience and serving more communities across the country with fresh,
affordable food. With a family of well-known, trusted brands, the combined company will offer customers
lower prices and more choices for the fresh foods customers need, want and love – all with a seamless,
omnichannel shopping experience.


The combination will allow Kroger and Albertsons Cos. to unlock signiﬁcant beneﬁts, including:




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     Advancing a Brighter Future for Our Associates. The combined company will beneﬁt associates
     seeking to grow their careers. Kroger added more than 100,000 good-paying union jobs since 2012,
     and it anticipates continuing on this trajectory. The retailer committed to investing $1 billion in
     improving associates' wages and comprehensive beneﬁts post close. This commitment builds on the
     $1.9 billion in incremental investments Kroger made in wages and comprehensive beneﬁts since
     2018. The combined company has also committed to providing associates with programs aimed at
     continuing education and ﬁnancial literacy following the completion of the merger. The combination
     will create a compelling alternative to large, non-union competitors.
     Serving More of America with Fresh, High-Quality and Affordable Food. Kroger built its business
     model on a foundation of bringing customers lower prices and more choices for the foods their
     families need to thrive. The retailer committed to investing $500 million beginning day one post close
     to reduce prices for customers in stores across the U.S. An incremental $1.3 billion will also be
     invested to enhance the customer experience. The combination advances Kroger's work to make its
     products more affordable and accessible to more families, ultimately supporting a food system that
     will feed people across the U.S. for years to come.
     Driving Meaningful Improvements Where It Matters Most. The combination will create more
     opportunities to invest in communities across America as the company continues its journey to
     eliminate hunger and food waste. In June 2023, Kroger announced its commitment to donate 10
     billion meals as a combined company upon completion of the proposed merger to families across the
     country by 2030. Putting this commitment into context, ten billion meals are enough to feed every
     person in the cities of Seattle, Denver, Chicago and Boston every meal, every day, for nearly two
     years. As a result of a strategic focus on donating surplus fresh food and charitable giving, the
     combined company will accelerate its ability to feed its neighbors and reduce waste, especially food
     waste.


The merger remains on track to close in early 2024, subject to the receipt of required regulatory clearance
and other customary closing conditions, including receipt of clearance under the Hart-Scott-Rodino
Antitrust Improvements Act of 1976. Kroger and Albertsons Cos. remain committed to working
cooperatively with the regulators and all other interested parties to complete the transaction and unlock
the many beneﬁts it offers.


Read more about the combined company's commitment to customers, associates and communities at
www.krogeralbertsons.com

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Kroger Second Quarter 2023 Earnings Results and Conference Call


In a separate press release issued today, Kroger reported its second quarter 2023 results.


Kroger's quarterly conference call with investors will be broadcast as scheduled at 10 a.m. (ET) on
September 8, 2023 at ir.kroger.com. An on-demand replay of the webcast will be available at approximately
1 p.m. (ET) on Friday, September 8, 2023.


Advisors
Citi and Wells Fargo Securities, LLC are serving as ﬁnancial advisors and Weil, Gotshal & Manges LLP and
Arnold & Porter Kaye Scholer LLP are serving as legal counsel to Kroger.


Goldman Sachs & Co. LLC and Credit Suisse are serving as ﬁnancial advisors and Jenner & Block LLP is
serving as corporate legal counsel and White & Case LLP and Debevoise & Plimpton LLP are serving as
antitrust legal counsel to Albertsons Cos.



About Kroger
At The Kroger Co. (NYSE: KR), we are dedicated to our Purpose: To Feed the Human Spirit™. We are, across
our family of companies nearly half a million associates who serve over 11 million customers daily through a
seamless digital shopping experience and retail food stores under a variety of banner names, serving
America through food inspiration and uplift, and creating #ZeroHungerZeroWaste communities by 2025. To
learn more about us, visit our newsroom and investor relations site.


About Albertsons Companies, Inc.
Albertsons Companies is a leading food and drug retailer in the United States. As of June 17, 2023, the
Company operated 2,272 retail food and drug stores with 1,726 pharmacies, 401 associated fuel centers,
22 dedicated distribution centers and 19 manufacturing facilities. The Company operates stores across 34
states and the District of Columbia with 24 banners including Albertsons, Safeway, Vons, Jewel-Osco,
Shaw's, Acme, Tom Thumb, Randalls, United Supermarkets, Pavilions, Star Market, Haggen, Carrs, Kings
Food Markets and Balducci's Food Lovers Market. The Company is committed to helping people across the
country live better lives by making a meaningful difference, neighborhood by neighborhood. In 2022,
along with the Albertsons Companies Foundation, the Company contributed more than $200 million in
food and ﬁnancial support, including more than $40 million through our Nourishing Neighbors Program to
                                                                                                          
ensure those living in our communities and those impacted by disasters have enough to eat.
                                                                                                PX6287-008
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About C&S Wholesale Grocers, LLC
C&S Wholesale Grocers, LLC is an industry leader in supply chain solutions and wholesale grocery supply
in the United States. Founded in 1918 as a supplier to independent grocery stores, C&S now services
customers of all sizes, supplying more than 7,500 independent supermarkets, chain stores, military bases
and institutions with over 100,000 different products. We are an engaged corporate citizen, supporting
causes that positively impact our communities. To learn more, please visit www.cswg.com.



This press release contains certain statements that constitute "forward-looking statements" within the
meaning of federal securities laws, including statements regarding the effects of the proposed transaction
and divestiture plan. These statements are based on the assumptions and beliefs of Kroger and Albertsons
Cos. management in light of the information currently available to them. Such statements are indicated by
words or phrases such as "accelerate," "anticipates," "create," "committed," "conﬁdent," "continue," "deliver,"
"driving," "expect," "future," "guidance," "positioned," "strategy," "target," "synergies," "trends," and "will."
Various uncertainties and other factors could cause actual results to differ materially from those contained
in the forward-looking statements. These include the speciﬁc risk factors identiﬁed in "Risk Factors" in each
of Kroger's and Albertsons Cos.' annual report on Form 10-K for the last ﬁscal year and any subsequent
ﬁlings, as well as the following: the expected timing and likelihood of completion of the proposed
transaction and divestiture plan, including the timing, receipt and terms and conditions of any required
governmental and regulatory clearance of the proposed transaction and divestiture plan; the impact of the
proposed divestiture plan; the occurrence of any event, change or other circumstances that could give rise
to the termination of the merger agreement or divestiture agreement; the outcome of any legal
proceedings that may be instituted against the parties and others following announcement of the merger
agreement and proposed transaction or divestiture plan; the inability to consummate the proposed
transaction or divestiture plan due to the failure to satisfy other conditions to complete the proposed
transaction or divestiture plan; risks that the proposed transaction disrupts current plans and operations of
Kroger and Albertsons Cos.; the ability to identify and recognize the anticipated beneﬁts of the proposed
transaction, including expectations and synergies; the amount of the costs, fees, expenses and charges
related to the proposed transaction or divestiture plan; and the ability of Kroger and Albertsons Cos. to
successfully integrate their businesses and related operations; the ability of Kroger to maintain an
investment grade credit rating; risks related to the potential impact of general economic, political and
market factors on the companies or the proposed transaction. The ability of Kroger and Albertsons Cos. to
achieve the goals for the proposed transaction may also be affected by their ability to manage the factors
identiﬁed above.

                                                                                                                 
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The forward-looking statements by Kroger and Albertsons Cos. included in this press release speak only as
of the date the statements were made. Neither Kroger nor Albertsons Cos. assumes the obligation to
update the information contained herein unless required by applicable law. Please refer to the reports and
ﬁlings of Kroger and Albertsons Cos. with the Securities and Exchange Commission for a further discussion
of the risks and uncertainties that affect them and their respective businesses.


SOURCE The Kroger Co.




                                                                                                         
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                      PREHEARING CONFERENCE - July 19, 2024
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·1·
  · · · ··DISTRICT COURT, CITY AND COUNTY OF DENVER          ·1·
                                                               · · · · · · · · ··P R O C E E D I N G S
 ···· · · · · · · · · · · ·COLORADO
·2·
  ·                                                          ·2·
                                                               · · · · · · · ·JUDGE LUXEN:··Good afternoon.··This is
 ·· ·
·3·
  ·Case No. 2024-CV-30459                                    ·3·
                                                               ·Case No. 2024-CV-30459, State of Colorado versus Kroger
 ··Division
    ·        414
·4·
  ·July 19, 2024                                             ·4·
                                                               ·et al.··Entries, please.
 ·· ·
·5·
  ·_______________________________________________________   ·5·
                                                               · · · · · · · ·MR. BILLER:··Good afternoon, Your Honor.
 ·· ·
·6·
  ·PREHEARING CONFERENCE                                     ·6·
                                                               ·Arthur Biller, from the Attorney General, on behalf of
 ·· ·
·7·
  ·_______________________________________________________   ·7·
                                                               ·the State of Colorado.··I have several colleagues on
 ·· ·
·8·
  ·STATE OF COLORADO, ex rel. PHILIP J. WEISER, Attorney     ·8·
                                                               ·with me today as well.
 ··General,
    ·
·9·
  · · · · · ·Plaintiff,                                      ·9·
                                                               · · · · · · · ·JUDGE LUXEN:··Good afternoon, Mr. Biller.
 ·· ·
10·
  ·vs.                                                       10·
                                                               · · · · · · · ·MS. PFAFFENROTH:··Your Honor, it's Sonia
 ·· ·
11·
  ·THE KROGER CO.;ALBERTSONS COMPANIES, INC.; and C&S        11·
                                                               ·Pfaffenroth, from Arnold & Porter, on behalf of Kroger.
 ··WHOLESALE
    ·         GROCERS, LLC,
12·
  ·                                                          12·
                                                               ·Today with me as well is Mark Perry, and my partner,
 ···· · · · ·Defendants.
13·
  ·_______________________________________________________   13·
                                                               ·Randall Miller, from Arnold & Porter.
 ··APPEARANCES:
    ·
14·
  · · ··COLORADO DEPARTMENT OF LAW                           14·
                                                               · · · · · · · ·MS. MAINIGI:··Good afternoon.··This is
 ···· · · · ·By Arthur Biller, Esq. and
15·
  · · · · · · ··Steve Kaufman, Esq.                          15·
                                                               ·Enu Mainigi, here on behalf of Albertsons.··And Chris
 ···· · · · · ··1300 Broadway
16·
  · · · · · · ··Denver, Colorado··80203                      16·
                                                               ·Toll is here on behalf of Albertsons as well.
 ···· · · · · ··arthur.biller@coag.gov
17·
  · · · · · · ··steve.kaufman@coag.gov                       17·
                                                               · · · · · · · ·JUDGE LUXEN:··Good afternoon,
 ···· · · · · ··Appearing for State of Colorado.
18·
  ·                                                          18·
                                                               ·Ms. Mainigi.
 ···· ··ARNOLD & PORTER
19·
  · · · · · ·By Sonia K. Pfaffenroth, Esq.and                19·
                                                               · · · · · · · ·MR. TOLL:··Chris Toll, on behalf of
 ···· · · · · ··Randall H. Miller, Esq.
20·
  · · · · · · ··1144 Fifteenth Street, Suite 3100            20·
                                                               ·Albertsons as well.··Good afternoon.
 ···· · · · · ··Denver, Colorado··80202
21·
  · · · · · · ··randy.miller@arnoldporter.com                21·
                                                               · · · · · · · ·JUDGE LUXEN:··Good afternoon.··We're here
 ···· · · · · ··sonia.pfaffenroth@arnoldporter.com
22·
  · · · · · · ··and                                          22·
                                                               ·for a pretrial prehearing conference.··We have the
 ···· · · · ·WEIL, GOTSHAL & MANGES, LLP
23·
  · · · · · · · ·Mark A. Perry, Esq.                         23·
                                                               ·hearing slotted to begin on August 12th.··I have a few
 ···· · · · · · ·2001 M Street NW, Suite 600
24·
  · · · · · · · ·Washington D.C.··20036                      24·
                                                               ·things I would like to talk about, but, I think maybe
 ···· · · · · · ·mark.perry@weil.com
25·
  · · · · · · ··Appearing for Kroger Co.                     25·
                                                               ·it makes sense to start with Mr. Biller, begin with

                                                    Page 2                                                          Page 4
·1·
  · · · · · · · · · ·APPEARANCES (CON'T)                     ·1·
                                                               ·whatever issues you have.
·2·
  · · ··WILLIAMS & CONNOLLY, LLP                             ·2·
                                                               · · · · · · · ·MR. BILLER:··Thank you, Your Honor.
 ···· · · · ·By Enu Mainigi, Esq.
·3·
  · · · · · · ··680 Maine Avenue, S.W.                       ·3·
                                                               ·Actually, I'm going to let Ms. Pfaffenroth, I think, go
 ···· · · · · ··Washington D.C.··20024                       ·4·
                                                               ·first.··And, then -- we have a development that we've
·4·
  · · · · · · ··emainigi@wc.com
                                                             ·5·
                                                               ·been working on, but I will let her describe it, and,
 ···· · · · · ··and
·5·
  · · ··HOLLAND & HART                                       ·6·
                                                               ·then, I may have something to add, but I will allow her
 ···· · · · ·By Christopher H. Toll, Esq.                    ·7·
                                                               ·to go first.
·6·
  · · · · · · ··555 17th Street, Suite 3200
                                                             ·8·
                                                               · · · · · · · ·JUDGE LUXEN:··Thank you.··Ms.
 ···· · · · · ··Denver, Colorado··80202
·7·
  · · · · · · ··ctoll@hollandhart.com                        ·9·
                                                               ·Pfaffenroth.
 ···· · · · · ··Appearing for Albertsons Companies, Inc.     10·
                                                               · · · · · · · ·MS. PFAFFENROTH:··Thank you, Mr. Biller.
·8·
  ·
 ···· ··SULLIVAN & CROMWELL                                  11·
                                                               ·Your Honor, we wanted to make -- we and the state
·9·
  · · · · · ·By Samantha F. Hynes, Esq.                      12·
                                                               ·wanted to make the Court aware that the parties are
 ···· · · · · ··1700 New York Avenue, N.W.
                                                             13·
                                                               ·discussing a potential stipulation, that will eliminate
10·
  · · · · · · ··Suite 700
 ···· · · · · ··Washington D.C.··20006                       14·
                                                               ·the need for the August hearing --
11·
  · · · · · · ··hyness@sullcrom.com                          15·
                                                               · · · · · · · · · ··(Off the record.)
12·
  ·
                                                             16·
                                                               · · · · · · · ·JUDGE LUXEN:··What we're going to do,
13·
  · · · · · ·Pursuant to Notice and the Colorado Rules
14·
  ·of Civil Procedure, the Prehearing Conference             17·
                                                               ·Ms. French is going to mute everybody else, then we
15·
  ·in front of Judge Andrew J. Luxen, commencing at 12:15    18·
                                                               ·will -- we are going to attempt to mute everyone except
16·
  ·p.m., at Remotely, before Harriet S. Weisenthal,
                                                             19·
                                                               ·the person who is speaking.
17·
  ·Registered Professional Reporter and Notary Public
18·
  ·within and for the State of Colorado.                     20·
                                                               · · · · · · · ·MS. PFAFFENROTH:··Should I continue, Your
19·
  ·                                                          21·
                                                               ·Honor?
20·
  ·
21·
  ·                                                          22·
                                                               · · · · · · · ·JUDGE LUXEN:··Thank you.··The court
22·
  ·                                                          23·
                                                               ·reporter, I am going to unmute you.··Let us know if you
23·
  ·
                                                             24·
                                                               ·can't hear, or if there is some other concern on your
24·
  ·
25·
  ·                                                          25·
                                                               ·end.··Go ahead.


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                                                                                                                PX6680-001
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·1·
  · · · · · · · ·MS. PFAFFENROTH:··Thank you, Your Honor.       ·1·
                                                                  ·Kroger counsel's comments, is I realize we're catching
·2·
  · · · · · · · ·So, the parties are discussing a               ·2·
                                                                  ·you a bit by surprise by this proposal.··Hopefully, it
·3·
  ·potential stipulation to eliminate the need for the          ·3·
                                                                  ·is welcomed by you, that you may get some of your
·4·
  ·hearing that's currently set to start on August the          ·4·
                                                                  ·priorities back.
·5·
  ·12th.··This is something we want to bring to your            ·5·
                                                                  · · · · · · · ·I think -- what I think parties would
·6·
  ·attention right away, even though it's still in              ·6·
                                                                  ·hope to understand, and it does not have to necessarily
·7·
  ·process.                                                     ·7·
                                                                  ·be on this call, but it is your reaction to the concept
·8·
  · · · · · · · ·And, specifically, the defendants would        ·8·
                                                                  ·laid out by Kroger's counsel; that is when the Court
·9·
  ·be stipulating not to close the primary transaction          ·9·
                                                                  ·might be able to get a decision out, on the permanent
10·
  ·until the earlier of the fifth day following Your            10·
                                                                  ·injunction, by this November 8th time period, because
11·
  ·Honor's ruling on the permanent -- on the ruling for         11·
                                                                  ·that would kind of be implicit in this proposed
12·
  ·the permanent injunction hearing, or November 8th,           12·
                                                                  ·stipulation that we're discussing with the state.
13·
  ·whichever was earlier.··And, also, we appreciate our         13·
                                                                  · · · · · · · ·And, again, Your Honor, I recognize we
14·
  ·constructive conversations with the state so far on          14·
                                                                  ·are very much catching you by surprise on this, but we
15·
  ·this.                                                        15·
                                                                  ·are hopeful that we can make a stipulation among the
16·
  · · · · · · · ·I think the parties are all cognizant of       16·
                                                                  ·parties work.
17·
  ·the burden that -- the close proximity of the                17·
                                                                  · · · · · · · ·JUDGE LUXEN:··Let me ask C&S, do you have
18·
  ·preliminary and the permanent injunction hearing places      18·
                                                                  ·anything you would like to say before we talk about
19·
  ·on the Court.··So, our goal is to try to eliminate the       19·
                                                                  ·that issue?
20·
  ·need for that first hearing.                                 20·
                                                                  · · · · · · · ·MS. HYNES:··This is Samantha Hynes, from
21·
  · · · · · · · ·And we recognize that November the 8th is      21·
                                                                  ·Sullivan & Cromwell, on behalf of C&S.··We don't have
22·
  ·a somewhat limited window, after the hearing, for the        22·
                                                                  ·anything to add on top of what Kroger and Albertsons
23·
  ·Court's decision.··It is driven by operational and           23·
                                                                  ·discussed.
24·
  ·financing considerations, leading up to -- apologies --      24·
                                                                  · · · · · · · ·JUDGE LUXEN:··Mr. Biller, someone for the
25·
  ·just in terms of process.··But that is something the         25·
                                                                  ·Attorney General.

                                                       Page 6                                                          Page 8
·1·
  ·parties have been discussing, and we will continue to        ·1·
                                                                  · · · · · · · ·MR. BILLER:··Thank you, Your Honor.
·2·
  ·discuss.                                                     ·2·
                                                                  ·We've received a proposal from the defendant on this,
·3·
  · · · · · · · ·And we are -- I'll say, on behalf of           ·3·
                                                                  ·and we've started exchanging some language, and we're
·4·
  ·Kroger, we are optimistic, and we would certainly work       ·4·
                                                                  ·engaging on the terms of the proposal.
·5·
  ·with the state, in the context of the permanent              ·5·
                                                                  · · · · · · · ·I'll just say, we're appreciative of the
·6·
  ·injunction hearing, to streamline the presentation of        ·6·
                                                                  ·defendants' willingness to push their closing date past
·7·
  ·evidence, because the permanent injunction hearing           ·7·
                                                                  ·the trial on the merits, to try to culminate the trial
·8·
  ·would be following both the Federal Trade Commission         ·8·
                                                                  ·and streamline the litigation.··We think that the
·9·
  ·preliminary injunction hearing, in the District of           ·9·
                                                                  ·concept should work, to provide for judicial economy,
10·
  ·Oregon, and the Washington State proceeding.                 10·
                                                                  ·and, obviously, not require the Court and the parties
11·
  · · · · · · · ·JUDGE LUXEN:··Thank you.··How do you           11·
                                                                  ·to appear for a preliminary injunction hearing next
12·
  ·believe that impacts what we should discuss today?           12·
                                                                  ·month.··There are still details that we need to work
13·
  · · · · · · · ·MS. PFAFFENROTH:··So, I think we would         13·
                                                                  ·out.
14·
  ·take Your Honor's direction on that.··We would               14·
                                                                  · · · · · · · ·In our view, obviously, this is -- the
15·
  ·certainly be happy to discuss both the issues that Your      15·
                                                                  ·Court controls the calendar and the dockets, and if the
16·
  ·Honor raises in the order, regarding courtroom sealing       16·
                                                                  ·Court determined that it would need more time to issue
17·
  ·issues, in the context of the permanent injunction           17·
                                                                  ·a ruling, past whatever the November date is that we
18·
  ·hearing, if we end up not needing to proceed with the        18·
                                                                  ·land on, then, in our view, the Court could issue a
19·
  ·preliminary injunction hearing.··We're happy to take         19·
                                                                  ·preliminary injunction, or TRO, at that time, if the
20·
  ·the Court's direction.                                       20·
                                                                  ·requirements for our relief were established through
21·
  · · · · · · · ·JUDGE LUXEN:··Why don't I hear, first,         21·
                                                                  ·the evidence at trial.
22·
  ·from Albertsons.··Any comments on that?                      22·
                                                                  · · · · · · · ·But, we still need to work out the
23·
  · · · · · · · ·MS. MAINIGI:··Your Honor, no comment on        23·
                                                                  ·details and the mechanics, and a potential stipulation.
24·
  ·what you would like to cover the remainder of today.         24·
                                                                  ·And I think the parties are in agreement; that we're
25·
  ·The one thing I wanted to underscore, with respect to        25·
                                                                  ·going to try to give ourselves the next several days to


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·1·
  ·do that, with the goal of presenting it to the court,        ·1·
                                                                  ·evidence, which is October 17th -- I'm sorry.··It will
·2·
  ·hopefully, early next week.                                  ·2·
                                                                  ·be October 18th, 2024, is when we're scheduled to begin
·3·
  · · · · · · · ·JUDGE LUXEN:··What does -- if we have a        ·3·
                                                                  ·our 14 days together.
·4·
  ·preliminary injunction hearing, and then the trial on        ·4·
                                                                  · · · · · · · ·I would not make that assurance; that is,
·5·
  ·the merits, we can consider evidence from the                ·5·
                                                                  ·particularly if I permit the parties to submit
·6·
  ·preliminary injunction hearing on a trial of the             ·6·
                                                                  ·appropriate findings of fact and conclusions of law,
·7·
  ·merits.··What does not having the preliminary                ·7·
                                                                  ·after the conclusion of the hearing, I am not going to
·8·
  ·injunction hearing do to those 14 days scheduled for         ·8·
                                                                  ·hamstring myself, or the Court, into making my
·9·
  ·the trial on the merits?                                     ·9·
                                                                  ·guarantees about when an order would be out.
10·
  · · · · · · · ·MR. BILLER:··I think that the time that        10·
                                                                  · · · · · · · ·So, to the extent that that informs the
11·
  ·the Court has set aside for the trial would still            11·
                                                                  ·decisions here, that's my position on order timing.··I
12·
  ·remain in place.··We would have to work out, between         12·
                                                                  ·will certainly move, with all reasonable speed, to get
13·
  ·the parties, whether there would be anything in the          13·
                                                                  ·the order out, like I do with everything that comes
14·
  ·other proceedings that could potentially streamline the      14·
                                                                  ·through here, but three weeks is just a remarkably
15·
  ·trial.                                                       15·
                                                                  ·short amount of time to get an order, on both claims,
16·
  · · · · · · · ·I don't know whether that's possible or        16·
                                                                  ·on the merits, out to the parties.
17·
  ·not, but I don't think -- we would not need a longer         17·
                                                                  · · · · · · · ·Any comments or thoughts on that,
18·
  ·trial.··So, I think those days that we've reserved           18·
                                                                  ·Mr. Biller?
19·
  ·would be sufficient.                                         19·
                                                                  · · · · · · · ·MR. BILLER:··I don't have any comments to
20·
  · · · · · · · ·JUDGE LUXEN:··For Kroger.                      20·
                                                                  ·that, Your Honor.··That's helpful information,
21·
  · · · · · · · ·MS. PFAFFENROTH:··Yes, Your Honor.··We         21·
                                                                  ·certainly, to inform our discussions.··But, you know,
22·
  ·agree.··We certainly don't think that a longer               22·
                                                                  ·in our view, as I said, the Court obviously controls
23·
  ·proceeding would be necessary, for the hearing, if the       23·
                                                                  ·the calendar, so, we appreciate that information.
24·
  ·permanent injunction hearing were taken off the              24·
                                                                  · · · · · · · ·JUDGE LUXEN:··For Kroger.
25·
  ·calendar.                                                    25·
                                                                  · · · · · · · ·MS. PFAFFENROTH:··Your Honor, I would add

                                                      Page 10                                                         Page 12
·1·
  · · · · · · · ·We share Mr. Biller's assertion here,          ·1·
                                                                  ·on that, I think that the November 8th date would be
·2·
  ·that we would be able to streamline, given there will        ·2·
                                                                  ·pertinent -- and we could make this clear in any
·3·
  ·be -- we have a number of weeks of trial, on the same        ·3·
                                                                  ·proposed stipulation -- and with respect to Count 1,
·4·
  ·topic, in other jurisdictions.··And that's something we      ·4·
                                                                  ·not with respect to Count 2, because the same timing
·5·
  ·would certainly work closely with the state, in order        ·5·
                                                                  ·considerations for the parties are not implicated by
·6·
  ·to streamline the proceedings as much as possible, for       ·6·
                                                                  ·Count 2.
·7·
  ·Your Honor, with the goal of, perhaps, having an even        ·7·
                                                                  · · · · · · · ·JUDGE LUXEN:··For Albertsons.
·8·
  ·shorter hearing than is currently set-aside on the           ·8·
                                                                  · · · · · · · ·MS. MAINIGI:··Your Honor, we appreciate
·9·
  ·Court's calendar.                                            ·9·
                                                                  ·your candor, and in terms of what you think is
10·
  · · · · · · · ·JUDGE LUXEN:··For Albertsons.                  10·
                                                                  ·achievable.··I'm wondering if you have, or you, in your
11·
  · · · · · · · ·MS. MAINIGI:··Agreed, Your Honor.··I           11·
                                                                  ·mind, kind of what you thought the timing might be with
12·
  ·think that the hearing can only go shorter, given that       12·
                                                                  ·respect to an opinion.··And you may not, Your Honor.··I
13·
  ·it would be coming after a couple of other hearings.         13·
                                                                  ·completely understand how we're catching you by
14·
  ·And there's also the possibility, Your Honor, that           14·
                                                                  ·surprise on this.
15·
  ·there may be opinions that have come out from the other      15·
                                                                  · · · · · · · ·JUDGE LUXEN:··The short answer is, no.
16·
  ·courts that would have already heard this matter.            16·
                                                                  · · · · · · · ·MS. MAINIGI:··Understood Your Honor.
17·
  · · · · · · · ·JUDGE LUXEN:··For C&S.                         17·
                                                                  · · · · · · · ·JUDGE LUXEN:··For C&S.
18·
  · · · · · · · ·MS. HYNES:··Nothing else to add on top of      18·
                                                                  · · · · · · · ·MS. HYNES:··Nothing else to add, Your
19·
  ·what others have said, Your Honor.                           19·
                                                                  ·Honor.··Thank you for your candor.
20·
  · · · · · · · ·JUDGE LUXEN:··I'm supposed to address the      20·
                                                                  · · · · · · · ·JUDGE LUXEN:··Yes.··I have two thoughts:
21·
  ·question directly, if I would provide assurance, or          21·
                                                                  ·One, we talk about logistical issues involving the
22·
  ·whatever you might find to describe it, that I would         22·
                                                                  ·preliminary injunction hearing now.··Second thought, we
23·
  ·have a ruling on the permanent injunction trial, on the      23·
                                                                  ·reset this hearing for Thursday of next week -- it
24·
  ·merits, which also involves the second claim, by             24·
                                                                  ·would need to be Thursday afternoon of next week -- if
25·
  ·approximately three weeks after the close of our             25·
                                                                  ·there's not a stipulation with respect to the


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·1·
  ·preliminary injunction hearing, work through the             ·1·
                                                                  ·Your Honor.··So, one issue that Your Honor raised was
·2·
  ·logistical things we need to talk about.                     ·2·
                                                                  ·with respect to closing the courtroom and
·3·
  · · · · · · · ·If there is a stipulation with respect to      ·3·
                                                                  ·confidentiality issues.
·4·
  ·the preliminary injunction hearing, we don't need to         ·4·
                                                                  · · · · · · · ·So, we have been discussing that among
·5·
  ·spend our time and energy talking about those details,       ·5·
                                                                  ·the parties.··From our perspective, you know, we
·6·
  ·and the parties can get back to work, doing whatever         ·6·
                                                                  ·started from the proposition that closing the courtroom
·7·
  ·else you might need to do.··Any thoughts or comments on      ·7·
                                                                  ·is a high bar to meet, but that the Court does have
·8·
  ·those options, Mr. Biller?                                   ·8·
                                                                  ·authority to close the courtroom, to protect trade
·9·
  · · · · · · · ·MR. BILLER:··Yes, Your Honor.··I think         ·9·
                                                                  ·secrets, as the Court observed, and other truly
10·
  ·the parties are prepared to discuss certain issues,          10·
                                                                  ·competitively sensitive information.
11·
  ·which -- and maybe we don't have to go into them, into       11·
                                                                  · · · · · · · ·From an antitrust perspective, we
12·
  ·quite as in-depth as we otherwise would, but just, at        12·
                                                                  ·certainly have an interest in avoiding public
13·
  ·least as an update on what we're working on, in the          13·
                                                                  ·disclosure of information that would be harmful to
14·
  ·event that we do have a preliminary injunction hearing,      14·
                                                                  ·competition.··And we think that Rule 42 allows for
15·
  ·and there are a couple of issues that I think we might       15·
                                                                  ·that, which creates an exception to proceedings, when
16·
  ·appreciate the Court's guidance on, just in terms of         16·
                                                                  ·orderly procedure requires it.
17·
  ·some logistical and, in effect, technology issues.           17·
                                                                  · · · · · · · ·As the Court acknowledged, in the Curtis
18·
  · · · · · · · ·So, it may be productive to spend time         18·
                                                                  ·decision, from the Colorado Supreme Court, when a trial
19·
  ·going through that, and if we don't have a preliminary       19·
                                                                  ·involves trade secrets, where public dissemination
20·
  ·injunction hearing, we can, you know, take any               20·
                                                                  ·could injure a party, it's firmly within the provision
21·
  ·instruction with us, as we prepare for trial later on.       21·
                                                                  ·to close the courtroom.
22·
  · · · · · · · ·JUDGE LUXEN:··For Kroger.                      22·
                                                                  · · · · · · · ·And, in our view.··Curtis does not limit
23·
  · · · · · · · ·MS. PFAFFENROTH:··Your Honor, I'll pass        23·
                                                                  ·closing the courtroom to only trade secret protections,
24·
  ·this to Mr. Perry.                                           24·
                                                                  ·but when other certain confidential information might
25·
  · · · · · · · ·MR. PERRY:··Good afternoon, Your Honor.        25·
                                                                  ·be implicated.··And that view is consistent with a high

                                                      Page 14                                                         Page 16
·1·
  ·Mark Perry for Kroger.                                       ·1·
                                                                  ·bar to closure, that the Federal courts typically set,
·2·
  · · · · · · · ·I agree with Mr. Biller.··We have been         ·2·
                                                                  ·which involve balancing various interests, but
·3·
  ·working through issues.··The one thing we were going to      ·3·
                                                                  ·acknowledge that protecting an entity's competitive
·4·
  ·propose, just a preview, was submitting a joint              ·4·
                                                                  ·standing is valid in that determination.
·5·
  ·pretrial order, of sorts, as to where we have                ·5·
                                                                  · · · · · · · ·So, the key will be for the parties and
·6·
  ·agreements, and competing positions, if we don't.            ·6·
                                                                  ·relevant nonparties to work together, to only seek
·7·
  ·We're not quite there yet, but that's something we've        ·7·
                                                                  ·protections for matters that are truly deserving of it,
·8·
  ·been working on, already, and we were going to ask the       ·8·
                                                                  ·and not make overbroad assertions of confidentiality.
·9·
  ·Court if that would be acceptable.                           ·9·
                                                                  ·But that's our view of certain, with respect to this
10·
  · · · · · · · ·And the Court did have specific issues,        10·
                                                                  ·case, the types of matters that potentially warrant
11·
  ·about closing the courtroom, and confidentiality, which      11·
                                                                  ·closing the courtroom.
12·
  ·may affect some of the exhibit lists, and other, you         12·
                                                                  · · · · · · · ·JUDGE LUXEN:··Does the Federal Trade
13·
  ·know, mechanicals for the parties, that we're prepared       13·
                                                                  ·Commission administrative proceedings, are those open
14·
  ·to discuss and explain.··I would respond to the Court's      14·
                                                                  ·to the public?
15·
  ·questions, if the Court remains interested.                  15·
                                                                  · · · · · · · ·MR. BILLER:··Um, Mr. Perry or other
16·
  · · · · · · · ·JUDGE LUXEN:··For Albertsons.                  16·
                                                                  ·defendants' counsel might be in a better position to
17·
  · · · · · · · ·MS. MAINIGI:··Your Honor, we're fine           17·
                                                                  ·answer that than I am.··My understanding is that they
18·
  ·having this high-level discussion on some of the key         18·
                                                                  ·are at least partially public, but I think that the
19·
  ·points.                                                      19·
                                                                  ·protections in the administrative proceedings are more
20·
  · · · · · · · ·JUDGE LUXEN:··For C&S.                         20·
                                                                  ·broad than a Federal district court, but I think Mr.
21·
  · · · · · · · ·MS. HYNES:··Your Honor, we're fine with        21·
                                                                  ·Perry, or someone, can elaborate on that.
22·
  ·the high-level discussion that everyone has discussed.       22·
                                                                  · · · · · · · ·MR. PERRY:··I am happy to do that now or
23·
  · · · · · · · ·JUDGE LUXEN:··Let's dive in, Mr. Biller,       23·
                                                                  ·later, Your Honor, as you wish.
24·
  ·or who would like to start?                                  24·
                                                                  · · · · · · · ·JUDGE LUXEN:··Go ahead, Mr. Perry.
25·
  · · · · · · · ·MR. BILLER:··I can start.··Thank you,          25·
                                                                  · · · · · · · ·MR. PERRY:··Thank you, Your Honor.··This


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                                                      Page 17                                                         Page 19
·1·
  ·issue -- let me start by saying, this issue does arise       ·1·
                                                                  ·cases, typically, that there are several levels of
·2·
  ·in merger litigation, on a regular basis, as the Court       ·2·
                                                                  ·this.··If it's in a document, we may be able to submit
·3·
  ·may imagine.··These cases almost always involve              ·3·
                                                                  ·an unredacted document to the Court, and redacted
·4·
  ·competitively sensitive information, pricing, business       ·4·
                                                                  ·document on the public record.··Witnesses can simply
·5·
  ·planning, other information involving competitors.           ·5·
                                                                  ·refer to the document, without saying a number out
·6·
  ·And, if the deal closes, there will remain competitors,      ·6·
                                                                  ·loud.
·7·
  ·in the marketplace; and if the deal doesn't close, then      ·7·
                                                                  · · · · · · · ·For example, if, for example, if it's a
·8·
  ·the parties remain competitors.··So, it's important to       ·8·
                                                                  ·specific figure, we don't need to close the courtroom.
·9·
  ·have certain guardrails in place.                            ·9·
                                                                  ·The Court would have the figure on the bench, but
10·
  · · · · · · · ·The Federal courts, in 13(b) challenges,       10·
                                                                  ·disclosure is not made in public.··That's often called
11·
  ·which is the rough equivalent of what we're having           11·
                                                                  ·for, and an avenue -- we do that quite routinely.
12·
  ·here, have developed a set of guidelines for these           12·
                                                                  · · · · · · · ·Another way is to not display information
13·
  ·proceedings.··The Court asked for some relevant              13·
                                                                  ·on the public screens, on a Website, if that's an
14·
  ·authority in the order.                                      14·
                                                                  ·available option.··And, then, if it is necessary -- and
15·
  · · · · · · · ·The Curtis case, of course, is from            15·
                                                                  ·it often is -- for part of a, you know, financial
16·
  ·Colorado, but if I could give the Court just one             16·
                                                                  ·competitive testimony, or particularly expert witnesses
17·
  ·Federal case, that cites a whole bunch of others, so         17·
                                                                  ·often do a competitive analysis, their own, that is
18·
  ·it's a good place to look.··It's called:··United States      18·
                                                                  ·based on market -- nonpublic information about market
19·
  ·versus Sabre Corp -- S-a-b-r-e -- 452 Federal Supp 3d,       19·
                                                                  ·conditions.
20·
  ·page 97.··It's a Delaware case from 2020.                    20·
                                                                  · · · · · · · ·The parties know that in advance, and we
21·
  · · · · · · · ·The relevant passage is page 149.··And,        21·
                                                                  ·try to agree that, either at the beginning or the end
22·
  ·as I said, it cites a number of other cases, and it's        22·
                                                                  ·of the witness's testimony would be the closed session
23·
  ·exactly what Mr. Biller said.··This is the area, by the      23·
                                                                  ·part, to minimize the closed period to only that
24·
  ·way, that I don't think that the state and the               24·
                                                                  ·material that is truly competitively sensitive, without
25·
  ·defendants are in disagreement.··This is a -- we agree       25·
                                                                  ·upsetting the proceedings by clearing the courtroom,

                                                      Page 18                                                         Page 20
·1·
  ·that the Court should remain open; that these should be      ·1·
                                                                  ·bringing people back in, by question or answer, but by
·2·
  ·public proceedings, that it is a high bar, but that bar      ·2·
                                                                  ·module instead.··It's not perfect, but it works pretty
·3·
  ·will be cleared, in this case, on certain occasions.         ·3·
                                                                  ·well in the Federal cases.
·4·
  · · · · · · · ·What the same report said, and the             ·4·
                                                                  · · · · · · · ·To the Court's question about
·5·
  ·general standard is, in the Federal court, and I am          ·5·
                                                                  ·administrative proceedings, there are fewer of those.
·6·
  ·quoting, "This issue often emerges in trials of              ·6·
                                                                  ·The standard, as Mr. Biller said -- it's not Federal
·7·
  ·government challenges to a proposed merger based on          ·7·
                                                                  ·court -- so it's -- there is more protected
·8·
  ·antitrust concerns, during which witnesses almost            ·8·
                                                                  ·information.··They are public proceedings, by default.
·9·
  ·inevitably discuss sensitive business information such       ·9·
                                                                  ·But it's the same general process that there are closed
10·
  ·as prices, forward-looking strategy and analyses of          10·
                                                                  ·sessions, or closed portions of sessions, precisely for
11·
  ·competitive conditions.··To balance the public's right       11·
                                                                  ·the same reason that they involve competitively
12·
  ·of access with the parties' interest in avoiding             12·
                                                                  ·sensitive information, about pricing and competitive
13·
  ·competitive injury, courts routinely close courtrooms        13·
                                                                  ·strategies.
14·
  ·when witnesses discuss 'competitively sensitive              14·
                                                                  · · · · · · · ·JUDGE LUXEN:··Do Federal judges make --
15·
  ·information' while otherwise allowing full public            15·
                                                                  ·or did the U.S. District Court, in Delaware, make
16·
  ·access."                                                     16·
                                                                  ·specific findings, in advance of closing the courtroom,
17·
  · · · · · · · ·And that phrase, "competitively sensitive      17·
                                                                  ·about these -- the confidentiality?
18·
  ·information," has garnered a meaning, if you will, in        18·
                                                                  · · · · · · · ·MR. PERRY:··Yes, Your Honor.··What
19·
  ·Federal cases involving mergers, as current pricing,         19·
                                                                  ·usually happens is the final pretrial conference, the
20·
  ·current competitive analyses, some other things that         20·
                                                                  ·parties would address the types of evidence in that
21·
  ·the parties are used to dealing with; and that               21·
                                                                  ·case, that are sensitive; and, in this case, it would
22·
  ·typically, there is a -- those are worked out, in            22·
                                                                  ·be pricing information, competitive landscape, you
23·
  ·agreement, in advance of hearing, so that we know what       23·
                                                                  ·know, there will be, for example, revenue information.
24·
  ·it is.                                                       24·
                                                                  ·I'm sure there are many competitors that don't wish
25·
  · · · · · · · ·The other thing that happens in these          25·
                                                                  ·that current information, if it's not public, to be


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·1·
  ·disclosed.                                                 ·1·
                                                                ·one, but the process of trial preparation tends to wind
·2·
  · · · · · · · ·And the findings that are required, under    ·2·
                                                                ·down the number of witnesses and the number of
·3·
  ·the First Amendment, in the state, Federal guidelines      ·3·
                                                                ·documents that actually get presented.··And the
·4·
  ·can be applied, on an eligible basis, and, then, a         ·4·
                                                                ·question for the Court, really, only arises, in the
·5·
  ·showing can be made, on the individual evidence, that,     ·5·
                                                                ·event, when the witness is on the stand or being called
·6·
  ·you know, we're now moving into that period, explain       ·6·
                                                                ·to the stand, and the question is, will there be
·7·
  ·why.                                                       ·7·
                                                                ·confidential information.
·8·
  · · · · · · · ·And different courts do it in different      ·8·
                                                                · · · · · · · ·I should add one more point that's
·9·
  ·ways.··Some do it before the start of the hearing day,     ·9·
                                                                ·important in this context.··This is just for the
10·
  ·some do it before the start of the witness, some do it     10·
                                                                ·parties' information.··We're talking about, right,
11·
  ·before the entire proceedings, sort of -- it's harder,     11·
                                                                ·there are -- Kroger has confidential information --
12·
  ·by the way, before the entire proceeding, because, as      12·
                                                                ·Albertsons and C&S can speak for themselves -- but, I
13·
  ·things develop, it may not come up, so you sort of have    13·
                                                                ·believe, for sure, they do as well.
14·
  ·to do more work, in advance.··It's easier to do it on a    14·
                                                                · · · · · · · ·These cases also involve third-party
15·
  ·day-by-day or witness-by-witness basis.                    15·
                                                                ·information.··There are other competitors in the
16·
  · · · · · · · ·I will just tell you, from experience,       16·
                                                                ·marketplace, and we have their data, through discovery,
17·
  ·which is why I think this -- the supplemental order        17·
                                                                ·and they are not going to want that -- some of that
18·
  ·that we had submitted had a sort of rolling protocol,      18·
                                                                ·disclosed publicly.··So, we have to coordinate with
19·
  ·where things would be identified in stages, in advance,    19·
                                                                ·them, the parties do, and give them notice; and, then,
20·
  ·precisely for that reason; that it may not be necessary    20·
                                                                ·they have a right to come in and make a showing; and,
21·
  ·to do the work, if a witness comes off a list, or the      21·
                                                                ·again, if that witness of a third party is not going to
22·
  ·exhibit comes off the list, and something like that,       22·
                                                                ·be called, then all of that work is sort of wasted, if
23·
  ·because, yes, Your Honor would have to ultimately make     23·
                                                                ·it's done a month in advance, whereas at trial, or on
24·
  ·the required finding, that this competitively sensitive    24·
                                                                ·the eve of trial, it's much more efficient to know
25·
  ·information is justifying a limited closure of the         25·
                                                                ·who's actually coming .

                                                    Page 22                                                         Page 24
·1·
  ·courtroom, to protect the competitive process.··We         ·1·
                                                                · · · · · · · ·JUDGE LUXEN:··What happens, then, if
·2·
  ·would be assuring the public's general right of access     ·2·
                                                                ·Grocery Store A -- there's material that's been learned
·3·
  ·to the court.                                              ·3·
                                                                ·through discovery, about Grocery Store A, which is the
·4·
  · · · · · · · ·JUDGE LUXEN:··Your experience, though, is    ·4·
                                                                ·competitor, or potential competitor, and the attorney
·5·
  ·that doing it all in advance is less efficient or          ·5·
                                                                ·general wants to introduce the evidence.··And the
·6·
  ·doesn't provide the same kind of clarity that doing it     ·6·
                                                                ·general counsel for Grocery Store A says, "Gosh, we
·7·
  ·as the trial unfolds would provide, because of the         ·7·
                                                                ·have a problem."
·8·
  ·shifting landscape of the evidence, et cetera.             ·8·
                                                                · · · · · · · ·How does that get sorted out?··Do we have
·9·
  · · · · · · · ·MR. PERRY:··That's correct, Your Honor.      ·9·
                                                                ·a hearing before that evidence gets put on, the morning
10·
  ·I mean, we can do it, conceivably, in advance.··In         10·
                                                                ·that evidence is expected to be presented?
11·
  ·other words, we could give the Court some examples of      11·
                                                                · · · · · · · ·MR. PERRY:··So, Your Honor, my own
12·
  ·documents or witness testimony, that would be the kinds    12·
                                                                ·experience is with the FTC, it is not with the Colorado
13·
  ·of things that will come up, so that you'll understand,    13·
                                                                ·Attorney General, but regulators, in general, I believe
14·
  ·you know, what you are about to be hearing.                14·
                                                                ·the balance that Mr. Biller describes is always
15·
  · · · · · · · ·But the witness by witness, or document      15·
                                                                ·present, that public access is good.··But these are
16·
  ·by document, it takes a lot of time, I will just tell      16·
                                                                ·antitrust cases.··We don't want competitive -- nobody
17·
  ·you that, by the parties, right, because you have to go    17·
                                                                ·wants sensitive information to be released.··What I was
18·
  ·almost line by line through a deposition transcript, or    18·
                                                                ·saying is, there is often agreement, amongst the
19·
  ·through a document -- just take a document.··If it's a     19·
                                                                ·parties and, then, a court joint presentation is made.
20·
  ·financial statement, it may never require -- it may        20·
                                                                · · · · · · · ·I would tell you that disagreements do
21·
  ·require enormous redactions.··If the propounding party     21·
                                                                ·arise.··Often third parties want over-inclusive
22·
  ·decides not to use that document, then, that would be      22·
                                                                ·proceedings, right, because they don't want -- they are
23·
  ·hours of time that was sort of not necessary, until we     23·
                                                                ·not party to the case, and they, basically, don't want
24·
  ·get there.                                                 24·
                                                                ·anything said about them on the public record.
25·
  · · · · · · · ·That's the issue.··It's a very practical     25·
                                                                · · · · · · · ·And there may be disputes that the Court


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·1·
  ·will have to resolve.··I am not aware of anything in         ·1·
                                                                  ·find -- the parties present a more general outline of
·2·
  ·this case, right now.··I will tell you, just from past       ·2·
                                                                  ·how they expect potential closures to play out?
·3·
  ·experience, there are notice requirements, in the            ·3·
                                                                  · · · · · · · ·MR. PERRY:··Your Honor, I'm not sure
·4·
  ·protective order, and so forth.··In other words, if a        ·4·
                                                                  ·we've discussed it in this level of granularity with
·5·
  ·third party is going to be called, a document is going       ·5·
                                                                  ·the Attorney General, but the standard, in Federal
·6·
  ·to be used, the parties have to tell them, that party        ·6·
                                                                  ·court -- and I think it's a similar thing we're talking
·7·
  ·either has a right to object or not object.                  ·7·
                                                                  ·about in this court -- is competitively sensitive
·8·
  · · · · · · · ·And it will be the case, I predict, that       ·8·
                                                                  ·information.··What does that mean, right?··Usually it
·9·
  ·a few of those will come to the Court's attention for        ·9·
                                                                  ·means current pricing, current, you know, it doesn't
10·
  ·resolution, I suspect most of them, if they don't get        10·
                                                                  ·mean price from 10 years ago, but current pricing
11·
  ·resolved by negotiation and the back and forth of the        11·
                                                                  ·information, current competitively sensitive landscape
12·
  ·parties.··I do expect the protocol -- I don't want to        12·
                                                                  ·information.
13·
  ·whitewash this, Your Honor -- I do expect there would        13·
                                                                  · · · · · · · ·My own view -- and, again, I have not
14·
  ·be some disputes that the Court will have to resolve         14·
                                                                  ·discussed this with the Attorney General, so I wish to
15·
  ·during the hearing, on the scope, I mean, there will be      15·
                                                                  ·make that clear -- would be that we could make a
16·
  ·some concern, probably, of competitive sensitive             16·
                                                                  ·presentation to the Court, at the final prehearing
17·
  ·information for every witness, about how broad that          17·
                                                                  ·conference of the parties, views, either joint or
18·
  ·protection is.                                               18·
                                                                  ·separate, on what the general contours of the
19·
  · · · · · · · ·What judges often do is sort of establish      19·
                                                                  ·comprehensive sensitive information are, that would
20·
  ·a standard, and apply it, you know, pretty much to all       20·
                                                                  ·be -- that would warrant redactions or closure, that,
21·
  ·witnesses, because that's what judges do.··The Court         21·
                                                                  ·then, could be applied in particular circumstances.
22·
  ·will conduct the hearing, as it wishes.··That's been         22·
                                                                  · · · · · · · ·And I do think it would be helpful to the
23·
  ·the observation, I think.                                    23·
                                                                  ·parties, and the Court, to give a few examples of
24·
  · · · · · · · ·JUDGE LUXEN:··What happens when the            24·
                                                                  ·things that we do think are in that category, you know,
25·
  ·Denver Post raises their hand and says, "We don't think      25·
                                                                  ·specific documents, rather than concepts.··I think we

                                                      Page 26                                                         Page 28
·1·
  ·the courtroom should be closed"?                             ·1·
                                                                  ·can all agree on concepts.··The hard part is looking at
·2·
  · · · · · · · ·MR. PERRY:··Your Honor, this goes back to      ·2·
                                                                  ·the document and saying, is that document within the
·3·
  ·the standard, under Colorado Rule 42(c), or the Federal      ·3·
                                                                  ·concept.
·4·
  ·equivalent, and, then, of course, the First Amendment        ·4·
                                                                  · · · · · · · ·JUDGE LUXEN:··For Albertsons.
·5·
  ·overlay, the right of the public access is strong but        ·5·
                                                                  · · · · · · · ·MS. MAINIGI:··Your Honor, we're in
·6·
  ·not absolute.··It is very important -- free press is         ·6·
                                                                  ·agreement with Kroger's counsel.··We don't really have
·7·
  ·very important to all of us.                                 ·7·
                                                                  ·anything to add on this particular issue.
·8·
  · · · · · · · ·At the same time, this is information          ·8·
                                                                  · · · · · · · ·JUDGE LUXEN:··For C&S.
·9·
  ·that is not part of the public record.··These are            ·9·
                                                                  · · · · · · · ·MS. HYNES:··We're also in agreement.··I
10·
  ·confidential secrets of corporations, right, that would      10·
                                                                  ·would just add that C&S does have a particular interest
11·
  ·not be disclosed to shareholders, and there are              11·
                                                                  ·in protecting its confidential information here.
12·
  ·concerns with moving markets, with people making trades      12·
                                                                  ·Throughout the discovery process, C&S has produced
13·
  ·with this information becoming available, there are          13·
                                                                  ·information about virtually every aspect of its
14·
  ·employment decisions at issue, there are, you know,          14·
                                                                  ·forward-looking business plan, for how it would run the
15·
  ·very competitive sensitive information.··That is the         15·
                                                                  ·divestiture business.
16·
  ·balance that is struck.                                      16·
                                                                  · · · · · · · ·And, so, it's quite important to be able
17·
  · · · · · · · ·I'm not aware of a case -- we can              17·
                                                                  ·to protect things, like pricing strategies, market
18·
  ·certainly look, Your Honor -- where the press has            18·
                                                                  ·strategies, and other things, that will go to the core
19·
  ·actually litigated that issue.··It tends to be limited       19·
                                                                  ·of how C&S intends to compete, with these assets, in
20·
  ·closure, and it tends to be limited to information that      20·
                                                                  ·the market.··So, I will just agree with everything that
21·
  ·is not public already, therefore, it is competitively        21·
                                                                  ·Mr. Perry said, and add that for C&S.
22·
  ·sensitive.                                                   22·
                                                                  · · · · · · · ·JUDGE LUXEN:··Mr. Biller.
23·
  · · · · · · · ·JUDGE LUXEN:··Your experience -- maybe I       23·
                                                                  · · · · · · · ·MR. BILLER:··Thank you, Your Honor.··So,
24·
  ·am conflating these two things -- but, is it correct         24·
                                                                  ·my colleague, Steve Kaufman, has been a little bit
25·
  ·that your experience and your proposal is that you           25·
                                                                  ·closer to these discussions.··And, if it's okay, I


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·1·
  ·would like to pass it to him to just add a few points.       ·1·
                                                                  ·agreement has been designated as highly confidential in
·2·
  · · · · · · · ·JUDGE LUXEN:··Mr. Kaufman.                     ·2·
                                                                  ·all filings with the Court.··So, I think that when
·3·
  · · · · · · · ·MR. KAUFMAN:··Good afternoon, Your Honor.      ·3·
                                                                  ·we're getting to presentations, for trial, we'll be
·4·
  ·Steve Kaufman, on behalf of the state.                       ·4·
                                                                  ·able to backtrack a bit, and the parties will be able
·5·
  · · · · · · · ·I agree with the things articulated by         ·5·
                                                                  ·to backtrack on that significantly.
·6·
  ·Mr. Perry.··I would like to fill in a few more open          ·6·
                                                                  · · · · · · · ·I have been involved in litigation where
·7·
  ·places I think would help clarify the issue; that, for       ·7·
                                                                  ·the press has been involved.··Just last year, I was
·8·
  ·third-party information, the type of information we're       ·8·
                                                                  ·involved in a case where the New York Times intervened
·9·
  ·talking about is testimony and data.··The data would         ·9·
                                                                  ·and sought broader disclosure.
10·
  ·probably come in through expert reports --                   10·
                                                                  · · · · · · · ·I have two comments about that.··One is a
11·
  · · · · · · · · · ··(Off the record.)                         11·
                                                                  ·cautionary one.··The New York Times articles that they
12·
  · · · · · · · ·MR. KAUFMAN:··I apologize.··I will try to      12·
                                                                  ·published, as well as the published articles about the
13·
  ·speak up a bit.··The data would probably come in             13·
                                                                  ·case from the other press, put significant pressure on
14·
  ·through expert reports, and there are mechanisms by          14·
                                                                  ·the parties and the Court to open things up more than
15·
  ·which the data, for the particular competitors, could        15·
                                                                  ·the Judge was willing to do at the beginning of the
16·
  ·be anonymized, or put within summary types of data, in       16·
                                                                  ·case.··I think he was respecting the defendants and
17·
  ·what is presented to the Court, and there could be some      17·
                                                                  ·nonparties overbroad assertions of protections, and the
18·
  ·other in camera submissions.                                 18·
                                                                  ·publication of those had an effect on the Judge.
19·
  · · · · · · · ·To the third-party testimony, I believe        19·
                                                                  · · · · · · · ·Further, the parties -- the New York
20·
  ·that most of the third-party testimony, in this case,        20·
                                                                  ·Times intervention in the case also pushed parties and
21·
  ·will actually be coming in by deposition.··Most of the       21·
                                                                  ·nonparties to be more judicious in their designations
22·
  ·third parties -- I'm sorry, Your Honor.··I think             22·
                                                                  ·of confidentiality.··That's not to say that, even with
23·
  ·there's some background noise from someone else's line.      23·
                                                                  ·that intervention, that the Court still oftentimes
24·
  · · · · · · · · · ··(Off the record.)                         24·
                                                                  ·found that there was competitively sensitive
25·
  · · · · · · · ·JUDGE LUXEN:··It can be mine too.              25·
                                                                  ·information, that either had to be reviewed in camera,

                                                      Page 30                                                         Page 32
·1·
  · · · · · · · ·MR. KAUFMAN:··Your Honor, the third-party      ·1·
                                                                  ·or through a redaction that was presented in open
·2·
  ·testimony, because the third-party witnesses are             ·2·
                                                                  ·court.
·3·
  ·largely out of state, and unlike the Federal                 ·3·
                                                                  · · · · · · · ·The final issue that I would note, Your
·4·
  ·government, we do not have nationwide power.··So, that       ·4·
                                                                  ·Honor, is that your findings of fact and conclusions of
·5·
  ·testimony will largely be coming in by deposition, and       ·5·
                                                                  ·law, in this case, will necessarily have to also rely
·6·
  ·that could be done on an in camera basis, without the        ·6·
                                                                  ·on some of the confidential information that's here.
·7·
  ·need to provide that, or, certainly, the depositions         ·7·
                                                                  ·What the courts typically do with that is they will
·8·
  ·could be redacted in a way that the public versions of       ·8·
                                                                  ·issue their findings of fact and conclusions of law
·9·
  ·them were more limited.                                      ·9·
                                                                  ·only to the parties of the case, and, then, it's the
10·
  · · · · · · · ·I agree with what Mr. Parry suggested, in      10·
                                                                  ·burden on the parties to come back to the court to
11·
  ·terms of the court setting out some general guidelines       11·
                                                                  ·suggest redactions of that, for a publicly released
12·
  ·and expectations, for example, in a final pretrial           12·
                                                                  ·version, that can be provided at a later time.
13·
  ·conference, or even at an earlier conference, where the      13·
                                                                  · · · · · · · ·JUDGE LUXEN:··I would be interested in
14·
  ·parties could provide some examples of information, and      14·
                                                                  ·examples of that, you know, this is not a national
15·
  ·the Court could give guidance that would inform the          15·
                                                                  ·security court.··This is a state district court.··We
16·
  ·proceedings going forward in a very significant way.         16·
                                                                  ·don't do things in secret.··So, I'm very curious about
17·
  · · · · · · · ·I think that one of the things we've seen      17·
                                                                  ·that last point, Mr. Kaufman.
18·
  ·here is that, during the discovery process, parties and      18·
                                                                  · · · · · · · ·MR. KAUFMAN:··Yes, Your Honor.··I think
19·
  ·nonparties tend to over-designate confidential               19·
                                                                  ·we could provide some examples of that, but it's not
20·
  ·information, but when it comes to trial, the specific        20·
                                                                  ·uncommon for courts to issue orders where there is
21·
  ·information that might be used at trial can often be         21·
                                                                  ·specific competitive information that is just blacked
22·
  ·viewed in a public context.                                  22·
                                                                  ·out, but the substance of the court's order is the
23·
  · · · · · · · ·For example, there are significant             23·
                                                                  ·majority of the reasoning and the detailed facts
24·
  ·aspects of the party divestiture agreement, that are         24·
                                                                  ·supporting the reasoning, are, for the most part, in
25·
  ·already in the public domain, whereas that divestiture       25·
                                                                  ·public view, but there are a few minor portions that


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·1·
  ·get redacted.                                                ·1·
                                                                  ·something, or there's not something in there that would
·2·
  · · · · · · · ·JUDGE LUXEN:··Thank you.··Any comments on      ·2·
                                                                  ·create a problem.
·3·
  ·those things, Mr. Perry?                                     ·3·
                                                                  · · · · · · · ·I'm sure we could discuss that, you know,
·4·
  · · · · · · · ·MR. PERRY:··Thank you, Your Honor, and         ·4·
                                                                  ·when it's ripe, or towards -- right now, it's a little
·5·
  ·very briefly.··As I said, I don't think we're in a           ·5·
                                                                  ·in advance, but we can certainly give you examples.
·6·
  ·great disagreement here.··I would just note that, when       ·6·
                                                                  ·I'm sure both sides could find some, where Federal
·7·
  ·the state talks about the over-designation, there is a       ·7·
                                                                  ·courts, and in merger cases, and other antitrust cases,
·8·
  ·dynamic here.··The state, as a regulator, tends to want      ·8·
                                                                  ·have done that, because it's a fairly common thing, in
·9·
  ·more information on the record, because they have got        ·9·
                                                                  ·these kind of cases, not every case, to be clear, but
10·
  ·no secrets to hide; and the companies tend to want more      10·
                                                                  ·it is not uncommon, Your Honor.
11·
  ·kept secret, because they are trying to run a business.      11·
                                                                  · · · · · · · ·JUDGE LUXEN:··Anything further for
12·
  · · · · · · · ·And it's that dynamic that you have to         12·
                                                                  ·Albertsons on these issues?
13·
  ·deal with down the road.··I am just previewing that,         13·
                                                                  · · · · · · · ·MS. MAINIGI:··No, Your Honor.
14·
  ·right?··I'm also previewing, however, that generally         14·
                                                                  · · · · · · · ·JUDGE LUXEN:··For C&S.
15·
  ·these things are handled by negotiation and agreement,       15·
                                                                  · · · · · · · ·MS. HYNES:··No, Your Honor.
16·
  ·rather than presenting everything to you for dispute,        16·
                                                                  · · · · · · · ·JUDGE LUXEN:··I've expressed my
17·
  ·you know, there's that.                                      17·
                                                                  ·skepticism, under Rule 42, about closing the courtroom.
18·
  · · · · · · · ·Mr. Kaufman is exactly right on many           18·
                                                                  ·I've heard parties thoughts on a way forward.
19·
  ·things, but, especially on this issue, it is much less       19·
                                                                  · · · · · · · ·It sounds to me like what may make the
20·
  ·problematic for documents, depositions, transcripts,         20·
                                                                  ·most sense is to allow you to continue to confer, and
21·
  ·expert reports, other written materials.··The parties        21·
                                                                  ·when we come together, at our second or final
22·
  ·can agree on redactions, and submit them in advance.         22·
                                                                  ·prehearing conference -- call it our, "second
23·
  ·The Court can review that, at the hearing, with the          23·
                                                                  ·prehearing," in case we need another one, after this,
24·
  ·unredacted version.··If there's dispute about                24·
                                                                  ·that -- or after that one, that the parties propose
25·
  ·redactions, this is easier to address either before or       25·
                                                                  ·what they would like to do with respect to the

                                                      Page 34                                                         Page 36
·1·
  ·afterwards.                                                  ·1·
                                                                  ·courtroom closure, indicate to me what they believe the
·2·
  · · · · · · · ·The issue, actually, is more difficult,        ·2·
                                                                  ·standard I should apply to closing courtroom is, and,
·3·
  ·with witnesses, where we request closing the courtroom,      ·3·
                                                                  ·then, we can proceed from there.
·4·
  ·which I think was the Court's original question, right,      ·4·
                                                                  · · · · · · · ·I'm amenable to the concept of a daily
·5·
  ·because I don't quite know what they are going to say.       ·5·
                                                                  ·update, or a daily presentation in the morning, before
·6·
  ·That's why we try to break it up into modules.               ·6·
                                                                  ·we begin presentation of evidence, about when, during
·7·
  · · · · · · · ·The last thing I would note, on the            ·7·
                                                                  ·the day, with which witness, et cetera, the parties
·8·
  ·order, the Court does not operate in secret.··Nobody is      ·8·
                                                                  ·believe the courtroom could be closed, instead of doing
·9·
  ·asking the Court to operate in secret.                       ·9·
                                                                  ·that all at once, in advance of beginning the hearing
10·
  · · · · · · · ·The Court has many options.··The Court         10·
                                                                  ·on August 12th.··That seems reasonable to me and
11·
  ·could issue a ruling, the injunction is granted, the         11·
                                                                  ·ultimately may be a more efficient use of everybody's
12·
  ·injunction is denied, an opinion, so the public knows        12·
                                                                  ·time.
13·
  ·what the answer is.··This could speed things up too.         13·
                                                                  · · · · · · · ·Any questions on or thoughts on those
14·
  ·And we're talking about a stipulation and issuing a          14·
                                                                  ·comments, Mr. Perry?
15·
  ·decision.                                                    15·
                                                                  · · · · · · · ·MR. PERRY:··That sounds like a good path
16·
  · · · · · · · ·Some courts go through and do, you know,       16·
                                                                  ·forward to Kroger, Your Honor.
17·
  ·make sure their decision is entirely based on public         17·
                                                                  · · · · · · · ·JUDGE LUXEN:··For Albertsons?
18·
  ·information.··That's fine.··Some courts decide that          18·
                                                                  · · · · · · · ·MS. MAINIGI:··Us as well, Your Honor.
19·
  ·what's in their decision is, by definition, public           19·
                                                                  · · · · · · · ·JUDGE LUXEN:··C&S.
20·
  ·information.··That's, you know, a way that it is.            20·
                                                                  · · · · · · · ·MS. HYNES:··Same, Your Honor.
21·
  · · · · · · · ·In cases where there's a significant           21·
                                                                  · · · · · · · ·JUDGE LUXEN:··For the state.
22·
  ·amount of confidential information, my experience is         22·
                                                                  · · · · · · · ·MR. KAUFMAN:··Your Honor, that sounds
23·
  ·the same as Mr. Kaufman's; the courts do often issue a       23·
                                                                  ·like a good plan.··Thank you.
24·
  ·version for the parties, and hold it for a short period      24·
                                                                  · · · · · · · ·JUDGE LUXEN:··Thank you.··Well, we
25·
  ·of time, just to make sure that they didn't miss             25·
                                                                  ·started -- I think, Ms. Pfaffenroth, you were -- is


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·1·
  ·that where we were?··I don't remember now.                   ·1·
                                                                  ·specific procedure for permitting remote testimony,
·2·
  · · · · · · · ·MR. BILLER:··Your Honor, Arthur Biller         ·2·
                                                                  ·including a three-day response period.··What I would
·3·
  ·for Colorado.··I think we were just going to run             ·3·
                                                                  ·like to do is provide some definition to that.
·4·
  ·through some of the issues.··So that confidentiality         ·4·
                                                                  · · · · · · · ·I am going to order that motions that are
·5·
  ·and closing the courtroom was the first one.                 ·5·
                                                                  ·not stipulated to, for remote testimony, under Rule
·6·
  · · · · · · · ·JUDGE LUXEN:··Great.                           ·6·
                                                                  ·43(I), be filed no later than Friday, August 2nd,
·7·
  · · · · · · · ·MR. BILLER:··So we can move onto the next      ·7·
                                                                  ·responses due within three days of reply, and, then, I
·8·
  ·couple of items.                                             ·8·
                                                                  ·will give parties just about a week, in case there's
·9·
  · · · · · · · ·So, the other thing that the parties are       ·9·
                                                                  ·some dispute about remote testimony, and who is allowed
10·
  ·working on, as I think Mr. Perry previewed, is a joint       10·
                                                                  ·to appear via Webex, more notice than not, to make
11·
  ·pretrial order.··And this will largely address               11·
                                                                  ·those travel arrangements.
12·
  ·logistical issues.··And we would intend to submit that       12·
                                                                  · · · · · · · ·If there's agreement about remote
13·
  ·before the next prehearing conference.                       13·
                                                                  ·testimony, I don't believe you need to file it, a Rule
14·
  · · · · · · · ·It will address issues like courtroom          14·
                                                                  ·43 motion.··If everyone agrees, it's fine for a witness
15·
  ·technology, use of demonstratives, and including             15·
                                                                  ·to appear remotely.··I don't need to see a motion.
16·
  ·exchanging demonstratives, between the parties,              16·
                                                                  ·It's only if there is disagreement about remote, travel
17·
  ·sequestering fact witnesses.··Obviously, closing the         17·
                                                                  ·and due risk, or of the Rule 43 requirements.
18·
  ·courtroom, as we were just talking about, and how to         18·
                                                                  · · · · · · · ·Any other things you identified,
19·
  ·track time used during the course of the hearings,           19·
                                                                  ·Mr. Biller, in the prehearing order?··All sounds fine
20·
  ·between each side.··And, potentially, some other             20·
                                                                  ·to me.··Do you expect any of the lawyers will be
21·
  ·issues, like opening and closing statements.··So,            21·
                                                                  ·conducting examination or presenting evidence to be
22·
  ·that's sort of what we're working on and contemplating       22·
                                                                  ·remote?
23·
  ·for that.                                                    23·
                                                                  · · · · · · · ·MR. BILLER:··No, Your Honor.··The lawyers
24·
  · · · · · · · ·And, happy to answer any questions, or,        24·
                                                                  ·that would be conducting exams would all be live.
25·
  ·if there's anything else that the Court thinks should        25·
                                                                  · · · · · · · ·One of the things that we would like

                                                      Page 38                                                         Page 40
·1·
  ·be included.                                                 ·1·
                                                                  ·to -- the Court's guidance on is there will be lawyers
·2·
  · · · · · · · ·JUDGE LUXEN:··I want to talk about remote      ·2·
                                                                  ·that will be observing remotely, and part of that would
·3·
  ·witnesses.··Do you anticipate calling any remote             ·3·
                                                                  ·involve sort of the mechanism for doing that, and
·4·
  ·witnesses under Rule 43?                                     ·4·
                                                                  ·whether we would have Webex streaming of the
·5·
  · · · · · · · ·MR. BILLER:··I don't think so.··That's         ·5·
                                                                  ·proceedings, and sort of how we set up cameras for
·6·
  ·something that the parties haven't discussed at this         ·6·
                                                                  ·those, obviously.··And we would have to kind of figure
·7·
  ·point.··From our perspective, the witnesses would be         ·7·
                                                                  ·out a way to do that, with respect to the public and,
·8·
  ·live, but that would be subject to other, whether, you       ·8·
                                                                  ·also, with respect to the counsel.
·9·
  ·know, someone says that's not possible, for some reason      ·9·
                                                                  · · · · · · · ·And sometimes there are different feeds
10·
  ·and, you know, and we'll have to look at whether it          10·
                                                                  ·or sort of the breakout rooms, that you can use within
11·
  ·meets the requirements of the rules.                         11·
                                                                  ·video conferencing technology.··Sometimes you might,
12·
  · · · · · · · ·JUDGE LUXEN:··For Kroger, do you expect        12·
                                                                  ·you know, turn certain cameras on and off.··So, that's
13·
  ·to call any remote witnesses?                                13·
                                                                  ·something that I think the parties have to work through
14·
  · · · · · · · ·MR. PERRY:··We are not currently               14·
                                                                  ·as well, but if the Court has any direction, as we
15·
  ·expecting that.··As Mr. Biller said, we have not             15·
                                                                  ·discuss that, we would appreciate it.
16·
  ·suggested that or discussed that.··I would propose that      16·
                                                                  · · · · · · · ·JUDGE LUXEN:··We have a technology
17·
  ·we put that on the list, for the parties to discuss,         17·
                                                                  ·called, "Live Streaming," which is now been set up in
18·
  ·and include a section on it in the joint PTO.··We still      18·
                                                                  ·this courtroom.··My plan, for the preliminary
19·
  ·have Covid, among other things, so it's probably worth       19·
                                                                  ·injunction hearing/trial on the merits, is to ask that
20·
  ·discussing reality.                                          20·
                                                                  ·the only people who are on Webex are people who are
21·
  · · · · · · · ·JUDGE LUXEN:··For Albertsons.                  21·
                                                                  ·attorneys, who are participating remotely, as in your
22·
  · · · · · · · ·MS. MAINIGI:··Agree, Your Honor.               22·
                                                                  ·conducting some kind of examination, or you have some
23·
  · · · · · · · ·JUDGE LUXEN:··For C&S.                         23·
                                                                  ·other reason to address the Court and witnesses, who
24·
  · · · · · · · ·MS. HYNES:··Agree, Your Honor.                 24·
                                                                  ·potentially would be appearing remotely.
25·
  · · · · · · · ·JUDGE LUXEN:··Rule 43(I) has a very            25·
                                                                  · · · · · · · ·Everyone else, the general public,


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·1·
  ·counsel, members of your team, would all watch the           ·1·
                                                                  ·that, the live stream issue?
·2·
  ·proceeding through live stream, which is a separate          ·2·
                                                                  · · · · · · · ·MR. PERRY:··No comments on the live
·3·
  ·Website.··I think I included it in my amended case           ·3·
                                                                  ·stream issue.··Understood, Your Honor.··It does raise a
·4·
  ·management order.··We can certainly share that link,         ·4·
                                                                  ·broader technology issue, that I think is on the list
·5·
  ·again.                                                       ·5·
                                                                  ·to discuss with you, but just putting a placeholder for
·6·
  · · · · · · · ·And, essentially, it is like watching          ·6·
                                                                  ·that.
·7·
  ·television.··It is noninteractive.··We have a Website,       ·7·
                                                                  · · · · · · · ·JUDGE LUXEN:··Great.··For Albertsons.
·8·
  ·run by the state of Colorado, that allows anyone to          ·8·
                                                                  · · · · · · · ·MS. MAINIGI:··No, Your Honor.··It all
·9·
  ·watch the proceedings.··There would be two cameras that      ·9·
                                                                  ·makes sense.
10·
  ·the Court controls.··One would point at me, the other        10·
                                                                  · · · · · · · ·JUDGE LUXEN:··For C&S.
11·
  ·one would be a broad or wide shot of counsel table, the      11·
                                                                  · · · · · · · ·MS. HYNES:··Nothing to add, Your Honor.
12·
  ·podium, and the witness who's testifying here in court.      12·
                                                                  · · · · · · · ·JUDGE LUXEN:··What else, Mr. Biller?
13·
  · · · · · · · ·It would, then, fall on the parties to         13·
                                                                  · · · · · · · ·MR. BILLER:··So, in terms of the
14·
  ·arrange a camera that would point at the person              14·
                                                                  ·technology, we would be looking to the Court to provide
15·
  ·conducting the examination.··So, you would,                  15·
                                                                  ·a day, in advance of the hearing, where everybody could
16·
  ·essentially, need a laptop or iPad, or something that        16·
                                                                  ·come in and set up their technology.··So if we want to
17·
  ·has a camera feature, that could go on the podium, or        17·
                                                                  ·try to do that now, that's something that we would
18·
  ·wherever it is you're conducting your examination from,      18·
                                                                  ·need.
19·
  ·so the person who is -- so whoever might be watching         19·
                                                                  · · · · · · · ·JUDGE LUXEN:··If you would like to
20·
  ·the live stream can see who it is that's talking.            20·
                                                                  ·confer -- we can do it a couple of different ways.
21·
  · · · · · · · ·The way your images and sound appear on        21·
                                                                  ·Everybody can bring their own technology team in.
22·
  ·the live stream is through Webex.··Webex is the program      22·
                                                                  ·Parties can confer and organize one team of people to
23·
  ·vehicle that allows the sound and the images to come         23·
                                                                  ·arrange all of the technology.
24·
  ·together on the live stream.··So, you would still use        24·
                                                                  · · · · · · · ··I think, at this point, most of you have
25·
  ·the Webex technology.                                        25·
                                                                  ·been in the courtroom and seen the limitation of what

                                                      Page 42                                                         Page 44
·1·
  · · · · · · · ·It would be -- the main difference is,         ·1·
                                                                  ·we have here.··You're able to coordinate that through
·2·
  ·instead of what we're doing now, which I understand can      ·2·
                                                                  ·the division e-mail address, which should be --
·3·
  ·tax the bandwidth, when there are more people than we        ·3·
                                                                  · · · · · · · ·(Discussion off the record between Judge
·4·
  ·have right now watching.··Further, it reduces the            ·4·
                                                                  ·Luxen and Ms. French.)
·5·
  ·opportunity for people, who are not parties, to somehow      ·5·
                                                                  · · · · · · · ·JUDGE LUXEN:··So, that's the e-mail
·6·
  ·unmute their microphones, or do some other thing on          ·6·
                                                                  ·address everybody has been using for other purposes.
·7·
  ·camera, that's completely taken out of the equation.         ·7·
                                                                  ·You can just reach out to that e-mail address and
·8·
  ·Everybody would just be able to watch, like you would        ·8·
                                                                  ·arrangements can be made.
·9·
  ·your television at home.                                     ·9·
                                                                  · · · · · · · ·MR. BILLER:··Understood, Your Honor.
10·
  · · · · · · · ·So, that's kind of the logistics on the        10·
                                                                  ·Thank you.
11·
  ·broadcasting piece, the remote participation piece, at       11·
                                                                  · · · · · · · ·JUDGE LUXEN:··What else, Mr. Biller?
12·
  ·this point in time.··Questions, comments on that, Mr.        12·
                                                                  · · · · · · · ·MR. BILLER:··Does the Court have any
13·
  ·Biller?                                                      13·
                                                                  ·preferences in terms of technology that the parties
14·
  · · · · · · · ·MR. BILLER:··That all makes sense, Your        14·
                                                                  ·might be able to bring in?
15·
  ·Honor.··Thank you.··That's very helpful to know.             15·
                                                                  · · · · · · · ·JUDGE LUXEN:··Your short answer is, no.
16·
  · · · · · · · ·JUDGE LUXEN:··I believe Ms. French is          16·
                                                                  ·The two monitors that I have, on my table, are just my
17·
  ·going to share that live stream link with you.··This is      17·
                                                                  ·computers.··If you want me to have a screen, so I can
18·
  ·being live streamed now, and, so, you are able to go         18·
                                                                  ·view electronic images, or evidence, or whatever it
19·
  ·and look at it on the state live stream page.                19·
                                                                  ·might be, you're welcome to have one of those set up.
20·
  · · · · · · · ·My thought is that I will start each day       20·
                                                                  · · · · · · · ·The TV that's in the courtroom will be
21·
  ·and say, if you are here to participate remotely, or         21·
                                                                  ·available to you.··In the 18 months I have been here,
22·
  ·would like to watch and listen to the preliminary            22·
                                                                  ·people have done all kinds of things.··We have had
23·
  ·injunction hearing, please go to the live stream             23·
                                                                  ·projectors, put images up on the wall, it really is
24·
  ·address and not here on Webex.                               24·
                                                                  ·kind of up to you.··I don't have very strong
25·
  · · · · · · · ·For Kroger, any thoughts or comments on        25·
                                                                  ·preferences.


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                                                      Page 45                                                         Page 47
·1·
  · · · · · · · ·MR. BILLER:··Understood.··Thank you.           ·1·
                                                                  · · · · · · · ·Now, here's a scenario where we do have
·2·
  · · · · · · · ·JUDGE LUXEN:··What else?                       ·2·
                                                                  ·potentially divergent issues, so it may be a bit of an
·3·
  · · · · · · · ·MR. BILLER:··So, then, I think one other       ·3·
                                                                  ·imbalance.··I would suggest, on this one, as some of
·4·
  ·question, well, I guess, two other questions the             ·4·
                                                                  ·the others, if we talk to the state, perhaps we're all
·5·
  ·parties have.··One is, the Court's pretrial procedures       ·5·
                                                                  ·in agreement, if the Court doesn't have guidance for
·6·
  ·require an order of proof for trial.··Would the Court        ·6·
                                                                  ·us.··If we don't have agreement, we can come back to
·7·
  ·like an order of proof for the preliminary injunction        ·7·
                                                                  ·you.··I'm not sure we do have disagreement, by the way.
·8·
  ·hearing?                                                     ·8·
                                                                  ·We just haven't talked about it.
·9·
  · · · · · · · ·JUDGE LUXEN:··Yes, please.··I would also       ·9·
                                                                  · · · · · · · ·JUDGE LUXEN:··For Albertsons.
10·
  ·appreciate good faith estimates of direct, cross, and        10·
                                                                  · · · · · · · ·MS. MAINIGI:··Agree, Your Honor.··I think
11·
  ·redirect.··Is there going to be separate examination by      11·
                                                                  ·we just need to discuss it, and I suspect we can come
12·
  ·each of the three defendants of witnesses?                   12·
                                                                  ·up with an agreement.
13·
  · · · · · · · ·MR. PERRY:··Your Honor, I will start,          13·
                                                                  · · · · · · · ·JUDGE LUXEN:··For C&S.
14·
  ·unless Mr. Biller would like to take a stab at that          14·
                                                                  · · · · · · · ·MS. HYNES:··Agree, Your Honor.··We can
15·
  ·one.                                                         15·
                                                                  ·come up with an agreement.
16·
  · · · · · · · ·I suspect we will, for most witnesses,         16·
                                                                  · · · · · · · ·JUDGE LUXEN:··I'll ask the parties to
17·
  ·have a single counsel, or at least a primary counsel.        17·
                                                                  ·confer, and, then, when we come back together, if
18·
  ·We are acutely conscious of the Court's time and its         18·
                                                                  ·there's disagreement, we can talk about it further.
19·
  ·need for efficient proceedings.··We have been                19·
                                                                  · · · · · · · ·While we're on the subject, on when we
20·
  ·coordinating, among ourselves, of course, for                20·
                                                                  ·come back together, we had scheduled Friday, August 9th
21·
  ·discovery, and so forth, in that way.                        21·
                                                                  ·at 9 a.m.··I would like to move that forward.
22·
  · · · · · · · ·I don't want to say there won't be             22·
                                                                  · · · · · · · ·I know that I can't -- I can't remember
23·
  ·multiple counsel for at least some witnesses, just           23·
                                                                  ·exactly.··What I remember, from when we set it on the
24·
  ·because of the nature of the issues.··I think it's safe      24·
                                                                  ·9th, was the parties had concerns that there would be
25·
  ·to say we're not going to try the Court's patience with      25·
                                                                  ·issues that came up at the last minute.··That's still,

                                                      Page 46                                                         Page 48
·1·
  ·three standalone examinations for each witness.              ·1·
                                                                  ·potentially, is fine.··As I said, I am not going to
·2·
  · · · · · · · ·JUDGE LUXEN:··For Albertsons.                  ·2·
                                                                  ·physically be here at the end of that week.
·3·
  · · · · · · · ·MS. MAINIGI:··Agreed, Your Honor.              ·3·
                                                                  · · · · · · · ·And given what happened today, with
·4·
  · · · · · · · ·JUDGE LUXEN:··For C&S.                         ·4·
                                                                  ·computers, et cetera, I would feel better if we had our
·5·
  · · · · · · · ·MS. HYNES:··Agree, Your Honor.                 ·5·
                                                                  ·final prehearing conference on August 5th, in the
·6·
  · · · · · · · ·JUDGE LUXEN:··If the order of proof            ·6·
                                                                  ·afternoon, just in case there are things that need to
·7·
  ·would -- if there's going to be multiple examinations,       ·7·
                                                                  ·be worked through, by the Court, by the parties, in
·8·
  ·by different defendant counsel, for a witness, just          ·8·
                                                                  ·that week before the hearing.
·9·
  ·break that out.··That would be helpful.                      ·9·
                                                                  · · · · · · · ·How does the afternoon of Monday, August
10·
  · · · · · · · ·Mr. Biller.                                    10·
                                                                  ·5th look?··Who could to it at three o'clock?
11·
  · · · · · · · ·MR. BILLER:··Um, I think the only other        11·
                                                                  · · · · · · · ·MR. BILLER:··That should be fine for
12·
  ·question that we have -- and, then, there's one other        12·
                                                                  ·Colorado, Your Honor.
13·
  ·issue that I would like to turn to -- but is whether         13·
                                                                  · · · · · · · ·JUDGE LUXEN:··For Kroger.
14·
  ·the Court has a preference for length of time of             14·
                                                                  · · · · · · · ·MR. PERRY:··Kroger will have at least one
15·
  ·opening statements.                                          15·
                                                                  ·of us there, Your Honor.
16·
  · · · · · · · ·JUDGE LUXEN:··(Shaking head in the             16·
                                                                  · · · · · · · ·JUDGE LUXEN:··For Albertsons.
17·
  ·negative.)··Do you have a suggestion?                        17·
                                                                  · · · · · · · ·MS. MAINIGI:··That's fine, Your Honor.
18·
  · · · · · · · ·MR. BILLER:··We haven't conferred on it        18·
                                                                  · · · · · · · ·JUDGE LUXEN:··C&S.
19·
  ·yet, although, I would think that something like 30          19·
                                                                  · · · · · · · ·MS. HYNES:··Fine, Your Honor.
20·
  ·minutes, 40 minutes, and certainly no more than an hour      20·
                                                                  · · · · · · · ·JUDGE LUXEN:··We'll move that final
21·
  ·would be necessary.                                          21·
                                                                  ·prehearing conference to that Monday, August 5th, three
22·
  · · · · · · · ·JUDGE LUXEN:··For Kroger.                      22·
                                                                  ·o'clock.··Parties are welcome to be here in person and
23·
  · · · · · · · ·MR. PERRY:··Your Honor, we, certainly, we      23·
                                                                  ·welcome to participate remotely, whichever you prefer.
24·
  ·have not conferred on it.··We would think an hour for        24·
                                                                  · · · · · · · ·What else do you have, Mr. Biller?
25·
  ·the parties.                                                 25·
                                                                  · · · · · · · ·MR. BILLER:··So, the last thing on my


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                                                     Page 49                                                         Page 51
·1·
  ·agenda, Your Honor, is just an update that there's a        ·1·
                                                                 ·need to be displayed, and in tables, and so forth.
·2·
  ·pending Motion to Compel before the Special Master; and     ·2·
                                                                 ·There will be also be charts and graphics that the
·3·
  ·the parties have filed on the docket notices of the         ·3·
                                                                 ·experts use in the usual way, to illustrate their
·4·
  ·briefs they have submitted to the Special Master; and       ·4·
                                                                 ·points.
·5·
  ·Judge Mix has set a hearing on that motion for Tuesday,     ·5·
                                                                 · · · · · · · ·So, you know, whatever the Court finds
·6·
  ·July 23rd.                                                  ·6·
                                                                 ·useful, you know, we are happy to provide both.··And,
·7·
  · · · · · · · ·And, depending on the Special Master's        ·7·
                                                                 ·if either one or the other works better, we can adjust,
·8·
  ·ruling, there may be some issues that come out of that,     ·8·
                                                                 ·shouldn't -- on the fly.··It's a matter of how we get
·9·
  ·depending on the shape of that ruling.··It's probably       ·9·
                                                                 ·to set up the computer.
10·
  ·premature to discuss all of the implications at this        10·
                                                                 · · · · · · · ·JUDGE LUXEN:··I would prefer paper, and I
11·
  ·point, but I wanted to just provide an update there,        11·
                                                                 ·would ask for an electronic version as well.··I think
12·
  ·and that there may be a need to re-open discovery.          12·
                                                                 ·both are going to be helpful in doing the work that
13·
  · · · · · · · ·And if the Court could take a look at         13·
                                                                 ·needs to be done.
14·
  ·that schedule, in some aspects, depending on how Judge      14·
                                                                 · · · · · · · ·MR. PERRY:··Very good.
15·
  ·Mix rules, so I just want to bring that to the Court's      15·
                                                                 · · · · · · · ·JUDGE LUXEN:··Thank you.
16·
  ·attention.                                                  16·
                                                                 · · · · · · · ·MR. PERRY:··Judge, checking my notes, Mr.
17·
  · · · · · · · ·JUDGE LUXEN:··Thank you.··For Kroger.         17·
                                                                 ·Biller -- we discussed this in advance.··I think we
18·
  · · · · · · · ·MR. PERRY:··Thank you, Your Honor.··On        18·
                                                                 ·pretty much covered everything.··So, I believe that's
19·
  ·the last point, I think that's why we have a Special        19·
                                                                 ·all for Kroger for today, Your Honor.··Thank you very
20·
  ·Master, so we'll get a ruling after the hearing next        20·
                                                                 ·much for your time.
21·
  ·week.                                                       21·
                                                                 · · · · · · · ·JUDGE LUXEN:··Thank you.··For Albertsons.
22·
  · · · · · · · ·I did have a couple of clarifications,        22·
                                                                 · · · · · · · ·MS. MAINIGI:··Nothing further, Your
23·
  ·with the Court's indulgence, on technology.··During the     23·
                                                                 ·Honor.
24·
  ·preliminary injunction hearing, would we be able to         24·
                                                                 · · · · · · · ·JUDGE LUXEN:··For C&S.
25·
  ·leave monitors, and so forth, in the courtroom, or          25·
                                                                 · · · · · · · ·MS. HYNES:··Nothing further, Your Honor.

                                                     Page 50                                                         Page 52
·1·
  ·would we need to get them out for other proceedings?        ·1·
                                                                 · · · · · · · ·JUDGE LUXEN:··We'll talk about the
·2·
  · · · · · · · ·JUDGE LUXEN:··You are the only thing          ·2·
                                                                 ·proposed findings of fact and conclusions of law.··When
·3·
  ·going on here for those days.··There are hearings that      ·3·
                                                                 ·the amended case management order talks about how I
·4·
  ·will happen over lunch hour, and we will, potentially,      ·4·
                                                                 ·would like transcripts cited, I would ask the parties
·5·
  ·have to do things after 5 o'clock.                          ·5·
                                                                 ·to refer to people.··I am also going to ask the parties
·6·
  · · · · · · · ·There won't be any reason you'll have to      ·6·
                                                                 ·to refer to people, in their proposed findings of fact
·7·
  ·take down all of your equipment.··It's up to you, if        ·7·
                                                                 ·and conclusions of law, by their courtesy titles, and
·8·
  ·you want to leave materials in the courtroom.··The          ·8·
                                                                 ·their last name, Dr. This, Mr. This, Professor That,
·9·
  ·courtroom will be locked when I am not here, so you are     ·9·
                                                                 ·however they are referred to in the courtroom.··If you
10·
  ·free to do that as well.                                    10·
                                                                 ·would use those courtesy titles in your proposed
11·
  · · · · · · · ·MR. PERRY:··We appreciate that, Your          11·
                                                                 ·findings, that would be helpful to me as well.
12·
  ·Honor.··And the Court mentioned a monitor for the bench     12·
                                                                 · · · · · · · ·I would like to take just a couple of
13·
  ·for electronic exhibits.··Does the Court prefer             13·
                                                                 ·minutes to gather my thoughts here, and come back out.
14·
  ·electronic exhibits?··Does the Court prefer a hard          14·
                                                                 ·Is that okay with you, with the parties?
15·
  ·copy?··Both?··We can do it either way.··It's really         15·
                                                                 · · · · · · · ·MR. BILLER:··Of course, Your Honor.
16·
  ·what the Court prefers.                                     16·
                                                                 · · · · · · · ·MR. PERRY:··Of course, Your Honor.
17·
  · · · · · · · ·JUDGE LUXEN:··I would prefer a -- I would     17·
                                                                 · · · · · · · ·JUDGE LUXEN:··Thank you.
18·
  ·prefer both.··I guess -- here's the thing.··I would --      18·
                                                                 · · · · · · · · · · · ··(Recess.)
19·
  ·how much are we going to be talking about?··400             19·
                                                                 · · · · · · · ·JUDGE LUXEN:··Back on the record in
20·
  ·exhibits, like my case management order discusses?          20·
                                                                 ·24-CV-30459.··Parties counsel are all present again.
21·
  ·What are we talking about?                                  21·
                                                                 · · · · · · · ·Few things on reflection.··Because of the
22·
  · · · · · · · ·MR. PERRY:··There are, you know, it will      22·
                                                                 ·possibility of courtroom closure, and the uncertainty
23·
  ·not be hundreds a day.··There are a significant number      23·
                                                                 ·of who all might be in our Webex courtroom, the best
24·
  ·of exhibits in the case.··I think some are, you know,       24·
                                                                 ·way for the Court to control access to information that
25·
  ·there are -- there's data in the case.··Numbers that        25·
                                                                 ·might be presented, that the parties don't want


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                                                      Page 53                                                         Page 55
·1·
  ·available to the public, is for any witness or evidence      ·1·
                                                                  · · · · · · · ·You will be free to bring coffee, soda,
·2·
  ·noticed, and any lawyer who's asking questions about         ·2·
                                                                  ·whatever else you might like to drink into the
·3·
  ·that evidence, or asking questions about -- of that          ·3·
                                                                  ·courtroom.··If you need a bar, piece of fruit or
·4·
  ·witness, be physically here in the courtroom, which          ·4·
                                                                  ·whatever, to keep going, while we're here in the
·5·
  ·means I can look in the back, see who is in the              ·5·
                                                                  ·preliminary injunction period, together, you are free
·6·
  ·gallery, parties can let me know if there's someone who      ·6·
                                                                  ·to do that.··You don't need to ask permission or
·7·
  ·shouldn't be here, and then we can lock the door,            ·7·
                                                                  ·anything.··You are not going to hurt my feelings.
·8·
  ·physically lock the door, so no one else can walk in.        ·8·
                                                                  · · · · · · · ·Anything else we can talk about today,
·9·
  · · · · · · · ·When we are talking about -- and we turn       ·9·
                                                                  ·Mr. Biller?
10·
  ·the live stream broadcast off, the video and audio off,      10·
                                                                  · · · · · · · ·MR. BILLER:··Nothing else from Colorado,
11·
  ·and we have a bunch of people, like we do today, in          11·
                                                                  ·Your Honor.··Thank you.
12·
  ·Webex, it becomes a real difficult challenge to figure       12·
                                                                  · · · · · · · ·JUDGE LUXEN:··Thank you.··For Kroger.
13·
  ·out who should and shouldn't be here; and I just can't       13·
                                                                  · · · · · · · ·MS. PFAFFENROTH:··Your Honor, just
14·
  ·control public access in the same way, or limit public       14·
                                                                  ·following up on one point that Mr. Perry made for the
15·
  ·access in the same way as I could if everyone is             15·
                                                                  ·Court's consideration.··This goes back to our first
16·
  ·physically here in the courtroom.                            16·
                                                                  ·topic of consideration, but in context of the time.
17·
  · · · · · · · ·Any questions or comments on that,             17·
                                                                  · · · · · · · ·The potential stipulation, with respect
18·
  ·Mr. Biller?                                                  18·
                                                                  ·to being able to take the preliminary injunction
19·
  · · · · · · · ·MR. BILLER:··(Shaking head in the              19·
                                                                  ·hearing off the calendar, I believe, from our
20·
  ·negative.)··No questions from us, Your Honor.··We will       20·
                                                                  ·perspective, an order by the November 8th date, with an
21·
  ·plan for our attorneys' examinations to all be               21·
                                                                  ·opinion to follow at a later date, would provide the
22·
  ·physically in the courtroom.                                 22·
                                                                  ·necessary certainty, and, again, answer, for
23·
  · · · · · · · ·JUDGE LUXEN:··Ms. Pfaffenroth.                 23·
                                                                  ·defendants, from Kroger's perspective.
24·
  · · · · · · · ·MS. PFAFFENROTH:··Same, Your Honor.            24·
                                                                  · · · · · · · ·I want to put that out there for the
25·
  · · · · · · · ·JUDGE LUXEN:··Ms. Mainigi.                     25·
                                                                  ·Court's consideration, in terms of timing, in case that

                                                      Page 54                                                         Page 56
·1·
  · · · · · · · ·MS. MAINIGI:··No problem, Your Honor.          ·1·
                                                                  ·assisted with the Court's consideration of an earlier
·2·
  · · · · · · · ·JUDGE LUXEN:··Ms. Hynes.                       ·2·
                                                                  ·date.
·3·
  · · · · · · · ·MS. HYNES:··Same, Your Honor.                  ·3·
                                                                  · · · · · · · ·JUDGE LUXEN:··How does that work with a
·4·
  · · · · · · · ·JUDGE LUXEN:··And, then, one other thing       ·4·
                                                                  ·potential appeal?
·5·
  ·on the technology front, if you want monitors, in            ·5·
                                                                  · · · · · · · ·MS. PFAFFENROTH:··Well, Your Honor, this
·6·
  ·addition to a potential monitor for me, so I can see         ·6·
                                                                  ·is something that -- it came up with -- on the hearing
·7·
  ·what material is being shown to a witness, you would         ·7·
                                                                  ·we would have.··So, we will discuss that with the
·8·
  ·need a monitor for the witness stand.                        ·8·
                                                                  ·state, and we would be more than happy to do so.··But
·9·
  · · · · · · · ·Then, at counsel table, there are also no      ·9·
                                                                  ·we did want to put that out there, for the Court's
10·
  ·monitors, so you would need monitors there, all that to      10·
                                                                  ·consideration, just given that, the timing interests
11·
  ·say, there's basically just the one 42-inch flat screen      11·
                                                                  ·from the parties.··We would like to do anything we can
12·
  ·TV, on a roller cart, with a HDMI cable, and the             12·
                                                                  ·to facilitate clearing the Court's schedule in August.
13·
  ·microphones.··Those are the only pieces of technology        13·
                                                                  · · · · · · · ·JUDGE LUXEN:··Any thoughts on that point,
14·
  ·here in the courtroom.                                       14·
                                                                  ·Mr. Biller?
15·
  · · · · · · · ·Then, the final thing I have is just a         15·
                                                                  · · · · · · · ·MR. BILLER:··Apologies Your Honor.··I cut
16·
  ·fair warning about our lunch options in downtown.··They      16·
                                                                  ·out, I think, because of the global issues.··My
17·
  ·are much more limited than they were before Covid, and       17·
                                                                  ·computer did an emergency patch.··So, I missed a fair
18·
  ·if we take an hour for lunch, and you may consider           18·
                                                                  ·bit of what Ms. Pfaffenroth said.
19·
  ·being thoughtful about your lunch time arrangements.         19·
                                                                  · · · · · · · ·MS. PFAFFENROTH:··I am happy to say it,
20·
  · · · · · · · ·In the past, parties have had lunch            20·
                                                                  ·again.
21·
  ·brought in.··There are a number of services that will        21·
                                                                  · · · · · · · ·JUDGE LUXEN:··Thank you.
22·
  ·do that.··Walking from here to get lunch would mean          22·
                                                                  · · · · · · · ·MS. PFAFFENROTH:··So, Mr. Biller, I was
23·
  ·that you're on a very short deadline.··There just            23·
                                                                  ·following up on the point that Mr. Perry had raised, in
24·
  ·aren't a lot of great options close to the courtroom,        24·
                                                                  ·the context of sometimes the delay with opinions and
25·
  ·so another consideration for you.                            25·
                                                                  ·redactions, that, in the context of defendant's


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                                                      Page 57                                                         Page 59
·1·
  ·discussion with the state, with respect to a                 ·1·
                                                                  ·to be appealing from an order that simply says grant or
·2·
  ·stipulation with respect to the preliminary                  ·2·
                                                                  ·deny.··However --
·3·
  ·injunction -- this is from, I think, defendant's             ·3·
                                                                  · · · · · · · ·JUDGE LUXEN:··I assure you, my job would
·4·
  ·perspective -- an order with an opinion to follow by         ·4·
                                                                  ·be a lot easier if I could just stamp everything that
·5·
  ·the November 8th date would be sufficient to provide         ·5·
                                                                  ·comes through here grant or deny, but I don't believe I
·6·
  ·the parties with -- the defendants with the certainty        ·6·
                                                                  ·can do that.
·7·
  ·that we would be seeking there.··I won't speak,              ·7·
                                                                  · · · · · · · ·MS. PFAFFENROTH:··Understood, Your Honor
·8·
  ·obviously, on behalf of Albertsons and C&S, but that's       ·8·
                                                                  ·I mean, I would suggest that, perhaps, the parties and
·9·
  ·something that we wanted to raise, for the Court's           ·9·
                                                                  ·the state could discuss the timing and the appellate
10·
  ·consideration, in the context of the November 8th date,      10·
                                                                  ·issue, come back to Your Honor with respect to that
11·
  ·and the possibility of an order by November 8th, if not      11·
                                                                  ·question.
12·
  ·an opinion.                                                  12·
                                                                  · · · · · · · ·I do think that, from the defendants'
13·
  · · · · · · · ·MR. BILLER:··So, my reaction is, I've          13·
                                                                  ·perspective, from Kroger's perspective, everybody's
14·
  ·seen courts do that, issue just a bottom line order          14·
                                                                  ·understanding, by the 8th, what the Court's ruling is
15·
  ·with opinion to follow.··But, I think that's 100%            15·
                                                                  ·would be key.··But, I understand the considerations and
16·
  ·within Your Honor's discretion.··And, as we said at the      16·
                                                                  ·that is something that we could discuss further with
17·
  ·beginning, the Court controls its calendar and the           17·
                                                                  ·the state.
18·
  ·docket.                                                      18·
                                                                  · · · · · · · ·JUDGE LUXEN:··Then the option would be,
19·
  · · · · · · · ·So, if the Court wants to provide any          19·
                                                                  ·if I grant -- if I deny the relief requested by the
20·
  ·further guidance than it already has, parties are, I         20·
                                                                  ·state, in Count 1, the Attorney General goes and
21·
  ·think, happy to hear it.··But, otherwise we'll continue      21·
                                                                  ·appeals, potentially, I think, we're in the same
22·
  ·to confer on this and see if we're able to work              22·
                                                                  ·position.··The Court of Appeals returns it to me for
23·
  ·something out, with the knowledge of the Court's view        23·
                                                                  ·insufficient finding.··The merger has gone through,
24·
  ·of what it can do.                                           24·
                                                                  ·perhaps, although I suppose Mr. Biller, maybe to your
25·
  · · · · · · · ·JUDGE LUXEN:··Ms.··Mainigi, for                25·
                                                                  ·-- but it's not a preliminary injunction.··It's a trial

                                                      Page 58                                                         Page 60
·1·
  ·Albertsons.                                                  ·1·
                                                                  ·on merits.
·2·
  · · · · · · · ·MS. MAINIGI:··Your Honor, we join              ·2·
                                                                  · · · · · · · ·So, we're not talking about a temporary
·3·
  ·Kroger's counsel in just noting, if that were a              ·3·
                                                                  ·restraining order or preliminary injunction.··We're
·4·
  ·possibility, for the Court, that could certainly help        ·4·
                                                                  ·talking about a trial on the merits.··I would hear from
·5·
  ·with the stipulation with respect to the preliminary         ·5·
                                                                  ·anyone who has thoughts on these prospective issues.
·6·
  ·injunction hearing.                                          ·6·
                                                                  · · · · · · · ·MS. MAINIGI:··I understand.··I think,
·7·
  · · · · · · · ·JUDGE LUXEN:··Ms. Hynes for C&S.               ·7·
                                                                  ·Your Honor, if Your Honor is open to us discussing this
·8·
  · · · · · · · ·MS. HYNES:··I want to join with Kroger         ·8·
                                                                  ·further with the state, and that it remains a
·9·
  ·and Albertsons, with the proposal that could be very         ·9·
                                                                  ·possibility, I think we can have some of these
10·
  ·helpful to facilitate a stipulation.                         10·
                                                                  ·conversations, and, then, come back to Your Honor and
11·
  · · · · · · · ·JUDGE LUXEN:··Just one moment.                 11·
                                                                  ·play out the various scenarios that are possible here,
12·
  · · · · · · · ·(Pause.)                                       12·
                                                                  ·including the appellate possibilities as well.
13·
  · · · · · · · ·JUDGE LUXEN:··Apologies for the brief          13·
                                                                  · · · · · · · ·MR. BILLER:··I would just add, Your
14·
  ·delay.                                                       14·
                                                                  ·Honor, that sometimes courts may stay the effect of
15·
  · · · · · · · ·Let's play that out, Ms. Pfaffenroth.          15·
                                                                  ·their ruling for a short period of time, to allow for
16·
  ·So, if I were to, on November 7, issue an order              16·
                                                                  ·an emergency appeal.··And I don't know if this would be
17·
  ·granting the relief requested by the state, to Count 1,      17·
                                                                  ·helpful for the defendants, but sort of a bottom line
18·
  ·and Kroger, Albertsons and C&S appeal that on November       18·
                                                                  ·order, but without entering final judgment, is another
19·
  ·8th, to the Court of Appeals, doesn't that order get --      19·
                                                                  ·possibility.
20·
  ·doesn't my order get sent back to me immediately for         20·
                                                                  · · · · · · · ·I think we do have to kind of discuss
21·
  ·insufficient findings?··Then the Court of Appeals could      21·
                                                                  ·this amongst ourselves, and probably do a little bit of
22·
  ·do whatever they might want to do, with the relief that      22·
                                                                  ·research as well, but we're happy to do that over the
23·
  ·I've granted.                                                23·
                                                                  ·next several days and see if we can work something out.
24·
  · · · · · · · ·MS. PFAFFENROTH:··So, Your Honor,              24·
                                                                  · · · · · · · ·JUDGE LUXEN:··Thank you.··For C&S,
25·
  ·understanding that, that does make sense, if one were        25·
                                                                  ·Ms. Hynes.


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                                                      Page 61                                                         Page 63
·1·
  · · · · · · · ·MS. HYNES:··I agree.··I think the parties      ·1·
                                                                  ·does lock at 5 o'clock.··Monday it stays open later for
·2·
  ·need to discuss, both internally and together, off           ·2·
                                                                  ·city council, but I think the rest of the week, the
·3·
  ·line, and come back to you.                                  ·3·
                                                                  ·doors may lock at five.
·4·
  · · · · · · · ·JUDGE LUXEN:··Any further thoughts,            ·4·
                                                                  · · · · · · · ·So, just if you are going to be here in
·5·
  ·Ms. Pfaffenroth?                                             ·5·
                                                                  ·person, don't plan on walking in at 5 o'clock.··What
·6·
  · · · · · · · ·MS. PFAFFENROTH:··No, Your Honor.··Thank       ·6·
                                                                  ·else can we talk about today?
·7·
  ·you.                                                         ·7·
                                                                  · · · · · · · ·MR. BILLER:··Nothing else from the
·8·
  · · · · · · · ·JUDGE LUXEN:··Those are the additional         ·8·
                                                                  ·Attorney General, Your Honor.··Thank you.
·9·
  ·items that were on my list.··Is there any reason to set      ·9·
                                                                  · · · · · · · ·MS. PFAFFENROTH:··Nothing further from
10·
  ·a time next week, for us to come together?                   10·
                                                                  ·Kroger.··Thank you.
11·
  · · · · · · · ·MS. MAINIGI:··I think that might make          11·
                                                                  · · · · · · · ·MS. MAINIGI:··Nothing for Albertsons,
12·
  ·sense, Your Honor, so we have time, on the calendar, to      12·
                                                                  ·Your Honor.
13·
  ·discuss the progress we have made with respect to the        13·
                                                                  · · · · · · · ·MS. HYNES:··Nothing for C&S.
14·
  ·stipulation, by then.                                        14·
                                                                  · · · · · · · ·JUDGE LUXEN:··Thank you very much for
15·
  · · · · · · · ·MR. BILLER:··I agree.                          15·
                                                                  ·your time.··I appreciate it.··Have a nice afternoon.
16·
  · · · · · · · ·MS. PFAFFENROTH:··Agree, Your Honor.           16·
                                                                  · · · · · · · ·(Whereupon these proceedings were
17·
  · · · · · · · ·MS. HYNES:··Agree, Your Honor.                 17·
                                                                  ·adjourned at 2:00 p.m. on July 19, 2024.)
18·
  · · · · · · · ·JUDGE LUXEN:··How does Thursday, July          18·
                                                                  ·
19·
  ·25th, at 3 o'clock, look?                                    19·
                                                                  ·
20·
  · · · · · · · ·MS. MAINIGI:··Your Honor, I think -- I am      20·
                                                                  ·
21·
  ·wondering if we might be able to do it a day earlier,        21·
                                                                  ·
22·
  ·perhaps.··I think some of us are going to be en route        22·
                                                                  ·
23·
  ·to Oregon for a hearing before Judge Nelson.                 23·
                                                                  ·
24·
  ·Otherwise, we'll make it work, if that's the only time       24·
                                                                  ·
25·
  ·you have, Your Honor.                                        25·
                                                                  ·

                                                      Page 62                                                         Page 64
·1·
  · · · · · · · ·JUDGE LUXEN:··We have a jury trial in          ·1·
                                                                  · · · · · · · · · · · ·CERTIFICATE
·2·
  ·here next week.··I can just -- hold on.                      ·2·
                                                                  ·I, HARRIET S. WEISENTHAL, Registered Professional

·3·
  · · · · · · · ·(Discussion off the record between Judge       ·3·
                                                                  ·Reporter, in and for the State of Colorado, do hereby
                                                                ·4·
                                                                  ·certify that I reported the foregoing proceedings, and
·4·
  ·Luxen and Ms. French.)
                                                                ·5·
                                                                  ·that later the same was reduced to typewritten form
·5·
  · · · · · · · ·JUDGE LUXEN:··Would Tuesday, July 23rd,
                                                                ·6·
                                                                  ·under my direct supervision and control; I further
·6·
  ·at 5 p.m. work?
                                                                ·7·
                                                                  ·certify that the foregoing is a true and complete
·7·
  · · · · · · · ·MS. MAINIGI:··That works for us, Your          ·8·
                                                                  ·transcription of my stenographic notes then and there
·8·
  ·Honor.                                                       ·9·
                                                                  ·taken.
·9·
  · · · · · · · ·MS. PFAFFENROTH:··Yes, Your Honor.             10·
                                                                  ·Dated July 21, 2024.
10·
  ·That's fine for Kroger.                                      11·
                                                                  ·
11·
  · · · · · · · ·MS. HYNES:··And fine for C&S.                  12·
                                                                  ·________________________

12·                                                              ··HARRIET
                                                                   ·       S. WEISENTHAL
  · · · · · · · ·MR. BILLER:··Yes, Your Honor.··It works
                                                                13·
                                                                  ·Calderwood Mackelprang, Inc.
13·
  ·for Colorado.
                                                                 ··501
                                                                   ·   S. Cherry Street, Suite 1100
14·
  · · · · · · · ·JUDGE LUXEN:··Five p.m. Mountain time, on
                                                                14·
                                                                  ·Denver, CO 80246
15·
  ·Tuesday, July 23rd, 2024, for further status
                                                                 ··(303)
                                                                   ·     477-3500
16·
  ·conference.··You're welcome to appear remotely.··The         15·
                                                                  ·
17·
  ·courtroom will be open.··You are welcome to be here in       16·
                                                                  ·
18·
  ·person.··Let me double-check one thing.                      17·
                                                                  ·
19·
  · · · · · · · ·(Discussion off the record between Judge       18·
                                                                  ·

20·
  ·Luxen and Ms. French.)                                       19·
                                                                  ·
                                                                20·
                                                                  ·
21·
  · · · · · · · ·JUDGE LUXEN:··I'm not positive when the
                                                                21·
                                                                  ·
22·
  ·doors lock to the Denver City and County building.
                                                                22·
                                                                  ·
23·
  ·It's either 5 o'clock or 6 o'clock.··If you are coming
                                                                23·
                                                                  ·
24·
  ·in in person, for the 5 o'clock hearing, I would ask         24·
                                                                  ·
25·
  ·you to make plans accordingly, in case the building          25·
                                                                  ·


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                                  UNITED STATES OF AMERICA
                                 FEDERAL TRADE COMMISSION
                            OFFICE OF ADMINISTRATIVE LAW JUDGES



    In the Matter of

        The Kroger Company                                  Docket No. 9428
            and

        Albertsons Companies, Inc.



                                   RESPONDENTS’ MOTION
                            TO RECESS THE EVIDENTIARY PORTION
                           OF THE PART 3 ADMINSITRATIVE HEARING

            Kroger and Albertsons face an extraordinary and unprecedented litigation schedule in

    connection with their proposed merger. Three separate regulators have initiated four separate

    proceedings challenging the transaction, and there are five separate hearings currently scheduled

    in those cases over a 12-week period in different locations around the country. Some of these

    hearings are currently scheduled to overlap—including the Part 3 hearing (scheduled to begin on

    July 31); the preliminary injunction hearing in Colorado (scheduled to begin on August 12); and

    the FTC’s federal court lawsuit seeking to enjoin the transaction (scheduled to begin on August

    26).

            Although the Part 3 proceeding must be formally gaveled in on July 31 under the

    Commission’s May 29 Order, that same order recognized that this Court has discretion over the

    hearing schedule—including the authority to recess the evidentiary portion of the proceeding.

    Respondents respectfully request that the Court exercise its scheduling discretion to recess the

    evidentiary portion of the hearing after it commences on July 31 and resume the hearing once the

    hearings in the various parallel litigations are complete. This approach is efficient and will

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    conserve the resources of the Court, third parties, and the parties, in part because the parallel

    proceedings will likely narrow and possibly eliminate the need for some or all of the Part 3

    proceeding. It also would avoid piecemeal, disjointed litigation that would hinder the Court’s

    review of the evidence.

               Even though the Commission recognized the Court’s authority to manage its own docket,

    Complaint Counsel seeks to force Respondents to try multiple cases (with many of the same

    witnesses) at the same time in different tribunals located thousands of miles apart. But this

    approach is unrealistic, unnecessary, and highly prejudicial to Respondents—and, on top of all

    that, it is inconsistent with Complaint Counsel’s prior statement on the unfairness of litigating

    multiple proceedings simultaneously. Complaint Counsel’s insistence that the Part 3 proceeding

    go forward on its current schedule despite multiple overlapping proceedings should be rejected

    because it would prejudice Respondents.

               The Court should grant Respondents’ motion and recess the evidentiary portion of the Part

    3 hearing until the trials in the parallel actions are complete. Alternatively, the Court should

    structure the Part 3 hearing to promote efficiency and avoid unduly burdening third parties, the

    parties, and the Court, including by conducting a virtual hearing. Complaint Counsel joins in the

    request for a virtual hearing but opposes the other requested relief.

                                               BACKGROUND

          I.          Kroger and Albertsons Face Five Partially Overlapping Trials

               Below are the current trial dates in the five actions brought by three regulators in four

    jurisdictions challenging the proposed acquisition:

               1. Part 3 administrative proceeding (Washington, DC): The hearing will be gaveled
                  in by this Court on July 31. Absent any recesses, the hearing could last until mid-
                  September given the 210 hours of available trial time.




                                                         2
                                                                                                            PX6681-002
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            2. Colorado preliminary injunction proceeding (Denver, CO): The hearing will begin
               in state court on August 12 and is scheduled to last until August 22.

            3. FTC preliminary injunction hearing (Portland, OR): The hearing will begin in
               federal court on August 26 and is scheduled to last until September 13.

            4. Washington permanent injunction proceeding (Seattle, WA): The hearing will
               begin in state court on September 16 and will likely last until early October.

            5. Colorado permanent injunction proceeding (Denver, CO): The hearing will begin
               in state court on September 30 and is scheduled to last until October 18.

    The chart below depicts these trial dates and shows their overlap.




            These overlapping trials involve virtually identical issues.1 Respondents expect many of

    the same witnesses to be called in the parallel cases. For example, based on the current witness


    1
      Complaint Counsel may attempt to distinguish the parallel cases, but the plaintiffs in the parallel
    cases agreed to coordinate fact depositions in the parallel cases. The plaintiffs divided
    responsibilities for depositions, and Complaint Counsel had Washington and Colorado take the
    lead on certain depositions noticed in this action. This level of coordination would have made no
    sense if the parallel cases were materially distinct.




                                                         3
                                                                                                            PX6681-003
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    lists in Colorado and Part 3, there are at least 17 potentially overlapping witnesses (13 fact and 4

    expert).

         II.          Complaint Counsel Refuse to Coordinate the Proceedings

               Respondents moved to continue the Part 3 hearing, over Complaint Counsel’s objection.

    The Commission denied that motion in a 3-2 decision, but it recognized that the Chief

    Administrative Law Judge could recess the hearing to account for the parallel proceedings.

    Commission May 29 Order at 2 (“The ALJ, in consultation with the parties, could avoid any

    overlap in the proceedings by recessing the administrative hearing during the pendency of the

    federal court hearing.”). The dissent recognized that the “burden and inefficiency of running

    overlapping trials on opposite sides of the country will be substantial.” Id.

               Judge Chappell subsequently instructed the parties to confer on recessing the hearing. The

    parties did so but were unable to reach agreement. Respondents proposed the same relief they

    seek here. Complaint Counsel proposed a contingent counteroffer: “if Defendants will join the

    FTC’s request to have full trial days from July 31 to August 9, the FTC would be willing to agree

    to a joint motion to adjourn the Part 3 proceedings during the Colorado and Oregon proceedings”;

    however, if Respondents did not agree, Complaint Counsel would “intend[] to oppose Defendants’

    motion to adjourn during the Colorado and Washington proceedings in full but will remain willing

    to coordinate scheduling around appearances in Colorado and Washington as well as consider

    specific requests for witnesses on Defendants’ witness list to appear remotely.”                   Ex. A.

    Respondents could not agree to this proposal.

               Respondents also proposed submitting joint position statements on July 8, but Complaint

    Counsel rejected this proposal too. Ex. A.




                                                         4
                                                                                                             PX6681-004
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                                                 ARGUMENT

          I.          The Court Should Recess the Evidentiary Portion of the Part 3 Hearing

               Given the unprecedented litigation schedule Respondents face, the Court should exercise

    its discretion to gavel in the Part 3 hearing on July 31 and then recess the evidentiary portion of

    the hearing (with our without opening statements, as the Court prefers) until the hearings in the

    other parallel cases have concluded. This approach would promote efficiency and avoid undue

    burdens for numerous reasons. First, recessing the evidentiary portion of the Part 3 hearing would

    avoid any overlap in proceedings. Second, it would avoid having a disjointed Part 3 hearing with

    a gap of many weeks—which could hinder the Court’s review of the evidence. Finally, it could

    conserve the resources of non-parties, the parties, and this Court. Many witnesses from the parties’

    Part 3 final witness lists will also be witnesses in the parallel proceedings; the parties could avoid

    burdening those witnesses with testifying twice (or more) by relying on their federal court trial

    transcripts in Part 3. The FTC Rules specifically contemplate submitting trial transcripts as

    evidence in the Part 3 proceeding. See 16 C.F.R. § 3.43(b) (“If otherwise meeting the standards

    for admissibility . . . prior testimony” in “other proceedings . . . shall be admissible”). Respondents

    are open to submitting trial transcripts from the federal court preliminary injunction proceeding as

    evidence in Part 3, rather than having party and non-party witnesses testify live, but this will only

    be possible if the Part 3 hearing follows the parallel actions.

               Moreover, the current schedule is unduly prejudicial to Respondents—who, during the

    currently-scheduled Part 3 hearing, would simultaneously have to prepare for multiple upcoming

    trials. Complaint Counsel suggests this would not prejudice Respondents because they “remain

    willing to coordinate scheduling around appearances in Colorado and Washington as well as

    consider specific requests for witnesses on Defendants’ witness list to appear remotely.” Ex. A.

    But Complaint Counsel’s generic offer does not meaningfully address the logistical and practical



                                                         5
                                                                                                             PX6681-005
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    difficulties of multiple trials occurring at the same time. For example, specific teams of lawyers

    (both outside counsel and in-house attorneys) are working with the same fact and expert witnesses

    across all of the proceedings. Complaint Counsel’s approach would require these attorneys to not

    only prepare for (and participate in) multiple hearings at the same time, but also travel back-and-

    forth across the country to appear before different courts. This process would be unwieldly and

    extremely difficult to coordinate, and Complaint Counsel has made no real effort to do so. And

    the Commission’s decision to file the preliminary injunction action across the country in Oregon

    (rather than down the street from the Commission in D.C.) only adds to these logistical difficulties.

             Complaint Counsel previously agreed that having multiple simultaneous hearings would

    be unfair and impractical. As Complaint Counsel explained to the federal court in Oregon: “I

    respectfully tender it will be quite a burden and indeed an unfair one to force the FTC to litigate

    simultaneously . . . . You can only imagine the burden on the party witnesses, the defense

    witnesses, and even to third parties if again you’re having simultaneous cross-country trials, where

    some will appear in Portland on a Monday and potentially in Washington, D.C. in the FTC

    courtroom on a Tuesday.” May 29 Dissenting Statement of Commissioner Melissa Holyoak, at 2

    (quoting D. Or. Status Conf. Tr. at 21:25-22:8). Yet the FTC is now seeking to impose this exact

    burden on Respondents. The burden would also fall on third parties: There are 20 third parties on

    the parties’ Part 3 final witness lists (excluding duplicates and employees of the divestiture buyer

    C&S), and Respondents expect many of these third parties will also be witnesses in the parallel

    cases.    This underscores how coordinating simultaneous trials is unworkable and would

    substantially burden many third parties.

             Nor would recessing the evidentiary portion of the Part 3 hearing prejudice Complaint

    Counsel. The FTC argues the Part 3 proceeding is the “trial on the merits” and “should proceed




                                                         6
                                                                                                             PX6681-006
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    as quickly as possible to ensure an expeditious resolution of this case.” Ex. A. But in the other

    parallel cases—including the FTC’s own case in the District of Oregon—the plaintiffs seek to

    enjoin the transaction from closing before the contractual outside date. In contrast, any decision

    by the Commission (and ultimately a decision by a United States Court of Appeals) would occur

    well after the outside date to close the transaction.

            Moreover, as this Court knows, the federal court preliminary injunction proceeding

    typically determines the fate of mergers challenged by the FTC. See, e.g., 16 C.F.R. § 3.26(c)

    (authorizing Part 3 withdrawal after preliminary injunction denial); Maureen K. Ohlhausen,

    F.T.C., Remarks to U.S. Chamber of Commerce: A SMARTER Section 5, at 17 (Sept. 25, 2015),

    https://www.ftc.gov/system/files/documents/public_statements/804511/150925smartersection5.p

    (“the Commission has not pursued a Part III proceeding following a PI loss in federal court for

    twenty years”). That the preliminary injunction proceeding could narrow, or obviate the need for,

    the Part 3 hearing further demonstrates that granting this motion will not prejudice Complaint

    Counsel.

            FTC Rule 3.41(b) expressly permits this Court to recess a Part 3 proceeding for “brief

    intervals of the sort normally involved in judicial proceedings.” And in other judicial proceedings,

    the “scope of the district court’s discretion to manage trials before it is and must be particularly

    broad.” United States v. Janati, 374 F.3d 263, 273 (4th Cir. 2004). Here, the unprecedented

    overlapping proceedings only magnify the need for the Court to exercise its broad scheduling

    discretion to ensure the hearing proceeds as efficiently and effectively as possible.

            Recessing the Part 3 hearing is particularly appropriate because the overlap in proceedings

    is due to regulators’ actions (including regulators’ own refusal to coordinate with one another),

    and not any action by Respondents. Similarly, Complaint Counsel is refusing to coordinate expert




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    depositions in the parallel actions—even though Respondents will have the same experts across

    the parallel proceedings—which means that Respondents’ experts will likely be required to sit for

    depositions in the parallel proceedings in late July or early August, when the Part 3 proceeding is

    scheduled to occur. This is yet another scheduling conflict, given that Respondents’ experts would

    likely attend the Part 3 proceeding to listen to fact testimony, and it compounds the prejudice to

    Respondents of proceeding with Part 3 on the current schedule. That Complaint Counsel’s own

    conduct exacerbated Respondents’ scheduling conflicts underscores why it is appropriate for this

    Court to exercise its discretion to recess the Part 3 hearing.

            II.      Alternatively, and at a Minimum, the Court Should Structure the Part 3 Hearing
                     To Ensure Efficiency

                  If the Court declines to recess the evidentiary portion of the Part 3 hearing in its entirety

    after gaveling in the proceeding on July 31, it can and should still structure the hearing in a manner

    that promotes efficiency and avoids unduly burdening the Court, third parties, and the parties. The

    Court could achieve these goals in multiple ways, including through one or more of the proposals

    below.

        x         Holding opening statements on July 31 and scheduling oral argument on pending motions
                  (e.g., motions in limine, sealing motions) thereafter, and then recessing the evidentiary
                  portion of the hearing.

        x         Holding some trial days until August 6 (totaling one week), shortly before the start of the
                  Colorado preliminary injunction proceeding, but tailoring those trial days so they are
                  efficient and not unduly burdensome in one or more of the following ways:

                     o Requiring the parties to present only third-party testimony by video deposition
                       designation—to avoid unduly burdening party witnesses who will testify live in the
                       parallel proceedings, and whose trial transcripts could be submitted to Judge
                       Chappell under FTC Rule 3.43(b);

                     o Requiring the parties to present only either (a) third-party testimony by video
                       deposition designation or (b) testimony from Complaint Counsel’s experts; or




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                o Requiring the parties to present testimony only from fact witnesses and Complaint
                  Counsel’s expert witnesses who they do not intend to call in the parallel federal
                  court proceeding (if any).

        x   Holding some trial days until August 6, but limiting the amount of trial time—e.g.,
            conducting half days, or having non-consecutive trial days.

        x   At a minimum, recessing the hearing after August 6, until the parallel proceedings are
            complete.

        x   In all events, having all trial days be virtual given the overlapping parallel proceedings
            around the country and the associated travel burdens on fact witnesses and experts.
            Complaint Counsel join Respondents’ request for a virtual hearing.

    These proposals would enable the Court to hear some trial testimony before the other parallel

    cases begin, but keep the trial days streamlined.

                                                CONCLUSION

            The Court should grant Respondents’ motion and recess the evidentiary portion of the Part

    3 hearing until after the hearings in Colorado, Oregon, and Washington have concluded.2

            July 8, 2024                                      Respectfully submitted,


                                                              By: /s/ Matthew M. Wolf
                                                                 Matthew M. Wolf
                                                                 Sonia K. Pfaffenroth
                                                                 Arnold & Porter Kaye Scholer LLP
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                                                                  Luke Sullivan
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                                                                  2001 M Street NW Suite 600
                                                                  Washington, DC 20036

                                                                  Luna Barrington
                                                                  Weil, Gotshal & Manges LLP
    2
     Complaint Counsel has agreed to file its response to this motion by Thursday, July 11. See Ex.
    A.




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                                                                    New York, NY 10053
                                                                    Telephone: 212 310 8421

                                                                    Counsel for Respondent The Kroger
                                                                    Company

                                                                    /s/ Enu A. Mainigi
                                                                    Enu A. Mainigi
                                                                    Jonathan B. Pitt
                                                                    A. Joshua Podoll
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                                                                    Washington D.C. 20004
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                                                                    thassi@debevoise.com

                                                                    Counsel for Respondent Albertsons
                                                                    Companies, Inc.




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                                                                                                            PX6681-010
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                                  UNITED STATES OF AMERICA
                                 FEDERAL TRADE COMMISSION
                            OFFICE OF ADMINISTRATIVE LAW JUDGES



    In the Matter of

        The Kroger Company                                    Docket No. 9428
            and

        Albertsons Companies, Inc.




                             [Proposed] Order Granting Respondents’ Motion

            Having considered Respondents’ motion, the motion is hereby GRANTED.

            ORDERED.                                                           ________________________

                                                                 Chief Administrative Law Judge Chappell
            Date: _____________, 2024.




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                                     CERTIFICATE OF CONFERRAL

    Respondents and Complaint Counsel conferred by telephone on July 3, 2024. Counsel on the
    teleconference included Mark Perry, Luna Barrington, and Susan Musser, among others. The
    parties also further conferred via email; that correspondence is attached as Exhibit A.

                                                              /s/ Luna Barrington
                                                              Luna Barrington
                                                              Weil, Gotshal & Manges LLP
                                                              767 Fifth Avenue
                                                              New York, NY 10053




                                                         12
                                                                                                            PX6681-012
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                                        CERTIFICATE OF SERVICE

            I hereby certify that, on July 8, 2024, I caused the foregoing document to be
    electronically filed with the Secretary of the Commission using the Federal Trade Commission’s
    e-filing system, causing the document to be served on all of the following registered participants:

    April J. Tabor                                            The Honorable D. Michael Chappell
    Secretary of the Federal Trade Commission                 Administrative Law Judge
    FEDERAL TRADE COMMISSION                                  FEDERAL TRADE COMMISSION
    600 Pennsylvania Ave., NW, Rm. H-113                      600 Pennsylvania Ave., NW, Rm. H-110
    Washington, D.C. 20580                                    Washington, D.C. 205080
    ElectronicFilings@ftc.gov                                 OALJ@ftc.gov

    I also certify that I caused the foregoing document to be served via email to:




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                                                                                                             PX6681-013
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       Joshua Smith                     kdrummonds@ftc.gov
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       cdickinson@ftc.gov
       smusser@ftc.gov




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                                        Counsel for Respondent The Kroger
                                        Company


                                                              By: /s/ Luna Barrington
                                                                 Luna Barrington
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                                                                 Telephone: 212 310 8421

                                                                  Counsel for Respondent The Kroger
                                                                  Company




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                             EXHIBIT A




                                                                                                         PX6681-016
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      From:            Musser, Susan
      To:              Sullivan, Luke; sonia.pfaffenroth@arnoldporter.com
      Cc:              matthew.wolf@arnoldporter.com; michael.kientzle@arnoldporter.com; john.holler@arnoldporter.com; Perry,
                       Mark; Barrington, Luna; Obaro, Bambo; emainigi@wc.com; apodoll@wc.com; mike.cowie@dechert.com; Hassi,
                       Ted; Hall, Laura; Dickinson, Charles; Pai, Rohan; Callan, Nicole
      Subject:         RE: Part 3
      Date:            Monday, July 8, 2024 4:24:06 PM
      Attachments:     image002.png


     Counsel –

     As we have consistently explained, we cannot agree to fully adjourn the administrative hearing –
     which effectively is what your first proposal suggests. We likewise are disappointed in the substance
     of your alternative proposal seeking to limit both which witnesses Complaint Counsel can call in its
     case-in-chief as well as the form of their testimony (i.e., calling third parties by deposition
     designation only). Respondents’ proposal does not appear designed to lead to an efficient and fair
     administrative proceeding but rather will only serve to hamper the ability of Complaint Counsel to
     effectively put on its case in the administrative proceeding. As you are well aware, Complaint
     Counsel bears the burden of proof in the administrative hearing. Respondents’ proposal uses
     scheduling issues of its own creation to hamstring both how Complaint Counsel can present its case
     as well as the extent of the case it can present in the administrative hearing. Moreover,
     Respondents’ proposal also appears to envision the submission of additional evidence from
     proceedings which Complaint Counsel has limited-to-no access to. Besides being procedurally
     improper under Rule 3.43(b), evidence from other proceedings is not a substitute for Complaint
     Counsel’s ability to try its case in the administrative proceeding.

     That being said, we are more than willing to work around true scheduling conflicts (days in which a
     particular witness has to appear in a separate proceeding or is unavailable for personal reasons) and
     will do our best to avoid calling Party witnesses in both the administrative and federal proceeding.
     To that end, we request that you provide dates Party witnesses listed on Complaint Counsel’s
     witness list are unavailable as soon as possible. Separately, we can agree to join Respondents’
     request to the court for a virtual hearing. As far as the briefing schedule goes, we are willing to
     agree to file our response this Thursday (July 11) if Respondents file today and will file our response
     Friday (July 12) if Respondents file tomorrow.

     Best,

     Susan



     From: Sullivan, Luke <Luke.Sullivan@weil.com>
     Sent: Monday, July 8, 2024 11:22 AM
     To: Musser, Susan <smusser@ftc.gov>; sonia.pfaffenroth@arnoldporter.com
     Cc: matthew.wolf@arnoldporter.com; michael.kientzle@arnoldporter.com;
     john.holler@arnoldporter.com; Perry, Mark <Mark.Perry@weil.com>; Barrington, Luna
     <Luna.Barrington@weil.com>; Obaro, Bambo <Bambo.Obaro@weil.com>; emainigi@wc.com;
     apodoll@wc.com; mike.cowie@dechert.com; Hassi, Ted <thassi@debevoise.com>; Hall, Laura
                                                                                                                        PX6681-017
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     <lhall1@ftc.gov>; Dickinson, Charles <cdickinson@ftc.gov>; Pai, Rohan <rpai@ftc.gov>; Callan,
     Nicole <ncallan@ftc.gov>
     Subject: RE: Part 3

     Counsel –

     Thank you for your email. Respondents are disappointed that Complaint Counsel has rejected
     Respondents’ proposal to recess the evidentiary portion of the Part 3 hearing until the parallel
     proceedings are complete, which is the most efficient path forward and would preserve the
     resources of Judge Chappell and his staff, third parties, and the parties. We are also
     disappointed that Complaint Counsel has declined to submit competing position statements to
     Judge Chappell on this issue, which would have accelerated the Court’s consideration of this
     important and time-sensitive issue.

     Respondents intend to file a motion today or tomorrow that requests that Judge Chappell
     recess the evidentiary portion of the hearing (with or without opening statements) until the
     parallel proceedings are complete. Alternatively, if Judge Chappell declines to grant that
     relief, Respondents intend to ask Judge Chappell to structure the Part 3 hearing in a manner
     that promotes efficiency and avoids unduly burdening the Court, third parties, and the parties.
     Respondents intend to propose multiple ways Judge Chappell could structure the hearing to
     achieve these goals, including the ones listed below.

            Holding opening statements and oral argument on pending motions on or after July 31
            (e.g., motions in limine, sealing motions) and then recessing the evidentiary portion of
            the hearing.

            Holding some trial days until August 6, shortly before the start of the Colorado
            preliminary injunction proceeding, but tailoring those trial days so they are efficient and
            not unduly burdensome in one or more of the following ways:

                   Requiring the parties to present only third-party testimony by video deposition
                   designation—to avoid unduly burdening party witnesses who will testify live in
                   the parallel proceedings, and whose trial transcripts could be submitted to Judge
                   Chappell under FTC Rule 3.43(b);

                   Requiring the parties to present only either (a) third-party testimony by video
                   deposition designation or (b) expert testimony from Complaint Counsel’s experts;
                   or

                   Requiring the parties to present testimony only from fact witnesses and Complaint
                   Counsel’s expert witnesses who they do not intend to call in the parallel federal
                   court proceeding (if any).

            Holding some trial days until August 6, shortly before the start of the Colorado
            preliminary injunction proceeding, but limiting the amount of trial time—e.g.,
            conducting half days, or having non-consecutive trial days—given the parties’
            preparation for the other parallel proceedings and corresponding trial schedules.

            At a minimum, recessing the hearing after August 6, close to when the Colorado
            preliminary injunction proceeding begins (similar to the FTC’s counter-proposal to
                                                                                                         PX6681-018
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             Respondents), until the parallel proceedings are complete.

             In all events, having all trial days be virtual given the overlapping parallel proceedings
             around the country and the associated travel burdens on fact witnesses and experts (who
             may be sitting for depositions in parallel actions while the Part 3 hearing is scheduled to
             occur).

     Please let us know by 5:00 PM today whether Complaint Counsel would consent to any of
     these alternative proposals.

     Respondents also intend to request that Judge Chappell order Complaint Counsel to submit an
     expedited opposition. If Respondents file the motion today, we will request a response by
     Wednesday, July 10. If Respondents file the motion tomorrow, we will request a response by
     Thursday, July 11. This expedited schedule is necessary given the need for third parties, the
     parties, and Judge Chappell to have certainty on the upcoming schedule. Please let us know if
     Complaint Counsel will consent to these expedited response times.

     Finally, as the message above indicates, Respondents cannot accept the FTC’s proposal of
     having “full trial days from July 31 to August 9” and then recessing “the Part 3 proceedings
     during the Colorado and Oregon proceedings,” but not the other parallel proceedings.

     Best,
     Luke




     Luke Sullivan

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     From: Musser, Susan <smusser@ftc.gov>
     Sent: Friday, July 5, 2024 1:35 PM
     To: sonia.pfaffenroth@arnoldporter.com
     Cc: matthew.wolf@arnoldporter.com; michael.kientzle@arnoldporter.com;
     john.holler@arnoldporter.com; Perry, Mark <Mark.Perry@weil.com>; Barrington, Luna
     <Luna.Barrington@weil.com>; Obaro, Bambo <Bambo.Obaro@weil.com>; Sullivan, Luke
     <Luke.Sullivan@weil.com>; emainigi@wc.com; apodoll@wc.com; mike.cowie@dechert.com; Hassi,
     Ted <thassi@debevoise.com>; Hall, Laura <lhall1@ftc.gov>; Dickinson, Charles
     <cdickinson@ftc.gov>; Pai, Rohan <rpai@ftc.gov>; Callan, Nicole <ncallan@ftc.gov>
     Subject: RE: Part 3


                                                                                                         PX6681-019
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     Counsel --

     We write to follow up on our meet and confer from July 3. As we have stated both before
     Judge Nelson as well as in our opposition to your motion to stay the Part 3 proceeding, the
     FTC’s position remains that as the trial on the merits, the Part 3 hearing should proceed as
     quickly as possible to ensure an expeditious resolution of this case. That being said, if
     Defendants will join the FTC’s request to have full trial days from July 31 to August 9, the
     FTC would be willing to agree to a joint motion to adjourn the Part 3 proceedings during the
     Colorado and Oregon proceedings. If the Parties do not agree with this proposal, the FTC
     intends to oppose Defendants’ motion to adjourn during the Colorado and Washington
     proceedings in full but will remain willing to coordinate scheduling around appearances in
     Colorado and Washington as well as consider specific requests for witnesses on
     Defendants’ witness list to appear remotely. We note that Judge Chappell specifically
     requested the filing of a motion, and therefore believe that, if we do not have agreement on
     a joint motion, the proper procedure would be for Respondents to file their motion to
     adjourn and for Complaint Counsel to file its opposition in due course.

     Best,

     Susan



     From: Pfaffenroth, Sonia Kuester <Sonia.Pfaffenroth@arnoldporter.com>
     Sent: Monday, July 1, 2024 5:35 PM
     To: Musser, Susan <smusser@ftc.gov>
     Cc: Wolf, Matthew M. <Matthew.Wolf@arnoldporter.com>; Kientzle, Michael
     <Michael.Kientzle@arnoldporter.com>; Holler, John <John.Holler@arnoldporter.com>; Perry, Mark
     <Mark.Perry@weil.com>; Luna.Barrington@weil.com; Bambo.Obaro@weil.com;
     Luke.Sullivan@weil.com; emainigi@wc.com; apodoll@wc.com; mike.cowie@dechert.com; Hassi,
     Ted <thassi@debevoise.com>
     Subject: Part 3

     Susan,

     I’m following up on our discussion of the Part 3 hearing.

     Respondents plan to serve their Part 3 final witness list on the morning of July 3. Judge
     Chappell instructed the parties to confer on recessing the hearing after that. Given the time
     sensitivity of the issue, we propose that the parties meet and confer in the afternoon on July 3
     and, if necessary, on July 5 as well. The parties can then plan to submit briefing on this issue
     on July 8. If we are unable to reach agreement and submit a joint proposal, we believe that
     filing joint position statements on July 8 is the most efficient path forward. This process will
     ensure that the parties have sufficient time to confer on this issue and also can promptly
     receive guidance from Judge Chappell if necessary.

     Please let us know what times the FTC is available on the afternoon of July 3 for a meet and
     confer. We can send an invitation once we are aligned on a time.

     Additionally, to make the discussion more productive on July 3, we’re sharing Respondents’
                                                                                                         PX6681-020
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     current position on the Part 3 hearing. In light of the Commission denying Respondents’
     motion for a continuance, we understand that Judge Chappell will gavel in the hearing on July
     31. After that, Judge Chappell has discretion over the trial scheduling. Our position is that,
     once Judge Chappell has gaveled in the hearing, the most efficient path forward is for Judge
     Chappell to recess the evidentiary portion of the hearing (with or without opening statements,
     as the Court prefers) until the other parallel proceedings are complete.

     This approach would avoid any overlap in proceedings (which involve many of the same
     witnesses). It also would avoid having a disjointed Part 3 hearing with breaks for other
     parallel actions, which could hinder the Court’s review of the evidence. Finally, recessing the
     hearing could conserve the resources of non-parties, the parties, and Judge Chappell and his
     staff. Many party and non-party witnesses from the FTC’s final witness list will likely also be
     witnesses in the parallel proceedings; as a result, the parties could avoid burdening those non-
     party and party witnesses with testifying twice (or more) by relying on their other trial
     transcripts in Part 3, rather than having the witnesses testify live multiple times. This counsels
     in favor of recessing the evidentiary Part 3 hearing after Judge Chappell has gaveled it in.

     Best,
     Sonia

     _______________
     Sonia Pfaffenroth
     Partner | Bio



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